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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                               ENTERED
                                                                                                                   09/25/2020
                                                             )
In re:                                                       ) Chapter 11
                                                             )
                                     1
ARENA ENERGY, LP, et al.,                                    ) Case No. 20-34215 (MI)
                                                             )
                                     Debtors.                ) (Jointly Administered)
                                                             )

     ORDER (I) APPROVING THE DISCLOSURE STATEMENT, (II) CONFIRMING
     THE DEBTORS’ JOINT PREPACKAGED PLAN PURSUANT TO CHAPTER 11
      OF THE BANKRUPTCY CODE, AND (III) GRANTING RELATED RELIEF

    The Bankruptcy Court2 having:
              a. entered, on August 21, 2020, the Order (I) Scheduling a Combined Disclosure
                 Statement Approval and Plan Confirmation Hearing, (II) Conditionally Approving
                 the Disclosure Statement, (III) Establishing Plan and Disclosure Statement
                 Objection and Reply Deadlines and Related Procedures, (IV) Approving the
                 Solicitation Procedures, (V) Approving the Combined Notice, and
                 (VI) Conditionally Waiving the Requirements that the U.S. Trustee Convene a
                 Meeting of Creditors and the Debtors File Schedules and SOFAs [Docket No. 44]
                 (the “Combined Scheduling Order”), pursuant to which the Bankruptcy Court
                 conditionally approved the Disclosure Statement Relating to the Debtors’ Joint
                 Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 13]
                 (the “Disclosure Statement”);
              b. set September 18, 2020, at 4:00 p.m. (prevailing Central Time), as the deadline for
                 filing objections to the adequacy of the Disclosure Statement and Confirmation of
                 the Plan (the “Objection Deadline”);
              c. set August 28, 2020, at 12:00 p.m. (prevailing Central Time), as the deadline for
                 voting on the Plan (the “Voting Deadline”);
              d. set September 25, 2020, at 10:00 a.m. (prevailing Central Time), as the date and
                 time for the hearing to consider, among other things, final approval of the adequacy
                 of the Disclosure Statement and Confirmation of the Debtors’ Joint Prepackaged

1
     The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
     Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
     location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.

2
     Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below) or the Disclosure Statement, as applicable. The rules of interpretation set forth in Article I.B of the Plan
     apply to the Confirmation Order.
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                 Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 12] (the “Plan,”
                 and such hearing to consider Confirmation of the Plan, the “Confirmation
                 Hearing”) attached hereto as Exhibit A, pursuant to Bankruptcy Rules 3017 and
                 3018 and sections 1126, 1128, and 1129 of the Bankruptcy Code, as set forth in
                 the Combined Scheduling Order;
            e. reviewed: (i) the Plan; (ii) the Disclosure Statement; (iii) the Notice of Plan
               Supplement for the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the
               Bankruptcy Code [Docket No. 179] (the “Plan Supplement”); (iv) the Debtors’
               Memorandum of Law in Support of an Order Approving the Debtors’ Disclosure
               Statement and Confirming the Debtors’ Joint Prepackaged Plan Pursuant to
               Chapter 11 of the Bankruptcy Code [Docket No. 215] (the “Confirmation Brief”);
               (v) the Declaration of Anthony R. Horton, Independent Director of Arena Energy
               GP, LLC, in Support of Confirmation of the Debtors’ Joint Prepackaged Plan
               Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 237] (the “Horton
               Declaration”); (vi) the Declaration of Curtis Flood, Managing Director of
               Evercore Group L.L.C., in Support of Confirmation of the Debtors’ Joint
               Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket
               No. 235] (the “Flood Declaration”); (vii) the Certification of Andres A. Estrada
               with Respect to the Tabulation of Votes on the Debtors’ Joint Prepackaged Plan
               Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 96] and the
               Supplemental Certification of Andres A. Estrada with Respect to the Tabulation of
               Votes on the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the
               Bankruptcy Code [Docket No. 225] (collectively, the “Voting Declarations” and,
               together with the Horton Declaration and the Flood Declaration,
               the “Declarations”); (viii) the Notice of (I) Commencement of Prepackaged
               Chapter 11 Bankruptcy Cases, (II) Combined Hearing on the Disclosure Statement,
               Confirmation of the Joint Prepackaged Chapter 11 Plan, and Related Matters, and
               (III) Related Objection and Briefing Deadlines (the “Confirmation Hearing
               Notice”), the form of which is attached as Exhibit 1 to the Combined Scheduling
               Order; (ix) the New York Times Affidavit of Publication [Docket No. 126] and the
               Houston Chronicle Affidavit of Publication [Docket No. 127] (collectively,
               the “Publication Affidavits”); (x) the Certificate of Service dated August 21, 2020
               [Docket No. 36] and the Supplemental Certificate of Service dated September 4,
               2020 [Docket No. 148] (collectively, the “Solicitation Affidavits” and, together
                                                                                      3
               with the Publication Affidavits, the “Affidavits”); and (xi) all Filed pleadings,
               exhibits, statements, and comments regarding approval of the Disclosure Statement
               and Confirmation, including all objections, statements, and reservations of rights;
            f. held the Confirmation Hearing on September 25, 2020, at 10:00 a.m. (prevailing
               Central Time);




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    Unless otherwise indicated, use of the term “Filed” herein refers also to the service of the applicable document
    Filed on the docket in these chapter 11 cases, as applicable.


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            g. heard the statements and arguments made by counsel in respect of approval of
               the Confirmation and having considered the record of the Chapter 11 Cases and
               taken judicial notice of all papers and pleadings Filed in the Chapter 11 Cases; and
            h. considered all oral representations, testimony, documents, filings, and other
               evidence regarding Confirmation.

       NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

the Bankruptcy Court hereby makes and issues the following findings of fact, and conclusions of

law:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       IT IS DETERMINED, FOUND, ADJUDGED, DECREED AND ORDERED THAT:

       A.      Findings of Fact. The findings of fact and conclusions of law set forth herein, in

the Plan, including specifically in Article XI of the Plan and in the record of the Confirmation

Hearing constitute the Bankruptcy Court’s findings of fact and conclusions of law under Rule 52

of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and

9014. To the extent any of the following conclusions of law constitute findings of fact, or vice

versa, they are adopted as such.

       B.      Jurisdiction, Venue, and Core Proceeding.               The Bankruptcy Court has

jurisdiction over the Chapter 11 Cases pursuant to section 1334 of title 28 of the United States

Code. The Bankruptcy Court has exclusive jurisdiction to determine whether the Disclosure

Statement and Plan comply with the applicable provisions of the Bankruptcy Code and should be

confirmed. Venue is proper in this district pursuant to sections 1408 and 1409 of title 28 of the

United States Code. Confirmation of the Plan is a core proceeding within the meaning of

section 157(b)(2) of title 28 of the United States Code. This Bankruptcy Court may enter a Final

Order consistent with Article III of the United States Constitution.




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       C.      Disclosure Statement.        The Disclosure Statement contains (a) sufficient

information of a kind necessary to satisfy the disclosure requirements of all applicable

nonbankruptcy laws, rules, and regulations, including the Securities Act, (b) “adequate

information” (as such term is defined in section 1125(a) of the Bankruptcy Code and used in

section 1126(b)(2) of the Bankruptcy Code) with respect to the Debtors, the Plan, and the

transactions contemplated therein, and (c) specific descriptions of releases and injunctions related

thereto in accordance with Bankruptcy Rule 3016(c). The filing of the Disclosure Statement with

the Clerk of the Bankruptcy Court satisfied Bankruptcy Rule 3016(b).

       D.      Eligibility for Relief. The Debtors were and are entities eligible for relief under

section 109 of the Bankruptcy Code.

       E.      Ballots.   The Classes entitled to vote on the Plan (collectively, the “Voting

Classes”) are set forth below:

               Class      Designation
                 3        RBL Facility Claims
                 4        Term Loan Claims

       F.      Holders of Claims in Class 1 (Other Priority Claims), Class 2 (Other Secured

Claims) and Class 5 (General Unsecured Claims) (collectively, the “Unimpaired Classes”) are

Unimpaired and conclusively presumed to have accepted the Plan. Holders of Claims and Interests

in Class 8 (Section 510(b) Claims), Class 9 (Arena Energy, LP Interests), Class 10 (Arena Energy

GP, LLC Interests), Class 11 (Arena Energy 2020 GP, LLC Interests) and Class 12 (Sagamore Hill

Holdings, LP Interests) (collectively, the “Deemed Rejecting Classes”) are Impaired and deemed

to reject the Plan. Holders of Claims and Interests in Class 6 (Intercompany Claims) and Class 7

(Intercompany Interests) (together, the “Deemed Accepting/Rejecting Classes” and, collectively

with the Unimpaired Classes and the Deemed Rejecting Classes, the “Non-Voting Classes”) are


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Unimpaired and conclusively presumed to have accepted the Plan or are Impaired and deemed to

reject the Plan.

        G.         As set forth and approved in the Combined Scheduling Order, the Ballots

the Debtors used to solicit votes to accept or reject the Plan from Holders in the Voting Classes

adequately addressed the particular needs of the Chapter 11 Cases and were appropriate for

Holders in the Voting Classes to vote to accept or reject the Plan. Under sections 1126(f) and

1126(g) of the Bankruptcy Code, the Debtors were not required to solicit votes from the Holders

of Claims or Interests, as applicable, in the Non-Voting Classes, each of which is conclusively

presumed to have accepted, or deemed to have rejected, the Plan.

        H.         Notice. As evidenced by the Affidavits and the Voting Declarations, all parties

required to be given notice of the commencement of the Chapter 11 Cases, the Disclosure

Statement, the Plan, the Plan Sponsor Transaction, and the Confirmation Hearing (including the

deadline for filing and serving objections to Confirmation of the Plan) have been given due, proper,

adequate, timely, and sufficient notice thereof in accordance with the Combined Scheduling Order

and in compliance with the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules,

and all other applicable non-bankruptcy rules, laws, and regulations and such parties have had an

opportunity to appear and be heard with respect thereto. No other or further notice is or shall be

required.

        I.         Solicitation. As described in and evidenced by the Affidavits and the Voting

Declarations, transmittal and service of the Solicitation Materials (collectively, the “Solicitation”)

were timely, adequate, appropriate, and sufficient under the circumstances. The Solicitation was

conducted in good faith and complied with the Bankruptcy Code, including sections 1125 and

1126 thereof, the Bankruptcy Rules, including rules 3017 and 3018 thereof, the Bankruptcy Local



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Rules, the Combined Scheduling Order, and all other applicable non-bankruptcy rules, laws, and

regulations applicable to the Solicitation. Accordingly, no further notice is required. The period

during which the Debtors solicited acceptances or rejections to the Plan was a reasonable and

sufficient period of time for each Holder in the Voting Classes to make an informed decision to

accept or reject the Plan.

       J.      Vote Tabulation. As described in the Voting Declarations, the Holders of Claims

in Class 3 (RBL Facility Claims) and Class 4 (Term Loan Claims) are Impaired under the Plan and

have voted to accept the Plan in the numbers and amounts required by section 1126 of

the Bankruptcy Code. All procedures used to tabulate the Ballots were fair, reasonable, and

conducted in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Bankruptcy Local Rules, the Combined Scheduling Order, and all other applicable non-

bankruptcy rules, laws, and regulations.

       K.      Service of Opt-Out Form. The process described in the Voting Declarations and

the Solicitation Affidavits that the Debtors and the Claims and Noticing Agent followed to identify

the relevant parties on which to serve the applicable ballot or notice containing an opportunity to

opt out of the Third-Party Releases (as defined herein) (each, an “Opt-Out Form”) and to distribute

the Opt-Out Forms (i) is consistent with the industry standard for the identification and

dissemination of such materials on holders of public securities, and (ii) was reasonably calculated

to ensure that each of the Holders of Claims in Interests in all non-voting Classes was informed of

its ability to opt out of the Third-Party Releases and the consequences for failing to timely do so.

       L.      Modifications to Plan. Pursuant to section 1127 of the Bankruptcy Code, the

modifications to the Plan made after solicitation of the Plan or in this Confirmation Order

constitute technical or clarifying changes, changes with respect to particular Claims by agreement



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with Holders of such Claims, or modifications that do not otherwise materially and adversely affect

or change the treatment of any other Claim under the Plan. These modifications are consistent

with the disclosures previously made pursuant to the Disclosure Statement, and notice of these

modifications was adequate and appropriate under the facts and circumstances of the Chapter 11

Cases. In accordance with Bankruptcy Rule 3019, these modifications do not require additional

disclosure under section 1125 of the Bankruptcy Code or the resolicitation of votes under

section 1126 of the Bankruptcy Code, and they do not require that Holders of Claims be afforded

an opportunity to change previously cast acceptances or rejections of the Plan. Accordingly,

the Plan is properly before this Bankruptcy Court and all votes cast with respect to the Plan prior

to such modification shall be binding and shall apply with respect to the Plan.

       M.      Securities Law Matters.        The sale and issuance to the Plan Sponsor of

the Reorganized Acquired Debtor Interests (as defined below) shall be exempt from the

registration requirements of section 5 of the Securities Act and any other applicable United States

laws requiring registration prior to the offering, issuance, distribution, or sale of securities in

accordance with, or pursuant to, the exemption provided by section 4(a)(2) of the Securities Act

and/or Regulation D promulgated thereunder.

       N.      Plan Supplement. All documents and forms of documents, agreements, schedules,

and exhibits contained in the Plan Supplement comply with the terms of the Plan and are integral,

part of, and incorporated by reference into the Plan, and are approved by the Bankruptcy Court.

In addition, the filing and notice of all documents and forms of documents, agreements, schedules,

and exhibits included in the Plan Supplement were adequate, proper and in accordance with

the Bankruptcy Code, the Bankruptcy Rules, and all other applicable rules, laws, and requirements,

and no other or further notice is required.



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       O.      Compliance with Bankruptcy Code Requirements—Section 1129(a)(1).

The Plan complies with all applicable provisions of the Bankruptcy Code as required by

section 1129(a)(1) of the Bankruptcy Code. In addition, the Plan is dated and identifies the Entities

submitting it, thereby satisfying Bankruptcy Rule 3016(a).

              i.      Proper Classification—Sections 1122 and 1123.

       P.      The Plan satisfies the requirements of sections 1122(a) and 1123(a)(1) of

the Bankruptcy Code. Article III of the Plan provides for the separate classification of Claims and

Interests into 12 Classes.     Valid business, factual, and legal reasons exist for the separate

classification of such Classes of Claims and Interests. The classifications reflect no improper

purpose and do not unfairly discriminate between, or among, Holders of Claims or Interests. Each

Class of Claims and Interests contains only Claims or Interests that are substantially similar to the

other Claims or Interests within that Class.

             ii.      Specified Unimpaired Classes⎯Section 1123(a)(2).

       Q.      The Plan satisfies the requirements of section 1123(a)(2) of the Bankruptcy Code.

Article III of the Plan specifies that Claims, as applicable, in the following Classes are Unimpaired

under the Plan within the meaning of section 1124 of the Bankruptcy Code.

                   Class    Claims and Interests
                     1      Other Priority Claims
                     2      Other Secured Claims
                     5      General Unsecured Claims

       R.      For the avoidance of doubt, Holders of Intercompany Claims and Intercompany

Interests are Unimpaired and conclusively presumed to have accepted the Plan, or are Impaired

and deemed to reject the Plan, and, in either event, are not entitled to vote to accept or reject

the Plan. Additionally, Article II of the Plan specifies that Allowed Administrative Claims,



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Professional Fee Claims, and Priority Tax Claims will be paid in full in accordance with the terms

of the Plan, although these Claims are not classified under the Plan.

            iii.     Specified Treatment of Impaired Classes⎯Section 1123(a)(3).

       S.      The Plan satisfies the requirements of section 1123(a)(3) of the Bankruptcy Code.

Article III of the Plan specifies that Claims and Interests, as applicable, in the following Classes

(the “Impaired Classes”) are Impaired under the Plan within the meaning of section 1124 of

the Bankruptcy Code, and describes the treatment of such Classes:

                   Class    Claims and Interests
                     3      RBL Facility Claims
                     4      Term Loan Claims
                     8      Section 510(b) Claims
                     9      Arena Energy, LP Interests
                    10      Arena Energy GP, LLC Interests
                    11      Arena Energy 2020 GP, LLC Interests
                    12      Sagamore Hill Holdings, LP Interests

       T.      For the avoidance of doubt, Holders of Intercompany Claims and Intercompany

Interests are Unimpaired and conclusively presumed to have accepted the Plan, or are Impaired

and deemed to reject the Plan, and, in either event, are not entitled to vote to accept or reject

the Plan.

            iv.      No Discrimination⎯Section 1123(a)(4).

       U.      The Plan satisfies the requirements of section 1123(a)(4) of the Bankruptcy Code.

The Plan provides for the same treatment by the Debtors for each Claim or Interest in each

respective Class unless the Holder of a particular Claim or Interest has agreed to a less favorable

treatment of such Claim or Interest.




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             v.    Adequate Means for Plan Implementation⎯Section 1123(a)(5).

       V.      The Plan satisfies the requirements of section 1123(a)(5) of the Bankruptcy Code.

The provisions in Article IV and elsewhere in the Plan, and in the exhibits and attachments to

the Plan and the Disclosure Statement, provide, in detail, adequate and proper means for the Plan’s

implementation, including regarding:       (a) the general settlement of Claims and Interests;

(b) authorization for the Debtors to take all actions necessary to effectuate the Plan and implement

the Restructuring Transactions, including the Plan Sponsor Transaction; (c) the purchase of the

Reorganized Acquired Debtor Interests (pursuant to the Plan Sponsor Equity Election) and the

other Assets by the Plan Sponsor; (d) the payment of Cure Costs; (e) the Wind Down and

dissolution of the Debtors (other than the Acquired Debtors); (f) the authority of the Plan

Administrator; (g) the cancellation of existing notes and instruments; (h) the authorization and

approval of corporate actions under the Plan; (i) the dissolution of the existing boards of directors;

(j) the effectuation and implementation of documents and further transactions; and (k) the retention

of Causes of Action.

             vi.   Voting Power of Equity Securities⎯Section 1123(a)(6).

       W.      The Plan satisfies the requirements of section 1123(a)(6) of the Bankruptcy Code.

In accordance with Articles IV.I and VII of the Plan, on the Effective Date, all fiduciary duties,

authority, power, and incumbency of any and all persons acting as directors and officers of

the Debtors and the non-Debtors subsidiaries shall be deemed to have been terminated, and

the Plan Administrator shall be responsible for: (a) winding down the businesses of the Debtors

(other than the Acquired Debtors); (b) resolving Disputed Claims; (c) making all distributions to

Holders of Allowed Claims; (d) filing tax returns; and (e) administering the Plan.




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              vii.   Directors and Officers⎯Section 1123(a)(7).

        X.       The Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy Code.

In accordance with Article IV.L of the Plan, on the Effective Date, the term of the current members

of the board of directors and officers of the Debtors and non-Debtor subsidiaries shall expire,

the Plan Sponsor shall designate the new officers and directors, and the Plan Administrator will be

appointed by the Debtors in consultation with the Plan Sponsor. The identity of the Plan

Administrator was disclosed in the Plan Supplement.

             viii.   Impairment / Unimpairment of Classes⎯Section 1123(b)(1).

        Y.       The Plan is consistent with section 1123(b)(1) of the Bankruptcy Code. Article III

of the Plan impairs or leaves Unimpaired each Class of Claims and Interests.

              ix.    Assumption⎯Section 1123(b)(2).

        Z.       The Plan is consistent with section 1123(b)(2) of the Bankruptcy Code. Article V

of the Plan provides that all Executory Contracts or Unexpired Leases not otherwise assumed,

assumed and assigned, or rejected will be deemed assumed by the Acquired Debtors in accordance

with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than

those that: (i) are identified on the schedule of Rejected Contracts and Leases; (ii) have previously

expired or terminated pursuant to their own terms; (iii) have been previously assumed, assumed

and assigned, or rejected by the Debtors pursuant to a Final Order; (iv) are the subject of a motion

to reject that is pending on the Effective Date; or (v) have an ordered or requested effective date

of rejection that is after the Effective Date.

               x.    Settlement, Releases, Exculpation, Injunction, and Preservation of Claims and
                     Causes of Action⎯Section 1123(b)(3).

        AA.      In accordance with section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy

Rule 9019, and in consideration for the distributions and other benefits provided under the Plan,

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the provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims,

Interests, and controversies relating to the contractual, legal, and subordination rights that a Holder

of a Claim or Interest may have with respect to any Allowed Claim and Interest, or any distribution

to be made on account of such Allowed Claim or Interest.

       BB.      Article IX.D of the Plan describes certain releases granted by the Debtors and their

Estates (the “Debtor Releases”). The Debtors have satisfied their burden with respect to the

propriety of the Debtor Releases. Such releases are a necessary and integral element of the Plan,

and are fair, reasonable, and in the best interests of the Debtors, the Estates, and Holders of Claims

and Interests. The Debtor Releases are: (a) in exchange for the good and valuable consideration

provided by the Released Parties, including the Released Parties’ contributions to facilitate

the Restructuring Transactions and implement the Plan; (b) a good-faith settlement and

compromise of the Claims released by Article IX.D of the Plan; (c) in the best interests of

the Debtors and their Estates and all Holders of Claims and Interests; (d) fair, equitable, and

reasonable; (e) given, and made, after due notice and opportunity for hearing; (f) appropriately

tailored under the facts and circumstances of the Chapter 11 Cases; and (g) a bar to any of

the Debtors, the Reorganized Acquired Debtors (as defined below), and the Debtors’ Estates

asserting any Claim or Cause of Action released by the Debtor Releases.

       CC.     The Debtor Releases appropriately offer protection to parties that participated in

the Debtors’ restructuring process. Each of the Released Parties made significant concessions and

contributions to the Chapter 11 Cases. The scope of the Debtor Releases is appropriately tailored

under the facts and circumstances of the Chapter 11 Cases. The Debtor Releases are appropriate

in light of, among other things, the value provided by the Released Parties to the Debtors’ Estates

and the critical nature of the Debtor Releases to the Plan.



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       DD.     Article IX.E of the Plan describes certain releases (the “Third-Party Releases”)

granted by the Releasing Parties of the Released Parties which include: (a) each Consenting RBL

Facility Lender and any other Holders of RBL Facility Claims that vote to accept the Plan and do

not opt out of the releases in the Plan; (b) the RBL Facility Agent; (c) the Plan Sponsor; (d) each

Consenting Term Loan Lender and any other Holders of Term Loan Claims that vote to accept

the Plan and do not opt out of the releases in the Plan; (e) the Term Loan Agent; (f) each current

and former Affiliate of each Entity in clause (a) through (e); (g) with respect to each Entity in

clause (a) through (f), each such Entity’s current and former equity holders (direct and indirect),

subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board

members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,

representatives, and other professionals, each in their capacity as such; and (h) each Debtor’s

current and former Affiliates, and each Debtor’s and each such Affiliate’s current and former

equity holders (direct and indirect), subsidiaries, officers, directors, managers, principals,

members, employees, agents, advisory board members, financial advisors, partners, attorneys,

accountants, investment bankers, consultants, representatives, and other professionals, each in

their capacity as such; as more fully set forth in Article I.A.93 of the Plan. The Third-Party

Releases are an integral part of the Plan. Like the Debtor Releases, the Third-Party Releases

facilitated participation in the RSA, the Restructuring Stipulation, the Plan, and the chapter 11

process generally. The Third-Party Releases were a critical and integral component of the Plan

Sponsor Transaction, the RSA, the Restructuring Stipulation, and the parties’ agreement to provide

the consideration distributed under the Plan and to support the Plan, thereby preventing significant

and time-consuming litigation regarding the parties’ respective rights and interests. The Third-

Party Releases were a core negotiation point in connection with the Plan Sponsor Transaction and



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the RSA and instrumental in developing a Plan that maximized value for all of the Debtors’

stakeholders. As such, the Third-Party Releases appropriately offer certain protections to parties

who constructively participated in the Debtors’ restructuring process by, among other things,

providing the consideration distributed under the Plan and supporting the Plan.

       EE.     The Third-Party Releases are consensual as to all parties in interest, including

the Releasing Parties, and such parties in interest were provided notice of the Chapter 11 Cases,

the Plan, and the deadline to object to Confirmation of the Plan, and received the Confirmation

Hearing Notice and were properly informed that the Holders of Claims against or Interests in the

Debtors that did not (a) check the “opt-out” box on the applicable Ballot or Opt-Out Form attached

to the Notice of (I) Non-Voting Status to Holders or Potential Holders of Unimpaired Claims

Conclusively Presumed to Accept the Plan and Holders or Potential Holders of Impaired Claims

and Interests Conclusively Presumed to Reject the Plan and (II) Opportunity for Holders of Claims

and Interests to Opt Out of the Third-Party Releases (the “Notice of Non-Voting Status”), returned

in advance of the Voting Deadline, or (b) object to their inclusion as a Releasing Party on or before

the Objection Deadline would be deemed to have expressly, unconditionally, generally,

individually, and collectively consented to the release and discharge of all Claims and Causes of

Action against the Debtors and the Released Parties as set forth in Article IX.E. The Confirmation

Hearing Notice was additionally published in the New York Times and the Houston Chronicle on

August 28, 2020. The release provisions of the Plan were conspicuous, emphasized with boldface

type in the Plan, the Disclosure Statement, the Ballots, the Confirmation Hearing Notice, and

the Notice of Non-Voting Status. Importantly, the inclusion of the parties to the RSA in the Third-

Party Releases was a material inducement for their participation, negotiation, and ultimate

resolution of Claims through the RSA.



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       FF.     The Third-Party Releases provide finality for the Debtors, the Reorganized

Acquired Debtors, and the Released Parties regarding the parties’ respective obligations under

the Plan and with respect to the Reorganized Acquired Debtors. Such releases are a necessary and

integral element of the Plan, and are fair, equitable, reasonable, and in the best interests of

the Debtors, the Estates, and all Holders of Claims and Interests. The Third-Party Releases are:

(a) consensual; (b) essential to Confirmation of the Plan; (c) given in exchange for a substantial

contribution and for the good and valuable consideration provided by the Released Parties that is

important to the success of the Plan; (d) a good-faith settlement and compromise of the Claims

and Causes of Action released by the Third-Party Releases; (e) materially beneficial to, and in the

best interests of, the Debtors, the Estates, and Holders of Claims and Interests, and important to

the overall objectives of the Plan to finally resolve certain Claims among or against certain parties

in interest in the Chapter 11 Cases; (f) fair, equitable, and reasonable; (g) given and made after due

notice and opportunity for hearing; (h) a bar to any of the Releasing Parties asserting any Claim or

Cause of Action released by the Third-Party Release against any of the Released Parties; and

(i) consistent with sections 105, 524, 1123, 1129, and 1141 and other applicable provisions of

the Bankruptcy Code.

       GG.     The exculpation, described in Article IX.F of the Plan (the “Exculpation”), is

appropriate under applicable law because it was proposed in good faith, was formulated following

extensive good-faith, arm’s-length negotiations with key constituents, and is appropriately limited

in scope. Without limiting anything in the Exculpation, each Exculpated Party has participated in

good faith in the Chapter 11 Cases and is appropriately released and exculpated from any

obligation, Cause of Action, or liability for any act taken or omitted to be taken in connection with,

or arising from or relating in any way to, the Chapter 11 Cases, the formulation, preparation,



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dissemination, negotiation, or filing of the RSA and related prepetition transactions (including any

draws under the RBL Facility Credit Agreement), the Disclosure Statement, the Plan, the Plan

Supplement, the Restructuring Stipulation, the Plan Sponsor Transaction, any transaction related

to, or actions taken to effectuate, the Plan, the Restructuring Transaction, any contract, instrument,

release, or other agreement or document created or entered into before or during the Chapter 11

Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5

of the Bankruptcy Code or other applicable law, the filing of the Chapter 11 Cases, the pursuit of

Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,

including the issuance of securities pursuant to the Plan, or the distribution of property under

the Plan, or any other related agreement.

       HH.     The injunction provisions set forth in Article IX.G of the Plan are necessary to

implement, preserve, and enforce the Debtors’ discharge, the Debtor Releases, the Third-Party

Releases, and the Exculpation, and are narrowly tailored to achieve this purpose.

       II.     In accordance with section 1123(b)(3)(B) of the Bankruptcy Code, Article IV.P of

the Plan, and the Plan Sponsor Equity Election, the Reorganized Acquired Debtors (or, with

respect to any Causes of Action held by any Debtor that is not an Acquired Debtor, the Plan

Sponsor) will retain, and may enforce, all rights to commence and pursue, as appropriate, any and

all Causes of Action held by the Debtors that have not been expressly waived, relinquished,

exculpated, released, compromised, or settled under the Plan, whether arising before or after

the Petition Date, including any actions specifically enumerated in the Plan Supplement and

the Reorganized Acquired Debtors’ and the Plan Sponsor’s rights to commence, prosecute, or

settle such Causes of Action shall be preserved notwithstanding the Effective Date. The provisions

regarding the preservation of Causes of Action in the Plan are appropriate, fair, equitable, and



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reasonable, and are in the best interests of the Debtors, the Estates, and Holders of Claims and

Interests.

        JJ.      The release and discharge of all mortgages, deeds of trust, Liens, pledges, or other

security interests against any property, assets, or interests of the Estates described in Article IX.C

of the Plan (the “Lien Release”), except as otherwise expressly provided in the Plan and

this Confirmation Order, is necessary to implement the Plan. The provisions of the Lien Release

are appropriate, fair, equitable, and reasonable and are in the best interests of the Debtors,

the Estates, and Holders of Claims and Interests.

              xi.    Additional Plan Provisions⎯Section 1123(b)(6).

        KK.      The other discretionary provisions of the Plan are appropriate and consistent with

the applicable provisions of the Bankruptcy Code, thereby satisfying section 1123(b)(6) of

the Bankruptcy Code.

              xii.   Cure of Defaults⎯Section 1123(d).

        LL.      The Debtors have proven that it is an exercise of their sound business judgment to

assume or assume and assign the Assumed Contracts and Leases in connection with the

consummation of the Plan and the Plan Sponsor Transaction, and the assumption by the Acquired

Debtors or assumption and assignment to the Plan Sponsor of the Assumed Contracts and Leases

is in the best interests of the Debtors, their estates and creditors, and all parties in interest.

The Assumed Contracts and Leases are an integral part of the Assets being purchased by the Plan

Sponsor, and accordingly, such assumption or assumption and assignment of the Assumed

Contracts and Leases is reasonable and enhances the value of the Debtors’ Estates. The cure

amounts necessary to cure all monetary defaults under the Assumed Contracts and Leases pursuant

to section 365 or 1123 of the Bankruptcy Code at the time of the assumption or assumption and



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assignment thereof as provided under the Plan, as such amounts are determined pursuant to the

assignment and assumption procedures provided for in the Combined Scheduling Order with

respect thereto (or such lesser amounts as may be agreed upon by the parties under the applicable

Assumed Contracts and Leases) (the “Cure Costs”) are deemed to be the entire cure obligation due

and owning under the Assumed Contracts and Leases. Except as set forth herein, any objections

to the Cure Costs are hereby overruled. The Debtors are authorized to resolve any pending Cure

Disputes without need for further order of the Bankruptcy Court.              To the extent that any

counterparty failed to timely object to the Cure Costs for any of the Assumed Contracts and Leases

listed on Exhibit 5A to the Notice to Contract and Lease Counterparties [Docket No. 106] or to

raise any other alleged default or breach of contract, such counterparty is deemed to have consented

to such Cure Cost and to the assumption of its respective Assumed Contract or Lease by the

applicable Acquired Debtor and to have waived any other defaults or breaches, and such proposed

Cure Cost shall be deemed to be the entire monetary cure obligation due and owing under the

applicable Assumed Contract or Lease. The Bankruptcy Court finds that the payment of the Cure

Costs as provided in the Plan Sponsor Agreement is reasonable and appropriate and is deemed to

fully satisfy the Debtors’ obligations under sections 365(b), 365(f), and 1123 of the Bankruptcy

Code.

         MM. Each provision of any Assumed Contract or Lease or applicable nonbankruptcy law

that purports to prohibit, restrict, or condition, or could be construed as prohibiting, restricting, or

conditioning, assignment of any Assumed Contract or Lease has been satisfied or is otherwise

unenforceable under Bankruptcy Code section 365. Assumption or assumption and assignment of

any Assumed Contract or Lease pursuant to this Confirmation Order, the Plan Sponsor

Transaction, and the Plan, and payment in full or satisfaction of any applicable Cure Cost shall



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result in the full release and satisfaction of any and all cures, Claims or defaults, whether monetary

or nonmonetary, including defaults of provisions restricting change in control or ownership interest

composition or other bankruptcy-related defaults, arising under any Assumed Contract or Lease at

any time prior to or as of the Closing Date.

       NN.     Pursuant to the Plan and the Plan Sponsor Agreement, the Cure Costs will be paid

by the applicable Reorganized Acquired Debtor in the ordinary course of business, on the Effective

Date, or as soon thereafter as reasonably practicable, or on such other terms as the parties to such

Assumed Contracts and Leases may agree. The applicable Reorganized Acquired Debtor’s

payment of Cure Costs and performance of the obligations under the Assumed Contracts and

Leases, in accordance with the Plan Sponsor Agreement, shall constitute adequate assurance of

future performance of all Assumed Contracts and Leases within the meaning of section 365 of the

Bankruptcy Code. Upon assumption or assumption and assignment of each Assumed Contract or

Lease and the payment of any applicable Cure Cost, such Assumed Contract or Lease shall be

deemed valid and binding and in full force and effect in accordance with its terms, and all defaults

thereunder, if any, shall be deemed cured, subject to the provisions of this Confirmation Order,

and the Reorganized Acquired Debtors shall continue to perform under such Assumed Contract or

Lease in the ordinary course of business.

       OO.     Accordingly, all of the requirements of sections 365 of the Bankruptcy Code have

been satisfied for the assumption or assumption and assignment by the Debtors of each Assumed

Contract or Lease pursuant to this Confirmation Order, the Plan Sponsor Agreement, and the Plan.

       PP.     Debtor Compliance with the Bankruptcy Code—Section 1129(a)(2).

The Debtors have complied with the applicable provisions of the Bankruptcy Code and, thus,




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satisfied the requirements of section 1129(a)(2) of the Bankruptcy Code. Specifically, each

Debtor:

           a. is an eligible debtor under section 109, and a proper proponent of the Plan under
              section 1121(a), of the Bankruptcy Code;

           b. has complied with applicable provisions of the Bankruptcy Code, except as
              otherwise provided or permitted by orders of the Bankruptcy Court; and

           c. complied with the applicable provisions of the Bankruptcy Code, including
              sections 1125 and 1126, the Bankruptcy Rules, the Bankruptcy Local Rules, any
              applicable nonbankruptcy law, rule, and regulation, the Combined Scheduling
              Order, and all other applicable law, in transmitting the Solicitation Materials, and
              related documents and notices, and in soliciting and tabulating the votes on the Plan.

       QQ.     Plan Proposed in Good Faith—Section 1129(a)(3).              The Plan satisfies the

requirements of section 1123(a)(3) of the Bankruptcy Code. The Debtors have proposed the Plan

in good faith and not by any means forbidden by law. In so determining based on the evidence

presented to this Bankruptcy Court, including the Declarations, the Plan, the Disclosure Statement,

and the other motions and pleadings Filed and the testimony elicited at the Confirmation Hearing,

the Bankruptcy Court has examined the totality of the circumstances surrounding the filing of

the Chapter 11 Cases, the Plan itself, the RSA, the Plan Sponsor Agreement, the Restructuring

Stipulation, the process leading to Confirmation, including the support of Holders of Claims in

the Voting Classes for the Plan, and the transactions to be implemented pursuant thereto.

The Chapter 11 Cases were Filed, and the Plan was proposed, with the legitimate purpose of

allowing the Debtors to implement the Restructuring Transactions (including the Plan Sponsor

Transaction), pursuant to which the Plan Sponsor shall acquire the Reorganized Acquired Debtor

Interests and the other Assets in exchange for the consideration to be distributed to the Estates

under the Plan, and the Acquired Debtors shall be reorganized and emerge from bankruptcy with

a capital and organizational structure that will allow them to conduct their business and satisfy

their obligations with sufficient liquidity and capital resources. The Debtors believe that any valid

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alternative to the Plan Sponsor Transaction would result in significant delays, litigation, additional

costs, and, ultimately, would jeopardize recoveries for Holders of Allowed Claims. The Plan is

the product of good-faith, arm’s length negotiations by and among the Debtors and the parties to

the RSA and the Restructuring Stipulation, among others. The Plan itself and the process leading

to its formulation provides independent evidence of the Debtors’ and such other parties’ good faith,

serves the public interest, and assures fair treatment of Holders of Claims and Interests. Consistent

with the overriding purpose of chapter 11, the Debtors Filed the Chapter 11 Cases with the belief

that the Debtors were in need of restructuring, and the Plan was negotiated and proposed with the

intention of accomplishing a successful restructuring and maximizing stakeholder value and for

no ulterior purpose.

       RR.     Payment for Services and Costs and Expenses—Section 1129(a)(4).                   The

procedures set forth in the Plan for the Bankruptcy Court’s review and ultimate determination of

the fees and expenses to be paid by the Debtors in connection with the Chapter 11 Cases, or in

connection with the Plan and incident to the Chapter 11 Cases, satisfy the objectives of, and are in

compliance with, section 1129(a)(4) of the Bankruptcy Code.

       SS.     Directors, Officers, and Insiders—Section 1129(a)(5).              Because the Plan

provides for the liquidation of the Estates’ remaining assets and dissolution of the Debtors (other

than the Acquired Debtors), section 1129(a)(5) of the Bankruptcy Code is inapplicable. In any

event, Article IV.I of the Plan satisfies the requirements of section 1129(a)(5) of the Bankruptcy

Code, to the extent applicable, by providing for the appointment of the Plan Administrator.

       TT.     No Rate Changes—Section 1129(a)(6). Section 1129(a)(6) of the Bankruptcy

Code is not applicable to the Chapter 11 Cases. The Plan proposes no rate change subject to the

jurisdiction of any governmental regulatory commission.



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       UU.     Best Interest of Creditors—Section 1129(a)(7).              The Plan satisfies the

requirements of section 1129(a)(7) of the Bankruptcy Code. All holders of Claims and Interests

in all Impaired Classes will recover at least as much under the Plan as they would in a hypothetical

chapter 7 liquidation. Substantially all of the Debtors’ assets will remain fully operational and the

business preserved as a going concern and maximized through the Plan Sponsor Transaction,

which provides for the restructuring of the Debtors’ obligations whereby the Plan Sponsor will

purchase the Reorganized Acquired Debtor Interests and the other Assets, continue to operate the

business, and will eliminate nearly $1 billion of secured debt from the balance sheet. A chapter 7

liquidation, to the contrary, would achieve the opposite result and destroy nearly all value,

triggering hundreds of millions of dollars of plugging and environmental claims, and the Debtors’

assets would become worthless. The Plan provides a greater recovery to holders of Allowed RBL

Facility Claims, Allowed Term Loan Claims, and Allowed General Unsecured Claims than would

a chapter 7 liquidation.

       VV.     Acceptance by Certain Classes—Section 1129(a)(8). The Plan satisfies the

requirements of section 1129(a)(8) of the Bankruptcy Code. Classes 1, 2, and 5 constitute

Unimpaired Classes, each of which is conclusively presumed to have accepted the Plan in

accordance with section 1126(f) of the Bankruptcy Code. The Voting Classes, Classes 3 and 4,

have all voted to accept the Plan. Holders of Claims and Interests in Classes 6 and 7 are

Unimpaired and conclusively presumed to have accepted the Plan or are Impaired and deemed to

reject the Plan, and, in either event, are not entitled to vote to accept or reject the Plan. The

remaining classes, Classes 8–12, are Impaired and deemed to reject the Plan. The Plan satisfies

the cram down requirements of section 1129(b) with respect to Classes 6–12 or the cram down

provision is otherwise inapplicable.



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       WW. Treatment of Claims Entitled to Priority Under Section 507(a) of the

Bankruptcy Code—Section 1129(a)(9). The treatment of Allowed Administrative Claims,

Professional Fee Claims, and Priority Tax Claims under Article II of the Plan, and of Other Priority

Claims under Article III of the Plan, satisfies the requirements of, and complies in all respects

with, section 1129(a)(9) of the Bankruptcy Code.

       XX.     Acceptance by At Least One Impaired Class—Section 1129(a)(10). The Plan

satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code. As evidenced by

the Voting Report, the Voting Classes, each of which is Impaired, voted to accept the Plan by the

requisite numbers and amounts of Claims, determined without including any acceptance of

the Plan by any insider (as that term is defined in section 101(31) of the Bankruptcy Code),

specified under the Bankruptcy Code.

       YY.     Feasibility—Section 1129(a)(11).        The Plan satisfies the requirements of

section 1129(a)(11) of the Bankruptcy Code.        The Plan is predicated on the Plan Sponsor

Transaction, pursuant to which the Plan Sponsor shall acquire the Reorganized Acquired Debtor

Interests and the other Assets in exchange for the consideration to be distributed to the Estates

under the Plan. The Debtors are fully capable of consummating the proposed Plan Sponsor

Transaction. Therefore, section 1129(a)(11) of the Bankruptcy Code is inapplicable to the Plan.

       ZZ.     To the extent that section 1129(a)(11) of the Bankruptcy Code is applicable,

the Plan is feasible. Confirmation of the Plan will enable the Debtors to consummate the Plan

Sponsor Transaction and make distributions to Holders of Allowed Claims without delay

depending on their respective treatments. Through the Plan, the Debtors will pay Other Priority

Claims, Other Secured Claims, Allowed Administrative Claims, and Allowed Priority Tax Claims

in full. The Debtors will also establish and fund the Professional Fee Escrow Account to pay



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Professional Fee Claims. Certain of the Debtors’ liabilities will be assumed by the Plan Sponsor

in accordance with the Plan Sponsor Transaction. As a prerequisite to entering into the Plan

Sponsor Agreement, the Plan Sponsor committed to fund the closing of the Plan Sponsor

Transaction. Following the closing of the Plan Sponsor Transaction, the Reorganized Acquired

Debtors will no longer be encumbered by their current funded debt and will be poised to generate

significant cash flows from their ordinary course operations. Thus, the Plan satisfies section

1129(a)(11) of the Bankruptcy Code under Fifth Circuit law.

       AAA. Payment of Fees—Section 1129(a)(12). The Plan satisfies the requirements of

section 1129(a)(12) of the Bankruptcy Code. Article XIII.C of the Plan provides for the payment

of all fees payable by the Debtors under 28 U.S.C. § 1930(a).

       BBB. Continuation of Employee Benefits—Section 1129(a)(13). The Plan satisfies the

requirements of section 1129(a)(13) of the Bankruptcy Code. Article IV.Q of the Plan provides

that all employee wages and Compensation and Benefits Programs in place as of the Effective

Date with the Debtors shall be assumed and assigned by the Debtors to the Plan Sponsor and shall

remain in place as of the Effective Date, and the Plan Sponsor will continue to honor such

agreements, arrangements, programs, and plans.

       CCC. Non-Applicability of Certain Sections—Sections 1129(a)(14), (15), and (16).

Sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the Bankruptcy Code do not apply to

the Chapter 11 Cases. The Debtors owe no domestic support obligations, are not individuals, and

are not nonprofit corporations.

       DDD. “Cram Down” Requirements—Section 1129(b).                  The Plan satisfies the

requirements of section 1129(b) of the Bankruptcy Code. All of the Impaired Classes (Classes 3

and 4) voted to accept the Plan. Notwithstanding the fact that the Deemed Rejecting Classes have



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been deemed to reject the Plan, the Plan may be confirmed pursuant to section 1129(b)(1) of

the Bankruptcy Code. First, the Plan is fair and equitable with respect to the Deemed Rejecting

Classes. The Plan has been proposed in good faith, is reasonable, and meets the requirements that

(a) no holder of any Claim or Interest that is junior to each such Class will receive or retain any

property under the Plan on account of such junior Claim or Interest and (b) no holder of a Claim

in a Class senior to such Class is receiving more than 100% on account of its Claim. Accordingly,

the Plan is fair and equitable to all holders of Claims and Interests in the Deemed Rejecting Classes.

Second, the Plan does not discriminate unfairly with respect to the Deemed Rejecting Classes

because similarly situated creditors and interest holders will receive substantially similar treatment

on account of their Claims and Interests irrespective of Class. The Plan may therefore be

confirmed despite the fact that not all Impaired Classes have voted to accept the Plan.

        EEE. Only One Plan—Section 1129(c).               The Plan satisfies the requirements of

section 1129(c) of the Bankruptcy Code. The Plan is the only chapter 11 plan Filed in each of

the Chapter 11 Cases.

        FFF.   Principal Purpose of the Plan—Section 1129(d). No Governmental Unit has

requested that the Bankruptcy Court refuse to confirm the Plan on the grounds that the principal

purpose of the Plan is the avoidance of taxes or the avoidance of the application of section 5 of

the Securities Act. As evidenced by its terms, the principal purpose of the Plan is not such

avoidance. Accordingly, the requirements of section 1129(d) of the Bankruptcy Code have been

satisfied.

        GGG. Good Faith Solicitation—Section 1125(e). The Debtors, the Released Parties,

and the Exculpated Parties, have acted in “good faith” within the meaning of section 1125(e) of

the Bankruptcy Code and in compliance with the applicable provisions of the Bankruptcy Code



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and Bankruptcy Rules in connection with all of their respective activities relating to support and

Consummation of the Plan, including the negotiation, execution, delivery, and performance of

the RSA, the Restructuring Stipulation, and the Plan Sponsor Agreement, the issuance of

the Reorganized Acquired Debtor Interests and the transfer of the other Assets to the Plan Sponsor,

and the solicitation of acceptances of the Plan, and are entitled to the protections afforded by

section 1125(e) of the Bankruptcy Code.

       HHH. Sufficiency of Marketing. The Debtors and their professionals conducted a fair,

open, and adequate prepetition marketing and sale process as set forth in the Flood Declaration.

The marketing and sale process was non-collusive, duly noticed, and provided a full, fair, and

reasonable opportunity for any Entity to make an offer, and the process conducted by the Debtors

obtained the highest or best value for the Debtors’ Estates. There was no other transaction

available or presented that would have yielded as favorable an economic result for the Debtors’

Estates as that provided by the Plan Sponsor Transaction. Based upon the record of these

proceedings, all creditors and other parties in interest and all prospective buyers have been afforded

a reasonable and fair opportunity to make a higher or otherwise better offer, seek to exercise

alleged Preferential Purchase Rights, or submit an Assignment Objection or Rights Objection (as

such terms are defined in the Confirmation Hearing Notice), as the case may be. The marketing

and sale process undertaken by the Debtors and their professionals has been adequate and

appropriate and reasonably calculated to maximize the value for the benefit of all stakeholders in

all respects. The Debtors have presented credible evidence that they and their professionals

explored various strategic alternatives for the Debtors’ businesses over an extended period of time

and communicated with numerous parties regarding, among other potential transactions, a sale of

all or substantially all of the assets of the Debtors. The Plan Sponsor Transaction is the result of



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the Debtors’ extensive efforts in seeking to maximize value to the Debtors’ estates for the benefit

of creditors.

        III.    Sound Business Purpose; Sale Highest or Best Offer. Assumption of the Plan

Sponsor Agreement and consummation of the Plan Sponsor Transaction constitute a valid and

sound exercise of the Debtors’ business judgment, and such acts are in the best interests of

the Debtors, the Estates, and Holders of Claims and Interests. This Bankruptcy Court finds that

the Debtors have articulated good and sufficient business reasons for the Bankruptcy Court to

authorize (i) the immediate assumption of the Plan Sponsor Agreement and the consummation of

the Plan Sponsor Transaction pursuant to the terms of the Plan Sponsor Agreement and the Plan,

(ii) the assumption or assumption and assignment of the Assumed Contracts and Leases as set forth

herein, in the Plan Sponsor Agreement, and the Plan, and (iii) the assumption of the Assumed

Liabilities as set forth herein, in the Plan Sponsor Agreement, and the Plan.

        JJJ.    The Debtors have articulated good and sufficient business reasons justifying the

sale of the Reorganized Acquired Debtor Interests and the other Assets to the Plan Sponsor on the

terms and conditions set forth in the Plan Sponsor Agreement. Additionally: (a) the total

consideration provided by the Plan Sponsor pursuant to the Plan Sponsor Transaction is the highest

or best offer available to the Debtors; (b) the Plan Sponsor Transaction presents the best

opportunity to realize the maximum value for the Debtors’ Estates and avoid a decline and

devaluation of their assets; (c) there is risk that the value of the Debtors’ assets will deteriorate,

and the Plan Sponsor may terminate the Plan Sponsor Agreement, if the Plan Sponsor Agreement

is not immediately assumed and the Plan Sponsor Transaction is not consummated promptly;

(d) the Plan Sponsor Agreement and the consummation of the Plan Sponsor Transaction will

provide a greater recovery for the Debtors’ creditors than would be provided by any other presently



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available alternative; (e) the Plan Sponsor would not agree to purchase the Reorganized Acquired

Debtor Interests and the other Assets if the Assets remained subject to higher or better offers after

the entry of this Confirmation Order; and (f) the Debtors’ assumption of the Plan Sponsor

Agreement and consummation of the Plan Sponsor Transaction is reasonable and appropriate

under the circumstances. The Debtors have demonstrated compelling circumstances and a good,

sufficient, and sound business purpose and justification for (i) the consummation of the Plan

Sponsor Transaction, (ii) a restriction on the Debtors pursuing, considering, or accepting any

further offers for the Assets from and after the entry of this Confirmation Order through the earlier

of the consummation of the Plan Sponsor Transaction or termination of the Plan Sponsor

Agreement in accordance with its terms, and (iii) the immediate assumption of the Plan Sponsor

Agreement. To maximize the value for the Debtors’ Estates and preserve the viability of the

operations of the Acquired Debtors and to which the other Assets relate, it is essential that the Plan

Sponsor Transaction occur within the time constraints set forth in the Plan Sponsor Agreement

and this Confirmation Order and that the Plan Sponsor be protected against any further offers for

the Assets.

       KKK. The Debtors’ decision to enter into and assume the Plan Sponsor Agreement and

consummate the Plan Sponsor Transaction constitutes a proper exercise of the fiduciary duties of

the Transaction Committee. Because entry into and assumption of the Plan Sponsor Agreement

and the consummation of the Plan Sponsor Transaction constitutes the exercise of sound business

judgment by the Debtors, none of the Debtors, or their respective current and former members,

managers, officers, directors, employees, advisors, professionals, or agents in their capacity as

such, shall incur or have any liability to the Estates or any Holder of a Claim against or Interest in

the Debtors for any act or omission in connection with, related to, or arising out of the negotiations



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of the Plan Sponsor Agreement or the consummation of the Plan Sponsor Transaction

contemplated thereunder, other than liability arising out of or relating to any act or omission of

the Debtors that constitutes a breach of the Plan Sponsor Agreement, willful misconduct, or fraud,

in each case as determined by a court of competent jurisdiction.

       LLL. Arm’s-Length Sale and Plan Sponsor’s Good Faith.                    The Plan Sponsor

Agreement and the Plan Sponsor Transaction were negotiated, proposed, and undertaken by

the Debtors and the Plan Sponsor at arm’s length, without collusion or fraud, and in good faith

within the meaning of section 363(m) of the Bankruptcy Code. The Plan Sponsor (i) recognizes

that the Debtors were free to deal with any other party interested in making an offer, (ii) complied

with the procedures governing the Debtors’ marketing and sale process in all respects, and

(iii) willingly subjected its bid to the competitive marketing and sale process. All payments to be

made by the Plan Sponsor and other agreements or arrangements entered into by the Plan Sponsor

in connection with the Plan Sponsor Transaction have been disclosed. As a result of the foregoing,

the Plan Sponsor is a “good faith purchaser” and, as such, is entitled to all of the protections

afforded by section 363(m) of the Bankruptcy Code, including in the event this Confirmation Order

or any portion thereof is reversed or modified on appeal, and the Plan Sponsor has proceeded in

good faith in all respects in connection with the Plan Sponsor Transaction specifically and

the Chapter 11 Cases generally.

       MMM. Title to the Assets. The Assets sought to be transferred and/or assigned, as

applicable, by the Debtors to the Plan Sponsor pursuant to the Plan Sponsor Agreement are

property of the Debtors’ Estates and good title thereto is presently vested in the Debtors’ Estates

within the meaning of section 541(a) of the Bankruptcy Code. Except as provided in the Plan




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Sponsor Agreement, the Debtors are the sole and rightful owners of such Assets with all rights,

title, and interests to the Assets.

        NNN. Authority. The Debtors have: (i) full power and authority to execute and assume

the Plan Sponsor Agreement and all other documents contemplated thereby, (ii) all of the power

and authority necessary to consummate the transactions contemplated by the Plan Sponsor

Agreement subject to the terms of the Plan and this Confirmation Order, and (iii) taken all

corporate action necessary to authorize and approve the Plan Sponsor Agreement and the

immediate assumption thereof, the sale of the Assets, and all other actions required to be performed

by the Debtors in order to consummate the Plan Sponsor Transaction. No consents or approvals,

other than those already obtained or expressly provided for in the Plan Sponsor Agreement or

this Confirmation Order, are required for the Debtors to consummate the Plan Sponsor

Transaction.

        OOO. No Fraudulent Transfer. The total consideration provided by the Plan Sponsor

pursuant to the Plan Sponsor Agreement constitutes reasonably equivalent value and fair

consideration under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform

Fraudulent Conveyance Act, the Uniform Voidable Transfer Act, and any other applicable law,

and may not be avoided under section 363(n) of the Bankruptcy Code or under any other law of

the United States, any state, territory, possession thereof, the District of Columbia, or any other

applicable law. The Plan Sponsor Agreement was not entered into, and the Plan Sponsor

Transaction is not being consummated, for the purpose of hindering, delaying, or defrauding

creditors of the Debtors under the Bankruptcy Code or under the laws of the United States, any

state, territory, possession thereof, or the District of Columbia, or any other applicable law. Neither

the Debtors nor the Plan Sponsor entered into the Plan Sponsor Agreement or is consummating



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the Plan Sponsor Transaction with any fraudulent or otherwise improper purpose. Neither

the Debtors nor the Plan Sponsor engaged in any conduct that would cause or permit the Plan

Sponsor Agreement or the consummation of the Plan Sponsor Transaction to be avoided, or costs

or damages to be imposed, under Bankruptcy Code section 363(n) or under any other law of

the United States, any state, territory, possession thereof, the District of Columbia or any other

applicable law.

        PPP.    Plan Sponsor Equity Election. The Plan Sponsor Equity Election pursuant to

section 8.9(b) of the Plan Sponsor Agreement and Article IV.R. of the Plan permits the Plan

Sponsor to acquire the reorganized equity interests in one or more of the Debtors to the extent

determined necessary or desirable by the Plan Sponsor at no additional cost to the Plan Sponsor.

The Plan Sponsor has made the Plan Sponsor Equity Election and elected, subject to Confirmation

and Consummation of the Plan, in accordance with the terms of the Plan, the RSA, and the Plan

Sponsor Agreement, that Arena Energy, LP (“Arena Energy”), Valiant Energy L.L.C., and Arena

Exploration, LLC will constitute Acquired Debtors (such Acquired Debtors, as reorganized

pursuant to this Confirmation Order and section 1141 of the Bankruptcy Code, the “Reorganized

Acquired Debtors” and, the reorganized equity interests therein, the “Reorganized Acquired
                    4
Debtor Interests”). The Plan Sponsor Equity Election, including the direct and indirect acquisition

by the Plan Sponsor of the Reorganized Acquired Debtor Interests pursuant thereto, is an integral

part of the Plan Sponsor Transaction and the Plan.

        QQQ. Classification. The classification of Claims and Interests pursuant to the Plan is

appropriate under section 1122 of the Bankruptcy Code. Without limitation, the classification of


4
    See Notice Regarding Plan Sponsor Equity Election Pursuant to Article IV.R of the Debtors’ Joint Prepackaged
    Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 169]. References herein and in the Plan to
    the Acquired Debtors shall include the Reorganized Acquired Debtors from and after the Effective Date.


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RBL Facility Claims (including any secured or undersecured deficiency Claims arising under, or

in connection with the RBL Facility) in Class 3 is appropriate.

        RRR. Satisfaction of Confirmation and Requirements. Based on the foregoing and the

findings contained in Article III of the Plan, the Debtors, as proponents of the Plan, have met their

burden of proving by a preponderance of the evidence, which is the applicable evidentiary standard

for Confirmation, that the Plan satisfied all applicable elements of sections 1129(a) and 1129(b)

of the Bankruptcy Code required for Confirmation. In addition, and to the extent applicable,

the Plan is confirmable under the clear and convincing evidentiary standard.

        SSS.    Likelihood of Satisfaction of Conditions Precedent to the Effective Date. Each

of the conditions precedent to the Effective Date, as set forth in Article X.B of the Plan, has been

or is reasonably likely to be satisfied or waived in accordance with Article X.C of the Plan.

        TTT. Disclosure of Facts. The Debtors have disclosed all material facts regarding

the Plan, including with respect to the Plan Sponsor Transaction, and the fact that each Acquired

Debtor will emerge from the Chapter 11 Cases as a validly existing limited liability company with

separate assets, liabilities, and obligations.

        UUU. Good Faith. The Debtors have proposed the Plan in good faith, with the legitimate

and honest purpose of maximizing the value of the Debtors’ Estates for the benefit of their

stakeholders. The Plan accomplishes this goal. Accordingly, the Debtors, the Reorganized

Acquired Debtors, or the Plan Sponsor, as applicable, and their respective officers, directors, and

advisors have been, are, and will continue to act in good faith if they proceed to (a) consummate

the Plan and the Plan Sponsor Transaction and the agreements, settlements, transactions, and

transfers contemplated thereby and (b) take the actions authorized and directed by

this Confirmation Order and the Plan to effectuate the foregoing.



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       VVV. Essential Element of the Plan. The Plan Sponsor Agreement and the other

documents in the Plan Supplement are essential elements of the Plan, are necessary for

Confirmation and Consummation of the Plan, and are critical to the overall success and feasibility

of the Plan. The Plan Sponsor Transaction and the Definitive Documents were negotiated in good

faith and at arm’s length among the Debtors, the Plan Sponsor, the RBL Facility Agent, the RBL

Facility Lenders, and the Term Loan Lenders. The Debtors have provided sufficient and adequate

notice of the material terms of the Definitive Documents to all parties in interest in the Chapter 11

Cases. The execution, delivery, or performance by the Debtors, the Reorganized Acquired

Debtors, or the Plan Sponsor, as applicable, of any of the Definitive Documents and any other

documents related to the Plan Sponsor Transaction and compliance by the Debtors,

the Reorganized Acquired Debtors, or the Plan Sponsor, as applicable, with the terms thereof is

authorized by, and will not conflict with, the terms of the Plan or this Confirmation Order.

       WWW. Time is of the Essence.               The Debtors have demonstrated compelling

circumstances and a good, sufficient, and sound business purpose and justification for the

immediate approval and consummation of the Restructuring Transactions, including the Plan

Sponsor Transaction, as contemplated by the Plan and the Plan Sponsor Agreement. In order to

maximize value for the Debtors’ Estates, it is essential that the Plan Sponsor Transaction and

assumption or assumption and assignment of the Assumed Contracts and Leases occur within the

time constraints set forth in the Plan Sponsor Agreement and the RSA. Accordingly, there is cause

to waive the stays contemplated by Bankruptcy Rules 3020, 6004, 6006, 7026 and 9014.




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                                             ORDER

          IT IS HEREBY ORDERED, ADJUDGED, DECREED, AND DETERMINED THAT:

I.        Objections Overruled.

          1.    All objections, if any, with regard to the relief sought in this Confirmation Order

that have not been withdrawn, waived, settled, or otherwise dealt with as expressly provided herein

or on the record at the Confirmation Hearing are hereby OVERRULED and DENIED on the

merits, with prejudice. All objections to the entry of this Confirmation Order or to the relief

granted herein that were not timely Filed are hereby forever barred.

II.       Approval of the Disclosure Statement.

          2.    The Disclosure Statement and the Solicitation Materials are approved on a final

basis pursuant to section 1125 of the Bankruptcy Code. Any and all remaining objections or

reservations of rights with respect to the Disclosure Statement that have not been withdrawn or

resolved as of the entry of this Confirmation Order are hereby overruled in their entirety on the

merits.

III.      Confirmation of the Plan.

          3.    The Plan is approved in its entirety and CONFIRMED pursuant to section 1129 of

the Bankruptcy Code.

          4.    Any and all remaining objections and reservations of rights pertaining to the Plan

that have not been withdrawn or resolved as of the entry of this Confirmation Order are hereby

overruled in their entirety on the merits.

          5.    The documents contained in the Plan Supplement and the Plan Sponsor Agreement

are integral to the Plan, are in the best interests of the Debtors, the Estates, and the Holders of

Claims and Interests and are approved by the Bankruptcy Court, and the Debtors, the Reorganized



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Acquired Debtors, and the Plan Sponsor, as applicable, are authorized to take all actions required

under the Plan and the Plan Supplement documents.

       6.      The terms of the Plan and the Plan Supplement are incorporated herein by

reference, and are an integral part of this Confirmation Order. The terms of the Plan, the Plan

Supplement, the Plan Sponsor Agreement, and all other relevant and necessary documents shall

be immediately effective and enforceable and deemed binding as of the Effective Date on all

parties in interest, including the Debtors, the Reorganized Acquired Debtors, the Debtors’ Estates,

all Holders of Claims and Interests (irrespective of whether or not any such Holder of Claims or

Interests is Impaired under the Plan, and whether or not such Holder voted to accept the Plan), all

Entities that are parties to or are subject to the settlements, compromises, releases, discharged, and

injunctions described in the Plan, each Entity acquiring property under the Plan, and any and all

non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors, and, in each

case, each of their respective affiliates, successors, and assigns. The failure to specifically include

or refer to any particular article, section, or provision of the Plan, the Plan Supplement, or any

related document in this Confirmation Order does not diminish or impair the effectiveness or

enforceability of such article, section, or provision.

       7.      In consideration for the distributions and other benefits, including releases,

provided under the Plan, the provisions of the Plan constitute a good faith compromise and

settlement of all Claims, Interests, and controversies resolved under the Plan, and the entry of

this Confirmation Order constitutes approval of such compromise and settlement under

Bankruptcy Rule 9019. The compromises and settlements set forth in the Plan are approved, and

will be effective immediately and binding on all parties in interest on the Effective Date.




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        8.     The Debtors shall cause to be served a notice of the entry of this Confirmation

Order and occurrence of the Effective Date, substantially in form attached hereto as Exhibit B

(the “Confirmation Notice”), upon (a) all parties listed in the creditor matrix maintained by

the Claims and Noticing Agent and (b) such additional persons and entities as deemed appropriate

by the Debtors, no later than five (5) business days after the Effective Date. The Debtors shall

cause the Confirmation Notice to be published in the New York Times and the Houston Chronicle

within seven (7) business days after the Effective Date, or as soon as reasonably practicable

thereafter.

IV.     The Plan Sponsor Transaction.

        9.     The Plan Sponsor Transaction as set forth in the Plan Sponsor Agreement and

the Plan, and all transaction contemplated thereby, and all of the terms and conditions thereof, are

authorized and approved pursuant to sections 105, 363, 365, 1123 and 1141 of the Bankruptcy

Code. The failure to specifically reference any particular provision set forth in the Plan Sponsor

Agreement in this Confirmation Order shall not diminish or impair the efficacy of such provision,

it being the intent of this Bankruptcy Court that the Plan Sponsor Agreement and all other

agreements or arrangements entered into by the Plan Sponsor and the Debtors in connection with

the Plan Sponsor Transaction, and each and every provision, term and condition thereof be

authorize and approved in its entirety.

        10.    The Plan Sponsor Agreement shall be deemed assumed immediately upon entry of

this Confirmation Order without the need for further action by any party or the Bankruptcy Court.

        11.    Immediately upon entry of this Confirmation Order, and pending the

consummation of the Plan Sponsor Transaction or the termination of the Plan Sponsor Agreement

in accordance with its terms, the Debtors shall neither solicit nor accept any bids or offers for

the Assets. The Debtors shall immediately close access to any “due diligence data room” or similar

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information sharing medium to all third parties other than the Plan Sponsor, and all prospective

bidders in connection with the sale process (and any other person or entity who may have been

provided any confidential information by or on behalf of any such bidder) are hereby directed to

return or destroy any confidential information provided to or obtained by such bidder and/or person

in connection with the sale process in accordance with the terms of applicable confidentiality

agreements (or, in the absence of such a confidentiality agreement, this Confirmation Order).

       12.     Each of the Debtors or the Reorganized Acquired Debtors, as applicable, is hereby

authorized and directed to (a) consummate the Plan Sponsor Transaction in accordance with

the Plan Sponsor Agreement, the Plan, and this Confirmation Order, (b) assume or assume and

assign the Assumed Contracts and Leases, (c) consummate, implement, and close fully the Plan

Sponsor Transaction under the Plan Sponsor Agreement, together with all additional instruments

and documents that may be reasonably necessary or desirable to implement the Plan Sponsor

Transaction, and (d) perform each of its covenants and undertakings as provided in the Plan

Sponsor Agreement and the Definitive Documents prior to, on or after the Effective Date, without

further order of the Bankruptcy Court.

       13.     The Plan Sponsor Agreement and any related agreements, documents, or other

instruments may be modified, amended, or supplemented by the parties thereto in accordance with

the terms thereof without further order of this Bankruptcy Court; provided that any such

modification, amendment, or supplement neither is material nor materially changes the economic

substance of the transactions contemplated thereby.

V.     Assumed Contracts and Leases.

       14.     Notwithstanding any provision of any Assumed Contract or Lease or applicable

non-bankruptcy law that prohibits, restricts, or conditions the assignment of such Assumed

Contract or Lease, the Debtors are authorized to assume or assume and assign to the Plan Sponsor

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the Assumed Contracts and Leases pursuant to section 365 of the Bankruptcy Code, which

assumption or assumption and assignment shall take place on and be effective as of the Effective

Date, except as otherwise provided herein. There shall be no accelerations, assignment fees,

increases, or any other fees charged to the Debtor, the Reorganized Acquired Debtors, or the Plan

Sponsor as a result of the assumption or assumption and assignment of the Assumed Contracts and

Leases, which shall not be a default under any such Assumed Contract or Lease. After the payment

or satisfaction of the relevant Cure Cost (if applicable), none of the Debtors, their Estates,

the Reorganized Acquired Debtors, or the Plan Sponsor shall have any further liabilities under

the Assumed Contracts and Leases to the non-Debtor counterparties under the Assumed Contracts

and Leases, other than the obligations under the Assumed Contracts and Leases that accrue or

become due and payable on or after the Effective Date. Upon assumption by the Reorganized

Acquired Debtors or assumption and assignment to the Plan Sponsor of the Assumed Contracts

and Leases, the Assumed Contracts and Leases shall be deemed valid and binding, in full force

and effect in accordance with their terms, subject to the provisions of this Confirmation Order. As

of the Effective Date, the Reorganized Acquired Debtor shall retain, or the Plan Sponsor shall

succeed to, the entirety of the applicable Debtor’s rights and obligations under each Assumed

Contract or Lease.

VI.    Discharge and Releases.

       15.     The following discharge, release, exculpation, and injunction provisions of the Plan

are hereby approved in their entirety, and will be effective and binding on all Persons or Entities

to the extent provided therein immediately on the Effective Date without further order or action

by the Bankruptcy Court, any of the parties to such releases, or any other Entity:




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              a. Discharge of Claims (Article IX.B)

       Pursuant to section 1141(d) of the Bankruptcy Code, and except as
       otherwise specifically provided in the Plan or in a contract, instrument, or
       other agreement or document executed pursuant to the Plan, the
       distributions, rights, and treatment that are provided in the Plan shall be
       in complete satisfaction, discharge, and release, effective as of the Effective
       Date, of Claims, Interests, and Causes of Action of any nature whatsoever,
       including any interest accrued on Claims or Interests from and after the
       Petition Date, whether known or unknown, against, liabilities of, Liens on,
       obligations of, rights against, and Interests in, the Debtors or any of their
       assets or properties, regardless of whether any property or interest in
       property shall have been distributed or retained pursuant to the Plan on
       account of such Claims and Interests, including demands, liabilities, and
       Causes of Action that arose before the Effective Date, any contingent or
       non-contingent liability on account of representations or warranties issued
       on or before the Effective Date, and all debts of the kind specified in
       sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
       whether or not: (1) a Proof of Claim based upon such debt or right is Filed
       or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a
       Claim or Interest based upon such debt, right, or Interest is Allowed
       pursuant to section 502 of the Bankruptcy Code; or (3) the Holder of such
       a Claim or Interest has voted to accept the Plan. Any default or “event of
       default” by the Debtors or their Affiliates with respect to any Claim or
       Interest that existed immediately before or on account of the filing of the
       Chapter 11 Cases shall be deemed cured (and no longer continuing) as of
       the Effective Date with respect to a Claim that is Unimpaired by the Plan.
       The Confirmation Order shall be a judicial determination of the discharge
       of all Claims (other than Reinstated Claims) and Interests subject to the
       Effective Date occurring.

              b. Release of Liens (Article IX.C)

       Except as otherwise specifically provided in the Plan, the Plan Sponsor
       Agreement or in any contract, instrument, release, or other agreement or
       document created pursuant to the Plan (including the terms of the RBL
       Contingent Value Rights, the RBL Contingent Value Rights
       Memorandum, the Term Loan Contingent Value Rights, the Term Loan
       Contingent Value Rights Agreement, and the Term Loan Contingent
       Value Rights Memorandum), on the Effective Date and concurrently with
       the applicable distributions made pursuant to the Plan and the Plan
       Sponsor Agreement, all mortgages, deeds of trust, Liens, pledges, or other
       security interests against any property, assets, or interests of the Estates
       shall be fully released, settled, compromised, and discharged, and all of the
       right, title, and interest of any Holder of such mortgages, deeds of trust,
       Liens, pledges, or other security interests shall revert to the Plan Sponsor
       (or the Acquired Debtor, as applicable) without any further approval or

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       order of the Bankruptcy Court and without any action or Filing being
       required to be made by the Debtors. Any Holder of a Secured Claim
       (including any applicable agents for such Holder) shall be authorized and
       directed to release any collateral or property of any Debtor (including any
       cash collateral and possessory collateral) held by such Holder (and any
       applicable agents), and to take such actions as may be reasonably
       requested by the Debtors or the Plan Sponsor to evidence the release of
       such Lien, including the execution, delivery and filing or recordation of
       such releases. The presentation or filing of the Confirmation Order to or
       with any federal, state, provincial or local agency or department shall
       constitute good and sufficient evidence of, but shall not be required to
       effect, the termination of such Liens. In addition, the RBL Facility Agent
       and the Term Loan Agent shall execute and deliver all documents
       reasonably requested by the Debtors, the Plan Administrator or the Plan
       Sponsor to evidence the release of such mortgages, deeds of trust, Liens,
       pledges, and other security interests and shall authorize the Debtors to file
       UCC-3 termination statements (to the extent applicable) with respect
       thereto.

              c. Debtor Releases (Article IX.D)

     Notwithstanding anything contained in the Plan, the Confirmation Order,
     or the Plan Sponsor Agreement to the contrary, pursuant to section 1123(b)
     of the Bankruptcy Code, for good and valuable consideration, the adequacy
     of which is hereby confirmed, on and after the Effective Date, each Released
     Party is, and is deemed to be, hereby conclusively, absolutely,
     unconditionally, irrevocably, and forever released and discharged by the
     Debtors and their Estates, in each case on behalf of themselves and their
     respective successors, assigns and representatives, and any and all other
     Entities who may purport to assert any Claim or Cause of Action, directly
     or derivatively, by, through, for, or because of the foregoing Entities, from
     any and all Claims and Causes of Action, including any derivative claims
     asserted on behalf of the Debtors, whether known or unknown, foreseen or
     unforeseen, matured or unmatured, existing or hereafter arising, in law,
     equity, contract, tort or otherwise, that the Debtors or their Estates would
     have been legally entitled to assert in their own right (whether individually
     or collectively) or on behalf of the Holder of any Claim against, or Interest
     in, a Debtor or other Entity, or that any Holder of any Claim against, or
     Interest in, a Debtor or other Entity could have asserted on behalf of the
     Debtors, based on or relating to, or in any manner arising from, in whole or
     in part, the Debtors (including the capital structure, management,
     ownership, or operation thereof), the RBL Facility, the assertion or
     enforcement of rights and remedies against the Debtors, the Debtors’ in- or
     out-of-court restructuring efforts, any Avoidance Actions, intercompany
     transactions between or among a Debtor and another Debtor, the Chapter
     11 Cases, the Plan Sponsor Transaction, the Restructuring Transaction, the


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     formulation, preparation, dissemination, negotiation, or filing of the RSA,
     the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor
     Transaction, the Restructuring Transaction, or any other contract,
     instrument, release, or other agreement or document (including any legal
     opinion requested by any Entity regarding any transaction, contract,
     instrument, document or other agreement contemplated by the Plan or the
     reliance by any Released Party on the Plan or the Confirmation Order in
     lieu of such legal opinion) related to any of the foregoing or created or
     entered into in connection with the RSA, the Disclosure Statement, the Plan,
     the Plan Supplement, the Plan Sponsor Transaction, or the Restructuring
     Transaction, or any other actions taken to effectuate the Plan, before or
     during the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit
     of Confirmation, the pursuit of Consummation, the administration and
     implementation of the Plan, including the issuance or distribution of
     securities or other property pursuant to the Plan or any other related
     agreement, or upon any other related act or omission, transaction,
     agreement, event, or other occurrence taking place on or before the Effective
     Date. Notwithstanding the inclusion of any Released Parties as a potential
     party to any Transferred Causes of Action (including, for each, Avoidance
     Actions), such parties shall remain Released Parties.

     Notwithstanding anything to the contrary in the foregoing, the releases set
     forth above do not release any post-Effective Date obligations of any party
     or Entity under the Plan, any Restructuring Transaction, any Definitive
     Document or any other document, instrument, or agreement (including
     those set forth in the Plan Supplement) executed to implement the Plan.

     Notwithstanding anything to the contrary in the foregoing, the releases set
     forth above do not release any Claims or Causes of Action with respect to
     Todd Stone divorce litigation, titled In the Marriage Matter of Todd and
     Jennifer Stone DC No. 18-02-01705.

     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
     approval, pursuant to Bankruptcy Rule 9019, of the releases herein, which
     includes by reference each of the related provisions and definitions contained
     herein, and further, shall constitute the Bankruptcy Court’s finding that
     the releases herein are: (1) essential to the Confirmation of the Plan; (2) in
     exchange for a substantial contribution and the good and valuable
     consideration provided by the Released Parties that is important to the
     success of the Plan; (3) a good faith settlement and compromise of the Claims
     released by the releases herein; (4) in the best interests of the Debtors and all
     Holders of Claims and Interests; (5) fair, equitable and reasonable; (6) given
     and made after reasonable investigation by the Debtors and after due notice
     and opportunity for hearing; and (7) a bar to any of the Debtors asserting
     any Claim or Cause of Action released by the releases herein against any of
     the Released Parties.


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              d. Third-Party Releases (Article IX.E)

     Except as otherwise expressly set forth in the Plan, the Plan Sponsor
     Agreement, or the Confirmation Order, on and after the Effective Date, in
     exchange for good and valuable consideration, the adequacy of which is
     hereby confirmed, each Debtor and Released Party is, and is deemed to be,
     hereby conclusively, absolutely, unconditionally, irrevocably and forever
     released and discharged by each Releasing Party from any and all Claims
     and Causes of Action, whether known or unknown, foreseen or unforeseen,
     matured or unmatured, existing or hereafter arising, in law, equity, contract,
     tort or otherwise, including any derivative claims asserted on behalf of the
     Debtors, that such Entity would have been legally entitled to assert (whether
     individually or collectively), based on or relating to, or in any manner arising
     from, in whole or in part, the Debtors (including the capital structure,
     management, ownership, or operations thereof), the Debtors’ in- or out-of-
     court restructuring efforts, any Avoidance Actions, any intercompany
     transactions between or among a Debtor and another Debtor, the Chapter
     11 Cases, the Plan Sponsor Transaction, the Restructuring Transaction, the
     formulation, preparation, dissemination, negotiation, or filing of the RSA,
     the Plan Sponsor Agreement, the Restructuring Stipulation, the Disclosure
     Statement, the Plan, the Restructuring Transaction, or any other contract,
     instrument, release, or other agreement or document (including any legal
     opinion requested by any Entity regarding any transaction, contract,
     instrument, document or other agreement contemplated by the Plan or the
     reliance by any Released Party on the Plan or the Confirmation Order in
     lieu of such legal opinion) relating to any of the foregoing or created or
     entered into in connection with the RSA, the Plan Sponsor Transaction, the
     Restructuring Stipulation, the Disclosure Statement, the Plan, or the
     Restructuring Transaction, or any other actions taken to effectuate the Plan,
     before or during the Chapter 11 Cases, the filing of the Chapter 11 Cases,
     the pursuit of Confirmation, the pursuit of Consummation, the
     administration and implementation of the Plan, including the issuance or
     distribution of securities or other property pursuant to the Plan or any other
     related agreement, or upon any other related act or omission, transaction,
     agreement, event, or other occurrence taking place on or before the Effective
     Date.

     Notwithstanding anything to the contrary in the foregoing, the releases set
     forth above do not release any post-Effective Date obligations of any party
     or Entity under the Plan, any Restructuring Transaction, any Definitive
     Document or any other document, instrument, or agreement (including
     those set forth in the Plan Supplement) executed to implement the Plan.

     Notwithstanding anything to the contrary in the foregoing, the releases set
     forth above do not release any Claims or Causes of Action with respect to



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     Todd Stone divorce litigation, titled In the Marriage Matter of Todd and
     Jennifer Stone DC No. 18-02-01705.

     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
     approval, pursuant to Bankruptcy Rule 9019, of the releases of Holders of
     Claims and Interests, which includes by reference each of the related
     provisions and definitions contained herein, and further, shall constitute the
     Bankruptcy Court’s finding that the releases herein are: (1) essential to the
     Confirmation of the Plan; (2) in exchange for a substantial contribution and
     the good and valuable consideration provided by the Released Parties that is
     important to the success of the Plan; (3) a good faith settlement and
     compromise of the Claims released by the Releasing Parties; (4) in the best
     interests of the Debtors and all Holders of Claims and Interests; (5) fair,
     equitable and reasonable; (6) given and made after due notice and
     opportunity for hearing; and (7) a bar to any of the Releasing Parties
     asserting any Claim or Cause of Action released by the releases herein
     against any of the Released Parties.

              e. Exculpation (Article IX.F)

     Except as otherwise specifically provided in the Plan, no Exculpated Party
     shall have or incur any liability for, and each Exculpated Party is hereby
     released and exculpated from any Claims or Cause of Action for, any claim
     related to any act or omission in connection with, relating to, or arising out
     of, the Chapter 11 Cases, the formulation, preparation, dissemination,
     negotiation, or filing of the RSA and related prepetition transactions
     (including the RBL Facility), the Disclosure Statement, the Plan, the Plan
     Supplement, the Restructuring Stipulation, the Plan Sponsor Transaction
     and any actions taken to effectuate the Plan, or any Restructuring
     Transaction, contract, instrument, release or other agreement or document
     (including any legal opinion requested by any Entity regarding any
     transaction, contract, instrument, document or other agreement
     contemplated by the Plan or the reliance by any Releasing Party on the Plan
     or the Confirmation Order in lieu of such legal opinion) created or entered
     into before or during the Chapter 11 Cases, any preference, fraudulent
     transfer, or other avoidance claim arising pursuant to chapter 5 of the
     Bankruptcy Code or other applicable law, in connection with the Disclosure
     Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of
     Confirmation, the pursuit of Consummation, the administration and
     implementation of the Plan, including the issuance or distribution of
     securities pursuant to the Plan, or the distribution of property, assets, and
     interest under the Plan or any other related agreement, or upon any other
     related act or omission, transaction, agreement, event or other occurrence
     taking place on or before the Effective Date, except for claims related to any
     act or omission that is determined in a Final Order to have constituted actual
     fraud or gross negligence, but in all respects the Exculpated Parties shall be


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     entitled to reasonably rely upon the advice of counsel with respect to their
     duties and responsibilities pursuant to the Plan. The Exculpated Parties
     have, and upon confirmation of the Plan shall be deemed to have,
     participated in good faith and in compliance with the applicable laws with
     regard to the solicitation of votes and distribution of consideration pursuant
     to the Plan and, therefore, are not, and on account of such distributions shall
     not be, liable at any time for the violation of any applicable law, rule, or
     regulation governing the solicitation of acceptances or rejections of the Plan
     or such distributions made pursuant to the Plan.

              f. Injunction (Article IX.G)

     Except as otherwise expressly provided in the Plan or for distributions
     required to be paid or delivered pursuant to the Plan or the Confirmation
     Order, all Entities that have held, hold, or may hold Claims or Interests that
     have been released pursuant to the Plan shall be discharged pursuant to the
     Plan, or are subject to exculpation pursuant to the Plan, are permanently
     enjoined, from and after the Effective Date, from taking any of the following
     actions against, as applicable, the Debtors, the Released Parties, or the
     Exculpated Parties (to the extent of the exculpation provided pursuant to the
     Plan with respect to the Exculpated Parties): (i) commencing or continuing
     in any manner any action or other proceeding of any kind on account of or
     in connection with or with respect to any such Claims or Interests;
     (ii) enforcing, attaching, collecting, or recovering by any manner or means
     any judgment, award, decree, or order against such Entities on account of
     or in connection with or with respect to any such Claims or Interests;
     (iii) creating, perfecting, or enforcing any Lien or encumbrance of any kind
     against such Entities or the property or interest in property or the Estates of
     such Entities on account of or in connection with or with respect to any such
     Claims or Interests; (iv) asserting any right of setoff, subrogation, or
     recoupment of any kind against any obligation due from such Entities or
     against the property or interest in property of such Entities on account of or
     in connection with or with respect to any such Claims or Interests unless
     such Entity has timely asserted such setoff right in a document Filed with the
     Bankruptcy Court explicitly preserving such setoff, and notwithstanding an
     indication of a Claim or Interest or otherwise that such Entity asserts, has,
     or intends to preserve any right of setoff pursuant to applicable law or
     otherwise; and (v) commencing or continuing in any manner any action or
     other proceeding of any kind on account of or in connection with or with
     respect to any such Claims or Interests released or settled pursuant to the
     Plan.

     Upon entry of the Confirmation Order, all Holders of Claims and Interests
     and their respective current and former employees, agents, officers,
     directors, managers, principals, and direct and indirect Affiliates shall be
     enjoined from taking any actions to interfere with the implementation or


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              Consummation of the Plan. Except as otherwise set forth in the
              Confirmation Order, each Holder of an Allowed Claim or Allowed Interest,
              as applicable, by accepting, or being eligible to accept, distributions under
              or Reinstatement of such Claim, as applicable, pursuant to the Plan, shall be
              deemed to have consented to the injunction provisions set forth in this Article
              IX.G.

VII.    Implementation of the Plan.

        16.    The Debtors are authorized to consummate the Plan after the entry of

this Confirmation Order subject to satisfaction or waiver of the conditions precedent to

the Effective Date as set forth in the Plan. The Debtors or the Reorganized Acquired Debtors, as

applicable, are hereby authorized, immediately upon entry of this Confirmation Order, to enter

into and effectuate the Restructuring Transactions and may take any actions as may be necessary

or appropriate to effect the Plan Sponsor Transaction. To the extent not approved by the Court

previously, entry of this Confirmation Order shall be deemed approval of the Restructuring

Transactions (including the transactions and related agreements contemplated thereby, including

by the RSA, the Restructuring Stipulation, the Plan Sponsor Agreement, as the same may be

modified in accordance with their terms from time to time prior to the Effective Date), and all

actions to be taken, undertakings to be made, are hereby effective and authorized to be taken.

        17.    Under section 1142(b) of the Bankruptcy Code and applicable nonbankruptcy law,

no action of the directors, partners, managers, members, or equity holders of the Debtors,

the Reorganized Acquired Debtors, or the Plan Sponsor, as applicable, is required to authorize

the Debtors, the Reorganized Acquired Debtors, and the Plan Sponsor, as applicable, to enter into,

execute, deliver, file, adopt, amend, restate, consummate, or effectuate, as the case may be,

the Plan, the Restructuring Transactions (including the Plan Sponsor Transaction), and any

contract, instrument, or other document to be executed, delivered, adopted, or amended in

connection with the implementation of the Plan and the Restructuring Transactions (including


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the Plan Sponsor Transaction), and each of the Definitive Documents will be a legal, valid, and

binding obligation of the Debtors or the Reorganized Acquired Debtors, as applicable, enforceable

against the Debtors and the Reorganized Acquired Debtors in accordance with the respective terms

thereof.

       18.     Subject to the terms of the RSA and the Restructuring Stipulation, the Debtors are

also authorized from and after the date hereof to negotiate, execute, issue, deliver, implement, file,

or record any contract, instrument, release, or other agreement or document or take any action

necessary or appropriate to implement the transactions contemplated by the Plan.

       19.     This Confirmation Order shall constitute all authority, approvals, and consents

required, if any, by the laws, rules, and regulations of all states and any other governmental

authority or any contract to which any of the Debtors are party with respect to the implementation

or Consummation of the Plan and any documents, instruments, or agreements, and any

amendments or modifications thereto, and any other acts and transactions referred to in or

contemplated by the Plan, the Plan Supplement, the Disclosure Statement, and any documents,

instruments, securities, or agreements provided for therein, and any amendments or modifications

thereto.

       20.     Each federal, state, commonwealth, local, foreign, or other governmental agency is

authorized and directed to accept any and all documents, mortgages, and instruments necessary or

appropriate to effectuate, implement, or consummate the Plan, including the Restructuring

Transactions (including the Plan Sponsor Transaction), and this Confirmation Order.

VIII. Cancellation of Instruments.

       21.     On the Effective Date, except as otherwise specifically provided for in the Plan:

(a) the obligations of any Debtor under any certificate, share, membership or limited partner

interest, note, bond, indenture, purchase right, or other instrument or document, directly or

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indirectly evidencing or creating any indebtedness or obligation of or ownership interest, equity,

or portfolio interest in the Debtors or any warrants, options, or other securities exercisable or

exchangeable for, or convertible into, debt, equity, ownership, or profits interests in the Debtors

giving rise to any Claim or Interest shall be canceled and deemed surrendered as to the Debtors

and shall not have any continuing obligations thereunder; (b) the obligations of the Debtors

pursuant, relating, or pertaining to any agreements, indentures, certificates of designation, bylaws,

operating agreements, partnership agreements or certificates or articles of incorporation or

formation or similar documents governing the equity interests, certificates, notes, bonds, indenture,

purchase rights, options, warrants, or other instruments or documents evidencing or creating any

indebtedness or obligation of the Debtors shall be fully released, discharged, settled, and

compromised; and (c) the Intercreditor Agreement and any other similar intercreditor agreements

or contracts shall be canceled and the parties thereto shall not have any continuing obligations

thereunder.

IX.    Release of Liens.

       22.     Except as otherwise specifically provided in the Plan, and without limitation to the

terms of the RBL Contingent Value Rights, the RBL Contingent Value Rights Memorandum,

the Term Loan Contingent Value Rights, and the Term Loan Contingent Value Rights

Memorandum, on the Effective Date, all Liens on any property, assets or interests of any Debtors

shall automatically terminate, all property, assets and interests subject to such Liens shall be

automatically released, and all guarantees of any Debtors shall automatically be discharged and

released.

X.     Valid Transfer; No Liability.

       23.     The transfer to the Plan Sponsor of the Debtors’ rights, title, and interest in

the Assets pursuant to the Plan Sponsor Agreement shall be, and hereby is deemed to be, a legal,

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valid, and effective transfer of the Debtors’ rights, title, and interest in the Assets, except with

respect to the Assets of the Acquired Debtors, which shall vest in the Reorganized Acquired

Debtors, in either case notwithstanding any requirement for approval or consent by any person,

and all rights, title, and interest of the Debtors in the Assets shall vest with or will vest in the Plan

Sponsor or the applicable Reorganized Acquired Debtor free and clear of all Claims of any kind

or nature whatsoever (other than the Assumed Liabilities), including, without limitation (except to

the extent specifically set forth herein), any restrictions on transfer, Preferential Purchase Rights,

rights of first refusal, or any other consent rights set forth in an Executory Contract.

        24.     Except as expressly provided in the Plan Sponsor Agreement, the other documents

entered into in connection therewith, the Plan, or by this Confirmation Order, all Persons and

Entities, including, but not limited to, all debt security holders, equity security holders,

governmental, tax and regulatory authorities, lenders, vendors, suppliers, employees, trade

creditors, litigation claimants, non-Debtor parties to the Assumed Contracts and Leases, and other

persons holding Claims or Liens of any kind or nature whatsoever against or in the Debtors or

the Debtors’ interests in the Assets (whether known or unknown, legal, or equitable, matured or

unmatured, contingent or noncontingent, liquidated or unliquidated, asserted or unasserted,

whether arising prior to or subsequent to the commencement of the Chapter 11 Cases, whether

imposed by agreement, understanding, law, equity, or otherwise) shall be and hereby are forever

barred, estopped, and permanently enjoined from asserting, prosecuting, or otherwise pursuing or

taking any other action against the Plan Sponsor, the Reorganized Acquired Debtors, the Plan

Sponsor’s or the Reorganized Acquired Debtors’ respective affiliates, successors, assigns, equity

holders, directors, officers, employees, or professionals, the Assets, or the interests of the Debtors,

the Reorganized Acquired Debtors, or the Plan Sponsor in such Assets based on any Claims,



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Interests, Liens, or other encumbrances to the extent such Claims, Interests, Liens, or

encumbrances are released or discharged pursuant to the Plan, including any Claims arising under

or out of, in connection with, or in any way relating to, the transfer of the Debtors’ interests in

the Assets to the Plan Sponsor. Following the Closing, no holder of a Claim against the Debtors

(other than Assumed Liabilities) shall interfere with the Plan Sponsor’s or the Reorganized

Acquired Debtors’ title to or use and enjoyment of the Debtors’, the Reorganized Acquired

Debtors’, or the Plan Sponsor’s interest in the Assets based on or related to such Claim. All

Persons and Entities are hereby enjoined from taking action that would interfere with or adversely

affect the ability of the Debtors to transfer the Assets or issue the Reorganized Acquired Debtor

Interests in accordance with the terms of the Plan Sponsor Agreement, the Plan, and

this Confirmation Order.

       25.     On the Closing Date, this Confirmation Order shall be construed and shall

constitute for any and all purposes a full and complete general assignment, conveyance, and

transfer of all of the Debtors’ rights, title, and interest in the Assets or a bill of sale transferring

good and marketable title in such Assets to the Plan Sponsor, except with respect to the assets of

the Acquired Debtors, which shall revest in the Reorganized Acquired Debtors, pursuant to the

terms of the Plan Sponsor Agreement and the Plan, in each case free and clear of all Claims (other

than Assumed Liabilities).

       26.     All counterparties to the Assumed Contracts and Leases shall cooperate and

expeditiously execute and deliver, upon the reasonable requests of the Plan Sponsor, any

instruments, applications, consents, or other documents which may be required by any public or

quasi-public authority or other party or entity to effectuate the applicable transfers in connection

with the sale of the Assets and assignment of the Assumed Contracts and Leases (if applicable).



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         27.    All entities (other than holders of Assumed Liabilities) that are presently, or on

the Closing Date may be, in possession of some or all of the Assets are hereby directed to surrender

possession of the Assets to the Plan Sponsor or the applicable Reorganized Acquired Debtor as of

the Closing Date. The Debtors shall use commercially reasonable efforts to assure that all persons

that are presently, or on the Closing Date may be, in possession of some or all of the Assets

surrender possession of the Assets to either the Debtors before the Closing Date or the Plan

Sponsor (or its designee) or the applicable Reorganized Acquired Debtor on or after the Closing

Date.

         28.    No bulk sales law or any similar law of any state or other jurisdiction shall apply in

any way to the Plan Sponsor Transaction. The Debtors and the Plan Sponsor waive, and hereby

shall be deemed to have waived, any requirement of compliance with, and any claims related to

non-compliance with, the provisions of any bulk sales, bulk transfer, or similar law of any

jurisdiction that may be applicable. Except as otherwise provided in the Plan Sponsor Agreement

or the other Transaction Documents (as defined in the Plan Sponsor Agreement), no obligation or

liability, contingent or otherwise, for brokerage or finders’ fees or agents’ commissions or other

similar payment is due to any person in connection with the Plan Sponsor Agreement, the other

Transaction Documents, or the transactions contemplated thereunder or under the Plan for which

the Plan Sponsor is or will become liable.

XI.      Enforceability of Plan.

         29.    Pursuant to sections 1123(a) and 1142(a) of the Bankruptcy Code, upon

the Effective Date, the provisions of this Confirmation Order and the Plan shall apply and be

binding and enforceable notwithstanding any otherwise applicable nonbankruptcy law.




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XII.     Continued Effect of Stays and Injunctions.

         30.   Unless otherwise provided in the Plan or this Confirmation Order, all injunctions

or stays in effect in the Chapter 11 Cases under sections 105 or 362 of the Bankruptcy Code or any

order of the Bankruptcy Court that is in existence upon entry of this Confirmation Order shall

remain in full force and effect until the Effective Date. All injunctions or stays contained in

the Plan or this Confirmation Order shall remain in full force and effect in accordance with their

terms.

XIII. Good Faith.

         31.   The Plan Sponsor is a good faith purchaser within the meaning of section 363(m)

of the Bankruptcy Code and is therefore entitled to all of the protections afforded by section 363(m)

of the Bankruptcy Code. The Plan Sponsor has proceeded in good faith in all respects in

connection with this proceeding.

         32.   Neither the Debtors nor the Plan Sponsor engaged in any conduct that would cause

or permit the Plan Sponsor Agreement or the consummation of the Plan Sponsor Transaction to be

avoided, or costs or damages to be imposed, under Bankruptcy Code section 363(n) or any other

applicable law, and the consideration provided by the Plan Sponsor for the Plan Sponsor

Transaction under the Plan Sponsor Agreement shall be deemed for all purposes to constitute

reasonably equivalent value and fair consideration under the Bankruptcy Code and any other

applicable law. Accordingly, the Plan Sponsor Transaction may not be avoided, or costs or

damages imposed or awarded under Bankruptcy Code section 363(n) or any other provision of the

Bankruptcy Code, the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act,

the Uniform Fraudulent Conveyance Act, or any other similar applicable laws.




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XIV. Provision Regarding Certain Surety Indemnity Agreements.

       33.     Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the releases set forth in Article IX of the Plan do not release any Claims or Causes or Action with

respect to any indemnity agreements in favor of RLI Insurance Company (“RLI Insurance”),

Munich Reinsurance America, Inc., or Evergreen National Indemnity Company.

XV.    Reservation of Rights in Favor of Governmental Units; Federal Lease Interests.

       34.     Notwithstanding anything to the contrary in this Confirmation Order, the Plan,

the Plan Supplement, or any exhibits to the Plan or, with respect to the foregoing, any of their

respective implementing documents (collectively, for purposes of paragraphs 34 and 35 of

this Confirmation Order, the “Confirmation Documents”), nothing shall release, discharge, limit,

preclude, or enjoin: (a) any liability to any “Governmental Unit” (as defined in 11 U.S.C.

§ 101(27)) that is not a Claim as set forth in 11 U.S.C. § 101(5); (b) any Claim of a Governmental

Unit arising on or after the Effective Date; (c) any liability to a Governmental Unit on the part of

any non-Debtor; (d) any police or regulatory liability to a Governmental Unit that any Entity would

be subject to as an owner or operator of property after the Effective Date; (e) any obligations to a

Governmental Unit under the Debtors’ interests in any Federal Leases (as defined below) assumed

under the Plan; and/or (f) any right of setoff or recoupment by any Governmental Unit, all of which

are expressly preserved; provided that the foregoing shall not, and nothing in this Confirmation

Order or the Plan shall, limit, diminish or otherwise alter the Debtors’, the Reorganized Acquired

Debtors’, or the Plan Sponsor’s defenses, Claims, Causes of Action, or other rights under

applicable non-bankruptcy law with respect to the matters described in (a)–(e) above or any other

Claims, Causes of Action, or rights of Governmental Units; provided further that nothing in

the Confirmation Documents shall divest any tribunal of jurisdiction to adjudicate the matters

described in (a)–(e) above or any other Claims, Causes of Action, or rights of Governmental Units.

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Nothing in the Confirmation Documents shall exculpate any third party or non-Debtor Entity from

any liability owed to, or Claim, action, proceeding, or Cause of Action of the United States, or a

State, except to the extent that such non-Debtor is exculpated for acting in its fiduciary capacity to

the Estates as explicitly provided for in the Bankruptcy Code; provided, however, that nothing in

the Confirmation Documents shall exculpate any Entity or party with respect to any violation of

any laws intended to protect the public health and safety or any liability under environmental laws.

       35.     The United States Department of the Interior (the “Interior”) consents to

the Debtors’ (including, as applicable, any Reorganized Acquired Debtor’s) assumption of

the Debtors’ interests in their Federal Leases (as defined below). Nothing in the Confirmation

Documents shall be construed as a compromise or settlement of any Claim, interest, or Cause of

Action of the United States under the Federal Leases or affect the treatment of any interest in

contracts, leases, covenants, operating rights agreements, rights-of-use and easement, and rights-

of-way or other interests or agreements with the federal government involving federal land or

minerals (collectively, the “Federal Lease(s)”). Notwithstanding anything to the contrary in

the Confirmation Documents, upon the date of entry of this Confirmation Order, the Debtors

(including, as applicable, the Reorganized Acquired Debtors) shall assume all of, and shall not

abandon or otherwise reject, the Debtors’ current or former interests in any Federal Leases. On

the Effective Date, the Federal Leases shall be assumed by the Debtors pursuant to 11 U.S.C.

§ 365. Upon any assumption of the Federal Leases, the Plan Sponsor and/or the Reorganized

Acquired Debtors, as applicable, shall assume and/or succeed to all financial assurance, bonding,

maintenance and monitoring, reclamation, decommissioning, plugging and abandonment and

other obligations related to the Federal Leases. Nothing in the Confirmation Documents shall be

interpreted to release the Debtors, Reorganized Acquired Debtors, or Plan Sponsor from any



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reclamation, plugging and abandonment, or other operational requirement under applicable

Federal laws or to address, or otherwise affect, any decommissioning obligations, financial

assurance or other regulatory or contractual requirements under the Federal Leases, as determined

by the United States, that must be met by the Debtors, the Reorganized Acquired Debtors, the Plan

Sponsor, or their successors and assigns with respect to the Federal Leases. Notwithstanding

anything to the contrary in the Confirmation Documents or in any Cure Notices contemplated by,

or associated with, the Confirmation Documents, nothing therein shall be interpreted to set cure

amounts, and any amounts owing under the Federal Leases shall be promptly paid when due in the

ordinary course subject to applicable non-bankruptcy laws, regulations and administrative

procedures. If the Debtors, the Reorganized Acquired Debtors, or the Plan Sponsor, as applicable,

do not timely pay amounts owing on account of Federal Leases when due in the ordinary course

pursuant to applicable non-bankruptcy laws, regulations and administrative procedures,

the Debtors, the Reorganized Acquired Debtors, and/or the Plan Sponsor, as applicable, will pay

late payment charges on the untimely payment at the rate established in 30 C.F.R. § 1218.54 to the

fullest extent permitted by applicable non-bankruptcy laws and regulations. For the avoidance of

any doubt, and notwithstanding anything to the contrary in the Confirmation Documents, the

assumption of any the Debtors’ interests in the Federal Leases shall not release any monetary or

non-monetary obligations that are owing by the Debtors, the Reorganized Acquired Debtors,

and/or the Plan Sponsor as applicable, under applicable laws and regulations on account of such

Federal Leases. Notwithstanding any provision to the contrary in the Confirmation Documents,

the United States and/or its respective delegees will retain, and have, the right to audit and/or

perform any compliance review and, if appropriate, collect from the Debtors, the Reorganized

Acquired Debtors, the Plan Sponsor, and/or their successor(s) and assign(s) under the Federal



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Leases, any monies that the Debtors or the Reorganized Acquired Debtors are later determined to

owe for periods prior to the assumption of the Federal Leases without those rights being adversely

affected by the Chapter 11 Cases. Such rights shall be preserved in full as if the Chapter 11 Cases

had not occurred. The Debtors, the Reorganized Acquired Debtors, the Plan Sponsor, and their

successors and assigns, as applicable, will each individually retain all defenses and/or rights, other

than defenses and/or rights arising from the Chapter 11 Cases, to challenge any such determination;

provided, however, that any such challenge, including any challenge associated with

the Chapter 11 Cases, must be raised in the United States’ administrative review process leading

to a final agency determination by the Interior. The audit and/or compliance review period shall

remain open for the full statute of limitations period established by the Federal Oil and Gas Royalty

Simplification and Fairness Act of 1996, 30 U.S.C. § 1701, et seq. For the avoidance of any doubt,

but subject to and without limiting the requirements otherwise set forth in this paragraph, pending

compliance reviews, including ongoing Compliance Review No. 10076944, shall be preserved and

continue in an administrative proceeding until a final determination has been made by the Interior,

and all parties reserve their rights in the administrative process with respect to such compliance

reviews.     To the extent that anything in the Confirmation Documents conflict with this

paragraph 35, the terms of this paragraph shall expressly supersede and control.

XVI. Provision Regarding CyrusOne LLC.

       36.      The Master Services Agreement between Arena Energy and CyrusOne LLC

(“CyrusOne”), dated October 27, 2016, along with any order forms thereunder, shall be assumed

by the Debtors. Any amounts outstanding on account of unpaid invoices, including the invoices

dated August 3, 2020, in the amount of $3,662.17, and September 1, 2020, in the amount of

$3,662.17, shall be paid in accordance with the terms of the Plan Sponsor Agreement by the

applicable Reorganized Acquired Debtor to CyrusOne as a cure pursuant to the assumption.

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XVII. Provision Regarding Seismic Data of Seitel Data, Ltd. and CGG Land (U.S.) Inc.

       37.     Notwithstanding anything in the Plan, any Plan Supplement, or this Confirmation

Order to the contrary, (a) all Executory Contracts, including, but not limited to, all Master

Licensing Agreements and all supplements, amendments, schedules and attachments thereto

(collectively, the “Seitel and CGG Agreements”) between any of the Debtors, on the one hand,

and Seitel Data, Ltd., Seitel Offshore Corp., Seismic Enterprises Mexico, S. de R.L. de C.V. and

other affiliates (collectively, “Seitel”) or CGG Land (U.S.) Inc. f/k/a CGGVeritas Land (U.S.).

Inc. (“CGG”), on the other hand, shall be and hereby are rejected pursuant to section 365 of

the Bankruptcy Code as of the date of entry of this Confirmation Order, (b) to the extent necessary,

the automatic stay under section 362 of the Bankruptcy Code is hereby modified to permit the

termination of the Seitel and CGG Agreements, and (c) the Debtors shall comply with all

confidentiality provisions, destruction of data, and verification of destruction of data provisions

required by the Seitel and CGG Agreements. Notwithstanding the foregoing, the rejection of

the Seitel and CGG Agreements shall be subject to the agreement by Seitel or CGG, as applicable,

and the Plan Sponsor, or the determination by the Bankruptcy Court, of any Claim arising from

such rejection in an amount acceptable to the Plan Sponsor. In the event there is no agreement

between Seitel or CGG, as applicable, and the Plan Sponsor with respect to any such Claim and

the Bankruptcy Court determines such Claim to be in amount that is not acceptable to the Plan

Sponsor, the Plan Sponsor may seek to assume such Seitel and CGG Agreements, in which case

Seitel or CGG, as applicable, shall have a reasonable opportunity to object to such assumption,

including any required cure amount associated therewith.

XVIII. Provision Regarding Certain Employee Agreements.

       38.     As of the Effective Date, Arena Energy shall assume the agreements set forth in

Exhibit C to this Confirmation Order.

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XIX. Provision Regarding Certain Seismic and Geological Counterparties.

       39.     Notwithstanding anything in the Plan, the Plan Supplement, any schedule of

Assumed Contracts and Leases, any schedule of Rejected Contracts and Leases, or

this Confirmation Order, (i) the transfer under the Plan of any seismic, geological, or geophysical

data, derivatives, or interpretations thereof, or of intellectual property (collectively,

the “Materials”), owned by (a) WesternGeco LLC or its affiliates, (b) Fairfield Industries

Incorporated d/b/a Fairfield Geotechnologies f/k/a FairfieldNodal or its affiliates, (c) TGS-

NOPEC Geophysical Company ASA, TGS-NOPEC Geophysical Company, A2D Technologies,

Inc., d/b/a TGS Geological Products and Services, successor to A2D LP, or their affiliates,

(d) Petroleum Geo-Services, Inc., successor to Diamond Geophysical Service Corporation,

Multiklient Invest AS, or their affiliates, and/or (e) Geophysical Pursuit, Inc. or its affiliates

(collectively, the “Seismic and Geological Counterparties”); and/or (ii) the assumption,

assumption and assignment, rejection, modification, termination, or release (including the validity

and applicability of the provisions of the Plan with respect to any change in ownership or control

provisions) under the Plan of any master license agreement, license agreement, and/or

supplemental or related agreements between any of the Seismic and Geological Counterparties and

any Debtor (the “Seismic or Geological Agreements”), in each case, shall remain subject to a

subsequent court order after notice to the applicable Seismic and Geological Counterparty and an

opportunity to respond; provided, however, that the Reorganized Acquired Debtors are authorized

to continue operating under the Seismic or Geological Agreements (including the use of

the Materials and any intellectual property thereunder) in the ordinary course of business (without

the payment of any change in ownership or control fees) until the earliest of (x) sixty (60) days

from the entry of the Confirmation Order or such later date as may be agreed between

the Reorganized Acquired Debtors and the applicable Seismic and Geological Counterparty and

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(y) the date such agreements are deemed assumed, assumed and assigned, rejected, or terminated,

in which case, the order authorizing such assumption, assumption and assignment, rejection, or

termination, when final, shall govern with respect to all matters provided for therein, including any

continued operation under the applicable Seismic or Geological Agreement; provided further that

all rights and defenses of the Debtors, the Reorganized Acquired Debtors, the Plan Sponsor, and

the Seismic and Geological Counterparties under non-bankruptcy and bankruptcy law, and all

objections of the Seismic and Geological Counterparties (and the Debtors’, the Reorganized

Acquired Debtors’, and the Plan Sponsor’s rights and defenses with respect thereto) to the terms

of the Plan, insofar as they should relate or be applied to the Seismic and Geological Counterparties

and regarding assumption or assumption and assignment (including all rights and defenses under

section 365 of the Bankruptcy Code and with respect to the validity and enforceability of change

in ownership and control provisions and whether any of the Materials constitute intellectual

property), are reserved and preserved with respect to such Seismic or Geological Agreements.

XX.     Provision Regarding Exxon Mobile Corporation.

        40.      Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

neither the Plan nor the Confirmation Order shall have any effect upon or in any manner alter or
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impair Exxon’s, the Debtors’, or the Plan Sponsor’s rights and interests pursuant to the following:

(a) that certain Purchase and Sale Agreement among Exxon and Pipeline, as sellers, and Arena

Energy, as buyer, effective June 1, 2011 (the “Eugene Island PSA”), (b) that certain Financial

Security/Abandonment Funding Agreement executed pursuant to the Eugene Island PSA, effective


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    For purposes of this Confirmation Order, the terms “Exxon” and “Exxon Entities” shall mean and include one or
    more, as applicable, of Exxon Corporation, Exxon Mobil Corporation, Exxon Mobil Pipeline Company
    (“Pipeline”), Exxon Mobil Oil Corporation, Exxon Mobil Gas & Power Marketing, Exxon Mobil Production,
    Exxon Co. USA, Exxon Production Co., Exxon Energy, Inc., Exxon Mobil Exploration Co., XTO Energy, Inc.,
    XTO Holdings, LLC, XH, LLC, and any parent, subsidiary or affiliate of any such entities.


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June 1, 2011, among Exxon, Pipeline, and Arena Energy (the “Funding Agreement”), (c) that

certain Escrow Agreement executed pursuant to the Funding Agreement, effective June 1, 2011,

among Exxon, Arena Energy, and Wells Fargo, National Association, as escrow agent

(the “Eugene Escrow Agreement”), (d) Performance Bond No. RLB 0015909 (“Performance

Bond 1”) issued pursuant to the Funding Agreement, effective June 1, 2011, among Arena Energy,

as principal, Exxon, as obligee, and RLI Insurance, as surety, (e) Performance Bond No. RLB

0013842 (“Performance Bond 2”) also issued pursuant to the Funding Agreement, effective

June 1, 2011, among Arena Energy, as principal, Exxon, as obligee, and RLI Insurance, as surety,

as amended by Rider No. 1 dated as of December 18, 2014, (f) that certain Purchase and Sale

Agreement, effective January 1, 2019, among Exxon and Pipeline, as sellers, and Arena Energy,

as buyer (the “GOM PSA”), and (g) Performance Bond SUR 0056455 (“Performance Bond 3”

and, together with Performance Bond 1 and Performance Bond 2, the “Exxon Performance

Bonds”) issued pursuant to the GOM PSA, dated as of July 16, 2019, among Arena Energy, as

principal, Exxon, as obligee, and Argonaut Insurance Company, as surety. Except as expressly

provided in the immediately following paragraph, all of Exxon’s rights, remedies, and Claims

pursuant to the Eugene Island PSA, the Funding Agreement, the Eugene Escrow Agreement,

the GOM PSA, and the Exxon Performance Bonds shall be Reinstated under the Plan.

       41.    Exxon agrees that each of the Exxon Performance Bonds may be amended by a

rider substituting the Plan Sponsor as principal in place of Arena Energy. Otherwise, except as

expressly provided in this paragraph, the terms of the Exxon Performance Bonds shall not be

altered in any manner, and Exxon’s rights pursuant to the Exxon Performance Bonds are

unaffected, by either the Plan or this Confirmation Order. Without limiting the generality of the

foregoing, nothing in the Plan or Confirmation Order shall preclude Exxon from giving any notice



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to, or making any demand upon, the principal on any of the Exxon Performance Bonds to the

extent required by the terms of any of the Exxon Performance Bonds, the Eugene Island PSA,

the Eugene Escrow Agreement, the GOM PSA, or the Funding Agreement. In addition, Exxon

agrees that a rider may be added to Performance Bond 3 adding Markel Insurance Company as an

additional surety. This will satisfy the requirement of section 8.04(f)(2) of the GOM PSA

regarding the credit rating for the surety on Performance Bond 3.

        42.      Nothing contained in the Plan or this Confirmation Order shall act to (a) determine

any Cure Cost with respect to any of the Exxon Entities, or (b) preclude any netting (either based

on setoff or recoupment) in the ordinary course of business by any of the Exxon Entities.

XXI. Provision Regarding Certain Texas Taxing Entities.

        43.      Notwithstanding any other provision of the Plan or this Confirmation Order, any
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allowed Other Secured Claims of the Certain Texas Taxing Entities (the “Allowed Secured Tax

Claims”), shall be classified in Class 2 and paid in full in Cash (a) within ten (10) business days

after the Effective Date or as soon thereafter as is reasonably practical, or (b) when due according

to their terms, whichever occurs later. The prepetition and postpetition tax liens, including

statutory liens and privileges, if any, of the Certain Texas Taxing Entities, shall be expressly

retained in accordance with applicable non-bankruptcy law. The Allowed Secured Tax Claims

shall include all accrued interest properly charged in accordance with sections 511, 506(b), and

1129(a)(9)(C) or 1129(a)(9)(D) of the Bankruptcy Code through the date of payment of such

Allowed Secured Tax Claims. In the event of a default in payment of an Allowed Secured Tax

Claim as provided for herein, the affected Texas Taxing Entity shall send written notice of default


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    For purposes of this Confirmation Order, the “Certain Texas Taxing Entities” shall refer to the Cypress-Fairbanks
    Independent School District, Harris County, Montgomery County, the Woodlands Metro Center Municipal Utility
    District, and the Woodlands Road Utility District #1.


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to the Debtors or Reorganized Acquired Debtors, as applicable, and their counsel. If such default

is not cured within thirty (30) days after such notice of default is mailed, the affected Texas Taxing

Entity may proceed with applicable state law remedies for collection of any amounts due. Any

postpetition ad valorem tax liabilities incurred by the Debtor after the Petition Date shall be paid

by the Debtors in the ordinary course of business, subject to applicable non-bankruptcy laws

including penalty and interest, when due without further notice to of order of this Court.

XXII. Provisions Regarding the Texas Comptroller.

       44.      The following provisions of this Confirmation Order will govern the treatment of

the Texas Comptroller of Public Accounts (the “Texas Comptroller”) concerning the duties and

responsibilities of the Debtors relating to all unclaimed property presumed abandoned before

the Petition Date (the “Texas Unclaimed Property”) under Texas Property Code, Title 6,

Chapters 72-76 and other applicable Texas laws (the “Texas Unclaimed Property Laws”):

             a. On or within thirty (30) days after the Effective Date, the Debtors shall review their
                books and records and turn over to the Texas Comptroller any known Texas
                Unclaimed Property presumed abandoned before the Petition Date and reflected in
                property reports delivered by the Debtors to the Texas Comptroller under the Texas
                Unclaimed Property Laws (the “Reported Unclaimed Property”). With respect to
                such Reported Unclaimed Property, the Texas Comptroller will not seek payment
                of any interest or penalty by the Debtors.

             b. Notwithstanding section 362 of the Bankruptcy Code and the injunction contained
                in Article IX.G of the Plan, after the Effective Date, the Texas Comptroller and its
                agents may commence an audit of the Debtors in accordance with the Texas
                Unclaimed Property Laws (the “Texas Unclaimed Property Audit”) and pursue
                recovery of any unremitted Texas Unclaimed Property identified pursuant to the
                Texas Unclaimed Property Audit. The Debtors shall fully cooperate with the
                Auditors to enable them to accurately and timely perform the Texas Unclaimed
                Property Audit by making the entities’ employees, professionals, books, and
                records available.

             c. The Debtors’ rights and defenses with respect to any allegations and Claims
                asserted against the Debtors arising from or relating to the Texas Unclaimed
                Property Audit are hereby reserved; provided, however, that upon agreement
                between the Debtors and the Texas Comptroller or a final nonappealable
                determination by a court or other tribunal with jurisdiction as to the amount of

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                unremitted Texas Unclaimed Property, if any, that is due in connection with the
                Texas Unclaimed Property Audit, the Debtors shall turn over such unremitted
                Texas Unclaimed Property to the Texas Comptroller.

             d. The Texas Comptroller may file or amend any Proofs of Claim in the Chapter 11
                Cases following the Effective Date as a result of the filing of any property reports
                or in the ordinary course of the Unclaimed Property Audit.

             e. Any assets sold or transferred following entry of this Confirmation Order and the
                terms of the Plan Sponsor Transaction shall not include unclaimed property held in
                trust by the Debtors, as defined pursuant to State unclaimed property laws including
                Texas Property Code, Title 6, Chapter 72-76, and other applicable Texas laws.

             f. Nothing herein precludes the Debtors from compliance with continued obligations
                pursuant to Texas Unclaimed Property Laws.

XXIII. Provision Regarding the Targa Entities.

       45.      Nothing in this Confirmation Order, the Plan, or the Plan Supplement shall

prejudice or operate as a bar or adjudication of any rights, interests, Claims, defenses, objections

or remedies that the Debtors, the Plan Sponsor, and/or Targa Midstream Services LLC (“Targa

Midstream”) and Venice Energy Services Company, L.L.C. (“Venice Energy” and, together with

Targa Midstream, the “Targa Entities”) have, may have, assert or may assert in relation to

the Targa Dedication (as defined below). Further, nothing in this Confirmation Order, the Plan,

or the Plan Supplement shall prejudice or impair the Targa Dedication, to the extent applicable, in

and to any of the Debtors’ or the Plan Sponsor’s property and assets (if any), and nothing in

this Confirmation Order, the Plan, or the Plan Supplement shall impair, alter, abrogate, limit,

reduce, strip, or otherwise negatively or adversely affect any of the Targa Entities’ rights and

interests (if any) under the Targa Dedication, to the extent applicable. All rights, interests, Claims,

defenses, objections, and remedies of the Debtors, the Plan Sponsor, and the Targa Entities in

relation to the validity, priority, and extent of the Targa Dedication are reserved. In the event of

any conflict between this paragraph, on the one hand, and the Plan, the Plan Supplement, or any

prior Bankruptcy Court order, on the other hand, the provisions of this paragraph shall control.

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The Targa Entities provide processing and related services to Arena Energy pursuant to various

contracts including, but not limited to: (i) the Gas Processing Agreement between Arena Energy

and Targa Midstream effective as of August 1, 2019; (ii) the Gas Processing Agreement between

Arena Energy and Venice Energy effective as of April 1, 2013, as assigned; (iii) the Gas Processing

Agreement (Venice Gas Process Plant) between Arena Energy and Venice Energy effective as of

November 1, 1996, as amended and assigned; (iv) the Gas Processing Agreement (Venice Gas

Process Plant) between Arena Energy and Venice Energy effective as of August 1, 2008; and

(v) the Successor Natural Gas Processing Agreement (Gulf of Mexico) between Arena Energy and

Targa Midstream effective as of December 1, 2012 (collectively, the “Targa Agreements”). Each

of the Targa Agreements includes a dedication as more fully set forth in the Targa Agreements

(the “Targa Dedication”).

XXIV. Provision Regarding Fieldwood Energy LLC.

       46.     Notwithstanding anything in the Plan, any Plan Supplement, or this Confirmation

Order to the contrary, all agreements (collectively, the “Assumed Fieldwood Agreements”) by and

among Arena Energy, on the one hand, and Fieldwood Energy LLC or Fieldwood Energy SP LLC

(collectively, “Fieldwood”), on the other hand, including that certain Offshore Operating

Agreement dated as of November 1, 2004 (as amended from time to time, including by the

Assignment Agreement and Amendment to Operating Agreements, dated May 5, 2006, among

Arena Energy f/k/a Arena Energy LLC (“Arena LLC”), Arena Offshore, LLC (“AOL”) and SPN

Resources, LLC (“SPN”), the Second Amendment to Operating Agreements, dated July 12, 2007,

among Arena Energy f/k/a Arena LLC, AOL, and SPN, the Third Amendment to Operating

Agreements, dated July 12, 2007, among Arena Energy f/k/a Arena LLC, AOL, and SPN, and the

Amendment to Operating Agreement, dated August 1, 2010, among SPN, Dynamic Offshore

Resources, LLC, Arena Energy, and Arena Offshore, LP, and as may be further amended,

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supplemented, or modified from time to time, the “WD 85/86 Operating Agreement”), shall be

assumed by Arena Energy on the Effective Date pursuant to sections 365 and 1123 of

the Bankruptcy Code.

       47.     Arena Energy asserts that the Cure Costs owed under each of the Assumed

Fieldwood Agreements (including the WD 85/86 Operating Agreement) is $0.00 (the “Proposed

Fieldwood Cure Costs”). Pursuant to the Objection of Fieldwood to Confirmation of the Joint

Prepackaged Chapter 11 Plan of Arena Energy, LP and its Debtor Affiliates [Docket No. 189]

(the “Fieldwood Objection”), Fieldwood asserts that the Cure Costs owed under the WD 85/86

Operating Agreement are approximately $2,039,126.90, plus interest, attorney’s fees, court costs,

and other costs in connection with the collection of unpaid amounts.

       48.     Following the Effective Date, Arena Energy and Fieldwood shall work in good

faith to resolve any dispute regarding the Proposed Fieldwood Cure Costs (the “Cure Disputes”).

If any Cure Disputes are not resolved by the parties within twenty (20) days after the Effective

Date, any such Cure Disputes shall be adjudicated by this Bankruptcy Court after notice and a

hearing. In such case, Fieldwood and Arena Energy will jointly request that this Bankruptcy Court

hold an evidentiary hearing regarding the Cure Costs set forth in the Fieldwood Objection no later

than forty-five (45) days after the Effective Date (unless otherwise agreed in writing by the parties),

or as soon thereafter as the Bankruptcy Court’s calendar permits. Fieldwood reserves the right to

amend the amount of asserted Cure Costs owed to Fieldwood.                The rights of Fieldwood,

the Debtors, and the Plan Sponsor with respect to the Assumed Fieldwood Agreements or any

Claims or Causes of Action between Fieldwood and the Debtors are fully reserved in all respects.

XXV. Provision Regarding Regions Bank and DNB Capital LLC.

       49.     The terms of the Stipulation and Agreed Order Regarding Regions Bank’s

Objection to Debtors’ Disclosure Statement and Chapter 11 Plan Pursuant to Bankruptcy

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Rules 3018(a) and 9019 [Docket No. 218] and the Stipulation and Agreed Order Regarding DNB

Capital LLC’s Objection to Debtors’ Proposed Chapter 11 Plan of Reorganization Pursuant to

Bankruptcy Rules 3018(a) and 9019 [Docket No. 219] are incorporated herein by reference, and

are an integral part of this Confirmation Order.

XXVI. Provision Regarding Certain Professionals.

       50.     To the extent a professional utilized by the Debtors in the ordinary course of

business in matters unrelated to the Chapter 11 Cases holds a prepetition advance payment retainer,

such professional is authorized without further order of the Bankruptcy Court to apply amounts

from the prepetition advance payment retainer to compensate and reimburse the professional for

fees or expenses incurred on or prior to the Petition Date consistent with its ordinary course billing

practice.

XXVII. Miscellaneous.

       51.     After the Effective Date, the Debtors or the Reorganized Acquired Debtors, as

applicable, shall have no obligation to file with the Bankruptcy Court or serve on any parties

reports that the Debtors or the Reorganized Acquired Debtors, as applicable, were obligated to file

under the Bankruptcy Code or a Bankruptcy Court order, including monthly operating reports

(even for those periods for which a monthly operating report was not Filed before the Effective

Date), ordinary course professional reports, reports to any parties otherwise required under the

“first” and “second” day orders entered in the Chapter 11 Case, including the Final Cash Collateral

Order, and monthly or quarterly reports for Professionals; provided, however, that the Debtors or

the Reorganized Acquired Debtors, as applicable, will comply with the U.S. Trustee’s quarterly

reporting requirements.

       52.     Except as otherwise set forth herein, this Bankruptcy Court retains jurisdiction over

all matters arising out of or related to the Chapter 11 Cases and the Plan, including without

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limitation matters pertaining to the assumption or assumption and assignment of any of the Seismic

or Geological Agreements and the matters set forth in Article XI of the Plan.

       53.     Notwithstanding the possible applicability of Bankruptcy Rules 3020(e), 6004(h),

6006(d), 7062, 9014, or otherwise, (a) the terms and conditions of this Confirmation Order shall

be effective and enforceable immediately upon its entry, (b) the Debtors are not subject to any stay

of this Confirmation Order or the implementation, enforcement, or realization of the relief granted

in this Confirmation Order, and (c) the Debtors are authorized to take any action and perform any

act authorized under this Confirmation Order without delay.

       54.     Each term and provision of the Plan, and the transactions related thereto as it

heretofore may have been altered or interpreted by the Bankruptcy Court is: (a) valid and

enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified except

as provided by the Plan or this Confirmation Order; and (c) nonseverable and mutually dependent.

       55.     The provisions of this Confirmation Order, the Plan, and related documents, or any

amendments or modifications thereto, shall apply and be enforceable notwithstanding any

otherwise applicable nonbankruptcy law.

       56.     Subject to the terms of the Plan and the RSA, the Debtors are hereby authorized to

amend or modify the Plan at any time prior to the Consummation of the Plan, but only in

accordance with section 1127 of the Bankruptcy Code and Article XI.A of the Plan, without further

order of this Bankruptcy Court.

 Houston, Texas
 Date: _____________,
Signed: September
        October 17,25,   2020
                       2020
                    2018
                                                MARVIN ISGUR
                                                UNITED STATES BANKRUPTCY JUDGE
                                                    ____________________________________
                                                                  Marvin Isgur
                                                        United States Bankruptcy Judge




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                             Exhibit A

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    THE PLAN WILL BE SUBMITTED TO THE BANKRUPTCY COURT FOR APPROVAL ONCE THE
    DEBTORS FILE CHAPTER 11 UNDER THE BANKRUPTCY CODE. THE INFORMATION IN THE
    PLAN IS SUBJECT TO CHANGE. THIS PLAN IS NOT AN OFFER TO SELL ANY SECURITIES AND IS
    NOT SOLICITING AN OFFER TO BUY ANY SECURITIES. THIS IS A SOLICITATION OF VOTES TO
    ACCEPT OR REJECT THE PLAN IN ACCORDANCE WITH BANKRUPTCY CODE SECTION 1125 AND
    WITHIN THE MEANING OF BANKRUPTCY CODE SECTION 1126.

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

                                                                  )
In re:                                                            )           Chapter 11
                                                                  )
ARENA ENERGY, LP, et al., 1                                       )           Case No. 20-[_____] (___)
                                                                  )
                                        Debtors.                  )           (Joint Administration Requested)
                                                                  )

                               DEBTORS’ JOINT PREPACKAGED PLAN
                         PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE



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                                                                      Proposed Co-Counsel to the Debtors
                                                                      and Debtors in Possession




1
      The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number,
      are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454); Arena Exploration, LLC
      (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The location of the debtors’ service address
      is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
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                                                  INTRODUCTION

          Capitalized terms used in this prepackaged chapter 11 plan shall have the meanings set forth in Article I.A.
Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each Debtor for the
resolution of outstanding Claims and Interests pursuant to the Bankruptcy Code. Each Debtor is a proponent of
the Plan within the meaning of section 1129 of the Bankruptcy Code. The classifications of Claims and Interests set
forth in Article III of the Plan shall be deemed to apply separately with respect to each Debtor, as applicable. The Plan
does not contemplate substantive consolidation of any of the Debtors. Reference is made to the Disclosure Statement
for a discussion of the Debtors’ history, business, properties and operations, projections, risk factors, a summary and
analysis of the Plan, the Restructuring Transactions, and certain related matters.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in the Plan, capitalized terms have the meanings and effect as set forth below.

         1.        “Acquired Debtor” means any Debtor with respect to which the equity thereof is acquired (directly
or indirectly) by the Plan Sponsor pursuant to the Plan Sponsor Equity Election.

         2.        “Administrative Claim” means any Claim against any of the Debtors for costs and expenses of
administration of the Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy
Code, including: (a) the actual and necessary costs and expenses incurred on or after the Petition Date until and
including the Effective Date of preserving the Estates; (b) Allowed Professional Fee Claims; and (c) all fees and
charges assessed against the Estates pursuant to section 1930 of chapter 123 of title 28 of the United States Code.

         3.        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With respect to any
Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

          4.       “Allowed” means, with reference to any Claim or Interest, (a) any Claim or Interest as to which the
liability of the Debtors and the amount thereof are determined by a Final Order of a court of competent jurisdiction
other than the Bankruptcy Court, or (b) any Claim or Interest expressly allowed under the Plan. Notwithstanding
anything to the contrary herein, the Debtors or the Plan Sponsor, as applicable, shall retain all claims and defenses
with respect to Allowed Claims Reinstated or otherwise Unimpaired pursuant to the Plan. “Allow” and “Allowing”
shall have correlative meaning.

         5.       “Assets” shall have the meaning assigned to it in the Plan Sponsor Agreement.

         6.       “Assumed Contracts and Leases” means those Executory Contracts and Unexpired Leases that
the Plan Sponsor agrees to assume, and which shall be assumed and assigned by the Debtors to the Plan Sponsor (or,
in the event the Plan Sponsor makes the Plan Sponsor Equity Election and the applicable Debtor counterparty is an
Acquired Debtor, assumed by such Acquired Debtor) pursuant to the Plan, as set forth in the Plan Supplement.

         7.       “Assumed Liabilities” has the meaning set forth in the Plan Sponsor Agreement.

         8.        “Avoidance Actions” means any and all causes of action to avoid a transfer of property or interest
in property or an obligation incurred by any of the Debtors arising under sections 542, 544, 545, and 547 through and
including 553 of the Bankruptcy Code or other similar or related state or federal statutes and common law.

        9.       “Ballot” means the form of ballot approved by the Bankruptcy Court and distributed to Holders of
Impaired Claims entitled to vote on the Plan on which is to be indicated the acceptance or rejection of the Plan.

         10.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.
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        11.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas,
Houston Division or such other court having jurisdiction over the Chapter 11 Cases, including to the extent of the
withdrawal of reference under 28 U.S.C. § 157, the United States District Court for the Southern District of Texas.

         12.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, as applicable to
the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

          13.       “Business Day” means any day, other than a Saturday, Sunday, “legal holiday” (as defined in
Bankruptcy Rule 9006(a)), or other day on which commercial banks are authorized to close under the Laws of, or are
in fact closed in, both the State of New York and the State of Texas.

        14.      “Cash” means the legal tender of the United States of America or the equivalent thereof, including
bank deposits and checks.

         15.       “Cash Collateral Order” means an order of the Bankruptcy Court authorizing the Debtors to use
the cash collateral of the RBL Facility Lenders and the Term Loan Lenders.

          16.       “Causes of Action” means any action, claim, cause of action, controversy, demand, right, action,
Lien, indemnity, interest, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset, power,
privilege, license, and franchise of any kind or character whatsoever, whether known, unknown, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, Disputed or undisputed,
secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law or in equity, or pursuant to any other theory of law. For the avoidance of doubt, “Cause of
Action” includes: (a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity; (b) any claim based on or relating to, or in any manner arising from, in
whole or in part, tort, breach of contract, breach of fiduciary duty, violation of state or federal law or breach of any
duty imposed by law or in equity, including securities laws, negligence, and gross negligence; (c) the right to dispute,
object to, compromise, or seek to recharacterize, reclassify, subordinate or disallow Claims or Interests; (d) any Claim
pursuant to section 362 or chapter 5 of the Bankruptcy Code; (e) any claim or defense including fraud, mistake, duress,
and usury; and any other defenses set forth in section 558 of the Bankruptcy Code; and (f) any state or foreign law
fraudulent transfer or similar claim.

         17.     “Chapter 11 Cases” means the procedurally consolidated chapter 11 cases pending for the Debtors
in the Bankruptcy Court.

         18.      “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

         19.     “Claims Register” means the official register of Claims against the Debtors maintained by the Clerk
of the Bankruptcy Court.

         20.      “Class” means a category of Holders of Claims or Interests under section 1122(a) of the Bankruptcy
Code.

        21.      “Collateral” means any property or interest in property of the Estate of any Debtor subject to a Lien,
charge, or other encumbrance to secure the payment or performance of a Claim, which Lien, charge, or other
encumbrance is not subject to a Final Order ordering the remedy of avoidance of any such Lien, charge, or other
encumbrance under the Bankruptcy Code.

         22.      “Compensation and Benefits Programs” means all employment, consulting, and severance
agreements and policies, and all employment, compensation, and benefit plans, policies, workers’ compensation
programs, savings plans, retirement plans, deferred compensation plans, supplemental executive retirement plans,
healthcare plans, disability plans, severance benefit plans, incentive and retention plans, programs and payments, life
and accidental death and dismemberment insurance plans, and programs of the Debtors, and all amendments and



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modifications thereto, applicable to the Debtors’ and their Affiliates’ employees, former employees, retirees, and
non-employee directors and the employees, former employees and retirees of their subsidiaries.

         23.      “Confirmation” means entry of the Confirmation Order on the docket of the Chapter 11 Cases.

         24.      “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

        25.     “Confirmation Hearing” means the hearing(s) before the Bankruptcy Court under section 1128 of
the Bankruptcy Code at which the Debtors seek entry of the Confirmation Order.

         26.       “Confirmation Order” means an order entered by the Bankruptcy Court confirming the Plan,
approving the adequacy of the Disclosure Statement, and approving the Plan Sponsor Transaction, which order shall
be subject to the consent rights provided herein and under the RSA.

         27.       “Consenting RBL Facility Lenders” means the Holders of RBL Facility Claims that have executed
and delivered counterpart signature pages to the RSA, a Joinder Agreement, or a Transfer Agreement, as applicable
(as defined in the RSA).

         28.      “Consenting RBL Facility Parties” means the Consenting RBL Facility Lenders and the RBL
Facility Agent.

         29.     “Consenting Term Loan Lenders” means the Holders of Term Loan Claims that have executed and
delivered counterpart signature pages, or Transfer Agreement, as applicable, to the Restructuring Stipulation.

         30.      “Consenting Term Loan Lenders Reimbursement Amount” as defined in Article II.F.

         31.      “Consummation” or “Consummated” means the occurrence of the Effective Date.

        32.      “Cure Costs” means the amount necessary to cure all monetary defaults under the Assumed
Contracts and Leases pursuant to section 365 or 1123 of the Bankruptcy Code at the time of the assumption or
assumption and assignment thereof as provide hereunder as such amounts are determined pursuant to the assignment
and assumption procedures provided for in the Cure Notice with respect thereto (or such lesser amounts as may be
agreed upon by the parties under the applicable Assumed Contracts and Leases).

         33.      “Cure Notice” means any notice that sets forth the proposed Cure Costs under any Executory
Contract or Unexpired Lease at the time such contract or lease is assumed or assumed and assigned by the Debtors
under the Plan pursuant to sections 365 and 1123 of the Bankruptcy Code, as applicable, which notice shall include
(a) procedures for objecting to proposed assumptions or assumptions and assignments of Executory Contracts and
Unexpired Leases, (b) Cure Costs to be paid in connection therewith, and (c) procedures for resolution by
the Bankruptcy Court of any related dispute.

           34.     “D&O Policies” means all insurance policies that have been issued at any time to any of the Debtors
as a first named insured providing directors’, members’, partners’, trustees’, officers’, or managers’ liability coverage.

       35.     “Debtors” means, collectively, Arena Energy, LP; Arena Energy 2020 GP, LLC; Arena Energy GP,
LLC; Arena Exploration, LLC; Sagamore Hill Holdings, LP, and Valiant Energy L.L.C.

         36.      “Definitive Documents” has the meaning ascribed to such term in the RSA.

         37.      “Description of Transaction Steps” means the description of the steps to be carried out to effectuate
the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement.

        38.     “Disclosure Statement” means the Disclosure Statement Relating to the Debtors’ Joint Prepackaged
Plan Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and schedules thereto and references


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therein that relate to the Plan, that is prepared and distributed in accordance with the Bankruptcy Code, the Bankruptcy
Rules, and any other applicable law.

        39.       “Disputed” means, with respect to a Claim against or an Interest in any Debtor, a Claim or an Interest
or any portion thereof (a) that is not Allowed; (b) that is not disallowed under the Plan, the Bankruptcy Code, or a
Final Order, as applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or otherwise
made a written request to a Debtor for payment, without any further notice to or action, order, or approval of the
Bankruptcy Court.

         40.       “Distribution Record Date” means the record date for purposes of determining which Holders of
Allowed Claims against or Allowed Interests in the Debtors are eligible to receive distributions under the Plan, which
date shall be the Confirmation Date.

         41.      “Effective Date” means, with respect to the Plan, the date that is the first Business Day after the
Confirmation Date on which all conditions precedent to the occurrence of the Effective Date set forth in Article X.B
of the Plan have been satisfied or waived in accordance with Article X.C of the Plan.

         42.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

        43.    “Estate” means the estate of any Debtor created under sections 301 and 541 of the Bankruptcy Code
upon the commencement of the applicable Debtor’s Chapter 11 Case.

         44.      “Excluded Assets” has the meaning set forth in the Plan Sponsor Agreement. For the avoidance of
any doubt, the Wind-Down Amount and any Claims of the Debtors arising under the Plan Sponsor Agreement shall
constitute Excluded Assets; provided that any portion of the Wind-Down Amount remaining after the payment in full
of all amounts required to be paid therewith shall not be Excluded Assets and shall be transferred to the Plan Sponsor.

         45.      “Exculpated Party” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) each Consenting RBL Facility Lender; (c) the RBL Facility Agent; (d) the Plan Sponsor; (e) each Consenting Term
Loan Lender; (f) the Term Loan Agent; and (g) with respect to each of the foregoing, such Entity and its current and
former Affiliates, and such Entity’s and its current and former Affiliates’ current and former equity holders (direct
and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and
other professionals, each in their capacity as such.

        46.       “Executory Contract” means a contract to which one or more of the Debtors is a party that is subject
to assumption, assumption and assignment, or rejection under section 365 and 1123 of the Bankruptcy Code.

         47.      “Federal Judgment Rate” means the federal judgment rate in effect as of the Effective Date.

         48.      “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with the Bankruptcy
Court or, with respect to the filing of a Proof of Claim, the Notice and Claims Agent or the Bankruptcy Court.

         49.       “Final Order” means an order of the Bankruptcy Court or other court of competent jurisdiction with
respect to the relevant subject matter that has not been reversed, modified or amended, that is not stayed, and as to
which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been or may be Filed has been
resolved by the highest court to which the order could be appealed or from which certiorari could be sought or the
new trial, reargument or rehearing shall have been denied, resulted in no modification of such order or has otherwise
been dismissed with prejudice.

        50.      “General Unsecured Claim” means any Claim against a Debtor that is not Secured by a Lien and is
not an Administrative Claim, a Professional Fee Claim, a Priority Tax Claim, an Other Priority Claim, an RBL Facility
Claim, or a Term Loan Claim.



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         51.      “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         52.      “Holder” means an Entity holding a Claim against or Interest in a Debtor, as applicable.

         53.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

           54.      “Initial Distribution Date” means the date on which the Debtors or the Plan Administrator make
initial distributions to Holders of Allowed Claims pursuant to the Plan.

         55.      “Intercompany Claim” means any Claim against a Debtor held by another Debtor or an Affiliate of
a Debtor.

          56.      “Intercompany Interest” means any Interest in one Debtor held by another Debtor or an Affiliate of
a Debtor and is not an Arena Energy, LP Interest, an Arena Energy GP, LLC Interest, an Arena Energy 2020 GP, LLC
Interest, or a Sagamore Hill Holdings, LP Interest.

         57.     “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of July 16, 2014, by
and among certain of the Debtors, Wells Fargo Bank, National Association, as First Lien Administrative Agent, and
Wells Fargo Energy Capital, Inc., as Second Lien Administrative Agent (both as defined therein), as may be amended
or supplemented from time to time.

          58.      “Interest” means any common stock, preferred stock, limited liability company interests, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, or profits interests in any Debtor,
any other options, warrants, rights, stock appreciation rights, phantom stock rights, restricted stock units, performance
shares, performance units, redemption rights, repurchase rights, convertible, exercisable or exchangeable securities or
other agreements, arrangements or commitments of any character relating to, or whose value is related to, any such
interest or other ownership interest in any Debtor (whether or not arising under or in connection with any employment
agreement).

         59.       “Law” means any federal, state, local, or foreign law (including common law), statute, code,
ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted, promulgated, issued, or
entered by a governmental authority of competent jurisdiction (including the Bankruptcy Court).

         60.      “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

          61.      “Notice and Claims Agent” means Kurtzman Carson Consultants LLC, the notice, claims, and
solicitation agent for the Debtors in the Chapter 11 Cases.

        62.     “Other Priority Claim” means any Claim against any of the Debtors entitled to priority in right of
payment under section 507(a) of the Bankruptcy Code, other than an Administrative Claim or a Priority Tax Claim.

        63.      “Other Secured Claim” means any Secured Claim against any of the Debtors, other than an
Administrative Claim, a Professional Fee Claim, an Other Priority Claim, a Priority Tax Claim, an RBL Facility
Claim, or a Term Loan Claim.

         64.      “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         65.      “Petition Date” means the date of commencement of the Chapter 11 Cases.

         66.     “Plan” means this chapter 11 plan, including all exhibits, supplements (including the Plan
Supplement), appendices, and schedules, as may be altered, amended, modified, or supplemented from time to time
in accordance with the terms hereof.




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         67.    “Plan Administrator” means the Person or Entity selected by the Debtors and the Plan Sponsor to
conduct the Wind Down.

         68.       “Plan Sponsor” means San Juan Offshore, LLC or any other Entity designated as the Buyer
(as defined in the Plan Sponsor Agreement) in accordance with the Plan Sponsor Agreement.

        69.       “Plan Sponsor Agreement” means the Asset Purchase Agreement between the Debtors and the Plan
Sponsor, dated as of August 19, 2020, as amended, restated, amended and restated, waived, modified or supplemented
from time to time in accordance with the terms thereof. A copy of the Plan Sponsor Agreement is attached hereto as
Exhibit A.

          70.      “Plan Sponsor Cash Amount” means Cash in the amount of $64,157,079.00, which cash shall be
transferred to the Debtors in full by the Plan Sponsor or one or more designees thereof on the Effective Date pursuant
to the terms of the Plan Sponsor Agreement.

       71.        “Plan Sponsor Equity Election” means the election described in Section 8.9(b) of the Plan Sponsor
Agreement.

        72.     “Plan Sponsor Transaction” means the sale and other transactions between the Debtors and the Plan
Sponsor contemplated by the Plan Sponsor Agreement and the Plan.

          73.      “Plan Supplement” means the compilation of documents and forms of documents, schedules, and
exhibits to the Plan, as amended, supplemented, or otherwise modified from time to time in accordance with the terms
hereof, each of which shall be consistent with the RSA (including the consent rights provided thereunder), and the
consent rights provided herein, including: (a) the schedule of Assumed Contracts and Leases; (b) the schedule of
Rejected Contracts and Leases; (c) the identity of the Plan Administrator and the compensation of the Plan
Administrator; (d) the Wind-Down Budget; (e) the Description of Transaction Steps; (f) the Plan Sponsor Agreement;
and (g) the RBL Contingent Value Rights Memorandum, and such other documents related to the RBL Contingent
Value Rights; (h) the Term Loan Contingent Value Rights Memorandum, and such other documents related to the
Term Loan Contingent Value Rights (including the Term Loan Contingent Value Rights Agreement); and
(i) the Transferred Causes of Action.

         74.       “Priority Tax Claim” means any Claim against the Debtors of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

          75.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Interests in that Class.

        76.      “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a Final Order in
accordance with section 327 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date pursuant to sections 327, 328, 329, 330, and 331 of the Bankruptcy Code; or (b) for which
compensation and reimbursement has been Allowed by the Bankruptcy Court pursuant to section 503(b)(4) of
the Bankruptcy Code.

         77.      “Professional Fee Claim” means any Administrative Claim for the compensation of Professionals
and the reimbursement of expenses incurred by such Professionals through and including the Confirmation Date to
the extent such fees and expenses have not been paid pursuant to an order of the Bankruptcy Court. To the extent
the Bankruptcy Court denies or reduces by a Final Order any amount of a Professional’s requested fees and expenses,
then the amount by which such fees or expenses are reduced or denied shall reduce the applicable Professional Fee
Claim.

         78.      “Professional Fee Escrow Account” means an account funded in accordance with Article II.B of
the Plan in an amount equal to the Professional Fee Escrow Amount.




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         79.      “Professional Fee Escrow Amount” means the reasonable estimate of the aggregate amount of
Professional Fee Claims and other unpaid fees and expenses the Professionals have incurred or will incur in rendering
services to the Debtors prior to and as of the Confirmation Date, which estimates Professionals shall deliver to
the Debtors and the Plan Sponsor as set forth in Article II.B of the Plan.

         80.      “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.

        81.      “RBL Contingent Value Rights” means contingent value rights to be issued by the Plan Sponsor to
the Holders of RBL Facility Claims, on the terms set forth in the Plan Sponsor Agreement.

        82.       “RBL Contingent Value Rights Memorandum” means the memorandum of the RBL Contingent
Value Rights filed of record in the applicable real property records where the Assets are located.

         83.      “RBL Facility” means the reserve-based revolving credit facility provided for under the RBL
Facility Credit Agreement.

        84.       “RBL Facility Agent” means Wells Fargo Bank, National Association, or any successor thereto, as
administrative agent under the RBL Facility Credit Agreement.

         85.      “RBL Facility Agent Advisors” has the meaning ascribed to such term in the RSA.

         86.       “RBL Facility Claims” means all Claims (including adequate protection Claims (other than for
reimbursement of reasonable and documented fees and expenses of the RBL Facility Agent Advisors)) derived from,
arising under, based upon, or secured pursuant to the RBL Facility Credit Documents, including all Claims in respect
of principal amounts outstanding, interest, fees, expenses, costs, reimbursement obligations, hedging obligations, and
other charges arising thereunder or related thereto, in each case, with respect to the RBL Facility Credit Agreement.

         87.       “RBL Facility Credit Agreement” means that certain second amended and restated credit agreement
(as amended), dated as of December 30, 2009, among Arena Energy L.P., as borrower, each of the banks from time
to time party thereto, and the RBL Facility Agent, as administrative agent.

          88.     “RBL Facility Credit Documents” means all agreements, documents (including security, collateral,
collateral agency or pledge agreements or documents), letters of credit, mortgages, or instruments executed or
delivered in connection with the RBL Facility, including the RBL Facility Credit Agreement.

         89.      “RBL Facility Lenders” means the lenders under the RBL Facility Credit Agreement.

         90.      “RBL Secured Parties” means the RBL Facility Agent and the RBL Facility Lenders.

         91.      “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that
the Claim or Interest shall be rendered unimpaired in accordance with section 1124 of the Bankruptcy Code.

         92.     “Rejected Contracts and Leases” means those Executory Contracts and Unexpired Leases that
the Plan Sponsor agrees to reject, and which shall be rejected by the Debtors pursuant to the Plan, as set forth in
the Plan Supplement.

          93.      “Released Parties” means, collectively, and in each case, in their respective capacities as such:
(a) each Consenting RBL Facility Lender and any other Holders of RBL Facility Claims that vote to accept the Plan
and do not opt out of the releases in the Plan; (b) the RBL Facility Agent; (c) the Plan Sponsor; (d) each Consenting
Term Loan Lender and any other Holders of Term Loan Claims that vote to accept the Plan and do not opt out of the
releases in the Plan; (e) the Term Loan Agent; (f) each current and former Affiliate of each Entity in clause (a) through
(e); (g) with respect to each Entity in clause (a) through (f), each such Entity’s current and former equity holders
(direct and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives,
and other professionals, each in their capacity as such; and (h) each Debtor’s current and former Affiliates, and each


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Debtor’s and each such Affiliate’s current and former equity holders (direct and indirect), subsidiaries, officers,
directors, managers, principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals, each in their capacity
as such.

           94.       “Releasing Parties” means, collectively, and in each case in their respective capacities as such:
(a) each Consenting RBL Facility Lender; (b) the RBL Facility Agent; (c) each Consenting Term Loan Lender;
(d) the Term Loan Agent; (e) each Holder of Claims and Interests that votes to accept the Plan; (f) each Holder of
Claims or Interests that (i) abstains from voting on the Plan and who does not opt out of the releases in the Plan,
(ii) votes to reject the Plan and who does not opt out of the releases in the Plan, or (iii) is presumed to accept or deemed
to reject the Plan and who does not opt out of the releases in the Plan; (g) the Plan Sponsor; (h) each current and former
Affiliate of each Entity in clause (a) through (g); (i) with respect to each Entity in clause (a) through (h), each such
Entity’s current and former Affiliates, and each such Entity’s and each such Affiliate’s current and former equity
holders (direct and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents,
advisory board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such; and (j) each Debtor’s current and former
Affiliates, and each Debtor’s and each such Affiliate’s current and former equity holders (direct and indirect),
subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and other professionals,
each in their capacity as such.

         95.       “Required Consenting RBL Facility Lenders” has the meaning set forth in the RSA.

         96.     “Restructuring Stipulation” means that certain Stipulation in Respect of Restructuring Transactions,
dated as of August 20, 2020, by and among the Consenting Term Loan Lenders, the Debtors, the RBL Facility Agent,
and the Plan Sponsor.

         97.       “Restructuring Transactions” means the transactions described in Article IV.

         98.        “RSA” means that certain Restructuring Support and Plan Sponsor Agreement, dated as of
August 19, 2020, by and among the Company Parties (as defined therein), the Plan Sponsor, and the Consenting RBL
Facility Parties, including all exhibits and attachments thereto, as may be amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof, which is attached to the Disclosure
Statement as Exhibit B.

         99.     “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases, and statements of financial affairs to be Filed by the Debtors pursuant to section 521
of the Bankruptcy Code.

         100.     “Section 510(b) Claims” means any Claim against any of the Debtors subject to subordination under
section 510(b) of the Bankruptcy Code.

         101.     “Secured” or “Secured Claim” means, when referring to a Claim, a Claim that is: (a) secured by a
Lien on property in which an Estate has an interest, which Lien is valid, perfected and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order to the extent of the value of such collateral, as determined in
accordance with section 506(a) of the Bankruptcy Code; or (b) subject to a valid right of setoff pursuant to section
553 of the Bankruptcy Code to the extent of the value of such right of setoff.

          102.     “Secured Tax Claim” means any Secured Claim against any of the Debtors that, absent its secured
status, would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined
irrespective of time limitations), including any related Secured Claim for penalties.

         103.      “Securities Act” means the U.S. Securities Act of 1933, as amended.

         104.      “Security” has the meaning set forth in section 2(a)(1) of the Securities Act.


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         105.      “Solicitation Materials” means all documents, forms, and other materials provided in connection
with the solicitation of votes on the Plan pursuant to section 1125 and 1126 of the Bankruptcy Code.

          106.   “Subsequent Distribution Date” means the date following the Initial Distribution Date on which
the Plan Administrator in its reasonable discretion elects to make distributions to Holders of Allowed Claims pursuant
to the Plan.

         107.     “Term Loan” means the term loan provided for under the Term Loan Credit Agreement.

        108.    “Term Loan Agent” means Wells Fargo Energy Capital Inc., as administrative agent under the Term
Loan Credit Agreement.

         109.      “Term Loan Claims” means all Claims (including adequate protection Claims) derived from, arising
under, based upon, or secured pursuant to the Term Loan Credit Documents, including all Claims in respect of
principal amounts outstanding, interest, fees, expenses, costs, reimbursement obligations, hedging obligations, and
other charges arising thereunder or related thereto.

        110.    “Term Loan Contingent Value Rights” means contingent value rights to be issued by the Plan
Sponsor to the Holders of Term Loan Claims, on the terms set forth in Term Loan Contingent Value Rights
Agreement.

          111.    “Term Loan Contingent Value Rights Agreement” means an amendment to the Plan Sponsor
Agreement providing for the terms and conditions of the Term Loan Contingent Value Rights, which terms and
conditions shall be substantially similar to those set forth in Exhibit F to the Plan Sponsor Agreement (except with
respect to economic terms, which shall be consistent with the Restructuring Stipulation and Exhibit B thereto), and
shall be otherwise acceptable to the Plan Sponsor and a majority of the Consenting Term Loan Lenders.

        112.    “Term Loan Contingent Value Rights Memorandum” means the memorandum of the Term Loan
Contingent Value Rights filed of record in the applicable real property records where the Assets are located.

         113.     “Term Loan Credit Agreement” means that certain second lien term loan agreement (as amended),
dated as of July 16, 2014, among Arena Energy, as borrower, each of the lenders from time to time party thereto, and
the Term Loan Agent, as administrative agent.

          114.    “Term Loan Credit Documents” means all agreements, documents (including security, collateral,
collateral agency or pledge agreements or documents), letters of credit, mortgages, or instruments executed or
delivered in connection with the Term Loan, including the Term Loan Credit Agreement.

         115.     “Term Loan Lenders” means the lenders under the Term Loan Credit Agreement.

         116.     “Term Loan Secured Parties” means the Term Loan Agent and the Term Loan Lenders,

         117.     “Transferred Causes of Action” means all Causes of Action not otherwise expressly released
pursuant to the Plan.

         118.     “Undeliverable Distribution” means any distribution under the Plan on account of an Allowed Claim
or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of distributions made
by check, negotiated such check; (b) given notice to the Debtors of an intent to accept a particular distribution;
(c) responded to the Debtors’ requests for information necessary to facilitate a particular distribution; or (d) taken any
other action necessary to facilitate such distribution.

        119.      “Unexpired Lease” means a lease of nonresidential real property to which one or more of
the Debtors is a party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.




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         120.     “Unimpaired” means a Class of Claims or Interests that is unimpaired within the meaning of
section 1124 of the Bankruptcy Code.

         121.      “U.S. Trustee” means the Office of the United States Trustee for the Southern District of Texas.

         122.      “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and, to the extent applicable,
accrued interest thereon arising under 31 U.S.C. § 3717.

         123.      “Voting Deadline” means August 28, 2020.

         124.     “Voting Report” means the report certifying the methodology for the tabulation of votes and results
of voting under the Plan, prepared and filed by the Notice and Claims Agent.

        125.      “Wind Down” means the wind down and dissolution of the Debtors (other than any Acquired
Debtors), and the closure of the Chapter 11 Cases to the extent necessary, as set forth in Article IV.H.

         126.     “Wind-Down Amount” means Cash funded by the Plan Sponsor in an amount determined by
the Debtors and the Plan Sponsor in their reasonable discretion, which amount shall be retained by the Debtors and
used by the Plan Administrator to fund the Wind Down in accordance with the Wind-Down Budget.

           127.    “Wind-Down Budget” means a budget agreed to by the Debtors and the Plan Sponsor, for the
reasonable activities and expenses to be incurred in winding down the Chapter 11 Cases following the Confirmation
Date. The Wind-Down Budget, a copy of which shall be Filed with the Plan Supplement, shall include line item
estimates for, among other things, post-Effective Date Professional fees and U.S. Trustee Fees, and will be financed
by the Wind-Down Amount. The RBL Facility Lenders nor the Term Loan Lenders shall have no responsibility or
liability to the Debtors or the Plan Sponsor to fund any of the Wind Down or the Wind-Down Budget.

B.       Rules of Interpretation.

          For purposes of the Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that such document shall be substantially in such form or substantially on such
terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule, or
exhibit, shall mean such document, schedule, or exhibit, as it may have been or may be amended, modified, or
supplemented; (4) unless otherwise specified, all references herein to “Articles” and “Sections” are references to
Articles and Sections, respectively, hereof or hereto; (5) the words “herein,” “hereof,” and “hereto” refer to the Plan
in its entirety rather than to any particular portion of the Plan; (6) captions and headings to Articles and Sections are
inserted for convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan;
(7) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; (8) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy Code or the Bankruptcy
Rules, as applicable; (9) references to docket numbers of documents Filed in the Chapter 11 Cases are references to
the docket numbers under the Bankruptcy Court’s CM/ECF system; (10) all references to statutes, regulations, orders,
rules of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (11) any immaterial effectuating provisions may be interpreted by the Debtors or the Plan
Administrator in such a manner that is consistent with the overall purpose and intent of the Plan all without further
notice to or action, order, or approval of the Bankruptcy Court or any other Entity, and such interpretation shall control;
provided that no effectuating provision shall be immaterial or deemed immaterial if it has any substantive legal or
economic effect on any party; (12) on and after the Effective Date, all references to the Debtors in the Plan shall be
deemed references to the Debtors, the Plan Administrator, or the Plan Sponsor, as applicable, and (13) with respect to
any provision in the Plan providing for any payment, distribution or treatment to be made subject to the election,
option, discretion or agreement of any Debtor or the Plan Administrator, as applicable, such election, option, discretion



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or agreement shall be subject to the consent of the Plan Sponsor to the extent such payment, distribution or treatment
is to be paid or provided by the Plan Sponsor.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law.

         Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject to the provisions of any
contract, lease, instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in accordance
with, the laws of the State of New York, without giving effect to conflict of laws principles.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to the legal tender of the United States, unless
otherwise expressly provided.

F.       Controlling Document.

         In the event of an inconsistency between the Plan, the RSA, and the Disclosure Statement, the terms of
the Plan shall control in all respects. Except with respect to Article IX of the Plan, which shall control in all instances,
in the event of an inconsistency between the Plan (excluding the Plan Supplement) and the Plan Supplement, the Plan
Supplement shall control. Except with respect to Article IX of the Plan, which shall control in all instances, in the
event of an inconsistency between the Plan (including the Plan Supplement), the Disclosure Statement, and the Plan
Sponsor Agreement (including the Term Loan Contingent Value Rights Agreement), the Plan Sponsor Agreement
shall control. In the event of any inconsistency between the Plan and the Confirmation Order, the Confirmation Order
shall control.

                                   ARTICLE II.
     ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, AND PRIORITY TAX CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims set forth
in Article III of the Plan.

A.       Administrative Claims.

         Except with respect to Professional Fee Claims, or as otherwise set forth herein, and except to the extent that
a Holder of an Allowed Administrative Claim and the Debtors agree to less favorable treatment or such Holder has
been paid prior to the Effective Date, each Holder of an Allowed Administrative Claim shall receive, at the option of
the Debtors, (a) payment in full in Cash on the later of the Effective Date and the date on which such Allowed
Administrative Claim becomes an Allowed Claim or, in each case, as reasonably practicable thereafter,
(b) Reinstatement of such Allowed Administrative Claim, or (c) such other treatment so as to render such Allowed
Administrative Claim Unimpaired; provided that any Allowed Administrative Claim that has been expressly assumed
by the Plan Sponsor under the Plan Sponsor Agreement shall be an obligation of the Plan Sponsor.




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B.       Professional Compensation.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims incurred during the period from the Petition Date
through the Confirmation Date shall be Filed no later than 30 days after the Effective Date. All such final requests
will be subject to approval by the Bankruptcy Court after notice and a hearing in accordance with the procedures
established by the Bankruptcy Code, Bankruptcy Rules, and prior orders of the Bankruptcy Court, and once approved
by the Bankruptcy Court, shall be promptly paid from the Professional Fee Escrow Account up to the full Allowed
amount. To the extent that funds held in the Professional Fee Escrow Account are insufficient to satisfy the amount
of Allowed Professional Fee Claims owing to the Professionals, such Professionals shall have an Allowed
Administrative Claim for any such deficiency, which shall be satisfied in accordance with Article II.A of the Plan.

         2.   Professional Fee Escrow Amount.

         As soon as possible after Confirmation and not later than the Effective Date, the Debtors shall establish and
fund the Professional Fee Escrow Account with Cash in an amount equal to the Professional Fee Escrow Amount;
provided that, to the extent the Debtors lack sufficient funding as of the Effective Date to fund the entire Professional
Fee Claims Amount, the Plan Sponsor shall transfer to such account Cash equal to the unfunded portion of the
Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be maintained in trust for the
Professionals. Such funds shall not be considered an asset or property of the Debtors’ Estates. The amount of
Professional Fee Claims owing to the Professionals shall be paid in Cash to such Professionals from funds held in
the Professional Fee Escrow Account as soon as reasonably practicable after such Claims are Allowed by a Final
Order. When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in
the Professional Fee Escrow Account shall promptly be transferred to the Plan Sponsor without any further notice to
or action, order or approval of the Bankruptcy Court or any other Entity.

         3.   Estimation of Fees and Expenses.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred before and as of the Confirmation Date and shall deliver such estimate to the Debtors and the Plan
Sponsor by the earlier of (a) five Business Days after the Confirmation Date and (b) two Business Days prior to
the Effective Date; provided that such estimate shall not be considered an admission with respect to the fees and
expenses of such Professional and such Professionals, the Debtors and the Plan Sponsor are not bound to any extent
by the estimates. If a Professional does not provide an estimate, the Debtors, in consultation with the Plan Sponsor,
may estimate the unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Date Fees and Expenses.

         Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors will,
in the ordinary course of business and without any further notice to or action, order, or approval of the Bankruptcy
Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related to
implementation and Consummation of the Plan incurred by the Debtors or the Plan Administrator, subject to the
following sentence. Upon the Confirmation Date, any requirement that Professionals comply with sections 327
through 331 of the Bankruptcy Code, in seeking retention or compensation for services rendered after such date shall
terminate, and the Debtors and the Plan Administrator may employ and pay any Professional in the ordinary course
of business without any further notice to or action, order, or approval of the Bankruptcy Court; provided that to the
extent such amounts are unpaid as of the Effective Date, they shall only be paid from the Wind-Down Amount in
accordance with the Wind-Down Budget.

         5.   Substantial Contribution.

        Except as otherwise specifically provided in the Plan, any Entity that requests compensation or expense
reimbursement for making a substantial contribution in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), or (5)
of the Bankruptcy Code must File an application and serve such application on counsel for the Debtors and as


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otherwise required by the Bankruptcy Court, the Bankruptcy Code, and the Bankruptcy Rules, on or before the Voting
Deadline.

C.       Priority Tax Claims.

           Except to the extent that a Holder of an Allowed Priority Tax Claim and, as applicable, the Debtors or the Plan
Administrator agree to a less favorable treatment, in full and final satisfaction, settlement, and release of and in
exchange for each Allowed Priority Tax Claim, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code, each
Holder of an Allowed Priority Tax Claim shall receive, at the option of the Debtors, (a) payment in full in Cash on the
later of the Effective Date and the date on which the Allowed Priority Tax Claim becomes an Allowed Claim or, in
each case, as reasonably practicable thereafter, (b) Reinstatement of such Allowed Priority Tax Claim, or (c) such
other treatment in accordance with section 1129(a)(9)(C) of the Bankruptcy Code; provided that any Allowed Priority
Tax Claim that has been expressly assumed by the Plan Sponsor under the Plan Sponsor Agreement shall be an
obligation of the Plan Sponsor. In the event an Allowed Priority Tax Claim is also a Secured Tax Claim, such Claim
shall, to the extent it is Allowed, be treated as an Other Secured Claim if such Claim is not otherwise paid in full. On
the Effective Date, any Liens securing any Allowed Priority Tax Claims shall be deemed released, terminated, and
extinguished, in each case without further notice to or order of the Bankruptcy Court, act, or action under applicable
law, regulation, order or rule, or the vote, consent, authorization, or approval of any Person.

D.       U.S. Trustee.

          The Debtors or the Plan Administrator, as applicable, shall timely pay all U.S. Trustee Fees for each quarter
under 28 U.S.C. § 1930(a)(6), until the entry of a Final Order dismissing or closing the Chapter 11 Cases, or converting
the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code. Following Confirmation, the Debtors shall
file with the Bankruptcy Court quarterly operating reports.

E.       Costs and Expenses of the RBL Facility Agent.

          Notwithstanding anything to the contrary contained herein, any unpaid Claim payable to the RBL Facility
Agent on account of the reasonable and documented fees and expenses of the RBL Facility Agent Advisors pursuant
to a Cash Collateral Order shall constitute Allowed Administrative Claims and shall be paid on a current basis in full
in Cash on the earlier of the date set forth in the Cash Collateral Order and the Effective Date, or to the extent accrued
after the Effective Date, on a current basis in full in Cash as invoiced. Nothing herein shall require the RBL Facility
Agent or the RBL Facility Agent Advisors to file applications, a Proof of Claim or otherwise seek approval of the
Bankruptcy Court as a condition to the payment of such Allowed Administrative Claims.

F.       Costs and Expenses of the Consenting Term Loan Lenders.

         Notwithstanding anything to the contrary contained herein, any unpaid Claim payable to the Consenting
Term Loan Lenders on account of the reasonable and documented fees and expenses of Milbank LLP and Houlihan
Lokey Capital, Inc., subject to an aggregate maximum cap of $750,000 (the “Consenting Term Loan Lenders
Reimbursement Amount”), shall constitute Allowed Administrative Claims and shall be paid in full in Cash on the
Effective Date. Nothing herein shall require Milbank LLP and Houlihan Lokey Capital, Inc. to file applications, a
Proof of Claim or otherwise seek approval of the Bankruptcy Court as a condition to the payment of such Allowed
Administrative Claims.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Summary of Classification.

          The Plan constitutes a separate chapter 11 plan for each Debtor. Except for the Claims addressed in Article
II (or as otherwise set forth herein), all Claims against and Interests in a particular Debtor are placed in Classes for
each of the Debtors. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not classified
Administrative Claims, Priority Tax Claims, and Professional Fee Claims as described in Article II.


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          The categories of Claims and Interests listed below classify Claims and Interests for all purposes, including
voting, Confirmation, and distribution pursuant hereto and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy
Code. The Plan deems a Claim or Interest to be classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class and shall be deemed classified in a different Class to the extent
that any remainder of such Claim or Interest qualifies within the description of such different Class. A Claim or an
Interest is in a particular Class only to the extent that any such Claim or Interest is Allowed in that Class and has not
been paid or otherwise settled prior to the Effective Date.

     Class                  Claims and Interests                     Status                  Voting Rights
                                                                                          Not Entitled to Vote
Class 1          Other Priority Claims                             Unimpaired
                                                                                         (Presumed to Accept)
                                                                                          Not Entitled to Vote
Class 2          Other Secured Claims                              Unimpaired
                                                                                         (Presumed to Accept)
Class 3          RBL Facility Claims                                Impaired                Entitled to Vote

Class 4          Term Loan Claims                                   Impaired                Entitled to Vote
                                                                                          Not Entitled to Vote
Class 5          General Unsecured Claims                          Unimpaired
                                                                                         (Presumed to Accept)
                                                                                          Not Entitled to Vote
                                                                   Impaired /
Class 6          Intercompany Claims                                                    (Presumed to Accept or
                                                                   Unimpaired
                                                                                           Deemed to Reject)
                                                                                          Not Entitled to Vote
                                                                   Impaired /
Class 7          Intercompany Interests                                                 (Presumed to Accept or
                                                                   Unimpaired
                                                                                           Deemed to Reject)
                                                                                          Not Entitled to Vote
Class 8          Section 510(b) Claims                              Impaired
                                                                                          (Deemed to Reject)
                                                                                          Not Entitled to Vote
Class 9          Arena Energy, LP Interests                         Impaired
                                                                                          (Deemed to Reject)
                                                                                          Not Entitled to Vote
Class 10         Arena Energy GP, LLC Interests                     Impaired
                                                                                          (Deemed to Reject)
                                                                                          Not Entitled to Vote
Class 11         Arena Energy 2020 GP, LLC Interests                Impaired
                                                                                          (Deemed to Reject)
                                                                                          Not Entitled to Vote
Class 12         Sagamore Hill Holdings, LP Interests               Impaired
                                                                                          (Deemed to Reject)


B.           Treatment of Claims and Interests.

          Except to the extent that the Debtors and a Holder of an Allowed Claim or Interest, as applicable, agrees to
a less favorable treatment, such Holder shall receive under the Plan the treatment described below in full and final
satisfaction, compromise, settlement, release, and discharge of and in exchange for such Holder’s Allowed Claim or
Interest. Unless otherwise indicated, each Holder of an Allowed Claim or Interest, as applicable, shall receive such
treatment on the later of the Effective Date and the date on which such Claim or Interest is Allowed by Final Order of
the Bankruptcy Court or, in either case, as soon as reasonably practicable thereafter (or, if payment is not then due, in
accordance with its terms in the ordinary course), the timing of which shall be subject to the reasonable discretion of
the Debtors (with the consent of the Plan Sponsor, such consent not to be unreasonably withheld).




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 1.   Class 1—Other Priority Claims.

      (a)    Classification: Class 1 consists of all Other Priority Claims.

      (b)    Treatment: Each Holder of an Allowed Other Priority Claim shall receive, at the option of the
             Debtors, (i) payment in full in Cash, (ii) Reinstatement of such Allowed Other Priority Claim,
             or (iii) such other treatment so as to render such Allowed Other Priority Claim Unimpaired;
             provided that any Allowed Other Priority Claim that has been expressly assumed by the Plan
             Sponsor under the Plan Sponsor Agreement shall be an obligation of the Plan Sponsor.

      (c)    Voting: Class 1 is Unimpaired under the Plan. Each Holder of an Allowed Other Priority Claim
             is conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
             Bankruptcy Code. Therefore, each Holder of an Allowed Other Priority Claim is not entitled
             to vote to accept or reject the Plan.

 2.   Class 2—Other Secured Claims.

      (a)    Classification: Class 2 consists of all Other Secured Claims.

      (b)    Treatment: Each Holder of an Allowed Other Secured Claim shall receive, at the option of the
             Debtors, (i) payment in full in Cash, (ii) Reinstatement of such Allowed Other Secured Claim,
             or (iii) such other treatment so as to render such Allowed Other Secured Claim Unimpaired;
             provided that any Allowed Other Secured Claim that has been expressly assumed by the Plan
             Sponsor under the Plan Sponsor Agreement shall be an obligation of the Plan Sponsor.

      (c)    Voting: Class 2 is Unimpaired under the Plan. Each Holder of an Allowed Other Secured
             Claim is conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
             Bankruptcy Code. Therefore, Holders of Allowed Other Secured Claims are not entitled to vote
             to accept or reject the Plan.

 3.   Class 3—RBL Facility Claims.

      (a)    Classification: Class 3 consists of all RBL Facility Claims.

      (b)    Allowance: The RBL Facility Claims shall be Allowed and deemed to be Allowed Claims in
             the full amount outstanding under the RBL Facility Credit Agreement and the Cash Collateral
             Order, including all principal, accrued and unpaid interest, and all accrued and unpaid fees,
             expenses, and all other amounts payable under the RBL Facility Credit Agreement and the Cash
             Collateral Order.

      (c)    Treatment: On the Effective Date, each Holder of an Allowed RBL Facility Claim shall receive,
             in full and final satisfaction of such Allowed RBL Facility Claim, its Pro Rata portion of (i) the
             Plan Sponsor Cash Amount and (ii) the RBL Contingent Value Rights.

      (d)    Voting: Class 3 is Impaired under the Plan. Each Holder of an RBL Facility Claim is entitled
             to vote to accept or reject the Plan.

 4.   Class 4—Term Loan Claims.

      (a)    Classification: Class 4 consists of all Term Loan Claims.

      (b)    Allowance: The Term Loan Claims shall be Allowed and deemed to be Allowed Claims in the
             full amount outstanding under the Term Loan Credit Agreement and the Cash Collateral Order,
             including all principal, accrued and unpaid interest, and all accrued and unpaid fees, expenses,
             and all other amounts payable under the Term Loan Credit Agreement and the Cash Collateral


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             Order.

      (c)    Treatment: On the Effective Date, each Holder of an Allowed Term Loan Claim shall receive,
             in full and final satisfaction of such Allowed Term Loan Claim, its Pro Rata portion of the Term
             Loan Contingent Value Rights.

      (d)    Voting: Class 4 is Impaired under the Plan. Each Holder of a Term Loan is entitled to vote to
             accept or reject the Plan.

 5.   Class 5—General Unsecured Claims.

      (a)    Classification: Class 5 consists of all General Unsecured Claims.

      (b)    Treatment: Each holder of a General Unsecured Claim shall receive, in full and final
             satisfaction of such Allowed General Unsecured Claim, at the election of the Plan Sponsor,
             (i) payment in full in the ordinary course of business, (ii) Reinstatement of such Allowed
             General Unsecured Claim, or (iii) such other treatment as to render such Allowed General
             Unsecured Claim Unimpaired; provided that any Allowed General Unsecured Claim that has
             been expressly assumed by the Plan Sponsor under the Plan Sponsor Agreement shall be an
             obligation of the Plan Sponsor.

      (c)    Voting: Class 5 is Unimpaired. Each Holder of an Allowed General Unsecured Claim is
             conclusively presumed to have accepted the Plan. Therefore, Holders of General Unsecured
             Claims are not entitled to vote to accept or reject the Plan.

 6.   Class 6—Intercompany Claims.

      (a)    Classification: Class 6 consists of all Intercompany Claims.

      (b)    Treatment: On the Effective Date, each Intercompany Claim shall be, at the election of the Plan
             Sponsor in its sole discretion (i) Reinstated; (ii) compromised, distributed, contributed, set off,
             settled, canceled, released and/or extinguished, without any distribution on account of such
             Intercompany Claim; or (iii) otherwise treated as determined by the Plan Sponsor in its sole
             discretion.

      (c)    Voting: Class 6 is either (i) Unimpaired, in which case the Holders of Allowed Intercompany
             Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
             Bankruptcy Code; or (ii) Impaired, and not receiving any distribution under the Plan, in which
             case the Holders of Allowed Intercompany Claims are deemed to have rejected the Plan
             pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Allowed
             Intercompany Claims are not entitled to vote to accept or reject the Plan.

 7.   Class 7—Intercompany Interests.

      (a)    Classification: Class 7 consists of all Intercompany Interests.

      (b)    Treatment: On the Effective Date, Intercompany Interests shall be, at the election of the Plan
             Sponsor in its sole discretion (i) Reinstated; (ii) compromised, distributed, contributed, set off,
             settled, canceled, released and/or extinguished, without any distribution on account of such
             Intercompany Interest; or (iii) otherwise treated as determined by the Plan Sponsor in its sole
             discretion.

      (c)    Voting: Class 7 is either (i) Unimpaired, in which case the Holders of Allowed Intercompany
             Interests are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
             the Bankruptcy Code; or (ii) Impaired, and not receiving any distribution under the Plan, in


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             which case the Holders of Allowed Intercompany Interests are deemed to have rejected the Plan
             pursuant to section 1126(g) of the Bankruptcy Code. Therefore, each Holder of an Allowed
             Intercompany Interest in Class 7 will not be entitled to vote to accept or reject the Plan.
             Therefore, Holders of Allowed Intercompany Interests are not entitled to vote to accept or reject
             the Plan.

 8.   Class 8—Section 510(b) Claims.

      (a)    Classification: Class 8 consists of all Section 510(b) Claims.

      (b)    Treatment: Section 510(b) Claims will be canceled, released, and extinguished as of
             the Effective Date, and will be of no further force or effect, and Holders of Section 510(b)
             Claims will not receive any distribution on account of such Section 510(b) Claims.

      (c)    Voting: Class 8 is Impaired and not receiving any distribution under the Plan. Therefore,
             Holders of Section 510(b) Claims are deemed to have rejected the Plan pursuant to section
             1126(g) of the Bankruptcy Code, and are not entitled to vote to accept or reject the Plan.

 9.   Class 9—Arena Energy, LP Interests.

      (a)    Classification: Class 9 consists of all Arena Energy, LP Interests.

      (b)    Treatment: On the Effective Date, Arena Energy, LP Interests shall be, at the election of the
             Plan Sponsor in its sole discretion (i) canceled, released and extinguished; or (ii) otherwise
             treated as determined by the Plan Sponsor in its sole discretion, in either case without the
             Holders thereof receiving any distribution on account of such Interests.

                 Voting: Class 9 is Impaired, and not receiving any distribution under the Plan. Therefore,
                 Holders of Allowed Arena Energy, LP Interests are deemed to have rejected the Plan
                 pursuant to section 1126(g) of the Bankruptcy Code, and are not entitled to vote to accept
                 or reject the Plan.

 10. Class 10—Arena Energy GP, LLC Interests.

      (a)    Classification: Class 10 consists of Arena Energy GP, LLC Interests.

      (b)    Treatment: Arena Energy GP, LLC Interests shall be, at the election of the Plan Sponsor in its
             sole discretion (i) canceled, released and extinguished; or (ii) otherwise treated as determined
             by the Plan Sponsor in its sole discretion, in either case without the Holders thereof receiving
             any distribution on account of such Interests.

      (c)    Voting: Class 10 is Impaired, and not receiving any distribution under the Plan. Therefore,
             Holders of Allowed Arena Energy GP, LLC Interests are deemed to have rejected the Plan
             pursuant to section 1126(g) of the Bankruptcy Code, and are not entitled to vote to accept or
             reject the Plan.

 11. Class 11—Arena Energy 2020 GP, LLC Interests.

      (a)    Classification: Class 11 consists of all Arena Energy 2020 GP, LLC Interests.

      (b)    Treatment: Arena Energy 2020 GP, LLC Interests shall be, at the election of the Plan Sponsor
             in its sole discretion (i) canceled, released and extinguished; or (ii) otherwise treated as
             determined by the Plan Sponsor in its sole discretion, in either case without the Holders thereof
             receiving any distribution on account of such Interests.



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                           Voting: Class 11 is Impaired, and not receiving any distribution under the Plan. Therefore,
                           Holders of Arena Energy 2020 GP, LLC Interests are deemed to have rejected the Plan
                           pursuant to section 1126(g) of the Bankruptcy Code, and are not entitled to vote to accept
                           or reject the Plan.

         12. Class 12—Sagamore Hill Holdings, LP Interests.

             (a)      Classification: Class 12 consists of all Sagamore Hill Holdings, LP Interests.

             (b)      Treatment: Sagamore Hill Holdings, LP Interests shall be, at the election of the Plan Sponsor
                      in its sole discretion (i) canceled, released and extinguished; or (ii) otherwise treated as
                      determined by the Plan Sponsor in its sole discretion, in either case without the Holders thereof
                      receiving any distribution on account of such Interests.

             (c)      Voting: Class 12 is Impaired, and not receiving any distribution under the Plan. Therefore,
                      Holders of Sagamore Hill Holdings, LP Interests are deemed to have rejected the Plan pursuant
                      to section 1126(g) of the Bankruptcy Code, and are not entitled to vote to accept or reject the
                      Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect, diminish, or impair the rights
of the Debtors with respect to any Unimpaired Claims, including all rights in respect of legal and equitable defenses
to or setoffs or recoupments against any such Unimpaired Claims. All rights to exercise any and all such rights and
to settle any such Claims shall be preserved and shall vest in the Plan Sponsor as of the Effective Date.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes; Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims eligible to vote and no Holder of Claims eligible to vote in such Class votes to
accept or reject the Plan, the Plan shall be presumed accepted by the Holders of such Claims in such Class.

F.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Acceptance of the Plan by either Class 3 or 4 will satisfy section 1129(a)(10) of the Bankruptcy Code.
The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to
any rejecting Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article
XI to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

G.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of
the Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights
relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy
Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors reserve the right to re-classify any



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Allowed Claim (except for any Professional Fee Claims, RBL Facility Claims, or Term Loan Claims) or Allowed
Interest in accordance with any contractual, legal, or equitable subordination relating thereto.

                                           ARTICLE IV.
                              MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims.

         As discussed further in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a
good-faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies released, settled,
compromised, discharged, or otherwise resolved pursuant to the Plan. The Plan shall be deemed a motion to approve
the good-faith compromise and settlement of all such Claims, Interests, Causes of Action, and controversies pursuant
to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of such compromise and settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well
as a finding by the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable, and in the
best interests of the Debtors and their Estates. Distributions made to Holders of Allowed Claims in any Class are
intended to be final.

B.       Sources of Plan Consideration.

          Cash on hand, the Plan Sponsor Cash Amount, the RBL Contingent Value Rights, the Term Loan Contingent
Value Rights, the Wind-Down Amount, the Debtors’ rights under the Plan Sponsor Agreement, payments made
directly by the Plan Sponsor under the Plan Sponsor Agreement, and payments of Cure Costs made by the Plan
Sponsor pursuant to sections 363, 365 and 1123 of the Bankruptcy Code, shall be used to fund the distributions to
Holders of Allowed Claims against the Debtors in accordance with the treatment of such Claims and subject to the
terms provided herein. Except as to the Plan Sponsor Cash Amount, and unless otherwise agreed in writing by the
Debtors and the Plan Sponsor, distributions required by the Plan shall be the sole responsibility of the Plan Sponsor
to the extent such Claim is Allowed against the Debtors.

C.       The Plan Sponsor Transaction.

         Upon entry of the Confirmation Order, the Debtors shall be authorized to consummate the Plan Sponsor
Transaction with the Plan Sponsor pursuant to the terms of the Plan Sponsor Agreement, the Plan, and
the Confirmation Order.

         Subject to the terms of the Plan Sponsor Agreement, on the Effective Date, the Debtors shall consummate
the Plan Sponsor Transaction by, among other things, transferring the Assets to the Plan Sponsor free and clear of all
Liens, Claims, Interests, charges, and other encumbrances, pursuant to sections 365 and 1123 of the Bankruptcy Code,
the Plan and the Confirmation Order.

          The transactions contemplated by the Plan Sponsor Agreement and the Plan are undertaken by the Debtors
and the Plan Sponsor without collusion and in good faith, and accordingly, the reversal or modification on appeal of
the authorization provided herein to consummate the transactions contemplated thereunder and hereunder shall not
affect the validity of such transactions (including the assumption, assignment and/or transfer of any Assumed Contract
or Lease). The Plan Sponsor is a good faith purchaser and, as such, is entitled to the full protections as such of
the Bankruptcy Code.

D.       Restructuring Transactions.

         Upon entry of the Confirmation Order by the Bankruptcy Court, all matters provided for under the Plan
Sponsor Agreement and the Plan, and any documents in connection therewith and herewith, shall be deemed
authorized and approved without any requirement of further act or any actions by the Debtors or their general partners,
managers, members, directors, or other governing bodies, or any other Entity or Person. Upon the entry of


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the Confirmation Order, the Debtors, the Plan Administrator and the Plan Sponsor are authorized (without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation or rule, or the vote,
authorization or approval of any Entity) to take all actions as may be necessary or appropriate to effect the
Restructuring Transactions, including the Plan Sponsor Transaction and any other transaction described in, approved
by, contemplated by, or necessary to effectuate the Plan, including: (1) the execution and delivery of all appropriate
agreements or other documents of merger, consolidation, sale, restructuring, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of the Plan, and that satisfy the
requirements of applicable law; (2) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, interest, right, liability, debt, or obligation on terms consistent with
the terms of the Plan; (3) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (4) the filing of appropriate certificates or articles of organization, limited
partnership, incorporation, reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable
state law; (5) the execution, delivery, filing, recordation and issuance of any other notes, documents, instruments, or
agreements in connection with the Restructuring Transactions; (6) any transactions described in the Description of
Transaction Steps; and (7) subject to the occurrence of the Effective Date, the consummation of the transactions
contemplated by the Plan Sponsor Agreement and the Plan.

         The Confirmation Order shall and shall be deemed to, pursuant to section 1123 of the Bankruptcy Code,
authorize, among other things, all actions as may be necessary or appropriate to effect the Restructuring Transactions,
including the Plan Sponsor Transaction and any other transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan.

E.       Payment of Cure Costs and Other Amounts.

         On the Effective Date, the Plan Sponsor shall pay all Cure Costs that are required to be paid (if any) pursuant
to and in accordance with sections 365 or 1123 of the Bankruptcy Code with respect to any Assumed Contracts and
Leases. The Debtors shall not have any obligation to make any payment or other distribution on account of any Cure
Costs.

F.       Vesting of Assets.

          Except as otherwise provided in the Plan, the Plan Sponsor Agreement, or any agreement, instrument, or
other document incorporated herein or therein, on the Effective Date: (a) the Assets shall be preserved and shall vest
in the Plan Sponsor, free and clear of all Liens, Claims, charges, and other encumbrances; and (b) the Excluded Assets
shall vest in the Debtors for the purpose of liquidating the Estates, free and clear of all Liens, Claims, charges, and
other encumbrances.

         On and after the Effective Date, except as otherwise provided in the Plan and subject in all respects to the Plan
Sponsor Agreement and the Plan, the Debtors may operate their businesses and use, acquire, or dispose of any
property, assets or interests, and, as applicable, compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules. For the avoidance of doubt, following the Effective Date, the Plan Sponsor may operate its businesses and use,
acquire, or dispose of property, assets or interests, including the Assets, without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

G.       Wind-Down Amount.

         On or prior to the Effective Date, the Debtors shall retain the Wind-Down Amount to be used solely in
accordance with the Wind-Down Budget. Any amounts in the Wind-Down Amount remaining after the payment of
all required distributions therefrom in accordance with the Wind-Down Budget shall promptly be transferred to
the Plan Sponsor.




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H.       Wind-Down.

         On and after the Effective Date, in accordance with the Wind-Down Budget, the Debtors (other than any
Acquired Debtors) shall (1) continue in existence for purposes of (a) winding down the businesses and affairs of such
Debtors as expeditiously as reasonably possible, (b) resolving Disputed Claims as provided hereunder, (c) filing
appropriate tax returns, (d) complying with their continuing obligations under the Plan Sponsor Agreement (including
with respect to the transfer of permits to the Plan Sponsor as contemplated therein), and (e) administering the Plan in
an efficacious manner; and (2) thereafter liquidating as set forth in the Plan.

I.       Plan Administrator.

         On and after the Effective Date, the Plan Administrator shall act for the Debtors (other than any Acquired
Debtors) in the same fiduciary capacity as applicable to a board of managers or directors, and officers, subject to the
provisions hereof (and all certificates of formation, partnership agreements, operating agreements, membership
agreements, and related documents are deemed amended by the Plan to permit and authorize the same).
On the Effective Date, the authority, power, and incumbency of the persons acting as general partners, managing
members, managers and officers of the Debtors shall be deemed to have resigned, and a representative of the Plan
Administrator shall be appointed as the sole manager and sole officer of the Debtors (other than any Acquired
Debtors), and shall succeed to the powers of such Debtors’ general partners, managing members, managers and
officers. From and after the Effective Date, the Plan Administrator shall be the sole representative of, and shall act
for, the Debtors (other than any Acquired Debtors) as further described in Article VII. The operations of the Plan
Administrator shall be subject in all respects to the Wind-Down Budget.

J.       Cancellation of Notes, Instruments, Certificates, and Other Documents.

         On the Effective Date, except as otherwise specifically provided for in the Plan: (1) the obligations of any
Debtor under any certificate, share, membership or limited partner interest, note, bond, indenture, purchase right, or
other instrument or document, directly or indirectly evidencing or creating any indebtedness or obligation of or
ownership interest, equity, or portfolio interest in the Debtors or any warrants, options, or other securities exercisable
or exchangeable for, or convertible into, debt, equity, ownership, or profits interests in the Debtors giving rise to any
Claim or Interest shall be canceled and deemed surrendered as to the Debtors and shall not have any continuing
obligations thereunder; (2) the obligations of the Debtors pursuant, relating, or pertaining to any agreements,
indentures, certificates of designation, bylaws, operating agreements, partnership agreements or certificates or articles
of incorporation or formation or similar documents governing the equity interests, certificates, notes, bonds, indenture,
purchase rights, options, warrants, or other instruments or documents evidencing or creating any indebtedness or
obligation of the Debtors shall be fully released, discharged, settled, and compromised; and (3) the Intercreditor
Agreement and any other similar intercreditor agreements or contracts shall be canceled and the parties thereto shall
not have any continuing obligations thereunder.

K.       Corporate Action.

          Upon the Effective Date, all actions contemplated by the Plan and the Plan Sponsor Agreement (including
any action to be undertaken by the Debtors or the Plan Administrator, as applicable) shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for further action by
Holders of Claims or Interests, the Debtors, the Plan Administrator, or any other Entity or Person. All matters provided
for in the Plan involving the corporate, limited liability company or partnership structure of the Debtors or the Plan
Sponsor, the consummation of the Plan Sponsor Transaction, and any corporate, limited liability company or
partnership action required by the Debtors in connection therewith, shall be deemed to have occurred and shall be in
full force and effect, without any requirement of further action by the Debtors or the Debtors’ Estates.

         On or after the Effective Date, after making all distributions provided for under the Plan, the Debtors (other
than any Acquired Debtors) shall be deemed to be dissolved and terminated, except as necessary to satisfy their
obligations under the Plan Sponsor Agreement. The directors, managers, and officers of the Debtors and the Plan
Administrator, as applicable, shall be authorized to execute, deliver, File, or record such contracts, instruments, and
other agreements or documents and take such other actions as they may deem necessary or appropriate to implement
the provisions of this Article IV.K.

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        The authorizations and approvals contemplated by this Article IV.K shall be effective notwithstanding any
requirements under applicable nonbankruptcy law.

L.       Dissolution of the Boards of the Debtors.

         As of the Effective Date, the existing boards of directors or managers, as applicable, of the Debtors shall be
dissolved without any further action required on the part of the Debtors or the Debtors’ officers, directors, managers,
partners, equity holders, or members, and any remaining officers, directors, managers, or managing members of any
Debtor shall be dismissed without any further action required on the part of any such Debtor, the partners or equity
holders of the Debtors, the officers, directors, or managers, as applicable, of the Debtors, or the members or partners
of any Debtor.

          As of the Effective Date, the Plan Administrator shall act as the sole officer, director, general partner,
member, and manager, as applicable, of the Debtors (other than any Acquired Debtor) with respect to their affairs
other than matters substantially related to the Plan Sponsor Transaction. Subject in all respects to the terms of the
Plan, the Plan Administrator shall have the power and authority to take any action necessary to wind down and dissolve
the Debtors (other than any Acquired Debtor), and, if applicable, shall: (a) file a certificate of dissolution for any of
such Debtors, together with all other necessary corporate, company, or partnership documents, to effect the dissolution
of such Debtors under the applicable laws of the applicable state(s) of formation; and (b) complete and file all final or
otherwise required federal, state, and local tax returns and shall pay taxes required to be paid for any of the Debtors,
and pursuant to section 505(b) of the Bankruptcy Code, request an expedited determination of any unpaid tax liability
of any of the Debtors or their Estates for any tax incurred during the administration of such Debtor’s Chapter 11 Case,
as determined under applicable tax laws.

         The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall be authorized and
approved in all respects without further action under applicable law, regulation, order, or rule, including any action
by direct or indirect equity holders, general partners, members, board of directors, board of managers, or any other
governing bodies of any of the Debtors or any of their affiliates.

M.       Release of Liens.

          Except as otherwise expressly provided herein, and without limitation to the terms of the RBL Contingent
Value Rights, the RBL Contingent Value Rights Memorandum, the Term Loan Contingent Value Rights, and
the Term Loan Contingent Value Rights Memorandum, on the Effective Date, all Liens on any property, assets or
interests of any Debtors shall automatically terminate, all property, assets and interests subject to such Liens shall be
automatically released, and all guarantees of any Debtors shall automatically be discharged and released.

N.       Effectuating Documents; Further Transactions.

         The Debtors and the officers, managers, general partners, and members thereof are authorized to and may
issue, execute, deliver, file, or record such contracts, securities, instruments, releases, consents, approvals, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate, implement, and
further evidence the terms and conditions of the Plan, without the need for any approvals, authorizations, notice, or
consents, except for those expressly required pursuant to the Plan.

O.       Exemption from Certain Taxes and Fees.

          To the maximum extent provided by section 1146(a) of the Bankruptcy Code, any post-Confirmation transfer
from any Entity pursuant to, in contemplation of, or in connection with the Plan, the Plan Sponsor Transaction or
the Plan Sponsor Agreement or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, equity
security, or other interest in the Debtors; or (2) the making, delivery, or recording of any deed or other instrument of
transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or
other instruments of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or


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recording fee, or other similar tax or governmental assessment, in each case to the extent permitted by applicable
bankruptcy law, and the appropriate state or local government officials or agents shall forego collection of any such
tax or governmental assessment and accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

P.       Causes of Action.

         Any Causes of Action held by the Debtors on the Effective Date that have not been expressly waived,
relinquished, exculpated, released, compromised, or settled under the Plan shall be retained, shall be deemed
Transferred Causes of Action and shall be assigned and transferred to and shall vest in the Plan Sponsor on
the Effective Date. The Transferred Causes of Action shall be described in the Plan Supplement.

         No Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any such Cause of Action against them as any indication that the Plan Sponsor or the Debtors will not
pursue any and all available Causes of Actions against them. No preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion (judicial, equitable, or otherwise), or laches, shall apply
to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

Q.       Employee and Retiree Benefits.

         All employee wages and Compensation and Benefits Programs in place as of the Effective Date with
the Debtors shall be assumed and assigned by the Debtors to the Plan Sponsor and shall remain in place as of
the Effective Date, and the Plan Sponsor will continue to honor such agreements, arrangements, programs, and plans.

R.       The Plan Sponsor Equity Election.

In the event the Plan Sponsor makes the Plan Sponsor Equity Election, 100% of the equity in one or more of the
     Debtors, as reorganized pursuant to the Plan, as determined by the Plan Sponsor, shall be issued, contributed
     and/or distributed to the Plan Sponsor (or a designee thereof) on the Effective Date, and, notwithstanding anything
     to the contrary herein, (i) the Acquired Debtors shall not be dissolved or otherwise subject to the Wind Down,
     and each Acquired Debtor shall continue to exist after the Effective Date as a separate corporate entity, limited
     liability company, partnership or other form, as the case may be, with all the powers thereof pursuant to applicable
     law, (ii) all Assets (including all Assumed Contracts and Leases) of the Acquired Debtors shall re-vest in (and be
     assumed by) the applicable Acquired Debtor, free and clear of all Liens, Claims and other encumbrances to the
     same extent such Assets would otherwise have vested in the Plan Sponsor pursuant to the terms of the Plan and
     the Plan Sponsor Agreement (for purposes of clarity, the Assets shall remain subject to the terms of the RBL
     Contingent Value Rights, the RBL Contingent Value Rights Memorandum, the Term Loan Contingent Value
     Rights, and the Term Loan Contingent Value Rights Memorandum), and (iii) all Assumed Liabilities of the
     Acquired Debtors shall remain liabilities of the applicable Acquired Debtor to the same extent such Assumed
     Liabilities would otherwise have been assumed by the Plan Sponsor pursuant to the terms of the Plan and the Plan
     Sponsor Agreement. For the avoidance of doubt, neither the Plan Sponsor nor any Acquired Debtor shall acquire,
     assume or retain (as applicable) any Excluded Assets or Excluded Liabilities (as defined in the Plan Sponsor
     Agreement) in connection with the foregoing. No further notice to or order of the Bankruptcy Court shall be
     required to effectuate the Plan Sponsor Equity Election, including the transfer of the Acquired Debtors to the Plan
     Sponsor.

S.       Closing the Chapter 11 Cases.

        Upon the occurrence of the Effective Date, the Plan Administrator shall be permitted to close all of
the Chapter 11 Cases of the Debtors except for the Chapter 11 Case of one designated Debtor (which shall not be an
Acquired Debtor), and all contested matters relating to each of the Debtors, including objections to Claims, shall be
administered and heard in the Chapter 11 Case of such Debtor.




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         When all Disputed Claims have become Allowed or disallowed and all remaining Cash has been distributed
in accordance with the Plan, the Plan Administrator shall seek authority from the Bankruptcy Court to close any
remaining Chapter 11 Cases of the Debtors in accordance with the Bankruptcy Code and the Bankruptcy Rules.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

          On the Effective Date, except as otherwise provided herein, all Executory Contracts and Unexpired Leases
not otherwise assumed, assumed and assigned, or rejected will be deemed assumed and assigned to the Plan Sponsor
(or, if applicable, assumed by the Acquired Debtors), in accordance with the provisions and requirements of sections
365 and 1123 of the Bankruptcy Code, other than those that: (1) are identified on the schedule of Rejected Contracts
and Leases; (2) have previously expired or terminated pursuant to their own terms; (3) have been previously assumed,
assumed and assigned, or rejected by the Debtors pursuant to a Final Order; (4) are the subject of a motion to reject
that is pending on the Effective Date; or (5) have an ordered or requested effective date of rejection that is after
the Effective Date. Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty,
each Assumed Contract and Lease shall include all modifications, amendments, supplements, restatements, or other
agreements related thereto, and all rights related thereto, if any, including all easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal, and any other interests, modifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have been executed by
the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract
or Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection therewith.
The RSA, the Restructuring Stipulation, and the Plan Sponsor Agreement (including the Term Loan Contingent Value
Rights Agreement), shall be deemed assumed by the Debtors upon entry of the Confirmation Order.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the schedule of Assumed Contract and Leases, or the schedule of Rejected Contracts and Leases, pursuant to sections
365 and 1123 of the Bankruptcy Code. Except as otherwise specifically set forth herein, assumptions, assumptions
and assignments or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of
the Effective Date. Each Assumed Contract and Lease shall re-vest in and be fully enforceable by the Plan Sponsor
(or, if applicable, the Acquired Debtors), except as such terms may have been modified by the provisions of the Plan
or any order of the Bankruptcy Court authorizing and providing for its assumption. Any motions to assume or assume
and assign Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval by a
Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the Plan Sponsor.

          To the maximum extent permitted by law, to the extent any provision in any Assumed Contract or Lease
restricts or prevents, or purports to restrict or prevent, or is breached or deemed breached by, the assumption or
assumption and assignment of such Assumed Contract or Lease (including any “change of control” provision or
payment), then such provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such Assumed Contract or Lease or to exercise any other
default-related rights (or demands for payment) with respect thereto. Notwithstanding anything to the contrary in
the Plan, the Debtors (at the direction of the Plan Sponsor) and the Plan Sponsor shall reserve the right to alter, amend,
modify, or supplement the schedule of Assumed Contracts and Leases and the schedule of Rejected Contracts and
Leases at any time up to forty-five (45) days after the Effective Date.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or
the Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of
(1) the date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection,
(2) the effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease for which Proofs of Claim are not Filed with the Bankruptcy Court
within such time will be automatically disallowed, forever barred from assertion, and shall not be enforceable

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against the Debtors or the Plan Sponsor, or their property, assets and interests without the need for any
objection by the Debtors or the Plan Sponsor or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the Executory Contract
or Unexpired Lease shall be deemed fully satisfied, released, and discharged, notwithstanding anything in a
Proof of Claim to the contrary. All Allowed Claims arising from the rejection of the Debtors’ Executory Contracts
or Unexpired Leases shall be classified as General Unsecured Claims and shall be treated in accordance with Article
III.B.4(b) of the Plan.

C.       Cure of Defaults for Assumed Contracts and Leases.

          Any monetary defaults under each Assumed Contract and Lease shall be satisfied, pursuant to section
365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash on the Effective Date or in the ordinary
course of business, subject to the limitation described below, or on such other terms as the parties to such Executory
Contracts or Unexpired Leases may otherwise agree. On or as soon as reasonably practicable after the Petition Date,
the Debtors shall provide Cure Notices of proposed assumptions or assumptions and assignments to the counterparties
to the agreements listed on the schedule of Assumed Contracts and Leases, which shall include a description of the
procedures for resolving disputes related to the proposed assumption or assumption and assignment of applicable
Assumed Contracts and Leases. In the event of a dispute regarding (1) the amount of any payments to cure such a
default, (2) the ability of the Plan Sponsor or any assignee to provide “adequate assurance of future performance”
(within the meaning of section 365 of the Bankruptcy Code) under the Assumed Contract or Lease, or (3) any other
matter pertaining to assumption or assumption and assignment, the Bankruptcy Court shall hear such dispute at the
Confirmation Hearing. Unless otherwise agreed in writing by the parties to the applicable Assumed Contract or Lease
and the Plan Sponsor, any objection by a counterparty thereto to a proposed assumption or assumption and assignment
must be Filed, served and actually received by counsel to the Debtors and the Plan Sponsor no later than the date and
time specified in the Cure Notice. Any counterparty that fails to object timely to a proposed assumption or assumption
and assignment shall be deemed to have consented to such assumption or assumption and assignment. At
the Confirmation Hearing, the Bankruptcy Court shall hear and resolve all timely filed objections to the proposed
assumption or assumption and assignment, the proposed Cure Cost or the adequate assurances of future performance
by the Plan Sponsor or the applicable Debtor. The Allowed Cure Costs, as set forth in the Cure Notice or otherwise
determined by the Bankruptcy Court in the Confirmation Order (or such other Final Order entered upon resolution at
the Confirmation Hearing of any objection to the Cure Costs set forth in the Cure Notice) shall be paid on the Effective
Date, subject to the right of the Plan Sponsor to remove any Executory Contract or Unexpired Lease from the list of
Assumed Contracts and Leases at any time prior to the Effective Date.

        In any case, at any time prior to the Effective Date, the Plan Sponsor will have the right to remove any
Executory Contract or Unexpired Lease from the schedule of Assumed Contracts and Leases, in which case such
Executory Contract or Unexpired Lease will be deemed rejected (if applicable) and such Executory Contract or
Unexpired Lease shall not be an Assumed Contract or Lease.

         Assumption (or assumption and assignment) of any Assumed Contract or Lease pursuant to the Plan or
otherwise and full payment of any applicable Cure Costs pursuant to this Article V.C shall result in the full release
and satisfaction of any Cure Cost Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any Assumed Contract or Lease at any time prior to or as of the effective date of assumption or
assumption and assignment, as applicable. Any and all Proofs of Claim based upon Assumed Contracts and
Leases, and for which any Cure Costs have been fully paid pursuant to this Article V.C, shall be deemed
disallowed and expunged as of the Effective Date without the need for any objection thereto or any further
notice to or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors under such Rejected Contracts and Leases, and all rights
to such preexisting obligations shall vest in the Plan Sponsor (or the Acquired Debtors, if applicable) on the Effective
Date. In particular, notwithstanding any non-bankruptcy law to the contrary, the Debtors and the Plan Sponsor
expressly reserve and do not waive any right to receive, or any continuing obligation of a counterparty to provide,

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warranties or continued maintenance obligations with respect to goods previously purchased by the Debtors pursuant
to Rejected Executory Contracts and Unexpired Leases.

E.       Indemnification Obligations.

          All indemnification provisions, consistent with applicable law, currently in place (whether in the by-laws,
certificates of incorporation or formation, limited liability company agreements, limited partnership agreements, other
organizational documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for
the current and former members of any governing body, general partners, directors, officers, managers, members,
employees, attorneys, accountants, investment bankers, advisors, and other professionals of, or acting on behalf of,
the Debtors, as applicable, shall be assumed by the Plan Sponsor and shall remain intact, irrevocable, and shall survive
the Effective Date on terms no less favorable to such current and former members of any governing body, general
partners, directors, officers, managers, employees, attorneys, accountants, investment bankers, advisors, and other
professionals of, or acting on behalf of, the Debtors than the indemnification provisions in place prior to the Effective
Date.

F.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date,
(1) the Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and
instruments relating to coverage of all insured Claims and (2) such insurance policies and any agreements, documents,
or instruments relating thereto shall revest in the Plan Sponsor.

G.       D&O Policies.

          The D&O Policies shall be assumed by the Debtors on behalf of the applicable Debtor effective as of
the Effective Date, pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such D&O Policy previously
was rejected by the Debtors or the Debtors’ Estates pursuant to a Bankruptcy Court order or is the subject of a motion
to reject pending on the Effective Date, and nothing shall alter, modify, or amend, affect or impair the terms and
conditions of (or the coverage provided by) any of the D&O Policies including the coverage for defense and indemnity
under any of the D&O Policies, which shall remain available to all individuals within the definition of “Insured” in
any of the D&O Policies.

H.       Modifications, Amendments, Supplements, Restatements, or Other Agreements.

          Unless otherwise provided in the Plan, each Assumed Contract and Lease shall include all modifications,
amendments, supplements, restatements, or other agreements that in any manner affect such Assumed Contract or
Lease, and Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of the foregoing
agreements has been previously rejected or repudiated or is rejected or repudiated under the Plan.

         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any Claims
that may arise in connection therewith, absent a Final Order of the Bankruptcy Court to the contrary.

I.       Reservation of Rights.

         Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the schedule of
Assumed Contracts and Leases, nor anything contained in the Plan or the Plan Sponsor Agreement, shall constitute
an admission by the Debtors, the Plan Sponsor, or any other Entity that any such contract or lease is in fact an
Executory Contract or Unexpired Lease or that any Debtor, the Plan Sponsor or any other Entity has any liability
thereunder. In the event of a dispute regarding whether a contract or lease is or was executory or unexpired at the
time of assumption or rejection, the Debtors, the Plan Sponsor or the Plan Administrator, as applicable, shall have


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90 days following entry of a Final Order resolving such dispute to alter the treatment of such contract or lease as
otherwise provided in the Plan.

J.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of
the Bankruptcy Code.

K.       Contracts and Leases Entered Into After the Petition Date.

         Any contracts and leases entered into after the Petition Date by any Debtor, including any Assumed Contracts
and Leases, will be performed by the applicable Debtor or the Plan Sponsor liable thereunder, each in the ordinary
course of its business. Accordingly, such contracts and leases (including any Assumed Contacts and Leases) will
survive and remain unaffected by entry of the Confirmation Order.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably practicable thereafter
(or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes Allowed or as
soon as reasonably practicable thereafter), each Holder of an Allowed Claim against the Debtors shall receive the full
amount of the distributions that the Plan provides for Allowed Claims in the applicable Class from the Debtors or
the Plan Administrator on behalf of the Debtors, as applicable. In the event that any payment or act under the Plan is
required to be made or performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on the next succeeding Business Day, in which case such payment shall
be deemed to have occurred when due. If and to the extent that there are Disputed Claims, distributions on account
of any such Disputed Claims shall be made pursuant to the provisions set forth in Article VIII. Notwithstanding
anything to the contrary in the Plan, no Holder of an Allowed Claim shall, on account of such Allowed Claim, receive
a distribution in excess of the Allowed amount of such Claim plus any interest accruing on such Claim that is actually
payable in accordance with the Plan.

B.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

         On the Distribution Record Date, the Claims Register shall be closed and the Debtors, the Plan Administrator,
or any other party responsible for making distributions instead shall be authorized and entitled to recognize only those
record Holders listed on the Claims Register as of the close of business on the Distribution Record Date.
The Distribution Record Date shall not apply to the RBL Facility Agent with respect to beneficial holders of the RBL
Facility Claims or the Term Loan Agent with respect to beneficial holders of Term Loan Claims.

         2.   Delivery of Distributions on RBL Facility Claims.

         Notwithstanding any provision of the Plan to the contrary, all distributions on account of Allowed RBL
Facility Claims shall be governed by the RBL Facility Credit Agreement and shall be deemed completed when made
to the RBL Facility Agent, which shall be deemed the Holder of the entirety of the Allowed RBL Facility Claims for
purposes of distributions to be made hereunder. The RBL Facility Agent shall hold or direct such distributions for the
benefit of the respective Holders of Allowed RBL Facility Claims. As soon as practicable following compliance with
the requirements set forth in this Article VI.B, the RBL Facility Agent shall arrange to deliver or direct the delivery
of such distributions to or on behalf of the respective Holders of RBL Facility Claims, pursuant to the terms of the RBL
Facility Credit Agreement.



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         3.   Delivery of Distributions on Term Loan Claims.

          Notwithstanding any provision of the Plan to the contrary, all distributions on account of Allowed Term Loan
Claims shall be governed by the Term Loan Credit Agreement and shall be deemed completed when made to the Term
Loan Agent, which shall be deemed the Holder of the entirety of the Allowed Term Loan Claims for purposes of
distributions to be made hereunder. The Term Loan Agent shall hold or direct such distributions for the benefit of the
respective Holders of Allowed Term Loan Claims. As soon as practicable following compliance with the requirements
set forth in this Article VI.B, the Term Loan Agent shall arrange to deliver or direct the delivery of such distributions
to or on behalf of the respective Holders of Term Loan Claims, pursuant to the terms of the Term Loan Credit
Agreement.

         4.   Delivery of Distributions in General.

              (a)      Payments and Distributions on Disputed Claims.

        Distributions made after the Effective Date to Holders of Disputed Claims that are not Allowed Claims as of
the Effective Date but which later become Allowed Claims shall, in the reasonable discretion of the Plan
Administrator, be deemed to have been made by the Plan Administrator on the Effective Date unless the Plan
Administrator and the Holder of such Claim agree otherwise.

              (b)      Special Rules for Distributions to Holders of Disputed Claims.

          Notwithstanding any provision otherwise in the Plan and except as may be agreed to by the Debtors or
the Plan Administrator, as applicable, on the one hand, and the Holder of a Disputed Claim, on the other hand, no
partial payments and no partial distributions shall be made with respect to any Disputed Claim, other than with respect
to Professional Fee Claims, until all Disputed Claims held by the Holder of such Disputed Claim have become Allowed
Claims or have otherwise been resolved by settlement or Final Order.

              (c)      Distributions.

         On and after the Effective Date, the Debtors shall make the distributions required to be made on account of
Allowed Claims under the Plan. Any distribution that is not made on the Initial Distribution Date or on any other date
specified in the Plan because the Claim that would have been entitled to receive that distribution is not an Allowed
Claim on such date, shall be held by the Debtors in reserve in accordance with the Plan, as applicable, and distributed
on the next Subsequent Distribution Date that occurs after such Claim is Allowed. Subject to Article VI.D, no interest
shall accrue or be paid on the unpaid amount of any distribution paid pursuant to the Plan.

         5.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
shall be made unless and until the Plan Administrator has determined the then current address of such Holder, at which
time such distribution shall be made to such Holder without interest; provided that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six months from the date the
distribution is made. After such date, all unclaimed property or interests in property shall revert (notwithstanding any
applicable federal or state escheat, abandoned, or unclaimed property laws to the contrary) to the Plan Sponsor,
automatically and without need for a further order by the Bankruptcy Court and the Claim of any holder to such
property or interest in property shall be released, discharged, settled, compromised, and forever barred.

         6.   Manner of Payment Pursuant to the Plan.

        Any payment in Cash to be made pursuant to the Plan shall be made at the election of the Plan Administrator
by check or by wire transfer, at the sole and exclusive discretion of the Plan Administrator.




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C.       Compliance with Tax Requirements/Allocations.

          In connection with the Plan, to the extent applicable, the Plan Administrator or the Debtors shall request
distributees to provide appropriate documentation that may be required for an exemption from withholding or
reporting, and shall comply with all tax withholding and reporting requirements imposed on it by any Governmental
Unit, and all distributions pursuant hereto shall be subject to such withholding and reporting requirements unless an
exception applies. Notwithstanding any provision in the Plan to the contrary, the Plan Administrator and the Debtors
shall be authorized to take all actions necessary or appropriate to comply with such withholding and reporting
requirements, including liquidating a portion of the distribution to be made under the Plan to generate sufficient funds
to pay applicable withholding taxes, withholding distributions pending receipt of information necessary to facilitate
such distributions, or establishing any other mechanisms it believes is reasonable and appropriate. The Plan
Administrator and the Debtors reserve the right to allocate all distributions made under the Plan in compliance with
all applicable wage garnishments, alimony, child support, and other spousal awards, liens, and encumbrances.
All Persons holding Claims shall be required to provide any information necessary to effect information reporting and
the withholding of such taxes. Notwithstanding any other provision of the Plan to the contrary, each Holder of an
Allowed Claim shall have the sole and exclusive responsibility for the satisfaction and payment of any tax obligations
imposed by any Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution.

D.       Allocation of Plan Distributions Between Principal and Interest.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount
of the Claims, to any portion of such Claims for accrued but unpaid interest as Allowed therein.

E.       Setoffs and Recoupment.

         Except with respect to the RBL Facility Claims or Term Loan Claims, or as otherwise expressly provided
herein, the Debtors may, but shall not be required to, setoff against or recoup from any Claims of any nature
whatsoever that the Debtors may have against the claimant, but neither the failure to do so nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Debtors or the Plan Sponsor of any such Claim it may have
against the Holder of such Claim. At any time after the Confirmation Date, without the need for Bankruptcy Court
approval, the Debtors may exercise, litigate or settle any rights of setoff or recoupment that they or any creditor may
have. On the Effective Date, all such rights of setoff or recoupment shall be preserved and shall vest in the Plan
Sponsor.

F.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

         The Debtors shall reduce in full a Claim, and such Claim shall be disallowed without a Claims objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy Court, to the extent
that the Holder of such Claim receives payment in full on account of such Claim from a party that is not a Debtor.
Subject to the last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on account of
such Claim and receives payment from a party that is not a Debtor on account of such Claim, such Holder shall, within
14 days of receipt thereof, repay or return the distribution to the Debtors to the extent the Holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of any
such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result in
the Holder owing the Debtors annualized interest at the Federal Judgment Rate on such amount owed for each
Business Day after the 14-day grace period specified above until the amount is repaid. All distributions returned or
repaid and all interest therein shall be promptly delivered by the Debtors to the Plan Sponsor.




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         2.   Claims Payable by Insurance, Third Parties.

          No distributions under the Plan shall be made on account of a Claim that is payable pursuant to one of
the Debtors’ insurance policies, surety agreements, other non-Debtor payment agreements, or collateral held by a
third party, until the Holder of such Claim has exhausted all remedies with respect to such insurance policy, surety
agreement, other non-Debtor payment agreement, or collateral, as applicable. To the extent that one or more of
the Debtors’ insurers, sureties, or non-Debtor-payors pays or satisfies in full or in part a Claim (if and to the extent
finally adjudicated by a court of competent jurisdiction or otherwise settled), or such collateral or proceeds from such
collateral is used to satisfy such Claim, then immediately upon such payment, the applicable portion of such Claim
shall be expunged without a Claim objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Notwithstanding anything to the contrary in the Plan or Confirmation Order, Confirmation and
Consummation of the Plan shall not limit or affect the rights of any third-party beneficiary or other covered party of
any of the Debtor’s insurance policies with respect to such policies (including the D&O Policies), nor shall anything
contained herein (a) constitute or be deemed a waiver by such insurers of any rights or defenses, including coverage
defenses, held by such insurers under any insurance policy, applicable law, equity, or otherwise, or (b) establish,
determine, or otherwise imply any liability or obligation, including any coverage obligation, of any insurer.

G.       Indefeasible Distributions.

         Any and all distributions, other than in respect of General Unsecured Claims, made under the Plan shall be
indefeasible and not subject to clawback.

                                       ARTICLE VII.
                  THE PLAN ADMINISTRATOR AND DISSOLUTION OF THE DEBTORS

A.       The Plan Administrator.

         The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to administer and distribute the Wind-Down Amount, and conduct the Wind Down, including: (1) liquidating,
receiving, holding, and investing, supervising, and protecting the Excluded Assets; (2) taking all steps to execute all
instruments and documents necessary to effectuate the distributions to be made under the Plan from the Wind-Down
Amount; (3) making distributions from the Wind-Down Amount as contemplated under the Plan; (4) establishing and
maintaining bank accounts in the name of the Debtors; (5) subject to the terms set forth herein, employing, retaining,
terminating, or replacing professionals to represent it with respect to its responsibilities or otherwise effectuating
the Plan to the extent necessary; (6) paying reasonable fees, expenses, debts, charges, and liabilities of the Debtors on
and after the Effective Date; (7) administering and paying taxes of the Debtors on and after the Effective Date,
including filing tax returns; (8) representing the interests of the Debtors or the Estates before any taxing authority in
all matters, including any action, suit, proceeding or audit; and (9) exercising such other powers as may be vested in
it pursuant to order of the Bankruptcy Court or pursuant to the Plan, or as it reasonably deems to be necessary and
proper to carry out the provisions of the Plan.

         The Plan Administrator may resign at any time upon 30 days’ written notice delivered to the Debtors (other
than any Acquired Debtor) and the Plan Sponsor, and filed with the Bankruptcy Court; provided that such resignation
shall only become effective upon the appointment of a permanent or interim successor Plan Administrator. Upon its
appointment, the successor Plan Administrator, without any further act, shall become fully vested with all of the rights,
powers, duties, and obligations of its predecessor and all responsibilities of the predecessor Plan Administrator relating
to the Debtors shall be terminated.




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         1.   Plan Administrator’s Rights and Powers.

         The Plan Administrator shall retain and have all the rights, powers, and duties necessary to carry out its
responsibilities under the Plan, and as otherwise provided in the Confirmation Order. The Plan Administrator shall
be the exclusive trustee of the Excluded Assets for the purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3),
as well as the representative of the Estates appointed pursuant to Bankruptcy Code § 1123(b)(3)(B).

         Except as otherwise set forth herein, all distributions under the Plan shall be made on the Effective Date or
as soon as reasonably practicable thereafter by the Debtors or the Plan Administrator (or its designee(s)), the timing
of which shall be subject to the reasonable discretion of the Debtors or the Plan Administrator, as applicable.

         Except as otherwise provided herein, on and after the Effective Date, the Plan Administrator and its designees
or representatives shall have the right (with the consent of the Plan Sponsor, such consent not to be unreasonably
withheld) to object to, Allow, or otherwise resolve any General Unsecured Claim, Other Priority Claim, or Other
Secured Claim (in each case, other than any Claims assumed by the Plan Sponsor), subject to the terms hereof.

         The Debtors and the Plan Administrator, as applicable, shall not be required to give any bond or surety or
other security for the performance of their duties unless otherwise ordered by the Bankruptcy Court. However, in the
event that the Plan Administrator is so ordered after the Effective Date, all costs and expenses of procuring any such
bond or surety shall be paid for with Cash by the Debtors.

         2.   Retention of Professionals.

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, in the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of its duties. The reasonable fees and expenses of such professionals shall be paid by the Debtors upon
the monthly submission of statements to the Plan Administrator, but solely out of the Wind-Down Budget and
the Wind-Down Amount. The payment of the reasonable fees and expenses of the Plan Administrator’s retained
professionals shall be made in the ordinary course of business by the Debtors and shall not be subject to the approval
of the Bankruptcy Court but shall be subject to the Wind-Down Budget and the Wind-Down Amount.

         3.   Compensation of the Plan Administrator.

         The Plan Administrator’s post-Effective Date compensation will be set forth in the Plan Supplement and paid
out of the Wind-Down Budget and the Wind-Down Amount.

         4.   Plan Administrator Expenses.

         Except as otherwise ordered by the Bankruptcy Court, the fees and expenses incurred by the Plan
Administrator on or after the Effective Date (including taxes) and any reasonable compensation and expense
reimbursement Claims (including attorney fees and expenses) made by the Plan Administrator in connection with such
Plan Administrator’s duties shall be paid without any further notice to or action, order, or approval of the Bankruptcy
Court in Cash from the Wind-Down Amount solely in accordance with the Wind-Down Budget.

B.       Wind-Down.

         On and after the Effective Date, the Plan Administrator will be authorized to implement the Plan and any
applicable orders of the Bankruptcy Court, and the Plan Administrator shall have the power and authority to conduct
the Wind Down.

         As soon as practicable after the Effective Date, in connection with the Wind Down, the Plan Administrator
shall: (1) cause the Debtors to comply with, and abide by, the terms of the Plan Sponsor Agreement and any other
documents contemplated thereby; (2) take any actions necessary to wind down the Estates of the Debtors (other than
any Acquired Debtors); provided that such Debtors shall not be dissolved until the satisfaction of the conditions
precedent to such dissolution in Article VII.E; (3) take such other actions as the Plan Administrator may determine to


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be necessary or desirable to carry out the purposes of the Plan. From and after the Effective Date, except as set forth
herein, the Debtors (other than any Acquired Debtors) (x) for all purposes shall be deemed to have withdrawn their
business operations from any state in which such Debtors were previously conducting, or are registered or licensed to
conduct, their business operations, and shall not be required to file any document, pay any sum, or take any other
action in order to effectuate such withdrawal, (y) shall be deemed to have canceled pursuant to the Plan all Interests,
and (z) shall not be liable in any manner to any taxing authority for franchise, business, license, or similar taxes
accruing on or after the Effective Date.

        The filing of the final monthly operating report (for the month in which the Effective Date occurs) and all
subsequent quarterly operating reports shall be the responsibility of the Plan Administrator.

C.       Exculpation; Indemnification; Insurance; Liability Limitation.

         The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Debtors. The Plan Administrator may obtain, at the expense of the Debtors, but solely from
the Wind-Down Amount and pursuant to the Wind-Down Budget, commercially reasonable liability or other
appropriate insurance with respect to the indemnification obligations of the Debtors. The Plan Administrator may
rely upon written information previously generated by the Debtors and their advisors.

          For the avoidance of doubt, notwithstanding anything to the contrary contained herein, the Plan Administrator
in its capacity as such, shall have no liability whatsoever to any party for the liabilities and/or obligations, however
created, whether direct or indirect, in tort, contract, or otherwise, of the Debtors.

D.       Tax Returns.

          After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required federal,
state, and local tax returns for each of the Debtors, other than as may be required in connection with a Plan Sponsor
Equity Election, and, pursuant to section 505(b) of the Bankruptcy Code, may request an expedited determination of
any unpaid tax liability of such Debtor or its Estate for any tax incurred during the administration of such Debtor’s
Chapter 11 Case, as determined under applicable tax laws.

E.       Dissolution of the Debtors.

           Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of the completion of
all distributions, completion of all its duties under the Plan, and entry of a final decree closing the last of the Debtors’
Chapter 11 Cases, the Debtors (other than any Acquired Debtors) shall be deemed to be dissolved without any further
action by the Debtors, the Plan Administrator, or the Bankruptcy Court, including the filing of any documents with
the secretary of state for each state in which each of the Debtors is formed or any other jurisdiction. The Plan
Administrator, however, shall have authority to take all necessary actions to dissolve the Debtors (other than any
Acquired Debtors) in and withdraw such Debtors from applicable state(s), if applicable.

         For the avoidance of doubt, notwithstanding any dissolution of any Debtor on or after the Effective Date,
the Debtors shall be deemed to remain intact solely with respect to the preparation, filing, review, and resolution of
applications for Professional Fee Claims.

          To the extent the Debtors have any Cash or other property, assets or interests remaining after the Chapter 11
Cases have been closed and all payments have been made under the Plan (including all payments on account of
Allowed Claims and the Plan Administrator’s compensation and reimbursement), such Cash or other property, assets
or interests shall be immediately allocated and distributed to the Plan Sponsor.




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                                          ARTICLE VIII.
                              PROCEDURES FOR RESOLVING CONTINGENT,
                                UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the Unimpaired status of all Allowed
General Unsecured Claims under the Plan, except as required by the Plan, Holders of Claims need not File Proofs of
Claim, and the Plan Administrator or the Plan Sponsor and the Holders of Claims shall determine, adjudicate, and
resolve any disputes over the validity and amounts of such Claims in the ordinary course of business except that
(unless expressly waived pursuant to the Plan) the Allowed amount of such Claims shall be subject to the limitations
or maximum amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to
the extent applicable. All Proofs of Claim filed in these Chapter 11 Cases shall be considered objected to and Disputed
without further action by the Debtors. Upon the Effective Date, all Proofs of Claim filed against the Debtors,
regardless of the time of filing, and including Proofs of Claim filed after the Effective Date, shall be deemed withdrawn
and expunged, other than as provided below. Notwithstanding anything in the Plan to the contrary, disputes regarding
the amount of any Cure Costs Claims pursuant to section 365 of the Bankruptcy Code and Claims that the Debtors
seek to have determined by the Bankruptcy Court, shall in all cases be determined by the Bankruptcy Court.

         For the avoidance of doubt, there is no requirement to File a Proof of Claim or Proof of Interest (or move
the Bankruptcy Court for allowance) to be an Allowed Claim or Allowed Interest, as applicable, under the Plan.
Notwithstanding the foregoing, Entities must File Cure Costs Claim objections as set forth in Article V of the Plan to
the extent such Entity disputes the amount of the Cure Costs paid or proposed to be paid by the Debtors or the Plan
Sponsor to a counterparty. Except as otherwise provided herein, all Proofs of Claim filed after the Effective Date
shall be disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable
against the Plan Sponsor or the Debtors, without the need for any objection by the Plan Sponsor or the Debtors
or any further notice to or action, order, or approval of the Bankruptcy Court.

B.       Allowance of Claims.

          After the Effective Date and subject to the terms of the Plan, the Plan Sponsor shall have and retain any and
all rights and defenses the applicable Debtor had with respect to any Claim or Interest immediately prior to
the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the same extent
such Claims would be allowed under applicable non-bankruptcy law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Plan Sponsor shall have
the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, the Plan Administrator or the Plan Sponsor, as applicable, shall
have and retain any and all rights and defenses such Debtor had immediately prior to the Effective Date with respect
to any Disputed Claim or Interest.

         Notwithstanding the foregoing, the Debtors and the Plan Administrator or the Plan Sponsor, as applicable,
shall be entitled to dispute and/or otherwise object to any General Unsecured Claim in accordance with applicable
nonbankruptcy law. In any action to determine the existence, validity, or amount of any General Unsecured Claim,
any and all claims or defenses that could have been asserted by the applicable Debtor(s) or the Entity holding such
General Unsecured Claim shall be preserved and enforceable by the Plan Administrator or the Plan Sponsor, as
applicable.




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D.       Estimation of Claims.

          On and after the Effective Date, the Plan Administrator or the Plan Sponsor, as applicable, may (but is not
required to), at any time, request that the Bankruptcy Court estimate any Claim (other than any Professional Fee
Claim) pursuant to applicable law, including pursuant to section 502(c) of the Bankruptcy Code and/or Bankruptcy
Rule 3012, for any reason, regardless of whether any party previously has objected to such Claim or whether
the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to estimate
any such Claim, including during the litigation of any objection to any Claim or during the pendency of any appeal
relating to such objection. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from
the Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed
to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy
Court estimates any Claim, that estimated amount shall constitute a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions) and may be used as evidence in any supplemental
proceedings, and the Plan Administrator or the Plan Sponsor, as applicable, may elect to pursue any supplemental
proceedings to object to any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy
Code, in no event shall any Holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has Filed a motion
requesting the right to seek such reconsideration on or before seven (7) days after the date on which such Claim is
estimated. Each of the foregoing Claims and objection, estimation, and resolution procedures are cumulative and not
exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or resolved
by any mechanism approved by the Bankruptcy Court.

E.       Adjustment to Claims or Interests Without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Plan Administrator or the Plan Sponsor without the Plan
Administrator or the Plan Sponsor having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or approval
of the Bankruptcy Court.

F.       Disallowance of Claims or Interests.

         All Claims and Interests of any Entity from which property or an interest in property is sought by the Debtors
under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Plan Sponsor allege is a
transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the
Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors or the Plan Sponsor, as
applicable, on the other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or
transferee is liable to turn over any property or any interest in property or monies under any of the aforementioned
sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property or interest in
property, as applicable, by the date set forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim is a Disputed Claim, no payment
or distribution provided hereunder shall be made on account of such Claim unless and until such Disputed Claim
becomes an Allowed Claim.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be
made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon as practicable after
the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order,
the Plan Administrator shall provide to the Holder of such Claim the distribution (if any) to which such Holder is
entitled under the Plan as of the Effective Date, less any previous distribution (if any) that was made on account of
the undisputed portion of such Claim, without any interest, dividends, or accruals to be paid on account of such Claim.


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I.       No Interest.

          Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or after
the Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or
be paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is
made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

                                        ARTICLE IX.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Settlement, Compromise, and Release of Claims and Interests.

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good-faith
compromise and settlement of all Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest, or
any distribution to be made on account of such Allowed Claim or Interest. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests
of the Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. In accordance
with the provisions of the Plan, without any further notice to or action, order, or approval of the Bankruptcy Court,
after the Effective Date, the Plan Sponsor may compromise and settle Claims against the Debtors and their Estates
and Transferred Causes of Action against other Entities.

B.       Discharge of Claims and Termination of Interests.

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the Plan
or in a contract, instrument, or other agreement or document executed pursuant to the Plan, the distributions, rights,
and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective as of
the Effective Date, of Claims, Interests, and Causes of Action of any nature whatsoever, including any interest accrued
on Claims or Interests from and after the Petition Date, whether known or unknown, against, liabilities of, Liens on,
obligations of, rights against, and Interests in, the Debtors or any of their assets or properties, regardless of whether
any property or interest in property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any
contingent or non-contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501
of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section
502 of the Bankruptcy Code; or (3) the Holder of such a Claim or Interest has voted to accept the Plan. Any default
or “event of default” by the Debtors or their Affiliates with respect to any Claim or Interest that existed immediately
before or on account of the filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) as of
the Effective Date with respect to a Claim that is Unimpaired by the Plan. The Confirmation Order shall be a judicial
determination of the discharge of all Claims (other than Reinstated Claims) and Interests subject to the Effective Date
occurring.

C.       Release of Liens.

        Except as otherwise specifically provided in the Plan, the Plan Sponsor Agreement or in any contract,
instrument, release, or other agreement or document created pursuant to the Plan (including the terms of
the RBL Contingent Value Rights, the RBL Contingent Value Rights Memorandum, the Term Loan
Contingent Value Rights, the Term Loan Contingent Value Rights Agreement, and the Term Loan Contingent
Value Rights Memorandum), on the Effective Date and concurrently with the applicable distributions made
pursuant to the Plan and the Plan Sponsor Agreement, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property, assets, or interests of the Estates shall be fully released, settled,
compromised, and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds of

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trust, Liens, pledges, or other security interests shall revert to the Plan Sponsor (or the Acquired Debtor, as
applicable) without any further approval or order of the Bankruptcy Court and without any action or Filing
being required to be made by the Debtors. Any Holder of a Secured Claim (including any applicable agents
for such Holder) shall be authorized and directed to release any collateral or property of any Debtor (including
any cash collateral and possessory collateral) held by such Holder (and any applicable agents), and to take such
actions as may be reasonably requested by the Debtors or the Plan Sponsor to evidence the release of such Lien,
including the execution, delivery and filing or recordation of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial or local agency or department shall constitute
good and sufficient evidence of, but shall not be required to effect, the termination of such Liens. In addition,
the RBL Facility Agent and the Term Loan Agent shall execute and deliver all documents reasonably requested
by the Debtors, the Plan Administrator or the Plan Sponsor to evidence the release of such mortgages, deeds of
trust, Liens, pledges, and other security interests and shall authorize the Debtors to file UCC-3 termination
statements (to the extent applicable) with respect thereto.

D.       Releases by the Debtors.

          Notwithstanding anything contained in the Plan, the Confirmation Order, or the Plan Sponsor Agreement to
the contrary, pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy
of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is deemed to be, hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors and their
Estates, in each case on behalf of themselves and their respective successors, assigns and representatives, and any and
all other Entities who may purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for,
or because of the foregoing Entities, from any and all Claims and Causes of Action, including any derivative claims
asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen, matured or unmatured, existing
or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtors or their Estates would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim
against, or Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or Interest in, a Debtor or
other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (including the capital structure, management, ownership, or operation thereof), the RBL
Facility, the assertion or enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, intercompany transactions between or among a Debtor and another
Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction, the Restructuring Transaction, the formulation,
preparation, dissemination, negotiation, or filing of the RSA, the Disclosure Statement, the Plan, the Plan Supplement,
the Plan Sponsor Transaction, the Restructuring Transaction, or any other contract, instrument, release, or other
agreement or document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan
or the Confirmation Order in lieu of such legal opinion) related to any of the foregoing or created or entered into in
connection with the RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor Transaction, or
the Restructuring Transaction, or any other actions taken to effectuate the Plan, before or during the Chapter 11 Cases,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities or other property pursuant to the Plan
or any other related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date. Notwithstanding the inclusion of any Released Parties as a
potential party to any Transferred Causes of Action (including, for each, Avoidance Actions), such parties shall remain
Released Parties.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, any
Definitive Document or any other document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the Marriage Matter of
Todd and Jennifer Stone DC No. 18-02-01705.



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         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases herein, which includes by reference each of the related provisions and
definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that the releases
herein are: (1) essential to the Confirmation of the Plan; (2) in exchange for a substantial contribution and the
good and valuable consideration provided by the Released Parties that is important to the success of the Plan;
(3) a good faith settlement and compromise of the Claims released by the releases herein; (4) in the best interests
of the Debtors and all Holders of Claims and Interests; (5) fair, equitable and reasonable; (6) given and made
after reasonable investigation by the Debtors and after due notice and opportunity for hearing; and (7) a bar
to any of the Debtors asserting any Claim or Cause of Action released by the releases herein against any of the
Released Parties.

E.       Releases by Holders of Claims and Interests.

          Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or the Confirmation Order,
on and after the Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, each Debtor and Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally,
irrevocably and forever released and discharged by each Releasing Party from any and all Claims and Causes of
Action, whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort or otherwise, including any derivative claims asserted on behalf of the Debtors, that such
Entity would have been legally entitled to assert (whether individually or collectively), based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the capital structure, management, ownership, or
operations thereof), the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions, any intercompany
transactions between or among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or filing of the RSA, the Plan
Sponsor Agreement, the Restructuring Stipulation, the Disclosure Statement, the Plan, the Restructuring Transaction,
or any other contract, instrument, release, or other agreement or document (including any legal opinion requested by
any Entity regarding any transaction, contract, instrument, document or other agreement contemplated by the Plan or
the reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) relating to any
of the foregoing or created or entered into in connection with the RSA, the Plan Sponsor Transaction, the Restructuring
Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or any other actions taken to
effectuate the Plan, before or during the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the issuance
or distribution of securities or other property pursuant to the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Transaction, any
Definitive Document or any other document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the Marriage Matter of
Todd and Jennifer Stone DC No. 18-02-01705.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which includes by reference each of
the related provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that the releases herein are: (1) essential to the Confirmation of the Plan; (2) in exchange for a
substantial contribution and the good and valuable consideration provided by the Released Parties that is
important to the success of the Plan; (3) a good faith settlement and compromise of the Claims released by
the Releasing Parties; (4) in the best interests of the Debtors and all Holders of Claims and Interests; (5) fair,
equitable and reasonable; (6) given and made after due notice and opportunity for hearing; and (7) a bar to
any of the Releasing Parties asserting any Claim or Cause of Action released by the releases herein against any
of the Released Parties.



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F.      Exculpation.

          Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur any
liability for, and each Exculpated Party is hereby released and exculpated from any Claims or Cause of Action
for, any claim related to any act or omission in connection with, relating to, or arising out of, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the RSA and related prepetition
transactions (including the RBL Facility), the Disclosure Statement, the Plan, the Plan Supplement, the
Restructuring Stipulation, the Plan Sponsor Transaction and any actions taken to effectuate the Plan, or any
Restructuring Transaction, contract, instrument, release or other agreement or document (including any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Releasing Party on the Plan or the Confirmation Order in lieu
of such legal opinion) created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
law, in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of securities pursuant to the Plan, or the distribution of property, assets, and interest
under the Plan or any other related agreement, or upon any other related act or omission, transaction,
agreement, event or other occurrence taking place on or before the Effective Date, except for claims related to
any act or omission that is determined in a Final Order to have constituted actual fraud or gross negligence,
but in all respects the Exculpated Parties shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon
confirmation of the Plan shall be deemed to have, participated in good faith and in compliance with the
applicable laws with regard to the solicitation of votes and distribution of consideration pursuant to the Plan
and, therefore, are not, and on account of such distributions shall not be, liable at any time for the violation of
any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.

G.      Injunction.

         Except as otherwise expressly provided in the Plan or for distributions required to be paid or delivered
pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may hold Claims or
Interests that have been released pursuant to the Plan shall be discharged pursuant to the Plan, or are subject
to exculpation pursuant to the Plan, are permanently enjoined, from and after the Effective Date, from taking
any of the following actions against, as applicable, the Debtors, the Released Parties, or the Exculpated Parties
(to the extent of the exculpation provided pursuant to the Plan with respect to the Exculpated Parties):
(i) commencing or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims or Interests; (ii) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against such Entities on account of
or in connection with or with respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any
Lien or encumbrance of any kind against such Entities or the property or interest in property or the Estates of
such Entities on account of or in connection with or with respect to any such Claims or Interests; (iv) asserting
any right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities or
against the property or interest in property of such Entities on account of or in connection with or with respect
to any such Claims or Interests unless such Entity has timely asserted such setoff right in a document Filed
with the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication of a Claim or
Interest or otherwise that such Entity asserts, has, or intends to preserve any right of setoff pursuant to
applicable law or otherwise; and (v) commencing or continuing in any manner any action or other proceeding
of any kind on account of or in connection with or with respect to any such Claims or Interests released or
settled pursuant to the Plan.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, managers, principals, and direct and indirect Affiliates shall
be enjoined from taking any actions to interfere with the implementation or Consummation of the Plan. Except
as otherwise set forth in the Confirmation Order, each Holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim, as


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applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set forth in
this Article IX.G.

H.       Protection Against Discriminatory Treatment.

         In accordance with section 525 of the Bankruptcy Code, and consistent with paragraph 2 of Article VI of
the United States Constitution, no Governmental Unit shall discriminate against any Debtor, or any Entity with which
a Debtor has been or is associated, or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise,
or other similar grant to, condition such a grant to, discriminate with respect to such a grant against, the Debtors, or
another Entity with whom the Debtors have been associated, solely because such Debtor was a debtor under
chapter 11, may have been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before such Debtor was granted or denied a discharge), or has not paid a debt that is dischargeable in
the Chapter 11 Cases.

I.       Recoupment.

         In no event shall any Holder of Claims or Interests be entitled to recoup any Claim against any claim, right,
or Cause of Action of the Debtors, unless such Holder actually has performed such recoupment and provided notice
thereof in writing to the Debtors on or before the Confirmation Date, notwithstanding any indication in any Proof of
Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

J.       Subordination Rights.

         Any distributions under the Plan to Holders shall be received and retained free from any obligations to hold
or transfer the same to any other Holder and shall not be subject to levy, garnishment, attachment, or other legal
process by any Holder by reason of claimed contractual subordination rights. Any such subordination rights shall be
waived, and the Confirmation Order shall constitute an injunction enjoining any Entity from enforcing or attempting
to enforce any contractual, legal, or equitable subordination rights to property, assets, and interests distributed under
the Plan, in each case other than as provided in the Plan.

K.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless before the Confirmation Date: (1) such Claim has been adjudicated as non-contingent;
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered before the Confirmation Date determining such Claim as no longer contingent.

                                     ARTICLE X.
            CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATE

A.       Conditions Precedent to Confirmation.

         It shall be a condition to Confirmation of the Plan that the following conditions shall have been satisfied or
waived pursuant to the provisions of the Plan: (1) the Bankruptcy Court shall have entered the Confirmation Order;
and (2) the Plan Sponsor Agreement shall not have been terminated in accordance with its terms.

B.       Conditions Precedent to the Effective Date.

         It shall be a condition to Consummation that the following conditions shall have been satisfied or waived
pursuant to the provisions of the Plan:

         1.       the Bankruptcy Court shall have entered the Confirmation Order, and such Confirmation Order shall
not have been stayed or modified, or vacated on appeal;


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          2.      the RSA and the Restructuring Stipulation shall not have terminated and remain in full force and
effect;

         3.       the Definitive Documents contain terms and conditions consistent in all material respects with
the RSA and the Restructuring Stipulation, and will otherwise be reasonably acceptable to the Plan Sponsor and the
RBL Facility Agent as required by the RSA, and with respect to any terms and conditions in the Definitive Documents
that would be reasonably expected to materially adversely affect the Term Loan Settlement (as defined in the
Restructuring Stipulation) or the rights of holders of Term Loan Claims, such terms and conditions shall be acceptable
to the Required Consenting Term Loan Lenders (as defined in the Restructuring Stipulation);

         4.       each of the Definitive Documents, including all documents contained in the Plan Supplement and
any exhibits, schedules, amendments, or modifications thereto, shall have been executed in form and substance
reasonably acceptable to the Plan Sponsor and the RBL Facility Agent as required by the RSA, and with respect to
any terms and conditions in the Definitive Documents that would be reasonably expected to materially adversely affect
the Term Loan Settlement (as defined in the Restructuring Stipulation) or the rights of holders of Term Loan Claims,
such terms and conditions shall be acceptable to the Required Consenting Term Loan Lenders (as defined in
the Restructuring Stipulation);

         5.       the Term Loan Contingent Value Rights Agreement shall have been executed and shall be consistent
with the Restructuring Stipulation and the consent rights hereunder or under the RSA, as applicable;

         6.        the Plan Sponsor Cash Amount has been paid to the RBL Facility Agent in accordance with Article
III and Article VI of the Plan;

          7.      the Debtors and/or the Plan Sponsor have obtained all authorizations, consents and approvals
(including governmental, regulatory and third-party authorizations, consents and approvals), rulings and documents
that are necessary (as determined by the Plan Sponsor, in consultation with the Debtors) to implement and effectuate
the Plan and each of the other transactions contemplated by the Restructuring Transactions;

         8.       the final version of each of the Plan and the Definitive Documents, and any exhibits, schedules,
amendments, modifications or supplements thereto or other documents contained therein, shall have been executed or
Filed, as applicable, in form and substance consistent in all respects with the RSA, the Restructuring Stipulation,
the Plan and the Plan Sponsor Agreement, and comply with the applicable consent rights set forth in the RSA,
the Restructuring Stipulation, the Plan and/or the Plan Sponsor Agreement for such documents and shall not have
been modified in a manner inconsistent with the RSA, the Plan and the Plan Sponsor Agreement, and all conditions
precedent to the effectiveness of the Definitive Documents shall have been satisfied or waived in accordance with the
terms of such Definitive Documents;

          9.      the establishment and funding of the Professional Fee Escrow Account in accordance with Article
II of the Plan;

       10.      the Debtors shall have timely paid and reimbursed all of the RBL Facility Agent’s reasonable and
documented fees and expenses owing under the RBL Facility Credit Documents, limited to the reasonable and
documented fees and expenses of the RBL Facility Agent Advisors;

          11.     the Debtors shall have paid the Consenting Term Loan Lenders Reimbursement Amount;

         12.    the Restructuring Transactions, including the Plan Sponsor Transaction and all other transactions
contemplated under the Plan, the Plan Sponsor Agreement, or the Term Loan Contingent Value Rights Agreement
shall have been consummated in accordance with the terms and conditions of the Plan and the Plan Sponsor
Agreement.

         On the Effective Date, the Plan shall be deemed substantially consummated under sections 1101 and 1127(b)
of the Bankruptcy Code.



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C.       Waiver of Conditions.

         The conditions to Consummation of the Plan may be waived by the Debtors, the Plan Sponsor, and the RBL
Facility Agent, in accordance with the terms hereof and of the RSA and the Restructuring Stipulation.

D.       Substantial Consummation.

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on
the Effective Date.

E.       Effect of Non-Occurrence of Conditions to the Effective Date.

         If the Effective Date does not occur, the Plan (including any settlement or compromise embodied in the Plan,
any assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan, and any document or
agreement executed pursuant to the Plan (including the Plan Sponsor Agreement)) shall be null and void in all respects
(provided that the Debtors and the Plan Sponsor (or any designee of any Debtor or the Plan Sponsor, as applicable)
shall retain any rights under the RSA and the Plan Sponsor Agreement) and nothing contained in the Plan or
the Disclosure Statement shall: (1) constitute a waiver or release of any Claims by or Claims against or Interests in
the Debtors; (2) prejudice in any manner the rights of the Debtors, the Debtors’ Estates, any Holders, or any other
Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, the Debtors’ Estates,
any Holders, or any other Entity in any respect.

                                       ARTICLE XI.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

         Except as otherwise provided herein in the RSA, the Restructuring Stipulation, or the Plan Sponsor
Agreement, the Debtors reserve the right to modify the Plan as to material terms and seek Confirmation consistent
with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan. Subject to certain restrictions
and requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions
on modifications set forth in the Plan, the Debtors expressly reserve their rights to alter, amend, or modify materially
the Plan with respect to the Debtors, one or more times, after Confirmation, and, to the extent necessary, may initiate
proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or
reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters as may
be necessary to carry out the purposes and intent of the Plan. Any such modification or supplement shall be considered
a modification of the Plan and shall be made in accordance with this Article XI.

A.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan occurring after
the solicitation thereof and before the Confirmation Date are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

B.       Revocation or Withdrawal of the Plan.

         Subject to the terms of the RSA and the Plan Sponsor Agreement, the Debtors reserve the right to revoke or
withdraw the Plan, including the right to revoke or withdraw the Plan for any Debtor or all Debtors, prior to
the Confirmation Date. If the Debtors revoke or withdraw the Plan with respect to any Debtor, or if Confirmation or
Consummation does not occur with respect to any Debtor, then: (1) the Plan with respect to such Debtor shall be null
and void in all respects; (2) any settlement or compromise embodied in the Plan with respect to such Debtor (including
the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or
rejection of Executory Contracts or Unexpired Leases effected by the Plan with respect to such Debtor, and any
document or agreement executed pursuant to the Plan with respect to such Debtor, shall be deemed null and void,
provided the Debtors and the Plan Sponsor (or any designee of any Debtor or the Plan Sponsor, as applicable) shall
retain any rights under the RSA and the Plan Sponsor Agreement; and (3) nothing contained in the Plan with respect
to such Debtor shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in any manner the


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rights of the Debtors, the Debtors’ Estates, or any other Entity; or (c) constitute an admission, acknowledgement,
offer, or undertaking of any sort by the Debtors, the Debtors’ Estates, or any other Entity.

                                              ARTICLE XII.
                                        RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over the Chapter 11 Cases and all matters,
arising out of, or related to, the Chapter 11 Cases and the Plan, including jurisdiction to:

         1.       Allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the Secured or unsecured status, priority, amount,
or allowance of Claims or Interests;

         2.       Decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
the Bankruptcy Code or the Plan;

          3.       Resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable in
any manner and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Claims related
to the rejection of an Executory Contract or Unexpired Lease, Cure Costs pursuant to section 365 of the Bankruptcy
Code, or any other matter related to such Executory Contract or Unexpired Lease; (b) any potential contractual
obligation under any Assumed Contract or Lease; (c) the Debtors amending, modifying, or supplementing, after the
Effective Date, pursuant to Article V of the Plan, any Executory Contracts or Unexpired Leases to the schedule of
Assumed Contracts and Leases or the schedule of Rejected Contracts and Leases otherwise; and (d) any dispute
regarding whether a contract or lease is or was executory or expired;

         4.       Ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of the Plan;

        5.      Adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

         6.       Adjudicate, decide, or resolve any and all matters related to Causes of Action;

         7.       Adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

       8.       Enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement;

        9.      Enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
the Bankruptcy Code;

         10.   Resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection
with the Plan;

        11.        Issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;




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         12.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the settlements,
compromises, releases, injunctions, exculpations, and other provisions contained in Article IX of the Plan and enter
such orders as may be necessary or appropriate to implement or enforce such releases, injunctions, and other
provisions;

          13.       Resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment
or return of distributions and the recovery of additional amounts owed by the Holder of a Claim for amounts not timely
repaid pursuant to Article VI.F of the Plan;

         14.     Enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

       15.       Determine any other matters that may arise in connection with or relate to the Plan, the Plan Sponsor
Agreement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with the Plan or the Disclosure Statement;

         16.      Adjudicate any and all disputes arising from or relating to distributions under the Plan or any
transactions contemplated therein;

         17.      Consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         18.      Determine requests for the payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

         19.      Hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        20.      Hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

         21.      Hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         22.      Hear and determine all disputes involving the existence, nature, or scope of the Debtors’ release,
including any dispute relating to any liability arising out of the termination of employment or the termination of any
employee or retiree benefit program, regardless of whether such termination occurred before or after the Effective
Date;

         23.      Enforce all orders previously entered by the Bankruptcy Court;

         24.      To resolve any disputes arising under the Plan Sponsor Agreement or other documents related to
the Restructuring Transactions;

         25.      Hear any other matter not inconsistent with the Bankruptcy Code; and

         26.      Enter an order concluding or closing the Chapter 11 Cases.




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                                               ARTICLE XIII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

          Subject to Article VIII of the Plan and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the Plan, the Plan Sponsor Agreement, and the Plan Supplement
shall be immediately effective and enforceable and deemed binding upon the Debtors, any and all Holders of Claims
or Interests (irrespective of whether the Holders of such Claims or Interests accepted or rejected the Plan), all Entities
that are parties to or are subject to the settlements, compromises, discharges, releases, and injunction described in
the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts
and Unexpired Leases with the Debtors. All Claims and debts shall be as fixed, adjusted, or compromised, as
applicable, pursuant to the Plan regardless of whether any Holder of a Claim or debt has voted on the Plan.

B.       Additional Documents.

          On or before the Effective Date, the Debtors, subject to the consent provisions herein and the RSA, may File
with the Bankruptcy Court such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan. The Debtors, all Holders of Claims receiving distributions
pursuant to the Plan, and all other parties in interest shall, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions and
intent of the Plan.

          Notwithstanding anything to the contrary in the Plan, any modification, waiver, or other action pursuant to
the Plan, and the form and substance of the Plan Supplement and any other document, agreement, or instrument entered
into by the Debtors, the Plan Sponsor, any Consenting RBL Facility Party, or any Consenting Term Loan Lender in
connection with the Plan and the Restructuring Transactions contemplated by the Plan, shall be subject in all respects
to the consent provisions herein, the RSA and the Restructuring Stipulation, as applicable.

C.       Payment of Statutory Fees.

          All fees payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors for each quarter (including any
fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Dissolution of Statutory Committees.

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and members
thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases on
the Effective Date.

E.       Reservation of Rights.

         The Plan shall have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order.
Neither the Plan, any statement or provision contained in the Plan, nor any action taken or not taken by the Plan
Sponsor or any Debtor with respect to the Plan, the Disclosure Statement, the Confirmation Order, or the Plan
Supplement shall be or shall be deemed to be an admission or waiver of any rights of the Plan Sponsor or any Debtor
with respect to the Holders of Claims or Interests prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan or the Confirmation Order
shall be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or assign, Affiliate,
officer, director, manager, trustee, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.




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G.      Service of Documents.

          Any pleading, notice, or other document required by the Plan to be served on or delivered to the Debtors
shall be served on:

        1.    the Debtors:

                  Arena Energy, LP
                  2103 Research Forest Drive, Suite 400
                  The Woodlands, Texas 77380
                  Attention: Ed Menger, Interim General Counsel
                  Email address: EMenger@arenaenergy.com

                  with copies to:

                  Kirkland & Ellis LLP
                  609 Main Street
                  Houston, Texas 77002
                  Attention: Brian Schartz, P.C
                  Email address: brian.schartz@kirkland.com

                  and

                  Kirkland & Ellis LLP
                  300 North LaSalle Street
                  Chicago, Illinois 60654
                  Attention: Gregory F. Pesce
                  Email Address: gregory.pesce@kirkland.com

        2.    The Plan Sponsor

                  San Juan Offshore, LLC
                  Attention: Michael J. Minarovic, Chief Executive Officer
                  E-mail: mike@sanjuanoffshore.com

                  with copies to:

                  Davis Polk & Wardwell LLP
                  450 Lexington Avenue
                  New York, New York 10017
                  Attention: Brian Resnick and Stephanie Massman
                  E-mail address: brian.resnick@davispolk.com, stephanie.massman@davispolk.com

        and

        3.    The RBL Facility Agent or the Consenting RBL Facility Lenders:

                  Haynes and Boone, LLP
                  2323 Victory Avenue
                  Suite 700
                  Dallas, Texas 75219
                  Attention: J. Frasher Murphy, Eli Columbus
                  E-mail address: frasher.murphy@haynesboone.com, eli.columbus@haynesboone.com

                  and


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                  Haynes and Boone, LLP
                  1221 McKinney Street
                  Suite 4000
                  Houston, Texas 77010
                  Attention: Austin Elam, Ellen Conley
                  E-mail address: austin.elam@haynesboone.com, ellen.conley@haynesboone.com

         4.   The Consenting Term Loan Lenders:

                  Milbank LLP
                  55 Hudson Yards
                  New York, New York 10001
                  Attention: Evan Fleck, Parker Milender
                  E-mail address: efleck@milbank.com, pmilender@milbank.com

          After the Effective Date, the Debtors shall have authority to send a notice to Entities that continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive documents pursuant
to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to the Plan Sponsor and those Entities who have Filed such renewed
requests.

H.       Enforcement of Confirmation Order.

         On and after the Effective Date, the Debtors, the Plan Administrator, and the Plan Sponsor, as applicable,
shall be entitled to enforce the terms of the Confirmation Order and the Plan (which shall include, for the avoidance
of doubt, the Plan Supplement and the Plan Sponsor Agreement).

I.       Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in
the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court,
and extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or
the Confirmation Order (including the injunction set forth in Article IX.G) shall remain in full force and effect in
accordance with their terms.

J.       Entire Agreement.

        Except as otherwise indicated, the Plan, the Confirmation Order, the Plan Sponsor Agreement, and the Plan
Supplement supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated into the Plan.

K.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at http://www.kccllc.net/Arena or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy.

L.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall not alter or interpret such term or provision to make it valid or


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enforceable, provided that at the request of the Debtors, which request shall be subject to the RSA, and the consent
provisions herein, the Bankruptcy Court shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or provision
held to be invalid, void or unenforceable, and such terms or provision shall then be applicable as altered or interpreted.
The Confirmation Order shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant
to its terms; (2) integral to the Plan and may not be deleted or modified without the consent of the Debtors in
accordance with the RSA, and the consent provisions herein; and (3) nonseverable and mutually dependent.

M.       Votes Solicited in Good Faith.

           Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and the Plan Sponsor and each of their respective Affiliates, agents, representatives, members, principals,
equity holders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good
faith and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and
sold under the Plan and any previous plan, and, therefore, neither any of such parties or individuals will have any
liability for the violation of any applicable law, rule, or regulation governing the solicitation of votes on the Plan or
the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous plan.

N.       Waiver.

         Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
Secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity,
if such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
before the Confirmation Date.




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Respectfully submitted,

Dated: August 20, 2020                 ARENA ENERGY, LP
                                       on behalf of itself and all other Debtors

                                       /s/ Anthony R. Horton
                                       Name: Anthony R. Horton
                                       Title: Authorized Representative
                                       Company: Arena Energy, LP


                                       /s/ Dean Swick
                                       Name: Dean Swick
                                       Title: Authorized Representative
                                       Company: Arena Energy, LP
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                  ASSET PURCHASE AGREEMENT

                       dated as of August 19, 2020

                              by and among

                         ARENA ENERGY, LP,

                    ARENA EXPLORATION, LLC,

                       VALIANT ENERGY LLC,

                  SAGAMORE HILL HOLDINGS, LP,

                          collectively, as Seller,

                    SAN JUAN OFFSHORE, LLC,

                                as Buyer,

                                   and

                 solely for the purposes set forth herein,

                     WELLS FARGO BANK, N.A.
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EXHIBITS:

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                              ASSET PURCHASE AGREEMENT

                THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of August 19,
2020 (the “Execution Date”), but effective for all purposes as of the Effective Time, is by and
among Arena Energy, LP, a Delaware limited partnership (“Arena”), Arena Exploration, LLC, a
Delaware limited liability company (“AEX”), Valiant Energy LLC, a Delaware limited liability
company (“Valiant”), and Sagamore Hill Holdings, LP, a Delaware limited partnership
(“Sagamore Hill” and, together with Arena, AEX and Valiant, each a “Seller Party”, and
collectively, “Seller”), San Juan Offshore, LLC, a Delaware limited liability company (“Buyer”),
and, solely for purposes of Sections 3.1(x), 13.3, 13.4, 13.5, 13.6, 13.9, 13.10, 13.11, 13.12, 13.14
and Exhibit F, Wells Fargo Bank, N.A., a national banking association, as the initial representative
for the RBL Facility Lenders pursuant to Exhibit F (the “RBL Facility Agent”). Capitalized terms
used but not otherwise defined herein have the meanings set forth in Article 1. Seller and Buyer
are sometimes referred to collectively herein as the “Parties” and individually as a “Party”.

                                           RECITALS

               WHEREAS, Seller is the owner of record of certain interests in oil and gas leases,
oil and gas wells, and other properties located in the Gulf of Mexico;

             WHEREAS, concurrently with the execution of this Agreement, the Debtors, the
Buyer and the Required Supporting Parties (defined below) shall enter into the Restructuring
Support Agreement (defined below), pursuant to which the Debtors will, among other things,
commence a voluntary case under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”);

               WHEREAS, Seller desires to sell to Buyer all of the Assets, and Buyer desires to
purchase from Seller all of the Assets and assume all of the Assumed Liabilities, upon the terms
and conditions hereinafter set forth;

             WHEREAS, the Parties intend to effectuate the transactions contemplated by this
Agreement through a chapter 11 plan and pursuant to section 1123 of the Bankruptcy Code; and

              WHEREAS, Seller’s ability to consummate the transactions set forth in this
Agreement is subject to, among other things, the entry of the Sale Order by the Bankruptcy Court;

             NOW, THEREFORE, in consideration of the mutual promises contained herein and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties agree as follows:

                                          ARTICLE 1
                                         DEFINITIONS

              1.1     Definitions. For purposes of this Agreement, the following terms have the
meanings specified or referenced below.

               “AAA” means the American Arbitration Association.



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               “AAA Rules” means the Commercial Arbitration Rules of the AAA.

               “Action” means any action, suit, claim, right, cause of action, litigation, proceeding
or arbitration, or any inquiry, proceeding or investigation, by or before any Governmental
Authority.

               “AEX” has the meaning set forth in the introductory paragraph.

                “Affiliate” means, with respect to any Person, any other Person that directly or
indirectly (through one or more intermediaries) Controls, is Controlled by, or is under common
Control with, such specified Person; provided, however, that for purposes of this Agreement, (a)
none of (i) Arena Offshore, LP, (ii) Arena Offshore Operating, LLC, (iii) White Fleet Holdings,
LLC and its Subsidiaries, and (iv) Rosefield Pipeline Company, LLC and its Subsidiaries, shall be
considered or deemed to be an “Affiliate” of any Seller, except for purposes of Section 5.9, or of
Buyer, (b) none of Lime Rock Management LP or any of its Affiliates (other than Buyer and its
Subsidiaries) shall be considered or deemed to be an “Affiliate” of Buyer, except for purposes of
Section 13.13 and (c) no member of the Buyer Group shall be considered or deemed to be an
“Affiliate” of any member of the Seller Group.

               “Agreement” has the meaning set forth in the introductory paragraph.

               “Allocated Value” means the portion of the Purchase Price allocated to an Asset,
as described on Schedule 3.3.

               “Arbitrator” has the meaning set forth in Section 11.5

               “Arena” has the meaning set forth in the introductory paragraph.

                “Asset Taxes” means all ad valorem, property, excise, severance, production or
similar Taxes based upon operation or ownership of the Assets or the production of Hydrocarbons
or the receipt of proceeds therefrom (but excluding, for the avoidance of doubt, income, franchise
and similar Taxes and Transfer Taxes).

               “Assets” has the meaning set forth in Section 2.1(b).

               “Assigned Actions” has the meaning set forth in Section 2.1(b)(xiv).

               “Assigned Contracts” has the meaning set forth in Section 2.1(b)(iv).

               “Assigned Leases and Interests” has the meaning set forth in Section 2.1(b)(i).

                “Assignment of OIL Interests” means the Assignment of OIL Interests from Seller
to Buyer, pertaining to the Assets described in Section 2.1(b)(xv)(A), substantially in the form
attached to this Agreement as Exhibit E.

              “Assignments” means, collectively, (i) the Assignment, Bill of Sale and
Conveyance (County/Parish) from Seller to Buyer, pertaining to the Assets, substantially in the
form attached to this Agreement as Exhibit D, and (ii) Assignments of Record Title Interest or


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Operating Rights Interest in Federal OCS Oil and Gas Lease (DOI) from Seller to Buyer, pertaining
to the Assets.

               “Assumed Liabilities” has the meaning set forth in Section 2.3.

               “Avoidance Actions” means any and all claim, right or cause of action of any Seller
Party arising under chapter 5 of the Bankruptcy Code and any analogous state or federal statutes
and common law.

             “Bankruptcy Case” means the case commenced by Seller under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court, styled Arena Energy LP, et al., and pending before the
Bankruptcy Court.

               “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et seq.

               “Bankruptcy Court” has the meaning set forth in the recitals.

                 “Benefit Plan” means each pension, benefit, retirement, compensation,
employment, consulting, profit-sharing, deferred compensation, incentive, bonus, performance
award, phantom equity, stock or stock-based, change in control, retention, severance, vacation,
paid time off, welfare, fringe-benefit and other similar agreement, plan, policy, program or
arrangement (and any amendments thereto), in each case whether or not reduced to writing and
whether funded or unfunded, including each “employee benefit plan” within the meaning of
Section 3(3) of ERISA, whether or not tax-qualified and whether or not subject to ERISA, which
is or has been maintained, sponsored, contributed to, or required to be contributed to by Seller or
its Affiliates, or under which Seller or any its Affiliates has or may have any Liability.

               “BOEM” means the Bureau of Ocean Energy Management.

               “Break-Up Fee” has the meaning set forth in Section 11.4(a).

               “BSEE” means the Bureau of Safety and Environmental Enforcement.

             “Business Day” means any day, other than Saturday or Sunday, on which
commercial banks are open for commercial business with the public in Houston, Texas.

               “Buyer” has the meaning set forth in the introductory paragraph.

              “Buyer Group” means Buyer, its Affiliates and the former, current and future
partners, co-owners, direct and indirect equity holders and Representatives of each of the
foregoing.

               “Buyer Termination Notice” has the meaning set forth in Section 11.1(b)(i).

               “Cash Collateral Order” means the order or orders of the Bankruptcy Court (a)
authorizing Seller to use the cash collateral of the prepetition lenders and (b) providing the
prepetition lenders with adequate protection.




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                “Casualty Loss” means any loss, damage or destruction of (a) the Assets or (b) any
assets owned, Controlled, maintained or otherwise operated by third parties which are covered by
Seller’s or its Affiliates’ insurance policies, that occurs during the period between the Execution
Date and the Closing for any reason, including any act of God, fire, explosion, collision,
earthquake, hurricane, storm, tropical depression, windstorm, flood, or other casualty or
condemnation taking under the right of eminent domain, but excluding any loss, damage, or
destruction as a result of depreciation, ordinary wear and tear, and any change in condition of the
Assets for production of Hydrocarbons through normal depletion (which exclusion shall include
the watering-out of any Well, collapsed casing, sand infiltration of any Well, or other reservoir
changes relating to production issues).

               “Closing” has the meaning set forth in Section 4.1.

               “Closing Date” has the meaning set forth in Section 4.1.

               “Code” means the Internal Revenue Code of 1986, as amended.

               “Commitment Letters” has the meaning set forth in Section 7.5.

               “Consent Deadline” has the meaning set forth in Section 2.6(b).

               “Contingent Consideration” has the meaning set forth in Exhibit F.

              “Contract” means any agreement, contract, obligation, promise or undertaking (in
each case, whether written or oral), other than a Lease, that is legally binding.

               “Contract Notice” has the meaning set forth in Section 2.5(b).

               “Control” means the ability (directly or indirectly through one or more
intermediaries) to direct or cause the direction of the management or affairs of a Person, whether
through the ownership of voting interests, by contract or otherwise.

              “Copyrights” means all United States and foreign copyright rights in any original
works of authorship, whether registered or unregistered, including all copyright registrations and
applications.

               “Credit Support” has the meaning set forth in Section 5.15.

               “Cure Costs” has the meaning set forth in Section 2.5.

               “Customary Post-Closing Consent” has the meaning set forth in Section 2.6(a).

                “Debt Contract” means any Assigned Contract that is an indenture, mortgage, loan,
credit or sale-leaseback guarantee of any obligation, bonds, letters of credit or similar financial
contract that will remain in effect following the Closing.

               “Debtors” means Arena, AEX, Valiant and Sagamore Hill.




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              “Decommissioning” means and includes all of the following as may be required
under the Assigned Leases and Interests, Assigned Contracts, applicable Legal Requirements and
Environmental Laws:

                (a)     The plugging, replugging and abandonment of the Wells.

                (b)     The removal, abandonment and disposal of the Equipment and Facilities.

                (c)    The clearance, reclamation, restoration and Remediation of the lands,
groundwater and water bottoms covered by or subject to the Assigned Leases and Interests or the
Facilities or otherwise affected by the Assets and the Remediation, restoration and reclamation of
the sea floor portion of the Assigned Leases and Interests or the Facilities associated with the
Assets.

               (d)     Any other activity associated with those enumerated in clauses (a) through
(c), above, required to comply with any applicable Legal Requirements or the Assigned Leases
and Interests.

                “Decommissioning Obligations” has the meaning set forth in Section 2.3(a).

                “Deposit” has the meaning set forth in Section 3.2.

              “Designation Deadline” means 5:00 p.m. (Central Time) on the date that is three
(3) Business Days prior to the scheduled Closing Date or such later date as Buyer and Seller shall
mutually agree and as the Bankruptcy Court may authorize.

                “Disputed Matters” has the meaning set forth in Section 11.5

               “DOI” means the United States Department of the Interior and its various U.S.
government agencies responsible for management of energy resources on the Outer Continental
Shelf, including the Bureau of Ocean Energy Management; Bureau of Safety and Environmental
Enforcement and Office of Natural Resources Revenue, as applicable, and any of their predecessor
agencies, the Bureau of Ocean Energy Management, Regulation and Enforcement and the
Minerals Management Service, and any successors agencies.

                “Effective Time” means 12:00 a.m. Central Time on the Closing Date.

                  “Encumbrance” means any charge, lien, claim, mortgage, lease, sublease,
hypothecation, deed of trust, pledge, security interest, option, right of use or possession, right of
first offer or first refusal (or similar right), right of setoff, easement, servitude, restrictive covenant,
encroachment, encumbrance, third party interest or other restriction or limitation of any kind.

                “Environmental Condition” means (a) a condition, whenever existing or occurring,
with respect to the air, soil, subsurface, surface waters, ground waters and/or sediments that causes
an Asset (or Seller with respect to an Asset) not to be in compliance with any Environmental Law
or (b) the existence with respect to an Asset of any environmental pollution, contamination,
degradation, damage or injury.



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                 “Environmental Laws” means any and all Legal Requirements pertaining to (a) use,
storage, emission, discharge, clean-up, Release, or threatened Release, manufacture, processing,
distribution, treatment, storage, disposal, transportation or handling of Hazardous Materials, or (b)
protection of the environment, wildlife or natural resources applicable to the Assets and in effect
on or prior to the Effective Time in or for the jurisdiction in which the Assets are located, including
the Clean Air Act (Air Pollution Control Act), the Clean Water Act (CWA), the Federal Water
Pollution Act, the Rivers and Harbors Act, the Safe Drinking Water Act, the National
Environmental Policy Act of 1969 (NEPA), the Endangered Species Act (ESA), the Fish and
Wildlife Conservation Act of 1980, the Fish and Wildlife Coordination Act (FWCA), the Oil
Pollution Act, the Comprehensive Environmental Response, Compensation and Liability Act
(CERCLA), the Superfund Amendments and Reauthorization Act of 1986 (SARA), the Resources
Conservation and Recovery Act (RCRA), the Toxic Substance Control Act, the Emergency
Planning and Community Right-To-Know Act (EPCRA), the Hazardous Materials Transportation
Act, the Hazardous and Solid Waste Amendments of 1984 (HSWA).

                “Environmental Obligations” means and includes all of the following, regardless
of the sole, joint or concurrent negligence, breach of contract, breach of warranty, strict liability,
regulatory liability, statutory liability, or other fault or responsibility of any Person:

               (a)     Liabilities relating to any Environmental Condition;

               (b)     Liabilities relating to Remediation;

                (c)     Liabilities resulting from injury or death to natural Persons caused by the
exposure or alleged exposure to Hazardous Materials (including expenses associated with claims
investigation, testing and assessment); and

             (d)    Liabilities relating to the presence, release, emission or discharge of
Hazardous Materials, pollution, contaminant or other regulated substances in or into the
environment.

               “Equipment” has the meaning set forth in Section 2.1(b)(vi).

              “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended, and the rules and regulations promulgated thereunder.

              “Escrow Account” means the account maintained by the Escrow Agent in
connection with the Escrow Agreement.

               “Escrow Agent” has the meaning set forth in Section 3.2.

               “Escrow Agreement” has the meaning set forth in Section 3.2.

               “Excluded Assets” has the meaning set forth in Section 2.2.

               “Excluded Contracts” means all Contracts of Seller other than the Assigned
Contracts, including, for purposes of clarity (subject to Section 2.5), among others, those Contracts
described on Schedule 2.2(g).


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               “Excluded Liabilities” has the meaning set forth in Section 2.4.

                “Excluded Records” means (a) the general corporate files and records of Seller,
insofar as they relate to Seller’s business generally and are not required for the future ownership
or operation of the Assets, (b) all legal files and records (other than title opinions), (c) Seller’s
federal or state income, franchise or margin tax files and records, (d) employee files, (e) reserve
evaluation information or economic projections, (f) records relating to the sale of the Assets,
including competing bids, (g) proprietary data, information and data under contractual restrictions
on assignment or disclosure, (h) privileged information and (i) any other files or records to the
extent relating to any Excluded Assets.

               “Execution Date” has the meaning set forth in the introductory paragraph.

               “Expense Reimbursement” has the meaning set forth in Section 11.4(a).

               “Expiration Date” has the meaning set forth in Section 12.2.

               “Facilities” has the meaning set forth in Section 2.1(b)(vi).

                 “Final Order” means an Order issued by the applicable Governmental Authority as
to which: (a) no request for stay of the Order is pending, no such stay is in effect, and, if any
deadline for filing any such request is designated by statute or regulation, it is passed, including
any extensions thereof; (b) no petition for rehearing or reconsideration of the Order, or protest of
any kind, is pending before the Governmental Authority and the time for filing any such petition
or protest is passed; (c) the Governmental Authority does not have the Order under reconsideration
or review on its own motion and the time for such reconsideration or review has passed; and (d)
the Order is not then under judicial review, there is no notice of appeal or other application for
judicial review pending, and the deadline for filing such notice of appeal or other application for
judicial review has passed, including any extensions thereof.

               “Financing” has the meaning set forth in Section 7.5.

               “Governmental Authority” means any court or tribunal (including an arbitrator or
arbitral panel) in any jurisdiction (domestic or foreign) or any federal, tribal, state, county,
municipal or other governmental or quasi-governmental body, agency, authority, department,
board, commission, bureau, official or other authority or instrumentality.

               “Governmental Authorization” means any approval, consent, license, permit,
waiver or other authorization issued, granted or otherwise made available by or under the authority
of any Governmental Authority.

               “Hard Consent” has the meaning set forth in Section 2.6(a).

                “Hazardous Material” means any chemical substance, product, waste or other
material which is, or becomes identified, listed, published, regulated, or defined as, or which shows
the characteristics of, a hazardous substance, hazardous waste, hazardous material, toxic substance
or other similar regulatory term, including oil, oil waste, by-products and components, NORM,
Hydrocarbons, and Hydrocarbons waste, produced water, by-products and components,


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polychlorinated biphenyls, and asbestos, or which is otherwise regulated or restricted under any
Environmental Law or by any Governmental Authority.

              “Hydrocarbons” means oil, gas, minerals, and other gaseous and liquid
hydrocarbons, or any combination of the foregoing, produced from and attributable to the
Properties.

                “Imbalances” means over-production or under-production or over-deliveries or
under-deliveries with respect to Hydrocarbons produced from or allocated to the Properties,
regardless of whether such over-production or under-production or over-deliveries or under-
deliveries arise at the wellhead, pipeline (taking into account any line fill), gathering system,
transportation system, processing plant, or other location, including any imbalances under gas
balancing or similar agreements, imbalances under production handling agreements, imbalances
under processing agreements, imbalances under the Assigned Leases and Interests, imbalances
under gathering or transportation agreements, and imbalances under operating agreements.

               “Indemnification Claim” has the meaning set forth in Section 12.4(a).

                “Intellectual Property” means all intellectual property, including all Copyrights,
Patents and Trademarks, owned, used or licensed by Seller and used or held for use exclusively in
the ownership and operation of the Assets, but specifically excluding, for the avoidance of doubt,
all seismic, geological, geochemical or geophysical data licensed by Seller and any of Seller’s
interpretations of such data.

              “Knowledge” means, with respect to any matter in question, (a) in the case of Seller,
the actual knowledge (without any duty of inquiry) of any of the individuals listed on
Schedule 1.1(a) with respect to such matter, and (b) in the case of Buyer, the actual knowledge
(without any duty of inquiry) of any of the individuals listed on Schedule 1.1(b) with respect to
such matter.

               “Lease” means any oil and gas lease, oil, gas and mineral lease or sublease, and
other leasehold interest, and the leasehold estates created thereby, including carried interests, rights
of recoupment, options, reversionary interests, convertible interests and rights to reassignment.

               “Legal Requirement” means any federal, state, provincial, local, municipal,
foreign, international, multinational, or other administrative Order, constitution, law, ordinance,
principle of common law, regulation, statute or treaty.

                 “Liability” means any and all claims, rights, demands, causes of action, liabilities
(including civil fines), obligations, damages, losses, fines, penalties, sanctions of every kind and
character (including reasonable fees and expenses of attorneys, technical experts and expert
witnesses), judgments or proceedings of any kind or character whatsoever, whether known or
unknown, asserted or unasserted, absolute or contingent, accrued or unaccrued, liquidated or
unliquidated, or due or to become due, and whether arising or founded in law, equity, statute,
contract, tort, strict liability or voluntary settlement, and all reasonable expenses, costs and fees
(including reasonable attorneys’ fees) in connection therewith.

               “Lime Rock” means Lime Rock Partners VIII, L.P.


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                 “Material Adverse Effect” means any change, event or occurrence that individually
or in the aggregate (taking into account all other such changes, events or occurrences) has had, or
would reasonably be expected to have, (1) a material adverse change in or material adverse effect
on the Assets taken as a whole or (2) a material adverse effect on Seller’s ability to consummate
the transactions contemplated by this Agreement or to perform its obligations hereunder, but
excluding (a) any change or effect to the extent that it results from or arises out of (i) the pendency
of the Bankruptcy Case; (ii) the execution and delivery of this Agreement or the announcement
thereof or consummation of the transactions contemplated hereby (it being understood and agreed
that this clause (a)(ii) shall not apply to the term “Material Adverse Effect” as used in this
Agreement to the extent related to any representation or warranty or any related condition
contained in this Agreement that is intended to address the consequences of the negotiation,
execution, announcement, performance or pendency of this Agreement or the consummation of
the transactions contemplated hereby); (iii) changes in (or proposals to change) Legal
Requirements, generally accepted accounting principles or other accounting regulations or
principles; (iv) acts of God, including hurricanes, storms and other natural disasters; (v) any action
required by this Agreement (other than Section 7.1) or taken at the written request of Buyer; (vi)
actions of Governmental Authorities; or (vii) the terms and provisions of the Assigned Leases and
Interests or Assigned Contracts; (b) any change or effect generally applicable to (i) the industries
and markets in which Seller operates or (ii) economic or political conditions or interest rates,
exchange rates, commodity prices or the securities or financial markets in any country or region;
(c) any outbreak or escalation of hostilities or war or any act of terrorism; (d) the departure of
officers or directors of Seller after the Execution Date; (e) any objections in the Bankruptcy Court
to (i) this Agreement and the other Transaction Documents and the transactions contemplated
hereby and thereby; (ii) the reorganization of Seller and any related plan of reorganization or
disclosure statement; or (iii) the assumption or rejection of any Material Assigned Contract with
Buyer’s prior written consent; (f) any Order of the Bankruptcy Court (other than any Order that
would preclude or prohibit the consummation of the transactions contemplated under this
Agreement) or any actions or omissions of Seller in compliance therewith; and (g) any action taken
by Seller at the written request of, or with the express written consent of, Buyer; provided, however
that, in the cases of clauses (a)(iii), (a)(iv), (a)(vi), (b), and (c), if such change, inaccuracy, effect,
event, result, occurrence, condition or fact has a disproportionate impact on Seller when compared
to similarly situated owners or operators of oil and gas assets in the area in which the Assets are
located, then such change, inaccuracy, effect, event, result, occurrence, condition or fact shall be
deemed to create, cause or otherwise constitute a Material Adverse Effect for purposes hereof.

                “Material Assigned Contract” has the meaning set forth in Section 5.9(b).

              “Memorandum” means the Memorandum between Buyer and the RBL Facility
Agent, substantially in the form attached to this Agreement as Exhibit H.

                “Non-Disclosure Agreement” has the meaning set forth in Section 13.1.

                “NORM” means naturally occurring radioactive materials.

                “Oil Insurance Limited” has the meaning set forth in Section 2.1(b)(xv).




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               “Order” means any award, writ, injunction, judgment, order or decree entered,
issued, made, or rendered by any Governmental Authority.

               “Outside Date” has the meaning set forth in Section 11.1(a)(iii).

               “Party” or “Parties” means, individually or collectively, Buyer and Seller.

               “Party Affiliate” has the meaning set forth in Section 13.13.

              “Patents” means United States and foreign patents and patent applications, as well
as any continuations, continuations-in-part, divisions, extensions, reexaminations, reissues,
renewals and patent disclosures related thereto.

               “Permits” has the meaning set forth in Section 2.1(b)(v).

                “Person” means any individual, corporation (including any non-profit corporation),
partnership, limited liability company, joint venture, estate, trust, association, organization or other
entity or Governmental Authority.

              “Petition Date” means the filing date of Seller’s chapter 11 petition commencing
the Bankruptcy Case.

               “Plan” means the Debtors’ chapter 11 plan, which shall (a) provide for the
transactions contemplated under this Agreement, including the transfer to Buyer or Buyer’s
designee of one hundred percent (100%) of the equity interests in any applicable reorganized Seller
Party as may be elected by Buyer pursuant to Section 8.9(b), and (b) be in form and substance (i)
consistent with the Restructuring Term Sheet attached as Exhibit B to the Restructuring Support
Agreement, and (ii) acceptable to Buyer to the extent provided in the Restructuring Support
Agreement.

               “Post-Closing Covenant” has the meaning set forth in Section 12.1.

               “Preferential Purchase Right” means any right or agreement that enables any Person
to purchase or acquire any Asset or any interest therein or portion thereof as a result of or in
connection with the execution or delivery of this Agreement or the consummation of the
transactions contemplated hereby or any similar right or interest.

                 “Proceeding” means any Action, arbitration, audit, hearing, investigation,
litigation, or suit (whether civil, criminal, administrative or investigative) commenced, brought,
conducted, or heard by or before, or otherwise involving, any Governmental Authority.

               “Properties” has the meaning set forth in Section 2.1(b)(ii).

               “Purchase Price” has the meaning set forth in Section 3.1(a).

               “RBL Facility Agent” has the meaning set forth in the introductory paragraph.




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               “RBL Facility Claims” has the meaning set forth in the Restructuring Support
Agreement.

               “RBL Facility Lenders” has the meaning set forth in the Restructuring Support
Agreement.

               “Records” has the meaning set forth in Section 2.1(b)(vii).

              “Release” means the spilling, leaking, disposing, discharging, emitting, depositing,
dumping, ejecting, leaching, escaping, or release of any Hazardous Materials into the environment.

                “Remediation” means action taken to correct an Environmental Condition to the
extent required by Environmental Law in the most cost effective manner reasonably available,
consistent with applicable Environmental Laws, taking into account that taking no action, leaving
the condition unaddressed and non-permanent remedies (such as mechanisms to contain or
stabilize Hazardous Materials, including monitoring site conditions, natural attenuation, risk-based
corrective action, institutional controls or other appropriate restrictions on the use of property,
caps, dikes, encapsulation, leachate collection systems, etc.) may be the most cost effective manner
reasonably available.

              “Representative” means, with respect to a particular Person, any director, officer,
member, manager, principal, partner, employee, agent, consultant, advisor, investor, shareholder,
contractor, subcontractor or other representative of such Person, including legal counsel,
accountants and financial advisors.

              “Required Supporting Parties” means (a) the RBL Facility Lenders holding no
fewer than two-thirds (2/3) in dollar amount and a majority in number of RBL Facility Claims and
(b) the RBL Facility Agent.

               “Restoration Costs” has the meaning set forth in Section 11.1(b)(vi).

              “Restructuring Support Agreement” means the restructuring support and plan
sponsor agreement, dated as of August 18, 2020, by and among the Seller Parties, the Required
Supporting Parties, and Buyer, which restructuring support agreement shall provide for the
Required Supporting Parties’ support of, and consent to, the transactions contemplated by this
Agreement.

               “Sagamore Hill” has the meaning set forth in the introductory paragraph.

                “Sale Order” means the Order entered by the Bankruptcy Court authorizing the
transactions contemplated under this Agreement, including the sale of the Assets under sections
365, 1123 and 1141 of the Bankruptcy Code pursuant to the Plan, in each case, in accordance with
the terms of this Agreement, which Order shall be (x) the same Order as the Order confirming the
Plan and (y) in form and substance acceptable to Buyer to the extent provided in the Restructuring
Support Agreement. For the avoidance of doubt, the Break-Up Fee and the Expense
Reimbursement provided for in this Agreement shall be approved in the Sale Order.

               “Seller” has the meaning set forth in the introductory paragraph.


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               “Seller Credit Obligations” has the meaning in Section 7.7(a).

               “Seller Group” means each of the Seller Parties, their Affiliates and the former,
current and future partners, co-owners, direct and indirect equity holders and Representatives of
each of the foregoing.

               “Seller Indemnified Parties” has the meaning set forth in Section 12.3(a).

               “Seller Party” has the meaning set forth in the introductory paragraph.

               “Seller’s Supplemented Schedules” has the meaning set forth in Section 7.4(b).

               “Seller Termination Notice” has the meaning set forth in Section 11.1(c)(i).

               “Specified Seller Credit Obligations” has the meaning set forth in Section 7.7(b).

               “Specified Surety Bonds” means, collectively, that certain (a) Performance Bond
(Bond No. SUR0056455), dated effective as of January 1, 2019, by and among Arena Energy, LP,
as principal, Argonaut Insurance Company, as surety, and Exxon Mobil Corporation and
ExxonMobil Pipeline Company, as obligees, and (b) Private Performance Bond (Bond No.
B007929), dated effective as of May 1, 2013, by and among Arena Energy, LP, as principal, U.S.
Specialty Insurance Company, as surety, and Apache Corporation, as obligee.

               “Subsidiary” means any entity with respect to which a specified Person (or a
Subsidiary thereof) (a) has the power, through the ownership of securities or otherwise, to elect a
majority of the directors or similar managing body or (b) owns directly or indirectly all of the
outstanding equity interests therein.

               “Surety Bonds” has the meaning set forth in Section 7.7(a).

                “Suspense Funds” means proceeds of production and associated penalties and
interest in respect of any of the Assets that are payable to third parties and are being held in
suspense by Seller.

                 “Tax” or “Taxes” (and with correlative meaning, “Taxable” and “Taxing”) means
(i) any taxes, assessments, fees, unclaimed property and escheat obligations and other charges of
any kind whatsoever imposed by any Governmental Authority, including federal, state, provincial,
local, foreign or other income, alternative, minimum, add-on minimum, accumulated earnings,
personal holding company, franchise, capital stock, net worth, capital, profits, intangibles, windfall
profits, gross receipts, value added, sales, use, goods and services, excise, customs duties, transfer,
conveyance, mortgage, registration, stamp, documentary, recording, premium, severance,
environmental, natural resources, real property, personal property, ad valorem, intangibles, rent,
occupancy, license, occupational, employment, unemployment insurance, social security,
disability, workers’ compensation, payroll, health care, withholding, estimated or other tax of any
kind whatsoever, including any interest, penalty or addition thereto, whether disputed or not and
(ii) any liability in respect of any item described in clause (i) above that arises by reason of a
contract (other than a contract entered into in the ordinary course of business, the primary purpose
of which is not Taxes), assumption, transferee or successor liability, or operation of Legal


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Requirement (including by reason of participation in an affiliated, consolidated, combined or
unitary Tax Return).

               “Tax Allocation” has the meaning set forth in Section 8.2.

               “Tax Return” means any return, declaration, report, claim for refund, information
return or other document (including any related or supporting estimates, elections, schedules,
statements, or information) filed or required to be filed with any Governmental Authority in
connection with the determination, assessment or collection of any Tax or the administration of
any laws, regulations or administrative requirements relating to any Tax.

               “Term Loan Claim” has the meaning set forth in the Restructuring Support
Agreement.

               “Trademarks” means United States, state and foreign trademarks, service marks,
logos, slogans, trade dress and trade names, Internet domain names and any other similar
designations of source of goods or services, whether registered or unregistered, and registrations
and pending applications to register the foregoing, and all goodwill related to or symbolized by
the foregoing.

               “Transaction Documents” means this Agreement and any other agreements,
instruments or documents entered into pursuant to this Agreement.

               “Transfer Taxes” has the meaning set forth in Section 8.1(a).

               “Units” has the meaning set forth in Section 2.1(b)(i).

               “Valiant” has the meaning set forth in the introductory paragraph.

               “Wells” has the meaning set forth in Section 2.1(b)(ii).

               “Wind Down Amount” has the meaning set forth in the Restructuring Support
Agreement.

               1.2     Other Definitions and Interpretive Matters.

               (a)     Unless otherwise expressly provided, for purposes of this Agreement, the
following rules of interpretation shall apply:

                               (i)     Calculation of Time Period. When calculating the period of
time before which, within which or following which any act is to be done or step taken pursuant
to this Agreement, the date that is the reference date in calculating such period shall be excluded.
If the last day of such period is a day other than a Business Day, the period in question shall end
on the next succeeding Business Day.

                               (ii)   Dollars. Any reference in this Agreement to “$” or “dollars”
means United States dollars.




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                               (iii) Exhibits/Schedules. All Exhibits and Schedules attached or
annexed hereto or referred to herein are hereby incorporated in and made a part of this Agreement
as if set forth in full herein. Any capitalized terms used in any Exhibit or Schedule but not
otherwise defined therein shall be defined as set forth in this Agreement.

                              (iv)   Gender and Number. Any reference in this Agreement to
gender includes all genders, and words imparting the singular number only include the plural and
vice versa.

                              (v)     Headings. The provision of a table of contents, the division
of this Agreement into Articles, Sections and other subdivisions and the insertion of headings are
for convenience of reference only and shall not affect or be utilized in the construction or
interpretation of this Agreement. All references in this Agreement to any “Section” or “Article”
are to the corresponding Section or Article of this Agreement unless otherwise specified.

                              (vi)    Herein. Words such as “herein,” “hereof” and “hereunder”
refer to this Agreement as a whole and not merely to a subdivision in which such words appear,
unless the context otherwise requires.

                                 (vii) Including. The word “including” or any variation thereof
means “including, without limitation,” and shall not be construed to limit any general statement
that it follows to the specific or similar items or matters immediately following it.

                                (viii) Statute. Unless otherwise specified, references to a statute
means such statute as amended from time to time and includes any successor legislation thereto
and any rules or regulations promulgated thereunder; provided that, for the purposes of the
representations and warranties set forth herein, with respect to any violation of or non-compliance
with, or alleged violation of or non-compliance with, any Legal Requirement, the reference to such
Legal Requirement means such Legal Requirement as in effect at the time of such violation or
non-compliance or alleged violation or non-compliance.

                (b)     No Strict Construction. Buyer, on the one hand, and Seller, on the other
hand, participated jointly in the negotiation and drafting of this Agreement, and, in the event an
ambiguity or question of intent or interpretation arises, this Agreement shall be construed as jointly
drafted by Buyer, on the one hand, and Seller, on the other hand, and no presumption or burden of
proof shall arise favoring or disfavoring any Party by virtue of the authorship of any provision of
this Agreement. Without limitation as to the foregoing, no rule of strict construction construing
ambiguities against the draftsperson shall be applied against any Person with respect to this
Agreement.

                                        ARTICLE 2
                                    PURCHASE AND SALE

               2.1     Purchase and Sale.
               (a)    Upon the terms and subject to the conditions of this Agreement, on the
Closing Date, and effective as of the Effective Time, Seller shall sell, transfer, assign, convey and



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deliver, or cause to be sold, transferred, assigned, conveyed and delivered, to Buyer (or its
designee), and Buyer (or its designee) shall purchase from Seller, the Assets.

                (b)     The “Assets” shall include all right, title and interest of Seller in, to or under
all oil and gas properties and all other assets, rights and interests owned by Seller (but excluding
the Excluded Assets), including the following:

                                (i)      all Leases, including the Leases described in Exhibit A,
together with any and all other rights, titles, and interests of Seller in and to the leasehold estates
created thereby, including royalty interests, overriding royalty interests, production payments, net
profits interests, farmout interests, carried interests, reversionary interests, and all other interests
of any kind or character described in Exhibit A, subject to any depth restrictions described in
Exhibit A, the terms, conditions, covenants, and obligations set forth in the Leases and/or Exhibit
A, along with all pools and units that include all or any part of any Lease (the “Units”), including
without limitation, all of Seller’s right, title and interest in Hydrocarbon production from any Unit,
regardless of whether such Unit production is derived from wells located on or off a Lease
(collectively, the “Assigned Leases and Interests”);

                              (ii)    all oil and gas wells (whether producing, inactive,
temporarily or permanently abandoned, shut-in or otherwise) and any water injection wells located
on or traversing the Assigned Leases and Interests (collectively, and including the wells set forth
in Exhibit B, the “Wells”, and together with the Assigned Leases and Interests, the “Properties”);

                                (iii) (A) all Hydrocarbons produced from or allocated to any or
all of the Properties prior to, on or after the Effective Time (which have not already been sold),
and all proceeds therefrom and revenues related thereto; and (B) all marketable Hydrocarbons
produced from or attributable to the Properties in storage tanks, and Hydrocarbons above or below
a custody transfer point, and all proceeds attributable thereto;

                             (iv)    all Contracts, including sales and purchase contracts, unit
operating agreements, exploration agreements, development agreements, seismic licenses,
balancing agreements, farmout agreements, service agreements, transportation, processing,
treatment and gathering agreements, equipment leases and other contracts, agreements and
instruments, including the Contracts described on Exhibit C attached hereto, in each case, insofar
as they relate to any other Asset (collectively, the “Assigned Contracts”), and any rights to
reimbursement due thereunder;

                               (v)      to the extent that they may be transferred to Buyer, whether
through assignment or otherwise as contemplated under Section 8.9(b) (provided that Seller will
use commercially reasonable efforts to obtain any necessary consent to assignment, without any
obligation to incur any out-of-pocket cost or expense or to provide any other consideration), all
permits, licenses, servitudes, easements, rights-of-way and other surface agreements used
primarily in connection with the ownership or operation of the Properties, including any pending
applications therefor (collectively, the “Permits”);

                             (vi)    all equipment, machinery, fixtures, and other real, personal,
and mixed property, operational and nonoperational, known or unknown, located on the Properties



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or the other Assets described above, but excluding any such items constituting Excluded Assets
(collectively, the “Equipment”); all physical assets located on the Properties or other Assets
described above as of the Effective Time or covered by an Assigned Contract and used or
previously used for production, mechanical separation, handling, gathering, storage, treatment,
sale, disposal or other operations relating to assigned Hydrocarbons, including (a) all buildings,
structures, facilities and foundations; (b) all platforms, pipelines of every form and character,
including gathering lines, transfer lines, gas lines, oil lines, water lines, flowlines and production
and storage facilities and (c) pipeline laterals, to the extent located on or within any of the Assigned
Leases or Interests as a lease term pipeline or serving the Assets in any manner, including as a
gathering line under a distinct right of way (collectively, the “Facilities”);

                               (vii) all of the files, records, information, and data, whether
written or electronically stored, in Seller’s possession and primarily relating to the Assets,
including (a) land and title records (including abstracts of title and title curative documents); (b)
contract files; (c) correspondence; (d) operations, environmental, production, and accounting
records; (e) proprietary seismic and specific seismic lines if assignable by Seller without cost,
unless Buyer has agreed to and pays the cost; and (f) facility and well records but excluding any
of the foregoing items that are Excluded Assets (collectively, the “Records”);

                                (viii) except with respect to the Excluded Assets and the Excluded
Liabilities, all claims, refunds, abatements, variances, allocations, causes of action, claims for
relief, choses in action, rights of recovery, rights of set-off, rights of indemnity, contribution or
recoupment, counter-claims, cross-claims and defenses of Seller to the extent related to the Assets
and arising or relating to events occurring prior to, on or after the Effective Time or related to the
Assumed Liabilities, but excluding any such matters released pursuant to the Plan;

                             (ix)   all cash call pre-payments and other refunds due to Seller for
royalty overpayments and/or future deductions as royalty offsets associated with any Asset;

                             (x)    all trade credits, accounts receivable, note receivables, take
or pay amounts receivable, and other receivables attributable to the other Assets, with respect to
any period of time;

                                 (xi)    all proprietary rights and non-proprietary rights to all
geological, geochemical, geophysical and other seismic and related technical data and information
relating to the Assets, to the extent such data and information may be assigned without the payment
of a fee (or, in the event a transfer fee applies, to the extent Buyer has agreed in writing to pay, or
has paid, such transfer fee); provided that Seller will use commercially reasonable efforts to obtain
any necessary consent to assignment, without any obligation to incur any out-of-pocket cost or
expense or to provide any other consideration;

                               (xii)   all Intellectual Property;

                               (xiii) the office(s) and associated office lease(s) described on
Schedule 2.1(b)(xiii) and all personal computers and associated peripherals, office fixtures, office
equipment and inventory located at such office(s);




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                               (xiv) any and all actions, causes of action, suits, accounts,
controversies, agreements, promises, rights to legal remedies, rights to equitable remedies, rights
to payment and claims, in each case whether known, unknown, reduced to judgment, not reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, secured, or unsecured and whether asserted or assertable directly or derivatively, in
law, equity, or otherwise, including Avoidance Actions owned by or available to any Seller Party
(such Actions, the “Assigned Actions”);

                               (xv) (A) all interests of any kind or character owned by Seller or
any of its Affiliates in and to Oil Insurance Limited, a Bermuda company (“Oil Insurance
Limited”), subject to Buyer’s compliance with the applicable requirements set forth the
Shareholders’ Agreement of Oil Insurance Limited issued to Arena Energy, LP., and (B) subject
to Section 8.7(b), all insurance policies and rights to proceeds (and rights of recovery) thereof,
including all insurance policies issued by Oil Insurance Limited and rights to proceeds thereof;

                              (xvi) (A) all cash and cash equivalents, including checks,
commercial paper, treasury bills, certificates of deposit, letters of credit, bank accounts and other
bank deposits as of the Closing Date, including the Suspense Funds (and applicable accounts
therefor), and (B) all escrow accounts maintained by Seller or any of its Affiliates to secure
Decommissioning Obligations or relating to the Properties (other than the Escrow Account), in
each case, (x) including those accounts identified on Schedule 2.1(b)(xvi), and any and all funds
and other income thereof, (y) including any retainers returned by Seller’s advisors to Seller due to
the fees owing to such advisors being less than the applicable retainer, and (z) excluding the Wind
Down Amount;

                               (xvii) all receivables related to the Assets including all
expenditures incurred by Seller in connection with the ownership, operation and maintenance of
the Properties (including rentals, overhead, royalties, Lease option and extension payments, Taxes
and other charges and expenses billed under applicable operating agreements or applicable Legal
Requirements) and billed by Seller to third party working interest owners, which remain
outstanding and owed to Seller;

                                 (xviii) all claims, refunds, loss carry forwards, abatements,
variances, allocations, causes of action, claims for relief, choses in action, rights of recovery, audit
rights, rights of set-off, rights of indemnity, contribution or recoupment, counter-claims, cross-
claims and defenses of Seller, other than those constituting Excluded Assets or those related to any
Excluded Liability or released pursuant to the Plan; and

                              (xix) all rights, defenses, claims and causes of action (including
rights to enforce Encumbrances, trade credits, receivables, audit rights and rights to receive
indemnity, funds, reimbursements or other payments and rights under policies or agreements of
insurance) except to the extent released pursuant to the Plan.

               2.2     Excluded Assets. Notwithstanding the foregoing, the Assets shall not
include, and there is excepted, reserved and excluded from the transaction contemplated hereby,
the following (collectively, the “Excluded Assets”):
               (a)     the Purchase Price delivered to Seller pursuant to this Agreement;


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                (b)    all shares of capital stock or other equity interest of Seller or any of Seller’s
Subsidiaries or any securities convertible into, exchangeable or exercisable for shares of capital
stock or other equity interest of Seller or any of Seller’s Subsidiaries;

               (c)     all minute books, stock ledgers, corporate seals and stock certificates of
Seller;

               (d)     all Excluded Records;

              (e)    any rights, claims or causes of action of Seller against Buyer under this
Agreement or any other Transaction Document;

                (f)    documents prepared or received by Seller with respect to (i) lists of
prospective purchasers for such transactions compiled by Seller, (ii) bids submitted by other
prospective purchasers of the Assets, (iii) analyses by Seller of any bids submitted by any
prospective purchaser, (iv) correspondence between or among Seller, its respective
representatives, and any prospective purchaser other than Buyer, (v) internal valuations or
economic models prepared in connection with the transactions contemplated in this Agreement
and (vi) correspondence between Seller or any of its respective representatives with respect to any
of the bids, the prospective purchasers, or the transactions contemplated in this Agreement;

               (g)     all Excluded Contracts;

               (h)     all Benefit Plans and any assets associated with or attributable thereto;

               (i)     the Wind Down Amount; and

                (j)     all rights to the use of deposits and retainers to the extent held and applied
by Seller’s professionals on or before sixty (60) days after the earlier to occur of (i) the effective
date of a plan of reorganization or liquidation, (ii) the conversion of the Bankruptcy Case to a case
under chapter 7 of the Bankruptcy Code, or (iii) the dismissal of the Bankruptcy Case by the
Bankruptcy Court; provided, however, any right to deposits or retainers in excess of the fees owing
to such advisors shall constitute Assets.

                2.3      Assumed Liabilities. Upon the terms and subject to the conditions of this
Agreement, and other than the Excluded Liabilities, on the Closing Date, Buyer shall assume and
agree to discharge, when due (in accordance with their respective terms and subject to the
respective conditions thereof), all Liabilities associated with the Assets, whether such Liabilities
arise prior to, at, or after the Effective Time (collectively, the “Assumed Liabilities”), including
the following:
               (a)     Decommissioning Obligations. Any obligations or Liabilities associated
with Decommissioning, whether incurred under any of the Assigned Leases and Interests,
Assigned Contracts or under any Legal Requirement, judgment, decree, or other obligation, and
including any residual liability for anticipated or necessary continuing insurance, maintenance and
monitoring costs, whether such Liabilities arise prior to, at or after the Effective Time (collectively,
the “Decommissioning Obligations”).



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              (b)     Assigned Contracts. All of Seller’s Liabilities under the Assigned
Contracts, whether such Liabilities arise prior to, at or after the Effective Time.

               (c)     Properties. All of Seller’s Liabilities arising out of the ownership or
operation of the Properties (including the terms of the applicable Permits and Assigned Contracts),
whether such Liabilities arise prior to, at or after the Effective Time.

                (d)    Cure Costs. All Cure Costs and all rejection damages incurred by Seller
due to the rejection by Seller of any Excluded Contract.

                (e)    Suspense Funds. All Suspense Funds, together with any escheatment
obligations related thereto.

               (f)    Buyer Taxes. All Taxes imposed on or attributable to the Assets, other than
income, franchise and similar Taxes of any Seller Party (except any Seller Party that is directly or
indirectly acquired by Buyer pursuant to Section 8.9(b)), or any of such Seller Party’s direct or
indirect owners or any affiliated, combined, consolidated or unitary group with respect to Taxes
of which any of the foregoing is or was a member.

               (g)     Transfer Taxes. All Transfer Taxes.

                 (h)     Environmental Liabilities. All Environmental Obligations and Liabilities
under Environmental Law arising from, related to or associated with the Assets (including the
performance of all related salvage, site clearance, and surface restoration operations), whether such
Liabilities arise prior to, at or after the Effective Time.

                 (i)     Other Assets. To the extent not already described in Section 2.3(a) through
(h) above, all Liabilities arising from, related to or associated with the Assets, whether such
Liabilities arise prior to, at or after the Effective Time.

               (j)    Employment Liabilities. Any employment-related liability expressly
assumed under Exhibit G , as well as any Liability with respect to which Liability may be imposed
on any current or former officer, director, or employee of Seller or its Subsidiaries on the basis of
any so-called “responsible person” statutes, including any wage payment statute, that cannot
ultimately be discharged by the Bankruptcy Code.

The assumption by Buyer of the Assumed Liabilities shall not, in any way, enlarge the rights of
any third parties relating thereto.

               2.4     Excluded Liabilities. Notwithstanding any provision in this Agreement to
the contrary, Buyer shall not assume and shall not be obligated to assume or be obliged to pay,
perform or otherwise discharge the following Liabilities of Seller (the “Excluded Liabilities”); for
the avoidance of doubt, the sale of Assets to Buyer shall be effectuated free and clear of any and
all Excluded Liabilities:
               (a)     all indebtedness for borrowed money of Seller and all hedging obligations
of Seller;




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               (b)    (i) any income, franchise or similar Taxes imposed on any Seller Party
(other than any Seller Party that is directly or indirectly acquired by Buyer pursuant to Section
8.9(b)), any of such Seller Party’s direct or indirect owners or any affiliated, combined,
consolidated or unitary group with respect to Taxes of which any of the foregoing is or was a
member, and (ii) any Taxes attributable to the Excluded Assets;

               (c)     all Liabilities of Seller to any owner or former owner of capital stock or
warrants, or holder of indebtedness for borrowed money; and

               (d)     all Liabilities related to the Excluded Assets.

               2.5     Cure Costs.
               (a)     On or prior to the Closing, Buyer shall pay any and all cure costs or expenses
that must be paid or otherwise satisfied to cure any monetary defaults required to be cured under
section 365 of the Bankruptcy Code or otherwise to effectuate, pursuant to the Bankruptcy Code,
the assumption or assumption and assignment to Buyer or its designee of the Assigned Contracts
and Assigned Leases and Interests, in each case as such amounts are determined by the Bankruptcy
Court (the “Cure Costs”).

                (b)     At any time prior to the Designation Deadline, Buyer shall have the right,
which may be exercised in Buyer’s sole discretion, to provide written notice to Seller (each such
notice, a “Contract Notice”) of Buyer’s election to designate any Contract (including any Contract
that is an Assigned Contract immediately before such designation) (A) as an Excluded Contract
and upon such designation such Contract shall constitute an Excluded Contract and, if applicable,
shall cease to constitute an Assigned Contract or (B) to the extent not already rejected with Buyer’s
prior written consent, as an Assigned Contract and upon such designation such Contract shall
constitute an Assigned Contract and shall cease to constitute an Excluded Contract.
Notwithstanding anything to the contrary in this Section 2.5, if, at any time after the Designation
Deadline, the Cure Costs fixed by the Bankruptcy Court for any Assigned Contract are (i) greater
than the amount set forth on the initial schedule of Cure Costs filed by Seller with the Bankruptcy
Court prior to the Designation Deadline and (ii) are not consented to by Buyer, then Buyer shall
be permitted, no later than five (5) Business Days after entry of an order by the Bankruptcy Court
setting such Cure Costs, to provide Seller a Contract Notice of Buyer’s election to revoke its
designation of any such Contract as an Assigned Contract and thereupon such Contract shall be
deemed to be an Excluded Contract.

               (c)     If Buyer exercises its rights in Section 2.5(b) above to designate any
Contract (including a Contract that was an Assigned Contract immediately before such
designation) as an Excluded Contract, then, there shall be no reduction in the Purchase Price as a
result of such designation or change in designation, and Buyer shall bear all rejection damages
incurred by Seller due to the rejection by Seller of such Excluded Contract.

                (d)    In the event that Seller identifies (whether before or after the Designation
Deadline) any additional Contracts capable of being assumed or rejected that were not previously
identified as such, Seller shall promptly notify Buyer of (i) such Contracts and (ii) Seller’s good
faith estimate of the amount of the Cure Costs payable in respect of each such Contract. For the
avoidance of doubt, Buyer may designate each such additional Contract described in the


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immediately preceding sentence as an Assigned Contract or Excluded Contract pursuant to this
Section 2.5, notwithstanding the passage of the Designation Deadline.

               2.6     Assignment of Assets Subject to Consent Requirements.

                (a)     If prior to the Closing Date any consent to assignment applicable to the
transactions contemplated hereby (other than approvals by BOEM and other governmental
consents or approvals customarily (and legally permitted to be) obtained post-Closing (each such
consent or approval, a “Customary Post-Closing Consent”)) (i) has not been obtained, waived or
satisfied, and (ii) has not been determined to be inapplicable to the transactions contemplated
hereby by reason of any Order of the Bankruptcy Court, and further, failure to obtain such third
party consent or waiver may result in either the termination of a Lease, including causing such to
be void or voidable, or the inability to transfer or assign a Contract or the imposition of, or
obligation to pay, a financial or other penalty (each such consent, a “Hard Consent”), the Properties
affected by such third party Hard Consent shall be excluded from the Assets conveyed at Closing;
provided, that there shall be no adjustments to the Purchase Price for such excluded Asset.

                (b)     If, after Closing, a Hard Consent that was not obtained, waived or otherwise
satisfied at Closing is obtained by Seller, waived by the applicable consentholder or otherwise
satisfied on or before December 1, 2020 (the “Consent Deadline”), or, at Buyer’s sole discretion
and election, Buyer waives the requirement that such Hard Consent be obtained, waived or
otherwise satisfied, then, in any such case, the Property affected by such Hard Consent and
excluded at the Closing will be conveyed to Buyer within ten (10) Business Days after such Hard
Consent has been obtained, waived by the applicable consentholder or Buyer or otherwise
satisfied, and the Liabilities for such Property excluded at Closing to the extent arising from such
Hard Consent not having been obtained, waived or otherwise satisfied shall constitute Assumed
Liabilities from and after the applicable subsequent closing. At such subsequent closing, Seller
shall assign, transfer and convey to Buyer, and Buyer shall acquire and accept from Seller, such
excluded Assets (or portions thereof). For the avoidance of doubt, if the Hard Consent for a
Property excluded from the Assets conveyed at Closing pursuant to Section 2.6(a) is not obtained
by Seller, waived by the applicable consentholder or otherwise satisfied or Buyer does not waive
the requirement that such Hard Consent be obtained, waived or otherwise satisfied, in each case,
upon the expiration of the Consent Deadline, then the applicable Assets excluded at Closing shall
be deemed to be Excluded Assets for all purposes hereunder, including for purposes of Section
2.4.

                (c)     Except for Hard Consents, if any consents to the assignment of any Asset
are not obtained prior to Closing, then with respect to each affected Asset, the affected Assets shall
nevertheless be sold and conveyed to Buyer at the Closing and Buyer shall pay for the affected
Asset(s) at Closing in accordance with this Agreement as though the consent had been obtained.
In the case of licenses, certificates, approvals, authorizations, Leases, Contracts and other
commitments included in the Assets (A) that cannot be transferred or assigned without the Hard
Consent of third parties, which Hard Consent has not been obtained prior to the Closing (after
giving effect to the Sale Order and the Bankruptcy Code), Seller shall, following the Closing, at
Buyer’s sole expense and subject to any approval of the Bankruptcy Court that may be required,
cooperate with Buyer in all reasonable respects to provide to Buyer the benefits thereof in some
other manner, or (B) that are otherwise not transferable or assignable (after giving effect to the


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Sale Order and the Bankruptcy Code), Seller shall, following the Closing, at Buyer’s sole expense
and subject to any approval of the Bankruptcy Court that may be required, reasonably cooperate
with Buyer to provide to Buyer the benefits thereof in some other manner (including the exercise
of the rights of Seller thereunder); provided that nothing in this Section 2.6 shall (1) require Seller
to make any expenditure or incur any obligation on its own or on behalf of Buyer for which funds
in the full amount of such expenditure or obligation are not provided to Seller by Buyer in advance
in cash or (2) prohibit Seller from ceasing operations or winding up its affairs following the
Closing.

                (d)    With respect to Customary Post-Closing Consents, Buyer and Seller shall
use commercially reasonable efforts after Closing to obtain all Customary Post-Closing Consents
from, and make all filings with, all Governmental Authorities that may be required by applicable
Legal Requirements or under the terms of an Assigned Lease and Interest. Until the earlier to
occur of (i) the date on which such Customary Post-Closing Consent is obtained and (ii) the
expiration of the Consent Deadline, Seller shall continue to hold record title to the applicable
Assets as nominee for Buyer and Seller shall only be authorized to act, with respect to such Assets,
upon and in accordance with Buyer’s specific instructions. Buyer shall indemnify, defend and
hold harmless Seller for all Liabilities to the extent solely related to or arising from Seller’s
obligation to hold record title to the applicable Assets from and after Closing, in accordance with
this Section 2.6(d).

               2.7     Preferential Purchase Rights.

                (a)    With respect to each Preferential Purchase Right set forth on Schedule 5.8,
within five (5) Business Days after the Petition Date, Seller shall send to the holder of each such
Preferential Purchase Right a notice reasonably satisfactory to Buyer (i) containing a copy of the
Plan and this Agreement, and (ii) to the extent that the Sale Order does not preclude the exercise
of such rights, informing such holder that it must submit a notice to Seller such holder’s intent to
exercise or not exercise its Preferential Purchase Right prior to the date of the hearing regarding
the entry of the Sale Order.

                 (b)    With respect to each Preferential Purchase Right that is not set forth on
Schedule 5.8 but is discovered by Seller prior to Closing, Seller shall send to the holder of each
such Preferential Purchase Right a notice reasonably satisfactory to Buyer (A) containing a copy
of the Plan and this Agreement, and (B) to the extent that the Sale Order does not preclude the
exercise of such rights, informing such holder that it must submit a notice to Seller of such holder’s
intent to exercise or not exercise its Preferential Purchase Right, as soon as reasonably practicable
after discovery of any such Preferential Purchase Right (but in no event later than two Business
Days thereafter). Seller shall promptly provide Buyer with copies of all notices delivered to and
received from holders of Preferential Purchase Rights hereunder. Any Preferential Purchase Right
that is not precluded by the Sale Order or determined to be inapplicable to the transactions
contemplated by this Agreement by reason of any Order of the Bankruptcy Court must be exercised
subject to all terms and conditions set forth in this Agreement, and the consideration payable under
this Agreement and the Sale Order for the purposes of all Preferential Purchase Right notices shall
be the Allocated Value of the applicable Asset.




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                  (c)    If, prior to Closing, any holder of a Preferential Purchase Right notifies
Seller that it intends to consummate the acquisition of the Assets to which its Preferential Purchase
Right applies or if the time for exercising such Preferential Purchase Right has not expired (and
the holder of such right has not waived such right), then, unless the Bankruptcy Court has entered
an order providing that such Preferential Purchase Right is not enforceable or is not required to be
complied with, in either case, as such Preferential Purchase Right relates to the sale of the affected
Assets to Buyer under this Agreement, Buyer shall be responsible for complying with such
Preferential Purchase Right, and the affected Asset shall be included in the Assets conveyed to
Buyer at Closing. If the Closing occurs, Buyer shall be entitled to all consideration given by any
Person exercising a Preferential Purchase Right, and there shall be no adjustment to the Purchase
Price for any exercised (or unexercised Preferential Purchase Rights).

               (d)     All Assets for which any applicable Preferential Purchase Right has not
been exercised (and the sale and assignment of such affected Asset has been consummated prior
to the Closing) shall be sold to Buyer at Closing pursuant to the provisions of this Agreement and
Buyer shall be deemed to have assumed any and all Liabilities with respect to such Preferential
Purchase Right as part of the Assumed Liabilities hereunder and Buyer shall have no claim against,
and hereby releases and indemnifies the Seller Indemnified Parties from any Liability with respect
to such Preferential Purchase Right.

                2.8    Further Assurances. The Parties agree to (a) furnish upon request to each
other such further information, (b) execute, acknowledge and deliver to each other such other
documents and (c) do such other acts and things, all as the other Party may reasonably request for
the purpose of carrying out the intent of this Agreement and the Transaction Documents; provided
that nothing in this Section 2.8 shall prohibit Seller from ceasing operations or winding up its
affairs following the Closing.
                                         ARTICLE 3
                                       PURCHASE PRICE

              3.1    Purchase Price. The purchase price for the purchase, sale, assignment and
conveyance of Seller’s right, title and interest in, to and under the Assets shall consist of (x) the
Contingent Consideration (as defined in Exhibit F) if any, payable to the RBL Facility Lenders in
accordance with Exhibit F, and (y) the following:
             (a)    cash in an amount equal to Sixty-Four Million One Hundred Fifty-Seven
Thousand Seventy-Nine and No/100 Dollars ($64,157,079.00) (the “Purchase Price”); and

               (b)     the assumption of the Assumed Liabilities.

               3.2     Deposit. Prior to the execution of this Agreement, Buyer has paid (or shall
have caused to be paid) to Citi Private Bank (“Escrow Agent”), pursuant to that certain escrow
agreement by and among Seller, Buyer and Escrow Agent (the “Escrow Agreement”) into the
Escrow Account, a deposit in the amount of Six Million Four Hundred Fifteen Thousand Seven
Hundred Seven and 90/100 Dollars ($6,415,707.90) (the “Deposit”), such amount representing ten
percent (10%) of the Purchase Price. At Closing, the Parties shall cause the Escrow Agent to
release the Deposit to Seller, and the Deposit shall be credited against the amount required to be
paid by Buyer to Seller at Closing. If this Agreement is terminated by Seller prior to Closing


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pursuant to Section 11.1(c)(i), then, subject to Section 11.2(b), the Parties shall cause the Escrow
Agent to release the Deposit to Seller within two (2) Business Days of such termination, and such
amount shall constitute liquidated damages (and not a penalty). If this Agreement is terminated
prior to Closing for any other reason, then the Parties shall cause the Escrow Agent to release the
Deposit to Buyer or its designee within two (2) Business Days of such termination.
               3.3    Allocation of Purchase Price; Allocated Value. Buyer and Seller agree that
(a) the unadjusted Purchase Price shall be allocated among the Assets as set forth in Schedule 3.3
and (b) the Allocated Values, shall be used by the Parties as the basis for reporting asset values
and other items for purposes of this Section 3.3.
               3.4     Withholding. Buyer shall be entitled to deduct and withhold from the
consideration otherwise payable to any Person pursuant to this Agreement such amounts as may
be required to be deducted and withheld with respect to Taxes under applicable law; provided,
however, other than with respect to any withholding as a result of a Seller Party’s failure to provide
the forms described in Section 4.4(d), Buyer shall provide at least five Business Days’ written
notice to the Seller Parties if Buyer intends to withhold any amounts under this Section 3.4. To
the extent that amounts are so withheld and paid over to the appropriate taxing authority, such
withheld amounts shall be treated for all purposes of this Agreement as having been paid to the
Person in respect of whom such deduction and withholding was made by Buyer. The Parties shall
cooperate in good faith to minimize or establish an exemption from, to the extent permissible under
applicable Law, any deduction or withholding.

                                            ARTICLE 4
                                             CLOSING

                4.1     Closing Date. Upon the terms and subject to the conditions hereof, the
closing of the sale of the Assets and the assumption of the Assumed Liabilities contemplated
hereby (the “Closing”) shall take place at the office of Kirkland & Ellis, LLP, at 609 Main Street,
Suite 4500, Houston, Texas 77002 (or at such other location as the Parties may mutually agree), if
all conditions to Closing in Article 9 and Article 10 have been satisfied or (if permissible) waived
(other than the conditions which by their nature are to be satisfied at the Closing, but subject to the
satisfaction or (if permissible) waiver of such conditions), no later than three (3) Business Days
following the date on which the conditions set forth in Article 9 and Article 10 have been satisfied
or (if permissible) waived (other than the conditions which by their nature are to be satisfied at the
Closing, but subject to the satisfaction or (if permissible) waiver of such conditions); provided,
however, that in no event will the Closing occur prior to October 1, 2020 without Buyer’s prior
written consent. The date and time at which the Closing actually occurs is hereinafter referred to
as the “Closing Date.”
               4.2     Payment on the Closing Date. Subject to satisfaction or (if permissible)
waiver of the conditions set forth in Article 9 and Article 10, at the Closing, (a) Buyer shall pay
(or cause to be paid) the cash components of the Purchase Price (less the amount of the Deposit)
by wire transfer of immediately available funds to an account specified in writing by Seller prior




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to the Closing Date, and (b) the Parties shall cause the Escrow Agent to release the Deposit to
Seller, in accordance with Section 3.2.
               4.3      Buyer’s Deliveries. At the Closing, Buyer shall deliver or cause to be
delivered to Seller (or such other Persons where so designated):
               (a)      the cash consideration referenced in Section 3.1(a) (less the amount of the
Deposit) to Seller in accordance with Section 4.2;

                (b)       the appropriate DOI forms (including without limitation, as applicable,
Form BOEM-1017, Form BOEM-1019 and Form BOEM-1022) to reflect Buyer as the designated
applicant for oil spill financial responsibility purposes for the Leases (or portions thereof) and shall
deliver to Seller such other evidence that Buyer is qualified with the applicable Governmental
Authorities to succeed Seller as the designated applicant of the Assets for oil spill financial
responsibility purposes;

               (c)     transfers and assignments, on appropriate forms (including Form BOEM-
0150, Form BOEM-0151 and corresponding designation of operator form (Form BOEM-1123),
as applicable) and as may be required by any Governmental Authority in order to transfer the
Assets from Seller to Buyer pursuant to the terms of this Agreement;

                (d)    all instruments necessary to become a party to and assume obligations in
the unit operating agreements applicable to the Assets;

                 (e)     each other Transaction Document to which Buyer is a party, duly executed
(and acknowledged, where applicable) by Buyer, including the Assignments, Assignment of OIL
Interests, letters-in-lieu of transfer orders, change of operator forms to be prepared by Seller,
change of operator notices required under applicable operating agreements, and any other
applicable forms and declarations required by federal and state agencies relative to Buyer’s
assumption of operations and plugging and abandonment Liabilities with respect to all of the
Assets;

               (f)     the certificates of Buyer to be received by Seller pursuant to Sections 10.1
and 10.3;

                (g)    such forms or documents (including evidence of satisfaction of all
applicable insurance requirements) as may be required (or otherwise may be reasonably requested
by Seller) to demonstrate that Buyer is qualified with the applicable Governmental Authorities and
pursuant to any applicable operating agreement to succeed Seller as the owner of the Assets;

               (h)     evidence of all Surety Bonds and replacement of (i) the Specified Surety
Bonds and (ii) all Seller Credit Obligations (other than the Specified Seller Credit Obligations)
required to obtained by Buyer pursuant to this Agreement or written evidence that Buyer is not
required to obtain such Surety Bond or replacements for such Seller Credit Obligations;

              (i)     the Memorandum (in sufficient counterparts to facilitate recording in the
necessary recording offices), duly-executed and acknowledged by Buyer; and




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                (j)     such other assignments and other good and sufficient instruments of
assumption and transfer, in form reasonably satisfactory to Seller, as Seller may reasonably request
to transfer and assign the Assumed Liabilities to Buyer.

               4.4     Seller’s Deliveries. At the Closing, Seller shall deliver to Buyer:
                (a)    (i) the Assignments and each other Transaction Document to which Seller
is a party (including letters-in-lieu of transfer orders and change of operator forms), and (ii) the
Assignment of OIL Interests, in each case, duly executed (and acknowledged, where applicable)
by Seller and Oil Insurance Limited, as applicable;

               (b)     a certified copy (which may be in .pdf format) of the Sale Order;

               (c)     the certificates of Seller to be received by Buyer pursuant to Sections 9.1
and 9.2;

               (d)    a non-foreign affidavit from each Seller Party dated as of the Closing Date,
sworn under penalty of perjury and in form and substance required under the Treasury Regulations
issued pursuant to Code §1445, stating that such Seller Party (or its regarded owner, if such Seller
Party is disregarded as separate from its owner for U.S. federal income tax purposes) is not a
“foreign person” for purposes of Sections 1445 and, if applicable, 1446(f) of the Code;

               (e)     transfers and assignments, on appropriate forms (including Form BOEM-
0150, Form BOEM-0151 and corresponding designation of operator form (Form BOEM-1123),
as applicable) and as may be required by any Governmental Authority in order to transfer the
Assets from Seller to Buyer pursuant to the terms of this Agreement;

              (f)     the Memorandum (in sufficient counterparts to facilitate recording in the
necessary recording offices), duly-executed and acknowledged by the RBL Facility Agent;

                (g)     duly-executed, recordable releases (in sufficient counterparts to facilitate
recording in the applicable counties where the Assets are located) in form reasonably acceptable
to Buyer of any mortgages or security interest covering the Assets, in each case, securing
indebtedness for borrowed money of Seller or their respective Affiliates; provided, however, in
lieu of such releases, Seller may deliver certified copies of the Sale Order to satisfy this obligation;

                (h)    consents, notices, transfers or other documentation required by the financial
institutions with respect to the bank accounts of any Seller Party, in each case, in order to (i)
transfer the bank accounts of such Seller Party to Buyer pursuant to the terms of this Agreement;
and (ii) cancel and/or terminate any Seller Representative’s authority, access and/or control with
respect to such account; and

                (i)    such other bills of sale, deeds, endorsements, assignments and other good
and sufficient instruments of conveyance and transfer, in form reasonably satisfactory to Buyer,
as Buyer may reasonably request to vest in Buyer all the right, title and interest of Seller in, to or
under any or all the Assets or to evidence that Seller retains the Excluded Liabilities.




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                                 ARTICLE 5
                  REPRESENTATIONS AND WARRANTIES OF SELLER

              Each Seller Party represents and warrants to Buyer, as of the Execution Date and
the Closing Date, the following:

                5.1     Organization and Good Standing. Such Seller Party is an entity duly
organized, validly existing and in good standing under the laws of the jurisdiction of its
organization. Such Seller Party has the requisite corporate power and authority to own or lease
and to operate and use its properties and to carry on its business as now conducted. Such Seller
Party is duly qualified or licensed to do business and is in good standing in each jurisdiction where
the character of its business or the nature of its properties makes such qualification or licensing
necessary, except for such failures to be so qualified or licensed or in good standing as would not,
individually or in the aggregate, have a Material Adverse Effect.
                5.2      Authority; Validity; Governmental Authority Consents. Such Seller Party
has, subject to requisite Bankruptcy Court approval, the requisite power and authority necessary
to enter into and perform its obligations under this Agreement and the other Transaction
Documents to which such Seller Party is a party and to consummate the transactions contemplated
hereby and thereby, and, subject to requisite Bankruptcy Court approval, the execution, delivery
and performance of this Agreement and such other Transaction Documents by such Seller Party
and the consummation by such Seller Party of the transactions contemplated herein and therein
have been duly and validly authorized by all requisite corporate action. This Agreement has been
duly and validly executed and delivered by such Seller Party and each other Transaction Document
required to be executed and delivered by such Seller Party at the Closing will be duly and validly
executed and delivered by such Seller Party at the Closing. Subject to requisite Bankruptcy Court
approval, this Agreement and the other Transaction Documents constitute, with respect to Seller,
the legal, valid and binding obligations of such Seller Party, enforceable against such Seller Party
in accordance with their respective terms, except as such enforceability may be limited by
applicable bankruptcy, insolvency, reorganization, fraudulent conveyance, moratorium or other
similar Legal Requirements affecting the enforcement of creditors’ rights generally and by general
principles of equity, regardless of whether such principles are considered in a proceeding at law or
in equity. Subject to requisite Bankruptcy Court approval, except for (a) entry of the Sale Order,
(b) notices, filings and consents required in connection with the Bankruptcy Case, (c) any
applicable notices, filing, consents or approvals under any applicable antitrust, competition or trade
regulation Legal Requirements and (d) any notices, filings and consents customarily obtained post-
Closing, such Seller Party is not required to give any notice to, make any filing with or obtain any
consent from any Governmental Authority in connection with the execution and delivery of this
Agreement and the other Transaction Documents or the consummation or performance of any of
the transactions contemplated hereby and thereby, except as would not, individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect.
                5.3     No Conflict. Except as set forth on Schedule 5.3, and assuming the receipt
of all consents (including any Hard Consent) and the waiver of all Preferential Purchase Rights (in
each case) applicable to the transactions contemplated hereby, execution and delivery of this
Agreement and the other Transaction Documents and the consummation of the transactions
provided for herein and therein will not result in the breach of any of the terms and provisions of,
or constitute a default under, or conflict with, or cause any acceleration of any obligation of such


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Seller Party under (a) any agreement, indenture, or other instrument to which such Seller Party is
bound, (b) the certificate of incorporation, bylaws or other governing documents of such Seller
Party, (c) any Order or (d) any Legal Requirement, except as would not, individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect.
              5.4     Permits. To Seller’s Knowledge, as of the Execution Date, (a) Seller has
not received written notice of default under any Permit and (b) no violations exist in respect of
such Permits, except for such non-compliance and such facts, conditions or circumstances, the
existence of which would not constitute a Material Adverse Effect.
               5.5    Legal Proceedings. Except for the Bankruptcy Case and any adversary
proceedings or contested motions commenced in connection therewith, there is no Proceeding or
Order pending, outstanding or, to Seller’s Knowledge, threatened against Seller that seeks to
restrain or prohibit or otherwise challenge the consummation, legality or validity of the
transactions contemplated hereby or that would, individually or in the aggregate, reasonably be
expected to have a Material Adverse Effect.
               5.6    Brokers or Finders. Seller has not incurred any obligation or liability,
contingent or otherwise, for brokerage or finders’ fees or agents’ commissions or other similar
payments in connection with this Agreement, the other Transaction Documents or the transactions
contemplated hereby or thereby for which Buyer is or will become liable, except to the extent that
such fees, commissions and other similar payments constitute Assumed Liabilities.

              5.7     Approved Work Programs and Budgets. Complete and correct copies of
the work programs and budgets that have been approved by Seller, or deemed to have been
approved, under and in accordance with the Assigned Leases and Interests or Assigned Contracts,
have been provided to Buyer for review at or prior to Buyer’s execution of this Agreement.
               5.8   Consents and Preferential Purchase Rights. Except as set forth on Schedule
5.8, none of the Assets is subject to any (i) Preferential Purchase Rights or (ii) any consent to
assignment, in each case, applicable to the transactions contemplated hereby (other than
governmental consents or approvals customarily obtained post-Closing).
                5.9     Material Assigned Contracts.
               (a)     Except as set forth on Schedule 5.9(a), Seller, in any material respect, is not
in breach of, or default under the terms of, and, to the knowledge of Seller, no other party to any
Material Assigned Contract is, in any material respect, in breach of, or default under the terms of,
any Material Assigned Contract, and to the knowledge of Seller, no event or omission has occurred
that would constitute such a breach or default (whether by lapse of time or notice or both) under
any Material Assigned Contract.

                (b)      Schedule 5.9(b) sets forth a correct and complete list (provided, however,
that such list shall be deemed correct and complete as long as the Assigned Contracts applicable
to any of items (i)-(x) below are listed on the Schedule), as of the Execution Date, of the following
Assigned Contracts that are included in the Assets and binding on the assigned Hydrocarbons, to
the extent following the Closing same would be binding on the Assets, or any portion thereof, or
on Seller (collectively, the “Material Assigned Contracts”): (i) any Assigned Contract involving
payments individually or in the aggregate in excess of Five Million Dollars ($5,000,000.00) net to
Seller’s interest, or that constitutes a lease under which Seller or any Affiliate of Seller is the lessor


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or the lessee of any real or personal property which is to be included in the sale of the Assets
hereunder (including equipment and real property, but not including any of the Assigned Leases
and Interests or Wells) which lease (A) is not cancelable without material penalty on less than
ninety (90) days’ prior written notice and (B) involves an annual base rental of more than Two
Million Dollars ($2,000,000.00); (ii) any Assigned Contract for the sale, transportation, exchange,
or other disposition of Hydrocarbons produced from or attributable to Seller’s interest in the Assets
that is (1) not cancelable without penalty on less than ninety (90) days’ prior written notice (2) and
that contains a call upon or options to purchase or any dedication or delivery commitment of
production; (iii) any material Assigned Contract (executory or otherwise) to sell, lease, farmout,
or otherwise dispose of any interest in the Assets after the Effective Time, other than conventional
rights of reassignment arising in connection with Seller’s surrender or release of any of the Assets;
(iv) joint operating agreements, unit operating agreements, area of mutual interest agreements,
farmout agreements, joint venture agreements, development agreements, participation agreements,
partnership agreements or similar Assigned Contract (other than tax partnership agreements) that
will remain in effect following the Closing; (v) any Debt Contract; (vi) any Assigned Contract that
provides for a power of attorney with respect to the Assets that will not be terminated prior to the
Closing Date; (vii) any purchase and sale agreements pursuant to which Seller or its Affiliates
(directly or indirectly) acquired the Assets that contain indemnity obligations that will be binding
on Buyer following Closing; (viii) any Assigned Contract that includes non-competition
restrictions, non-solicitation or no-hire obligations binding on Buyer or the Assets after Closing or
any settlement agreements pursuant to which obligations remain in the amount of more than One
Million Dollars ($1,000,000.00) or that contain behavior commitments or restrictions that must
continue to be performed after Closing; (ix) any Assigned Contract with any Affiliate of Seller;
and (x) any Assigned Contract, the primary purpose of which is to provide indemnity rights or
indemnity obligations.

               (c)    Each Material Assigned Contract is valid and binding on Seller, and, to the
knowledge of Seller, each other party thereto, and is in full force and effect in accordance with its
terms, except for terminations or expirations at the end of the stated term. Further, except as
disclosed on Schedule 5.9(c), Seller has disclosed correct and complete copies of the Material
Assigned Contracts (including any and all amendments and supplements thereto and written
waivers thereof) to Buyer.

                5.10 Outstanding Capital Commitments; Non-Consent Operations. As of the
Execution Date, except as set forth on Schedule 5.10, there is no individual outstanding authority
for expenditure which is binding on the Assets, the value of which Seller reasonably anticipates
exceeds One Million Dollars ($1,000,000.00) chargeable to Seller’s interest participating in the
operation covered by such authority for expenditure after the Effective Time. Seller has not
declined to participate in any operation or activity proposed by a third party operator with respect
to the Assets that has resulted or could result in Seller’s interest in any Assets becoming subject to
a penalty or forfeiture as a result of such election not to participate in such operation or activity.

                5.11 Taxes. All Tax Returns required to be filed by any Seller Party with respect
to Asset Taxes have been timely filed and each such Tax Return is true, correct and complete in
all material respects. All Asset Taxes that are required to be paid by any Seller Party that are or
have become due and payable have been timely paid. No Tax audits or administrative or judicial
proceedings are being conducted, are presently pending or have been threatened in writing against


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any Seller Party, in each case, with respect to Asset Taxes. There are no Encumbrances on any of
the Assets attributable to Taxes other than statutory liens for Taxes that are not yet due and payable.
No Seller Party or any its Affiliates has received written notice of any pending claim with respect
to Asset Taxes, and there is no assessment, deficiency, or adjustment (in each case which remains
unresolved) that has been asserted in writing, proposed in writing or, to the Knowledge of each
Seller Party, threatened in writing with respect to such Asset Taxes. No Asset is subject to any tax
partnership agreement or provisions requiring a partnership income Tax Return to be filed under
subchapter K of the Code. With respect to any Seller Party that is acquired by Buyer pursuant to
Section 8.9(b), (a) all income and other material Tax Returns required to be filed by such Seller
Party have been timely filed and each such Tax Return is true, correct and complete in all material
respects; (b) all income and other material Taxes that are required to be paid by such Seller Party
that are or have become due and payable have been timely paid; (c) such Seller Party has withheld
and timely paid all material Taxes required to have been withheld and paid by it and all such
payments have been properly reported to Governmental Authorities in accordance with applicable
Law; (d) there is not in force any extension of time with respect to the due date for the filing of
any Tax Return of or with respect to such Seller Party (other than any extension entered into in the
ordinary course of business) or any waiver or agreement for any extension of time for the
assessment or payment of any Tax of or with respect to such Seller Party and no request for any
such extension or waiver is currently pending; (e) no Tax audits or administrative or judicial
proceedings are being conducted, are presently pending or have been threatened in writing against
such Seller Party; (f) such Seller Party has not received written notice of any pending claim with
respect to Taxes, and there is no assessment, deficiency, or adjustment (in each case which remains
unresolved) that has been asserted in writing, proposed in writing or, to the Knowledge of such
Seller Party, threatened in writing with respect to such Taxes, and (g) such Seller Party is, and at
all times since formation has been, properly treated as a partnership or disregarded entity for U.S.
federal and applicable state income Tax purposes. Notwithstanding any other provision in this
Agreement, the representations and warranties in this Section 5.11 are the only representations and
warranties of Seller in this Agreement with respect to Tax matters.

                 5.12 Cure Costs. Schedule 5.12, which shall be completed ten (10) Business
Days prior to the Bankruptcy Court hearing to approve the Sale Order, sets forth Seller’s good
faith estimate of Cure Costs with respect to all Assigned Contracts and Assigned Leases and
Interests, as of such date.

                5.13 Imbalances. To the Knowledge of Seller as of the Execution Date, Schedule
5.13 sets forth all Imbalances associated with the Assets as of the Effective Time.

                5.14 Insurance. To the Knowledge of Seller, (a) Schedule 5.14 sets forth a list
of all insurance policies maintained by or for the benefit (in each case, directly or indirectly) of
Seller or its Affiliates with respect to the Assets, (b) all premiums due on such insurance policies
have either been paid or, if not yet due, accrued, (c) all such insurance policies are in full force and
effect and enforceable in accordance with their terms and (d) Seller and its Affiliates are not in
default under, and has not otherwise failed to comply with, any material provision contained in
any such insurance policy.

               5.15 Surety Bonds and Credit Support. Schedule 5.15 sets forth a true and
complete list of all Surety Bonds and Seller Credit Obligations currently maintained, posted or


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otherwise provided by or on behalf of Seller or any of its Affiliates with respect to the Assets
(including with respect to the ownership, operation, development or use thereof) or the Assumed
Liabilities (collectively, the “Credit Support”). True and complete copies of all such Credit
Support have been made available to Buyer prior to the Execution Date.

                                 ARTICLE 6
                  REPRESENTATIONS AND WARRANTIES OF BUYER

               Buyer represents and warrants to Seller, as of the Execution Date and the Closing
Date, as follows:

                6.1    Organization and Good Standing. Buyer is a limited liability company, duly
organized, validly existing and in good standing under the laws of the State of Delaware. Buyer
has the requisite power and authority to own or lease and to operate and use its properties and to
carry on its business as now conducted. Buyer is duly qualified or licensed to do business in the
State(s) where the Assets are located.
                6.2     Authority; Validity; Consents. Buyer has the requisite power and authority
necessary to enter into and perform its obligations under this Agreement and the other Transaction
Documents to which it is a party and to consummate the transactions contemplated hereby and
thereby. The execution, delivery and performance of this Agreement by Buyer and the
consummation by Buyer of the transactions contemplated herein have been duly and validly
authorized by all requisite limited liability company or corporate actions in respect thereof. This
Agreement has been duly and validly executed and delivered by Buyer and each other Transaction
Document to which Buyer is a Party will be duly and validly executed and delivered by Buyer, as
applicable, at the Closing. This Agreement and the other Transaction Documents to which Buyer
is a party constitute the legal, valid and binding obligation of Buyer, enforceable against Buyer in
accordance with their respective terms, except in each case as such enforceability may be limited
by applicable bankruptcy, insolvency, reorganization, fraudulent conveyance, moratorium or other
similar Legal Requirements affecting the enforcement of creditors’ rights generally and by general
principles of equity, regardless of whether such principles are considered in a proceeding at law or
in equity. Buyer is not or will not be required to give any notice to, make any filing with, or obtain
any consent or approval from any Person in connection with the execution and delivery of this
Agreement and the other Transaction Documents to which it is a Party or the consummation or
performance of any of the transactions contemplated hereby or thereby, except for such notices,
filings, consents and approvals, the failure of which to provide, make or obtain, would not,
individually or in the aggregate, have a material adverse effect on Buyer’s ability to perform its
obligations under this Agreement or any other Transaction Documents or to consummate the
transactions contemplated hereby or thereby.
                 6.3     No Conflict. When the consents and other actions described in Section 6.2
have been obtained and taken, the execution and delivery of this Agreement and the other
Transaction Documents and the consummation of the transactions provided for herein and therein
will not result in the breach of any of the terms and provisions of, or constitute a default under, or
conflict with, or cause any acceleration of any obligation of Buyer under (a) any agreement,




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indenture or other instrument to which it is bound, (b) the description of organization documents
of Buyer, as applicable, (c) any Order or (d) any Legal Requirement.
                6.4     Availability of Funds. Pursuant to the Financing, Buyer has access to
sufficient cash in immediately available funds to pay the Purchase Price, all costs, fees and
expenses to be paid by Buyer that are necessary to consummate the transactions contemplated by
this Agreement and the other Transaction Documents, and assume the Assumed Liabilities.
Buyer’s ability to consummate the transaction contemplated hereby is not contingent upon its
ability to secure financing or to complete any public or private placement of securities prior to or
upon Closing.
               6.5    Litigation. There are no Proceedings or Orders pending or, to the
Knowledge of Buyer, threatened against Buyer, that seek to restrain or prohibit or otherwise
challenge the consummation, legality or validity of the transactions contemplated hereby or that
would, individually or in the aggregate, reasonably be expected to have a material adverse effect
on Buyer’s ability to perform its obligations under this Agreement or any other Transaction
Documents or to consummate the transactions contemplated hereby or thereby.
              6.6      Bankruptcy. There are no bankruptcy, reorganization or arrangement
proceedings pending, being contemplated by, or to the Knowledge of Buyer, threatened against
Buyer or any of its Affiliates.
               6.7     Brokers or Finders. Neither Buyer nor any Person acting on behalf of Buyer
has paid or become obligated to pay any fee or commission to any broker, finder, investment
banker, agent or intermediary for or on account of the transactions contemplated by this Agreement
for which Seller is or will become liable.
                6.8      Relationships. As of the Closing Date, those Persons listed on Schedule 6.8,
(a) have not directly contributed more than fifty percent (50%) of the capital of Buyer and (b) are
not entitled to directly participate in more than fifty percent (50%) of the profits of Buyer until the
other members of Buyer that contributed capital on the Closing Date have received aggregate
distributions from Buyer equal to the amount of capital contributed by such other members plus a
return.
                6.9     Knowledge and Experience. Buyer (a) is engaged in the business of
exploring for and producing Hydrocarbons as an ongoing business and (b) is purchasing the Assets
for its own account for investment purposes and not with the intent to resell the Assets in violation
of any federal or state securities laws. Buyer is an experienced and knowledgeable investor in oil
and gas properties, is knowledgeable with respect to the tax ramifications associated therewith and
herewith, has the financial and business expertise to fully evaluate the merits and risks of the
transaction covered by this Agreement and has relied solely upon the basis of its own independent
investigation of the Assets for all purposes (including the geologic and geophysical characteristics
of the Assets, the estimated Hydrocarbon reserves recoverable therefrom, and the price and
expense assumptions applicable thereto). In acquiring the Assets, Buyer is acting in the conduct
of its own business and not under any specific contractual commitment to any third party, or any
specific nominee agreement with any third party, to transfer to, or to hold title on behalf of, such
third party, with respect to all or any part of the Assets. Buyer acknowledges that it has had the
opportunity to seek the advice of persons it deemed appropriate concerning the consequences of




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the provisions of this Agreement and hereby waives any and all rights to claim that it is an
unsophisticated investor in oil and gas properties.
                6.10 Qualification to Own the Assets. At Closing, Buyer is qualified to own the
Assets in all jurisdictions where the Assets are located, and the consummation of the transactions
contemplated by this Agreement will not cause Buyer to be disqualified as such an owner. To the
extent required by the applicable state, tribal and federal Governmental Authorities, Buyer
currently has, and will continue to maintain, lease bonds, area-wide bonds or any other surety
bonds or insurance policies as may be required by, and in accordance with, any Governmental
Authorities with jurisdiction over the ownership of such Assets or any operating agreement. Buyer
acknowledges that (i) Seller is not the operator of the Assets, and (ii) Seller is not transferring, and
shall not be required to transfer, operatorship of any of the Assets to Buyer pursuant to this
Agreement.
                                          ARTICLE 7
                                 Actions Prior to the Closing Date

               7.1     Operations Prior to the Closing Date. Seller covenants and agrees that, after
the Execution Date and prior to the Closing Date, except (w) as expressly contemplated by this
Agreement, (x) with the prior written consent of Buyer (which consent shall not be unreasonably
withheld, conditioned or delayed), (y) as otherwise required by Legal Requirements and (z) as
required by Order of the Bankruptcy Court or restrictions or limitations under the Bankruptcy Code
on chapter 11 debtors:
               (a)     Seller shall:

                               (i)     use commercially reasonable efforts, taking into account
Seller’s status as debtor in possession, to maintain the Assets or cause such Assets to be operated
as a reasonably prudent operator in the ordinary course of business;

                             (ii)   maintain books, accounts and records relating to the Assets
in accordance with past custom and practice;

                             (iii) maintain (A) insurance coverage on the Assets in the
amounts and types described in Schedule 5.14, and (B) all Permits; and

                               (iv)    subject to Section Error! Reference source not found.,
maintain all Credit Support.

               (b)     Seller shall not:

                              (i)    abandon any Asset (except any abandonment of Leases to
the extent any such Leases terminate pursuant to their terms);

                              (ii)   commence, propose, or agree to participate in any single
operation with respect to the Wells or Assigned Leases and Interests with an anticipated cost in
excess of One Million Dollars ($1,000,000) net to the interest of Seller, except for emergency
operations taken in the face of risk to life, injury, property or the environment, operations



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scheduled under applicable authorities for expenditures, or operations required by any
Governmental Authority (including with respect to Decommissioning Obligations);

                            (iii) terminate, cancel, or materially amend or modify any
Assigned Contract or Assigned Lease and Interest;

                             (iv)   sell, lease, encumber, or otherwise dispose of all or any
portion of any Assets, except sales of Hydrocarbons in the ordinary course of business, or as
otherwise contemplated in this Agreement;

                              (v)    enter into any contract or agreement that if entered into on
or prior to the Execution Date, would be required to be listed on Schedule 5.9;

                               (vi)    settle or compromise any material suit or litigation or waive
any material claims;

                              (vii) terminate, cancel, or materially amend or modify any license
or agreement relating to seismic, geological, geochemical or geophysical data;

                               (viii) (A) other than in accordance with the agreed budget attached
to the Cash Collateral Order or the Restructuring Support Agreement, declare, set aside or pay any
dividends on, or make any other distributions (whether in cash, stock or property or any
combination thereof) in respect of any equity interests, debt securities or other instruments (or
options, warrants or other rights to acquire equity interests, debt securities or other instruments) of
any Seller Party or any RBL Facility Claim or Term Loan Claim, (B) purchase, redeem or
otherwise acquire, or offer to purchase, redeem or otherwise acquire, any equity interests, debt
securities or other instruments (or options, warrants or other rights to acquire equity interests, debt
securities or other instruments) of any Seller Party, or (C) make a prepayment under any debt
securities or other instruments to which any Seller Party is a party or subject; or

                               (ix)    enter into any agreement or commitment to take any action
prohibited by this Section 7.1(b).

               7.2     Reasonable Best Efforts.
                 (a)    Seller, on the one hand, and Buyer, on the other hand, shall use reasonable
best efforts to take, or cause to be taken, all actions, and to do, or cause to be done, and to assist
and cooperate with the other in doing, all things necessary, proper or advisable to consummate and
make effective, in the most expeditious manner practicable, the transactions contemplated hereby,
including using reasonable best efforts to accomplish the following: (i) the taking of all reasonable
acts necessary to cause the conditions precedent set forth in Article 9 and Article 10 to be satisfied,
(ii) the obtaining, at the earliest practicable date, of all necessary Governmental Authorizations
and the making of all necessary registrations, declarations and filings (including registrations,
declarations and filings with Governmental Authorities, if any) and the taking of all reasonable
steps as may be necessary to avoid any Proceeding by any Governmental Authority, and (iii) the
execution or delivery of any additional instruments necessary to consummate the transactions
contemplated hereby and to fully carry out the purposes of this Agreement. Buyer shall, as soon
as reasonably practicable after the Closing Date, deliver to the applicable operator of each Property


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a copy of the recorded Assignment(s) evidencing the conveyance of Seller’s interest in such
Property to Buyer, as well as any other documentation reasonably requested by such operator to
evidence such conveyance.

                  (b)    Seller, on the one hand, and Buyer, on the other hand, (i) shall promptly
inform each other of any communication from any Governmental Authority concerning this
Agreement, the transactions contemplated hereby, and any filing, notification or request for
approval and (ii) shall permit the other to review in advance any proposed written or material oral
communication or information submitted to any such Governmental Authority in response thereto.
In addition, neither of the Parties shall agree to participate in any meeting with any Governmental
Authority in respect of any filings, investigation or other inquiry with respect to this Agreement
or the transactions contemplated hereby, unless such Party consults with the other Party in advance
and, to the extent permitted by any such Governmental Authority, gives the other Party the
opportunity to attend and participate thereat, in each case to the maximum extent practicable.
Subject to any restrictions under applicable Legal Requirements, each of Buyer, on the one hand,
and Seller, on the other hand, shall furnish the other with copies of all correspondence, filings and
communications (and memoranda setting forth the substance thereof) between it and its Affiliates
and its respective Representatives on the one hand, and the Governmental Authority or members
of its staff on the other hand, with respect to this Agreement, the transactions contemplated hereby
(excluding documents and communications which are subject to preexisting non-disclosure
agreements or to the attorney-client privilege or work product doctrine) or any such filing,
notification or request for approval. Each Party shall also furnish the other Party with such
necessary information and assistance as such other Party and its Affiliates may reasonably request
in connection with their preparation of necessary filings, registration or submissions of information
to the Governmental Authority in connection with this Agreement, the transactions contemplated
hereby and any such filing, notification or request for approval.

                (c)    Subject to the terms and conditions of this Agreement, Buyer shall take any
and all steps necessary to avoid or eliminate any impediments under any applicable antitrust,
competition or trade regulation laws that may be asserted by any Governmental Authority with
respect to the transactions contemplated hereby so as to enable the Closing to occur as soon as
reasonably possible, including proposing, negotiating, committing to and effecting, by consent
decree or otherwise, the sale, divestiture or disposition of such assets or businesses of Buyer or
any of its Subsidiaries as may be required in order to avoid the entry, or to effect the dissolution,
of any injunction, temporary restraining order or other order in any suit or proceeding, which
would otherwise have the effect of preventing, delaying or restricting the consummation of the
transactions contemplated in this Agreement.

               7.3     Bankruptcy Court Approval.
               (a)     Seller and Buyer acknowledge that this Agreement and the sale of the
Assets and the assumption and assignment of the Assigned Contracts and Assigned Leases and
Interests are subject to Bankruptcy Court approval. Seller and Buyer acknowledge that (i) to
obtain such approval, Seller must demonstrate that it has taken reasonable steps to obtain the
highest and otherwise best offer possible for the Assets, and that such demonstration shall include
giving notice of the transaction contemplated by this Agreement to creditors and other interested
parties as ordered by the Bankruptcy Court, and (ii) Buyer must provide adequate assurance of



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future performance as required under the Bankruptcy Code with respect to each Assigned Contract
and Assigned Lease and Interest.

                (b)     As soon as reasonably practicable following the date of this Agreement and
the commencement of the Bankruptcy Cases, Seller shall, subject to the Restructuring Support
Agreement, seek entry of the Sale Order by the Bankruptcy Court in accordance with the terms
and conditions of this Agreement and the Restructuring Support Agreement. Seller shall file such
motions or pleadings as may be appropriate or necessary to assume and assign the Assigned
Contracts and to determine the amount of the Cure Costs. Seller agrees that all pleadings and other
materials relating to this Agreement, the transactions contemplated hereunder, the Assets, Buyer
or its Affiliates, the Sale Order or the Plan shall be provided to Buyer no later than three (3)
Business Days prior to filing or otherwise as soon as reasonably practicable prior to being filed
with the Bankruptcy Court and shall be reasonably acceptable to Buyer to the extent provided in
the Restructuring Support Agreement.

                 (c)      Subject to Section 13.03(c) of the Restructuring Support Agreement, from
and after the Execution Date and prior to the Closing or the termination of this Agreement in
accordance with Section 11.1, Seller shall not take any action which is intended to (or is reasonably
likely to), or fail to take any action the intent (or the reasonably likely result) of which failure to
act is to, result in the termination, reversal, voiding, modification or staying of the Restructuring
Support Agreement, the Sale Order or this Agreement. In the event an appeal is taken from (or if
any petition for certiorari or motion for reconsideration, amendment, clarification, modification,
vacatur, stay, rehearing or reargument shall be filed with respect to) the Sale Order, Seller shall
(i) promptly notify Buyer of such appeal, petition or motion, and promptly provide Buyer with a
copy of the related notice thereof, and with written notice of any motion or application filed in
connection with any of the foregoing and (ii) use commercially reasonable efforts to defend such
appeal, petition or motion. Seller shall waive its rights to appeal (or file any petition for certiorari
or motion for reconsideration, amendment, clarification, modification, vacatur, stay, rehearing or
reargument) with respect to the Sale Order, and such waiver shall be explicitly set forth in the Sale
Order.

               7.4     Updates and Amendments of Exhibits.
                (a)   Until Closing and subject to Section 7.1, Seller shall have the right to
amend, modify and/or supplement Exhibit A and Exhibit C, in each case, as applicable, in order
to reflect any new Contracts or Leases taken by Seller.

                (b)    Prior to Closing, Seller has the right to supplement, correct or amend its
Schedules relating to the representations and warranties set forth in Article 5 with respect to any
matters first occurring subsequent to the Execution Date (“Seller’s Supplemented Schedules”);
provided that any disclosure in a Seller’s Supplemented Schedule shall not be deemed to have been
included in Seller’s representations and warranties for any purpose under this Agreement.
Notwithstanding the foregoing, in the event that Closing occurs, then such Seller’s Supplemented
Schedules shall be deemed to have been included in Seller’s representations and warranties for all
purposes of this Agreement and Buyer shall be deemed to have waived the matters relating to such
schedules in regard to Buyer’s obligation to close this transaction pursuant to Section 11.1(b)(i).




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                7.5    Commitment Letters. Prior to the execution of this Agreement, Buyer has
delivered to Seller true and complete, fully-executed copies of the equity commitment letters by
and between Buyer and Lime Rock and including all exhibits, schedules, annexes and amendments
to such agreements in effect as of such date of delivery (the “Commitment Letters”), pursuant to
which and subject to the terms and conditions thereof each of the parties thereto (other than Buyer),
has severally agreed and committed to provide to Buyer the equity financing set forth therein
(“Financing”). As of the Closing Date, the Commitment Letters shall have not been amended,
restated or otherwise modified or waived subsequent to the date of delivery to Seller and the
respective commitments contained in the Commitment Letters shall have not been withdrawn,
modified or rescinded in any respect. There shall be no conditions precedent to the funding of the
full amount of the Financing, other than as expressly set forth in the Commitment Letters. There
shall be no other agreements, side letters or arrangements that would permit the parties to the
Commitment Letters to reduce the amount of the Financing or that would otherwise affect the
availability of the Financing. The Commitment Letters provide Buyer with binding financial
commitments that, when funded at Closing, will provide it with sufficient funds to pay the
Purchase Price and to pay any other amounts required to be paid by it in connection with the
consummation of the transactions contemplated by this Agreement. On or before the Closing
Date, Buyer shall use commercially reasonable efforts to take, or cause to be taken, all actions and
to do, or cause to be done, all things necessary, proper or advisable to consummate and obtain the
Financing on the terms and conditions described in the Commitment Letter. Buyer acknowledges
and agrees that the consummation of, and receipt of proceeds from, any Financing is not a
condition to Buyer’s obligations hereunder.
                7.6     BOEM Qualifications. Prior to Closing, and only to the extent that any such
qualification is required by applicable laws to own the Assets, Buyer shall (i) become qualified
with the BOEM to hold oil and gas leases, rights-of-way, and rights-of-use and easements on the
U.S. Outer Continental Shelf under 30 CFR 550 and 30 CFR 556.35 and to meet any other
requirements under Legal Requirement to receive and hold such assets and properties, (ii) become
qualified with each applicable Governmental Authority to hold all state oil and gas leases, state
rights-of-way and state right-of-use easements included in the Assets, and (iii) provide Seller
evidence of such qualification, including copies of all filings and correspondence submitted to or
received from the BOEM, BSEE (in either case, if any) and such other Governmental Authorities
to obtain such registration and qualification, including all applicable BOEM approval letters and
issuance of Company Number for Buyer.
               7.7     Credit Support.
               (a)      Buyer acknowledges that none of the bonds, letters of credit and guarantees
posted by Seller or its Affiliates with Governmental Authorities relating to the Assets (collectively,
the “Surety Bonds”) or Seller Credit Obligations will be transferred to Buyer. Without limiting
the provisions of Section 8.4(a), Buyer further acknowledges that Seller has no duty to maintain
any bonds, letters of credit, guarantees, cash deposits and insurance to secure performance or
payment under any Assigned Contracts or Assigned Leases and Interests (collectively, “Seller
Credit Obligations”) after the Closing.

               (b)     As of the Execution Date, Buyer has provided Seller (i) subject to
Section 7.7(b)(ii), evidence of binding commitments to obtain bonds, letters of credit and
guarantees necessary to substitute or otherwise effectively replace the Surety Bonds and


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substantially all of the Seller Credit Obligations as required pursuant to Section 7.7(c) and
applicable law, to be effective as of Closing, except for those Surety Bonds or Seller Credit
Obligations that cannot be obtained until BOEM approves assignment of the Assets (to the extent
any such approval is necessary), as further provided in Section 7.7(c), and (ii) evidence in the form
of surety bond riders that substitute Buyer, or an Affiliate of Buyer, as named principal, with
respect to those certain Seller Credit Obligations for which the obligee(s) (and, if applicable, co-
obligee(s)) applicable thereto must consent in writing to such substitution of the named principal
under such Seller Credit Obligation, which are set forth and described on Schedule 7.7(b)
(collectively, the “Specified Seller Credit Obligations”).

                (c)     In addition, on or before the Closing Date, or, with respect to those Surety
Bonds that cannot be obtained until the assignment of the Assets has been approved by the BOEM
(to the extent any such approval is necessary) or the Specified Seller Credit Obligations, as soon
after the Closing Date as possible, Buyer shall (i) use commercially reasonable efforts to obtain,
or cause to be obtained in the name of Buyer and effective as of the Closing Date, replacements
for such Surety Bonds (in each case, as may be required by applicable laws) and replacements (or
an equivalent thereto) for such Specified Seller Credit Obligations and take any other actions
required by any Governmental Authority or reasonably requested by any other third party to the
extent such replacements or actions are necessary (A) for Buyer’s ownership of the Assets and (B)
to permit the cancellation of the Surety Bonds and, if applicable, substitution of Buyer, or an
Affiliate of Buyer, as named principal therein, with respect to the Specified Seller Credit
Obligations posted by Seller and/or its Affiliates with respect to the Assets; (ii) reasonably
cooperate with Seller in Seller’s efforts to cause Seller’s obligations arising under all Credit
Support (other than the Specified Seller Credit Obligations) posted by Seller and/or its Affiliates
with respect to the Assets to be cancelled on or before the Closing; and (iii) satisfy any
requirements and obligations of any Governmental Authority or pursuant to contracts with respect
to any Decommissioning Obligations related to any of the Assets. In addition, at or prior to
Closing, or, with respect to those Surety Bonds that cannot be obtained until the assignment of the
Assets has been approved by the BOEM (to the extent any such approval is necessary), as soon
after the Closing Date as possible, Buyer shall deliver to Seller evidence of the posting of bonds
or other security with all applicable Governmental Authorities meeting the requirements of such
authorities to own the Assets. If any Seller Credit Obligation (including any Specified Seller Credit
Obligation) remains outstanding as of the Closing Date, Buyer shall indemnify each member of
the Seller Group and hold them harmless against any Liabilities that the Seller Group may incur
under any such Seller Credit Obligations (including any Specified Seller Credit Obligation) to the
extent attributable to the period from and after the Effective Time and not attributable to any acts
or omissions of any member of the Seller Group that are inconsistent with any Seller Party’s
obligations under this Agreement.

               7.8      Access to the Properties.
               (a)      Buyer or its Affiliates may propose to visit or access the Assets or the
premises of Seller for the purpose of transition planning and coordination, or production operations
review after the Execution Date and prior to Closing. Buyer shall provide to Seller at least forty-
eight hours written notice prior to the date of the visit, setting forth the purpose for the visit, the
proposed visitation date(s), the names of Buyer’s personnel who will be visiting, and a designated
Buyer’s Representative, with Buyer supervisory responsibility for the visit, with accompanying
contact information including name, title, electronic mail address, and office and cell phone


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number. Buyer’s notice may be submitted by electronic mail but must be followed up with a
confirming phone call to Seller’s contact representative. Seller will provide, or will cause Arena
Offshore, LP to provide, Buyer, and its representatives, with access to the Assets which Arena
Offshore, LP operates subject to the prior execution by such parties of Seller’s and Arena Offshore,
LP’s standard access or boarding agreement and shall use commercially reasonable efforts to
arrange for Buyer’s, and its agent’s, access to the Assets not operated by Arena Offshore LP.

                 (b)    Buyer’s or its Representative’s access must be conducted in such a manner
as not to interfere with the operation of the Assets. Buyer shall abide by Seller’s, Arena Offshore,
LP’s, and any third party operator’s safety rules, regulations, search and seizure policies, and
operating policies during Buyer or its Representative’s access, and any Buyer or its
Representatives’ access must at Buyer’s sole cost and expense. Buyer’s review of the Assets shall
not include any operation of equipment, sampling, testing, monitoring or any invasive
environmental review or investigation commonly referred to as a Phase II without the prior written
consent of Seller, which consent may be withheld by Seller in its sole discretion.

                (c)     Buyer, on behalf of itself and the Buyer’s Representatives, hereby releases
and agrees to indemnify, defend and hold harmless Seller Group, Arena Offshore, LP and the other
owners of interests in the Assets from and against any and all Liabilities, losses, costs and expenses
(including court costs, expert fees and reasonable attorneys’ and engineers’ fees) arising out of or
relating to any and all access to the Assets and the Records (and other related information) by
Buyer and its Representatives, and any related activities by Buyer or its Representatives, EVEN
IF CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE (WHETHER SOLE,
JOINT OR CONCURRENT), STRICT LIABILITY OR OTHER LEGAL FAULT OF ANY
INDEMNIFIED PERSON EXCLUDING, HOWEVER, ANY CLAIMS, LIABILITIES,
LOSSES, COSTS OR EXPENSES CAUSED BY THE GROSS NEGLIGENCE OR
WILLFUL MISCONDUCT OF ANY INDEMNIFIED PERSON.

                (d)    Any Seller, in its sole discretion, has the right to suspend or terminate any
Buyer or Buyer’s Representatives access at any time for any violation of this Section 7.8 or any
action or omission by Buyer personnel that such Seller determines, in its sole discretion, may create
a risk of harm, damage or Liability of any type.

               7.9      Employee Matters. With respect to employee matters, the Parties agree to
the provisions set forth in Exhibit G.
                                         ARTICLE 8
                                ADDITIONAL AGREEMENTS

               8.1     Taxes.
                 (a)    Any transfer, documentary, sales, use, stamp, registration and other similar
Taxes, and all conveyance fees, recording charges and other fees and charges (including any
penalties and interest) incurred in connection with the transfer of the Assets to Buyer pursuant to
this Agreement and not exempted under the Sale Order, by Section 1146(a) of the Bankruptcy
Code or applicable state or municipal law (“Transfer Taxes”) shall be borne by Buyer. Buyer will,
at its own expense, file all necessary Tax Returns and other documentation with respect to all
Transfer Taxes, and, if required by applicable law, the Parties will, and will cause their Affiliates
to, join in the execution of any such Tax Returns and other documentation. Seller and Buyer will


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cooperate in good faith to minimize, to the extent permissible under applicable law, the amount of
any such Transfer Taxes.

                (b)     Buyer and Seller agree to furnish or cause to be furnished to each other,
upon request, as promptly as practicable, such information and assistance relating to the Assets
(including access to books and records and Tax Returns and related working papers dated before
Closing) as is reasonably necessary for the filing of all Tax Returns, the making of any election
relating to Taxes, the preparation for any audit by any taxing authority, the prosecution or defense
of any claims, suit or proceeding relating to any Tax; provided, however, that neither Buyer nor
Seller shall be required to disclose the contents of its income Tax Returns to any Person. Any
expenses incurred in furnishing such information or assistance pursuant to this Section 8.1(b) shall
be borne by the Party requesting it.

                8.2      Allocation of Purchase Price. Buyer and Seller shall use commercially
reasonable efforts to agree to an allocation of the Purchase Price (but including Assumed
Liabilities only to the extent such liabilities are required to be included for federal income Tax
purposes and the fair market value of the Contingent Consideration (as of the Closing Date)) to
the extent necessary to allocate the Purchase Price (but including Assumed Liabilities only to the
extent such liabilities are required to be included for federal income Tax purposes) among the asset
classes listed on Internal Revenue Service Form 8594, which shall be in accordance with Code
§1060 and the regulations thereunder (and any similar provision of state, local, or non-U.S. law,
as appropriate) by the date that is sixty (60) days after the Closing Date (the “Tax Allocation”). If
Seller and Buyer reach an agreement with respect to the Tax Allocation pursuant to the foregoing
sentence, Seller and Buyer each agree to report, and to cause their respective Affiliates to report,
the federal, state, and local income and other Tax consequences of the transactions contemplated
herein, and in particular to report the information required by Code §1060(b), and to jointly prepare
Internal Revenue Service Form 8594 (Asset Acquisition Statement under Code §1060) in a manner
consistent with the Tax Allocation, as may be revised to take into account subsequent adjustments
to the Purchase Price, including any adjustments pursuant to the Agreement to determine the
Purchase Price, and shall not take any position for U.S. federal, state or local income tax purposes
inconsistent therewith upon examination of any Tax return, in any refund claim, in any tax
litigation, investigation or otherwise, unless required to do so by a “determination” (as defined in
Code §1313(a)(1)), or with such other Party’s prior consent; provided, however, that nothing
contained herein shall prevent Buyer or Seller from settling any proposed deficiency or adjustment
by any Governmental Authority based upon or arising out of the Tax Allocation, and neither Buyer
nor Seller shall be required to litigate before any court any proposed deficiency or adjustment by
any Governmental Authority challenging the Tax Allocation. If Seller and Buyer do not reach an
agreement with respect to the Tax Allocation under this Section 8.2, Seller and Buyer shall be free
to file their own asset allocation statements and shall not be subject to the reporting requirements
of this Section 8.2. Notwithstanding any other provision of this Agreement, the terms and
provisions of this Section 8.2 shall survive the Closing without limitation.
                8.3    Bulk Sales. Buyer and Seller hereby waive compliance with all “bulk
sales,” “bulk transfer” and similar laws that may otherwise be applicable with respect to the sale
and transfer of any or all of the Assets to Buyer.
              8.4    Assigned Contracts and Assigned Leases and Interests; Adequate
Assurance and Performance.


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               (a)     With respect to each Assigned Contract and Assigned Lease and Interest,
Buyer shall provide adequate assurance as required under the Bankruptcy Code of the future
performance by Buyer of each such Assigned Contract or Assigned Lease and Interest. Buyer and
Seller agree that they will promptly take all actions reasonably required to assist in obtaining a
Bankruptcy Court finding that there has been an adequate demonstration of adequate assurance of
future performance under the Assigned Contracts and the Assigned Leases and Interests, such as
furnishing timely requested and factually accurate affidavits and other documents or information
for filing with the Bankruptcy Court and making Buyer’s and Seller’s employees and
Representatives available to testify before the Bankruptcy Court. Notwithstanding the foregoing,
Seller shall have no obligation under this Agreement (including, for the avoidance of doubt,
pursuant to Section 7.2 or this Section 8.4(a)) to provide any assistance with respect to the
preparation of any financial information.

                (b)   From and after Closing, Buyer shall pay, perform or satisfy the Assumed
Liabilities from time to time and as such Assumed Liabilities become due and payable or are
required to be performed or satisfied in accordance with their respective terms.

                8.5     Post-Closing Books and Records and Personnel. For three (3) years after
the Closing Date (or such longer period as may be required by any Governmental Authority or
ongoing claim), (a) Buyer shall not dispose of or destroy any of the Records received by Buyer as
Assets and (b) Buyer shall allow Seller (including, for clarity, any trust established under the Plan
or any other successors of Seller) and any of its directors, officers, employees, counsel,
representatives, accountants and auditors reasonable access during normal business hours, at
Seller’s sole expense and upon reasonable advance notice, to all employees and files of Buyer and
its respective Subsidiaries and any Records included in the Assets for purposes relating to the
Bankruptcy Case, the wind-down of the operations of Seller, the functions of any such trusts or
successors, or other reasonable business purposes, and Seller (including any such trust or
successors) and such directors, officers, employees, counsel, representatives, accountants and
auditors shall have the right to make copies of any such files, books, records and other materials.
Until the closing of the Bankruptcy Case or the liquidation and winding up of Seller’s estate, Seller
shall preserve and keep the Records and, at Buyer’s sole expense, shall make such Records,
records, and Seller’s personnel available to Buyer as may be reasonably required by Buyer in
connection with, among other things, any insurance claims by, Proceedings, Actions or Tax audits
against, or governmental investigations of, Buyer or any of its Affiliates or in order to enable Buyer
to comply with its obligations under this Agreement and each other Transaction Document. In the
event any Party desires to destroy any such Records during or after the time during which they
must be maintained pursuant to this Section 8.5, such Party shall first give ninety (90) days prior
written notice to the other Party and such other Party shall have the right at their option and
expense, upon prior written notice given within such ninety (90) day period to the Party desiring
to destroy such Records or records, to take possession of the Records within one hundred and
eighty (180) days after the date of such notice, or such shorter period as the liquidation and winding
up of Seller’s estate shall permit.
               8.6     No Other Representations or Warranties; Disclaimers; NORM.
               (a)     Notwithstanding anything to the contrary contained in this Agreement,
except as and to the extent expressly set forth in this Agreement, the certificate delivered by Seller
pursuant to Section 4.4(c), the Assignments, and in the Transaction Documents, Seller makes no


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representations or warranties whatsoever, and disclaims all liability and responsibility for any
representation, warranty, statement or information made or communicated (orally or in writing) to
Buyer (including any opinion, information, or advice that may have been provided to Buyer by
any respective Affiliate or Representative of Seller or by any investment bank or investment
banking firm, any petroleum engineer or engineering firm, Seller’s counsel, or any other agent,
consultant, or Representative of Seller). Except as and to the extent expressly set forth in this
Agreement, the certificate delivered by Seller pursuant to Section 4.4(c), the Assignments, and in
the Transaction Documents, Seller further makes no representation, covenant or warranty, express
or implied, as to the accuracy or completeness of any files, records or data heretofore or hereafter
furnished in connection with the Assets, or as to the quality or quantity of Hydrocarbon reserves
(if any) attributable to the Assets, or the ability of the Assets to produce Hydrocarbons. Any and
all such files, records and data furnished by Seller is provided as a convenience, and any reliance
on or use of the same shall be at Buyer’s sole risk. Without limiting the generality of the foregoing,
except as and to the extent expressly set forth in Article 5, the certificate delivered by Seller
pursuant to Section 4.4(c), the Assignments, and the Transaction Documents, Seller expressly
disclaims and negates any representation or warranty, express, implied, at common law, by statute,
or otherwise, relating to (a) the title to any of the Assets, (b) the condition of the Assets (including
any implied or express warranty of merchantability, fitness for a particular purpose, or conformity
to models or samples of materials), it being distinctly understood that the Assets are being sold
“As Is,” “Where Is,” and “With All Faults As To All Matters,” (c) freedom from hidden or
redhibitory defects or vices (d) any infringement by Seller of any patent or proprietary right of any
third party, (e) any information, data, or other materials (written or oral) furnished to Buyer by or
on behalf of Seller (including without limitation, in respect of any seismic data, the existence or
extent of Hydrocarbons or the mineral reserves, the recoverability of such reserves, any product
pricing assumptions, and the ability to sell Hydrocarbon production after the Closing), and (f) the
environmental condition and other condition of the Assets and any potential liability arising from
or related to the Assets.

                (b)     Waiver of consumer and other rights: Buyer waives its rights under the
Texas Deceptive Trade Practices-Consumer Protection Act, specifically including section 17.41 et
seq., Vernon’s Texas Code Annotated, Business and Commerce, a law that gives consumers
special rights and protections, or any similar state or federal law. After an opportunity to consult
with an attorney of its own selection, Buyer acknowledges that the disclaimers and waivers given
in and under this Agreement shall be considered material and integral parts of this Agreement,
with consideration given therefor, and acknowledges that all disclaimers and waivers are
“conspicuous” and, have been brought to the attention of Buyer, and that Buyer has voluntarily
and knowingly consented to all disclaimers and waivers.

                (c)    Buyer acknowledges and affirms that it has made its own independent
investigation, analysis, and evaluation of the transactions contemplated hereby and the Assets
(including Buyer’s own estimate and appraisal of the extent and value of Seller’s Hydrocarbon
reserves attributable to the Assets and an independent assessment and appraisal of the
environmental risks associated with the acquisition of the Assets). Buyer acknowledges that in
entering into this Agreement, it has relied on the aforementioned investigation and the terms and
conditions of this Agreement. Buyer hereby irrevocably covenants to refrain from, directly or
indirectly, asserting any claim, or commencing, instituting, or causing to be commenced, any



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Proceeding of any kind against Seller or its Affiliates or Subsidiaries, alleging facts contrary to the
foregoing acknowledgment and affirmation.

             (d)   BUYER ACKNOWLEDGES THAT THE ASSETS HAVE BEEN USED FOR
EXPLORATION, DEVELOPMENT AND PRODUCTION OF OIL, GAS AND WATER AND THAT THERE
MAY BE PETROLEUM, PRODUCED WATER, WASTES OR OTHER HAZARDOUS MATERIALS LOCATED
ON, UNDER OR ASSOCIATED WITH THE ASSETS AND THE ASSETS MAY ALSO CONTAIN PREVIOUSLY
PLUGGED AND ABANDONED WELLS, BURIED PIPELINES, STORAGE TANKS, AND OTHER
EQUIPMENT, WHETHER OR NOT OF A SIMILAR NATURE, THE LOCATIONS OF WHICH MAY NOT BE
KNOWN BY SELLER OR BE READILY APPARENT BY A PHYSICAL INSPECTION OF THE ASSETS.
EQUIPMENT AND SITES INCLUDED IN THE ASSETS MAY CONTAIN NORM. NORM MAY AFFIX OR
ATTACH ITSELF TO THE INSIDE OF WELLS, MATERIALS AND EQUIPMENT AS SCALE, OR IN OTHER
FORMS; THE WELLS, MATERIALS AND EQUIPMENT LOCATED ON OR INCLUDED IN THE ASSETS
MAY CONTAIN NORM AND OTHER WASTES OR HAZARDOUS MATERIALS; AND NORM
CONTAINING MATERIAL AND OTHER WASTES OR HAZARDOUS MATERIALS MAY HAVE BEEN
BURIED, COME IN CONTACT WITH THE SOIL OR OTHERWISE BEEN DISPOSED OF ON OR AROUND
THE ASSETS. SPECIAL PROCEDURES MAY BE REQUIRED FOR THE REMEDIATION, REMOVAL,
TRANSPORTATION OR DISPOSAL OF WASTES, ASBESTOS, HAZARDOUS MATERIALS, INCLUDING
HYDROGEN SULFIDE GAS AND NORM FROM THE ASSETS. FROM AND AFTER THE CLOSING,
BUYER SHALL ASSUME RESPONSIBILITY FOR THE CONTROL, STORAGE, HANDLING,
TRANSPORTING AND DISPOSING OF OR DISCHARGE OF ALL MATERIALS, SUBSTANCES AND
WASTES FROM THE ASSETS (INCLUDING PRODUCED WATER, HYDROGEN SULFIDE GAS, DRILLING
FLUIDS, NORM, HAZARDOUS MATERIALS AND OTHER WASTES) IN A SAFE AND PRUDENT
MANNER AND IN ACCORDANCE WITH ALL APPLICABLE ENVIRONMENTAL LAWS.

                8.7     Casualty.
                 (a)    If, after the Execution Date and prior to the Closing, (i) a part of the Assets
or (ii) a part of any assets owned, Controlled, maintained or otherwise operated by third parties
which are covered by Seller’s or its Affiliates’ insurance policies, in each case, suffers a Casualty
Loss or is taken in condemnation or under the right of eminent domain or if proceedings for such
purposes are pending or threatened, Seller shall promptly give Buyer written notice of such
occurrence, including reasonable particulars with respect thereto, and, subject to Section
11.1(b)(vi), this Agreement shall remain in full force and effect notwithstanding any such Casualty
Loss.

                 (b)       With regard to a Casualty Loss occurring after the Execution Date through
the Closing, without limitation of Section 11.1(b)(vi), at Closing, Seller shall pay (or cause to be
paid) to Buyer all sums paid to Seller or its Affiliates by third parties by reason of such Casualty
Loss. In addition, Seller shall seek to recover, and transfer (or cause to be transferred) to Buyer,
at the Closing, all of the right, title and interest of Seller and its Affiliates’ in and to any insurance
claims, unpaid awards or other proceeds and any other rights against third parties arising out of
such Casualty Loss, including any such rights under insurance policies owned or maintained
(directly or indirectly) by third parties on behalf of Seller or its Affiliates covering the Assets or
any assets owned, Controlled, maintained or otherwise operated by third parties which are covered
by Seller’s or its Affiliates’ insurance policies; provided, however, that Seller shall reserve and
retain all rights, title and interests and claims against third parties for the recovery of Seller’s costs



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and expenses incurred prior to the Closing in pursuing or asserting any such insurance claims with
respect to any such Casualty Loss.

                (c)     Notwithstanding anything to the contrary in this Agreement and subject to
Section 11.1(b)(vi), (i) at the Closing, the Assets affected by a Casualty Loss or condemnation
shall be included in the Closing and Buyer shall pay the full Allocated Value therefor, subject to
any applicable adjustments under this Agreement, and (ii) Buyer’s recourse with respect to a
Casualty Loss shall be limited to the proceeds of Seller’s or its Affiliates’ applicable insurance
coverage or any other insurance policies owned or maintained (directly or indirectly) by third
parties on behalf of Seller or its Affiliates covering the Assets in respect thereof or other sums paid
to Seller or its Affiliates by third parties (or an assignment of claims related thereto), which
proceeds or other sums shall be payable to Buyer only upon or after the Closing of the transaction
contemplated hereby, and subject to Seller’s retention of its recovery as contemplated by the last
sentence of Section 8.7(b). Seller shall have no other liability or responsibility to Buyer with
respect to a Casualty Loss, EVEN IF SUCH CASUALTY LOSS SHALL HAVE RESULTED FROM OR
SHALL HAVE ARISEN OUT OF THE SOLE OR CONCURRENT NEGLIGENCE, FAULT, OR VIOLATION OF
A LEGAL REQUIREMENT, EXCEPT TO THE EXTENT CAUSED BY THE GROSS NEGLIGENCE OR
WILLFUL MISCONDUCT OF SELLER OR ANY MEMBER OF SELLER GROUP.

                  8.8     Environmental Liabilities. Buyer hereby releases, indemnifies, defends and
holds harmless Seller from and against any and all liabilities (including any personal injury, death
or loss or damage of property) to the extent arising out of, resulting from or relating to any office
visit, field visit, environmental property assessment or other due diligence activity conducted by
Buyer or Buyer’s environmental consultant with respect to the Assets, EVEN IF SUCH
LIABILITIES ARISE OUT OF OR RESULT FROM, IN WHOLE OR IN PART, THE
SOLE, ACTIVE, PASSIVE, CONCURRENT OR COMPARATIVE NEGLIGENCE,
STRICT LIABILITY OR OTHER FAULT OF SELLER, EXCEPTING ONLY
LIABILITIES TO THE EXTENT ACTUALLY RESULTING FROM THE GROSS
NEGLIGENCE OR WILLFUL MISCONDUCT OF SELLER.

               8.9     Additional Agreements.

                (a)    Restructuring Support Agreement. Seller shall provide Buyer a copy of the
Restructuring Support Agreement at or prior to the execution of this Agreement. Seller shall notify
Buyer (x) if at any time after the date hereof, the parties to the Restructuring Support Agreement
do not constitute the Required Supporting Parties and (y) of any default thereunder, termination
thereof or amendment thereto reasonably promptly upon becoming aware of any such default,
termination or amendment, including any such amendment under consideration, and shall
promptly provide to Buyer a copy of any default notice, termination notice or amendment
(including any drafts thereof).

               (b)     Chapter 11 Plan. The Plan shall include a provision that allows Buyer, at
Buyer’s reasonable discretion, or any designee of Buyer, to receive the equity in one or more
reorganized legal entities comprising Seller to facilitate the transfer of any Asset or Contract to the
extent determined necessary or desirable by Buyer at no additional cost to Buyer. For the
avoidance of doubt, any provisions in the Plan that would affect such equity transfer or any
reorganized Seller entity which is to be transferred shall be subject to Buyer’s prior written


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approval (such approval not to be unreasonably withheld), including any provisions relating to the
discharge of the reorganized Seller and any provisions affecting any remaining assets or liabilities
held by any such Seller entity. For the avoidance of doubt, neither Buyer nor any designee of
Buyer shall acquire any Excluded Assets or Excluded Liabilities in connection with receipt of any
such reorganized Seller equity.

                (c)    Revenues. After the Closing, any proceeds (including proceeds held in
suspense or escrow), receipts, credits and income attributable to the Assets (or otherwise earned
with respect thereto or in connection therewith) received by any Seller Party shall be paid by such
Seller Party to Buyer within thirty (30) days after such Seller Party’s receipt of such amounts.

                              ARTICLE 9
        CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER TO CLOSE

                 The obligations of Buyer to consummate the transactions contemplated by this
Agreement are subject to the satisfaction or waiver, at or prior to the Closing, of each of the
following conditions; provided that Buyer may not rely on the failure of any condition set forth in
this Article 9 to be satisfied if such failure was primarily caused by Buyer’s failure to act in good
faith or to use its commercially reasonable efforts to cause the Closing to occur; provided further
that if Seller obtains knowledge that any of the following conditions precedent will not be satisfied
at or prior to Closing, then Seller shall provide written notice thereof to Buyer:

                9.1     Accuracy of Representations. The representations and warranties of each
Seller Party set forth in this Agreement shall be true and correct in all respects on and as of the
Closing Date with the same effect as though such representations and warranties had been made
on and as of the Closing Date (provided that representations and warranties which are expressly
confined to a specified date shall speak only as of such date); provided, however, that in the event
of a breach of or inaccuracy in the representations and warranties of a Seller Party set forth in this
Agreement (which shall be determined without giving effect to any limitation or qualification as
to materiality, Material Adverse Effect or similar qualification), the condition set forth in this
Section 9.1 shall be deemed satisfied unless the effect of all such breaches of or inaccuracies in
such representations and warranties taken together for all Seller Parties results in a Material
Adverse Effect; provided, further, however, that Buyer shall not be entitled to assert that the
condition set forth in this Section 9.1 has not been satisfied with respect to any breach of or
inaccuracy in the representations and warranties of a Seller Party if such breach or inaccuracy was
actually known to any of Buyer’s Knowledge persons set forth on Schedule 1.1(b) as of the
Execution Date. In addition, Buyer shall have received a certificate of each Seller Party to such
effect signed by a duly authorized officer thereof. If Buyer determines that there has been a breach
of or inaccuracy in any of the Seller Parties’ representations and warranties on which it will rely
for purposes of asserting the condition set forth in this Section 9.1 is not satisfied, it shall provide
Seller with notice of such breach or inaccuracy as promptly as reasonably practicable after the
determination thereof.
               9.2    Seller’s Performance. Each covenant and agreement that Seller is required
to perform or to comply with pursuant to this Agreement at or prior to the Closing shall have been
duly performed and complied with in all material respects (except that those covenants and
agreements that are qualified as to materiality or Material Adverse Effect or similar expressions



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shall have been duly performed and complied with in all respects), and Buyer shall have received
a certificate of Seller to such effect signed by a duly authorized officer thereof.
                9.3      No Order. No Governmental Authority shall have enacted, issued,
promulgated or entered any Order or other Legal Requirement which is in effect and has the effect
of making illegal or otherwise prohibiting the consummation of the transactions contemplated by
this Agreement or could cause any of such transactions to be rescinded following the Closing. No
suit, action, or other proceeding instituted by any Person (other than Buyer or any Affiliate of
Buyer) shall be pending before any Governmental Authority seeking to restrain, prohibit, enjoin,
or declare illegal, or seeking substantial damages in connection with the transactions contemplated
by this Agreement.
              9.4     Seller’s Deliveries. Seller shall have delivered (or shall deliver at the
Closing) each of the deliveries required to be made to Buyer pursuant to Section 4.4.
               9.5     Sale Order. The Bankruptcy Court shall have entered the Sale Order and
the Sale Order shall be final, binding, non-appealable and in full force and effect.
                            ARTICLE 10
     CONDITIONS PRECEDENT TO THE OBLIGATION OF SELLER TO CLOSE

                Seller’s obligation to consummate the transactions contemplated by this Agreement
is subject to the satisfaction or waiver, at or prior to the Closing, of each of the following
conditions; provided that no Seller Parties may rely on the failure of any condition set forth in this
Article 10 to be satisfied if such failure was primarily caused by any of the Seller Party’s failure
to act in good faith or to use its commercially reasonable efforts to cause the Closing to occur;
provided further that if Buyer obtains knowledge that any of the following conditions precedent
will not be satisfied at or prior to Closing, then Buyer shall provide written notice thereof to Seller:

                10.1 Accuracy of Representations. The representations and warranties of Buyer
set forth in this Agreement shall be true and correct in all material respects (except that those
representations and warranties which are qualified as to materiality or similar expressions shall be
true and correct in all respects) as of the Closing Date with the same effect as though such
representations and warranties had been made on and as of the Closing Date (provided that
representations and warranties which are expressly confined to a specified date shall speak only as
of such date); provided, however, that in the event of a breach of or inaccuracy in the
representations and warranties of Buyer set forth in this Agreement (which shall be determined
without giving effect to any limitation or qualification as to materiality, material adverse effect or
similar qualification), the condition set forth in this Section 10.1 shall be deemed satisfied unless
the effect of all such breaches of or inaccuracies in such representations and warranties taken
together results in a material adverse effect on Buyer’s ability to consummate the transactions
contemplated by this Agreement. In addition, Seller shall have received a certificate of Buyer to
such effect signed by a duly authorized officer thereof. If Seller determines that there has been a
breach of or inaccuracy in any of Buyer’s representations and warranties on which it will rely for
purposes of asserting the condition set forth in this Section 10.1 is not satisfied, it shall provide
Buyer with notice of such breach or inaccuracy as promptly as reasonably practicable after the
determination thereof.




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               10.2 Sale Order in Effect. The Bankruptcy Court shall have entered the Sale
Order and the Sale Order shall be in full force and effect and shall not be subject to a stay pending
appeal.
                10.3 Buyer’s Performance. The covenants and agreements that Buyer is required
to perform or to comply with pursuant to this Agreement at or prior to the Closing shall have been
performed and complied with in all material respects (except that those covenants and agreements
that are qualified as to materiality or similar expressions shall have been duly performed and
complied with in all respects), and Seller shall have received a certificate of Buyer to such effect
signed by a duly authorized officer thereof.
               10.4 No Order. No Governmental Authority shall have enacted, issued,
promulgated or entered any Order or other Legal Requirement which is in effect and which has
the effect of making illegal or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement or could cause any of such transactions to be rescinded following
the Closing. No suit, action, or other proceeding instituted by any Person (other than Seller or any
Affiliate of Seller) shall be pending before any Governmental Authority seeking to restrain,
prohibit, enjoin, or declare illegal, or seeking substantial damages in connection with the
transactions contemplated by this Agreement.
              10.5 Buyer’s Deliveries. Buyer shall have delivered (or shall deliver at the
Closing) each of the deliveries required to be made to Seller pursuant to Section 4.3.
                                          ARTICLE 11
                                         TERMINATION

            11.1 Termination Events. Notwithstanding anything herein to the contrary, this
Agreement may be terminated at any time prior to the Closing:
               (a)     by either Seller or Buyer:

                               (i)     if a Governmental Authority issues a Final Order or any
Legal Requirement is enacted prohibiting the transactions contemplated hereby; provided,
however, that (1) Buyer shall be permitted to terminate this Agreement pursuant to this
Section 11.1(a)(i) only if Buyer is not itself in material breach of any of its representations,
warranties, covenants or agreements contained herein, and (2) Seller shall be permitted to
terminate this Agreement pursuant to this Section 11.1(a)(i) only if Seller is not itself in material
breach of any of its representations, warranties, covenants or agreements contained herein;

                               (ii)    by mutual written consent of Seller and Buyer;

                                (iii) if the Closing has not occurred by the close of business on
October 31, 2020 (the “Outside Date”); provided, however, that (1) Buyer shall be permitted to
terminate this Agreement pursuant to this Section 11.1(a)(iii) only if Buyer is not itself in material
breach of any of its representations, warranties, covenants or agreements contained herein, and
(2) Seller shall be permitted to terminate this Agreement pursuant to this Section 11.1(a)(iii) only
if Seller is not itself in material breach of any of its representations, warranties, covenants or
agreements contained herein; provided, further, that a Party may not terminate pursuant to this
Section 11.1(a)(iii) if the Closing has not occurred due to the failure of such Party to satisfy a



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condition set forth in Article 9 and Article 10 (as applicable) that is within the reasonable control
of such Party;

                              (iv)    if the Bankruptcy Court enters an Order dismissing, or
converting into cases under chapter 7 of the Bankruptcy Code, any of the cases commenced by
Seller under chapter 11 of the Bankruptcy Code and comprising part of the Bankruptcy Case;
provided however, that neither Buyer nor Seller shall be permitted to terminate this Agreement
pursuant to this Section 11.1(a)(iv) to the extent that such Order was requested, encouraged or
supported by such Party; or

                (b)     by Buyer:

                                (i)      in the event of any breach by Seller (or any Seller Party’s) of
any of Seller’s (or any Seller Party’s) agreements, covenants, representations or warranties
contained herein (provided such breach would result in the failure of a condition set forth in
Section 9.1 or Section 9.2 to be satisfied on the Closing Date), and the failure of Seller to cure such
breach within ten (10) days after receipt of the Buyer Termination Notice; provided, however, that
(A) Buyer is not itself in material breach of any of its representations, warranties, covenants or
agreements contained herein, (B) Buyer notifies Seller in writing (the “Buyer Termination
Notice”) of its intention to exercise its rights under this Section 11.1(b)(i) as a result of the breach,
and (C) Buyer specifies in the Buyer Termination Notice the representation, warranty, covenant
or agreement contained herein or in the Sale Order of which Seller is allegedly in breach and a
reasonably detailed description of the factual circumstances to support the allegation;

                            (ii)   if the Bankruptcy Court enters an Order that precludes the
consummation of the transactions contemplated by this Agreement on terms and conditions set
forth herein;

                               (iii) there is a termination of the right to use cash collateral under
the Cash Collateral Order, if such termination is not cured within five (5) Business Days thereafter;

                              (iv)   if Seller (A) enters into one or more agreements to sell,
transfer or otherwise dispose of any material portion of the Assets in a transaction or series of
transactions other than in the ordinary course of business with one or more Persons other than
Buyer or (B) terminates the Restructuring Support Agreement pursuant to Section 13.03(c) of the
Restructuring Support Agreement;

                              (v)     if the Bankruptcy Court has not entered the Sale Order on or
before 40 days from the Petition Date or the Sale Order ceases to be in full force and effect or shall
have been stayed, reversed, modified or amended in any material respect in a manner adverse to
Buyer without the prior written consent of Buyer;

                              (vi)  if the aggregate sum of all costs and expenses (calculated in
accordance with Section 11.5) to fully repair, restore, replace and/or otherwise Remediate any
Assets affected by one or more Casualty Losses (“Restoration Costs”) is equal to or in excess of
an amount equal to twenty percent (20%) of the Purchase Price (and, for the avoidance of doubt,
the Restoration Costs of any Asset may exceed the Allocated Value of such Asset);



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                             (vii) (A) if the Restructuring Support Agreement (x) is terminated
or (y) is supplemented, amended, waived or otherwise modified, in a manner inconsistent with the
Restructuring Support Agreement, or (B) if at any time after the date hereof the parties to the
Restructuring Support Agreement do not constitute the Required Supporting Parties; or

                               (viii) if Seller (A) withdraws or seeks authority to withdraw (x) the
Sale Order at any time after the entry thereof or (y) any notice or motion seeking entry thereof at
any time prior to the entry thereof (it being agreed and understood by Buyer and Seller that the
filing of a revised or amended form of the Sale Order with the consent of Buyer shall not constitute
a withdrawal of the Sale Order, as applicable), or (B) announces any standalone plan of
reorganization or liquidation that does not contemplate the sale of the Assets in accordance with
the Sale Order, in each case with respect to the Assets.

                (c)     by Seller:

                                 (i)     in the event of any breach by Buyer of any of Buyer’s
agreements, covenants, representations or warranties contained herein (provided such breach
would result in the failure of a condition set forth in Section 10.1 or Section 10.3 to be satisfied)
or (if such breach is material) in the Sale Order, and the failure of Buyer to cure such breach within
ten (10) days after receipt of the Seller Termination Notice; provided, however, that Seller (A) is
not itself in material breach of any of its representations, warranties, covenants or agreements
contained herein or in the Sale Order, (B) notifies Buyer in writing (the “Seller Termination
Notice”) of its intention to exercise its rights under this Section 11.1(c)(i) as a result of the breach,
and (C) specifies in the Seller Termination Notice the representation, warranty, covenant or
agreement contained herein or in the Sale Order of which Buyer is allegedly in breach and a
reasonably detailed description of the factual circumstances to support the allegation; or

                              (ii)   if Seller terminates the Restructuring Support Agreement
pursuant to Section 13.03(c) of the Restructuring Support Agreement.

                11.2    Effect of Termination.
                (a)     In the event of termination of this Agreement by Buyer or Seller pursuant
to this Article 11, all rights and obligations of the Parties under this Agreement shall terminate
without any Liability of any Party to any other Party; provided, however, that, subject to Section
11.2(b), nothing herein shall relieve any Party from Liability for such Party’s (or its
Representatives’) breach of this Agreement prior to such termination. The provisions of this
Section 11.2, Section 11.4 and Section 3.2 (and, to the extent applicable to the interpretation or
enforcement of such provisions, Article 1), shall expressly survive the termination of this
Agreement.

               (b)      In the event that Seller has the right to terminate this Agreement pursuant
to Section 11.1(c)(i), notwithstanding Sections 13.4 and 13.14, Seller shall be entitled, as its sole
and exclusive remedy, to (i) terminate this Agreement pursuant to Section 11.1(c)(i) and retain the
Deposit as liquidated damages (and not as a penalty) for such termination, free and clear of any
claims thereon by Buyer (and the Parties shall give joint written instructions to the Escrow Agent
to release the Deposit to Seller pursuant to Section 3.2), or (ii) if applicable, enforce specific
performance in accordance with Section 11.3. The Parties agree that, should Seller have the right


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to terminate this Agreement pursuant to Section 11.1(c)(i), the foregoing described liquidated
damages are reasonable considering all of the circumstances existing as of the Execution Date and
constitute the Parties’ good faith estimate of the actual damages reasonably expected to result from
such termination of this Agreement by Seller.

                 11.3 Specific Performance. In the event that Seller has the right to terminate this
Agreement pursuant to Section 11.1(c)(i), in lieu of seeking the Deposit as a remedy in accordance
with Section 11.2(b), as its sole remedy under this Agreement, Seller shall be entitled to specific
performance of this Agreement, it being specifically agreed that monetary damages will not be
sufficient to compensate Seller, and this right shall include the right of Seller to cause the closing
of the transactions contemplated hereby to be consummated in accordance with the terms of this
Agreement. Seller shall not be required to provide any bond or other security in connection with
seeking an injunction or injunctions to enforce specifically the terms and provisions of this
Agreement. The Parties hereto further agree that (a) by seeking the remedies provided for in this
Section 11.3, Seller shall not in any respect waive its right to seek any other form of relief in law
or in equity that may be available to it and (b) nothing set forth in this Section 11.3 shall require
Seller to institute any Proceeding for (or limit Seller’s right to institute any Proceeding for) specific
performance under this Section 11.3 prior to, or as a condition to, exercising any termination right
under this Article 11. Notwithstanding anything contained herein to the contrary, (x) if Seller elects
to receive the Deposit as liquidated damages in accordance with Section 11.2(b), then Seller shall
not be entitled to seek specific performance of this Agreement and, without limitation of the
foregoing, shall be deemed to have waived all of its rights to seek specific performance under this
Agreement, and (y) if Seller elects to seek specific performance of this Agreement, Seller shall not
be entitled to receive the Deposit under Section 11.2(b); provided that if Seller withdraws its claim
for specific performance or is unable to enforce specific performance and is entitled to receive the
Deposit pursuant to the terms hereof, it may elect to receive the Deposit as its sole remedy. For
the avoidance of doubt, Seller’s determination pursuant to this Section 11.3 shall be at the sole
discretion of Seller’s transaction committee.
                11.4    Break-Up Fee and Expense Reimbursement.

                (a)    In the event that this Agreement is terminated pursuant to Sections
11.1(b)(i) (solely for purposes of clause (ii) below), 11.1(b)(ii), 11.1(b)(iii), 11.1(b)(iv),
11.1(b)(vii), 11.1(b)(viii), or 11.1(c)(ii), Lime Rock shall be entitled to payment by Seller of (i) a
termination fee equal to two and four-tenths percent (2.4%) of the Purchase Price (the “Break-Up
Fee”) and Buyer and Lime Rock shall be entitled to payment by Seller of (ii) an amount equal to
the lesser of (A) an amount equal to one and one-half percent (1.5%) of the Purchase Price and (B)
Buyer’s and Lime Rock’s actual out-of-pocket fees and expenses incurred (directly or indirectly)
in connection with this Agreement and other agreements, pleadings, documents, hearings,
discovery, and transactions related hereto (including attorneys’ and advisors’ fees) (the “Expense
Reimbursement”).

                (b)    Seller’s obligation to pay the Break-Up Fee and the Expense
Reimbursement shall survive termination of this Agreement. Seller shall pay the Break-up Fee to
Lime Rock (and not to Buyer or any of its managers, directors, or officers) and Seller shall pay the
Expense Reimbursement to Lime Rock and/or Buyer (as applicable) within ten (10) Business Days
after the termination of this Agreement; provided that if this Agreement is terminated pursuant to



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Sections 11.1(b)(iv), or 11.1(c)(ii), such payment shall be due within ten (10) Business Days after
the termination of the Restructuring Support Agreement pursuant to Section 13.03(c) of the
Restructuring Support Agreement.

               (c)    Lime Rock’s right to payment of the Break-Up Fee and Lime Rock’s and
Buyer’s (as applicable) right to payment of the Expense Reimbursement shall constitute an
administrative expense in the Bankruptcy Case pursuant to Section 503 and 507 of the Bankruptcy
Code.

                (d)     Each Party acknowledges that the agreements contained in this Section 11.4
are an integral part of this Agreement and that, without these agreements, the other Party would
not enter into this Agreement.

                 (e)    Buyer represents to Seller that this Section 11.4 is a condition precedent to
Buyer’s execution of this Agreement and is necessary to ensure that Buyer will continue to pursue
the proposed acquisition of the Assets, and Seller acknowledges that the Break-Up Fee and
Expense Reimbursement, if payable hereunder, (i) constitute actual and necessary costs and
expenses of preserving Seller’s estates, within the meaning of Section 503(b) of the Bankruptcy
Code, (ii) are of substantial benefit to Seller’s estates by, among other things, establishing a bid
standard or minimum for other bidders and placing estate property in a sales configuration mode
attracting other bidders to a potential auction, (iii) are reasonable and appropriate, including in
light of the size and nature of the sale of the Assets by Seller to Buyer contemplated hereby and
the efforts that have been or will be expended by Buyer and Lime Rock, notwithstanding that such
sale is subject to higher and better offers, and (iv) was negotiated by the Parties at arm’s-length
and in good faith.

                11.5 Dispute Resolution. Buyer and Seller shall attempt to agree as to whether
the combined value of the matters described in Section 11.1(b)(vi) is less than the percentage of
the Purchase Price described therein prior to the Closing Date (any disagreements between the
Parties as to such matters, collectively, the “Disputed Matters”). If Seller and Buyer are unable to
agree by the Closing Date, the Disputed Matters shall be exclusively and finally resolved by
arbitration pursuant to this Section 11.5; provided, however, the Parties will resolve all such
Disputed Matters under this Section 11.5 prior to Closing or termination, as applicable. There will
be a single arbitrator who will be an attorney with at least 15 years’ experience in matters involving
oil and gas producing properties in the Gulf of Mexico, as selected by the mutual agreement of
Buyer and Seller (the “Arbitrator”). Notwithstanding the foregoing, the Bankruptcy Court may
serve as the Arbitrator upon the mutual agreement of the Parties. If the Parties do not mutually
agree upon the Arbitrator in accordance with this Section 11.5, the Houston, Texas office of the
AAA shall appoint such Arbitrator under such conditions as the AAA in its sole discretion deems
necessary or advisable. The place of arbitration shall be Houston, Texas, and the arbitration shall
be conducted in accordance with the AAA Rules, to the extent such rules do not conflict with the
terms of this Section 11.5. Each of Buyer and Seller shall submit to the Arbitrator, with a
simultaneous copy to the other Party, a single written statement of its position on the Disputed
Matters in question, together with a copy of this Agreement and any supporting material that such
Party desires to furnish, as soon as reasonably practicable, but not later than the tenth (10th)
Business Day after appointment of the Arbitrator. The Parties shall instruct the Arbitrator to make
a determination, choosing either Seller’s position or Buyer’s position with respect to the Disputed


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Matters in question, with such determination to be made within twenty (20) days after the end of
such ten (10) Business Day period after the submission of the Disputed Matters and shall be final
and binding upon both Parties, without right of appeal. In making his determination, the Arbitrator
shall make a determination of the Disputed Matters submitted based solely on the single written
submissions of Seller and Buyer (and without any additional or supplemental submittals by any
Party, except to the extent the Arbitrator requests additional information from either Party), shall
be bound by the rules set forth in this Section 11.5 and, subject to the foregoing, may consider
such other legal and industry matters as in the opinion of the Arbitrator are necessary or helpful to
make a proper determination. The Arbitrator shall act as an expert for the limited purpose of
determining specific Disputed Matters submitted by either Party and may not award damages,
interest or penalties to either Party with respect to any matter, except as otherwise provided in the
following sentence. The costs of the Arbitrator (and the AAA, if applicable) and the reasonable
legal costs and expenses incurred by the Parties in connection with the arbitration shall be borne
by the Party whose position is not selected by the Arbitrator.
                                    ARTICLE 12
                           SURVIVAL AND INDEMNIFICATION

               12.1 No Survival of Seller’s Representations and Warranties.                       The
representations and warranties of Seller contained herein and in any certificate or other Transaction
Document delivered by Seller pursuant to this Agreement shall terminate upon and not survive the
Closing and there shall be no liability thereafter in respect thereof. Each of Seller’s covenants and
other agreements contained in this Agreement shall terminate upon the Closing, except the
covenants and agreements of Seller in Sections 2.6, 2.7, 2.8, 7.2(a), 7.2(b), and 8.2 (each a “Post-
Closing Covenant”), which shall survive the Closing until the earlier of (a) performance of such
Post-Closing Covenant in accordance with this Agreement or, (b)(i) if time for performance of
such Post-Closing Covenant is specified in this Agreement, sixty (60) days following the
expiration of the time period for such performance or (ii) if time for performance of such Post-
Closing Covenant is not specified in this Agreement, the expiration of the applicable statute of
limitations with respect to any claim for any failure to perform such Post-Closing Covenant;
provided that if a written notice of any claim with respect to any Post-Closing Covenant is given
prior to the expiration thereof then such Post-Closing Covenant shall survive until, but only for
purposes of, the resolution of such claim by Final Order or settlement.
                12.2 Survival of Buyer’s Representations and Warranties. The representations
and warranties of Buyer contained in Article 6 of this Agreement (other than the representations
and warranties contained in Section 6.8) shall survive the Closing through and including the date
that is twelve (12) months after the Closing Date (the “Expiration Date”); provided, however, that
any obligations to indemnify and hold harmless shall not terminate with respect to any Liabilities
as to which a Seller Indemnified Party shall have given notice to Buyer in accordance with Section
12.4(a) on or before the Expiration Date. The representations and warranties of Buyer contained
in Section 6.8 shall terminate upon and not survive the Closing and there shall be no Liability
thereafter in respect thereof.
               12.3    Indemnification by Buyer.
             (a)   Subject to Section 12.2, from and after Closing, Buyer hereby agrees to
indemnify and hold Seller and each member of the Seller Group (collectively, the “Seller



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Indemnified Parties”) harmless from and against any all Liabilities to the extent based upon,
attributable or resulting from:

                               (i)     the breach of any representation or warranty of Buyer set
forth in Article 6 hereof, or any representation or warranty contained in any certificate delivered
by or on behalf of Buyer pursuant to this Agreement;

                            (ii)       the breach of any covenant or other agreement on the part of
Buyer under this Agreement; and

                               (iii)   the Assumed Liabilities.

              (b)    Notwithstanding anything contained herein to the contrary, any Seller
Indemnified Party making an Indemnification Claim under Section 12.3 must give notice to the
indemnifying Party of any such Indemnification Claim in writing on or prior to the Expiration
Date.

               12.4    Indemnification Procedures.
                 (a)     In the event that any Actions shall be instituted or that any claim or demand
shall be asserted by any Seller Indemnified Party in respect of which payment may be sought under
Section 12.3 (an “Indemnification Claim”), the Seller Indemnified Party shall reasonably and
promptly cause written notice of the assertion of any Indemnification Claim of which it has
knowledge which is covered by this indemnity to be forwarded to the indemnifying Party; provided
that a Seller Indemnified Party need not wait until an Action has been instituted or demand has
been asserted before delivering written notice of an Indemnification Claim to the indemnifying
Party. The indemnifying Party shall have the right, at its sole option and expense, to be represented
by counsel of its choice, which must be reasonably satisfactory to the Seller Indemnified Party,
and to defend against, negotiate, settle or otherwise deal with any Indemnification Claim which
relates to any Liabilities indemnified against hereunder. If the indemnifying Party elects to defend
against, negotiate, settle or otherwise deal with any Indemnification Claim which relates to any
Liabilities indemnified against hereunder, it shall within thirty (30) days (or sooner, if the nature
of the Indemnification Claim so requires) notify the Seller Indemnified Party of its intent to do so.
If the indemnifying Party elects not to defend against, negotiate, settle or otherwise deal with any
Indemnification Claim which relates to any Liabilities indemnified against hereunder, the Seller
Indemnified Party may defend against, negotiate, settle or otherwise deal with such
Indemnification Claim. If the indemnifying Party shall assume the defense of any Indemnification
Claim, the Seller Indemnified Party may participate, at his or its own expense, in the defense of
such Indemnification Claim; provided, however, that such Seller Indemnified Party shall be
entitled to participate in any such defense with separate counsel at the expense of the indemnifying
Party if (a) so requested by the indemnifying Party to participate or (b) in the reasonable opinion
of counsel to the Seller Indemnified Party a conflict or potential conflict exists between the Seller
Indemnified Party and the indemnifying Party that would make such separate representation
advisable; and provided, further, that the indemnifying Party shall not be required to pay for more
than one such counsel for all Seller Indemnified Parties in connection with any Indemnification
Claim. The Parties agree to cooperate fully with each other in connection with the defense,
negotiation or settlement of any such Indemnification Claim. Notwithstanding anything in this
Section 12.4 to the contrary, neither the indemnifying Party nor any Seller Indemnified Party shall,


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without the written consent of the other, settle or compromise any Indemnification Claim or permit
a default or consent to entry of any judgment unless the claimant and such party provide to such
other party an unqualified release from all liability in respect of the Indemnification Claim. If the
indemnifying Party makes any payment on any Indemnification Claim, the indemnifying Party
shall be subrogated, to the extent of such payment, to all rights and remedies of the Seller
Indemnified Party to any insurance benefits or other claims of the Seller Indemnified Party with
respect to such Indemnification Claim.

               (b)     After any final decision, judgment or award shall have been rendered by a
Governmental Authority of competent jurisdiction and the expiration of the time in which to appeal
therefrom, or a settlement shall have been consummated, or the Seller Indemnified Party and the
indemnifying Party shall have arrived at a mutually binding agreement with respect to an
Indemnification Claim hereunder, the Seller Indemnified Party shall forward to the indemnifying
Party notice of any sums due and owing by the indemnifying Party pursuant to this Agreement
with respect to such matter.

                12.5 Calculation of Liabilities. The amount of any Liabilities for which
indemnification is provided under this Article 12 shall be net of any amounts actually recovered
by the Seller Indemnified Party under insurance policies with respect to such Liabilities.
                 12.6 Tax Treatments of Indemnity Payments. The Parties agree to treat any
indemnity payment made pursuant to this Article 12 as an adjustment to the Purchase Price for
federal, state, local and foreign income tax purposes. Any indemnity payment under this Article
12 shall be treated as an adjustment to the value of the Asset upon which the underlying
Indemnification Claim was based, unless a final determination (which shall include the execution
of a Form 870-AD or successor form) with respect to the Seller Indemnified Party causes any such
payment not to be treated as an adjustment to the value of the asset for United States federal income
tax purposes.
                12.7 Exclusive Remedy. If Closing occurs, the indemnities in this Article 12 are
the sole and exclusive remedy for any Liabilities based upon or relating to the Assets or this
Agreement, regardless of the manner in which any Liability is characterized or pleaded, including
rights to contribution under the Comprehensive Environmental Response, Compensation, and
Liability Act of 1980, as amended, and any other Environmental Law. For the avoidance of doubt,
nothing contained in this Section 12.7 shall limit the RBL Facility Lenders’ rights in respect of a
breach of Buyer’s obligations set forth on Exhibit F.


                                        ARTICLE 13
                                    GENERAL PROVISIONS

                13.1 Confidentiality.       Notwithstanding anything in the Non-Disclosure
Agreement to the contrary, the Parties agree that the non-disclosure agreement entered into by
them and their Affiliates, dated effective as of June 11, 2020 (the “Non-Disclosure Agreement”),
shall continue in full force and effect notwithstanding the execution and delivery by the Parties of
this Agreement; provided, however, that (a) disclosure of matters that become a matter of public
record as a result of the Bankruptcy Case and the filings related thereto shall not constitute a breach
of such Non-Disclosure Agreement, and (b) disclosures permitted under this Agreement shall not


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constitute a breach of such Non-Disclosure Agreement. In addition, if Closing should occur, the
terms of the Non-Disclosure Agreement shall terminate as to Buyer.
                13.2 Public Announcements. Buyer, on the one hand, and Seller, on the other
hand, shall consult with each other before issuing any press release or otherwise making any public
statement with respect to this Agreement, the transaction contemplated hereby or the activities and
operations of the other Party, and shall not issue any such release or make any such statement
without the prior written consent of the other Party (such consent not to be unreasonably withheld
or delayed). Notwithstanding the foregoing, prior to or after the Closing, if Buyer (including any
of its parent entities), on the one hand, or Seller (including any of its parent entities), on the other
is required to make any statement, declaration or public announcement regarding this Agreement
or the transaction contemplated hereunder pursuant to (a) any Legal Requirement, (b) applicable
rules or regulations of any national securities exchange, or (c) the terms of such Party’s (including
such Party’s respective parent entities) indentures, loan agreements, credit agreements or other
similar debt agreements or financial instruments, then the same may be made without the approval
of the other Party, but, in the case of disclosures made by Buyer, only to the extent the name of
Seller is omitted from such statement, declaration or announcement if permitted by the applicable
Legal Requirements.
                13.3 Notices. All notices, consents, waivers and other communications under
this Agreement must be in writing (with a copy delivered to the RBL Facility Agent) and shall be
deemed to have been duly given when (a) delivered by hand (with written confirmation of receipt),
(b) sent by email (with read receipt requested, with the receiving Party being obligated to respond
affirmatively to any read receipt requests delivered by the other Party), (c) received by the
addressee, if sent by a delivery service (prepaid, receipt requested) or (d) received by the addressee,
if sent by registered or certified mail (postage prepaid, return receipt requested), in each case to
the appropriate addresses and representatives (if applicable) set forth below (or to such other
addresses and representatives as a Party may designate by notice to the other Parties):
                (i)    If to Seller, then to:

                                       Arena Energy, LP
                                       2103 Research Forest Drive, Suite 400
                                       The Woodlands, Texas 77380
                                       Attn: Ed Menger
                                       E-mail: EMenger@arenaenergy.com

                                   with copies (which shall not constitute notice) to:

                                       Kirkland & Ellis LLP
                                       601 Lexington Avenue
                                       New York, New York 10022
                                       Attn: Brian E. Schartz, P.C.
                                       Phone: (212) 446-5932
                                       E-mail: brian.schartz@kirkland.com

                                       Kirkland & Ellis LLP
                                       609 Main Street, 45th Floor
                                       Houston, Texas 77002


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                              Attn: Rahul D. Vashi, P.C.
                                     Kim Hicks, P.C.
                              Phone: (713) 836-3639
                                     (713) 836-3529
                              E-mail: rahul.vashi@kirkland.com
                                     kim.hicks@kirkland.com

        (ii)   If to Buyer:

                              San Juan Offshore, LLC
                              2000 Hughes Landing Blvd., Suite 781
                              The Woodlands, TX 77380
                              Attn: Michael J. Minarovic
                              E-mail: mike@sanjuanoffshore.com

                              with a copy (which shall not constitute notice) to:

                              Lime Rock Partners VIII, L.P.
                              1111 Bagby Street, Suite 4600
                              Houston, TX 77002
                              Attn: J McLane
                              E-mail: jm@lrpartners.com

                              Willkie Farr & Gallagher LLP
                              600 Travis Street, Suite 2100
                              Houston, Texas 77002
                              Attn: Michael De Voe Piazza
                              E-mail: mpiazza@willkie.com

                              Willkie Farr & Gallagher LLP
                              600 Travis Street, Suite 2100
                              Houston, Texas 77002
                              Attn: Jennifer Hardy
                              E-mail: jhardy2@willkie.com

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Brian Resnick
                              E-mail:brian.resnick@davispolk.com

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Harold Birnbaum
                              E-mail: harold.birnbaum@davispolk.com



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                (iii)   If to the RBL Facility Agent:

                                       Wells Fargo Bank, N.A.
                                       1000 Louisiana St., Ninth Floor
                                       Houston, Texas 77002
                                       Attn: Oleg Kogan
                                       E-mail: Oleg.Kogan@wellsfargo.com

                                       with a copy (which shall not constitute notice) to:

                                       Haynes and Boone, LLP
                                       1221 McKinney Street, Suite 4000
                                       Houston, Texas 77010
                                       Attn: Austin Elam
                                               Ellen Conley
                                               Frasher Murphy
                                       E-mail:        austin.elam@haynesboone.com
                                                      ellen.conley@haynesboone.com
                                                      frasher.murphy@haynesboone.com

                13.4 Waiver; Waiver of Damages. No waiver of any of the provisions of this
Agreement or rights hereunder shall operate as a waiver unless it is in writing and signed by the
Party (“Party” and “Parties,” for purposes of Exhibit F and any other provision of this Agreement
that expressly runs to the benefit of the RBL Facility Agent, shall be deemed to include the RBL
Facility Agent) against whom enforcement of such waiver is sought. Neither the failure nor any
delay by any Party in exercising any right, power or privilege under this Agreement or the
documents referred to in this Agreement shall operate as a waiver of such right, power or privilege,
and no single or partial exercise of any such right, power or privilege shall preclude any other or
further exercise of such right, power or privilege or the exercise of any other right, power or
privilege. To the maximum extent permitted by applicable law, (a) no waiver that may be given
by a Party shall be applicable except in the specific instance for which it is given, and (b) no notice
to or demand on one Party shall be deemed to be a waiver of any right of the Party giving such
notice or demand to take further action without notice or demand. NOTWITHSTANDING
ANYTHING TO THE CONTRARY CONTAINED HEREIN, NO PARTY SHALL BE LIABLE
TO THE OTHER FOR SPECIAL, INDIRECT, EXEMPLARY, CONSEQUENTIAL OR
PUNITIVE DAMAGES ARISING OUT OF, ASSOCIATED WITH, OR RELATING TO THIS
AGREEMENT (INCLUDING LOSS OF PROFIT OR BUSINESS INTERRUPTIONS,
HOWEVER THE SAME MAY BE CAUSED) AND THE PARTIES HEREBY WAIVE ALL
CLAIMS FOR ANY SUCH DAMAGES, EXCEPT TO THE EXTENT ANY SELLER
INDEMNIFIED PARTY SUFFERS SUCH DAMAGES TO AN UNAFFILIATED THIRD
PARTY IN CONNECTION WITH A FINALLY ADJUDICATED THIRD PARTY CLAIM, IN
WHICH CASE SUCH DAMAGES SHALL BE RECOVERABLE (TO THE EXTENT




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RECOVERABLE UNDER ARTICLE 12) WITHOUT GIVING EFFECT TO THIS SECTION
13.4.

               13.5 Entire Agreement; Amendment. This Agreement (including the Schedules
and the Exhibits) and the other Transaction Documents supersede all prior agreements between
(a) Buyer, on the one hand, and Seller, on the other hand, and (b) solely with respect to Exhibit F,
Buyer, on the one hand, and the RBL Facility Lenders, on the other hand, in each case, with respect
to its subject matter and constitute a complete and exclusive statement of the terms of the
agreements between (x) Buyer, on the one hand, and Seller, on the other hand, and (y) solely with
respect to Exhibit F, Buyer, on the one hand, and the RBL Facility Lenders, on the other hand, in
each case, with respect to their subject matter. This Agreement may not be amended, waived or
otherwise modified except by a written agreement executed by all of the Parties and, with respect
to any amendments, waivers or other modifications affecting the holders of RBL Facility Claims
(in the reasonable discretion of the RBL Facility Agent), reasonably consented to by the RBL
Facility Agent.
               13.6 Assignment. This Agreement, and the rights, interests and obligations
hereunder, shall not be assigned by any Party by operation of law or otherwise without the express
written consent of the other Parties and, to the extent provided in Exhibit F, the consent of the RBL
Facility Agent, as applicable (which consents may be granted or withheld in the sole discretion of
such other Party and, if applicable, the RBL Facility Agent). Notwithstanding the foregoing,
Buyer shall have the right to assign any or all of its rights or obligations hereunder, in each case to
one or more Affiliates of Buyer prior to the Closing by providing written notice to Seller and each
such designated Affiliate shall be deemed to be Buyer for all purposes hereunder and under the
Transaction Documents, except that no such assignment shall relieve Buyer of any of its
obligations hereunder.
                13.7 Severability. The provisions of this Agreement shall be deemed severable,
and the invalidity or unenforceability of any provision shall not affect the validity or enforceability
of the other provisions hereof. If any provision of this Agreement, or the application thereof to
any Person or any circumstance, is invalid or unenforceable, (a) a suitable and equitable provision
shall be substituted therefor in order to carry out, so far as may be valid and enforceable, the intent
and purpose of such invalid or unenforceable provision and (b) the remainder of this Agreement
and the application of such provision to other Persons or circumstances shall not be affected by
such invalidity or unenforceability.
               13.8 Expenses. Except as otherwise specifically provided in this Agreement, the
Parties shall bear their own respective expenses (including all compensation and expenses of
counsel, financial advisors, consultants, actuaries and independent accountants) incurred in
connection with this Agreement and the transactions contemplated hereby.
              13.9 Time of the Essence. Time shall be of the essence with respect to all time
periods and notice periods set forth in this Agreement.
               13.10 Governing Law; Consent to Jurisdiction and Venue; Jury Trial Waiver.
               (a)    Except to the extent the mandatory provisions of the Bankruptcy Code
apply, this Agreement shall be governed by, and construed in accordance with, the laws of the
State of Texas applicable to contracts made and to be performed entirely in such state without



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regard to principles of conflicts or choice of laws or any other law that would make the laws of
any other jurisdiction other than the State of Texas applicable hereto.

                (b)    Without limitation of any Party’s right to appeal any Order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms
of this Agreement and to decide any claims or disputes which may arise or result from, or be
connected with, this Agreement, any breach or default hereunder, or the transactions contemplated
hereby and (ii) any and all claims relating to the foregoing shall be filed and maintained only in
the Bankruptcy Court, and the Parties hereby consent and submit to the exclusive jurisdiction and
venue of the Bankruptcy Court and irrevocably waive the defense of an inconvenient forum to the
maintenance of any such Action or Proceeding; provided, however, that, if the Bankruptcy Case is
closed, all Actions and Proceedings arising out of or relating to this Agreement shall be heard and
determined in a Texas state court or a federal court sitting in the state of Texas, and the Parties
hereby irrevocably submit to the exclusive jurisdiction and venue of such courts in any such Action
or Proceeding and irrevocably waive the defense of an inconvenient forum to the maintenance of
any such Action or Proceeding. The Parties consent to service of process by mail (in accordance
with Section 13.3) or any other manner permitted by law.

           (c)  THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHT TO
TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED IN CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR THE ACTIONS OF SELLER, BUYER OR THEIR RESPECTIVE
REPRESENTATIVES IN THE NEGOTIATION OR PERFORMANCE HEREOF.

               13.11 Counterparts. This Agreement and any amendment hereto may be executed
in two (2) or more counterparts, each of which shall be deemed to be an original of this Agreement
or such amendment and all of which, when taken together, shall constitute one and the same
instrument. Notwithstanding anything to the contrary in Section 13.3, delivery of an executed
counterpart of a signature page to this Agreement or any amendment hereto by telecopier or email
attachment shall be effective as delivery of a manually executed counterpart of this Agreement or
such amendment, as applicable.
                13.12 Parties in Interest; No Third Party Beneficiaries. This Agreement shall
inure to the benefit of and be binding upon the Parties and their respective successors and permitted
assigns. Except for Section 11.4 and Section 13.13, this Agreement is for the sole benefit of the
Parties and their permitted assigns, and nothing herein, express or implied, is intended to or shall
confer upon any other Person any legal or equitable benefit, claim, cause of action, remedy or right
of any kind, except that (a) the RBL Facility Lenders are express third-party beneficiaries of
Buyer’s obligations set forth in Exhibit F and shall have the right to directly enforce such
obligations of Buyer in any manner that Seller is otherwise permitted to enforce the same in a
manner consistent with this Agreement, and (b) if at any time Seller liquidates or otherwise has a
trustee or other representative appointed by the Bankruptcy Court, then such trustee or other
representative shall be entitled to enforce Seller’s rights under this Agreement. Notwithstanding
anything contained herein to the contrary, in no event shall the RBL Facility Agent or RBL Facility
Lenders have any Liability for the representations, warranties, covenants, agreements or other
obligations of Seller hereunder or in any of the certificates, notices or agreements delivered




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pursuant hereto and, from and after Closing, no default or breach by Seller shall affect or diminish
Buyer’s obligations set forth on Exhibit F.
                13.13 No Recourse. Notwithstanding anything that may be expressed or implied
in this Agreement or any Transaction Document, and notwithstanding the fact that any Party may
be a partnership or limited liability company, each Party, by its acceptance of the benefits of this
Agreement, covenants, agrees and acknowledges that no Persons other than the Parties shall have
any obligation hereunder and that it has no rights of recovery hereunder against, and no recourse
hereunder or under any Transaction Documents or in respect of any oral representations made or
alleged to be made in connection herewith or therewith shall be had against, any former, current
or future Affiliate, incorporator, controlling Person, fiduciary, Representative, co-owner or equity
holder of any Party (or any of their successors or permitted assignees) (each, a “Party Affiliate”),
whether by or through attempted piercing of the corporate veil, by or through a claim (whether in
tort, contract or otherwise) by or on behalf of such Person against the Party Affiliates, by the
enforcement of any assessment or by any legal or equitable proceeding, or by virtue of any statute,
regulation or other applicable Legal Requirement, or otherwise; it being expressly agreed and
acknowledged that no personal liability whatsoever shall attach to, be imposed on or otherwise be
incurred by any Party Affiliate, as such, for any obligations of the applicable Person under this
Agreement or the transaction contemplated hereby, under any documents or instruments delivered
contemporaneously herewith, in respect of any oral representations made or alleged to be made in
connection herewith or therewith, or for any claim (whether in tort, contract or otherwise) based
on, in respect of, or by reason of, such obligations or their creation.
                 13.14 Specific Performance. The Parties acknowledge that irreparable damage
would occur if any of the provisions of this Agreement were not performed in accordance with
their specific terms or were otherwise breached. Buyer further agrees that, in addition to any other
remedy that Seller may have under law or equity, without posting bond or other undertaking,
except as set forth in Section 11.2(b), Seller hereto shall be entitled to an injunction or injunctions
to prevent breaches of this Agreement and to enforce specifically the terms and provisions of this
Agreement. In the event that any such action is brought in equity to enforce the provisions of this
Agreement, no Party will allege, and each Party hereby waives the defense or counterclaim, that
there is an adequate remedy at law. The Parties further agree that (i) by seeking any remedy
provided for in this Section 13.14, a Party shall not in any respect waive its right to seek any other
form of relief that may be available to such Party under this Agreement and (ii) nothing contained
in this Section 13.14 shall require any Party to institute any action for (or limit such party’s right
to institute any action for) specific performance under this Section 13.14 before exercising any
other right under this Agreement.
                13.15 Liquidating Trustee. If at any time Seller liquidates or otherwise has a
trustee or other representative appointed by the Bankruptcy Court, then such trustee or other
representative shall be entitled to exercise the rights of Seller under this Agreement. Any successor
or assign of Seller or any liquidation or other trust established by the Plan or any other chapter 11
plan with respect to Seller shall, without any further approval by or notice to any court, Person, or
entity, shall succeed in all respects to the rights of Seller under this Agreement.

                                      [Signature page follows.]




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               IN WITNESS WHEREOF, the Parties and the RBL Facility Agent (solely for
purposes of Sections 3.1(x), 13.3, 13.4, 13.5, 13.6, 13.9, 13.10, 13.11, 13.12, 13.14 and Exhibit F
of this Agreement) have caused this Agreement to be executed and delivered by their duly
authorized representatives, all as of the day and year first above written.

                                      ARENA ENERGY, LP


                                      By: _____________________________
                                      Name: Anthony R. Horton
                                      Title: Authorized Person

                                      ARENA EXPLORATION, LLC


                                      By: _____________________________
                                      Name: Anthony R. Horton
                                      Title: Authorized Person

                                      VALIANT ENERGY LLC


                                      By: _____________________________
                                      Name: Anthony R. Horton
                                      Title: Authorized Person

                                      SAGAMORE HILL HOLDINGS, LP


                                      By: _____________________________
                                      Name: Anthony R. Horton
                                      Title: Authorized Person




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                          SAN JUAN OFFSHORE, LLC


                          By: _____________________________
                          Name: Michael J. Minarovic
                          Title: Chief Executive Officer




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                          WELLS FARGO BANK, N.A.


                          By: _____________________________
                          Name:___________________________
                                   Oleg Kogan
                          Title:____________________________
                                   Director




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           Attached to and made a part of that certain Asset Purchase Agreement by and among
                    Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                              and Sagamore Hill Holdings, LP, as Seller
                                 and San Juan Offshore, LLC, as Buyer

                              ASSIGNED LEASES AND INTERESTS

    LEASES

Area/ Block     Lease      Effective                     Description/Depths                             Record
                             Date                                                                   Title/Operating
                                                                                                    Rights Interest

East Cameron    OCS-G      5/1/1989    All of Block 328, East Cameron Area, South Addition,         48.00000% OR
     328        10638                  INSOFAR AND ONLY INSOFAR as said lease covers
                                       and affects operating rights attributable to depths from
                                       the surface of the earth down to and including 100 feet
                                       below the deepest stratigraphic equivalent of 3,515 feet
                                       (MD) as encountered in the Zilkha Energy Company,
                                       OCS-G 10638 Well No. 1

East Cameron    OCS-G                  All of Block 328, East Cameron Area, South Addition,         48.00000% OR
                           5/1/1989
     328        10638                  INSOFAR AND ONLY INSOFAR as said lease covers
                                       depths from below 100 feet below the deepest
                                       stratigraphic equivalent of 3,515 feet (MD) as
                                       encountered in the Zilkha Energy Company, OCS-G
                                       10638 Well No. 1 down to the stratigraphic equivalent
                                       of the base of the HB-5 sand, the base of which is seen
                                       at a depth of 4,195 feet (TVD) in the Mesa Petroleum
                                       Co. OCS-G 2255 Well No. A-22, located in East
                                       Cameron Block 323

Eugene Island   OCS-G      7/1/2003    That portion of Block 38, Eugene Island Area, OCS            54.05000% OR
     38         24883                  Leasing Map, Louisiana Map No. 4, seaward of the 1975
                                       Supreme Court Decree Line containing approximately
                                       4,378.23 acres, INSOFAR AND ONLY INSOFAR, as
                                       said operating rights cover and effect the Southeast
                                       Quarter (SE/4) of Eugene Island Block 38, limited as to
                                       depths from the surface to 11,500 feet true vertical depth
                                       subsea

Eugene Island   OCS-G      5/1/1974    E/2 SE/4 NE/4 of Block 57, Eugene Island Area, from          54.05000% OR
     57          02601                 the surface of the earth down to and including the
                Expired                stratigraphic equivalent depth of 13,097’ SS TVD as
                                       seen at 13,150’ MD in the electric log of the Eugene
                                       Island 57 OCS-G 2601 Well No. 6 being the
                                       stratigraphic equivalent of the total depth drilled in the
                                       Eugene Island 58 Well No. 8 BP-1 plus one hundred feet
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Area/ Block     Lease   Effective                    Description/Depths                            Record
                          Date                                                                 Title/Operating
                                                                                               Rights Interest

Eugene Island   OCS-G   12/1/1974   NW/4 NW/4; SW/4 NW/4; N/2 NW/4 SW/4 of Block               57.73155% OR
     58         02895               58 from the surface of the earth down to and including
                                    the stratigraphic equivalent depth of 13,097’ SS TVD as
                                    seen at 13,150’ MD in the electric log of the Eugene
                                    Island Block 57 OCS-G 2601 Well No. 6 being the
                                    stratigraphic equivalent of the total depth drilled in
                                    Eugene Island 58 OCS-G 2895 Well No. 8 BP-1 plus
                                    one hundred feet

Eugene Island   OCS-G   3/1/2008    All of Block 99, Eugene Island Area                        98.00000% RT
     99         31369


Eugene Island    OCS    5/1/1960    All of Block 100, Eugene Island Area                       98.00000% RT
    100         00796


Eugene Island   OCS-G   6/1/1978    SW1/4 of Block 174, Eugene Island Area, INSOFAR            68.00000% OR
    174         03782               AND ONLY INSOFAR as operating rights from the
                                    surface down to the stratigraphic equivalent of 100'
                                    below a true vertical depth of 10,960' as encountered in
                                    the Newfield Exploration Company OCS-G 3782 Well
                                    No. A-10

Eugene Island   OCS-G   11/1/1980   All of Block 182, Eugene Island Area                       98.00000% RT
    182         04452



Eugene Island   OCS-G   6/1/1962    All of Block W/2W/2E/2 and W/2 of 214, Eugene              98.00000% RT
    214         00977               Island Area



Eugene Island    OCS    9/1/1955    E/2 Block 215, Eugene Island Area                          98.00000% RT
    215         00578



Eugene Island   OCS-G   7/1/2004    W/2 Block 215, Eugene Island Area                          98.00000% RT
    215         26033



Eugene Island   OCS-G   11/1/2019   All of Block 217, Eugene Island Area, OCS Leasing          98.00000% RT
    217         36743               Map, Louisiana Map Number 4




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Eugene Island   OCS-G   11/1/2019   All of Block 227, Eugene Island Area, OCS Leasing   98.00000% RT
    227         36745               Map, Louisiana Map Number 4



Eugene Island   OCS-G   7/1/1983    All of Block 229, Eugene Island Area                98.00000% RT
    229         05505


Eugene Island   OCS-G   6/1/1962    All of Block 230, Eugene Island Area                98.00000% RT
    230         00979


Eugene Island   OCS-G    6/1/62     All of Block 231, Eugene Island Area                98.00000% RT
    231         00980


Eugene Island   OCS-G   6/1/1962    All of Block 237, Eugene Island Area                98.00000% RT
    237         00981


Eugene Island   OCS-G   6/1/1962    All of Block 238, Eugene Island Area                98.00000% RT
    238         00982


Eugene Island   OCS-G   4/1/1976    All of Block 251, Eugene Island Area                98.00000% RT
    251         03331


Eugene Island   OCS-G   6/1/1962    All of Block 252, Eugene Island Area                98.00000% RT
    252         00983


Eugene Island   OCS-G   6/1/2017    W1/2SW1/4NW1/4 of Block 253, Eugene Island Area     98.00000% RT
    253         35938


Eugene Island   OCS-G   7/1/1989    NE1/4; E1/2NW1/4; NW1/4NW1/4;                       98.00000% RT
    253         10741               E1/2SW1/4NW1/4; S1/2 of Block 253, Eugene Island
                                    Area

Eugene Island   OCS-G   7/1/2018    All of Block 254, Eugene Island Area                98.00000% RT
    254         36207


Eugene Island   OCS-G   7/1/2018    All of Block 261, Eugene Island Area                98.00000% RT
    261         36208


Eugene Island   OCS-G   7/1/2018    All of Block 262, Eugene Island Arena               98.00000% RT
    262         36209




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Eugene Island   OCS-G   5/1/2003    All of Block 275, Eugene Island Area, South Addition     98.00000% RT
    275         24910               (less and except the Operating Rights from 20,000’
                                    TVDSS down to 99,999’ TVDSS)

Eugene Island   OCS-G   6/1/1962    All of Block 276, Eugene Island Area, South Addition     98.00000% RT
    276         00989


                                    All of Block 276, Eugene Island Area, South Addition,
Eugene Island   OCS-G   6/1/1962                                                             64.66700% OR
                                    limited to those depths below 13,000’ TVD
    276         00989


Eugene Island   OCS-G   2/1/1971    S/2 of Block 314, Eugene Island Area, South Addition     98.00000% RT
    314         02111               (less and except Operating Rights 25,000’ SSTVD to
                                    99,999’ SSTVD)

Eugene Island   OCS-G   6/1/2010    N/2 of Block 314, Eugene Island Area, South Addition     98.00000% RT
    314         33636


Eugene Island   OCS-G   8/1/1974    S/2 of Block 315, Eugene Island Area, South Addition     50.00000% RT
    315         02112


Eugene Island   OCS-G   8/1/1974    S/2 of Block 315, Eugene Island Area, South Addition,    50.00000% OR
    315         02112               from 7,759’ TVDSS to 25,000’ SSTVD


Eugene Island   OCS-G   7/1/2018    All of Block 320, Eugene Island Area, South Addition     98.00000% RT
    320         36211


Eugene Island   OCS-G   11/1/2017   All of Block 324, Eugene Island Area, South Addition     98.00000% RT
    324         36118


Eugene Island   OCS-G   11/1/2017   All of Block 325, Eugene Island Area, South Addition     98.00000% RT
    325         36119


Eugene Island   OCS-G   5/1/1974    All of Block 332, Eugene Island Area, South Addition     98.00000% RT
    332         02613               (less and except Operating Rights 25,000’ SSTVD to
                                    99,999’ SSTVD)

Eugene Island   OCS-G   5/1/1974    NW of Block 332, Eugene Island Area, South Addition,
                                                                                             98.00000% OR
    332         02613               insofar and only insofar as said lease covers from the
                                    surface down to 13,100 feet subsea TVD below the
                                    surface




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Eugene Island   OCS-G   2/1/1971    All of Block 338, Eugene Island Arena, South Addition        98.00000% RT
    338         02118



Eugene Island   OCS-G   2/1/1973    All of Block 339, Eugene Island Arena, South Addition        98.00000% RT
    339         02318


Eugene Island   OCS-G   7/1/2018    All of Block 340, Eugene Island Area, South Addition         98.00000% RT
    340         36212


Eugene Island   OCS-G   12/1/1974   All of Block 341, Eugene Island Area, South Addition         98.00000% RT
    341         02914


Eugene Island   OCS-G   6/1/1994    W/2SW/4NW/4; SE/4SW/4NW/4; NW/4SW/4;                         48.00000% OR
    346         14482               W/2SW/4SW/4, Eugene Island Area, South Addition,
                                    from the surface down to stratigraphic equivalent of
                                    12,890’, being the total depth drilled in the EI 346 B-1
                                    Well, plus 100’

Galveston 192   OCS-G   9/1/1975    All of Block 192, Galveston Area, as shown on OCS            98.00000% RT
                03229               Official Leasing Map, Texas Map No. 6


Galveston 209   OCS-G   10/1/1983   All of Block 209, Galveston Area, as shown on OCS            98.00000% RT
                06093               Official Leasing Map, Texas Map No. 6


 High Island    OCS-G   9/1/1975    All of Block 193, High Island Area, as shown OCS             98.00000% RT
    193         03237               Official Leasing Map, Texas Map No. 7


 High Island    OCS-G   7/1/1974    All of Block A 547, High Island, South Addition              98.00000% RT
   A-547        02705


 High Island    OCS-G   7/1/1974    N2NE from the surface to 100’ below the stratigraphic        83.00000% OR
   A-547        02705               equivalent of the true vertical depth subsea (TVDSS) of
                                    the Arena Offshore, LP HI A-547 C001 well, ST00BP01
                                    (42-709-41168-01) being 15,198’ TVDSS; and the
                                    NENW from below 3,500’ TVDSS to 100’ below the
                                    stratigraphic equivalent of the true vertical depth subsea
                                    (TVDSS) of the Arena Offshore, LP HI A-547 C001
                                    well, ST00BP01 (42-709-41168-01) being 15,198’
                                    TVDSS.

 High Island    OCS-G   7/1/1974    N2NW of Block A-547, High Island Area, South                 34.41296% OR
   A-547         2705               Addition, INSOFAR AND ONLY INSOFAR AS the
                                    operating rights cover the depths from the surface to the
                                    subsea depth of 3,500’



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Main Pass 120   OCS-G     7/1/1975    All of Block 120, Main Pass Area                         67.80000% RT
                03197


Main Pass 120   OCS-G     7/1/1975    All of Block 120, Main Pass Area, INSOFAR AND            67.80000% OR
                03197                 ONLY INSOFAR as said operating rights pertain to all
                                      depths from surface to and including 8,000 SSTVD

Main Pass 120   OCS-G     7/1/1975    All of Block 120, Main Pass Area, INSOFAR AND            67.80000% OR
                03197                 ONLY INSOFAR AS said lease covers and affects
                                      depths below 8,000’ TVD subsea

Main Pass 121   OCS-G     7/1/2002    All of Block 121, Main Pass Area                         67.80000% RT
                23969


Main Pass 121   OCS-G     7/1/2002    All of Block 121, Main Pass Area, INSOFAR AND            32.90000% OR
                23969                 ONLY INSOFAR as said operating rights cover from
                                      6,500’ TVD down to 50,000’ TVD

Main Pass 122   OCS-G     7/1/1993    N/2; N/2S/2; N/2SE/4SE/4 of Block 122, Main Pass         67.80000% RT
                13964                 Area


Main Pass 123   OCS-G     5/1/1990    All of Block 123, Main Pass Area                         73.00000% RT
                12088


Main Pass 123   OCS-G     5/1/1990    All of Block 123, Main Pass Area, from the surface to    98.00000% OR
                12088                 100’ below the stratigraphic equivalent of the deepest
                                      depth drilled and logged (7,233 feet TVD) in the
                                      Humble Oil and Refining No. 1 OCS-G 1630

Main Pass 236   OCS-G     12/1/1974   N/2; N/2SW/4; N/2SW/4SW/4 of Block 236, Main             67.80000% RT
                02955                 Pass Area, South and East Addition


Main Pass 236   OCS-G     12/1/1974   N/2; N/2SW/4; N/2SW/4SW/4 of Block 236, Main
                                                                                               67.80000% OR
                02955                 Pass Area, South and East Addition


 Mississippi    OCS-G     7/1/1997    All of Block 800, Mississippi Canyon                     12.50000% RT
 Canyon 800     18292


South Marsh     OCS-G     7/1/2003    All of Block 192, South Marsh Island Area, South         98.00000% RT
    192         24878                 Addition


South Pass 74   OCS-G     7/1/2004    All of Block 74, South Pass Area, South and East         98.00000% RT
                 26144                Addition
                Expired



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 South Pass 82    OCS-G     7/1/1983   All of Block 82, South Pass Area, South and East           98.00000% OR
                   05685               Addition
                  Expired

 South Pass 83    OCS-G     4/1/2982   All of Block 83, South Pass Area, South and East           98.00000% RT
                   05052               Addition
                  Expired

South Timbalier   OCS-G     4/1/1976   All of Block 35, South Timbalier Area                      98.00000% RT
      35          03336


South Timbalier   OCS-G     4/1/1976   All of Block 35, South Timbalier Area, INSOFAR AND         48.00000% OR
      35          03336                ONLY INSOFAR as the N1/2NE/4, limited to depths
                                       from the stratigraphic equivalent of the top of E-3 Sand
                                       as encountered at 14,560’ MD in the South Timbalier
                                       Block 35 OCS-G 3336 Well No. D-1 down to the
                                       stratigraphic equivalent of 100’ below 15,500’ MD as
                                       found on the Array Induction Imager Dipole Sonic
                                       Compensated Neutron log of the South Timbalier Block
                                       36 OCS-G 2624 Well No. 2.

South Timbalier   OCS-G     4/1/1976   All of Block 35, South Timbalier Area, INSOFAR AND         98.00000% OR
      35          03336                ONLY INSOFAR as the SE1/4NE1/4 and the
                                       SE1/4SW1/4NE1/4, limited to depths from the
                                       stratigraphic equivalent of the top of E-3 sand as
                                       encountered at 14,682’ MD on the Array
                                       Induction/Three Detector Density Compensated
                                       Neutron GR log of the South Timbalier Block 35 OCS-
                                       G 3336 No. 7 down to the stratigraphic equivalent of
                                       100’ below 15,814’ MD as found on the aforesaid log in
                                       the aforesaid well.

South Timbalier   OCS-G     5/1/1974   All of Block 36, South Timbalier Area                      98.00000% RT
      36          02624


South Timbalier   OCS-G     5/1/1974   Block 36, South Timbalier Area, INSOFAR AND
                                                                                                  50.00000% OR
      36          02624                ONLY INSOFAR as the N1/2NW1/4, limited to depths
                                       from the stratigraphic equivalent of the top of the E-3
                                       Sand as encountered at 14,560’MD in the South
                                       Timbalier Block 35 OCS-G 3336 Well No. D-1 down to
                                       the stratigraphic equivalent of 100’ below 15,500’ MD
                                       as found on the Array Induction Imager Dipole Sonic
                                       Compensated Neutron log of the South Timbalier Block
                                       36 OCS-G 2624 Well No. 2

South Timbalier   OCS-G     5/1/1974   NE1/4NE1/4; E1/2SE1/4NE1/4; N1/2NW1/4NE1/4 of              98.00000% RT
      37          02625                Block 37, South Timbalier Area


South Timbalier   OCS-G     5/1/1974   NE1/4NE1/4; E1/2SE1/4NE1/4; N1/2NW1/4NE1/4 of
                                                                                                  81.33333% OR
      37          02625                Block 37, South Timbalier Area, as to all depths from


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                                      18,000 feet total vertical depth subsea down to 99,999
                                      feet total vertical depth.



South Timbalier   OCS-G   5/1/1974    S1/2NW1/4NE1/4; SW1/4NE1/4; W1/2SE1/4NE1/4;               98.00000% RT
      37          02625               NW1/4; SW1/4; SE1/4 of Block 37, South Timbalier
                                      Area

South Timbalier   OCS-G   5/1/1974    S1/2NW1/4NE1/4; SW1/4NE1/4; W1/2SE1/4NE1/4;               64.66667% OR
      37          02625               NW1/4; SW1/4; SE1/4 of Block 37, South Timbalier
                                      Area, as to all depths from 18,000 feet total vertical
                                      depth subsea down to 99,999 feet total vertical depth
                                      subsea.

South Timbalier   OCS-G   5/1/1988    All of Block 38, South Timbalier Area less and except     98.00000% RT
      38          09637               the NWNWNW; E2NWNW; NENW; NWNWNE from
                                      12,100’ to 16,603’ TVD

South Timbalier   OCS-G   5/1/1988    NWNWNW; E2NWNW; NENW; NWNWNE from                         0.00000% WI
      38          09637               12,100’ to 16,603’ TVD


South Timbalier   OCS-G   5/1/1962    All of Block 51, South Timbalier and Bay Marchand         98.00000% RT
      51          01240               Areas, as shown on OCS Leasing Map, LA6


South Timbalier   OCS-G   5/1/1962    All of Block 52, South Timbalier Area                     98.00000% RT
      52          01241


South Timbalier    OCS    12/1/1954   All of Block 128, South Timbalier Area                    98.00000% RT
      128         00498


South Timbalier    OCS    1/1/1955    All of Block 129, South Timbalier Area                    98.00000% RT
      129         00465



South Timbalier    OCS    1/1/1955    All of Block 130, South Timbalier Area                    98.00000% RT
      130         00456


South Timbalier    OCS    1/1/1955    All of Block 131, South Timbalier Area                    98.00000% RT
      131         00457


South Timbalier    OCS    1/1/1955    All of ST 131, South Timbalier Area, INSOFAR AND          98.00000% OR
      131         00457               ONLY INSOFAR as said operating rights cover and
                                      affect the NE/4SE/4 of Block 131, South Timbalier
                                      Area, limited as to depth from the top of the C-3 Sand,
                                      which depth is 7,452’ MD (5,994’ TVD) to the deepest
                                      depth drilled, which depth is 8,297’ MD (6,760’ TVD),
                                      in well OCS-G 5660 AA6 ST#1.

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South Timbalier    OCS    1/1/1955   NE/4 of SE/4 of ST 131, South Timbalier Area, from the       98.00000% OR
      131         00457              surface down to 5,994’ TVDSS


South Timbalier    OCS    1/1/1955   N/2; SW/4; S/2SE/4; NW/4SE/4 of Block 131, South             98.00000% OR
      131         00457              Timbalier Area, from the surface down to and including
                                     25,000’ TVDSS

South Timbalier    OCS    1/1/1955   All of Block 134, South Timbalier Area                       98.00000% RT
      134         00461


South Timbalier    OCS    1/1/1955   All of Block 135, South Timbalier Area                       98.00000% RT
      135         00462


South Timbalier   OCS-G   2/1/1970   E/2 of Block 148, South Timbalier Area                       38.00000% RT
      148         01960


South Timbalier   OCS-G   2/1/1970   W/2SE/4;     NW1/4SE1/4SE1/4;        S1/2SE1/4SE1/4;         38.00000% OR
      148         01960              SW1/4NE1/4SE1/4 of Block 148, South Timbalier
                                     Area, from the surface to 25,000’ TVDSS

South Timbalier   OCS-G   2/1/1970   NE1/4; N1/2NE1/4SE1/4; SE1/4NE1/4SE1/4; and
                                                                                                  38.00000% OR
      148         01960              NE1/4SE1/4SE1/4 of Block 148, South Timbalier Area,
                                     from 17,777’ TVDSS to 99,999’ TVDSS

South Timbalier    OCS    1/1/1955   All of Block 151, South Timbalier Area                       98.00000% RT
      151         00463


South Timbalier    OCS    1/1/1955   All of Block 152, South Timbalier Area                       98.00000% RT
      152         00464


South Timbalier   OCS-G   6/1/1962   All of Block 161, South Timbalier Area                       98.00000% RT
      161         01248


South Timbalier   OCS-G   6/1/1962   SW/4 NW/4 SW/4 of Block 161, South Timbalier Area,           73.00000% OR
      161         01248              from the stratigraphic equivalent of a depth of 6,400 feet
                                     TVD, as measured in the OCS-G 1248 D-5 Well, down
                                     to and including the stratigraphic equivalent of 7,571
                                     feet TVD, as measured in the OCS-G 1248 D-7 Well

South Timbalier   OCS-G   6/1/1962   SW/4 SW/4; SE/4 NW/4 SW/4; SW/4 NE/4 SW/4; W/2
      161         01248              SE/4 SW/4 of Block 161, South Timbalier Area, from           73.00000% OR
                                     the surface down to and including the stratigraphic
                                     equivalent of 7,571 feet TVD, as measured in the OCS-
                                     G 1248 D-7 Well



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South Timbalier   OCS-G   6/1/1962   S/2 SW/4 NE/4; N/2 NW/4 SE/4 of Block 161, South            98.00000% OR
      161         01248              Timbalier Area, INSOFAR AND ONLY INSOFAR as
                                     the lease covers depths from the surface of the earth
                                     down to a depth of 8,448 feet True Vertical Depth, being
                                     the deepest depth drilled in the OCS 01248 No. A10 ST3
                                     Well, and its stratigraphic equivalent plus 100 feet

South Timbalier   OCS-G   6/1/1962   S/2 NW/4 NE/4; N/2 SW/4 NE/4; SW/4 NE/4 NE/4;               98.00000% OR
      161         01248              SE/4 NE/4; N/2 NE/4 SE/4 of Block 161, South
                                     Timbalier Area, INSOFAR AND ONLY INSOFAR as
                                     the Lease covers depths from the surface of the earth
                                     down to a depth of eleven thousand, six hundred, ninety-
                                     nine feet (11,699’) True Vertical depth, being the
                                     deepest depth drilled in the OCS-G 01248 No. C-7 ST-
                                     1 Well, and its stratigraphic equivalent plus one hundred
                                     (100) feet

South Timbalier   OCS-G   6/1/1962   All of Block 177, South Timbalier Area                      98.00000% RT
      177         01260


South Timbalier   OCS-G   3/1/1969   NW of Block 188, South Timbalier Area                       98.00000% RT
      188         01899



South Timbalier   OCS-G   6/1/1967   All of Block 189, South Timbalier Area less and except      98.00000% RT
      189         01572              the S2S2 of Block 189, South Timbalier Area from
                                     surface down to 18,544’ TVD

 Vermilion 71     OCS-G   5/1/2000   All of Block 71, Vermilion Area                             98.00000% RT
                  21592


 Vermilion 72     OCS-G   5/1/2006   W1/2 of Block 72, Vermillion Area, INSOFAR AND              96.00000% OR
                  27851              ONLY INSOFAR as the lease covers depths from the
                                     surface to 11,900’ subsea true vertical depth

Vermilion 325     OCS-G   6/1/2018   All of Block 325, Vermilion Area, South Addition            48.00000% RT
                  36200


Vermilion 341     OCS-G   7/1/2010   All of Block 341, Vermilion Area, South Addition            48.00000% RT
                  33607


Vermilion 342     OCS-G   7/1/2010   All of Block 342, Vermilion Area, South Addition            48.00000% RT
                  33608


West Cameron      OCS-G   2/1/2012   All of Block 522, West Cameron Area, South Addition         98.00000% RT
     522          34033



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West Cameron     OCS-G   5/1/1991   All of Block 543, West Cameron Area, South Addition          98.00000% RT
     543         12802


West Cameron     OCS-G   6/1/1994   All of Block 544, West Cameron Area, South Addition          98.00000% RT
     544         14342


 West Delta      OCS-G   6/1/1962   N/2 S/2 and N/2 N/2 S/2 S/2, West Delta Block 72 from        50.00000% OR
    72           01082              the surface down to 12,013 feet subsea true vertical
                                    depth LESS AND EXCEPT ExxonMobil’s contractual
                                    interest in all producible reservoirs as of 9/18/2009
                                    including, but not limited to, the K-30 Sand penetrated
                                    by the WD B72 Exxon Mobil OCS-G01082 No. 10 Well
                                    (API #177194065701) between the depths of 15,598
                                    feet and 15,787 feet MD

 West Delta      OCS-G   6/1/1962   NW/4 N/2 SW/4 West Delta Block 73 from the surface           50.00000% OR
    73           01083              to 12,013 feet subsea true vertical depth LESS AND
                                    EXCEPT ExxonMobil’s contractual interest in all
                                    producible reservoirs as of 9/18/2009 including, but not
                                    limited to, the K-30 Sand penetrated by the WD B72
                                    Exxon Mobil OCS-G01082 No. 10 Well (API
                                    #177194065701) between the depths of 15,598 feet and
                                    15,787 feet MD

West Delta 86    OCS-G   1/1/1980   NE/4 NE/4 SE/4 of Block 86, West Delta Area, from            60.00000% OR
                 04243              surface down to and including the stratigraphic
                                    equivalent of 7,850’ TVD

West Delta 86    OCS-G   1/1/1980   SE/4 NE/4 SW/4; NE/4 SE/4 SW/4; NE/4 NW/4 SE/4;              60.00000% OR
                 04243              S/2 N/2 SE/4; N/2 S/2 SE/4 of Block 86, West Delta
                                    Area, from surface down to and including the
                                    stratigraphic equivalent 9,388’ TVD

West Delta 86    OCS-G   1/1/1980   NW/4 SW/4; N/2 SW/4 SW/4; N/2 NE/4 SW/4; SW/4                60.00000% OR
                 04243              NE/4 SW/4; NW/4 SE/4 SW/4; NW/4 NW/4 SE/4 of
                                    Block 86, West Delta Area, from surface down to and
                                    including the stratigraphic equivalent of 8,560’ TVD

West Delta 117   OCS-G   6/1/2017   All of Block 117, West Delta Area, South Addition            98.00000% RT
                 35951


West Delta 118   OCS-G   7/1/2018   All of Block 118, West Delta Area, South Addition            98.00000% RT
                 36227


 West Delta      OCS-G   5/1/1962   South half (S/2) of Block 133, West Delta Area, South        58.00000% OR
   133           01106              Addition limited as to those depths from the surface of
                                    the earth to the stratigraphic equivalent depth of 10,923'
                                    TVD, (being the total depth drilled in the Newfield
                                    Exploration Company - OCS-G 01106 No. F-1 Well,
                                    plus one hundred feet

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Vermilion 342   OCS-G     7/1/2010   All of Block 342, Vermilion Area, South Addition            1.00000% ORRI
                33608


    SERVITUDES


Area/ Block      Right-of-Way        Pipeline Segment No.                          Description
                   Number

                                                               Pipeline Right-of-way (ROW) OCS-G 14716 is a
  EC 328          OCS-G14716                10375
                                                               200-feet wide and approximately 4.04 miles
                                                               (21327.61 feet) long corridor associated with the 4.5-
                                                               inch Pipeline Segment (PSN) 10375. The purpose of
                                                               ROW OCS-G 14716 is to operate and maintain PSN
                                                               10375 and, to transport oil from Platform B in Block
                                                               328, through Block 323 to an 8.625-inch subsea tie-in
                                                               (SN 4235) in Block 322, all in the East Cameron Area,
                                                               South Addition.
                                                               Pipeline Right-of-way (ROW) OCS-G 14717 is a
  EC 328          OCS-G14717                10376
                                                               200-foot wide and approximately 13.907 feet (2.63
                                                               miles) long corridor associated with Segment 10376.
                                                               The purpose of ROW OCS-G 14717 is to maintain,
                                                               operate and transport Gas. Segment 10376
                                                               originates at East Cameron Block 328, Platform B
                                                               with a 4-inch pipeline and terminates at a 12-inch Sub
                                                               Sea Tie (SSTI) in East Cameron Block 323.
                                                               Pipeline Right-of-way (ROW) OCS-G29256 is a 200-
  EC 328          OCS-G29256                19167
                                                               foot wide and approximately 3.99 miles (21,089 feet)
                                                               long corridor associated with the 6 5/8-inch Pipeline
                                                               Segment No. (PSN) 19167. The purpose of Pipeline
                                                               ROW OCS-G29256 is to install, maintain, and
                                                               operate PSN 19167 and to transport oil originating at
                                                               Platform B in Block 328, through Block 323, and
                                                               terminating at an 8-inch subsea tie-in with PSN 4235,
                                                               at X=l,552,523.38 and Y=-160,331.86, in Block 322,
                                                               all located in East Cameron Area.
   EI 58          OCS-G26962                15542              A 200-foot right-of-way to a 4-1/2 inch pipeline, o.62
                                                               miles in length, to transport Bulk Gas from No. 8
                                                               Caisson in Block 58 to the D Platform in Block 57, all
                                                               located within the Eugene Island Area.

  EI 100          OCS-G29088                18290              A 200-foot wide right-of-way to install, operated, and
                                                               maintain a 6-inch pipeline, 5.23 miles in length, to
                                                               transport oil from Platform B in Block 100, thru Block
                                                               105 to a subsea tie-in in Block 106, all located in
                                                               Eugene Island Area.




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EI 182          OCS-G05938            6849         A 200-foot wide right-of-way to operate and maintain
                                                   a 6-inch pipeline, 1.75 miles in length, to transport oil
                                                   from Platform A in Block 182 to a 12-inch subsea tie-
                                                   in in Block 174, all located in Eugene Island Area.

EI 182          OCS-G07097            7112         A 200-foot wide right-of-way to operate and maintain
                                                   an 8 5/8-inch pipeline, 4.81 miles in length, to
                                                   transport gas/oil from Platform A in Block 182 to a
                                                   24-inch subsea tie-in in Block 197, all located in
                                                   Eugene Island Area.

EI 215          OCS-G29120           18543         A 200-foot wide right-of-way to operate and maintain
                                                   a 6-inch pipeline, 8.11 miles in length, to transport
                                                   bulk oil from a subsea tie-in in Block 206, through
                                                   Blocks 207 and 216, to Platform B-AUX in Block
                                                   215, all located in Eugene Island.

EI 215          OCS-G13441            10           A 200-foot wide right-of-way to operate and maintain a 6
                                                   5/8-inch pipeline, 11.16 miles in length, to transport oil from
                                                   Platform B-PRD in Block 215, through Blocks 208, 209,
                                                   192, and 191, to Platform A in Block 188, all in Eugene
                                                   Island Area.

EI 215          OCS-G29399           19970         Pipeline Right-of-way (ROW) OCS-G 29399 is a
                                                   200-foot wide and approximately 2.4 miles (12,797-
                                                   feet) long corridor associated with 6-inch Pipeline
                                                   Segment No. (PSN) 19970. The purpose of pipeline
                                                   ROW OCS-G 29399 is to install, maintain, and
                                                   operate PSN 19970 and to transport oil from Platform
                                                   E in Block 208 to Platform B-PROD in Block 215 all
                                                   located in Eugene Island.

EI 227          OCS-G29317        19370 (PROP)     Pipeline Right-of-way OCS-G29317 is a 200-foot
                                                   wide and approximately 11.31 miles (59,724 feet)
                                                   long corridor associated with the 4 1/2-inch Pipeline
                                                   Segment No. (PSN) 19370. The purpose of pipeline
                                                   ROW OCS-G29317 is to install, maintain, and
                                                   operate PSN 19370 and to transport bulk gas from
                                                   Platform B in Block 227, through Blocks 218, 205,
                                                   204, and 197 to Platform A in Block 182, all located
                                                   in Eugene Island Area.

EI 227          OCS-G29319        19372 (PROP)     Pipeline Right-of-way OCS-G29319 is a 200-foot
                                                   wide and approximately 11.31 miles (59,724 feet)
                                                   long corridor associated with the 8-inch Pipeline
                                                   Segment No. (PSN) 19372. The purpose of pipeline
                                                   ROW OCS-G29319 is to install, maintain, and
                                                   operate PSN 19372 and to transport bulk oil from
                                                   Platform B in Block 227, through Blocks 218, 205,
                                                   204, and 197 to Platform A in Block 182, all located
                                                   in Eugene Island Area.




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EI 253          OCS-G29390           19924         Pipeline Right-of-way (ROW) OCS-G29390 is a 200-
                                                   foot wide and approximately 4.89 miles (25,817’)
                                                   long corridor associated with the 6-inch Pipeline
                                                   Segment No. 19924. The purpose of pipeline ROW
                                                   OCS-G29390 is to maintain and operate PSN 19924
                                                   and to transport oil originating Platform A in Block
                                                   259 through Block 260 and terminating at a 14-inch
                                                   subsea tie-in with PSN 19785 in Block 253, all located
                                                   in Eugene Island Area.

EI 275          OCS-G26979           15619         A pipeline right-of-way 200-feet in width to operate
                                                   and maintain a 6 5/8-inch pipeline, 3.72 miles in
                                                   length, to transport gas and condensate from Platform
                                                   K in Block 275, through Block 260, to a 12-inch
                                                   subsea tie-in in with Segment Number 2301 in Block
                                                   259, all located in Eugene Island Area.

EI 276          OCS-G28342           17103         A pipeline Right-of-way 200-feet in width to operate
                                                   and maintain a 10-3/4-inch pipeline, 8.51 miles in
                                                   length, to transport bulk oil from Platform F in Block
                                                   276, through Blocks 275, 260, and 261 to Platform I
                                                   in Block 252, all located in Eugene Island Area.

EI 276          OCS-G28343           17104         A pipeline Right-of-way 200-feet in width to operate
                                                   and maintain a bidirectional 6-5/8-inch pipeline, 8.59
                                                   miles in length to transport lift gas from Platform F in
                                                   Block 276, through Blocks 275, 260, and 261 to
                                                   Platform I in Block 252, all located in Eugene Island
                                                   Area.

EI 276          OCS-G28344           17105         A pipeline Right-of-way 200-feet in width to operate
                                                   and maintain a 6-5/8-inch pipeline, 2.66 miles in
                                                   length to transport bulk oil from Platform E in Block
                                                   276 to a 10-inch subsea tie-in with Segment No.
                                                   17103, in Block 275, all located in Eugene Island
                                                   Area.

EI 276          OCS-G28345           17106         A pipeline Right-of-way 200-feet in width for the
                                                   operation and maintenance of a bidirectional 4-1/2-
                                                   inch pipeline, 2.66 miles in length, to transport lift gas
                                                   from Block 276 to a 6-inch subsea tie-in with Pipeline
                                                   Segment Number 17104 in Block 275, all located in
                                                   Eugene Island Area.

EI 314          OCS-G29112           18509         A 200-foot wide right-of-way to operate and maintain
                                                   a 6.625-inch pipeline, 4.55 miles in length, to
                                                   transport oil from Platform A, in Block 314, through
                                                   Block 331 to a 14-inch Subsea Tie-In, in Block 330,
                                                   all located in Eugene Island Area, South Addition.

EI 315          OCS-G13447            6852         A right of way 200-feet in width for the operation and
                                                   maintenance of a 6 5/8-inch pipeline, 2.3 miles in
                                                   length, for the transportation of oil from Platform A in
                                                   Block 315, to a subsea tie-in, 14-inch pipeline, (OCS-

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                                                   G 2139A) in Block 330, all in the Eugene Island Area,
                                                   South Addition.



EI 316          OCS-G07555            7347         A pipeline right of way two-hundred (200') feet in
                                                   width to operate and maintain a 6 5/8-inch pipeline,
                                                   1.92 miles in length to transport natural gas from
                                                   Platform A, in Block 316, through Block 315, to an 8
                                                   5/8-inch subsea tie-in in Block 330, all located in
                                                   Eugene Island Area, South Addition.

EI 338          OCS-G29119           18542         A 200-foot wide right-of-way to operate and maintain
                                                   an 8-inch pipeline, 2.24 miles in length, to transport
                                                   oil from Platform K in Block 338 to a subsea tie-in in
                                                   Block 339, all located in Eugene Island Area.

EI 338          OCS-G29423        20192 (PROP)     Pipeline Right-of-way (ROW) OCS-G29423 is a 200-
                                                   foot wide and approximately 4.02 miles (21,245.42-
                                                   feet) long corridor associated with the 8-inch Pipeline
                                                   Segment No. (PSN) 20192. The purpose of pipeline
                                                   ROW OCS-G29423 is to install, maintain, and
                                                   operate PSN 20192 and to transport gas from
                                                   accessory Platform K in Block 338 through Blocks
                                                   338 and 330 to a 24-inch subsea tie-in with PSN
                                                   15532 at X= 1,880,039.06 and Y= -157,095.69 in
                                                   Block 330, all located in Eugene Island.

EI 339          OCS-G29121           18546         A 200-foot wide right-of-way to operate and
                                                   maintain a 10 3/4-inch pipeline, 0.23 miles in
                                                   length, to transport gas and condensate from
                                                   Platform K to a subsea tie-in, all located in
                                                   Eugene Island Area Block 338.

EI 341          OCS-G04971            5422         Pipeline Right-of-way (ROW) OCS-G 04971 is a
                                                   200-foot wide and approximately 1.94 miles (10,235')
                                                   long corridor associated with the 6 5/8-inch Pipeline
                                                   Segment Number (PSN) 5422. The purpose of
                                                   pipeline ROW OCS-G 04971 is to maintain and
                                                   operate PSN 5422 and to transport oil from Platform
                                                   A in Block 341 to an 8 5/8-inch subsea tie-in with PSN
                                                   4038 in Block 327, all located in Eugene Island Area,
                                                   South Addition.

EI 341          OCS-G29158           18670         A 200-foot wide right-of-way to operate and maintain
                                                   a 16-inch pipeline, 1.43 miles in length, to transport
                                                   gas from a subsea tie-in in Block 341 to Platform A in
                                                   Block 327, all located in the Eugene Island Area,
                                                   South Addition.

EI 346          OCS-G28422           17348         A 200-foot wide right-of-way to operate and maintain
                                                   a 6-inch pipeline, 1.23 miles in length, to transport
                                                   bulk gas from Platform B to Platform A, all located in
                                                   Block 346, Eugene Island Area, South Addition.


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GA 209          OCS-G21020           13977         Pipeline Right-of-way (ROW) OCS-G 21020 is a
                                                   200-foot wide and approximately 4.22 miles (22,299
                                                   ft) long corridor associated with the 10-inch Pipeline
                                                   Segment Number (PSN) 13977. The purpose of
                                                   pipeline ROW OCS-G 21020 is to maintain and
                                                   operate PSN 13977 and to transport gas and
                                                   condensate from Block 209 in Galveston Area,
                                                   through Blocks 192, 180 in Galveston Area to a 24-
                                                   inch subsea tie-in with PSN 5381 in Block 179, High
                                                   Island Area.

GA 209          OCS-G16053           11038         Pipeline Right-of-way (ROW) OCS-G 16053 is a
                                                   200-foot wide and approximately 15.05 miles (79,439
                                                   ft) long corridor associated with the 6 5/8-inch
                                                   Pipeline Segment Number (PSN) 11038. The purpose
                                                   of ROW OCS-G 16053 is to maintain and operate
                                                   PSN 11038 and to transport oil from Block 209,
                                                   through Blocks 227, 226, 238, 239, 240 to a 14-inch
                                                   subsea tie-in with PSN 4879 in Block 256, all located
                                                   in Galveston Area.

MP 120          OCS-G15035            5123         Pipeline Right-of-Way (ROW) OCS-G15035 is a
                                                   200-foot wide and approximately 5.01 miles (26,465
                                                   feet) long corridor associated with the 8-inch Pipeline
                                                   Segment Number (PSN) 5123. The purpose of
                                                   pipeline ROW OCS-G15035 is to install, maintain,
                                                   and operate PSN 5123, and to transport bulk gas from
                                                   Platform CA in Block 120, through Blocks 121 and
                                                   122 to a plugged end in Block 133, all located in Main
                                                   Pass Area.

MP 120          OCS-G28405           17292         Pipeline Right-of-way (ROW) OCS-G28405 is a 200-
                                                   foot wide and approximately 2.54 miles (13,429 feet)
                                                   long corridor associated with the 6-inch Pipeline
                                                   Segment No. (PSN) 17292. The purpose of pipeline
                                                   ROW OCS-G28405 is to maintain and operate PSN
                                                   17292 and to transport bulk gas originating at
                                                   Platform CA in Block 120, through Blocks 121, and
                                                   terminating at a subsea tie-in at Block 122, all located
                                                   in Main Pass Area.

MP 122          OCS-G29338           19542         Pipeline Right-of-way (ROW) OCS-G 29338 is a
                                                   200-foot wide and approximately 1.45 miles (7,671
                                                   feet) long corridor associated with the 06-inch
                                                   Pipeline Segment No. 19542. The purpose of pipeline
                                                   ROW OCS-G29338 is to install, maintain, and
                                                   operate PSN 19542 and to transport bulk gas from 6-
                                                   inch sub sea tie-in in Block 122 to Platform A in Block
                                                   123, all in Main Pass Area.




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Area/ Block      Right-of-Way     Pipeline Segment No.                        Description
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  MP 123          OCS-G29318             19371           Pipeline Right-of-way (ROW) OCS-G29318 is a 200-
                                                         foot wide and approximately 8.97 miles (47,357’)
                                                         long corridor associated with the 6-inch Pipeline
                                                         Segment Number 19371. The purpose of pipeline
                                                         ROW OCS-G29318 is to maintain and operate PSN
                                                         19371 and to transport oil originating at Platform A in
                                                         Block 123 through Blocks 132, 135, and terminating
                                                         at a subsea tie in in Block 144, all located in Main Pass
                                                         Area.

  MP 123          OCS-G14709             10358           Pipeline Right-of-way (ROW) OCS-G14709 is a 200-
                                                         foot wide and approximately 2.44 miles (12,861 feet)
                                                         long corridor associated with the bidirectional 6-inch
                                                         Pipeline Segment No. 10358. The purpose of pipeline
                                                         ROW OCS-G14709 is to maintain and operate PSN
                                                         10358 and to transport gas and condensate originating
                                                         at A Platform in Block 123 through Block 122 and
                                                         terminating at a 12-inch SSTI with PSN 3363, at
                                                         X=2859915 Y=271774, in Block 133 all in the Main
                                                         Pass Area.

  MP 236          OCS-G28743         17763 (PROP)        Pipeline Right-of-way (ROW) OCS-G28743 is a 200-
                                                         foot wide and approximately 5.44 miles (28,728 feet)
                                                         long corridor associated with the 6-5/8-inch Pipeline
                                                         Segment No. 17763. The purpose of pipeline ROW
                                                         OCS-G28743 is to maintain and operate PSN 17763
                                                         and to transport bulk gas from Platform D in Block
                                                         236, through Blocks 122 and 133 to a 6-inch subsea
                                                         tie-in in Block 122, all located in Main Pass Area.

 MC 800           OCS-G28980             16273           Pipeline Right-of-way (ROW) OCS-G28980 is a 200-
                                                         foot wide and approximately 18.61 miles (96,865 feet)
                                                         long corridor associated with the 5 1/2-inch x 8 5/8-
                                                         inch pipe-in-pipe pipeline, Pipeline Segment No.
                                                         (PSN) 16273 and 16274 as well as 5-inch umbilical
                                                         PSN 16275. The purpose of the pipeline ROW OCS-
                                                         G28980 is to maintain and operate PSN 16273 to
                                                         transport bulk oil originating at a Pipeline End
                                                         Terminal (PLET) in Block 800 through Blocks 756,
                                                         757, 713, 669, 670, 626 terminating at Platform A in
                                                         Block 582, all located in Mississippi Canyon Area.




Area/ Block      Right-of-Way     Pipeline Segment No.                        Description
                   Number



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   MC 800          OCS-G28980           16274         Pipeline Right-of-way (ROW) OCS-G28980 is a 200-
                                                      foot wide and approximately 18.61 miles (96,865 feet)
                                                      long corridor associated with the 5 1/2-inch x 8 5/8-
                                                      inch pipe-in-pipe pipeline, Pipeline Segment No.
                                                      (PSN) 16273 and 16274 as well as 5-inch umbilical
                                                      PSN 16275. The purpose of the pipeline ROW OCS-
                                                      G28980 is to maintain and operate PSN 16273 to
                                                      transport bulk oil originating at a Pipeline End
                                                      Terminal (PLET) in Block 800 through Blocks 756,
                                                      757, 713, 669, 670, 626 terminating at Platform A in
                                                      Block 582, all located in Mississippi Canyon Area.

   MC 800          OCS-G28980           16275         Pipeline Right-of-way (ROW) OCS-G28980 is a 200-
                                                      foot wide and approximately 18.61 miles (96,865 feet)
                                                      long corridor associated with the 5 1/2-inch x 8 5/8-
                                                      inch pipe-in-pipe pipeline, Pipeline Segment No.
                                                      (PSN) 16273 and 16274 as well as 5-inch umbilical
                                                      PSN 16275. The purpose of the pipeline ROW OCS-
                                                      G28980 is to maintain and operate PSN 16273 to
                                                      transport bulk oil originating at a Pipeline End
                                                      Terminal (PLET) in Block 800 through Blocks 756,
                                                      757, 713, 669, 670, 626 terminating at Platform A in
                                                      Block 582, all located in Mississippi Canyon Area.

   SM 192          OCS-G26928           15290         One 6 5/8-inch pipeline, 1.86 miles long, to transport
                                                      oil from South Marsh Island Area Block 192 "A" to a
                                                      20-inch subsea tie-in in South Marsh Island Area
                                                      Block 205.

SP 83 (Expired)    OCS-G13234            9465         Right-of-way No. G13234, Pipeline Segment No.
                                                      9465: A 03-06-inch pipeline, 7.27 miles long, to
                                                      transport condensate from SP 83 "A" to 10-inch SSTI
                                                      in SP 55.

SP 83 (Expired)    OCS-G13236            9467         A pipeline right-of-way two-hundred feet (200') in
                                                      width for the operation and maintenance of a 10 3/4-
                                                      inch pipeline, 4.02 miles in length, to transport gas
                                                      from Platform A in Block 83, South Pass Area, South
                                                      Addition, through Block 74 in South Pass, South
                                                      Addition to a 20-inch Subsea Tie-in in Block 54,
                                                      South Pass Area.

    ST 35          OCS-G8387             8087         Pipeline Right-of-way (ROW) OCS-G08387 is a 200-
                                                      foot wide and approximately 3.65 miles (19297 feet)
                                                      long corridor. The purpose of the pipeline ROW OCS-
                                                      G08387 is to maintain and operate the following:
                                                      Pipeline Segment No. 8087 A 6 5/8 inch bidirectional
                                                      pipeline, 3.37 miles (17,800 feet) in length, to
                                                      transport gas originating at an 8-inch subsea tie-in in
                                                      Block 35 through Block 50 to a 6-inch subsea tie-in in
                                                      Block 51, all located in South Timbalier Area.
                                                      Pipeline Segment No. 11872 A 6-inch bidirectional
                                                      pipeline, 0.28 miles (1,497 feet) in length, to transport


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                                                   gas originating at a 6-inch subsea tie-in in to Platform
                                                   CC, all in South Timbalier Area Block 51.



ST 51           OCS-G8615             8073         Right-of-way (ROW) OCS-G 08615 is a 200-foot
                                                   wide and approximate 3.67 miles (19,400 ft) long
                                                   corridor associated with the bidirectional 8-12-inch
                                                   Pipeline Segment Number (PSN) 8073. The purpose
                                                   of pipeline ROW OCS-G 08615 is to maintain and
                                                   operate PSN 8073 and to transport bulk oil from
                                                   Platform CC in Block 51, through Block 50, to 8-inch
                                                   subsea tie-in in Block 35, all in South Timbalier Area.

ST 51           OCS-G8387            11872         Pipeline Right-of-way (ROW) OCS-G08387 is a 200-
                                                   foot wide and approximately 3.65 miles (19297 feet)
                                                   long corridor. The purpose of the pipeline ROW OCS-
                                                   G08387 is to maintain and operate the following:
                                                   Pipeline Segment No. 8087 A 6 5/8 inch bidirectional
                                                   pipeline, 3.37 miles (17,800 feet) in length, to
                                                   transport gas originating at an 8-inch subsea tie-in in
                                                   Block 35 through Block 50 to a 6-inch subsea tie-in in
                                                   Block 51, all located in South Timbalier Area.
                                                   Pipeline Segment No. 11872 A 6-inch bidirectional
                                                   pipeline, 0.28 miles (1,497 feet) in length, to transport
                                                   gas originating at a 6-inch subsea tie-in in to Platform
                                                   CC, all in South Timbalier Area Block 51.

ST 131         OCS-G29307            19324         Pipeline Right-of-way OCS-G29307 is a 200-foot
                                                   wide and approximately 8.05 miles (42,493’) long
                                                   corridor associated with the 8 5/8-inch and 22-inch
                                                   Pipeline Segment No. (PSN) 19324. The purpose of
                                                   pipeline ROW OCS-G29307 is to maintain and
                                                   operate PSN 19324 and to transport gas from Platform
                                                   K in Block 131, through Blocks 130, 133, 134, 152,
                                                   to Platform G-CMP in Block 151, all located in South
                                                   Timbalier Area.

ST 131         OCS-G29365            19720         “Pipeline Right-of-way (ROW) OCS-G29365 is a
                                                   200-foot wide and approximately 8.58 miles (45,320
                                                   feet) long corridor associated with the 10-3/4-inch
                                                   Pipeline Segment No. (PSN) 19720. The purpose of
                                                   pipeline ROW OCS-G29365 is to install, maintain,
                                                   and operate PSN 19720 and to transport bulk oil from
                                                   Platform K in Block 131, through Block 130, 129,
                                                   134, and Block 135, to PROD#1 Platform in Block
                                                   151, all located in South Timbalier Area.”

ST 131         OCS-G29366            19721         Pipeline Right-of-way (ROW) OCS-G29366 is a 200-
                                                   foot wide and approximately 8.20 miles (43,320 feet)
                                                   long corridor associated with the 6-5/8-inch bi-
                                                   directional Pipeline Segment No. (PSN) 19721. The
                                                   purpose of pipeline ROW OCS-G29366 is to install,
                                                   maintain, and operate PSN 19721 and to transport
                                                   gas/gas lift from/to Platform K in Block 131, through
                                                   Block 130, 129, 134, and Block 135, to PROD#1
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                                                   Platform in Block 151, all located in South Timbalier
                                                   Area.



ST 148         OCS-G18835            11595         A 200-foot wide right-of-way for the operation and
                                                   maintenance of a 12-inch pipeline, 9.05 miles in
                                                   length, to transport bulk oil from Platform A in Block
                                                   148, through Block 149, 150 to Production #2
                                                   Platform in Block 151, all located in South Timbalier
                                                   Area.

ST 148         OCS-G29349            19591         Pipeline Right-of-way (ROW) OCS-G29349 is a 200-
                                                   foot wide and approximately 10.03 miles (52,936')
                                                   long corridor. The purpose of the pipeline ROW OCS-
                                                   G29349 is to maintain and operate the following:
                                                   Pipeline Segment No. 19591 A 12 3/4-inch pipeline,
                                                   9.27 miles (48,932 feet) in length, to transport bulk oil
                                                   originating at a 6-inch subsea tie-in with PSN 19715,
                                                   at X= 2,301,761 and Y= -27,276, in Block 148,
                                                   through Blocks 149 and 150, to Platform PROD-2 in
                                                   Block 151, all located in South Timbalier Area.
                                                   Pipeline Segment No. 19715 A 6 5/8-inch pipeline,
                                                   0.76 miles (4,004 feet) in length, to tansport bulk oil
                                                   originating at Platform C in Block 161 to a 12-inch
                                                   subsea tie-in with PSN 19591, at X= 2,301,761 and
                                                   Y= -27,276, in Block 148, all located in South
                                                   Timbalier Area.

ST 151         OCS-G29305            199322        Pipeline Right-of-way (ROW) OCS-G29305 is a 200-
                                                   foot wide and approximately 1.51 miles (7,983ft) long
                                                   corridor associated with the 8-inch Pipeline Segment
                                                   19322. The purpose of pipeline ROW OCS-G29305
                                                   is to maintain and operate PSN 19322 and to transport
                                                   bulk oil from Platform AA to Platform PROD#1, all
                                                   located in South Timbalier Area Block 151.

ST 151         OCS-G29300            19312         Pipeline Right-of-way OCS-G29300 is a 200-foot
                                                   wide and approximately 1.51 miles (7,983 feet) long
                                                   corridor associated with the 4-inch bi-directional
                                                   Pipeline Segment No. (PSN) 19312. The purpose of
                                                   pipeline ROW OCS-G29300 is to maintain and
                                                   operate PSN 19312 and to transport gas originating at
                                                   Platform AA and terminating at Platform PROD#1,
                                                   all located in South Timbalier Area Block 151.

ST 161         OCS-G29349            19715         Pipeline Right-of-way (ROW) OCS-G29349 is a 200-
                                                   foot wide and approximately 10.03 miles (52,936')
                                                   long corridor. The purpose of the pipeline ROW OCS-
                                                   G29349 is to maintain and operate the following:
                                                   Pipeline Segment No. 19591 A 12 3/4-inch pipeline,
                                                   9.27 miles (48,932 feet) in length, to transport bulk oil
                                                   originating at a 6-inch subsea tie-in with PSN 19715,
                                                   at X= 2,301,761 and Y= -27,276, in Block 148,
                                                   through Blocks 149 and 150, to Platform PROD-2 in
                                                   Block 151, all located in South Timbalier Area.
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                                                   Pipeline Segment No. 19715 A 6 5/8-inch pipeline,
                                                   0.76 miles (4,004 feet) in length, to tansport bulk oil
                                                   originating at Platform C in Block 161 to a 12-inch
                                                   subsea tie-in with PSN 19591, at X= 2,301,761 and
                                                   Y= -27,276, in Block 148, all located in South
                                                   Timbalier Area.

ST 177         OCS-G13510             9771         Pipeline Right-of-way (ROW) OCS-G 13510 is a
                                                   200-foot wide and 10.87 miles long corridor
                                                   associated with Pipeline Segment No. 9771. The
                                                   purpose of pipeline ROW OCS-G 13510 is to
                                                   transport bulk oil through an associated 14-10-inch
                                                   ROW pipeline (Pipeline Segment No. 9771) from
                                                   Platform E in South Timbalier Area, Block 177,
                                                   through South Timbalier Area Blocks 178, 159, and
                                                   158, to Platform Prod 2 in South Timbalier Area,
                                                   Block 151.

VR 71           OCS-G29118           18541         A 200-foot wide right-of-way to operate and maintain
                                                   a 4 ½ -inch pipeline, 2.61 miles in length, to transport
                                                   bulk gas from Caisson No. 1 in Block 71 to Platform
                                                   C in Block 52, all located in Vermilion Area.

VR 72           OCS-G28630           18544         A 200-foot wide right-of-way to operate and maintain
                                                   a 6 5/8-inch pipeline, 4.28 miles in length, to transport
                                                   bulk gas from Caisson No. 1 in Block 72, through
                                                   Block 71, to Platform C in Block 52, all located in
                                                   Vermilion Area.

VR 72           OCS-G28631           18545         A 200-foot wide right-of-way to operate and maintain
                                                   a 6.625-inch pipeline, 5.95 miles in length, to
                                                   transport bulk gas from Caisson No. 2 in Block 72,
                                                   through Block 71, to Platform C in Block 52, all
                                                   located in Vermilion Area.

VR 72           OCS-G26961           15541         A 6.625-inch pipeline .437 miles (2,306 feet) in
                                                   length to transport gas/condensate from Vermilion
                                                   Area Block 52, Platform C to a subsea tie-in point
                                                   with Pipeline Segment Number 3538 located in
                                                   South Marsh Island Area Block 233.

VR 342          OCS-G29143           18610         Pipeline Right-of-way (ROW) OCG-G29143 is a 200-
                                                   foot wide and approximately 10.2 miles (53,872 feet)
                                                   long corridor associated with the 06-inch Pipeline
                                                   Segment No. (PSN) 18610. The purpose of the
                                                   pipeline ROW OCS-G29143 is to operate and
                                                   maintain PSN 18610 and to transport bulk oil from
                                                   Platform A in Block 342, through Blocks 343, 344, all
                                                   in Vermilion Area and through Blocks 325, 326, and
                                                   327 to Platform A in Block 328, all in East Cameron
                                                   Area.




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WD 72           OCS-G28994           18074         Pipeline Right-of-way (ROW) OCS-G28994 is a 200-
                                                   foot wide and approximately 3.9 miles (20,592 feet)
                                                   long corridor associated with the 6 5/8-inch Pipeline
                                                   Segment No. (PSN) 18074. The purpose of the
                                                   pipeline ROW OCS-G28994 is to maintain and
                                                   operate PSN 18074 and to transport gas and
                                                   condensate originating at Platform B in Block 72,
                                                   through Blocks 73 and 64, terminating at an 8-5/8-
                                                   inch subsea tie-in in Block 65, all in the West Delta
                                                   Area.

WD 133         OCS-G01502A           15815         Pipeline Right-of-way (ROW) OCS-G0152A is a
                                                   200-foot wide and approximately 8.94 miles (47,190
                                                   feet) long corridor associated with the bi-directional
                                                   6/8-inch Pipeline Segment No. (PSN) 15815. The
                                                   purpose of the pipeline ROW-G0152A is to maintain
                                                   and operate PSN 15815 and to transport gas lift gas
                                                   originating at Platform A in Block 152, through
                                                   Blocks 151, 140, and terminating at Platform F in
                                                   Block 133, all located in the West Delta Area.

WD 133          OCS-G26845           15816         A 200-foot wide right-of-way to operate and maintain
                                                   a 6-inch pipeline, 10.32 miles in length, to transport
                                                   bulk oil from Platform F in Block 133, through Blocks
                                                   140 and 151, to platform A in Block 152, all located
                                                   in West Delta Area.



                                  END OF EXHIBIT A




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                                     EXHIBIT B

   Attached to and made a part of that certain Asset Purchase Agreement by and among
            Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                      and Sagamore Hill Holdings, LP, as Seller
                         and San Juan Offshore, LLC, as Buyer

                                        WELLS


                                                                                Current
              Lease                                                               Well
   Lease     Status           API           Area Block    Well      Suffix       Status
G10638       Active   17-704-41116-00      EC 0328       008     ST00BP00       PA
G10638       Active   17-704-40779-00      EC 0328       A001    ST00BP00       PA
G10638       Active   17-704-40780-01      EC 0328       A002    ST01BP00       PA
G10638       Active   17-704-40947-00      EC 0328       A004    ST00BP01       PA
G10638       Active   17-704-40952-02      EC 0328       A006    ST02BP00       PA
G10638       Active   17-704-41033-00      EC 0328       A007    ST00BP00       PA
G10638       Active   17-704-40958-04      EC 0328       A008    ST04BP00       PA
G10638       Active   17-704-41032-02      EC 0328       A009    ST02BP00       PA
G10638       Active   17-704-41068-00      EC 0328       A010    ST00BP00       PA
G10638       Active   17-704-41070-00      EC 0328       A011    ST00BP00       PA
G10638       Active   17-704-41075-02      EC 0328       B001    ST02BP00       Prod
G10638       Active   17-704-41091-01      EC 0328       B002    ST01BP00       Prod
G10638       Active   17-704-41092-02      EC 0328       B003    ST02BP00       Prod
G10638       Active   17-704-41093-00      EC 0328       B004    ST00BP00       Prod
G10638       Active   17-704-41094-00      EC 0328       B005    ST00BP00       Prod
G10638       Active   17-704-41095-00      EC 0328       B006    ST00BP00       Prod
G10638       Active   17-704-41111-01      EC 0328       C001    ST01BP00       Prod
G10638       Active   17-704-41107-01      EC 0328       C003    ST01BP00       Prod
G10638       Active   17-704-41108-01      EC 0328       C004    ST01BP00       Prod
G10638       Active   17-704-41110-00      EC 0328       C005    ST00BP00       Prod
G10638       Active   17-704-41112-00      EC 0328       C006    ST00BP00       Prod
G10638       Active   17-704-41113-00      EC 0328       C007    ST00BP00       Prod
G10638       Active   17-704-41114-00      EC 0328       C008    ST00BP00       Prod
G10638       Active   17-704-41109-00      EC 0328       C002    ST00BP00       SI
G10638       Active   17-704-41115-05      EC 0328       C009    ST03BP01       SI
G24883       Active   17-709-41485-00      EI 0038       017     ST00BP00       SI
G02601       Active   17-709-41484-00      EI 0057       016     ST00BP00       SI
G02601       Active   17-709-40209-00      EI 0057       001     ST00BP00       TA
G02895       Active   17-709-41452-01      EI 0058       008     ST00BP01       SI
G31369       Active   17-709-41501-00      EI 0099       E001    ST00BP00       Prod
G31369       Active   17-709-41503-01      EI 0099       E002    ST01BP00       Prod
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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00796      Active   17-709-00314-00      EI 0100       001     ST00BP00    PA
00796      Active   17-709-00315-00      EI 0100       002     ST00BP00    PA
00796      Active   17-709-00316-00      EI 0100       003     ST00BP00    PA
00796      Active   17-709-00317-00      EI 0100       004     ST00BP00    PA
00796      Active   17-709-00318-00      EI 0100       005     ST00BP00    PA
00796      Active   17-709-00319-00      EI 0100       006     ST00BP00    PA
00796      Active   17-709-00320-00      EI 0100       007     ST00BP00    PA
00796      Active   17-709-00321-00      EI 0100       008     ST00BP00    PA
00796      Active   17-709-00322-00      EI 0100       009     ST00BP00    PA
00796      Active   17-709-00323-00      EI 0100       010     ST00BP00    PA
00796      Active   17-709-00324-00      EI 0100       011     ST00BP00    PA
00796      Active   17-709-00325-00      EI 0100       012     ST00BP00    PA
00796      Active   17-709-00327-00      EI 0100       014     ST00BP00    PA
00796      Active   17-709-00328-00      EI 0100       015     ST00BP00    PA
00796      Active   17-709-00329-00      EI 0100       016     ST00BP00    PA
00796      Active   17-709-00330-00      EI 0100       017     ST00BP00    PA
00796      Active   17-709-00332-00      EI 0100       019     ST00BP00    PA
00796      Active   17-709-20158-00      EI 0100       021     ST00BP00    PA
00796      Active   17-709-20168-00      EI 0100       025     ST01BP00    PA
00796      Active   17-709-20165-00      EI 0100       026     ST01BP00    PA
00796      Active   17-709-40954-00      EI 0100       028     ST00BP00    PA
00796      Active   17-709-40545-00      EI 0100       029     ST00BP02    PA
00796      Active   17-709-40919-01      EI 0100       032     ST01BP00    PA
00796      Active   17-709-40966-00      EI 0100       036     ST00BP00    PA
00796      Active   17-709-40967-00      EI 0100       037     ST00BP00    PA
00796      Active   17-709-41149-01      EI 0100       040     ST01BP00    PA
00796      Active   17-709-41433-00      EI 0100       042     ST00BP00    PA
00796      Active   17-709-00326-01      EI 0100       013     ST01BP00    Prod
00796      Active   17-709-00888-00      EI 0100       020     ST00BP01    Prod
00796      Active   17-709-20192-04      EI 0100       024     ST02BP02    Prod
00796      Active   17-709-20186-02      EI 0100       027     ST02BP00    Prod
00796      Active   17-709-40930-01      EI 0100       033     ST01BP00    Prod
00796      Active   17-709-40944-04      EI 0100       034     ST03BP01    Prod
00796      Active   17-709-41156-01      EI 0100       041     ST01BP00    Prod
00796      Active   17-709-41477-02      EI 0100       043     ST02BP00    Prod
00796      Active   17-709-40916-03      EI 0100       031     ST01BP02    SI
00796      Active   17-709-41051-01      EI 0100       038     ST01BP00    SI
00796      Active   17-709-41483-00      EI 0100       044     ST00BP00    SI
00796      Active   17-709-41499-00      EI 0100       045     ST00BP00    SI


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                                                                             Current
            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
00796      Active     17-709-00331-00      EI 0100       018     ST00BP00    TA
00796      Active     17-709-40527-00      EI 0100       030     ST00BP01    TA
00796      Active     17-709-40950-00      EI 0100       035     ST00BP00    TA
00796      Active     17-709-41138-01      EI 0100       039     ST01BP00    TA
G03782     Active     17-709-41011-00      EI 0174       A010    ST00BP00    TA
G04451     Inactive   17-709-41023-00      EI 0181       A013    ST00BP01    TA
G04451     Inactive   17-709-40694-00      EI 0181       A015    ST00BP00    TA
G04452     Active     17-709-40657-05      EI 0182       A001    ST04BP00    Prod
G04452     Active     17-709-40650-04      EI 0182       A003    ST04BP00    Prod
G04452     Active     17-709-40993-00      EI 0182       A007    ST00BP00    SI
G04452     Active     17-709-40992-01      EI 0182       A008    ST01BP00    Prod
G04452     Active     17-709-41317-00      EI 0182       A016    ST00BP00    SI
G04452     Active     17-709-41024-02      EI 0182       A018    ST02BP00    Prod
G04452     Active     17-709-40454-00      EI 0182       001     ST00BP00    PA
G04452     Active     17-709-40625-01      EI 0182       A005    ST01BP00    TA
G04452     Active     17-709-40673-00      EI 0182       A006    ST00BP00    TA
G04452     Active     17-709-40991-00      EI 0182       A009    ST00BP00    TA
G04452     Active     17-709-41021-00      EI 0182       A014    ST00BP00    TA
G04452     Active     17-709-41447-03      EI 0182       K001    ST00BP03    TA
G00977     Active     17-709-41294-00      EI 0214       A002    ST00BP00    SI
G00977     Active     17-709-41297-00      EI 0214       A005    ST00BP00    SI
G00977     Active     17-709-00878-00      EI 0214       001     ST00BP00    PA
G00977     Active     17-709-40230-00      EI 0214       002     ST00BP00    PA
G00977     Active     17-709-40847-00      EI 0214       004     ST00BP00    PA
G00977     Active     17-709-41306-00      EI 0214       A003    ST00BP00    TA
G00977     Active     17-709-41327-01      EI 0214       A006    ST00BP01    TA
G00977     Active     17-709-41330-00      EI 0214       A008    ST00BP00    TA
00578      Active     17-709-40777-00      EI 0215       012     ST00BP00    SI
00578      Active     17-709-40172-04      EI 0215       C006    ST04BP01    SI
G26033     Active     17-709-40773-01      EI 0215       C020    ST01BP00    SI
00578      Active     17-709-40770-00      EI 0215       C021    ST00BP00    SI
00578      Active     17-709-00162-00      EI 0215       001     ST00BP00    PA
00578      Active     17-709-00163-00      EI 0215       002     ST00BP00    PA
00578      Active     17-709-40073-00      EI 0215       004     ST00BP00    PA
00578      Active     17-709-40074-00      EI 0215       005     ST00BP00    PA
00578      Active     17-709-40075-00      EI 0215       006     ST00BP00    PA
00578      Active     17-709-40077-00      EI 0215       008     ST00BP00    PA
00578      Active     17-709-40677-00      EI 0215       009     ST00BP01    PA
00578      Active     17-709-40708-00      EI 0215       011     ST00BP00    PA


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                                                                             Current
            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
00578      Active     17-709-00876-00      EI 0215       B001    ST00BP00    PA
00578      Active     17-709-20044-00      EI 0215       B002    ST00BP00    PA
00578      Active     17-709-20055-00      EI 0215       B003    ST00BP00    PA
00578      Active     17-709-20104-00      EI 0215       B004    ST00BP00    PA
00578      Active     17-709-20117-00      EI 0215       B005    ST00BP00    PA
00578      Active     17-709-40145-00      EI 0215       C001    ST00BP00    PA
00578      Active     17-709-40154-01      EI 0215       C004    ST01BP00    PA
00578      Active     17-709-40167-00      EI 0215       C005    ST00BP00    PA
00578      Active     17-709-40179-00      EI 0215       C007    ST00BP00    PA
00578      Active     17-709-40184-00      EI 0215       C008    ST00BP00    PA
00578      Active     17-709-40187-01      EI 0215       C009    ST01BP01    PA
00578      Active     17-709-40191-02      EI 0215       C010    ST02BP00    PA
00578      Active     17-709-40192-00      EI 0215       C011    ST00BP00    PA
00578      Active     17-709-40221-00      EI 0215       C014    ST00BP01    PA
00578      Active     17-709-40466-00      EI 0215       C016    ST00BP01    PA
00578      Active     17-709-40478-00      EI 0215       C017    ST00BP00    PA
00578      Active     17-709-40584-00      EI 0215       D001    ST00BP00    PA
00578      Active     17-709-40161-00      EI 0215       C003    ST00BP00    TA
00578      Active     17-709-40211-00      EI 0215       C012    ST00BP00    TA
00578      Active     17-709-40465-00      EI 0215       C015    ST00BP00    TA
00578      Active     17-709-40749-00      EI 0215       C018    ST00BP00    TA
00578      Active     17-709-40761-00      EI 0215       C019    ST00BP00    TA
00578      Active     17-709-40778-00      EI 0215       C022    ST00BP00    TA
G00978     Inactive   17-709-40784-00      EI 0217       B005    ST00BP01    PA
G36743     Inactive   17-709-40771-00      EI 0217       B004    ST00BP01    TA
00809      Inactive   17-709-41300-00      EI 0227       B001    ST00BP00    SI
00809      Inactive   17-709-41329-04      EI 0227       B002    ST03BP00    SI
00809      Inactive   17-709-41426-02      EI 0227       B003    ST01BP01    SI
00809      Inactive   17-709-41307-00      EI 0227       C001    ST00BP00    TA
G05505     Active     17-709-40792-00      EI 0229       B001    ST00BP00    Prod
G05505     Active     17-709-40786-00      EI 0229       A001    ST00BP00    PA
G05505     Active     17-709-41073-03      EI 0229       C001    ST03BP00    PA
G05505     Active     17-709-40821-00      EI 0229       003     ST00BP00    TA
G00979     Active     17-709-00907-00      EI 0230       002     ST00BP00    PA
G00979     Active     17-709-20017-00      EI 0230       003     ST00BP00    PA
G00979     Active     17-709-40016-00      EI 0230       CB004   ST00BP00    PA
G00979     Active     17-709-40031-00      EI 0230       CB005   ST00BP00    PA
G00979     Active     17-709-41014-00      EI 0230       CB009   ST00BP00    PA
G00979     Active     17-709-00803-00      EI 0230       CC001   ST00BP00    PA


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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G00979     Active   17-709-40131-00      EI 0230       CC006   ST00BP01    PA
G00979     Active   17-709-40853-00      EI 0230       CD007   ST00BP00    PA
G00979     Active   17-709-40964-00      EI 0230       CD008   ST00BP00    PA
G00979     Active   17-709-40837-02      EI 0230       J005    ST02BP00    TA
G00980     Active   17-709-41249-02      EI 0231       A001    ST02BP00    Prod
G00980     Active   17-709-00821-00      EI 0231       001     ST00BP00    PA
G00980     Active   17-709-00784-00      EI 0231       002     ST00BP01    PA
G00980     Active   17-709-00885-00      EI 0231       005     ST00BP00    PA
G00980     Active   17-709-00857-00      EI 0231       CA003   ST00BP00    PA
G00980     Active   17-709-00861-01      EI 0231       CA004   ST01BP00    PA
G00980     Active   17-709-00922-00      EI 0231       CA006   ST00BP00    PA
G00980     Active   17-709-40907-01      EI 0231       CA007   ST01BP00    PA
G00980     Active   17-709-40979-00      EI 0231       CA008   ST00BP00    PA
G00980     Active   17-709-20135-00      EI 0231       CB008   ST00BP00    PA
G00980     Active   17-709-41305-00      EI 0231       A004    ST00BP00    TA
G00980     Active   17-709-41328-00      EI 0231       A007    ST00BP00    TA
G00980     Active   17-709-41513-01      EI 0231       A009    ST00BP01    TA
G00981     Active   17-709-40975-00      EI 0237       K001    ST00BP00    Prod
G00981     Active   17-709-41311-00      EI 0237       K010    ST00BP00    Prod
G00981     Active   17-709-41391-00      EI 0237       K011    ST00BP00    Prod
G00981     Active   17-709-40109-00      EI 0237       001     ST00BP00    PA
G00981     Active   17-709-00679-00      EI 0237       D001    ST00BP00    PA
G00981     Active   17-709-00699-01      EI 0237       D003    ST01BP00    PA
G00981     Active   17-709-00696-00      EI 0237       D004    ST00BP00    PA
G00981     Active   17-709-00698-01      EI 0237       D006    ST01BP00    PA
G00981     Active   17-709-40674-03      EI 0237       J003    ST02BP00    PA
G00981     Active   17-709-00740-01      EI 0237       E002    ST01BP00    TA
G00981     Active   17-709-40519-01      EI 0237       J001    ST01BP00    TA
G00981     Active   17-709-40664-01      EI 0237       J002    ST01BP01    TA
G00981     Active   17-709-40680-02      EI 0237       J004    ST02BP00    TA
G00981     Active   17-709-40969-01      EI 0237       J006    ST01BP00    TA
G00981     Active   17-709-40994-01      EI 0237       K002    ST01BP00    TA
G00981     Active   17-709-41000-00      EI 0237       K003    ST00BP00    TA
G00981     Active   17-709-41105-01      EI 0237       K004    ST01BP00    TA
G00981     Active   17-709-41246-01      EI 0237       K007    ST00BP01    TA
G00981     Active   17-709-41304-00      EI 0237       K008    ST00BP00    TA
G00982     Active   17-709-40416-01      EI 0238       H006    ST01BP00    SI
G00982     Active   17-709-40502-01      EI 0238       H015    ST01BP00    Prod


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G00982     Active   17-709-20019-00      EI 0238       001     ST00BP00    PA
                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G00982     Active   17-709-40103-00      EI 0238       002     ST00BP00    PA
G00982     Active   17-709-00640-00      EI 0238       A005    ST00BP00    PA
G00982     Active   17-709-41061-00      EI 0238       AA001   ST00BP00    PA
G00982     Active   17-709-41062-00      EI 0238       AA002   ST00BP00    PA
G00982     Active   17-709-40090-00      EI 0238       F002    ST00BP00    PA
G00982     Active   17-709-40495-00      EI 0238       H014    ST00BP00    PA
G00982     Active   17-709-00593-00      EI 0238       A001    ST00BP01    TA
G00982     Active   17-709-00594-00      EI 0238       A002    ST00BP00    TA
G00982     Active   17-709-00595-00      EI 0238       A003    ST00BP01    TA
G00982     Active   17-709-00639-00      EI 0238       A004    ST00BP01    TA
G00982     Active   17-709-00641-00      EI 0238       A006    ST00BP01    TA
G00982     Active   17-709-00763-01      EI 0238       E005    ST01BP00    TA
G00982     Active   17-709-00783-01      EI 0238       E006    ST01BP00    TA
G00982     Active   17-709-41038-01      EI 0238       E007    ST01BP00    TA
G00982     Active   17-709-41045-00      EI 0238       E008    ST00BP01    TA
G00982     Active   17-709-41292-00      EI 0238       E009    ST00BP00    TA
G00982     Active   17-709-40086-01      EI 0238       F005    ST01BP00    TA
G00982     Active   17-709-40369-01      EI 0238       H002    ST01BP02    TA
G00982     Active   17-709-40380-02      EI 0238       H003    ST02BP00    TA
G00982     Active   17-709-40390-00      EI 0238       H004    ST00BP01    TA
G00982     Active   17-709-40512-00      EI 0238       H016    ST00BP00    TA
G03331     Active   17-709-41334-00      EI 0251       C001    ST00BP00    Prod
G03331     Active   17-709-41354-01      EI 0251       C002    ST01BP00    Prod
G03331     Active   17-709-41517-00      EI 0251       C003    ST00BP00    Prod
G03331     Active   17-709-40269-01      EI 0251       002     ST01BP00    PA
G03331     Active   17-709-40360-00      EI 0251       A001    ST00BP01    PA
G03331     Active   17-709-40365-00      EI 0251       A002    ST00BP00    PA
G03331     Active   17-709-40372-00      EI 0251       A003    ST00BP01    PA
G03331     Active   17-709-40377-00      EI 0251       A005    ST00BP00    PA
G03331     Active   17-709-40392-00      EI 0251       A006    ST00BP00    PA
G03331     Active   17-709-40398-00      EI 0251       A007    ST00BP00    PA
G03331     Active   17-709-40389-00      EI 0251       A008    ST00BP00    PA
G03331     Active   17-709-40405-00      EI 0251       A009    ST00BP00    PA
G03331     Active   17-709-40403-00      EI 0251       A011    ST00BP00    PA
G03331     Active   17-709-41004-00      EI 0251       B003    ST00BP00    PA
G03331     Active   17-709-41013-00      EI 0251       B005    ST00BP00    PA
G03331     Active   17-709-40406-01      EI 0251       A010    ST01BP00    TA




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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G00983     Active   17-709-40093-00      EI 0252       F003    ST00BP01    Prod
G00983     Active   17-709-40326-02      EI 0252       G005    ST01BP01    Prod
G00983     Active   17-709-40265-01      EI 0252       H001    ST01BP00    SI
G00983     Active   17-709-40401-01      EI 0252       H005    ST01BP00    SI
G00983     Active   17-709-40457-01      EI 0252       H010    ST01BP00    Prod
G00983     Active   17-709-40753-01      EI 0252       H017    ST01BP00    SI
G00983     Active   17-709-41381-00      EI 0252       H018    ST00BP00    Prod
G00983     Active   17-709-40575-00      EI 0252       I005    ST00BP00    SI
G00983     Active   17-709-40603-02      EI 0252       I008    ST02BP00    SI
G00983     Active   17-709-41119-02      EI 0252       I009    ST02BP00    SI
G00983     Active   17-709-41336-01      EI 0252       L001    ST01BP00    SI
G00983     Active   17-709-41340-00      EI 0252       L003    ST00BP00    SI
G00983     Active   17-709-41342-01      EI 0252       L005    ST01BP00    SI
G00983     Active   17-709-41478-02      EI 0252       L008    ST00BP02    SI
G00983     Active   17-709-41479-03      EI 0252       L009    ST01BP00    Prod
G00983     Active   17-709-20030-00      EI 0252       001     ST00BP02    PA
G00983     Active   17-709-40368-00      EI 0252       003     ST00BP02    PA
G00983     Active   17-709-41199-01      EI 0252       004     ST01BP00    PA
G00983     Active   17-709-00709-00      EI 0252       B001    ST00BP00    PA
G00983     Active   17-709-00710-00      EI 0252       B002    ST01BP00    PA
G00983     Active   17-709-00722-00      EI 0252       B003    ST00BP00    PA
G00983     Active   17-709-00718-70      EI 0252       B005    ST00BP01    PA
G00983     Active   17-709-00716-01      EI 0252       B006    ST01BP00    PA
G00983     Active   17-709-00715-00      EI 0252       B007    ST00BP00    PA
G00983     Active   17-709-00643-02      EI 0252       C002    ST02BP00    PA
G00983     Active   17-709-00654-01      EI 0252       C003    ST01BP00    PA
G00983     Active   17-709-00663-00      EI 0252       C004    ST00BP00    PA
G00983     Active   17-709-00681-02      EI 0252       C006    ST02BP00    PA
G00983     Active   17-709-00680-01      EI 0252       C007    ST01BP00    PA
G00983     Active   17-709-00707-00      EI 0252       C008    ST00BP00    PA
G00983     Active   17-709-00721-01      EI 0252       C010    ST01BP00    PA
G00983     Active   17-709-00720-01      EI 0252       C011    ST01BP00    PA
G00983     Active   17-709-00717-01      EI 0252       C013    ST01BP00    PA
G00983     Active   17-709-00719-02      EI 0252       C014    ST02BP00    PA
G00983     Active   17-709-00708-03      EI 0252       C016    ST03BP00    PA
G00983     Active   17-709-41234-00      EI 0252       C017    ST00BP00    PA
G00983     Active   17-709-41242-00      EI 0252       C018    ST00BP00    PA
G00983     Active   17-709-41257-00      EI 0252       C019    ST00BP00    PA
G00983     Active   17-709-41260-00      EI 0252       C020    ST00BP00    PA


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G00983     Active   17-709-40098-70      EI 0252       F004    ST00BP01    PA
                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G00983     Active   17-709-40310-00      EI 0252       G002    ST00BP00    PA
G00983     Active   17-709-40291-00      EI 0252       G001    ST00BP01    TA
G00983     Active   17-709-40312-01      EI 0252       G003    ST01BP00    TA
G00983     Active   17-709-40319-01      EI 0252       G004    ST01BP00    TA
G00983     Active   17-709-40330-00      EI 0252       G006    ST00BP00    TA
G00983     Active   17-709-40341-00      EI 0252       G007    ST00BP01    TA
G00983     Active   17-709-40343-00      EI 0252       G008    ST00BP01    TA
G00983     Active   17-709-40350-01      EI 0252       G009    ST01BP00    TA
G00983     Active   17-709-40370-00      EI 0252       G010    ST00BP00    TA
G00983     Active   17-709-40391-01      EI 0252       G011    ST01BP00    TA
G00983     Active   17-709-40409-01      EI 0252       G012    ST01BP00    TA
G00983     Active   17-709-40424-00      EI 0252       G013    ST00BP00    TA
G00983     Active   17-709-40432-00      EI 0252       G014    ST00BP00    TA
G00983     Active   17-709-40437-00      EI 0252       G015    ST00BP01    TA
G00983     Active   17-709-40447-00      EI 0252       G016    ST00BP00    TA
G00983     Active   17-709-40451-00      EI 0252       G017    ST00BP00    TA
G00983     Active   17-709-40458-00      EI 0252       G018    ST00BP00    TA
G00983     Active   17-709-40421-00      EI 0252       H007    ST00BP01    TA
G00983     Active   17-709-40426-00      EI 0252       H008    ST00BP00    TA
G00983     Active   17-709-40448-01      EI 0252       H009    ST01BP00    TA
G00983     Active   17-709-40474-00      EI 0252       H011    ST00BP00    TA
G00983     Active   17-709-40476-00      EI 0252       H012    ST00BP00    TA
G00983     Active   17-709-40487-00      EI 0252       H013    ST00BP00    TA
G00983     Active   17-709-40543-01      EI 0252       I001    ST01BP00    TA
G00983     Active   17-709-40550-01      EI 0252       I002    ST01BP00    TA
G00983     Active   17-709-40560-00      EI 0252       I003    ST00BP00    TA
G00983     Active   17-709-40571-01      EI 0252       I004    ST01BP00    TA
G00983     Active   17-709-40580-01      EI 0252       I006    ST01BP00    TA
G00983     Active   17-709-40595-00      EI 0252       I007    ST00BP01    TA
G00983     Active   17-709-41285-00      EI 0252       I010    ST00BP00    TA
G00983     Active   17-709-41337-00      EI 0252       L002    ST00BP00    TA
G10741     Active   17-709-41106-00      EI 0253       K005    ST00BP01    Prod
G10741     Active   17-709-41245-01      EI 0253       K006    ST01BP00    Prod
G10741     Active   17-709-41341-01      EI 0253       L004    ST01BP00    Prod
G10741     Active   17-709-41424-00      EI 0253       L007    ST00BP00    SI
G10741     Active   17-709-40833-02      EI 0253       001     ST02BP00    PA
G10741     Active   17-709-41163-00      EI 0253       A005    ST00BP00    PA
G10741     Active   17-709-41313-00      EI 0253       K009    ST00BP00    TA
G10741     Active   17-709-41343-00      EI 0253       L006    ST00BP00    TA


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                                                                             Current
            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G07736     Inactive   17-709-40378-06      EI 0262       A004    ST03BP00    TA
G07736     Inactive   17-709-40848-00      EI 0262       A012    ST00BP00    TA
G24910     Active     17-710-41595-00      EI 0275       K001    ST00BP00    Prod
G24910     Active     17-710-41690-00      EI 0275       K002    ST00BP00    Prod
G00989     Active     17-710-00052-01      EI 0276       C002    ST01BP00    SI
G00989     Active     17-710-00057-01      EI 0276       C005    ST01BP00    Prod
G00989     Active     17-710-00071-02      EI 0276       C006    ST01BP01    Prod
G00989     Active     17-710-00076-01      EI 0276       C009    ST01BP00    Prod
G00989     Active     17-710-00080-03      EI 0276       C010    ST01BP02    SI
G00989     Active     17-710-41403-00      EI 0276       C011    ST00BP00    Prod
G00989     Active     17-710-40462-02      EI 0276       E002    ST02BP00    SI
G00989     Active     17-710-41015-01      EI 0276       E004    ST01BP00    SI
G00989     Active     17-710-40996-01      EI 0276       E007    ST01BP00    SI
G00989     Active     17-710-41631-01      EI 0276       F001    ST01BP00    Prod
G00989     Active     17-710-41632-01      EI 0276       F002    ST01BP00    SI
G00989     Active     17-710-41633-01      EI 0276       F003    ST01BP00    Prod
G00989     Active     17-710-41634-03      EI 0276       F004    ST00BP03    Prod
G00989     Active     17-710-41635-01      EI 0276       F005    ST01BP00    Prod
G00989     Active     17-710-41636-00      EI 0276       F006    ST00BP00    Prod
G00989     Active     17-710-41637-01      EI 0276       F007    ST01BP00    Prod
G00989     Active     17-710-41639-00      EI 0276       F008    ST00BP00    Prod
G00989     Active     17-710-41691-00      EI 0276       K003    ST00BP00    Prod
G00989     Active     17-710-00005-00      EI 0276       001     ST00BP00    PA
G00989     Active     17-710-00006-00      EI 0276       002     ST00BP00    PA
G00989     Active     17-710-00007-00      EI 0276       003     ST00BP00    PA
G00989     Active     17-710-00008-00      EI 0276       004     ST00BP00    PA
G00989     Active     17-710-00024-00      EI 0276       005     ST00BP00    PA
G00989     Active     17-710-00056-00      EI 0276       006     ST00BP01    PA
G00989     Active     17-710-00053-00      EI 0276       007     ST00BP00    PA
G00989     Active     17-710-00069-00      EI 0276       008     ST00BP00    PA
G00989     Active     17-710-00068-00      EI 0276       009     ST01BP00    PA
G00989     Active     17-710-00015-00      EI 0276       A001    ST00BP00    PA
G00989     Active     17-710-00017-00      EI 0276       A002    ST00BP00    PA
G00989     Active     17-710-00018-00      EI 0276       A003    ST00BP00    PA
G00989     Active     17-710-00020-01      EI 0276       B001    ST01BP00    PA
G00989     Active     17-710-00026-70      EI 0276       B002    ST00BP01    PA
G00989     Active     17-710-00025-00      EI 0276       B003    ST00BP01    PA
G00989     Active     17-710-00032-01      EI 0276       B004    ST01BP00    PA


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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G00989     Active   17-710-00033-01      EI 0276       B005    ST01BP00    PA
G00989     Active   17-710-00031-04      EI 0276       B006    ST04BP00    PA
G00989     Active   17-710-00030-00      EI 0276       B007    ST00BP00    PA
G00989     Active   17-710-00029-00      EI 0276       B009    ST02BP01    PA
G00989     Active   17-710-00046-00      EI 0276       B010    ST00BP00    PA
G00989     Active   17-710-00037-00      EI 0276       B011    ST00BP00    PA
G00989     Active   17-710-00042-00      EI 0276       B012    ST00BP00    PA
G00989     Active   17-710-00049-02      EI 0276       B014    ST02BP00    PA
G00989     Active   17-710-00045-01      EI 0276       B015    ST01BP01    PA
G00989     Active   17-710-00055-00      EI 0276       C001    ST00BP00    PA
G00989     Active   17-710-00082-00      EI 0276       D001    ST00BP01    PA
G00989     Active   17-710-00086-01      EI 0276       D002    ST01BP00    PA
G00989     Active   17-710-00095-00      EI 0276       D003    ST00BP01    PA
G00989     Active   17-710-00092-01      EI 0276       D004    ST01BP01    PA
G00989     Active   17-710-00094-02      EI 0276       D005    ST02BP00    PA
G00989     Active   17-710-00097-01      EI 0276       D006    ST01BP00    PA
G00989     Active   17-710-41300-00      EI 0276       D007    ST00BP01    PA
G00989     Active   17-710-41450-00      EI 0276       D008    ST00BP00    PA
G00989     Active   17-710-41451-00      EI 0276       D009    ST00BP01    PA
G00989     Active   17-710-41470-04      EI 0276       D010    ST02BP02    PA
G00989     Active   17-710-41474-02      EI 0276       D011    ST02BP00    PA
G00989     Active   17-710-00058-00      EI 0276       C003    ST00BP00    TA
G00989     Active   17-710-00054-00      EI 0276       C004    ST01BP00    TA
G00989     Active   17-710-00066-00      EI 0276       C007    ST00BP00    TA
G00989     Active   17-710-00067-01      EI 0276       C008    ST01BP00    TA
G00989     Active   17-710-40461-00      EI 0276       E001    ST00BP00    TA
G00989     Active   17-710-40599-01      EI 0276       E003    ST01BP00    TA
G00989     Active   17-710-41021-00      EI 0276       E005    ST00BP01    TA
G00989     Active   17-710-41026-01      EI 0276       E006    ST01BP01    TA
G00989     Active   17-710-41389-00      EI 0276       E008    ST00BP00    TA
G02111     Active   17-710-40217-01      EI 0314       A001    ST01BP00    Prod
G02111     Active   17-710-40295-03      EI 0314       A005    ST03BP00    SI
G02111     Active   17-710-40297-00      EI 0314       A006    ST00BP00    Prod
G02111     Active   17-710-40465-00      EI 0314       A008    ST00BP00    Prod
G02111     Active   17-710-40334-02      EI 0314       A009    ST02BP00    Prod
G02111     Active   17-710-40686-01      EI 0314       B007    ST01BP00    Prod
G02111     Active   17-710-40719-00      EI 0314       B013    ST00BP00    Prod
G02111     Active   17-710-40661-00      EI 0314       B018    ST00BP00    Prod


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G02111     Active   17-710-40729-00      EI 0314       B019    ST00BP00    Prod
                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G02111     Active   17-710-41031-01      EI 0314       B025    ST01BP00    Prod
G33636     Active   17-710-40928-06      EI 0314       C001    ST05BP01    Prod
G02111     Active   17-710-40920-04      EI 0314       C002    ST04BP00    Prod
G02111     Active   17-710-40968-02      EI 0314       C003    ST02BP00    SI
G02111     Active   17-710-40929-03      EI 0314       C004    ST02BP00    Prod
G02111     Active   17-710-40941-03      EI 0314       C005    ST03BP00    Prod
G33636     Active   17-710-40961-03      EI 0314       C006    ST03BP00    Prod
G02111     Active   17-710-40973-03      EI 0314       C007    ST02BP01    Prod
G33636     Active   17-710-41101-05      EI 0314       C008    ST03BP00    Prod
G33636     Active   17-710-40993-03      EI 0314       C009    ST03BP00    Prod
G02111     Active   17-710-40999-06      EI 0314       C010    ST05BP00    Prod
G02111     Active   17-710-41114-01      EI 0314       C011    ST01BP00    Prod
G02111     Active   17-710-41083-04      EI 0314       C012    ST04BP00    Prod
G02111     Active   17-710-40982-03      EI 0314       C013    ST02BP01    SI
G33636     Active   17-710-41663-00      EI 0314       C014    ST00BP00    Prod
G33636     Active   17-710-41665-00      EI 0314       C015    ST00BP00    Prod
G33636     Active   17-710-41668-00      EI 0314       C016    ST00BP00    Prod
G02111     Active   17-710-41125-03      EI 0314       C017    ST02BP01    Prod
G33636     Active   17-710-41671-00      EI 0314       C018    ST00BP00    Prod
G33636     Active   17-710-41675-00      EI 0314       C019    ST00BP00    Prod
G33636     Active   17-710-41677-01      EI 0314       C020    ST00BP01    Prod
G33636     Active   17-710-41680-00      EI 0314       C021    ST00BP00    Prod
G33636     Active   17-710-41683-00      EI 0314       C022    ST00BP00    Prod
G33636     Active   17-710-41684-00      EI 0314       C023    ST00BP00    Prod
G33636     Active   17-710-41686-00      EI 0314       C024    ST00BP00    Prod
G02111     Active   17-710-40020-00      EI 0314       001     ST00BP00    PA
G33636     Active   17-710-41654-05      EI 0314       001     ST04BP00    PA
G02111     Active   17-710-40231-00      EI 0314       A003    ST00BP00    PA
G02111     Active   17-710-40268-00      EI 0314       A004    ST00BP00    PA
G02111     Active   17-710-40496-00      EI 0314       A014    ST00BP00    PA
G02111     Active   17-710-40484-02      EI 0314       A022    ST02BP00    PA
G02111     Active   17-710-40643-00      EI 0314       B006    ST00BP00    PA
G02111     Active   17-710-40608-00      EI 0314       B008    ST00BP00    PA
G02111     Active   17-710-40687-01      EI 0314       B015    ST01BP01    PA
G02111     Active   17-710-40709-01      EI 0314       B016    ST01BP00    PA
G02111     Active   17-710-40648-00      EI 0314       B017    ST00BP00    PA
G02111     Active   17-710-40959-00      EI 0314       B020    ST00BP01    PA
G02111     Active   17-710-41033-01      EI 0314       B022    ST01BP00    PA
G02111     Active   17-710-40232-00      EI 0314       A002    ST00BP00    TA


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                                                                             Current
            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G02111     Active     17-710-40385-02      EI 0314       A007    ST02BP00    TA
G02111     Active     17-710-40556-00      EI 0314       A023    ST00BP00    TA
G02111     Active     17-710-41013-00      EI 0314       B023    ST00BP00    TA
G02112     Active     17-710-40990-01      EI 0315       A001    ST01BP00    SI
G02112     Active     17-710-40998-00      EI 0315       A005    ST00BP00    SI
G02112     Active     17-710-41030-01      EI 0315       A007    ST01BP00    SI
G02112     Active     17-710-41037-00      EI 0315       A010    ST00BP03    SI
G02112     Active     17-710-41040-00      EI 0315       A012    ST00BP00    SI
G02112     Active     17-710-41270-00      EI 0315       A016    ST00BP00    SI
G02112     Active     17-710-40806-00      EI 0315       001     ST00BP00    PA
G02112     Active     17-710-40829-00      EI 0315       002     ST00BP00    PA
G02112     Active     17-710-40857-00      EI 0315       003     ST00BP00    PA
G02112     Active     17-710-40881-00      EI 0315       004     ST00BP00    PA
G02112     Active     17-710-40942-01      EI 0315       005     ST01BP00    PA
G02112     Active     17-710-40995-00      EI 0315       A003    ST00BP00    TA
G02112     Active     17-710-41017-00      EI 0315       A006    ST00BP00    TA
G02112     Active     17-710-41520-00      EI 0315       A017    ST00BP00    TA
G05040     Active     17-710-41076-01      EI 0316       A013    ST01BP00    SI
G34823     Inactive   17-710-41591-00      EI 0320       B001    ST00BP00    TA
G02613     Active     17-710-40497-00      EI 0332       A011    ST00BP00    Prod
G02613     Active     17-710-40565-02      EI 0332       B004    ST02BP00    Prod
G02613     Active     17-710-40666-00      EI 0332       001     ST00BP00    PA
G02613     Active     17-710-40440-00      EI 0332       A017    ST00BP01    PA
G02613     Active     17-710-41534-01      EI 0332       A021    ST00BP01    PA
G02613     Active     17-710-40563-00      EI 0332       A024    ST00BP00    PA
G02613     Active     17-710-40534-70      EI 0332       B001    ST00BP01    PA
G02613     Active     17-710-40562-00      EI 0332       B003    ST00BP00    PA
G02613     Active     17-710-40669-00      EI 0332       B005    ST00BP00    PA
G02613     Active     17-710-40616-00      EI 0332       B009    ST00BP00    PA
G02613     Active     17-710-40614-00      EI 0332       B010    ST00BP01    PA
G02613     Active     17-710-40723-00      EI 0332       B011    ST00BP00    PA
G02613     Active     17-710-40621-00      EI 0332       B012    ST00BP00    PA
G02613     Active     17-710-40395-00      EI 0332       A016    ST00BP00    TA
G02613     Active     17-710-40558-00      EI 0332       B002    ST00BP00    TA
G02613     Active     17-710-40986-00      EI 0332       B024    ST00BP01    TA
G02118     Active     17-710-41642-05      EI 0338       K001    ST03BP00    Prod
G02118     Active     17-710-41656-02      EI 0338       K003    ST02BP00    Prod
G02118     Active     17-710-41658-00      EI 0338       K005    ST00BP00    Prod


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           Lease                                                           Well
  Lease    Status          API            Area Block   Well     Suffix    Status

G02118     Active   17-710-41659-00      EI 0338       K006   ST00BP00   Prod
G02118     Active   17-710-41664-01      EI 0338       K007   ST01BP00   Prod
G02118     Active   17-710-41666-01      EI 0338       K008   ST01BP00   Prod
G02118     Active   17-710-41661-02      EI 0338       K009   ST01BP00   Prod
G02118     Active   17-710-41670-01      EI 0338       K010   ST01BP00   Prod
G02118     Active   17-710-41673-00      EI 0338       K012   ST00BP00   SI
G02118     Active   17-710-41674-00      EI 0338       K013   ST00BP00   Prod
G02118     Active   17-710-41685-01      EI 0338       K014   ST01BP00   Prod
G02118     Active   17-710-41679-01      EI 0338       K016   ST01BP00   Prod
G02118     Active   17-710-41678-00      EI 0338       K017   ST00BP00   Prod
G02118     Active   17-710-41676-01      EI 0338       K018   ST01BP00   Prod
G02118     Active   17-710-41681-00      EI 0338       K019   ST00BP00   Prod
G02118     Active   17-710-41682-00      EI 0338       K020   ST00BP00   Prod
G02118     Active   17-710-40035-00      EI 0338       002    ST00BP00   PA
G02118     Active   17-710-40034-00      EI 0338       003    ST00BP00   PA
G02118     Active   17-710-40137-00      EI 0338       004    ST00BP00   PA
G02118     Active   17-710-41060-00      EI 0338       005    ST00BP00   PA
G02118     Active   17-710-41613-00      EI 0338       006    ST00BP00   PA
G02118     Active   17-710-40028-00      EI 0338       A001   ST00BP00   PA
G02118     Active   17-710-40069-00      EI 0338       A002   ST00BP00   PA
G02118     Active   17-710-40070-00      EI 0338       A003   ST00BP00   PA
G02118     Active   17-710-40071-02      EI 0338       A004   ST01BP01   PA
G02118     Active   17-710-40072-03      EI 0338       A005   ST03BP00   PA
G02118     Active   17-710-40104-04      EI 0338       A006   ST04BP00   PA
G02118     Active   17-710-40106-01      EI 0338       A007   ST01BP00   PA
G02118     Active   17-710-40146-01      EI 0338       A008   ST02BP00   PA
G02118     Active   17-710-40173-02      EI 0338       A010   ST02BP00   PA
G02118     Active   17-710-40177-00      EI 0338       A011   ST00BP00   PA
G02118     Active   17-710-40199-01      EI 0338       A012   ST01BP00   PA
G02118     Active   17-710-40212-00      EI 0338       A013   ST00BP01   PA
G02118     Active   17-710-40198-01      EI 0338       A014   ST01BP01   PA
G02118     Active   17-710-40218-01      EI 0338       A015   ST01BP00   PA
G02118     Active   17-710-40172-01      EI 0338       A017   ST01BP00   PA
G02118     Active   17-710-40226-01      EI 0338       A018   ST01BP00   PA
G02118     Active   17-710-40350-00      EI 0338       A019   ST00BP01   PA
G02118     Active   17-710-40837-00      EI 0338       A020   ST00BP00   PA
G02118     Active   17-710-41293-03      EI 0338       A021   ST03BP00   PA



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           Lease                                                           Well
  Lease    Status          API            Area Block   Well     Suffix    Status

G02118     Active   17-710-40249-01      EI 0338       B001   ST01BP00   PA
G02118     Active   17-710-40273-01      EI 0338       B006   ST01BP02   PA
G02118     Active   17-710-40351-00      EI 0338       B011   ST00BP00   PA
G02118     Active   17-710-40343-06      EI 0338       B012   ST06BP00   PA
G02118     Active   17-710-40381-01      EI 0338       B014   ST01BP00   PA
G02118     Active   17-710-40380-00      EI 0338       B015   ST00BP00   PA
G02118     Active   17-710-40404-01      EI 0338       B017   ST01BP00   PA
G02118     Active   17-710-40420-02      EI 0338       B018   ST02BP00   PA
G02118     Active   17-710-40426-01      EI 0338       B019   ST01BP00   PA
G02318     Active   17-710-41655-01      EI 0339       K002   ST00BP01   Prod
G02318     Active   17-710-41657-03      EI 0339       K004   ST00BP03   Prod
G02318     Active   17-710-41672-00      EI 0339       K011   ST00BP00   Prod
G02318     Active   17-710-41660-03      EI 0339       K015   ST03BP00   Prod
G02318     Active   17-710-40184-00      EI 0339       001    ST00BP00   PA
G02318     Active   17-710-40298-00      EI 0339       002    ST00BP00   PA
G02318     Active   17-710-40272-02      EI 0339       B002   ST02BP00   PA
G02318     Active   17-710-40278-01      EI 0339       B003   ST01BP00   PA
G02318     Active   17-710-40283-00      EI 0339       B004   ST00BP00   PA
G02318     Active   17-710-40262-01      EI 0339       B005   ST01BP00   PA
G02318     Active   17-710-40333-03      EI 0339       B007   ST03BP00   PA
G02318     Active   17-710-40327-00      EI 0339       B008   ST00BP00   PA
G02318     Active   17-710-40358-01      EI 0339       B009   ST01BP00   PA
G02318     Active   17-710-40383-00      EI 0339       B013   ST00BP00   PA
G02318     Active   17-710-40405-02      EI 0339       B016   ST02BP00   PA
G02318     Active   17-710-40419-00      EI 0339       C001   ST00BP00   PA
G02318     Active   17-710-40460-00      EI 0339       C002   ST00BP01   PA
G02318     Active   17-710-40486-00      EI 0339       C003   ST00BP00   PA
G02318     Active   17-710-40467-00      EI 0339       C004   ST00BP00   PA
G02318     Active   17-710-40472-00      EI 0339       C005   ST00BP01   PA
G02318     Active   17-710-40481-00      EI 0339       C006   ST00BP00   PA
G02318     Active   17-710-40513-01      EI 0339       C009   ST01BP01   PA
G02318     Active   17-710-40546-00      EI 0339       C011   ST00BP01   PA
G02318     Active   17-710-40577-00      EI 0339       C012   ST00BP00   PA
G02318     Active   17-710-40524-01      EI 0339       C013   ST01BP00   PA
G02318     Active   17-710-40526-01      EI 0339       C014   ST01BP01   PA
G02318     Active   17-710-40564-00      EI 0339       C015   ST00BP00   PA
G02318     Active   17-710-40580-00      EI 0339       C016   ST00BP00   PA
G02318     Active   17-710-41488-01      EI 0339       C017   ST01BP00   PA


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G02318     Active   17-710-41486-00      EI 0339       C018    ST00BP00    PA
                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G02318     Active   17-710-41492-01      EI 0339       C019    ST00BP01    PA
G02318     Active   17-710-41570-00      EI 0339       C020    ST00BP00    PA
G02318     Active   17-710-41571-00      EI 0339       C021    ST00BP00    PA
G02914     Active   17-710-40764-01      EI 0341       A001    ST01BP00    Prod
G02914     Active   17-710-40802-03      EI 0341       A003    ST02BP00    Prod
G02914     Active   17-710-40818-02      EI 0341       A005    ST02BP00    Prod
G02914     Active   17-710-40868-02      EI 0341       A008    ST01BP01    Prod
G02914     Active   17-710-40883-02      EI 0341       A010    ST02BP00    Prod
G02914     Active   17-710-40901-01      EI 0341       A011    ST01BP00    Prod
G02914     Active   17-710-40924-02      EI 0341       A013    ST02BP00    Prod
G02914     Active   17-710-41404-04      EI 0341       A014    ST03BP00    Prod
G02914     Active   17-710-41487-01      EI 0341       A015    ST01BP00    Prod
G02914     Active   17-710-41489-01      EI 0341       A016    ST01BP00    Prod
G02914     Active   17-710-41494-01      EI 0341       A017    ST01BP00    Prod
G02914     Active   17-710-41687-00      EI 0341       A018    ST00BP00    Prod
G02914     Active   17-710-41688-01      EI 0341       A019    ST00BP01    Prod
G02914     Active   17-710-41689-00      EI 0341       A020    ST00BP00    Prod
G02914     Active   17-710-40483-00      EI 0341       001     ST00BP01    PA
G02914     Active   17-710-40630-00      EI 0341       002     ST00BP00    PA
G02914     Active   17-710-40640-00      EI 0341       003     ST00BP00    PA
G02914     Active   17-710-40650-00      EI 0341       004     ST00BP00    PA
G02914     Active   17-710-40692-00      EI 0341       005     ST00BP00    PA
G02914     Active   17-710-41537-01      EI 0341       006     ST00BP01    PA
G02914     Active   17-710-40827-01      EI 0341       A006    ST01BP00    PA
G02914     Active   17-710-40879-00      EI 0341       A009    ST00BP02    PA
G02914     Active   17-710-40796-01      EI 0341       A002    ST00BP01    TA
G02914     Active   17-710-40807-00      EI 0341       A004    ST00BP00    TA
G02914     Active   17-710-40853-00      EI 0341       A007    ST00BP00    TA
G02914     Active   17-710-40915-00      EI 0341       A012    ST00BP00    TA
G14482     Active   17-710-41617-00      EI 0346       B001    ST00BP00    TA
G14482     Active   17-710-41627-00      EI 0346       B002    ST00BP00    TA
G14482     Active   17-710-41628-00      EI 0346       B003    ST00BP00    TA
G03228     Active   42-708-40076-00      GA 0180       A017    ST00BP00    Prod
G03229     Active   42-706-40296-02      GA 0192       A003    ST02BP00    Prod
G03229     Active   42-706-40403-01      GA 0192       B003    ST01BP00    TA
G06093     Active   42-706-40292-00      GA 0209       A002    ST00BP01    Prod
G06093     Active   42-706-40297-00      GA 0209       A004    ST00BP00    SI
G06093     Active   42-706-40365-01      GA 0209       A005    ST01BP00    Prod
G06093     Active   42-706-40370-00      GA 0209       A006    ST00BP00    Prod


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            Lease                                                             Well
   Lease    Status            API          Area Block    Well      Suffix    Status
G06093     Active     42-706-40396-00      GA 0209      B001    ST00BP00    Prod
G06093     Active     42-706-40418-00      GA 0209      B006    ST00BP00    Prod
G06093     Active     42-706-40419-01      GA 0209      B007    ST01BP00    Prod
G06093     Active     42-706-40425-00      GA 0209      B008    ST00BP00    Prod
G06093     Active     42-706-40427-00      GA 0209      B009    ST00BP00    Prod
G06093     Active     42-706-40429-00      GA 0209      B010    ST00BP00    Prod
G06093     Active     42-706-40120-00      GA 0209      A001    ST00BP00    PA
G06093     Active     42-706-40400-00      GA 0209      B002    ST00BP00    PA
G06093     Active     42-706-40404-00      GA 0209      B004    ST00BP00    PA
G03236     Active     42-708-40055-00      HI 0179      A001    ST00BP00    Prod
G03237     Active     42-706-40406-00      HI 0193      B005    ST00BP00    Prod
G02705     Active     42-709-40955-01      HI A0547     B001    ST01BP00    Prod
G02705     Active     42-709-40959-01      HI A0547     B002    ST01BP00    Prod
G02705     Active     42-709-40980-01      HI A0547     B004    ST01BP00    Prod
G02705     Active     42-709-41168-01      HI A0547     C001    ST00BP01    Prod
G02705     Active     42-709-41172-00      HI A0547     C002    ST00BP00    Prod
G02705     Active     42-709-40950-00      HI A0547     001     ST00BP00    PA
G02705     Active     42-709-40415-00      HI A0547     A002    ST00BP00    PA
G02705     Active     42-709-40523-00      HI A0547     A009    ST00BP00    PA
G02705     Active     42-709-40906-00      HI A0547     A012    ST00BP00    PA
G02705     Active     42-709-40978-00      HI A0547     005     ST00BP00    TA
G02705     Active     42-709-40983-00      HI A0547     B005    ST00BP00    TA
G02705     Active     42-709-41001-01      HI A0547     B006    ST01BP00    TA
G02705     Active     42-709-41005-00      HI A0547     B007    ST00BP00    TA
G27264     Inactive   17-722-40235-02      MC 0147      A017    ST01BP01    TA
G26241     Inactive   17-722-40190-03      MC 0191      A008    ST02BP01    TA
G26241     Inactive   17-722-40194-01      MC 0191      A009    ST01BP00    TA
G26241     Inactive   17-722-40237-01      MC 0191      A019    ST00BP01    TA
G02968     Active     60-817-40109-01      MC 0311      A006    ST01BP00    Prod
G02968     Active     60-817-40339-01      MC 0311      A020    ST01BP00    Prod
G18292     Active     60-817-41406-00      MC 0800      002     ST00BP00    Prod
G18292     Active     60-817-41127-01      MC 0800      SS001   ST01BP00    Prod
G03197     Active     17-725-40834-00      MP 0120      A001    ST00BP00    Prod
G03197     Active     17-725-40836-00      MP 0120      A002    ST00BP00    SI
G03197     Active     17-725-40132-01      MP 0120      CA001   ST01BP00    Prod
G03197     Active     17-725-40535-01      MP 0120      CA005   ST01BP00    SI
G03197     Active     17-725-40302-00      MP 0120      005     ST00BP00    PA
G03197     Active     17-725-40164-00      MP 0120      CA002   ST00BP00    TA
G03197     Active     17-725-40177-00      MP 0120      CA003   ST00BP00    TA


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            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G03197     Active     17-725-40611-00      MP 0120       CE001   ST00BP00    TA
G03197     Active     17-725-40644-00      MP 0120       CE002   ST00BP00    TA
G23969     Active     17-725-40166-01      MP 0121       CA004   ST01BP00    SI
G13964     Active     17-724-40938-00      MP 0122       E001    ST00BP00    Prod
G13964     Active     17-724-40952-03      MP 0122       E002    ST02BP00    SI
G13964     Active     17-725-40870-00      MP 0122       002     ST00BP00    PA
G12088     Active     17-725-40574-00      MP 0123       A001    ST00BP00    SI
G12088     Active     17-725-40576-00      MP 0123       A002    ST00BP00    SI
G12088     Active     17-725-40594-00      MP 0123       A003    ST00BP00    SI
G12088     Active     17-725-40595-00      MP 0123       A004    ST00BP00    Prod
G12088     Active     17-725-40689-00      MP 0123       A005    ST00BP00    Prod
G12088     Active     17-725-40690-00      MP 0123       A006    ST00BP00    Prod
G33128     Inactive   17-724-40951-00      MP 0206       D003    ST00BP00    SI
G02955     Active     17-724-40936-00      MP 0236       D001    ST00BP00    Prod
G02955     Active     17-724-40949-02      MP 0236       D002    ST01BP01    SI
G02955     Active     17-724-40950-00      MP 0236       D004    ST00BP00    SI
G02955     Active     17-724-40953-00      MP 0236       E003    ST00BP00    SI
G14535     Inactive   17-713-40250-03      PL 0025       006     ST03BP00    SI
G14535     Inactive   17-713-40243-03      PL 0025       005     ST02BP00    TA
G14535     Inactive   17-713-40198-00      PL 0025       JA001   ST00BP00    TA
G24878     Active     17-708-40924-03      SM 0192       A002    ST03BP00    Prod
G24878     Active     17-708-40930-02      SM 0192       A003    ST01BP01    Prod
G24878     Active     17-708-40759-01      SM 0192       A001    ST01BP00    TA
G26144     Active     17-722-40197-02      SP 0074       A010    ST02BP00    TA
G26144     Active     17-722-40199-06      SP 0074       A012    ST06BP00    TA
G26144     Active     17-722-40236-02      SP 0074       A015    ST01BP00    TA
G05685     Inactive   17-722-40191-05      SP 0082       A011    ST02BP01    TA
G05685     Inactive   17-722-40239-00      SP 0082       A021    ST00BP00    TA
G05685     Inactive   17-722-40238-01      SP 0082       A020    ST00BP01    TA
G05052     Inactive   17-722-40185-01      SP 0083       A001    ST01BP00    TA
G05052     Inactive   17-722-40186-02      SP 0083       A002    ST02BP00    TA
G05052     Inactive   17-722-40187-00      SP 0083       A003    ST00BP00    TA
G05052     Inactive   17-722-40189-02      SP 0083       A004    ST02BP00    TA
G05052     Inactive   17-722-40188-01      SP 0083       A005    ST01BP00    TA
G05052     Inactive   17-722-40193-01      SP 0083       A006    ST01BP00    TA
G05052     Inactive   17-722-40196-00      SP 0083       A007    ST00BP00    TA
G05052     Inactive   17-722-40198-00      SP 0083       A013    ST00BP00    TA
G05052     Inactive   17-722-40232-00      SP 0083       A014    ST00BP00    TA


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            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G05052     Inactive   17-722-40233-00      SP 0083       A016    ST00BP00    TA
G03336     Active     17-715-41168-00      ST 0035       007     ST00BP00    Prod
G03336     Active     17-715-40275-02      ST 0035       D007    ST02BP00    SI
G03336     Active     17-715-40776-02      ST 0035       D018    ST02BP00    SI
G03336     Active     17-715-40767-02      ST 0035       D019    ST02BP00    SI
G03336     Active     17-715-40705-00      ST 0035       003     ST00BP00    PA
G03336     Active     17-715-40664-00      ST 0035       005     ST00BP00    PA
G03336     Active     17-715-40668-00      ST 0035       006     ST00BP00    PA
G03336     Active     17-715-40229-02      ST 0035       D004    ST02BP00    PA
G03336     Active     17-715-40253-00      ST 0035       D005    ST00BP00    PA
G03336     Active     17-715-40200-02      ST 0035       D006    ST02BP00    PA
G03336     Active     17-715-40316-01      ST 0035       D011    ST01BP00    PA
G03336     Active     17-715-40332-00      ST 0035       D012    ST00BP00    PA
G03336     Active     17-715-40348-00      ST 0035       D013    ST00BP01    PA
G03336     Active     17-715-40380-00      ST 0035       D015    ST00BP00    PA
G03336     Active     17-715-40386-00      ST 0035       D016    ST00BP00    PA
G03336     Active     17-715-40410-00      ST 0035       D017    ST00BP01    PA
G03336     Active     17-715-41088-00      ST 0035       EZ007   ST00BP00    PA
G03336     Active     17-715-41090-02      ST 0035       EZ008   ST00BP02    PA
G03336     Active     17-715-40137-00      ST 0035       D001    ST00BP00    TA
G03336     Active     17-715-40188-00      ST 0035       D002    ST00BP00    TA
G03336     Active     17-715-40304-00      ST 0035       D009    ST00BP00    TA
G03336     Active     17-715-40296-01      ST 0035       D010    ST01BP00    TA
G03336     Active     17-715-40367-02      ST 0035       D014    ST01BP01    TA
G03336     Active     17-715-40148-00      ST 0035       E001    ST00BP00    TA
G03336     Active     17-715-40206-00      ST 0035       E002    ST00BP00    TA
G03336     Active     17-715-40220-00      ST 0035       E003    ST00BP00    TA
G03336     Active     17-715-40232-00      ST 0035       E004    ST00BP00    TA
G03336     Active     17-715-40278-00      ST 0035       E006    ST00BP00    TA
G02624     Active     17-715-41174-03      ST 0036       002     ST03BP00    SI
G02624     Active     17-715-40100-01      ST 0036       B001    ST01BP00    SI
G02624     Active     17-715-40237-01      ST 0036       B006    ST01BP00    Prod
G02624     Active     17-715-40289-01      ST 0036       B009    ST01BP00    Prod
G02624     Active     17-715-41020-00      ST 0036       B021    ST00BP00    SI
G02624     Active     17-715-40099-00      ST 0036       001     ST00BP00    PA
G02624     Active     17-715-40187-00      ST 0036       B004    ST00BP00    PA
G02624     Active     17-715-40212-00      ST 0036       B005    ST00BP00    PA




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            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G02624     Active   17-715-40259-00      ST 0036       B007    ST00BP01    PA
G02624     Active   17-715-40272-00      ST 0036       B008    ST00BP00    PA
G02624     Active   17-715-40306-03      ST 0036       B010    ST01BP02    PA
G02624     Active   17-715-40322-00      ST 0036       B011    ST00BP00    PA
G02624     Active   17-715-40330-01      ST 0036       B014    ST01BP00    PA
G02624     Active   17-715-40368-01      ST 0036       B015    ST01BP00    PA
G02624     Active   17-715-40374-00      ST 0036       B016    ST00BP00    PA
G02624     Active   17-715-40403-00      ST 0036       B017    ST00BP00    PA
G02624     Active   17-715-40363-00      ST 0036       G001    ST00BP00    PA
G02624     Active   17-715-40473-00      ST 0036       G002    ST00BP00    PA
G02624     Active   17-715-40487-00      ST 0036       G004    ST00BP00    PA
G02624     Active   17-715-40144-00      ST 0036       B002    ST00BP02    TA
G02624     Active   17-715-40142-00      ST 0036       B003    ST00BP01    TA
G02624     Active   17-715-40342-01      ST 0036       B013    ST01BP00    TA
G02624     Active   17-715-40433-01      ST 0036       B018    ST01BP00    TA
G02624     Active   17-715-41131-00      ST 0036       B019    ST00BP00    TA
G02624     Active   17-715-41132-00      ST 0036       B020    ST00BP00    TA
G02625     Active   17-715-40086-01      ST 0037       A001    ST01BP00    SI
G02625     Active   17-715-40111-01      ST 0037       A002    ST01BP00    Prod
G02625     Active   17-715-40140-02      ST 0037       A004    ST02BP00    Prod
G02625     Active   17-715-40146-01      ST 0037       A006    ST01BP00    SI
G02625     Active   17-715-40186-01      ST 0037       A008    ST01BP00    Prod
G02625     Active   17-715-40976-00      ST 0037       A011    ST00BP00    Prod
G02625     Active   17-715-41002-00      ST 0037       A012    ST00BP00    SI
G02625     Active   17-715-41003-00      ST 0037       A013    ST00BP00    Prod
G02625     Active   17-715-41008-00      ST 0037       A015    ST00BP00    Prod
G02625     Active   17-715-41025-01      ST 0037       A016    ST01BP00    Prod
G02625     Active   17-715-41101-04      ST 0037       A018    ST04BP00    Prod
G02625     Active   17-715-41102-00      ST 0037       A019    ST00BP00    Prod
G02625     Active   17-715-41285-00      ST 0037       A020    ST00BP00    Prod
G02625     Active   17-715-40156-02      ST 0037       C001    ST02BP00    SI
G02625     Active   17-715-40198-01      ST 0037       C004    ST01BP00    Prod
G02625     Active   17-715-40302-02      ST 0037       C007    ST02BP00    Prod
G02625     Active   17-715-40947-01      ST 0037       C008    ST02BP00    SI
G02625     Active   17-715-41077-00      ST 0037       C009    ST00BP00    SI
G02625     Active   17-715-41078-01      ST 0037       C010    ST01BP00    Prod
G02625     Active   17-715-41246-00      ST 0037       C011    ST00BP00    SI




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                                                                             Current
            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G02625     Active     17-715-40875-00      ST 0037       H001    ST00BP00    Prod
G02625     Active     17-715-40880-00      ST 0037       H002    ST00BP00    Prod
G02625     Active     17-715-40885-00      ST 0037       H003    ST00BP01    Prod
G02625     Active     17-715-40893-03      ST 0037       H004    ST03BP00    Prod
G02625     Active     17-715-40895-00      ST 0037       H005    ST00BP00    Prod
G02625     Active     17-715-40896-01      ST 0037       H006    ST01BP00    Prod
G02625     Active     17-715-40926-03      ST 0037       H007    ST03BP00    Prod
G02625     Active     17-715-40927-00      ST 0037       H008    ST00BP00    Prod
G02625     Active     17-715-40965-00      ST 0037       H009    ST00BP00    SI
G02625     Active     17-715-41151-01      ST 0037       H013    ST01BP00    Prod
G02625     Active     17-715-40937-01      ST 0037       I001    ST01BP00    Prod
G02625     Active     17-715-41010-03      ST 0037       I002    ST03BP00    Prod
G02625     Active     17-715-40961-01      ST 0037       I004    ST01BP00    Prod
G02625     Active     17-715-41066-00      ST 0037       I005    ST00BP00    Prod
G02625     Active     17-715-40975-00      ST 0037       I007    ST00BP00    Prod
G02625     Active     17-715-41126-02      ST 0037       I008    ST01BP01    Prod
G02625     Active     17-715-41218-00      ST 0037       I009    ST00BP00    Prod
G02625     Active     17-715-41256-00      ST 0037       I010    ST00BP00    Prod
G02625     Active     17-715-41257-02      ST 0037       I011    ST02BP00    Prod
G02625     Active     17-715-41276-01      ST 0037       I012    ST01BP00    Prod
G02625     Active     17-715-41287-02      ST 0037       A021    ST02BP00    Prod
G02625     Active     17-715-41138-01      ST 0037       H011    ST01BP00    PA
G02625     Active     17-715-40128-02      ST 0037       A003    ST02BP00    TA
G02625     Active     17-715-40207-00      ST 0037       A009    ST00BP00    TA
G02625     Active     17-715-41004-00      ST 0037       A014    ST00BP00    TA
G02625     Active     17-715-41100-00      ST 0037       A017    ST00BP00    TA
G02625     Active     17-715-40230-00      ST 0037       C002    ST00BP00    TA
G02625     Active     17-715-40285-00      ST 0037       C006    ST00BP00    TA
G02625     Active     17-715-40941-05      ST 0037       I003    ST05BP00    TA
G02625     Active     17-715-40960-02      ST 0037       I006    ST02BP00    TA
G09637     Active     17-715-40731-05      ST 0038       A001    ST04BP01    Prod
G09637     Active     17-715-40846-02      ST 0038       A002    ST01BP01    SI
G09637     Active     17-715-40849-01      ST 0038       A003    ST01BP00    SI
G09637     Active     17-715-41057-00      ST 0038       A004    ST00BP00    SI
G09637     Active     17-715-41286-01      ST 0038       H014    ST01BP00    Prod
G14518     Inactive   17-715-41135-00      ST 0048       H010    ST00BP00    TA
G14518     Inactive   17-715-41150-01      ST 0048       H012    ST00BP00    TA




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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G01240     Active   17-715-40627-00      ST 0051       017     ST00BP00    Prod
G01240     Active   17-715-40922-00      ST 0051       021     ST00BP00    Prod
G01240     Active   17-715-40658-01      ST 0051       023     ST01BP00    Prod
G01240     Active   17-715-40592-02      ST 0051       CC013   ST02BP00    Prod
G01240     Active   17-715-40582-03      ST 0051       CC014   ST03BP00    Prod
G01240     Active   17-715-40597-00      ST 0051       CC015   ST00BP00    SI
G01240     Active   17-715-40950-00      ST 0051       CC025   ST00BP00    Prod
G01240     Active   17-715-40723-01      ST 0051       CE020   ST01BP00    SI
G01240     Active   17-715-41277-03      ST 0051       CE034   ST03BP00    Prod
G01240     Active   17-715-41279-01      ST 0051       CE035   ST01BP00    Prod
G01240     Active   17-715-41278-00      ST 0051       CE036   ST00BP00    Prod
G01240     Active   17-715-41207-03      ST 0051       CJ033   ST03BP00    Prod
G01240     Active   17-715-41231-00      ST 0051       CJ034   ST00BP00    Prod
G01240     Active   17-715-00305-00      ST 0051       001     ST00BP00    PA
G01240     Active   17-715-00864-01      ST 0051       004     ST01BP00    PA
G01240     Active   17-715-40157-00      ST 0051       005     ST00BP00    PA
G01240     Active   17-715-40173-01      ST 0051       007     ST01BP00    PA
G01240     Active   17-715-40313-00      ST 0051       008     ST00BP00    PA
G01240     Active   17-715-40324-02      ST 0051       009     ST02BP00    PA
G01240     Active   17-715-40498-00      ST 0051       010     ST00BP00    PA
G01240     Active   17-715-40572-00      ST 0051       011     ST00BP00    PA
G01240     Active   17-715-40559-00      ST 0051       012     ST00BP00    PA
G01240     Active   17-715-40589-00      ST 0051       026     ST00BP00    PA
G01240     Active   17-715-40596-00      ST 0051       027     ST00BP00    PA
G01240     Active   17-715-40604-02      ST 0051       028     ST02BP00    PA
G01240     Active   17-715-40631-00      ST 0051       029     ST00BP01    PA
G01240     Active   17-715-40650-00      ST 0051       030     ST00BP00    PA
G01240     Active   17-715-41091-00      ST 0051       CD031   ST00BP00    PA
G01240     Active   17-715-40840-02      ST 0051       CH024   ST02BP00    PA
G01240     Active   17-715-40628-01      ST 0051       018     ST01BP00    TA
G01240     Active   17-715-40636-00      ST 0051       019     ST00BP00    TA
G01240     Active   17-715-40938-02      ST 0051       022     ST02BP00    TA
G01240     Active   17-715-41113-01      ST 0051       CE032   ST01BP00    TA
G01241     Active   17-715-20140-03      ST 0052       003     ST03BP00    Prod
G01241     Active   17-715-40070-01      ST 0052       008     ST01BP01    SI
G01241     Active   17-715-40553-01      ST 0052       020     ST01BP01    SI
G01241     Active   17-715-40701-01      ST 0052       021     ST01BP00    Prod
G01241     Active   17-715-40815-03      ST 0052       022     ST03BP00    Prod
G01241     Active   17-715-40839-00      ST 0052       023     ST00BP00    Prod



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G01241     Active   17-715-40866-01      ST 0052       024     ST01BP00    Prod
G01241     Active   17-715-40972-01      ST 0052       027     ST01BP00    Prod
G01241     Active   17-715-40102-01      ST 0052       029     ST01BP00    Prod
G01241     Active   17-715-40044-00      ST 0052       CA004   ST00BP01    Prod
G01241     Active   17-715-40057-02      ST 0052       CA006   ST02BP00    Prod
G01241     Active   17-715-41280-00      ST 0052       CA007   ST00BP00    Prod
G01241     Active   17-715-41281-00      ST 0052       CA008   ST00BP00    Prod
G01241     Active   17-715-41282-00      ST 0052       CA009   ST00BP00    Prod
G01241     Active   17-715-41283-01      ST 0052       CA010   ST01BP00    Prod
G01241     Active   17-715-40932-02      ST 0052       CB025   ST02BP00    Prod
G01241     Active   17-715-41202-00      ST 0052       CJ031   ST00BP00    SI
G01241     Active   17-715-41263-00      ST 0052       CJ032   ST00BP00    SI
G01241     Active   17-715-41247-00      ST 0052       CK033   ST00BP00    Prod
G01241     Active   17-715-41248-00      ST 0052       CK034   ST00BP00    Prod
G01241     Active   17-715-41249-00      ST 0052       CK035   ST00BP00    Prod
G01241     Active   17-715-00814-00      ST 0052       001     ST00BP00    PA
G01241     Active   17-715-00923-00      ST 0052       002     ST00BP01    PA
G01241     Active   17-715-40072-00      ST 0052       009     ST00BP00    PA
G01241     Active   17-715-40163-00      ST 0052       010     ST00BP01    PA
G01241     Active   17-715-40167-00      ST 0052       012     ST00BP00    PA
G01241     Active   17-715-40184-00      ST 0052       014     ST00BP00    PA
G01241     Active   17-715-40183-00      ST 0052       015     ST00BP00    PA
G01241     Active   17-715-40166-02      ST 0052       016     ST02BP00    PA
G01241     Active   17-715-40291-01      ST 0052       017     ST01BP00    PA
G01241     Active   17-715-40280-00      ST 0052       018     ST00BP00    PA
G01241     Active   17-715-40430-00      ST 0052       019     ST00BP00    PA
G01241     Active   17-715-40980-00      ST 0052       026     ST00BP00    PA
G01241     Active   17-715-41005-00      ST 0052       CG001   ST00BP00    PA
G01241     Active   17-715-40992-02      ST 0052       CH028   ST01BP00    PA
G01241     Active   17-715-40065-01      ST 0052       007     ST01BP00    TA
G01241     Active   17-715-40051-00      ST 0052       CA005   ST00BP00    TA
00498      Active   17-715-01082-01      ST 0128       R006    ST01BP00    SI
00498      Active   17-715-40710-03      ST 0128       R007    ST03BP00    Prod
00498      Active   17-715-40675-03      ST 0128       X002    ST02BP01    Prod
00498      Active   17-715-00406-00      ST 0128       A001    ST00BP01    PA
00498      Active   17-715-00412-70      ST 0128       A009    ST02BP01    PA
00498      Active   17-715-00960-00      ST 0128       A010    ST00BP02    PA
00498      Active   17-715-00815-00      ST 0128       A011    ST00BP00    PA
00498      Active   17-715-00924-00      ST 0128       A012    ST00BP00    PA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00498      Active   17-715-01014-00      ST 0128       R001    ST00BP00    PA
00498      Active   17-715-01062-00      ST 0128       X001    ST00BP00    PA
00498      Active   17-715-01036-00      ST 0128       R003    ST00BP00    TA
00498      Active   17-715-40698-01      ST 0128       X003    ST01BP00    TA
00498      Active   17-715-41265-00      ST 0128       X004    ST00BP00    TA
00456      Active   17-715-41268-02      ST 0130       K001    ST02BP00    Prod
00456      Active   17-715-41272-01      ST 0130       K007    ST01BP00    Prod
00456      Active   17-715-41284-01      ST 0130       K009    ST01BP00    Prod
00456      Active   17-715-00816-00      ST 0130       001     ST00BP00    PA
00456      Active   17-715-00868-00      ST 0130       002     ST00BP00    PA
00456      Active   17-715-41259-03      ST 0130       002     ST03BP00    PA
00456      Active   17-715-40081-01      ST 0130       004     ST01BP00    PA
00456      Active   17-715-00349-00      ST 0130       A003    ST00BP00    PA
00456      Active   17-715-00350-00      ST 0130       A004    ST00BP00    PA
00456      Active   17-715-00351-00      ST 0130       A005    ST00BP00    PA
00456      Active   17-715-00355-01      ST 0130       A010    ST01BP00    PA
00456      Active   17-715-40749-00      ST 0130       A011    ST00BP00    PA
00456      Active   17-715-00376-00      ST 0130       C001    ST00BP00    PA
00456      Active   17-715-00378-00      ST 0130       C003    ST00BP00    PA
00456      Active   17-715-00383-00      ST 0130       C009    ST00BP00    PA
00456      Active   17-715-00523-00      ST 0130       C011    ST00BP00    PA
00456      Active   17-715-00522-01      ST 0130       C014    ST01BP00    PA
00456      Active   17-715-40904-03      ST 0130       C021    ST02BP01    PA
00456      Active   17-715-00357-00      ST 0130       D001    ST00BP00    PA
00456      Active   17-715-00358-00      ST 0130       D002    ST00BP00    PA
00456      Active   17-715-00359-00      ST 0130       D003    ST00BP00    PA
00456      Active   17-715-00360-00      ST 0130       D004    ST00BP00    PA
00456      Active   17-715-00361-00      ST 0130       D005    ST00BP00    PA
00456      Active   17-715-00362-00      ST 0130       D006    ST00BP00    PA
00456      Active   17-715-00363-00      ST 0130       D007    ST00BP00    PA
00456      Active   17-715-00364-00      ST 0130       D008    ST00BP00    PA
00456      Active   17-715-00365-01      ST 0130       D011    ST01BP00    PA
00456      Active   17-715-00368-01      ST 0130       D013    ST01BP00    PA
00456      Active   17-715-00370-00      ST 0130       D014    ST00BP00    PA
00456      Active   17-715-00674-00      ST 0130       D015    ST00BP00    PA
00456      Active   17-715-00664-00      ST 0130       D016    ST00BP00    PA
00456      Active   17-715-00707-00      ST 0130       D018    ST00BP00    PA
00456      Active   17-715-00366-01      ST 0130       D019    ST01BP00    PA
00456      Active   17-715-00745-00      ST 0130       D020    ST00BP01    PA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00456      Active   17-715-41107-00      ST 0130       D021    ST00BP00    PA
00456      Active   17-715-00371-00      ST 0130       E001    ST00BP00    PA
00456      Active   17-715-00372-00      ST 0130       E002    ST00BP00    PA
00456      Active   17-715-00373-00      ST 0130       E003    ST00BP01    PA
00456      Active   17-715-00374-00      ST 0130       E004    ST00BP00    PA
00456      Active   17-715-00375-00      ST 0130       E005    ST00BP00    PA
00456      Active   17-715-00527-00      ST 0130       E006    ST00BP00    PA
00456      Active   17-715-00524-00      ST 0130       E007    ST00BP00    PA
00456      Active   17-715-00528-02      ST 0130       E010    ST02BP00    PA
00456      Active   17-715-00567-00      ST 0130       E011    ST00BP00    PA
00456      Active   17-715-00568-00      ST 0130       E012    ST00BP00    PA
00456      Active   17-715-00657-01      ST 0130       E014    ST01BP00    PA
00456      Active   17-715-40842-00      ST 0130       G010    ST00BP00    PA
00456      Active   17-715-00744-01      ST 0130       H002    ST01BP00    PA
00456      Active   17-715-20032-00      ST 0130       J001    ST00BP00    PA
00456      Active   17-715-20075-01      ST 0130       J008    ST01BP00    PA
00456      Active   17-715-20089-00      ST 0130       J009    ST00BP00    PA
00456      Active   17-715-20107-01      ST 0130       J012    ST01BP00    PA
00456      Active   17-715-20068-01      ST 0130       J014    ST01BP00    PA
00456      Active   17-715-00382-02      ST 0130       C008    ST02BP00    TA
00456      Active   17-715-00563-00      ST 0130       C015    ST00BP00    TA
00456      Active   17-715-00566-01      ST 0130       C018    ST01BP00    TA
00457      Active   17-715-41275-00      ST 0131       K002    ST00BP00    Prod
00457      Active   17-715-41269-01      ST 0131       K003    ST01BP00    Prod
00457      Active   17-715-41270-00      ST 0131       K004    ST00BP00    Prod
00457      Active   17-715-41271-00      ST 0131       K005    ST00BP00    Prod
00457      Active   17-715-41274-01      ST 0131       K006    ST01BP00    Prod
00457      Active   17-715-41273-00      ST 0131       K008    ST00BP00    Prod
00457      Active   17-715-40688-01      ST 0131       001     ST01BP00    PA
00457      Active   17-715-00347-01      ST 0131       A002    ST01BP00    PA
00457      Active   17-715-00352-01      ST 0131       A006    ST01BP00    PA
00457      Active   17-715-00353-00      ST 0131       A007    ST00BP00    PA
00457      Active   17-715-00354-00      ST 0131       A008    ST00BP00    PA
00457      Active   17-718-40057-01      ST 0131       AA006   ST01BP00    PA
00457      Active   17-715-00381-00      ST 0131       C007    ST00BP00    PA
00457      Active   17-715-40712-02      ST 0131       C020    ST02BP00    PA
00457      Active   17-715-00709-00      ST 0131       D017    ST00BP00    PA
00457      Active   17-715-00673-00      ST 0131       F002    ST00BP00    PA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00457      Active   17-715-00713-01      ST 0131       G002    ST01BP00    PA
00457      Active   17-715-00779-04      ST 0131       G003    ST04BP00    PA
00457      Active   17-715-00781-02      ST 0131       G005    ST02BP00    PA
00457      Active   17-715-20113-03      ST 0131       G006    ST03BP00    PA
00457      Active   17-715-40003-02      ST 0131       G007    ST01BP01    PA
00457      Active   17-715-40005-02      ST 0131       G008    ST02BP00    PA
00457      Active   17-715-40843-02      ST 0131       G009    ST02BP00    PA
00457      Active   17-715-20040-02      ST 0131       J002    ST02BP00    PA
00457      Active   17-715-20045-03      ST 0131       J003    ST02BP01    PA
00457      Active   17-715-20056-01      ST 0131       J004    ST01BP00    PA
00457      Active   17-715-20061-00      ST 0131       J005    ST00BP00    PA
00457      Active   17-715-20071-01      ST 0131       J007    ST01BP00    PA
00457      Active   17-715-20097-00      ST 0131       J010    ST00BP00    PA
00457      Active   17-715-20105-02      ST 0131       J011    ST02BP00    PA
00457      Active   17-715-40277-00      ST 0131       J013    ST00BP00    PA
00457      Active   17-715-40715-00      ST 0131       L001    ST00BP01    PA
00457      Active   17-715-00388-02      ST 0131       C005    ST02BP00    TA
00457      Active   17-715-00529-03      ST 0131       C019    ST03BP00    TA
00461      Active   17-715-01039-01      ST 0134       S002    ST01BP00    SI
00461      Active   17-715-40666-03      ST 0134       S014    ST02BP01    SI
00461      Active   17-715-40680-02      ST 0134       S015    ST02BP00    SI
00461      Active   17-715-40928-06      ST 0134       W002    ST05BP01    SI
00461      Active   17-715-40977-02      ST 0134       W003    ST02BP00    SI
00461      Active   17-715-40990-01      ST 0134       W004    ST01BP00    Prod
00461      Active   17-715-41017-00      ST 0134       W006    ST00BP00    SI
00461      Active   17-715-41182-02      ST 0134       W007    ST01BP01    Prod
00461      Active   17-715-41184-00      ST 0134       W008    ST00BP00    Prod
00461      Active   17-715-41194-01      ST 0134       W009    ST00BP01    SI
00461      Active   17-715-00404-00      ST 0134       C002    ST00BP00    PA
00461      Active   17-715-00400-00      ST 0134       D001    ST00BP00    PA
00461      Active   17-715-00401-00      ST 0134       D003    ST00BP00    PA
00461      Active   17-715-00402-00      ST 0134       D006    ST00BP00    PA
00461      Active   17-715-00389-00      ST 0134       F001    ST00BP00    PA
00461      Active   17-715-00390-00      ST 0134       F002    ST00BP00    PA
00461      Active   17-715-00393-00      ST 0134       F005    ST00BP00    PA
00461      Active   17-715-00394-00      ST 0134       F006    ST00BP00    PA
00461      Active   17-715-00391-01      ST 0134       F007    ST01BP00    PA
00461      Active   17-715-00396-01      ST 0134       F008    ST01BP00    PA
00461      Active   17-715-00397-01      ST 0134       F011    ST01BP00    PA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00461      Active   17-715-00896-00      ST 0134       N001    ST00BP00    PA
00461      Active   17-715-00897-00      ST 0134       N002    ST00BP00    PA
00461      Active   17-715-00935-00      ST 0134       N003    ST00BP00    PA
00461      Active   17-715-00961-00      ST 0134       N004    ST00BP00    PA
00461      Active   17-715-00988-00      ST 0134       N005    ST00BP00    PA
00461      Active   17-715-01016-00      ST 0134       N006    ST00BP01    PA
00461      Active   17-715-01012-01      ST 0134       N007    ST01BP00    PA
00461      Active   17-715-01024-00      ST 0134       N008    ST00BP00    PA
00461      Active   17-715-40234-00      ST 0134       P014    ST00BP00    PA
00461      Active   17-715-01030-00      ST 0134       S001    ST00BP00    PA
00461      Active   17-715-01042-01      ST 0134       S004    ST01BP00    PA
00461      Active   17-715-01067-00      ST 0134       S005    ST00BP00    PA
00461      Active   17-715-01072-00      ST 0134       S006    ST00BP00    PA
00461      Active   17-715-01090-00      ST 0134       S007    ST00BP01    PA
00461      Active   17-715-01098-00      ST 0134       S008    ST00BP00    PA
00461      Active   17-715-01108-00      ST 0134       S009    ST00BP01    PA
00461      Active   17-715-20011-71      ST 0134       S010    ST00BP02    PA
00461      Active   17-715-20044-00      ST 0134       S012    ST00BP00    PA
00461      Active   17-715-20051-00      ST 0134       S013    ST00BP00    PA
00461      Active   17-715-01053-00      ST 0134       T001    ST00BP00    PA
00461      Active   17-715-01060-00      ST 0134       T002    ST00BP00    PA
00461      Active   17-715-01075-00      ST 0134       T003    ST00BP00    PA
00461      Active   17-715-01078-00      ST 0134       T004    ST00BP00    PA
00461      Active   17-715-01092-00      ST 0134       T005    ST00BP01    PA
00461      Active   17-715-01095-00      ST 0134       T006    ST00BP00    PA
00461      Active   17-715-01109-00      ST 0134       T007    ST00BP02    PA
00461      Active   17-715-01105-00      ST 0134       T008    ST00BP00    PA
00461      Active   17-715-20049-00      ST 0134       U001    ST00BP00    PA
00461      Active   17-715-20080-00      ST 0134       U003    ST00BP00    PA
00461      Active   17-715-20090-00      ST 0134       U004    ST00BP01    PA
00461      Active   17-715-20095-00      ST 0134       U005    ST00BP00    PA
00461      Active   17-715-20025-00      ST 0134       S011    ST00BP01    TA
00461      Active   17-715-40689-00      ST 0134       S016    ST00BP03    TA
00461      Active   17-715-20073-01      ST 0134       U002    ST01BP00    TA
00461      Active   17-715-40315-00      ST 0134       W001    ST00BP02    TA
00462      Active   17-715-40891-00      ST 0135       Q010    ST00BP00    SI
00462      Active   17-715-40942-00      ST 0135       Q012    ST00BP00    SI
00462      Active   17-715-41211-00      ST 0135       Q013    ST00BP00    SI
00462      Active   17-715-41197-00      ST 0135       Z002    ST00BP00    SI


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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00462      Active   17-715-20006-00      ST 0135       001     ST00BP00    PA
00462      Active   17-715-20023-00      ST 0135       002     ST00BP00    PA
00462      Active   17-715-20024-00      ST 0135       003     ST00BP00    PA
00462      Active   17-715-40781-00      ST 0135       005     ST00BP00    PA
00462      Active   17-715-00407-02      ST 0135       A004    ST02BP00    PA
00462      Active   17-715-00410-02      ST 0135       A013    ST02BP00    PA
00462      Active   17-715-00416-00      ST 0135       B001    ST00BP00    PA
00462      Active   17-715-00417-00      ST 0135       B002    ST00BP00    PA
00462      Active   17-715-00403-00      ST 0135       C001    ST00BP00    PA
00462      Active   17-715-00415-00      ST 0135       I001    ST00BP00    PA
00462      Active   17-715-00533-01      ST 0135       I003    ST01BP00    PA
00462      Active   17-715-00572-00      ST 0135       I006    ST00BP01    PA
00462      Active   17-715-00573-00      ST 0135       I007    ST00BP00    PA
00462      Active   17-715-00607-00      ST 0135       I008    ST00BP00    PA
00462      Active   17-715-00653-02      ST 0135       I010    ST01BP01    PA
00462      Active   17-715-00666-01      ST 0135       I012    ST01BP00    PA
00462      Active   17-715-00782-00      ST 0135       M001    ST00BP00    PA
00462      Active   17-715-00818-00      ST 0135       M002    ST00BP00    PA
00462      Active   17-715-00817-00      ST 0135       M003    ST00BP01    PA
00462      Active   17-715-00870-00      ST 0135       M004    ST00BP00    PA
00462      Active   17-715-00869-00      ST 0135       M005    ST00BP00    PA
00462      Active   17-715-20018-00      ST 0135       M006    ST00BP00    PA
00462      Active   17-715-41000-00      ST 0135       M007    ST00BP00    PA
00462      Active   17-715-40999-01      ST 0135       M008    ST01BP00    PA
00462      Active   17-715-41152-00      ST 0135       M009    ST00BP00    PA
00462      Active   17-715-01023-00      ST 0135       Q001    ST00BP00    PA
00462      Active   17-715-01031-00      ST 0135       Q002    ST00BP00    PA
00462      Active   17-715-01096-00      ST 0135       Q005    ST00BP01    PA
00462      Active   17-715-40671-00      ST 0135       Q006    ST00BP00    PA
00462      Active   17-715-01028-00      ST 0135       R002    ST00BP00    PA
00462      Active   17-715-40080-00      ST 0135       V001    ST00BP00    PA
00462      Active   17-715-40121-00      ST 0135       V002    ST00BP00    PA
00462      Active   17-715-40145-00      ST 0135       V003    ST00BP00    PA
00462      Active   17-715-40149-00      ST 0135       V004    ST00BP00    PA
00462      Active   17-715-40152-00      ST 0135       V005    ST00BP00    PA
00462      Active   17-715-41264-01      ST 0135       AA004   ST01BP00    TA
00462      Active   17-715-01044-00      ST 0135       Q003    ST00BP01    TA
00462      Active   17-715-01054-00      ST 0135       Q004    ST00BP00    TA
00462      Active   17-715-40685-02      ST 0135       Q007    ST02BP00    TA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00462      Active   17-715-40693-02      ST 0135       Q008    ST02BP00    TA
00462      Active   17-715-40708-03      ST 0135       Q009    ST03BP00    TA
00462      Active   17-715-01043-00      ST 0135       R004    ST00BP00    TA
00462      Active   17-715-01061-00      ST 0135       R005    ST00BP00    TA
00462      Active   17-715-41192-00      ST 0135       Z001    ST00BP00    TA
G01960     Active   17-715-40890-00      ST 0148       A007    ST00BP00    Prod
G01960     Active   17-715-40905-01      ST 0148       A008    ST01BP00    SI
G01960     Active   17-715-40951-03      ST 0148       A009    ST02BP00    Prod
G01960     Active   17-715-20060-00      ST 0148       001     ST00BP00    PA
G01960     Active   17-715-40951-02      ST 0148       A009    ST01BP00    PA
G01960     Active   17-715-40920-00      ST 0148       B001    ST00BP01    PA
G01960     Active   17-715-40944-00      ST 0148       B002    ST00BP00    PA
G01960     Active   17-715-40094-00      ST 0148       A001    ST00BP00    TA
G01960     Active   17-715-40132-00      ST 0148       A002    ST00BP00    TA
G01960     Active   17-715-40158-00      ST 0148       A003    ST00BP00    TA
G01960     Active   17-715-40397-00      ST 0148       A004    ST00BP00    TA
G01960     Active   17-715-40411-00      ST 0148       A005    ST00BP00    TA
G01960     Active   17-715-40746-03      ST 0148       A006    ST02BP01    TA
00463      Active   17-715-41260-01      ST 0151       AA001   ST01BP00    Prod
00463      Active   17-715-00926-02      ST 0151       P002    ST02BP00    Prod
00463      Active   17-715-00932-01      ST 0151       P003    ST01BP00    Prod
00463      Active   17-715-00982-02      ST 0151       P006    ST02BP00    Prod
00463      Active   17-715-00992-01      ST 0151       P007    ST01BP00    Prod
00463      Active   17-715-01002-02      ST 0151       P008    ST01BP01    Prod
00463      Active   17-715-40256-01      ST 0151       P015    ST01BP00    SI
00463      Active   17-715-00430-00      ST 0151       B003    ST00BP00    PA
00463      Active   17-715-00463-00      ST 0151       D005    ST00BP00    PA
00463      Active   17-715-00454-00      ST 0151       E001    ST00BP00    PA
00463      Active   17-715-00441-01      ST 0151       E004    ST01BP00    PA
00463      Active   17-715-00459-00      ST 0151       E007    ST00BP00    PA
00463      Active   17-715-00537-00      ST 0151       E009    ST00BP00    PA
00463      Active   17-715-00577-00      ST 0151       E011    ST00BP00    PA
00463      Active   17-715-00671-00      ST 0151       E015    ST00BP00    PA
00463      Active   17-715-00710-00      ST 0151       E016    ST00BP00    PA
00463      Active   17-715-00784-00      ST 0151       E018    ST00BP01    PA
00463      Active   17-715-00447-00      ST 0151       G001    ST00BP00    PA
00463      Active   17-715-00442-00      ST 0151       G002    ST00BP00    PA
00463      Active   17-715-00448-00      ST 0151       G003    ST00BP00    PA
00463      Active   17-715-00443-00      ST 0151       G004    ST00BP00    PA



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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00463      Active   17-715-00444-01      ST 0151       G005    ST01BP00    PA
00463      Active   17-715-00449-00      ST 0151       G006    ST00BP00    PA
00463      Active   17-715-00445-00      ST 0151       G007    ST00BP00    PA
00463      Active   17-715-00450-00      ST 0151       G008    ST00BP00    PA
00463      Active   17-715-00451-00      ST 0151       G009    ST00BP01    PA
00463      Active   17-715-00452-01      ST 0151       G010    ST01BP00    PA
00463      Active   17-715-00446-00      ST 0151       G011    ST00BP00    PA
00463      Active   17-715-00453-00      ST 0151       G012    ST00BP00    PA
00463      Active   17-715-00489-00      ST 0151       G013    ST00BP00    PA
00463      Active   17-715-00534-00      ST 0151       G014    ST00BP00    PA
00463      Active   17-715-00535-00      ST 0151       G015    ST00BP00    PA
00463      Active   17-715-00536-00      ST 0151       G016    ST00BP00    PA
00463      Active   17-715-00597-00      ST 0151       H001    ST00BP00    PA
00463      Active   17-715-00599-00      ST 0151       H002    ST00BP00    PA
00463      Active   17-715-00620-00      ST 0151       H003    ST00BP00    PA
00463      Active   17-715-00618-00      ST 0151       H004    ST00BP00    PA
00463      Active   17-715-00644-00      ST 0151       H005    ST00BP00    PA
00463      Active   17-715-00647-00      ST 0151       H006    ST00BP00    PA
00463      Active   17-715-00672-00      ST 0151       H007    ST00BP00    PA
00463      Active   17-715-00669-00      ST 0151       H008    ST00BP00    PA
00463      Active   17-715-00711-00      ST 0151       H009    ST00BP00    PA
00463      Active   17-715-00705-00      ST 0151       H010    ST00BP00    PA
00463      Active   17-715-00490-02      ST 0151       I002    ST02BP00    PA
00463      Active   17-715-00570-00      ST 0151       I004    ST00BP00    PA
00463      Active   17-715-00571-01      ST 0151       I005    ST01BP00    PA
00463      Active   17-715-00619-00      ST 0151       I009    ST00BP00    PA
00463      Active   17-715-00668-00      ST 0151       I011    ST00BP01    PA
00463      Active   17-715-00696-00      ST 0151       I013    ST00BP00    PA
00463      Active   17-715-00727-00      ST 0151       I014    ST00BP00    PA
00463      Active   17-715-00788-00      ST 0151       I016    ST00BP00    PA
00463      Active   17-715-00820-00      ST 0151       I017    ST00BP01    PA
00463      Active   17-715-41019-00      ST 0151       I018    ST00BP00    PA
00463      Active   17-715-00431-00      ST 0151       J001    ST00BP01    PA
00463      Active   17-715-00432-00      ST 0151       J002    ST00BP00    PA
00463      Active   17-715-00433-00      ST 0151       J003    ST00BP00    PA
00463      Active   17-715-00434-01      ST 0151       J004    ST01BP00    PA
00463      Active   17-715-00435-00      ST 0151       J005    ST00BP00    PA
00463      Active   17-715-00437-00      ST 0151       J007    ST00BP01    PA
00463      Active   17-715-00438-00      ST 0151       J008    ST00BP00    PA
00463      Active   17-715-00439-00      ST 0151       J009    ST00BP00    PA

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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00463      Active   17-715-00440-00      ST 0151       J010    ST00BP00    PA
00463      Active   17-715-00492-00      ST 0151       J011    ST00BP00    PA
00463      Active   17-715-00530-01      ST 0151       J012    ST01BP00    PA
00463      Active   17-715-00532-00      ST 0151       J013    ST00BP00    PA
00463      Active   17-715-00531-00      ST 0151       J014    ST00BP00    PA
00463      Active   17-715-00538-00      ST 0151       J015    ST00BP00    PA
00463      Active   17-715-00574-01      ST 0151       J016    ST01BP01    PA
00463      Active   17-715-00436-01      ST 0151       J017    ST01BP00    PA
00463      Active   17-715-00598-00      ST 0151       K001    ST00BP00    PA
00463      Active   17-715-00609-00      ST 0151       K002    ST00BP00    PA
00463      Active   17-715-00624-00      ST 0151       K003    ST00BP00    PA
00463      Active   17-715-00646-00      ST 0151       K004    ST00BP00    PA
00463      Active   17-715-00645-00      ST 0151       K005    ST00BP00    PA
00463      Active   17-715-00667-00      ST 0151       K006    ST00BP00    PA
00463      Active   17-715-00670-00      ST 0151       K007    ST00BP00    PA
00463      Active   17-715-00697-00      ST 0151       K009    ST00BP00    PA
00463      Active   17-715-00717-00      ST 0151       K010    ST00BP00    PA
00463      Active   17-715-00759-00      ST 0151       K011    ST00BP00    PA
00463      Active   17-715-00787-00      ST 0151       K012    ST00BP00    PA
00463      Active   17-715-00718-01      ST 0151       K013    ST01BP00    PA
00463      Active   17-715-00888-00      ST 0151       L001    ST00BP00    PA
00463      Active   17-715-00823-00      ST 0151       L002    ST00BP00    PA
00463      Active   17-715-00819-00      ST 0151       L003    ST00BP00    PA
00463      Active   17-715-00822-00      ST 0151       L004    ST00BP00    PA
00463      Active   17-715-00821-00      ST 0151       L005    ST00BP01    PA
00463      Active   17-715-00871-01      ST 0151       L007    ST01BP00    PA
00463      Active   17-715-00873-00      ST 0151       L008    ST00BP00    PA
00463      Active   17-715-00901-00      ST 0151       L009    ST00BP00    PA
00463      Active   17-715-00925-00      ST 0151       L010    ST00BP00    PA
00463      Active   17-715-00951-00      ST 0151       L011    ST00BP00    PA
00463      Active   17-715-00962-00      ST 0151       L012    ST00BP00    PA
00463      Active   17-715-00963-00      ST 0151       O001    ST00BP00    PA
00463      Active   17-715-00981-00      ST 0151       O002    ST00BP00    PA
00463      Active   17-715-01003-00      ST 0151       O003    ST00BP00    PA
00463      Active   17-715-01009-00      ST 0151       O004    ST00BP00    PA
00463      Active   17-715-01026-00      ST 0151       O005    ST00BP00    PA
00463      Active   17-715-01034-01      ST 0151       O006    ST01BP00    PA
00463      Active   17-715-01045-00      ST 0151       O007    ST00BP00    PA
00463      Active   17-715-01056-00      ST 0151       O008    ST00BP00    PA
00463      Active   17-715-01066-00      ST 0151       O009    ST00BP00    PA

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                                                                           Current
            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
00463      Active   17-715-01076-00      ST 0151       O010    ST00BP00    PA
00463      Active   17-715-01091-00      ST 0151       O011    ST00BP01    PA
00463      Active   17-715-01097-00      ST 0151       O012    ST00BP00    PA
00463      Active   17-715-01104-00      ST 0151       O013    ST00BP00    PA
00463      Active   17-715-20001-00      ST 0151       O014    ST00BP00    PA
00463      Active   17-715-20007-00      ST 0151       O015    ST00BP00    PA
00463      Active   17-715-41039-00      ST 0151       O016    ST00BP00    PA
00463      Active   17-715-41040-00      ST 0151       O017    ST00BP00    PA
00463      Active   17-715-41159-00      ST 0151       O018    ST00BP00    PA
00463      Active   17-715-00904-00      ST 0151       P001    ST00BP01    PA
00463      Active   17-715-20019-00      ST 0151       P010    ST00BP01    PA
00463      Active   17-715-20027-00      ST 0151       P011    ST00BP00    TA
00463      Active   17-715-40966-00      ST 0151       P016    ST00BP00    TA
00464      Active   17-715-40989-03      ST 0152       W005    ST03BP00    Prod
00464      Active   17-715-00461-00      ST 0152       D002    ST00BP00    PA
00464      Active   17-715-00462-00      ST 0152       D004    ST00BP01    PA
00464      Active   17-715-00903-01      ST 0152       D007    ST01BP00    PA
00464      Active   17-715-00927-00      ST 0152       D008    ST00BP00    PA
00464      Active   17-715-00939-00      ST 0152       D010    ST00BP00    PA
00464      Active   17-715-00458-00      ST 0152       E006    ST00BP00    PA
00464      Active   17-715-00460-00      ST 0152       E008    ST00BP00    PA
00464      Active   17-715-00576-00      ST 0152       E010    ST00BP00    PA
00464      Active   17-715-00455-02      ST 0152       E012    ST02BP00    PA
00464      Active   17-715-00625-00      ST 0152       E013    ST00BP00    PA
00464      Active   17-715-00652-00      ST 0152       E014    ST00BP00    PA
00464      Active   17-715-00700-00      ST 0152       E017    ST00BP00    PA
00464      Active   17-715-00785-00      ST 0152       E019    ST00BP01    PA
00464      Active   17-715-00392-00      ST 0152       F004    ST00BP00    PA
00464      Active   17-715-00964-00      ST 0152       P005    ST00BP00    PA
00464      Active   17-715-20012-00      ST 0152       P009    ST00BP00    PA
00464      Active   17-715-20039-00      ST 0152       P012    ST00BP00    PA
00464      Active   17-715-00965-00      ST 0152       P004    ST00BP01    TA
00464      Active   17-715-40210-01      ST 0152       P013    ST01BP00    TA
G01248     Active   17-715-40048-02      ST 0161       C003    ST02BP00    Prod
G01248     Active   17-715-40679-05      ST 0161       C011    ST04BP01    Prod
G01248     Active   17-715-40820-02      ST 0161       C013    ST02BP00    Prod
G01248     Active   17-715-00423-00      ST 0161       001     ST00BP00    PA
G01248     Active   17-715-00424-00      ST 0161       002     ST00BP00    PA




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            Lease                                                            Well
   Lease   Status           API           Area Block    Well      Suffix    Status
G01248     Active   17-715-00426-00      ST 0161       004     ST00BP00    PA
G01248     Active   17-715-00487-00      ST 0161       005     ST00BP00    PA
G01248     Active   17-715-00493-00      ST 0161       006     ST00BP00    PA
G01248     Active   17-715-20042-01      ST 0161       008     ST01BP00    PA
G01248     Active   17-715-40287-00      ST 0161       C005    ST00BP00    PA
G01248     Active   17-715-40284-00      ST 0161       C006    ST00BP01    PA
G01248     Active   17-715-40655-01      ST 0161       C008    ST01BP00    PA
G01248     Active   17-715-40670-00      ST 0161       C010    ST00BP01    PA
G01248     Active   17-715-40817-01      ST 0161       C012    ST01BP00    PA
G01248     Active   17-715-40564-01      ST 0161       C007    ST01BP00    TA
G01248     Active   17-715-40656-00      ST 0161       C009    ST00BP00    TA
G01260     Active   17-715-00950-00      ST 0177       E001    ST00BP00    SI
G01260     Active   17-715-40825-02      ST 0177       E016    ST01BP01    Prod
G01260     Active   17-715-41013-04      ST 0177       E017    ST04BP00    Prod
G01260     Active   17-715-41087-00      ST 0177       E018    ST00BP00    SI
G01260     Active   17-715-40078-00      ST 0177       001     ST00BP00    PA
G01260     Active   17-715-40347-00      ST 0177       002     ST00BP00    PA
G01260     Active   17-715-00540-01      ST 0177       A003    ST01BP00    PA
G01260     Active   17-715-00541-00      ST 0177       A004    ST00BP00    PA
G01260     Active   17-715-00617-00      ST 0177       B001    ST00BP00    PA
G01260     Active   17-715-00649-00      ST 0177       B002    ST00BP00    PA
G01260     Active   17-715-00682-72      ST 0177       B003    ST00BP03    PA
G01260     Active   17-715-00743-00      ST 0177       B005    ST00BP00    PA
G01260     Active   17-715-00790-00      ST 0177       B006    ST00BP00    PA
G01260     Active   17-715-00827-00      ST 0177       B008    ST00BP00    PA
G01260     Active   17-715-00824-00      ST 0177       B009    ST00BP01    PA
G01260     Active   17-715-00825-00      ST 0177       B010    ST00BP00    PA
G01260     Active   17-715-00931-00      ST 0177       B012    ST00BP00    PA
G01260     Active   17-715-00738-01      ST 0177       B013    ST01BP00    PA
G01260     Active   17-715-00789-01      ST 0177       B015    ST01BP00    PA
G01260     Active   17-715-00900-02      ST 0177       B016    ST02BP00    PA
G01260     Active   17-715-40581-00      ST 0177       B017    ST00BP00    PA
G01260     Active   17-715-40587-00      ST 0177       B018    ST00BP01    PA
G01260     Active   17-715-00791-00      ST 0177       C001    ST00BP00    PA
G01260     Active   17-715-00889-71      ST 0177       C002    ST00BP02    PA
G01260     Active   17-715-00829-00      ST 0177       C003    ST00BP01    PA
G01260     Active   17-715-00826-00      ST 0177       C004    ST00BP00    PA
G01260     Active   17-715-00828-00      ST 0177       C005    ST00BP00    PA
G01260     Active   17-715-00899-00      ST 0177       C007    ST00BP00    PA



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            Lease                                                              Well
   Lease    Status            API           Area Block    Well      Suffix    Status
G01260     Active     17-715-00880-01      ST 0177       C008    ST01BP00    PA
G01260     Active     17-715-00930-00      ST 0177       C009    ST00BP00    PA
G01260     Active     17-715-40687-00      ST 0177       E015    ST00BP04    PA
G01260     Active     17-715-41187-01      ST 0177       F002    ST01BP00    PA
G01260     Active     17-715-00979-02      ST 0177       E003    ST02BP00    TA
G01260     Active     17-715-40059-01      ST 0177       E005    ST01BP00    TA
G01260     Active     17-715-01011-00      ST 0177       E006    ST00BP00    TA
G01260     Active     17-715-01025-00      ST 0177       E007    ST00BP00    TA
G01260     Active     17-715-01027-00      ST 0177       E009    ST00BP00    TA
G01260     Active     17-715-01037-00      ST 0177       E010    ST00BP00    TA
G01260     Active     17-715-40246-01      ST 0177       E012    ST01BP00    TA
G01260     Active     17-715-40185-01      ST 0177       E013    ST01BP00    TA
G01260     Active     17-715-00989-01      ST 0177       E014    ST01BP01    TA
G01899     Active     17-715-40419-02      ST 0188       CA002   ST02BP00    SI
G01899     Active     17-715-41111-00      ST 0188       CA003   ST00BP00    Prod
G01899     Active     17-715-00972-01      ST 0188       E002    ST01BP00    SI
G01899     Active     17-715-01111-00      ST 0188       A006    ST00BP00    PA
G01899     Active     17-715-20084-00      ST 0188       A011    ST00BP00    PA
G01899     Active     17-715-40290-00      ST 0188       CA001   ST00BP00    TA
G01572     Active     17-715-41133-05      ST 0189       CA004   ST03BP00    Prod
G01572     Active     17-715-41142-01      ST 0189       CA005   ST01BP00    Prod
G01572     Active     17-715-41114-02      ST 0189       CA007   ST00BP03    Prod
G01572     Active     17-715-41167-01      ST 0189       CB007   ST01BP00    SI
G01572     Active     17-715-40477-02      ST 0189       CA006   ST02BP00    TA
G01572     Active     17-715-41103-00      ST 0189       CB005   ST00BP00    TA
G21592     Active     17-705-41224-00      VR 0071       001     ST00BP00    Prod
G21592     Active     17-705-41232-01      VR 0071       C001    ST01BP00    Prod
G27851     Active     17-705-41248-00      VR 0072       001     ST00BP00    Prod
G27851     Active     17-705-41267-00      VR 0072       002     ST00BP00    Prod
G19761     Inactive   17-705-41176-00      VR 0207       A003    ST00BP00    TA
G33607     Active     17-706-40973-01      VR 0341       A003    ST00BP01    Prod
G33608     Active     17-706-40967-01      VR 0342       A001    ST01BP00    Prod
G33608     Active     17-706-40972-01      VR 0342       A002    ST00BP01    SI
G33608     Active     17-706-40984-04      VR 0342       A004    ST04BP00    Prod
G33608     Active     17-706-40983-00      VR 0342       A005    ST00BP00    Prod
G34033     Active     17-702-41837-01      WC 0522       A010    ST00BP01    Prod
G12802     Active     17-702-41128-00      WC 0543       A007    ST00BP03    Prod
G12802     Active     17-702-41095-01      WC 0543       A005    ST01BP00    TA




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            Lease                                                             Well
   Lease    Status            API          Area Block    Well      Suffix    Status
G14342     Active     17-702-41071-00      WC 0544      A001    ST00BP01    Prod
G14342     Active     17-702-41087-01      WC 0544      A003    ST01BP00    Prod
G14342     Active     17-702-41091-02      WC 0544      A004    ST01BP01    Prod
G14342     Active     17-702-41108-04      WC 0544      A006    ST03BP01    Prod
G14342     Active     17-702-41182-01      WC 0544      A009    ST01BP00    Prod
G14342     Active     17-702-41839-02      WC 0544      A011    ST02BP00    Prod
G14342     Active     17-702-41838-00      WC 0544      A012    ST00BP00    Prod
G14342     Active     17-702-41144-00      WC 0544      A008    ST00BP00    PA
G14342     Active     17-702-41077-00      WC 0544      A002    ST00BP00    TA
G01082     Active     17-719-40851-00      WD 0072      B001    ST00BP00    SI
G04895     Inactive   17-719-40827-00      WD 0085      A016    ST00BP00    SI
G04243     Active     17-719-40500-00      WD 0086      B001    ST00BP00    SI
G04243     Active     17-719-40526-00      WD 0086      B002    ST00BP00    SI
G04243     Active     17-719-40834-00      WD 0086      B003    ST00BP00    SI
G04243     Active     17-719-40835-00      WD 0086      B005    ST00BP00    SI
G04243     Active     17-719-40201-01      WD 0086      001     ST01BP01    PA
G04243     Active     17-719-40264-00      WD 0086      002     ST00BP00    PA
G04243     Active     17-719-40270-00      WD 0086      003     ST00BP00    PA
G04243     Active     17-719-40836-00      WD 0086      B004    ST00BP00    PA
G04243     Active     17-719-40256-00      WD 0086      A003    ST00BP00    TA
G04243     Active     17-719-40273-00      WD 0086      A004    ST00BP00    TA
G04243     Active     17-719-40239-01      WD 0086      A005    ST01BP00    TA
G04243     Active     17-719-40313-00      WD 0086      A008    ST00BP01    TA
G04243     Active     17-719-40325-00      WD 0086      A014    ST00BP00    TA
G35951     Active     17-720-40075-00      WD 0117      G004    ST00BP00    TA
G35951     Active     17-720-40079-01      WD 0117      G006    ST01BP00    TA
G35951     Active     17-720-40080-00      WD 0117      G008    ST00BP00    TA
G35951     Active     17-720-40089-00      WD 0117      G012    ST00BP00    TA
G35951     Active     17-720-40091-00      WD 0117      G013    ST00BP00    TA
G35951     Active     17-720-40092-00      WD 0117      G014    ST00BP00    TA
G35951     Active     17-720-40093-00      WD 0117      G015    ST00BP00    TA
G35951     Active     17-720-40096-00      WD 0117      G018    ST00BP00    TA
G35951     Active     17-720-40135-02      WD 0117      G023    ST02BP00    TA
G01106     Active     17-720-40165-01      WD 0133      F001    ST01BP00    Prod
G01106     Active     17-720-40171-00      WD 0133      F003    ST00BP00    Prod
G01106     Active     17-720-40176-00      WD 0133      F004    ST00BP00    Prod
G01106     Active     17-720-40170-00      WD 0133      F002    ST00BP00    TA


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          Attached to and made a part of that certain Asset Purchase Agreement by and among
                   Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                             and Sagamore Hill Holdings, LP, as Seller
                                and San Juan Offshore, LLC, as Buyer

                                     ASSIGNED CONTRACTS


Area/ Block     Lease                 Agreement                  Effective                 Parties
                                                                   Date


East Cameron    OCS-G        Offshore Operating Agreement         1/1/2005    Maritech Resources, Inc. and Arena
     328        10638                                                                   Offshore, LLC


East Cameron    OCS-G              Option Agreement              11/23/2004   Maritech Resources, Inc. and Arena
     328        10638                                                                   Offshore, LLC


East Cameron    OCS-G       Amendment to Option Agreement        10/12/2005   Maritech Resources, Inc. and Arena
     328        10638                                                                   Offshore, LLC


East Cameron    OCS-G           Participation Agreement          11/23/2004   Maritech Resources, Inc. and Arena
     328        10638                                                                   Offshore, LLC


East Cameron    OCS-G     Amendment to Participation Agreement   1/28/2005    Maritech Resources, Inc. and Arena
     328        10638                                                                   Offshore, LLC


East Cameron    OCS-G       Amendment to 1/1/2005 Offshore       9/16/2011    Tana Exploration Company LLC and
     328        10638           Operating Agreement                                  Arena Offshore, LLC


East Cameron    OCS-G        Production Handling Agreement        1/1/2012    Arena Offshore, LLC, Peregrine Oil
     328        10638                                                           & Gas II, LLC and Entek USA
                                                                                        General LLC

East Cameron    OCS-G      Amendment to Production Handling       5/1/2014    Arena Offshore, LP, Peregrine Oil &
     328        10638                Agreement                                 Gas II, LLC and Arena Energy, LP


East Cameron    OCS-G       Second Amendment to Production       9/11/2019    Arena Offshore, LP, Peregrine Oil &
     328        10638            Handling Agreement                            Gas II, LLC and Arena Energy, LP
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East Cameron    OCS-G            Precedent Agreement          12/30/2016   Stingray Pipeline Company, L.L.C.
     328        10638


Eugene Island   OCS-G           Acquisition Agreement         1/16//2004   Arena Offshore, LLC and Northstar
     38         24883                                                            Gulfsands, LLC, Etal


Eugene Island   OCS-G      Prospect Area Offshore Operating   10/18/2004   Arena Offshore, LLC and Northstar
     38         24883                 Agreement                                  Gulfsands, LLC, Etal


Eugene Island   OCS-G        Acquisition Letter Agreement      5/5/2008      Chevron U.S.A. Inc., Union Oil
     38         24883                                                        Company o California and Arena
                                                                                     Energy, LLC

Eugene Island   OCS-G        Purchase and Sale Agreement       6/1/2018     GS E&R American Offshore, LLC
     38         24883                                                           and Arena Energy, LP


Eugene Island   OCS-G           Evaluation Agreement           5/8/2008         Northstar GOM, Gulfsands
     38         24883                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC

Eugene Island   OCS-G     Amendment to Evaluation Agreement    1/28/05          Northstar GOM, Gulfsands
     38         24883                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC

Eugene Island   OCS-G       Resignation as Processor under    10/22/2019    ANDKOR E&P Holdings, Entech
     38         24883      Terminating Production Handling                 Enterprises Inc., SCL Resources Inc.,
                                      Agreement                                  Sanare Energy Partners

Eugene Island   OCS-G      Prospect Area Offshore Operating   10/18/2004   Arena Offshore, LLC and Northstar
     57          02601                Agreement                                  Gulfsands, LLC, Etal
                Expired

Eugene Island   OCS-G           Evaluation Agreement           5/8/2008         Northstar GOM, Gulfsands
     57          02601                                                      Petroleum, Entech Enterprises and
                Expired                                                            Arena Energy, LLC

Eugene Island   OCS-G     Amendment to Evaluation Agreement    1/28/05          Northstar GOM, Gulfsands
     57          02601                                                      Petroleum, Entech Enterprises and
                Expired                                                            Arena Energy, LLC

Eugene Island   OCS-G        Purchase and Sale Agreement       6/1/2018     GS E&R American Offshore, LLC
     57          02601                                                          and Arena Energy, LP
                Expired

Eugene Island   OCS-G       Resignation as Processor under    10/22/2019    ANDKOR E&P Holdings, Entech
     57          02601     Terminating Production Handling                 Enterprises Inc., SCL Resources Inc.,
                Expired               Agreement                                  Sanare Energy Partners




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Eugene Island   OCS-G      Prospect Area Offshore Operating       10/18/2004    Arena Offshore, LLC and Northstar
     58         02895                 Agreement                                       Gulfsands, LLC, Etal


Eugene Island   OCS-G            Evaluation Agreement              5/8/2008         Northstar GOM, Gulfsands
     58         02895                                                           Petroleum, Entech Enterprises and
                                                                                       Arena Energy, LLC

Eugene Island   OCS-G    Amendment to Evaluation Agreement         1/28/05          Northstar GOM, Gulfsands
     58         02895                                                           Petroleum, Entech Enterprises and
                                                                                       Arena Energy, LLC

Eugene Island   OCS-G        Purchase and Sale Agreement           6/1/2018     GS E&R American Offshore, LLC
     58         02895                                                               and Arena Energy, LP


Eugene Island   OCS-G       Resignation as Processor under        10/22/2019     ANKOR E&P Holdings, Entech
     58         02895      Terminating Production Handling                     Enterprises Inc., SCL Resources Inc.,
                                      Agreement                                      Sanare Energy Partners

Eugene Island   OCS-G   Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
     58         02895            Purchase Agreement


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
     99         31369                  amended                                           Energy, LLC


Eugene Island   OCS-G   Master License Agreement, as amended      6/10/2002    Fairfield Industries Incorporated and
     99         31369                                                                   Arena Energy, LLC


Eugene Island   OCS-G       Production Handling Agreement         12/1/2010      Arena Offshore, LLC and Arena
     99         31369                                                           Energy, LLC/Arena Offshore, LLC


Eugene Island    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    100         00796                  amended                                           Energy, LLC


Eugene Island    OCS         Offshore Operating Agreement         2/13/2004        Arena Offshore, LLC, SPN
    100         00796                                                          Resources, LLC and Triumph Energy,
                                                                                              LLC

Eugene Island    OCS         Purchase and Sale Agreement          2/13/2004       Apache Corporation and SPN
    100         00796                                                                     Resources


Eugene Island    OCS         Purchase and Sale Agreement          2/13/2004     SPN Resources, Triumph Energy,
    100         00796                                                            LLC and Arena Offshore, LLC




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Eugene Island    OCS               Exchange Agreement               12/1/2007    SPN Resources, Arena Energy, LLC
    100         00796                                                                and Arena Offshore, LLC


Eugene Island    OCS          Production Handling Agreement         12/1/2010    Arena Energy, LLC, Arena Offshore,
    100         00796                                                                LLC and Arena Exploration


Eugene Island    OCS       Oil Gathering and Reserve Dedication     7/11/2019        Renaissance Offshore, LLC
    100         00796                   Agreement


Eugene Island   OCS-G          Offshore Operating Agreement         4/14/1995    Newfield Exploration Company and
    174         03782                                                                  Vastar Resources, Inc.


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    174         03782                                                               LP and Arena Offshore, LP


Eugene Island   OCS-G        Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    174         03782                Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G     Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    174         03782                 Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G      Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    174         03782                 Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G      Joint Operating Agreement attached to     6/1/1993      Newfield Exploration Company
    181          04451            Participation Agreement
                Expired

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    182         04452                    amended                                           Energy, LLC


Eugene Island   OCS-G           Joint Operating Agreement            6/1/1993      Newfield Exploration Company
    182         04452


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    182         04452                                                               LP and Arena Offshore, LP


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    Diverse Offshore, Arena Energy, LP
    182         04452                                                                  and Arena Offshore, LP




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Eugene Island   OCS-G        Purchase and Sale Agreement         7/1/2012     CL&F Resources, Piquant, Arena
    182         04452                                                        Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G      Amendment to Purchase and Sale       10/30/2012   McMoRan Oil & Gas, Arena Energy,
    182         04452              Agreement                                    LP and Arena Offshore, LP


Eugene Island   OCS-G   Second Amendment to Purchase and Sale   11/9/2012    McMoRan Oil & Gas, Arena Energy,
    182         04452               Agreement                                   LP and Arena Offshore, LP


Eugene Island   OCS-G   Third Amendment to Purchase and Sale    11/13/2012   McMoRan Oil & Gas, Arena Energy,
    182         04452              Agreement                                    LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement         3/1/2014     Fidelity Oil, Arena Energy, LP and
    182         04452                                                                 Arena Offshore, LP


Eugene Island   OCS-G        Gas Dehydration Agreement          12/1/2000    Enterprise Products Operating LLC
    182         04452


Eugene Island   OCS-G      Gas Processing Commitment and        12/27/2002     Lone Star NGL Sea Robin LLC
    182         04452           Dedication Agreement


Eugene Island   OCS-G             Oil Sales Contract             3/1/2020     BP Oil Supply (BP Products North
    182         04452                                                                    America)


Eugene Island   OCS-G       Operation and Maintenance of         7/1/1994    Sea Robin Pipeline Company, LLC
    182         04452         Measurement Facilities


Eugene Island   OCS-G             Tie-In Agreement              10/31/1983           Crimson Gulf, LLC
    182         04452


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication   8/30/2018     Rosefield Pipeline Company, LLC
    182         04452                 Agreement


Eugene Island   OCS-G           Connection Agreement            3/18/2019     Rosefield Pipeline Company, LLC
    182         04452


Eugene Island   OCS-G     Incentive And Discount Agreement      3/18/2019     Rosefield Pipeline Company, LLC
    182         04452




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Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    214         00977                  amended                                           Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813         10/6/1966     U.S.A. and Chevron Oil Company
    214         00977


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         5/21/1973     U.S.A. and Chevron Oil Company
    214         00977               0001-8813


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         11/29/1983    U.S.A. and Chevron Oil Company
    214         00977               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
    214         00977                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
    214         00977               Sale Agreement                              Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
    214         00977                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    215                                amended                                           Energy, LLC
                00578

Eugene Island   OCS          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    215                                                                           LP and Arena Offshore, LP
                00578

Eugene Island   OCS        Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    215                            Agreement                                      LP and Arena Offshore, LP
                00578

Eugene Island   OCS     Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    215                             Agreement                                     LP and Arena Offshore, LP
                00578

Eugene Island   OCS      Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    215                             Agreement                                     LP and Arena Offshore, LP
                00578

Eugene Island   OCS       Asset Purchase and Sale Agreement       10/1/2014      Chevron U.S.A. Inc., Chevron
    215                                                                          Pipeline and Arena Energy, LP
                00578




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Eugene Island    OCS       Oil Gathering and Reserve Dedication     8/30/2018   Rosefield Pipeline Company, LLC
    215                                 Agreement
                00578

Eugene Island    OCS              Connection Agreement              3/18/2019   Rosefield Pipeline Company, LLC
    215
                00578

Eugene Island    OCS         Incentive And Discount Agreement       3/18/2019   Rosefield Pipeline Company, LLC
    215
                00578

Eugene Island    OCS          Gas Processing & Fractionation        1/1/2011     Enterprise Gas Processing, LLC
    215                                Agreement
                00578

Eugene Island    OCS             Lateral Line Interconnect,         5/3/2000     Transcontinental Gas Pipeline ||
    215                        Reimbursement and Operating                       Williams Field Services (WFS)
                00578
                                         Agreement

Eugene Island    OCS            Lateral Line Interconnect,          11/8/2004     Transcontinental Gas Pipeline
    215                      Reimbursement, Construction, and
                00578
                                  Operating Agreement

Eugene Island    OCS         Successor Natural Gas Processing       12/1/2012    Targa Midstream Services LLC
    215                                Agreement
                00578

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    215         26033                    amended                                         Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          1/1/2015    Tarpon Operating & Development
    215         26033                                                                and Arena Energy, LP


Eugene Island   OCS-G        Amendment to Purchase and Sale         1/1/2015    Tarpon Operating & Development
    215         26033                Agreement                                       and Arena Energy, LP


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    217         36743                    amended                                         Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    217          00978                                                          Energy, LP and Arena Offshore, LP
                Expired

Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    227          00809                                                          Energy, LP and Arena Offshore, LP
                Expired




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Eugene Island   OCS-G   Master Offshore Operating Agreement, as    10/1/2003    Arena Offshore, LLC and Arena
    227         36745                  amended                                          Energy, LLC


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication      8/30/2018    Rosefield Pipeline Company, LLC
    227         36745                 Agreement


Eugene Island   OCS-G           Connection Agreement               3/18/2019    Rosefield Pipeline Company, LLC
    227         36745


Eugene Island   OCS-G      Incentive And Discount Agreement        3/18/2019    Rosefield Pipeline Company, LLC
    227         36745


Eugene Island   OCS-G           Connection Agreement                8/1/2007          W&T Offshore Inc.
    227         36745


Eugene Island   OCS-G   Construction, Operation and Interconnect   12/15/1989   Kinetica Deepwater Express, LLC
    227         36745                  Agreement


Eugene Island   OCS-G      Production Scheduling Agreement         2/15/2002    Kinetica Deepwater Express, LLC
    227         36745


Eugene Island   OCS-G        Products Purchase Agreement            3/1/2009     Enterprise Gas Processing, LLC
    227         36745


Eugene Island   OCS-G   Master Offshore Operating Agreement, as    10/1/2003    Arena Offshore, LLC and Arena
    229         05505                  amended                                          Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement         9/1/2016     Chevron U.S.A. Inc., Union Oil
    229         05505                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G           Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    229         05505                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as    10/1/2003    Arena Offshore, LLC and Arena
    230         00979                  amended                                          Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813          10/6/1966    U.S.A. and Chevron Oil Company
    230         00979




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Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         5/21/1973    U.S.A. and Chevron Oil Company
    230         00979               0001-8813


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         11/29/1983   U.S.A. and Chevron Oil Company
    230         00979               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    230         00979                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    230         00979               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    230         00979                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    231         00980                  amended                                         Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813         10/6/1966    U.S.A. and Chevron Oil Company
    231         00980


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         5/21/1973    U.S.A. and Chevron Oil Company
    231         00980               0001-8813


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         11/29/1983   U.S.A. and Chevron Oil Company
    231         00980               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    231         00980                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    231         00980               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    231         00980                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    237         00981                  amended                                         Energy, LLC




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Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    237         00981                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
    237         00981               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    237         00981                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003   Arena Offshore, LLC and Arena
    238         00982                  amended                                        Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    238         00982                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
    238         00982               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    238         00982                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018   Rosefield Pipeline Company, LLC
    238         00982                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019   Rosefield Pipeline Company, LLC
    238         00982


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019   Rosefield Pipeline Company, LLC
    238         00982


Eugene Island   OCS-G      Agreement For Implementation Of        7/1/1993     Kinetica Energy Express, LLC
    238         00982        Electronic Custody Transfer


Eugene Island   OCS-G           Connection Agreement              9/17/1990    Kinetica Energy Express, LLC
    238         00982


Eugene Island   OCS-G          Gas Gathering Agreement            7/1/2019    Kinetica Midstream Energy, LLC
    238         00982




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Eugene Island   OCS-G   Gas Processing Agreement - Venice Gas      4/1/2013     Venice Energy Services Company,
    238         00982              Processing Plant                                         L.L.C.


Eugene Island   OCS-G         Platform Space Agreement            12/19/1995    Kinetica Deepwater Express, LLC
    238         00982


Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013      Kinetica Energy Express, LLC
    238         00982                 Schedule IT


Eugene Island   OCS-G     Liquids Transportation Agreement -       5/1/2004      Kinetica Energy Express, LLC
    238         00982      Cocodrie and Pecan Island Plants


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    251         03331                  amended                                           Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    251         03331                                                             LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    Diverse Offshore, Arena Energy, LP
    251         03331                                                                and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012     CL&F Resources, Piquant, Arena
    251         03331                                                          Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G      Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    251         03331              Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G   Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    251         03331               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G    Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    251         03331               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    Milagro Production, Arena Energy,
    251         03331                                                             LP and Arena Offshore, LP


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018     Rosefield Pipeline Company, LLC
    251         03331                 Agreement




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Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    251         03331


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    251         03331


Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013     Kinetica Energy Express, LLC
    251         03331                 Schedule IT


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    252         00983                  amended                                         Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    252         00983                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    252         00983               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    252         00983                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    252         00983                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    252         00983


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    252         00983


Eugene Island   OCS-G     Liquids Transportation Agreement -       5/1/2004     Kinetica Energy Express, LLC
    252         00983      Cocodrie and Pecan Island Plants


Eugene Island   OCS-G              Tie-In Agreement               10/22/1997         Crimson Gulf, LLC
    252         00983


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    253         10741                  amended                                         Energy, LLC




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Eugene Island   OCS-G       Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    253         10741                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
    253         10741                 Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G            Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    253         10741                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    253         35938                    amended                                         Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    254         36207                    amended                                         Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    261         36208                    amended                                         Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    262          07736                                                          Energy, LP and Arena Offshore, LP
                Expired

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    262         36209                    amended                                         Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    275         24910                    amended                                         Energy, LLC


Eugene Island   OCS-G       Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    275         24910                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
    275         24910                 Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G            Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    275         24910                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G     Transportation Service Agreement - Rate   9/1/2013      Kinetica Energy Express, LLC
    275         24910                   Schedule IT




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Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    276         00989                  amended                                           Energy, LLC


Eugene Island   OCS-G        Offshore Operating Agreement         5/22/2002    Union Oil Company of California and
    276         00989                                                          Kerr-McGee Oil & Gas Corporation


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
    276         00989                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
    276         00989               Sale Agreement                              Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
    276         00989                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018     Rosefield Pipeline Company, LLC
    276         00989                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019     Rosefield Pipeline Company, LLC
    276         00989


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019     Rosefield Pipeline Company, LLC
    276         00989


Eugene Island   OCS-G            Facilities Agreement             10/24/2005    Kinetica Deepwater Express, LLC
    276         00989


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    314         02111                  amended                                           Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement           6/1/2011     ExxonMobil, ExxonMobil Pipeline
    314         02111                                                                and Arena Energy, LP



Eugene Island   OCS-G      Unit Agreement 14-08-0001-16927         3/1/1977      Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                               Gulf Oil Corporation and Shell Oil
                                                                                            Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16928         3/1/1977      Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                               Gulf Oil Corporation and Shell Oil
                                                                                            Company



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Eugene Island   OCS-G      Unit Agreement 14-08-0001-16929        3/1/1977     Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16941        10/1/1976    Exxon Corporation, Texaco Inc.,
    314         02111                                                         Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16937        10/1/1976    Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Interest Exchange Agreement       4/1/2014    Renaissance Offshore LLC, Arena
    314         02111                                                         Energy, LP and Arena Offshore, LP



Eugene Island   OCS-G     Asset Purchase and Sale Agreement       10/1/2014     Chevron U.S.A. Inc., Chevron
    314         02111                                                           Pipeline and Arena Energy, LP


Eugene Island   OCS-G    Amendment to Asset Purchase and Sale     10/1/2014     Chevron U.S.A. Inc., Chevron
    314         02111                Agreement                                  Pipeline and Arena Energy, LP



Eugene Island   OCS-G      Unit Interest Exchange Agreement       8/1/2015    Renaissance Offshore LLC, Arena
    314         02111                                                         Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    314         33636                  amended                                         Energy, LLC


Eugene Island   OCS-G         Gas Processing Agreement            6/1/2011     Enterprise Gas Processing, LLC
    314         33636


Eugene Island   OCS-G     Interruptible Transportation Service    9/1/2006    Sea Robin Pipeline Company, LLC
    314         33636              Agreement - GAS


Eugene Island   OCS-G        Purchase and Sale Agreement          6/1/2011    ExxonMobil, ExxonMobil Pipeline
    315         02112                                                              and Arena Energy, LP


Eugene Island   OCS-G   Agreement for Ownership of Multi-Lease    1/1/1982             McMoRan Etal
    315         02112           Platform and Facility


Eugene Island   OCS-G            Operating Agreement              1/1/1982      Exxon Corporation and Sohio
    315         02112                                                                   Petroleum



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Eugene Island   OCS-G    Amendment to Slot Sale and Purchase      3/1/1984    Sohio Petroleum, Exxon Corporation,
    315         02112               Agreement                                    Mesa Petroleum and Pennzoil
                                                                                           Company

Eugene Island   OCS-G      Slot Sale and Purchase Agreement       5/16/1984       Sohio Petroleum and Exxon
    315         02112                                                                    Corporation


Eugene Island   OCS-G      Slot Sale and Purchase Agreement       3/28/2000      Exxon Corporation and Devon
    315         02112                                                                      Energy


Eugene Island   OCS-G         Gas Processing Agreement            6/1/2011      Enterprise Gas Processing, LLC
    315         02112


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    320         36211                  amended                                          Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    324         36118                  amended                                          Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    325         36119                  amended                                          Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    332         02613                  amended                                          Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement          6/1/2011     ExxonMobil, ExxonMobil Pipeline
    332         02613                                                               and Arena Energy, LP


Eugene Island   OCS-G      Unit Agreement 14-08-0001-16927        3/1/1977      Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16928        3/1/1977      Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16929        3/1/1977      Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16937        10/1/1976     Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company




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Eugene Island   OCS-G     Unit Agreement 14-08-0001-16932         3/1/1977    Exxon Corporation and Shell Oil
    332         02613                                                                  Company


Eugene Island   OCS-G     Unit Agreement 14-08-0001-16933         3/1/1977    Exxon Corporation and Shell Oil
    332         02613                                                                  Company


Eugene Island   OCS-G     Asset Purchase and Sale Agreement      10/1/2014     Chevron U.S.A. Inc., Chevron
    332         02613                                                          Pipeline and Arena Energy, LP


Eugene Island   OCS-G   Amendment to Asset Purchase and Sale     10/1/2014     Chevron U.S.A. Inc., Chevron
    332         02613               Agreement                                  Pipeline and Arena Energy, LP


Eugene Island   OCS-G            Farmout Agreement               12/15/2009    Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G     Amendment to Farmout Agreement         11/04/2010    Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G       Second Amendment to Farmout          3/28/2013     Chevron U.S.A. Inc. and Arena
    338         02118               Agreement                                          Energy, LP


Eugene Island   OCS-G   Third Amendment to Farmout Agreement     6/27/2013     Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G       Fourth Amendment to Farmout          9/24/2013     Chevron U.S.A. Inc. and Arena
    338         02118                Agreement                                         Energy, LP


Eugene Island   OCS-G   Fifth Amendment to Farmout Agreement     10/1/2014     Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    338         02118                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016     Chevron U.S.A. Inc., Union Oil
    338         02118               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    338         02118                                                         Company of California and Arena
                                                                                        Energy, LP




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Eugene Island   OCS-G      Successor Natural Gas Processing      12/1/2012     Targa Midstream Services LLC
    338         02118                Agreement


Eugene Island   OCS-G     Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
    338         02118


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
    338         02118                 Agreement


Eugene Island   OCS-G            Farmout Agreement               12/15/2009    Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G     Amendment to Farmout Agreement         11/04/2010    Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G       Second Amendment to Farmout          3/28/2013     Chevron U.S.A. Inc. and Arena
    339         02318               Agreement                                          Energy, LP


Eugene Island   OCS-G   Third Amendment to Farmout Agreement     6/27/2013     Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G       Fourth Amendment to Farmout          9/24/2013     Chevron U.S.A. Inc. and Arena
    339         02318                Agreement                                         Energy, LP


Eugene Island   OCS-G   Fifth Amendment to Farmout Agreement     10/1/2014     Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    339         02318                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016     Chevron U.S.A. Inc., Union Oil
    339         02318               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    339         02318                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G      Successor Natural Gas Processing      12/1/2012     Targa Midstream Services LLC
    339         02318                Agreement




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Eugene Island   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
    339         02318


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
    339         02318                 Agreement


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    340         36212                  amended                                          Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       10/1/2014      Chevron U.S.A. Inc., Chevron
    341         02914                                                            Pipeline and Arena Energy, LP


Eugene Island   OCS-G    Amendment to Asset Purchase and Sale     10/1/2014      Chevron U.S.A. Inc., Chevron
    341         02914                Agreement                                   Pipeline and Arena Energy, LP


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    341         02914                  amended                                          Energy, LLC


Eugene Island   OCS-G              Farmout Proposal               11/24/1997   NCX Company and Chevron U.S.A.
    341         02914                                                               Production Company


Eugene Island   OCS-G           Participation Agreement           2/17/1998     NCX Company and King Ranch
    341         02914                                                                    Energy


Eugene Island   OCS-G       Amendment to Farmout Proposal         1/17/2002    NCX Company and Chevron U.S.A.
    341         02914                                                               Production Company


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    341         02914                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    341         02914


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    341         02914


Eugene Island   OCS-G      Successor Natural Gas Processing       12/1/2012      Targa Midstream Services LLC
    341         02914                Agreement




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Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013       Kinetica Energy Express, LLC
    341         02914                 Schedule IT


Eugene Island   OCS-G      Metering and Facilities Agreement      10/28/2013    Kinetica Deepwater Express, LLC
    341         02914


Eugene Island   OCS-G           ITS Service Agreement             12/1/2012     Kinetica Deepwater Express, LLC
    341         02914


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    346         14482                                                             LP and Arena Offshore, LP


Eugene Island   OCS-G      Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    346         14482              Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G   Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    346         14482               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G    Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    346         14482               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G        Offshore Operating Agreement         3/15/2007    Newfield Exploration and Ridgewood
    346         14482


Eugene Island   OCS-G           Participation Agreement           3/15/2007    Newfield Exploration and Ridgewood
    346         14482


Eugene Island   OCS-G           ITS Service Agreement             12/1/2012     Kinetica Deepwater Express, LLC
    346         14482


 Galveston      OCS-G        Purchase and Sale Agreement           1/1/2019     ExxonMobil and Arena Energy, LP
   192          03229


 Galveston      OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
   192          03229                  amended                                           Energy, LLC


 Galveston      OCS-G          Unit Operating Agreement            1/1/978        Exxon Corporation and Shell
   192          03229                                                                     Offshore




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Galveston     OCS-G     Agreement for Ownership of Multiple       1/1/1978      Exxon Corporation and Shell
  192         03229    Lease Platform, Facilities, Quarters and                         Offshore
                                    Compressor

Galveston     OCS-G    PHA for Agreement for Ownership of         10/6/1989     Exxon Corporation and Shell
  192         03229     Multiple Lease Platform, Facilities,                            Offshore
                            Quarters and Compressor

Galveston     OCS-G         Unit Agreement #754388007             1/8/1988      Exxon Corporation and Shell
  192         03229                                                                     Offshore


Galveston     OCS-G        Purchase and Sale Agreement            1/1/2019    ExxonMobil and Arena Energy, LP
  209         06093


Galveston     OCS-G   Master Offshore Operating Agreement, as     10/1/2003    Arena Offshore, LLC and Arena
  209         06093                  amended                                           Energy, LLC


Galveston     OCS-G      HIPS Throughput Capacity Lease           11/1/2007       McMoran Oil & Gas LLC
  209         06093               Agreement


Galveston     OCS-G          Lateral Line Interconnect,           2/27/2003    Williams Field Services (WFS)
  209         06093        Reimbursement and Operating
                                     Agreement

Galveston     OCS-G      Offshore Pipeline Interconnect and       4/15/1997    ExxonMobil Pipeline Company
  209         06093            Operating Agreement


High Island   OCS-G        Purchase and Sale Agreement            1/1/2019    ExxonMobil and Arena Energy, LP
   193        03237


High Island   OCS-G   Master Offshore Operating Agreement, as     10/1/2003    Arena Offshore, LLC and Arena
   193        03237                  amended                                           Energy, LLC


High Island   OCS-G          Unit Operating Agreement              1/1/978      Exxon Corporation and Shell
   193        03237                                                                     Offshore


High Island   OCS-G     Agreement for Ownership of Multiple       1/1/1978      Exxon Corporation and Shell
   193        03237    Lease Platform, Facilities, Quarters and                         Offshore
                                    Compressor

High Island   OCS-G    PHA for Agreement for Ownership of         10/6/1989     Exxon Corporation and Shell
   193        03237     Multiple Lease Platform, Facilities,                            Offshore
                            Quarters and Compressor




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 High Island     OCS-G        Unit Agreement #754388007          1/8/1988       Exxon Corporation and Shell
    193          03237                                                                  Offshore


High Island A-   OCS-G        Purchase and Sale Agreement        9/1/2003      Noble Energy, Inc. and Triumph
     547         02705                                                                 Energy, LLC


High Island A-   OCS-G      Amendment to Purchase and Sale       4/21/2004     Noble Energy, Inc. and Triumph
     547         02705              Agreement                                          Energy, LLC


High Island A-   OCS-G   Second Amendment to Purchase and Sale   4/28/2004     Noble Energy, Inc. and Triumph
     547         02705               Agreement                                         Energy, LLC


High Island A-   OCS-G   Third Amendment to Purchase and Sale    4/28/2004     Noble Energy, Inc. and Triumph
     547         02705              Agreement                                          Energy, LLC


High Island A-   OCS-G   Fourth Amendment to Purchase and Sale   4/28/2004     Noble Energy, Inc. and Triumph
     547         02705               Agreement                                         Energy, LLC


High Island A-   OCS-G    Fifth Amendment to Purchase and Sale   4/28/2004     Noble Energy, Inc. and Triumph
     547         02705                Agreement                                        Energy, LLC


High Island A-   OCS-G        Purchase and Sale Agreement        10/1/2012   Anadarko E&P Company and Arena
     547         02705                                                                 Energy, LLC


High Island A-   OCS-G        Purchase and Sale Agreement        10/1/2012    Tammany Oil and Gas, Tammany
     547         02705                                                        Ventures and Arena Energy, LLC


High Island A-   OCS-G          Participation Agreement          1/1/2013    Walter Oil & Gas and Arena Energy,
     547         02705                                                                      LP


High Island A-   OCS-G       Offshore Operating Agreement        1/1/2013    Walter Oil & Gas and Arena Energy,
     547         02705                                                                      LP


High Island A-   OCS-G   Amendment to Participation Agreement    12/1/2014   Walter Oil & Gas and Arena Energy,
     547         02705                                                                      LP


High Island A-   OCS-G       Production Handling Agreement       1/1/2015    Arena Offshore, LP and Walter Oil &
     547         02705                                                           Gas and Arena Energy, LP




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High Island A-   OCS-G            Precedent Agreement              12/30/2016   Stingray Pipeline Company, L.L.C.
     547         02705


High Island A-   OCS-G   Transportation Service Agreement - Rate    9/1/2013      Kinetica Energy Express, LLC
     547         02705                 Schedule IT


High Island A-   OCS-G   Gas Gathering and Processing Agreement     8/1/2019      Targa Midstream Services LLC
     547         02705


High Island A-   OCS-G           NGL Banks Agreement                6/1/2004    High Island Offshore System, L.L.C.
     547         02705                                                           || Southern Petroleum Laboratories
                                                                                                (SPL)

High Island A-   OCS-G     Interruptible Transportation Service     6/1/2004    High Island Offshore System, L.L.C.
     547         02705              Agreement - GAS


High Island A-   OCS-G      Reserve Commitment Agreement           10/1/2009    High Island Offshore System, L.L.C.
     547         02705


High Island A-   OCS-G             Oil Sales Contract               4/1/2012       Shell Trading (US) Company
     547         02705


Main Pass 120    OCS-G            Asset Sale Agreement              3/1/2001      Chevron U.S.A. Inc., Kewanee
                 03197                                                             Industries and PetroVentures


Main Pass 120    OCS-G     Acquisition and Joint Development        2/8/2007          Arena Energy, LLC and
                 03197                  Proposal                                          PetroVentures


Main Pass 120    OCS-G   Extension and Amendment to Acquisition    3/27/2007          Arena Energy, LLC and
                 03197       and Joint Development Proposal                               PetroVentures


Main Pass 120    OCS-G       Offshore Operating Agreement          3/27/2007          Arena Energy, LLC and
                 03197                                                                    PetroVentures


Main Pass 120    OCS-G     First Amendment to Acquisition and      5/17/2007          Arena Energy, LLC and
                 03197         Joint Development Proposal                                 PetroVentures


Main Pass 120    OCS-G        Purchase and Sale Agreement          11/19/2014         Arena Energy, LLC and
                 03197                                                                    PetroVentures




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Main Pass 120   OCS-G     Pipeline Construction and Operating        8/16/2017    Arena Energy, LP and Arena
                03197                 Agreement                                          Offshore, LP


Main Pass 120   OCS-G        Pipeline Use and Compensation           8/16/2017    Arena Energy, LP and Arena
                03197                  Agreement                                         Offshore, LP


Main Pass 120   OCS-G       Production Handling Agreement            8/16/2017    Arena Energy, LP and Arena
                03197                                                                    Offshore, LP


Main Pass 121   OCS-G              Offer to Participate              6/13/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G        Offshore Operating Agreement            3/27/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G    Conditional Letter - Offer to Participate   6/14/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G         Purchase and Sale Agreement            11/19/2014      Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G     Pipeline Construction and Operating        8/16/2017    Arena Energy, LP and Arena
                26939                 Agreement                                          Offshore, LP


Main Pass 121   OCS-G        Pipeline Use and Compensation           8/16/2017    Arena Energy, LP and Arena
                26939                  Agreement                                         Offshore, LP


Main Pass 121   OCS-G       Production Handling Agreement            8/16/2017    Arena Energy, LP and Arena
                26939                                                                    Offshore, LP


Main Pass 122   OCS-G             Asset Sale Agreement                3/1/2001    Chevron U.S.A. Inc., Kewanee
                13964                                                              Industries and PetroVentures


Main Pass 122   OCS-G      Acquisition and Joint Development          2/8/2007       Arena Energy, LLC and
                13964                   Proposal                                         PetroVentures


Main Pass 122   OCS-G   Extension and Amendment to Acquisition       3/27/2007       Arena Energy, LLC and
                13964       and Joint Development Proposal                               PetroVentures




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Main Pass 122   OCS-G        Offshore Operating Agreement            3/27/2007         Arena Energy, LLC and
                13964                                                                      PetroVentures


Main Pass 122   OCS-G     First Amendment to Acquisition and         5/17/2007         Arena Energy, LLC and
                13964         Joint Development Proposal                                   PetroVentures


Main Pass 122   OCS-G        Purchase and Sale Agreement             11/19/2014        Arena Energy, LLC and
                13964                                                                      PetroVentures


Main Pass 122   OCS-G     Pipeline Construction and Operating        8/16/2017       Arena Energy, LP and Arena
                13964                 Agreement                                             Offshore, LP


Main Pass 122   OCS-G       Pipeline Use and Compensation            8/16/2017       Arena Energy, LP and Arena
                13964                 Agreement                                             Offshore, LP


Main Pass 122   OCS-G       Production Handling Agreement            8/16/2017       Arena Energy, LP and Arena
                13964                                                                       Offshore, LP


Main Pass 123   OCS-G        Purchase and Sale Agreement              6/1/2014    Arena Energy, LP and Energy XXI
                12088


Main Pass 123   OCS-G       Production Handling Agreement            8/16/2017       Arena Energy, LP and Arena
                12088                                                                       Offshore, LP


Main Pass 123   OCS-G     Pipeline Construction and Operating        8/16/2017       Arena Energy, LP and Arena
                12088                 Agreement                                             Offshore, LP


Main Pass 123   OCS-G       Pipeline Use and Compensation            8/16/2017       Arena Energy, LP and Arena
                12088                 Agreement                                             Offshore, LP


Main Pass 123   OCS-G   Construction, Installation, Operation and     5/4/2004    High Point Gas Gathering, L.L.C.
                12088     Maintenance of Measurement and
                                   Pipeline Facilities

Main Pass 123   OCS-G   Construction, Installation, Operation, and   10/8/2004    High Point Gas Gathering, L.L.C.
                12088   Maintenance of Measurement Facilities -
                                        BB Meter

Main Pass 133   OCS-G       Production Handling and Pumper           12/1/2007    Petro Ventures, Inc., Arena Energy,
                01633                 Agreement                                   LLC and Mobil Oil Exploration &
                                                                                       Producing Southeast, Inc




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Main Pass 206   OCS-G          Offshore Operating Agreement         3/27/2008    Petro Venture, Inc. and Arena Energy,
                 33128                                                                            LLC
                Expired

Main Pass 236   OCS-G              Asset Sale Agreement              3/1/2001       Chevron U.S.A. Inc., Kewanee
                02955                                                                Industries and PetroVentures


Main Pass 236   OCS-G        Acquisition and Joint Development       2/8/2007          Arena Energy, LLC and
                02955                     Proposal                                         PetroVentures


Main Pass 236   OCS-G     Extension and Amendment to Acquisition    3/27/2007          Arena Energy, LLC and
                02955         and Joint Development Proposal                               PetroVentures


Main Pass 236   OCS-G          Offshore Operating Agreement         3/27/2007          Arena Energy, LLC and
                02955                                                                      PetroVentures


Main Pass 236   OCS-G       First Amendment to Acquisition and      5/17/2007          Arena Energy, LLC and
                02955           Joint Development Proposal                                 PetroVentures


Main Pass 236   OCS-G          Purchase and Sale Agreement          11/19/2014         Arena Energy, LLC and
                02955                                                                      PetroVentures


Main Pass 122   OCS-G         Pipeline Use and Compensation         8/16/2017        Arena Energy, LP and Arena
                13964                   Agreement                                           Offshore, LP


Main Pass 236   OCS-G       Pipeline Construction and Operating     8/16/2017          Arena Energy, LLC and
                02955                   Agreement                                          PetroVentures


Main Pass 236   OCS-G         Pipeline Use and Compensation         8/16/2017        Arena Energy, LP and Arena
                02955                   Agreement                                           Offshore, LP


Main Pass 236   OCS-G         Production Handling Agreement         8/16/2017        Arena Energy, LP and Arena
                02955                                                                       Offshore, LP


 Mississippi    OCS-G     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
 Canyon 147      27264                   amended                                           Energy, LLC
                Expired

 Mississippi    OCS-G          Purchase and Sale Agreement           1/1/2019     ExxonMobil and Arena Energy, LP
 Canyon 311     02968




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 Mississippi    OCS-G         Joint Operating Agreement          9/1/1987        Exxon Corporation and Shell
 Canyon 311     02968                                                                  Offshore Inc.


 Mississippi    OCS-G         Agreement of Assignment           10/22/1992      Exxon Corporation and Shell
 Canyon 311     02968                                                                 Offshore Inc.


 Mississippi    OCS-G             Letter Agreement              1/23/2003        Exxon Corporation and Shell
 Canyon 311     02968                                                                  Offshore Inc.


 Mississippi    OCS-G       Offshore Operating Agreement        1/23/2007      Newfield Exploration Company,
 Canyon 800     18292                                                        Deep Gulf Energy LP and ATP Oil &
                                                                                      Gas Corporation

 Mississippi    OCS-G     Amendment of Offshore Operating       1/24/2007      Newfield Exploration Company,
 Canyon 800     18292              Agreement                                 Deep Gulf Energy LP and ATP Oil &
                                                                                      Gas Corporation

 Mississippi    OCS-G      Second Amendment of Offshore         2/18/2008      Newfield Exploration Company,
 Canyon 800     18292          Operating Agreement                            Deep Gulf Energy LP, ATP Oil &
                                                                              Gas Corporation, CL&F Resources
                                                                               LP and Arena Exploration, LLC

 Mississippi    OCS-G   Third Amendment of Offshore Operating    1/1/2010      Newfield Exploration Company,
 Canyon 800     18292               Agreement                                   Deep Gulf Energy LP, CL&F
                                                                             Resources LP and Arena Exploration,
                                                                                            LLC

 Mississippi    OCS-G      Production Handling Agreement         1/2/2010      Newfield Exploration Company,
 Canyon 800     18292                                                           Deep Gulf Energy LP, CL&F
                                                                             Resources LP and Arena Exploration,
                                                                                            LLC

 Mississippi    OCS-G          Participation Agreement           3/1/2007    Newfield Exploration Company and
 Canyon 800     18292                                                             Arena Exploration, LLC


Main Pass 122   OCS-G       Pipeline Use and Compensation       8/16/2017        Arena Energy, LP and Arena
                13964                 Agreement                                         Offshore, LP


 Mississippi    OCS-G   Amendment to Participation Agreement    6/20/2007    Newfield Exploration Company and
 Canyon 800     18292                                                             Arena Exploration, LLC


 Mississippi    OCS-G     Second Amendment to Participation     2/18/2008    Newfield Exploration Company and
 Canyon 800     18292               Agreement                                    Arena Exploration, LLC


 Mississippi    OCS-G             Oil Sales Contract             4/1/2012       Shell Trading (US) Company
 Canyon 800     18292


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Mississippi     OCS-G            Gas Gathering Agreement            2/2/2011          Third Coast Midstream
Canyon 800      18292


South Marsh     OCS-G         Conditional Letter of Acceptance      4/25/2003   Anadarko Petroleum Corporation and
    192         24878                                                                  Arena Energy, LLC


South Marsh     OCS-G                Offer to Purchase              7/14/2003    Marathon Oil Company and Arena
    192         24878                                                                     Energy, LLC


South Marsh     OCS-G             Participation Agreement           6/1/2004    Stone Energy, Energy Partners, Ltd.
    192         24878                                                           Arena Offshore, LLC and Triumph
                                                                                         Energy, L.L.C.

South Marsh     OCS-G          Purchase and Sale Agreement          11/1/2014   Arena Energy, LP and Stone Energy
    192         24878


South Marsh     OCS-G     Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
    192         24878              Purchase Agreement


South Pass 74   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
                 26144                   amended                                          Energy, LLC
                Expired

South Pass 74   OCS-G          Purchase and Sale Agreement          9/1/2003      Noble Energy, Inc. and Triumph
                 26144                                                                   Energy, L.L.C.
                Expired

South Pass 82   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
                 05685                   amended                                          Energy, LLC
                Expired

South Pass 82   OCS-G          Purchase and Sale Agreement          9/1/2003      Noble Energy, Inc. and Triumph
                 05685                                                                   Energy, L.L.C.
                Expired

South Pass 82   OCS-G          Purchase and Sale Agreement          4/1/2005    Bundy Partners and Triumph Energy,
                 05685                                                                        L.L.C.
                Expired

South Pass 82   OCS-G                Offer to Purchase              4/25/2005     CLK Exploration Co., LLC and
                 05685                                                                 Triumph Energy
                Expired

South Pass 82   OCS-G                Offer to Purchase              4/29/2005    Piquant, Inc. and Triumph Energy
                 05685
                Expired




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South Pass 82    OCS-G                Offer to Purchase               5/9/2005    Crescent Investment Co. and Triumph
                  05685                                                                          Energy
                 Expired

South Pass 83    OCS-G     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                  05052                   amended                                           Energy, LLC
                 Expired

South Pass 83    OCS-G          Purchase and Sale Agreement           9/1/2003      Noble Energy, Inc. and Triumph
                  05052                                                                    Energy, L.L.C.
                 Expired

South Pass 83    OCS-G          Purchase and Sale Agreement           4/1/2005    Bundy Partners and Triumph Energy,
                  05052                                                                         L.L.C.
                 Expired

South Pass 83    OCS-G                Offer to Purchase              4/25/2005      CLK Exploration Co., LLC and
                  05052                                                                  Triumph Energy
                 Expired

South Pass 83    OCS-G                Offer to Purchase              4/29/2005     Piquant, Inc. and Triumph Energy
                  05052
                 Expired

South Pass 83    OCS-G                Offer to Purchase               5/9/2005    Crescent Investment Co. and Triumph
                  05052                                                                          Energy
                 Expired

South Pelto 25   OCS-G     Master License Agreement, as amended      6/10/2002    Fairfield Industries Incorporated and
                  14535                                                                    Arena Energy, LLC
                 Expired

South Pelto 25   OCS-G               Farmout Agreement               12/17/2002      Apache Corporation and Arena
                  14535                                                                     Energy, LLC
                 Expired

South Pelto 25   OCS-G         Platform Operations Agreement         12/21/2002       Triumph Energy and Apache
                  14535                                                                      Corporation
                 Expired

South Pelto 25   OCS-G               Farmout Agreement               2/13/2004       Apache Corporation and Arena
                  14535                                                                     Energy, LLC
                 Expired

South Pelto 25   OCS-G               Farmout Agreement               5/19/2003       Apache Corporation and Arena
                  14535                                                                     Energy, LLC
                 Expired

South Pelto 25   OCS-G         Platform Operations Agreement         12/21/2002       Triumph Energy and Apache
                  14535                                                                      Corporation
                 Expired




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South Pelto 25    OCS-G          Offshore Operating Agreement         7/23/2003    Arena Energy, LLC and Bois d’Arc
                   14535                                                             Offshore Ltd. and Bois d’Arc
                  Expired                                                                   Resources Ltd.

South Pelto 25    OCS-G             Participation Agreement           7/23/2003    Arena Energy, LLC and Bois d’Arc
                   14535                                                             Offshore Ltd. and Bois d’Arc
                  Expired                                                                   Resources Ltd.

South Pelto 25    OCS-G          Purchase and Sale Agreement           4/1/2011    Stone Energy Offshore, L.L.C. and
                   14535                                                                   Arena Energy, LP
                  Expired

South Pelto 25    OCS-G            Offer to Acquire Wellbore           1/3/2012      Arena Energy, LP and Apache
                   14535                                                                     Corporation
                  Expired

South Pelto 25    OCS-G          Purchase and Sale Agreement           8/1/2015     Arena Energy, LP and John Cook
                   14535
                  Expired

South Timbalier   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      35          03336                    amended                                          Energy, LLC


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                                                             Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                 Sale Agreement                              Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G            Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                                                             Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G          Offshore Operating Agreement         12/30/2004   Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G               Farmout Agreement               6/15/2004    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Farmout Agreement          3/28/2005    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Farmout Agreement           9/4/2007    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.




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South Timbalier   OCS-G     Processing and Operations Services     12/30/2004   Walter Oil and Gas Corporation and
      35          03336                 Agreement                                      Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          11/28/2005   Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G   Termination to Amendment to Processing   5/18/2006    Walter Oil and Gas Corporation and
      35          03336     and Operations Services Agreement                          Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          12/27/2007   Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          10/29/2008   Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          3/11/2014    Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G          Platform Use Agreement             9/1/2016     Chevron Pipe Line Company and
      35          03336                                                                Arena Offshore, LP


South Timbalier   OCS-G            Election to Take Over           7/12/2017    Walter Oil and Gas Corporation and
      35          03336                                                                 Arena Energy, LP


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
      35          03336                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement     12/22/1997   Discovery Producer Services, LLC
      35          03336


South Timbalier   OCS-G    Condensate, Separation, Handling, and   12/22/1997   Discovery Producer Services, LLC
      35          03336          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement             6/26/1998        Chevron Pipeline Company
      35          03336


South Timbalier   OCS-G      Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      35          03336




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South Timbalier   OCS-G         Facilities Interconnect And         5/31/2000    Sea Robin Pipeline Company, LLC
      35          03336         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016    Discovery Producer Services, LLC
      35          03336        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      35          03336                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      35          03336


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
      35          03336


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      35          03336


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      36          02624                  amended                                          Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      36          02624                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      36          02624               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      36          02624                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G        Offshore Operating Agreement         12/30/2004   Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G             Farmout Agreement               6/15/2004    Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G     Amendment to Farmout Agreement          3/28/2005    Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.




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South Timbalier   OCS-G     Amendment to Farmout Agreement          9/4/2007    Walter Oil and Gas Corporation and
      36          02624                                                                Chevron U.S.A. Inc.


South Timbalier   OCS-G     Processing and Operations Services     12/30/2004   Walter Oil and Gas Corporation and
      36          02624                 Agreement                                      Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          11/28/2005   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G   Termination to Amendment to Processing   5/18/2006    Walter Oil and Gas Corporation and
      36          02624     and Operations Services Agreement                          Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          12/27/2007   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          10/29/2008   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          3/11/2014    Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
      36          02624                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement     12/22/1997   Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G    Condensate, Separation, Handling, and   12/22/1997   Discovery Producer Services, LLC
      36          02624          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement             6/26/1998        Chevron Pipeline Company
      36          02624


South Timbalier   OCS-G      Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G         Facilities Interconnect And        5/31/2000    Sea Robin Pipeline Company, LLC
      36          02624         Reimbursement Agreement




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South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016    Discovery Producer Services, LLC
      36          02624        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      36          02624                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      36          02624


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement    5/1/2003     Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G          Platform Use Agreement             8/1/1997     Discovery Gas Transmission LLC
      36          02624


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      37          02625                  amended                                          Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016       Chevron U.S.A. Inc., Union Oil
      37          02625                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      37          02625               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016       Chevron U.S.A. Inc., Union Oil
      37          02625                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G      Offshore Operating Agreement, as       5/1/1974        Gulf Oil Corporation, Mobil Oil
      37          02625                 amended                                   Corporation, Texaco Inc., Tenneco
                                                                                 Oil Company, Tenneco Exploration
                                                                                II, Ltd. and Tenneco Exploration, Ltd.

South Timbalier   OCS-G        Purchase and Sale Agreement          6/23/2006    BP Exploration & Production Inc.,
      37          02625                                                          Chevron U.S.A. Inc. and Union Oil
                                                                                      Company of California

South Timbalier   OCS-G   Memorandum of Termination (ST 30/37)      9/1/2016             Arena Energy, LP
      37          02625


South Timbalier   OCS-G   Memorandum of Termination (ST 37/48)      9/1/2016             Arena Energy, LP
      37          02625




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South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      37          02625                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement      12/22/1997   Discovery Producer Services, LLC
      37          02625


South Timbalier   OCS-G    Condensate, Separation, Handling, and    12/22/1997   Discovery Producer Services, LLC
      37          02625          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement              6/26/1998       Chevron Pipeline Company
      37          02625


South Timbalier   OCS-G       Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      37          02625


South Timbalier   OCS-G         Facilities Interconnect And         5/31/2000    Sea Robin Pipeline Company, LLC
      37          02625         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016    Discovery Producer Services, LLC
      37          02625        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      37          02625                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
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South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
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South Timbalier   OCS-G          Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      37          02625


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      38          09637                  amended                                          Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      38          09637                                                          Company of California and Arena
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South Timbalier   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016       Chevron U.S.A. Inc., Union Oil
      38          09637               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016       Chevron U.S.A. Inc., Union Oil
      38          09637                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G     Offshore Operating Agreement, as        5/1/1974        Gulf Oil Corporation, Mobil Oil
      38          09637                amended                                    Corporation, Texaco Inc., Tenneco
                                                                                 Oil Company, Tenneco Exploration
                                                                                II, Ltd. and Tenneco Exploration, Ltd.

South Timbalier   OCS-G       Purchase and Sale Agreement          6/23/2006     BP Exploration & Production Inc.,
      38          09637                                                          Chevron U.S.A. Inc. and Union Oil
                                                                                      Company of California

South Timbalier   OCS-G            Farmout Agreement                5/1/2004    Chevron U.S.A. Inc. and Bois d’Arc
      38          09637                                                                   Offshore Ltd.


South Timbalier   OCS-G   Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
      38          09637                Agreement


South Timbalier   OCS-G   Condensate Transportation Agreement      12/22/1997    Discovery Producer Services, LLC
      38          09637


South Timbalier   OCS-G   Condensate, Separation, Handling, and    12/22/1997    Discovery Producer Services, LLC
      38          09637         Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement             6/26/1998         Chevron Pipeline Company
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South Timbalier   OCS-G      Dehydration Services Agreement         1/1/2003     Discovery Producer Services, LLC
      38          09637


South Timbalier   OCS-G         Facilities Interconnect And        5/31/2000     Sea Robin Pipeline Company, LLC
      38          09637         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement    11/1/2016     Discovery Producer Services, LLC
      38          09637        (w/Temporary Release Info)


South Timbalier   OCS-G      Gas Processing & Fractionation        11/3/2010     Discovery Producer Services, LLC
      38          09637               Agreement




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South Timbalier   OCS-G        Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
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South Timbalier   OCS-G      Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
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South Timbalier   OCS-G            Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      38          09637


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      48           14518                                                           Company of California and Arena
                  Expired                                                                    Energy, LP

South Timbalier   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      51          01240                    amended                                          Energy, LLC


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                 Sale Agreement                             Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G            Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G      Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      51          01240                   Agreement


South Timbalier   OCS-G      Condensate Transportation Agreement      12/22/1997   Discovery Producer Services, LLC
      51          01240


South Timbalier   OCS-G      Condensate, Separation, Handling, and    12/22/1997   Discovery Producer Services, LLC
      51          01240            Stabilization Agreement


South Timbalier   OCS-G             Connection Agreement              6/26/1998       Chevron Pipeline Company
      51          01240


South Timbalier   OCS-G         Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
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South Timbalier   OCS-G         Facilities Interconnect And         5/31/2000   Sea Robin Pipeline Company, LLC
      51          01240         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016   Discovery Producer Services, LLC
      51          01240        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010   Discovery Producer Services, LLC
      51          01240                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
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South Timbalier   OCS-G    Interruptible Gas Gathering Agreement    5/1/2003    Discovery Producer Services, LLC
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South Timbalier   OCS-G          Platform Use Agreement             8/1/1997     Discovery Gas Transmission LLC
      51          01240


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      52          01241                  amended                                          Energy, LLC


South Timbalier   OCS-G   Master License Agreement, as amended      6/10/2002   Fairfield Industries Incorporated and
      52          01241                                                                  Arena Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016      Chevron U.S.A. Inc., Union Oil
      52          01241                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      52          01241               Sale Agreement                             Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016      Chevron U.S.A. Inc., Union Oil
      52          01241                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G            Visitation Agreement             3/1/2019       Arena Offshore, LP, Board of
      52          01241                                                            Supervisors of Louisiana State
                                                                                   University and A&M College

South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      52          01241                 Agreement




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South Timbalier   OCS-G   Condensate Transportation Agreement     12/22/1997    Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G   Condensate, Separation, Handling, and   12/22/1997    Discovery Producer Services, LLC
      52          01241         Stabilization Agreement


South Timbalier   OCS-G          Connection Agreement             6/26/1998         Chevron Pipeline Company
      52          01241


South Timbalier   OCS-G      Dehydration Services Agreement        1/1/2003     Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G        Facilities Interconnect And        5/31/2000     Sea Robin Pipeline Company, LLC
      52          01241        Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement   11/1/2016     Discovery Producer Services, LLC
      52          01241        (w/Temporary Release Info)


South Timbalier   OCS-G      Gas Processing & Fractionation       11/3/2010     Discovery Producer Services, LLC
      52          01241               Agreement


South Timbalier   OCS-G     Incentive And Discount Agreement      8/19/2019     Rosefield Pipeline Company, LLC
      52          01241


South Timbalier   OCS-G   Interruptible Gas Gathering Agreement    5/1/2003     Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G         Platform Use Agreement             8/1/1997     Discovery Gas Transmission LLC
      52          01241


South Timbalier    OCS             License Agreement              10/3/1951    Marine Instrument Company and Gulf
      128         00498                                                         Research & Development Company


South Timbalier    OCS     Concurrent Agreement, as amended        7/1/1959    Humble Oil & Refining Company and
      128         00498                                                               Gulf Oil Corporation


South Timbalier    OCS       Unit Agreement 14-08-001-6669        12/16/1959   Gulf Oil Corporation and Secretary of
      128         00498                                                                      Interior




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South Timbalier    OCS          Agreement of Compromise             8/13/1970    Marine Petroleum Corporation,
      128         00498                                                         Continental Oil Company and Gulf
                                                                                         Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
      128         00498                  amended                                         Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      128         00498                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      128         00498               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      128         00498                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      128         00498            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      128         00498                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      128         00498


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      128         00498         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      128         00498




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South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996     Venice Energy Services Company,
      128         00498              Processing Plant                                         L.L.C.


South Timbalier    OCS       Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      128         00498


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      128         00498              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      128         00498


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      128         00498


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      128         00498


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      128         00498


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      128         00498


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      129         00465                                                           Research & Development Company


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      129         00465                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      129         00465                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      129         00465                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      129         00465                  amended                                           Energy, LLC




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South Timbalier    OCS     Participation Agreement, as amended      8/27/2013    Chevron U.S.A. Inc. and Arena
      129         00465                                                                  Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      129         00465                                                                  Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      129         00465                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      129         00465                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      129         00465               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      129         00465                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      129         00465            Purchase Agreement



South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      129         00465                 Agreement



South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      129         00465


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      129         00465         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      129         00465


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      129         00465              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      129         00465




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South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      129         00465              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      129         00465


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      129         00465


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      129         00465


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      129         00465


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      129         00465


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      130         00456                                                           Research & Development Company


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      130         00456                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      130         00456                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      130         00456                                                           Company of California and Arena
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South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      130         00456               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      130         00456                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      130         00456            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      130         00456                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      130         00456         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      130         00456


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      130         00456              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      130         00456


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016             Arena/VGS
      130         00456              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement          8/27/2013         Chevron U.S.A. Inc
      130         00456


South Timbalier    OCS           Participation Agreement            8/27/2013         Chevron U.S.A. Inc
      130         00456


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013      Chevron Pipeline Company
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South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
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South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      130         00456


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      131         00457                                                           Research & Development Company


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      131         00457                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      131         00457                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      131         00457                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      131         00457                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      131         00457                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      131         00457                                                           Company of California and Arena
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South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      131         00457               Sale Agreement                              Company of California and Arena
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South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      131         00457                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
      131         00457            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
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South Timbalier    OCS            Connection Agreement              3/1/2005                Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And        12/1/2012     Sea Robin Pipeline Company, LLC
      131         00457         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998                Arena/VGS
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South Timbalier    OCS    Gas Processing Agreement - Venice Gas    11/1/1996     Venice Energy Services Company,
      131         00457              Processing Plant                                        L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      131         00457


South Timbalier    OCS      Interruptible Transportation Service   12/9/2016                Arena/VGS
      131         00457              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
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South Timbalier    OCS           Participation Agreement           8/27/2013            Chevron U.S.A. Inc
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South Timbalier    OCS       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      131         00457


South Timbalier    OCS           Platform Use Agreement             6/1/2010                Arena/VGS
      131         00457


South Timbalier    OCS       Reserve Commitment Agreement          12/10/1997               Arena/VGS
      131         00457


South Timbalier    OCS      Concurrent Agreement, as amended        7/1/1959    Humble Oil & Refining Company and
      134         00461                                                                Gulf Oil Corporation


South Timbalier    OCS       Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      134         00461                                                                       Interior




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South Timbalier    OCS          Agreement of Compromise             8/13/1970    Marine Petroleum Corporation,
      134         00461                                                         Continental Oil Company and Gulf
                                                                                         Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
      134         00461                  amended                                         Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier   OCS99             License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      134         00461                                                         Company of California and Arena
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South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      134         00461               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP



South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      134         00461                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      134         00461            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      134         00461                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      134         00461         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      134         00461



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South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996     Venice Energy Services Company,
      134         00461              Processing Plant                                         L.L.C.


South Timbalier    OCS       Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      134         00461


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      134         00461              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      134         00461


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      134         00461


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      134         00461


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      134         00461


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      134         00461


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      135         00462                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      135         00462                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      135         00462                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      135         00462                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      135         00462                                                                     Energy, LP




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South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      135         00462                                                                  Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      135         00462                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      135         00462                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      135         00462               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      135         00462                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      135         00462            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      135         00462                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      135         00462


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      135         00462         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      135         00462


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      135         00462              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
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South Timbalier    OCS      Interruptible Transportation Service    12/9/2016             Arena/VGS
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South Timbalier    OCS      Offshore Operating Agreement        8/27/2013          Chevron U.S.A. Inc
      135         00462


South Timbalier    OCS          Participation Agreement         8/27/2013          Chevron U.S.A. Inc
      135         00462


South Timbalier    OCS      Pipeline Connection Agreement       11/1/2013       Chevron Pipeline Company
      135         00462


South Timbalier    OCS         Platform Use Agreement            6/1/2010              Arena/VGS
      135         00462


South Timbalier    OCS     Reserve Commitment Agreement         12/10/1997             Arena/VGS
      135         00462


South Timbalier   OCS-G     Farmout Agreement, as amended       10/31/1974   Chevron Oil Company and C & K
      148         01960                                                            Offshore Company


South Timbalier   OCS-G    Operating Agreement, as amended      4/23/1975    Chevron Oil Company and C & K
      148         01960                                                          Offshore Company, Etal


South Timbalier   OCS-G         Processing Agreement             8/1/1997       Chevron U.S.A. Production
      148         01960                                                      Company, The Louisiana Land and
                                                                             Exploration Company, Forcenergy
                                                                              Inc., Lannie Mecom Moses and
                                                                                  WI&T Offshore, L.L.C.



South Timbalier   OCS-G   Participation Agreement, as amended   8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                               Energy, LP


South Timbalier   OCS-G    Deep Resolve License Agreement       8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                               Energy, LP


South Timbalier   OCS-G           License Agreement             8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                               Energy, LP


South Timbalier   OCS-G   Asset Purchase and Sale Agreement      9/1/2016     Chevron U.S.A. Inc., Union Oil
      148         01960                                                      Company of California and Arena
                                                                                       Energy, LP




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South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      148         01960               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      148         01960                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      148         01960            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      148         01960                 Agreement


South Timbalier   OCS-G           Connection Agreement              3/1/2005              Arena/VGS
      148         01960


South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      148         01960         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      148         01960


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      148         01960              Processing Plant                                       L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      148         01960


South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016             Arena/VGS
      148         01960              Agreement - GAS


South Timbalier   OCS-G       Offshore Operating Agreement          8/27/2013         Chevron U.S.A. Inc
      148         01960


South Timbalier   OCS-G          Participation Agreement            8/27/2013         Chevron U.S.A. Inc
      148         01960


South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013      Chevron Pipeline Company
      148         01960




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South Timbalier   OCS-G          Platform Use Agreement              6/1/2010                Arena/VGS
      148         01960


South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997               Arena/VGS
      148         01960


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      151         00463                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      151         00463                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      151         00463                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation



South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      151         00463                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      151         00463                                                           Company of California and Arena
                                                                                            Energy, LP



South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      151         00463               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP



South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      151         00463                                                           Company of California and Arena
                                                                                            Energy, LP



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South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
      151         00463            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      151         00463                 Agreement


South Timbalier    OCS            Connection Agreement               3/1/2005              Arena/VGS
      151         00463


South Timbalier    OCS          Facilities Interconnect And         12/1/2012    Sea Robin Pipeline Company, LLC
      151         00463         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement      1/1/1998              Arena/VGS
      151         00463


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996    Venice Energy Services Company,
      151         00463              Processing Plant                                        L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019    Rosefield Pipeline Company, LLC
      151         00463


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016              Arena/VGS
      151         00463              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement          8/27/2013          Chevron U.S.A. Inc
      151         00463


South Timbalier    OCS           Participation Agreement            8/27/2013          Chevron U.S.A. Inc
      151         00463


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
      151         00463


South Timbalier    OCS           Platform Use Agreement              6/1/2010              Arena/VGS
      151         00463


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997             Arena/VGS
      151         00463




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South Timbalier    OCS        Water Saturated Gas Agreement          6/1/2013      Arena Energy, LP and Sea Robin
      151         00463                                                                Pipeline Company, LLC


South Timbalier    OCS              Services Agreement               2/1/2013      Arena Energy, LP and Sea Robin
      151         00463                                                                Pipeline Company, LLC


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      152         00464                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      152         00464                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      152         00464                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      152         00464                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      152         00464                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      152         00464               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      152         00464                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
      152         00464            Purchase Agreement




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South Timbalier    OCS     Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
      152         00464                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      152         00464


South Timbalier    OCS          Facilities Interconnect And        12/1/2012    Sea Robin Pipeline Company, LLC
      152         00464         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      152         00464


South Timbalier    OCS    Gas Processing Agreement - Venice Gas    11/1/1996    Venice Energy Services Company,
      152         00464              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      152         00464


South Timbalier    OCS      Interruptible Transportation Service   12/9/2016              Arena/VGS
      152         00464              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement         8/27/2013          Chevron U.S.A. Inc
      152         00464


South Timbalier    OCS           Participation Agreement           8/27/2013          Chevron U.S.A. Inc
      152         00464


South Timbalier    OCS       Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
      152         00464


South Timbalier    OCS           Platform Use Agreement             6/1/2010              Arena/VGS
      152         00464


South Timbalier    OCS       Reserve Commitment Agreement          12/10/1997             Arena/VGS
      152         00464


South Timbalier   OCS-G            Farmout Agreement               7/21/2003     Apache Corporation and Arena
      161         01248                                                                 Energy, LLC




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South Timbalier   OCS-G              Offer to Purchase              12/15/2005   Apache Corporation and Arena
      161         01248                                                          Energy, LLC


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      161         01248                                                                     Energy, LP


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      161         01248                  amended                                           Energy, LLC


South Timbalier   OCS-G             License Agreement               10/3/1951    Marine Instrument Company and Gulf
      177         01260                                                           Research & Development Company


South Timbalier   OCS-G         Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      177         01260                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      177         01260                  amended                                           Energy, LLC


South Timbalier   OCS-G     Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      177         01260                                                                     Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      177         01260                                                                     Energy, LP


South Timbalier   OCS-G             License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      177         01260                                                                     Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      177         01260                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      177         01260               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      177         01260                                                           Company of California and Arena
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South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
      177         01260            Purchase Agreement




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South Timbalier   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019     Rosefield Pipeline Company, LLC
      177         01260                 Agreement


South Timbalier   OCS-G           Connection Agreement              3/1/2005               Arena/VGS
      177         01260


South Timbalier   OCS-G         Facilities Interconnect And        12/1/2012     Sea Robin Pipeline Company, LLC
      177         01260         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998               Arena/VGS
      177         01260


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas    11/1/1996     Venice Energy Services Company,
      177         01260              Processing Plant                                        L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      177         01260


South Timbalier   OCS-G     Interruptible Transportation Service   12/9/2016               Arena/VGS
      177         01260              Agreement - GAS


South Timbalier   OCS-G       Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      177         01260


South Timbalier   OCS-G          Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      177         01260


South Timbalier   OCS-G      Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      177         01260


South Timbalier   OCS-G          Platform Use Agreement             6/1/2010               Arena/VGS
      177         01260


South Timbalier   OCS-G      Reserve Commitment Agreement          12/10/1997              Arena/VGS
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South Timbalier   OCS-G             License Agreement              10/3/1951    Marine Instrument Company and Gulf
      188         01899                                                          Research & Development Company




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South Timbalier   OCS-G         Agreement of Compromise             8/13/1970    Marine Petroleum Corporation,
      188         01899                                                         Continental Oil Company and Gulf
                                                                                         Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
      188         01899                  amended                                         Energy, LLC


South Timbalier   OCS-G     Participation Agreement, as amended     8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G             License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      188         01899                                                         Company of California and Arena
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South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      188         01899               Sale Agreement                            Company of California and Arena
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South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      188         01899                                                         Company of California and Arena
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South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      188         01899            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      188         01899                 Agreement


South Timbalier   OCS-G           Connection Agreement              3/1/2005              Arena/VGS
      188         01899


South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      188         01899         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
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South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996     Venice Energy Services Company,
      188         01899              Processing Plant                                         L.L.C.


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
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South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016                Arena/VGS
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South Timbalier   OCS-G        Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
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South Timbalier   OCS-G           Participation Agreement           8/27/2013            Chevron U.S.A. Inc
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South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
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South Timbalier   OCS-G          Platform Use Agreement              6/1/2010                Arena/VGS
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South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997               Arena/VGS
      188         01899


South Timbalier   OCS-G             License Agreement               10/3/1951    Marine Instrument Company and Gulf
      189         01572                                                           Research & Development Company


South Timbalier   OCS-G         Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      189         01572                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      189         01572                  amended                                           Energy, LLC


South Timbalier   OCS-G     Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      189         01572                                                                     Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      189         01572                                                                     Energy, LP




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South Timbalier   OCS-G             License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      189         01572                                                                  Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      189         01572                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      189         01572               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      189         01572                                                         Company of California and Arena
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South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      189         01572            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      189         01572                 Agreement


South Timbalier   OCS-G           Connection Agreement              7/1/2001              Arena/VGS
      189         01572


South Timbalier   OCS-G           Connection Agreement              3/1/2005              Arena/VGS
      189         01572


South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      189         01572         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      189         01572


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      189         01572              Processing Plant                                       L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      189         01572


South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016             Arena/VGS
      189         01572              Agreement - GAS




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South Timbalier   OCS-G        Offshore Operating Agreement         8/27/2013           Chevron U.S.A. Inc
      189         01572


South Timbalier   OCS-G           Participation Agreement           8/27/2013           Chevron U.S.A. Inc
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South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
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South Timbalier   OCS-G          Platform Use Agreement              6/1/2010               Arena/VGS
      189         01572


South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997              Arena/VGS
      189         01572


 Vermilion 52     OCS-G      Right-of-Use and Easement G3183         7/7/2010    BSEE, Arena Energy, LP and Arena
                  22606                                                                   Offshore, LP


 Vermilion 71     OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                  21592                  amended                                           Energy, LLC


 Vermilion 71     OCS-G              Letter Agreement               3/30/2005     Stone Energy and Arena Offshore,
                  21592                                                            LLC and Triumph Energy, LLC


 Vermilion 71     OCS-G         Gas Processing Agreement             6/1/2011      Enterprise Gas Processing, LLC
                  21592


 Vermilion 71     OCS-G     Liquid Hydrocarbon Transportation        9/1/2006    Sea Robin Pipeline Company, LLC
                  21592                Agreement


 Vermilion 72     OCS-G        Offshore Operating Agreement          2/1/2006      Arena Offshore, LLC and Arena
                  27851                                                                  Exploration, LLC


 Vermilion 72     OCS-G             Farmout Agreement                6/9/2006      Energy Partners Ltd. and Arena
                  27851                                                                    Energy, LLC


 Vermilion 72     OCS-G       Production Handling Agreement         12/31/2006   Arena Offshore, LLC, Arena Energy,
                  27851                                                           LLC, Arena Exploration, LLC and
                                                                                      Chadbourne Partners Ltd.




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Vermilion 72    OCS-G      Purchase and Sale Agreement, as   1/1/2008      Energy Partners Ltd. and Arena
                27851                 corrected                                    Energy, LLC


Vermilion 72    OCS-G         Gas Processing Agreement       6/1/2011      Enterprise Gas Processing, LLC
                27851


Vermilion 207   OCS-G            Commitment Letter           5/6/2003      Noble Energy and Arena Energy,
                 19761                                                                  LLC
                Expired

Vermilion 325   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                36200                amended                                      USA General LLC


Vermilion 325   OCS-G      Production Handling Agreement     1/1/2012    Arena Offshore, LP, Peregrine Oil &
                36200                                                    Gas II, LP and Entek USA General
                                                                                        LLC

Vermilion 325   OCS-G     Amendment to Production Handling   5/1/2014    Arena Offshore, LP, Peregrine Oil &
                36200               Agreement                             Gas II, LP and Arena Energy, LP


Vermilion 325   OCS-G     Second Amendment to Production     9/11/2019   Arena Offshore, LP, Peregrine Oil &
                36200          Handling Agreement                         Gas II, LP and Arena Energy, LP


Vermilion 341   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                33607                amended                                      USA General LLC


Vermilion 341   OCS-G       Purchase and Sale Agreement      1/1/2012    Entek USA General LLC and Arena
                33607                                                             Energy, LLC


Vermilion 341   OCS-G      Production Handling Agreement     1/1/2012    Arena Offshore, LP, Peregrine Oil &
                33607                                                    Gas II, LP and Entek USA General
                                                                                        LLC

Vermilion 341   OCS-G     Amendment to Production Handling   5/1/2014    Arena Offshore, LP, Peregrine Oil &
                33607               Agreement                             Gas II, LP and Arena Energy, LP


Vermilion 341   OCS-G     Second Amendment to Production     9/11/2019   Arena Offshore, LP, Peregrine Oil &
                33607          Handling Agreement                         Gas II, LP and Arena Energy, LP


Vermilion 342   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                33608                amended                                      USA General LLC




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Vermilion 342   OCS-G        Purchase and Sale Agreement          1/1/2012    Entek USA General LLC and Arena
                33608                                                                  Energy, LLC


Vermilion 342   OCS-G       Production Handling Agreement         1/1/2012    Arena Offshore, LP, Peregrine Oil &
                33608                                                         Gas II, LP and Entek USA General
                                                                                             LLC

Vermilion 342   OCS-G     Amendment to Production Handling        5/1/2014    Arena Offshore, LP, Peregrine Oil &
                33608               Agreement                                  Gas II, LP and Arena Energy, LP


Vermilion 342   OCS-G      Second Amendment to Production         9/11/2019   Arena Offshore, LP, Peregrine Oil &
                33608           Handling Agreement                             Gas II, LP and Arena Energy, LP


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     522        34033                  amended                                          Energy, LLC


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     543        12802                  amended                                          Energy, LLC


West Cameron    OCS-G      Facilities Agreement, as amended       11/1/2008   Stingray Pipeline Company, L.L.C.
     543        12802                                                         and Fairways Offshore Exploration
                                                                                              Inc.

West Cameron    OCS-G        Purchase and Sale Agreement          5/1/2013    Fairways Offshore Exploration Inc.
     543        12802                                                          and Arena Energy, LP and Arena
                                                                                        Offshore, LP

West Cameron    OCS-G               Sale Agreement                5/3/2013    Stingray Pipeline Company, L.L.C.
     543        12802                                                               and Arena Offshore, LP


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     544        14342                  amended                                          Energy, LLC


West Cameron    OCS-G      Facilities Agreement, as amended       11/1/2008   Stingray Pipeline Company, L.L.C.
     544        14342                                                         and Fairways Offshore Exploration
                                                                                              Inc.

West Cameron    OCS-G        Purchase and Sale Agreement          5/1/2013    Fairways Offshore Exploration Inc.
     544        14342                                                          and Arena Energy, LP and Arena
                                                                                        Offshore, LP

West Cameron    OCS-G               Sale Agreement                5/3/2013    Stingray Pipeline Company, L.L.C.
     544        14342                                                               and Arena Offshore, LP




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West Cameron    OCS-G     Gathering and Reserve Dedication       8/19/2019    Rosefield Pipeline Company, LLC
     544        14342                Agreement


West Cameron    OCS-G     Interruptible Transportation Service    8/1/2013    Stingray Pipeline Company, L.L.C.
     544        14342              Agreement - GAS


West Cameron    OCS-G         Platform Space Agreement            6/1/1995    Stingray Pipeline Company, L.L.C.
     544        14342


West Cameron    OCS-G       Reserve Dedication Agreement          8/1/2013    Stingray Pipeline Company, L.L.C.
     544        14342


West Cameron    OCS-G            Operating Agreement             12/1/1979       Sun Oil, Aquitaine, Apache
     639         02027                                                          Corporation Clark and Huber
                Expired

West Cameron    OCS-G            Operating Agreement             12/1/1979      Sun Oil, Aquitaine, Apache
     648         04268                                                          Corporation Clark and Huber
                Expired

West Delta 72   OCS-G          Participation Agreement           9/18/2009      Exxon Mobil Corporation and
                01082                                                          Newfield Exploration Company


West Delta 72   OCS-G       Offshore Operating Agreement         12/1/2009      Exxon Mobil Corporation and
                01082                                                          Newfield Exploration Company


West Delta 72   OCS-G        Purchase and Sale Agreement          1/1/2019    ExxonMobil and Arena Energy, LP
                01082


West Delta 73   OCS-G          Participation Agreement           9/18/2009      Exxon Mobil Corporation and
                01083                                                          Newfield Exploration Company


West Delta 73   OCS-G       Offshore Operating Agreement         12/1/2009      Exxon Mobil Corporation and
                01083                                                          Newfield Exploration Company


West Delta 73   OCS-G        Purchase and Sale Agreement          1/1/2019    ExxonMobil and Arena Energy, LP
                01083


West Delta 86   OCS-G           Evaluation Agreement             10/15/2004     Arena Energy, LLC and SPN
                04243                                                                 Resources, LLC




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West Delta 86    OCS-G        Offshore Operating Agreement         11/1/2004       Arena Energy, LLC and SPN
                 04243                                                                   Resources, LLC


West Delta 86    OCS-G        Purchase and Sale Agreement          11/1/2004    Amerada Hess Corporation and SPN
                 04243                                                                  Resources, LLC


West Delta 86    OCS-G       Amendment and Supplement to           11/5/2004       Arena Energy, LLC and SPN
                 04243          Evaluation Agreement                                     Resources, LLC


West Delta 86    OCS-G   Assignment Agreement and Amendment         5/5/2005       Arena Energy, LLC and SPN
                 04243      to Offshore Operating Agreement                              Resources, LLC


West Delta 86    OCS-G    Second/Third Amendment to Offshore       7/12/2007    Arena Energy, LLC, Arena Offshore,
                 04243           Operating Agreement                              LLC and SPN Resources, LLC


West Delta 86    OCS-G      Amendment to Offshore Operating         8/1/2010    Arena Energy, LLC, Arena Offshore,
                 04243              Agreement                                     LLC and SPN Resources, LLC


West Delta 117   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                 35951                  amended                                           Energy, LLC


West Delta 117   OCS-G         Negotiated Sale Agreement           6/14/2018      Chevron U.S.A. Inc. and Arena
                 35951                                                                    Energy, LP


West Delta 118   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                 36227                  amended                                           Energy, LLC


West Delta 133   OCS-G             Option Agreement                12/30/2003    Apache Corporation and Newfield
                 01106                                                                Exploration Company


West Delta 133   OCS-G            Operating Agreement               6/1/2004    Newfield Exploration Company and
                 01106                                                                Triumph Energy, LLC


West Delta 133   OCS-G           Participation Agreement            6/1/2004    Newfield Exploration Company and
                 01106                                                                Triumph Energy, LLC


West Delta 133   OCS-G     Liquid Hydrocarbons Transportation       1/1/2007    Newfield Exploration Company, Etal,
                 01106                Agreement                                       and Arena Energy, LLC




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West Delta 133   OCS-G      Production Handling Agreement       1/1/2007      Newfield Exploration, Etal, and
                 01106                                                             Arena Energy, LLC


West Delta 133   OCS-G       Purchase and Sale Agreement        7/1/2012      McMoRan Oil & Gas LLC and
                 01106                                                           Renaissance Offshore


West Delta 133   OCS-G      Pipeline Ownership Agreement        10/1/2012   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G       Purchase and Sale Agreement        10/1/2012   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G       Contract Operator Agreement        3/16/2013   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G   1st Amendment to Production Handling   2/3/2014    Renaissance Offshore, Arena Energy,
                 01106               Agreement                                  LP and Arena Offshore, LP


West Delta 133   OCS-G           Gathering Agreement            8/1/2006        Renaissance Offshore, LLC
                 01106




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              Attached to and made a part of that certain Asset Purchase Agreement
         by and among Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
        and Sagamore Hill Holdings, LP, as Seller and San Juan Offshore, LLC, as Buyer

                              FORM OF COUNTY ASSIGNMENT

                    ASSIGNMENT, BILL OF SALE AND CONVEYANCE

STATE OF [●]                            §
                                        §       KNOW ALL MEN BY THESE PRESENTS:
[COUNTY/PARISH] OF [●]                  §

         This ASSIGNMENT, BILL OF SALE AND CONVEYANCE (this “Assignment”),
effective as of the Effective Time (defined below), is from ARENA ENERGY, LP, a Delaware
limited partnership, whose address is 2103 Research Forest Drive, Suite 400, The Woodlands,
Texas 77380, ARENA EXPLORATION, LLC, a Delaware limited liability company, whose
address is [●], VALIANT ENERGY LLC, a Delaware limited liability company, whose address
is [●] and SAGAMORE HILL HOLDINGS, LP, a Delaware limited partnership, whose address
is [●], (each an “Assignor Party”, and collectively, “Assignor”), to SAN JUAN OFFSHORE, LLC,
a Delaware limited liability company, whose address is [●] (“Assignee”). Assignor and Assignee
are hereinafter referred to as a “Party” and collectively as the “Parties.”
      WHEREAS, on [●], Assignor commenced a voluntary case under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”);
        WHEREAS, Assignor and Assignee entered into that certain Asset Purchase Agreement
dated [●], 2020 (the “Purchase Agreement”), pursuant to which Assignor has agreed to assign,
transfer and convey and Assignee has agreed to purchase and acquire all of Assignor’s right, title,
and interest in and to the Conveyed Assets (defined below); and
        WHEREAS, on [●], the Bankruptcy Court entered the Sale Order authorizing the Assignor
to sell the Conveyed Assets to Assignee pursuant to the terms and conditions of the Purchase
Agreement.
                                        ARTICLE I
                                        Assignment

        Section 1.1 Effective Time. The conveyance and assignment herein shall be deemed
effective as of [●] at 12:00 a.m., Central Time (the “Effective Time”).

        Section 1.2 Assignment. Assignor, for Ten Dollars ($10.00) and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, and subject
to the terms set forth herein, does by these presents GRANT, BARGAIN, SELL, CONVEY,
ASSIGN, TRANSFER, SET OVER, AND DELIVER unto Assignee all of Assignor’s rights, title,
and interest in, to, and under all oil and gas properties and all other assets, rights and interest owned
by Assignor, including the following (collectively, the “Conveyed Assets”), but excluding the
Excluded Assets (as hereinafter defined):
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                       (a) all Leases, including the Leases described in Exhibit A, together with
any and all other rights, titles, and interests of Assignor in and to the leasehold estates created
thereby, including royalty interests, overriding royalty interests, production payments, net profits
interests, farmout interests, carried interests, reversionary interests, and all other interests of any
kind or character described in Exhibit A, subject to any depth restrictions described in Exhibit A,
the terms, conditions, covenants, and obligations set forth in the Leases and/or Exhibit A, along
with all pools and units that include all or any part of any Lease (the “Units”), including without
limitation, all of Assignor’s right, title and interest in Hydrocarbon production from any Unit,
regardless of whether such Unit production is derived from wells located on or off a Lease
(collectively, the “Assigned Leases and Interests”);
                      (b) all oil and gas wells (whether producing, inactive, temporarily or
permanently abandoned, shut-in or otherwise) and any water injection wells located on or
traversing the Assigned Leases and Interests (collectively, and including the wells set forth in
Exhibit B, the “Wells”, and together with the Assigned Leases and Interests, the “Properties”);
                        (c) (A) all Hydrocarbons produced from or allocated to any or all of the
Properties prior to, on or after the Effective Time (which have not already been sold), and all
proceeds therefrom and revenues related thereto; and (B) all marketable Hydrocarbons produced
from or attributable to the Properties in storage tanks, and Hydrocarbons above or below a custody
transfer point, and all proceeds attributable thereto;
                        (d) all Contracts, including sales and purchase contracts, unit operating
agreements, exploration agreements, development agreements, seismic licenses, balancing
agreements, farmout agreements, service agreements, transportation, processing, treatment and
gathering agreements, equipment leases and other contracts, agreements and instruments,
including the Contracts described on Exhibit C of the Purchase Agreement, in each case, insofar
as they relate to any other Conveyed Asset (collectively, the “Assigned Contracts”), and any rights
to reimbursement due thereunder;
                       (e) to the extent that they may be transferred to Assignee, whether
through assignment or otherwise as contemplated under Section 8.9(b) of the Purchase Agreement
(provided that Assignor will use commercially reasonable efforts to obtain any necessary consent
to assignment, without any obligation to incur any out-of-pocket cost or expense or to provide any
other consideration), all permits, licenses, servitudes, easements, rights-of-way and other surface
agreements used primarily in connection with the ownership or operation of the Properties,
including any pending applications therefor;
                       (f) all equipment, machinery, fixtures, and other real, personal, and
mixed property, operational and nonoperational, known or unknown, located on the Properties or
the other Conveyed Assets described above, but excluding any such items constituting Excluded
Assets (collectively, the “Equipment”); all physical assets located on the Properties or other
Conveyed Assets described above as of the Effective Time or covered by an Assigned Contract
and used or previously used for production, mechanical separation, handling, gathering, storage,
treatment, sale, disposal or other operations relating to assigned Hydrocarbons, including (a) all
buildings, structures, facilities and foundations; (b) all platforms, pipelines of every form and
character, including gathering lines, transfer lines, gas lines, oil lines, water lines, flowlines and
production and storage facilities and (c) pipeline laterals, to the extent located on or within any of



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the Assigned Leases or Interests as a lease term pipeline or serving the Conveyed Assets in any
manner, including as a gathering line under a distinct right of way;
                       (g) all of the files, records, information, and data, whether written or
electronically stored, in Assignor’s possession and primarily relating to the Conveyed Assets,
including (a) land and title records (including abstracts of title and title curative documents); (b)
contract files; (c) correspondence; (d) operations, environmental, production, and accounting
records; (e) proprietary seismic and specific seismic lines if assignable by Assignor without cost,
unless Assignee has agreed to and pays the cost; and (f) facility and well records but excluding
any of the foregoing items that are Excluded Assets (collectively, the “Records”);
                        (h) except with respect to the Excluded Assets and the Excluded
Liabilities, all claims, refunds, abatements, variances, allocations, causes of action, claims for
relief, choses in action, rights of recovery, rights of set-off, rights of indemnity, contribution or
recoupment, counter-claims, cross-claims and defenses of Assignor to the extent related to the
Conveyed Assets and arising or relating to events occurring prior to, on or after the Effective Time
or related to the Assumed Liabilities, but excluding any such matters released pursuant to the Plan;
                     (i) all cash call pre-payments and other refunds due to Assignor for
royalty overpayments and/or future deductions as royalty offsets associated with any Conveyed
Asset;
                       (j) all trade credits, accounts receivable, note receivables, take or pay
amounts receivable, and other receivables attributable to the other Conveyed Assets, with respect
to any period of time;
                        (k) all proprietary rights and non-proprietary rights to all geological,
geochemical, geophysical and other seismic and related technical data and information relating to
the Conveyed Assets, to the extent such data and information may be assigned without the payment
of a fee (or, in the event a transfer fee applies, to the extent Assignee has agreed in writing to pay,
or has paid, such transfer fee); provided that Assignor will use commercially reasonable efforts to
obtain any necessary consent to assignment, without any obligation to incur any out-of-pocket cost
or expense or to provide any other consideration
                       (l)    all Intellectual Property;
                      (m) the office(s) and associated office lease(s) described on Exhibit D of
the Purchase Agreement and all personal computers and associated peripherals, office fixtures,
office equipment and inventory located at such office(s);
                       (n) any and all actions, causes of action, suits, accounts, controversies,
agreements, promises, rights to legal remedies, rights to equitable remedies, rights to payment and
claims, in each case whether known, unknown, reduced to judgment, not reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured and whether asserted or assertable directly or derivatively, in law, equity, or otherwise,
including Avoidance Actions owned by or available to any Assignor Party;
                        (o) (A) all interests of any kind or character owned by Assignor or any of
its Affiliates in and to Oil Insurance Limited, a Bermuda company (“Oil Insurance Limited”),
subject to Assignee’s compliance with the applicable requirements set forth the Shareholders’
Agreement of Oil Insurance Limited issued to Arena Energy, LP., and (B) subject to Section 8.7(b)
of the Purchase Agreement, all insurance policies and rights to proceeds (and rights of recovery)

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thereof, including all insurance policies issued by Oil Insurance Limited and rights to proceeds
thereof;
                         (p) (A) all cash and cash equivalents, including checks, commercial
paper, treasury bills, certificates of deposit, letters of credit, bank accounts and other bank deposits
as of the Closing Date, including the Suspense Funds (and applicable accounts therefor), and (B)
all escrow accounts maintained by Assignor or any of its Affiliates to secure Decommissioning
Obligations or relating to the Properties (other than the Escrow Account), in each case, (x)
including those accounts identified on Schedule 2.1(b)(xvi) of the Purchase Agreement, and any
and all funds and other income thereof, (y) including any retainers returned by Assignor’s advisors
to Assignor due to the fees owing to such advisors being less than the applicable retainer, and (z)
excluding the Wind Down Amount;
                       (q) all receivables related to the Conveyed Assets including all
expenditures incurred by Assignor in connection with the ownership, operation and maintenance
of the Properties (including rentals, overhead, royalties, Lease option and extension payments,
Taxes and other charges and expenses billed under applicable operating agreements or applicable
Legal Requirements) and billed by Assignor to third party working interest owners, which remain
outstanding and owed to Assignor;
                          (r) all claims, refunds, loss carry forwards, abatements, variances,
allocations, causes of action, claims for relief, choses in action, rights of recovery, audit rights,
rights of set-off, rights of indemnity, contribution or recoupment, counter-claims, cross-claims and
defenses of Assignor, other than those constituting Excluded Assets or those related to any
Excluded Liability or released pursuant to the Plan; and
                        (s) all rights, defenses, claims and causes of action (including rights to
enforce Encumbrances, trade credits, receivables, audit rights and rights to receive indemnity,
funds, reimbursements or other payments and rights under policies or agreements of insurance)
except to the extent released pursuant to the Plan.
       Section 1.3 Excluded Assets. Assignor shall EXCEPT, RESERVE and RETAIN and
the Conveyed Assets shall not include the following assets (the “Excluded Assets”):

                       (a)    the Purchase Price delivered to Assignor pursuant to the Purchase
Agreement;
                        (b) all shares of capital stock or other equity interest of Assignor or any
of Assignor’s Subsidiaries or any securities convertible into, exchangeable or exercisable for
shares of capital stock or other equity interest of Assignor or any of Assignor’s Subsidiaries;
                       (c)    all minute books, stock ledgers, corporate seals and stock certificates
of Assignor;
                       (d)    all Excluded Records;
                     (e) any rights, claims or causes of action of Assignor against Assignee
under this Assignment, the Purchase Agreement or any other Transaction Document;
                      (f) documents prepared or received by Assignor with respect to (i) lists
of prospective purchasers for such transactions compiled by Assignor, (ii) bids submitted by other
prospective purchasers of the Conveyed Assets, (iii) analyses by Assignor of any bids submitted

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by any prospective purchaser, (iv) correspondence between or among Assignor, its respective
representatives, and any prospective purchaser other than Assignee, (v) internal valuations or
economic models prepared in connection with the transactions contemplated in this Assignment
and the Purchase Agreement and (vi) correspondence between Assignor or any of its respective
representatives with respect to any of the bids, the prospective purchasers, or the transactions
contemplated in this Assignment or the Purchase Agreement;
                       (g)   all Excluded Contracts;
                       (h)   all Benefit Plans and any assets associated with or attributable thereto;
                       (i)   the Wind Down Amount; and
                        (j) all rights to the use of deposits and retainers to the extent held and
applied by Assignor’s professionals on or before sixty (60) days after the earlier to occur of (i) the
effective date of a plan of reorganization or liquidation, (ii) the conversion of the Bankruptcy Case
to a case under chapter 7 of the Bankruptcy Code, or (iii) the dismissal of the Bankruptcy Case by
the Bankruptcy Court; provided, however, any right to deposits or retainers in excess of the fees
owing to such advisors shall constitute Conveyed Assets.
         TO HAVE AND TO HOLD the Conveyed Assets, together with all and singular the rights,
titles, interests, estates, remedies, powers, privileges, and appurtenances thereto and forever
belonging thereto unto Assignee, and its successors and assigns forever subject to the other terms
and provisions set forth in this Assignment.
                                       ARTICLE II
                                DISCLAIMERS; ASSUMPTION

      Section 2.1 Disclaimers.    NOTWITHSTANDING ANYTHING TO THE CONTRARY
CONTAINED IN THIS ASSIGNMENT OR THE PURCHASE AGREEMENT, EXCEPT AS AND TO THE
EXTENT EXPRESSLY SET FORTH IN THIS ASSIGNMENT, THE PURCHASE AGREEMENT, THE
CERTIFICATE DELIVERED BY ASSIGNOR PURSUANT TO SECTION 4.4(C) OF THE PURCHASE
AGREEMENT AND IN THE TRANSACTION DOCUMENTS, ASSIGNOR MAKES NO REPRESENTATIONS
OR WARRANTIES WHATSOEVER, AND DISCLAIMS ALL LIABILITY AND RESPONSIBILITY FOR ANY
REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION MADE OR COMMUNICATED
(ORALLY OR IN WRITING) TO ASSIGNEE (INCLUDING ANY OPINION, INFORMATION, OR ADVICE
THAT MAY HAVE BEEN PROVIDED TO ASSIGNEE BY ANY RESPECTIVE AFFILIATE OR
REPRESENTATIVE OF ASSIGNOR OR BY ANY INVESTMENT BANK OR INVESTMENT BANKING FIRM,
ANY PETROLEUM ENGINEER OR ENGINEERING FIRM, ASSIGNOR’S COUNSEL, OR ANY OTHER
AGENT, CONSULTANT, OR REPRESENTATIVE OF ASSIGNOR). EXCEPT AS AND TO THE EXTENT
EXPRESSLY SET FORTH IN THIS ASSIGNMENT, THE PURCHASE AGREEMENT, THE CERTIFICATE
DELIVERED BY ASSIGNOR PURSUANT TO SECTION 4.4(C) OF THE PURCHASE AGREEMENT AND IN
THE TRANSACTION DOCUMENTS, ASSIGNOR FURTHER MAKES NO REPRESENTATION, COVENANT
OR WARRANTY, EXPRESS OR IMPLIED, AS TO THE ACCURACY OR COMPLETENESS OF ANY FILES,
RECORDS OR DATA HERETOFORE OR HEREAFTER FURNISHED IN CONNECTION WITH THE
CONVEYED ASSETS, OR AS TO THE QUALITY OR QUANTITY OF HYDROCARBON RESERVES (IF
ANY) ATTRIBUTABLE TO THE CONVEYED ASSETS, OR THE ABILITY OF THE CONVEYED ASSETS
TO PRODUCE HYDROCARBONS. ANY AND ALL SUCH FILES, RECORDS AND DATA FURNISHED BY
ASSIGNOR IS PROVIDED AS A CONVENIENCE, AND ANY RELIANCE ON OR USE OF THE SAME SHALL
BE AT ASSIGNEE’S SOLE RISK. WITHOUT LIMITING THE GENERALITY OF THE FOREGOING,


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EXCEPT AS AND TO THE EXTENT EXPRESSLY SET FORTH IN THIS ASSIGNMENT, ARTICLE 5 OF THE
PURCHASE AGREEMENT, THE CERTIFICATE DELIVERED BY ASSIGNOR PURSUANT TO SECTION
4.4(C) OF THE PURCHASE AGREEMENT AND THE TRANSACTION DOCUMENTS, ASSIGNOR
EXPRESSLY DISCLAIMS AND NEGATES ANY REPRESENTATION OR WARRANTY, EXPRESS, IMPLIED,
AT COMMON LAW, BY STATUTE, OR OTHERWISE, RELATING TO (A) THE TITLE TO ANY OF THE
CONVEYED ASSETS, (B) THE CONDITION OF THE CONVEYED ASSETS (INCLUDING ANY IMPLIED
OR EXPRESS WARRANTY OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR
CONFORMITY TO MODELS OR SAMPLES OF MATERIALS), IT BEING DISTINCTLY UNDERSTOOD
THAT THE CONVEYED ASSETS ARE BEING SOLD “AS IS,” “WHERE IS,” AND “WITH ALL FAULTS
AS TO ALL MATTERS,” (C) FREEDOM FROM HIDDEN OR REDHIBITORY DEFECTS OR VICES (D)
ANY INFRINGEMENT BY ASSIGNOR OF ANY PATENT OR PROPRIETARY RIGHT OF ANY THIRD
PARTY, (E) ANY INFORMATION, DATA, OR OTHER MATERIALS (WRITTEN OR ORAL) FURNISHED
TO ASSIGNEE BY OR ON BEHALF OF ASSIGNOR (INCLUDING, WITHOUT LIMITATION, IN RESPECT
OF ANY SEISMIC DATA, THE EXISTENCE OR EXTENT OF HYDROCARBONS OR THE MINERAL
RESERVES, THE RECOVERABILITY OF SUCH RESERVES, ANY PRODUCT PRICING ASSUMPTIONS,
AND THE ABILITY TO SELL HYDROCARBON PRODUCTION AFTER THE CLOSING), AND (F) THE
ENVIRONMENTAL CONDITION AND OTHER CONDITION OF THE CONVEYED ASSETS AND ANY
POTENTIAL LIABILITY ARISING FROM OR RELATED TO THE CONVEYED ASSETS.

      AS    TO ANY OF THE CONVEYED ASSETS WHICH MAY BE LOCATED WITHIN THE
JURISDICTION OF LOUISIANA, THE ASSIGNEE EXPRESSLY WAIVES: (I) THE WARRANTY OF
FITNESS FOR INTENDED PURPOSES OR GUARANTEE AGAINST HIDDEN OR LATENT REDHIBITORY
VICES UNDER LOUISIANA LAW, INCLUDING LOUISIANA CIVIL CODE ARTICLES 2520, ET SEQ, (II)
ALL RIGHTS IN REDHIBITION PURSUANT TO LOUISIANA CIVIL CODE ARTICLE 2520, ET SEQ.; AND
(III) ALL RIGHTS WHICH MAY EXIST UNDER THE LOUISIANA UNFAIR TRADE PRACTICE AND
CONSUMER PROTECTION LAW, LA. R.S. 51:1402 ET SEQ. FURTHER, FOR ALL SUCH PURPOSES,
ASSIGNOR ACKNOWLEDGES THAT THIS EXPRESS WAIVER SHALL BE CONSIDERED A MATERIAL
AND INTEGRAL PART OF THIS SALE AND THE CONSIDERATION THEREOF; AND ACKNOWLEDGES
THAT THE WAIVER HAS BEEN BROUGHT TO THE ATTENTION OF ASSIGNEE AND EXPLAINED IN
DETAIL AND THAT ASSIGNEE HAS VOLUNTARILY AND KNOWINGLY CONSENTED TO THIS WAIVER
OF WARRANTY OF FITNESS AND/OR WARRANTY AGAINST REDHIBITORY VICES AND DEFECTS FOR
THE ASSETS.

      ASSIGNEE WAIVES ITS RIGHTS UNDER THE TEXAS DECEPTIVE TRADE PRACTICES-
CONSUMER PROTECTION ACT, SPECIFICALLY INCLUDING SECTION 17.41 ET SEQ., VERNON’S
TEXAS CODE ANNOTATED, BUSINESS AND COMMERCE, A LAW THAT GIVES CONSUMERS SPECIAL
RIGHTS AND PROTECTIONS, OR ANY SIMILAR STATE OR FEDERAL LAW.


       Section 2.2 ENVIRONMENTAL CONDITION. ASSIGNEE ACKNOWLEDGES THAT THE
CONVEYED ASSETS HAVE BEEN USED FOR EXPLORATION, DEVELOPMENT AND PRODUCTION OF
OIL, GAS AND WATER AND THAT THERE MAY BE PETROLEUM, PRODUCED WATER, WASTES OR
OTHER HAZARDOUS MATERIALS LOCATED ON, UNDER OR ASSOCIATED WITH THE CONVEYED
ASSETS AND THE CONVEYED ASSETS MAY ALSO CONTAIN PREVIOUSLY PLUGGED AND
ABANDONED WELLS, BURIED PIPELINES, STORAGE TANKS, AND OTHER EQUIPMENT, WHETHER
OR NOT OF A SIMILAR NATURE, THE LOCATIONS OF WHICH MAY NOT BE KNOWN BY ASSIGNOR
OR BE READILY APPARENT BY A PHYSICAL INSPECTION OF THE CONVEYED ASSETS. EQUIPMENT
AND SITES INCLUDED IN THE CONVEYED ASSETS MAY CONTAIN NATURALLY OCCURRING

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RADIOACTIVE MATERIALS (“NORM”). NORM MAY AFFIX OR ATTACH ITSELF TO THE INSIDE
OF WELLS, MATERIALS AND EQUIPMENT AS SCALE, OR IN OTHER FORMS; THE WELLS,
MATERIALS AND EQUIPMENT LOCATED ON OR INCLUDED IN THE CONVEYED ASSETS MAY
CONTAIN NORM AND OTHER WASTES OR HAZARDOUS MATERIALS; AND NORM CONTAINING
MATERIAL AND OTHER WASTES OR HAZARDOUS MATERIALS MAY HAVE BEEN BURIED, COME IN
CONTACT WITH THE SOIL OR OTHERWISE BEEN DISPOSED OF ON OR AROUND THE CONVEYED
ASSETS. SPECIAL PROCEDURES MAY BE REQUIRED FOR THE REMEDIATION, REMOVAL,
TRANSPORTATION OR DISPOSAL OF WASTES, ASBESTOS, HAZARDOUS MATERIALS, INCLUDING
HYDROGEN SULFIDE GAS AND NORM FROM THE CONVEYED ASSETS. FROM AND AFTER THE
CLOSING, ASSIGNEE SHALL ASSUME RESPONSIBILITY FOR THE CONTROL, STORAGE, HANDLING,
TRANSPORTING AND DISPOSING OF OR DISCHARGE OF ALL MATERIALS, SUBSTANCES AND
WASTES FROM THE CONVEYED ASSETS (INCLUDING PRODUCED WATER, HYDROGEN SULFIDE
GAS, DRILLING FLUIDS, NORM, HAZARDOUS MATERIALS AND OTHER WASTES) IN A SAFE AND
PRUDENT MANNER AND IN ACCORDANCE WITH ALL APPLICABLE ENVIRONMENTAL LAWS.

       Section 2.3 Conspicuous. Assignee and Assignor agree that, to the extent required by
applicable law to be effective, the disclaimers of certain warranties contained in this Assignment
are “conspicuous” disclaimers.

        Section 2.4 Independent Investigation. Assignee acknowledges and affirms that it has
made its own independent investigation, analysis, and evaluation of the transactions contemplated
hereby and the Conveyed Assets (including Assignee’s own estimate and appraisal of the extent
and value of Assignor’s Hydrocarbon reserves attributable to the Conveyed Assets and an
independent assessment and appraisal of the environmental risks associated with the acquisition
of the Conveyed Assets). Assignee acknowledges that in entering into this Assignment, it has
relied on the aforementioned investigation. Assignee hereby irrevocably covenants to refrain
from, directly or indirectly, asserting any claim, or commencing, instituting, or causing to be
commenced, any Proceeding of any kind against Assignor or its Affiliates or Subsidiaries, alleging
facts contrary to the foregoing acknowledgment and affirmation.

        Section 2.5 Assumption. Assignee hereby assumes, effective as of the Effective Time,
and agrees to fulfill, perform, pay, and discharge (or cause to be fulfilled, performed, paid, or
discharged) all of the Assumed Liabilities (as such term is defined in the Purchase Agreement)
arising in respect of the Conveyed Assets; provided that Assignee does not assume any obligations
or Liabilities attributable to the Excluded Liabilities (as such term is defined in the Purchase
Agreement).

                                        ARTICLE III
                                     OTHER PROVISIONS

        Section 3.1 Conveyance subject to the Purchase Agreement. This Assignment is
expressly subject to the Purchase Agreement. Nothing in this Assignment shall operate to limit,
release, or otherwise impair any Party’s respective rights, obligations, remedies, or indemnities in
the Purchase Agreement. Except as otherwise defined in this Assignment, all capitalized terms in
this Assignment shall have the meanings given to them in the Purchase Agreement. If any
provision of this Assignment is construed to conflict with any provision of the Purchase


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Agreement, the provisions of the Purchase Agreement shall be deemed controlling to the extent of
such conflict.

        Section 3.2 Further Assurance. The Parties agree to (a) furnish upon request to each
other such further information, (b) execute, acknowledge and deliver to each other such other
documents and (c) do such other acts and things, all as the other Party may reasonably request for
the purpose of carrying out the intent of this Assignment; provided that nothing in this Section 3.2
shall prohibit Assignor from ceasing operations or winding up its affairs following the Closing.

         Section 3.3 Assignment. The provisions of this Assignment shall be construed as
covenants running with the land and this Assignment shall be binding upon and inure to the benefit
of Assignor and Assignee and each of their respective successors and assigns. This Assignment
is made subject to any and all licenses, leases, easements, rights of way, restrictions, covenants,
restrictions and other matters of record affecting the Conveyed Assets, and land use or similar
laws, rules or regulations.

        Section 3.4 Severability. The provisions of this Assignment shall be deemed severable,
and the invalidity or unenforceability of any provision shall not affect the validity or enforceability
of the other provisions hereof. If any provision of this Assignment, or the application thereof to
any Person or any circumstance, is invalid or unenforceable, (a) a suitable and equitable provision
shall be substituted therefor in order to carry out, so far as may be valid and enforceable, the intent
and purpose of such invalid or unenforceable provision and (b) the remainder of this Assignment
and the application of such provision to other Persons or circumstances shall not be affected by
such invalidity or unenforceability.

       Section 3.5     Governing Law; Consent to Jurisdiction and Venue; Jury Trial Waiver.

           (a)    EXCEPT TO THE EXTENT THE MANDATORY PROVISIONS OF THE
BANKRUPTCY CODE APPLY, THIS ASSIGNMENT SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF TEXAS APPLICABLE TO CONTRACTS MADE AND
TO BE PERFORMED ENTIRELY IN SUCH STATE WITHOUT REGARD TO PRINCIPLES OF CONFLICTS
OR CHOICE OF LAWS OR ANY OTHER LAW THAT WOULD MAKE THE LAWS OF ANY OTHER
JURISDICTION OTHER THAN THE STATE OF TEXAS APPLICABLE HERETO.

                (b)    Without limitation of any Party’s right to appeal any Order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms
of this Assignment and to decide any claims or disputes which may arise or result from, or be
connected with, this Assignment, any breach or default hereunder, or the transactions contemplated
hereby and (ii) any and all claims relating to the foregoing shall be filed and maintained only in
the Bankruptcy Court, and the Parties hereby consent and submit to the exclusive jurisdiction and
venue of the Bankruptcy Court and irrevocably waive the defense of an inconvenient forum to the
maintenance of any such Action or Proceeding; provided, however, that, if the Bankruptcy Case is
closed, all Actions and Proceedings arising out of or relating to this Assignment shall be heard and
determined in a Texas state court or a federal court sitting in the state of Texas, and the Parties
hereby irrevocably submit to the exclusive jurisdiction and venue of such courts in any such Action
or Proceeding and irrevocably waive the defense of an inconvenient forum to the maintenance of


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any such Action or Proceeding. The Parties consent to service of process by mail (in accordance
with Section 13.3 of the Purchase Agreement) or any other manner permitted by law.

               (c)     THE PARTIES
                                HEREBY IRREVOCABLY WAIVE ALL RIGHT TO TRIAL BY
JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER BASED IN CONTRACT, TORT
OR OTHERWISE) ARISING OUT OF OR RELATING TO THIS ASSIGNMENT OR THE ACTIONS OF
ASSIGNOR, ASSIGNEE OR THEIR RESPECTIVE REPRESENTATIVES IN THE NEGOTIATION OR
PERFORMANCE HEREOF.

       Section 3.6Waiver of Damages. NOTWITHSTANDING ANYTHING TO THE CONTRARY
CONTAINED HEREIN, NO PARTY SHALL BE LIABLE TO THE OTHER FOR SPECIAL, INDIRECT,
EXEMPLARY, CONSEQUENTIAL OR PUNITIVE DAMAGES ARISING OUT OF, ASSOCIATED WITH, OR
RELATING TO THIS ASSIGNMENT (INCLUDING LOSS OF PROFIT OR BUSINESS INTERRUPTIONS,
HOWEVER THE SAME MAY BE CAUSED) AND THE PARTIES HEREBY WAIVE ALL CLAIMS FOR ANY
SUCH DAMAGES, EXCEPT TO THE EXTENT ANY SELLER INDEMNIFIED PARTY SUFFERS SUCH
DAMAGES TO AN UNAFFILIATED THIRD PARTY IN CONNECTION WITH A FINALLY ADJUDICATED
THIRD PARTY CLAIM, IN WHICH CASE SUCH DAMAGES SHALL BE RECOVERABLE (TO THE EXTENT
RECOVERABLE UNDER ARTICLE 12 OF THE PURCHASE AGREEMENT) WITHOUT GIVING EFFECT
TO THIS SECTION 3.6.

       Section 3.7 Interpretive Matters. Unless otherwise expressly provided, for purposes of
this Assignment, the following rules of interpretation shall apply:

               (a)     When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Assignment, the date that is
the reference date in calculating such period shall be excluded;

               (b)     Any reference in this Assignment to gender includes all genders, and words
imparting the singular number only include the plural and vice versa;

              (c)     Words such as “herein,” “hereof” and “hereunder” refer to this Assignment
as a whole and not merely to a subdivision in which such words appear, unless the context
otherwise requires; and

               (d)      The word “including” or any variation thereof means “including, without
limitation,” and shall not be construed to limit any general statement that it follows to the specific
or similar items or matters immediately following it.

      Section 3.8 Amendment. This Assignment may not be amended except by a written
agreement executed by all of the Parties.

       Section 3.9 Counterparts. This Assignment and any amendment hereto may be
executed in two (2) or more counterparts, each of which shall be deemed to be an original of this
Assignment or such amendment and all of which, when taken together, shall constitute one and
the same instrument.

      Section 3.10 Additional Assignments. Certain of the Conveyed Assets may require
approval to transfer by a Governmental Authority, and as such may require separate assignment

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instruments made on officially approved forms, or forms acceptable to such Governmental
Authority, (including any assignments of record title, operating rights and/or rights of ways filed
with the BOEM or BSEE) and in sufficient multiple originals to satisfy applicable statutory and
regulatory requirements. Assignor’s interest conveyed by such separate assignments are the same,
and not in addition to, Assignor’s interest conveyed in this Assignment.

        Where separate assignments of the Conveyed Assets have been or will be executed for
filing with, and approval by, applicable Governmental Authorities, any such separate assignments
(a) shall evidence this Assignment and assignment of the applicable Conveyed Assets herein made
and shall not constitute any additional Assignment or assignment of such properties, (b) are not
intended to modify, and shall not modify, any of the terms, covenants and conditions or limitations
on warranties set forth in this Assignment or the other Transaction Documents and are not intended
to create, and shall not create, any representations, warranties or additional covenants of or by
Assignor to Assignee and (c) shall be deemed to contain all of the terms and provisions of this
Assignment and the Transaction Documents, as fully and to all intents and purposes as though the
same were set forth at length in such separate assignments.


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        IN WITNESS WHEREOF, the Parties have executed this Assignment on the dates set
forth in their respective acknowledgements hereto, but this Assignment shall be effective for all
purposes as of the Effective Time.


WITNESSES TO ALL SIGNATURES:                   ASSIGNORS:

                                               ARENA ENERGY, LP
______________________________
Printed Name:__________________
                                              By: _____________________________
______________________________                Name:
Printed Name:__________________               Title:




                                               ARENA EXPLORATION, LLC
______________________________
Printed Name:__________________
                                              By: _____________________________
______________________________                Name:
Printed Name:__________________               Title:



                                               VALIANT ENERGY LLC
______________________________
Printed Name:__________________
                                              By: _____________________________
______________________________                Name:
Printed Name:__________________               Title:




                                               SAGAMORE HILL HOLDINGS, LP
______________________________
Printed Name:__________________
                                              By: _____________________________
______________________________                Name:
Printed Name:__________________               Title:
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                         CORPORATE ACKNOWLEDGMENT

STATE OF ____________          §
                               §
COUNTY OF ____________         §

       This Assignment was acknowledged before me on this          day of ____________,
2020, by ____________ as ____________ for Arena Energy, LP, a Delaware limited partnership,
on behalf of the partnership.


                                                                                     (Sign)
                                                                              (Print Name)
                                            Notary Public in and for
My Commission Expires:                      ____________, ____________




STATE OF ____________          §
                               §
COUNTY OF ____________         §

         This Assignment was acknowledged before me on this    day of ____________,
2020, by ____________ as ____________ for Arena Exploration, LLC, a Delaware limited
liability company, on behalf of the company.


                                                                                     (Sign)
                                                                              (Print Name)
                                            Notary Public in and for
My Commission Expires:                      ____________, ____________
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STATE OF ____________          §
                               §
COUNTY OF ____________         §

       This Assignment was acknowledged before me on this         day of ____________,
2020, by ____________ as ____________ for Valiant Energy LLC, a Delaware limited liability
company, on behalf of the company.


                                                                                    (Sign)
                                                                             (Print Name)
                                            Notary Public in and for
My Commission Expires:                      ____________, ____________




STATE OF ____________          §
                               §
COUNTY OF ____________         §

       This Assignment was acknowledged before me on this         day of ____________,
2020, by ____________ as ____________ for Sagamore Hill Holdings, LP, a Delaware limited
partnership, on behalf of the partnership.


                                                                                    (Sign)
                                                                             (Print Name)
                                            Notary Public in and for
My Commission Expires:                      ____________, ____________
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WITNESSES TO ALL SIGNATURES:                 ASSIGNEE:

                                             San Juan Offshore, LLC
_____________________________
Printed Name:__________________
                                            By: _____________________________
_____________________________               Name:
Printed Name:__________________             Title:




                          CORPORATE ACKNOWLEDGMENT


STATE OF ____________          §
                               §
COUNTY OF ____________         §

       This Assignment was acknowledged before me on this           day of ____________,
2020, by ____________ as ____________ of San Juan Offshore, LLC a Delaware limited liability
company, on behalf of the company.



                                                                                      (Sign)
                                                                               (Print Name)
                                             Notary Public in and for
My Commission Expires:                       ____________, ____________
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                                           EXHIBIT E

              Attached to and made a part of that certain Asset Purchase Agreement
         by and among Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
        and Sagamore Hill Holdings, LP, as Seller and San Juan Offshore, LLC, as Buyer

                      FORM OF ASSIGNMENT OF OIL INTERESTS

                           ASSIGNMENT OF EQUITY INTEREST

        This Assignment of Equity Interest (this “Equity Assignment”) made and entered into this
[●] day of [●], 2020 (the “Execution Date”), by and among ARENA ENERGY, LP, a Delaware
limited partnership, whose address is 2103 Research Forest Drive, Suite 400, The Woodlands,
Texas 77380,(“Assignor”), and SAN JUAN OFFSHORE, LLC, a Delaware limited liability
company, whose address is [●] (“Assignee”). Assignor and Assignee are sometimes referred to
herein individually as a “Party” and collectively as the “Parties.” Capitalized terms used but not
otherwise defined herein shall have the respective meanings given to such terms in that certain
Asset Purchase Agreement dated August [●], 2020 by and among Assignor, Arena Exploration,
LLC, Valiant Energy LLC, and Sagamore Hill Holdings, LP, as Seller and Assignee, as Buyer (the
“Purchase Agreement”).

                                          WITNESSETH:

       WHEREAS, Assignor owns one ‘A’ share, issued June 26, 2013 (the “Equity Interest”)in
Oil Insurance Limited, a Bermuda company (the “Company”);

       WHEREAS, in connection with the issuance of the Equity Interest to Assignor, Assignor
became a party to that certain Shareholders’ Agreement, dated March 2013, by and among the
Company and the shareholder members party thereto (as amended from time to time, the
“Shareholders Agreement”); and

      WHEREAS, subject to and in accordance with the terms of the Purchase Agreement,
Assignor desires to sell, assign, transfer and convey to Assignee the Equity Interest.

        NOW, THEREFORE, for and in consideration of the promises and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged and confessed, the
Parties hereby agree as follows:

                                   ARTICLE I
                       ASSIGNMENT; WITHDRAWAL AS MEMBER

         Section 1.1 Assignment. Effective as of the Execution Date, Assignor does hereby
sell, assign, transfer, convey and deliver to Assignee, and its successors and permitted assigns, and
Assignee does hereby purchase, acquire and accept all of Assignor’s right, title and interest in, to
and under the Equity Interest and, subject to the terms of Section 8.7(b) of the Purchase Agreement,
Assignee shall be entitled to all insurance policies and rights to proceeds (and rights of recovery)
thereof, including all insurance policies issued by the Company and rights to proceeds thereof from
and after the Execution Date.
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        Section 1.2 Withdrawal as Member. Effective as of the Execution Date, Assignor
shall and does hereby withdraw from the Company as a member, withdraw as a shareholder party
to the Shareholders Agreement, cease to be a member of the Company, cease to be a shareholder
party to the Shareholders Agreement and cease to have or exercise any right or power as a member
of the Company or otherwise under the Shareholders Agreement. Concurrently with the execution
of this Equity Assignment, the Assignee has executed and delivered to the Company a joinder to
the Shareholders Agreement agreeing to be bound by the terms thereof that is in form and
substance agreeable to the Company.

        Section 1.3 Consent to Assignment. By its signature hereto, the Company hereby
consents to this Equity Assignment by Assignor to Assignee. The Company hereby waives all
provisions in the organizational documents of the Company, including, without limitation, the bye-
laws and memorandum of association of the Company, that would prohibit, delay, require notice
of, grant rights in connection with or require compliance with any other requirements in connection
with this Equity Assignment.

                                         ARTICLE II
                                       General Provisions.

      Section 2.1 Governing Law; Venue; Jury Waiver. Section 13.10 to the Purchase
Agreement is hereby incorporated into this Equity Assignment by reference, mutatis mutandis.

       Section 2.2 Amendments. No amendments or other modifications to this Equity
Assignment shall be effective or binding on either of the Parties unless the same are in writing,
designated as an amendment or modification and signed by both Assignor and Assignee.

       Section 2.3 Headings. The titles and headings set forth in this Equity Assignment have
been included solely for ease of reference and may not be considered in the interpretation or
construction of this Equity Assignment.

         Section 2.4 Successors and Assigns. This Equity Assignment shall apply to, be
binding in all respects upon, and inure to the benefit of the successors and permitted assigns of the
Parties.

       Section 2.5 Counterparts. This Equity Assignment may be executed in one (1) or more
counterparts, each of which will be deemed an original and all of which together shall constitute
the same agreement.

        Section 2.6 Subject to Purchase Agreement. This Equity Assignment is being
delivered pursuant to, and subject to the terms and conditions of, the Purchase
Agreement. Notwithstanding any other provision of this Equity Assignment to the contrary,
nothing contained in this Equity Assignment shall in any way supersede, modify, replace, amend,
change, rescind or waive any of the provisions set forth in the Purchase Agreement. To the extent
that any term or condition of this Equity Assignment conflicts with any term or condition of the
Purchase Agreement, the terms and conditions of the Purchase Agreement shall prevail.

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        IN WITNESS WHEREOF, this Equity Assignment has been duly executed by each of
the Parties as of the date and year first above written.



                                 ASSIGNOR:

                                 ARENA ENERGY, LP



                                 By:
                                 Name: [●]
                                 Title: [●]
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                         ASSIGNEE:

                         SAN JUAN OFFSHORE, LLC


                         By:
                         Name: [__________________________]
                         Title: [__________________________]
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                         COMPANY:

                         OIL INSURANCE LIMITED


                         By:
                         Name: [__________________________]
                         Title: [__________________________]
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                                          EXHIBIT F

             Attached to and made a part of that certain Asset Purchase Agreement
        by and among Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
       and Sagamore Hill Holdings, LP, as Seller and San Juan Offshore, LLC, as Buyer

                    CONTINGENT CONSIDERATION PROVISIONS

1.    Certain Defined Terms.

      “2021 Contingent Payments” has the meaning set forth in Section 2(a) of this Exhibit F.

      “2022 Contingent Payments” has the meaning set forth in Section 2(b) of this Exhibit F.

      “2023 Contingent Payments” has the meaning set forth in Section 2(c) of this Exhibit F.

      “2024 Contingent Payments” has the meaning set forth in Section 2(d) of this Exhibit F.

      “Agreement” means the Asset Purchase Agreement dated as of the Execution Date, but
      effective for all purposes as of the Effective Time, by and among each Seller Party and
      Buyer, to which this Exhibit F is attached.

      “Contingent Payment Amount” means Seven Million Five Hundred Thousand and No/100
      Dollars ($7,500,000.00).

      “Contingent Payment Date” means, in respect of (a) the First-Half Contingent Payment
      Period, if applicable, the first (1st) Business Day of August of the applicable calendar year,
      and (b) the Second-Half Contingent Payment Period, if applicable, the first (1st) Business
      Day of February of the calendar year following such applicable calendar year referenced
      in clause (a).

      “Contingent Payment Obligations” has the meaning set forth in Section 4 of this Exhibit F.

      “Contingent Payment Periods” means (a) the period beginning on January 1 of a calendar
      year and ending on and including June 30 of such calendar year (the “First-Half Contingent
      Payment Period”) and (b) the period beginning on July 1 of a calendar year and ending on
      and including December 31 of such calendar year (the “Second-Half Contingent Payment
      Period”).

      “Contingent Payments” means, collectively, the 2021 Contingent Payments, the 2022
      Contingent Payments, the 2023 Contingent Payments, and the 2024 Contingent Payments.

      “Lender Representative” means the RBL Facility Agent.

      “Memorandum” means a memorandum of the Contingent Payment Obligations in the form
      attached to the Agreement as Exhibit H.
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       “WTI Average Price” means the arithmetic average of the WTI Price for each day during
       the period from the first day of the applicable Contingent Payment Period to the last day
       of such period.

       “WTI Price” means the daily closing spot price, in Dollars per barrel, reported by the U.S.
       Energy Information Administration, on the “Spot Prices” chart, set for a daily period
       (excluding weekends or holidays), in the row labeled “WTI - Cushing, Oklahoma”, which
       chart     can     be     currently      accessed      at      the       following      link:
       http://www.eia.gov/dnav/pet/pet_pri_spt_s1_d.htm.

      Capitalized terms used but not defined herein have the meanings ascribed to them in the
Agreement.

2.     Contingent Consideration.

       a.      2021 Contingent Payment. If the WTI Average Price for (x) the First-Half
Contingent Payment Period of calendar year 2021 or (y) the Second-Half Contingent Payment
Period of calendar year 2021, is greater than $52.50, then Buyer shall pay the Contingent Payment
Amount to the Lender Representative for the benefit of the RBL Facility Lenders, on or before
each applicable Contingent Payment Date (collectively, the “2021 Contingent Payments”).

       b.      2022 Contingent Payment. If the WTI Average Price for (x) the First-Half
Contingent Payment Period of calendar year 2022 or (y) the Second-Half Contingent Payment
Period of calendar year 2022, is greater than $55.00, then Buyer shall pay the Contingent Payment
Amount to the Lender Representative for the benefit of the RBL Facility Lenders, on or before
each applicable Contingent Payment Date (collectively, the “2022 Contingent Payments”).

       c.      2023 Contingent Payment. If the WTI Average Price for (x) the First-Half
Contingent Payment Period of calendar year 2023 or (y) the Second-Half Contingent Payment
Period of calendar year 2023, is greater than $57.50, then Buyer shall pay the Contingent Payment
Amount to the Lender Representative for the benefit of the RBL Facility Lenders, on or before
each applicable Contingent Payment Date (collectively, the “2023 Contingent Payments”).

       d.      2024 Contingent Payment. If the WTI Average Price for (x) the First-Half
Contingent Payment Period of calendar year 2024 or (y) the Second-Half Contingent Payment
Period of calendar year 2024, is greater than $60.00, then Buyer shall pay the Contingent Payment
Amount to the Lender Representative for the benefit of the RBL Facility Lenders, on or before
each applicable Contingent Payment Date (collectively, the “2024 Contingent Payments”).

3.      Designation of Account. All Contingent Payments shall be made by wire transfer of
immediately available funds to a bank account designated by the Lender Representative in writing
to Buyer no later than five (5) Business Days prior to the applicable Contingent Payment Date and
such payments shall not be subject to any defense or be affected by a right of set-off, counterclaim
or recoupment Buyer or any Affiliate may now or hereafter have against any Seller, Affiliates of
the Seller, the Lender Representative or the RBL Facility Lenders.



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4.      Covenants. Concurrently with Closing, the obligations with respect to the Contingent
Payments, as applicable (the “Contingent Payment Obligations”), contained in this Exhibit F shall
be a real obligation and constitute covenants that run with the land and equitable servitudes and
binding and a burden upon all of the Assets (the “Contingent Payment Covenants”); provided,
however, that the Contingent Payment Covenants shall no longer run with the land or otherwise
constitute a burden on the Assets with respect to any assignment or transfer of the Assets with an
effective time on or after January 1, 2025 (the “Termination Time”). Notwithstanding the
foregoing, the Contingent Payment Covenants shall remain in effect to the extent attributable to
the applicable Assets owned by any Person who has not satisfied in full such Person’s obligations
to make payments in respect of any applicable Contingent Payments as of January 1, 2025
(including, for purposes of clarity, any obligation to make any Contingent Payment with respect
to the Second-Half Contingent Payment Period of calendar year 2024), and the Termination Time
shall be deemed to occur with respect to such Assets when such payment obligations are satisfied.
For purposes of clarity, the fact that the Contingent Payment Covenants cease to run with the land
or otherwise constitute a burden on the Assets shall not, on a retroactive basis, affect (a) any
Contingent Payment Covenants that did run with the land or otherwise constitute a burden on the
Assets with respect to any assignments or transfers with an effective time prior to January 1, 2025,
or (b) the Contingent Payment with respect to the Second-Half Contingent Payment Period of
calendar year 2024, if applicable. Except as expressly set forth in this Exhibit F, no other
covenants, conditions or other obligations shall apply to Buyer or its Affiliates (or its or their
successors or assigns), or otherwise burden the Assets, with respect to the Contingent Payment
Obligations.

5.      Certain Contingent Payment-Related Matters. Without limitation of Section 6 of this
Exhibit F, including in the case of the events described in Sections 6(a) and 6(b) of this Exhibit F
where the provisions of this Section 5 shall not apply, in the event that Buyer assigns, conveys,
sells or otherwise transfers all or any portion of the Assets prior to the Termination Time, then
Buyer shall cause such assignee to expressly assume a proportionate share of the Contingent
Payment Obligations (calculated by reference to the Allocated Value of the Assets with positive
Allocated Values transferred (as determined pursuant to Schedule 3.3 of the Agreement in effect
on the Closing Date)) but, for purposes of clarity, such assignee shall not assume, or otherwise
responsible for, any other share of the Contingent Payment Obligations. If any such assignment or
transfer is to an Affiliate of Buyer, then Buyer shall remain jointly and severally liable with such
Buyer Affiliate with respect to the Contingent Payment Obligations. Any assignment or other
transfer of this Assets by Buyer (or its successors or assigns) in violation of the foregoing shall be
null and void ab initio.

6.      Release. Notwithstanding anything to the contrary in Sections 4 or 5 of this Exhibit F, in
the event that no default or breach of Buyer with respect to any Contingent Payment then exists
and is continuing:

        a.     Buyer assigns, conveys, sells or otherwise transfers some or all of the Assets to any
other Person (other than an Affiliate of Buyer) (a “Transferee”), effective at any time prior to the
Termination Time (a “Sale”), if Buyer provides evidence, after giving pro forma effect to such
Sale, of financial wherewithal, reasonably satisfactory to the Lender Representative, supporting
Buyer’s future responsibility with respect to any potential Contingent Payment Obligations, then
Buyer may request from the Lender Representative, and the Lender Representative shall be
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obligated to promptly deliver, a written release in favor of such Transferee of the Contingent
Payment Covenants (a “Release”), such that only Buyer would remain (and such Transferee would
not be) obligated for the Contingent Payment Obligations previously burdening such transferred
Assets and the Transferee shall be assigned the applicable Assets free and clear of this Exhibit F
and any burdens or obligations arising from or attributable to this Exhibit F that were related to
such Assets prior to such transfer. If Buyer’s evidence of financial wherewithal is reasonably
satisfactory to the Lender Representative, then the Lender Representative shall promptly, and no
later than five (5) Business Days after the Lender Representative’s receipt of such evidence from
Buyer, (i) confirm in writing to Buyer that such evidence of financial wherewithal is satisfactory
(such confirmation, a “Lender Representative Confirmation”) and (ii) execute, notarize and deliver
a Release to Buyer. If the Lender Representative fails to respond (affirmatively or otherwise)
within ten (10) Business Days following its receipt of Buyer’s evidence, then the Lender
Representative shall be deemed to have provided a Lender Representative Confirmation to Buyer,
and Buyer shall be irrevocably authorized to execute, notarize and file of record a Release
concurrently with the closing of the Sale the subject of such request and such authorization shall
be reflected of record in the Memorandum (defined below).

        b.      Buyer assigns, conveys, sells or otherwise transfers to a Transferee, effective at any
time prior to the Termination Time, less than fifty percent (50%) of the Allocated Value of the
Assets with positive Allocated Values (as determined pursuant to Schedule 3.3 of the Agreement
in effect on the Closing Date), calculated by reference and inclusive of any prior assignments or
transfers of the Assets, then (i) only Buyer shall remain (and such Transferee will not be obligated)
for the Contingent Payment Obligations previously burdening such transferred Assets and the
Transferee shall be assigned the applicable Assets free and clear of this Exhibit F and any burdens
or obligations arising from or attributable to this Exhibit F that were related to such Assets prior
to such transfer and (ii) Buyer shall be irrevocably authorized to execute, notarize and file of record
a Release and such authorization shall be reflected of record in the Memorandum.

7.      Lender Representative. The RBL Facility Lenders shall irrevocably appoint or have
irrevocably appointed the Lender Representative as their agent, with the power to act on behalf of
the RBL Facility Lenders with respect to this Exhibit F and the Agreement and the transactions
contemplated hereby and thereby in accordance with the terms and provisions of this Exhibit F
and the Agreement, and to do or refrain from doing all such further acts and things as the Lender
Representative shall deem necessary or appropriate in connection with the transactions
contemplated hereby. Buyer and any other Person may conclusively and absolutely rely, without
inquiry, upon any action of the Lender Representative in all matters referred to herein, including
to, on behalf of the RBL Facility Lenders, receive the Contingent Payments, if any. All Contingent
Payments and notices required to be made or delivered by Buyer to RBL Facility Lenders shall be
made to the Lender Representative for the benefit of the RBL Facility Lenders and shall discharge
in full the applicable payment (including the Contingent Payment Obligations) and notice
requirements of Buyer to the RBL Facility Lenders with respect thereto. Buyer shall not be liable
for any claim made by any RBL Facility Lender relating to such Persons’ rights with respect to
any decision or action of the Lender Representative with respect to the disbursement or allocation
of the Contingent Payments to the RBL Facility Lenders. The Lender Representative may not
assign any of its rights or obligations with respect to this Exhibit F, other than to an Affiliate or
another RBL Facility Lender (provided that the Lender Representative provide Buyer with

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advance written notice of any such assignment), without the express written consent of Buyer,
such consent not to be unreasonably withheld, conditioned or delayed, and any assignment in
violation of the foregoing shall be null and void ab initio.

8.      Memorandum. At the Closing, Buyer and the Lender Representative, on behalf of the RBL
Facility Lenders, shall execute, acknowledge (and witness, where applicable) and deliver the
Memorandum in sufficient number of counterparts to be recorded by Buyer in the applicable
parishes or counties where the Assets are located, including necessary counterparts for recording
in the relevant BOEM records.

9.       Assignment. Notwithstanding anything to the contrary in the Agreement, Buyer and the
RBL Facility Lenders shall not assign its or their rights and obligations with respect to this Exhibit
F without the express written consent of the other Party (for purposes of clarity, said assignment
restriction shall not apply to those Contingent Payment Obligations that run with the lands as
provided herein), provided that any consent of Buyer in connection with a transfer by an RBL
Facility Lender shall not be unreasonably withheld, conditioned or delayed; provided, however,
the RBL Facility Lenders shall have the right to assign any or all of their rights and obligations
under this Exhibit F to one or more Affiliates of the RBL Facility Lenders, provided that the Lender
Representative provide written notice of such assignment to Buyer within one (1) Business Day
of any such assignment. Any assignment in violation of the foregoing shall be null and void ab
initio. All covenants and obligations set forth in this Exhibit F shall inure to the benefit of and be
binding upon the Parties and their respective successors and permitted assigns.




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                                           EXHIBIT G

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                                   EMPLOYEE MATTERS

       1.      Definitions.

              “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended, and the rules and regulations promulgated thereunder.

               “ERISA Affiliate” means each entity, trade or business that is, or was at the
relevant time, a member of a group described in Section 414(b), (c), (m) or (o) of the Code or
Section 4001(b)(1) of ERISA that includes or included Seller or any of its Subsidiaries, or that is,
or was at the relevant time, a member of the same “controlled group” as Seller or any of its
Subsidiaries pursuant to Section 4001(a)(14) of ERISA.

              Capitalized Terms used but not defined herein have the meanings ascribed to
them in the Agreement to which this Exhibit G is attached.

       2.      Access and Interview. During the period from the Execution Date to the Closing,
Seller agrees to provide Buyer, upon reasonable advance notice to Seller, with reasonable
opportunity to interview or otherwise meet with each Seller Employee during Seller’s regular
business hours in order to determine if Buyer wishes to offer employment to any such Seller
Employee; provided, however, that any such reasonable opportunity shall be conducted in such a
manner as not to interfere with the conduct of Seller’s business.

       3.      Employee Offers.

                (a)     At least five (5) days prior to the expected Closing Date, Buyer (or an
Affiliate thereof) shall provide Seller with a list of Seller Employees to whom it plans to offer
employment (the “Offer Employees”). Buyer shall make oral or written offers of employment to
such Offer Employees effective as of the Closing, and Sellers shall terminate the employment of
any such Offer Employee who is not on leave effective as of the Closing; provided, that,
notwithstanding anything in this Agreement to the contrary, Buyer shall not be required to make
an offer of employment to any Seller Employee (and shall have no obligation to hire any Seller
Employee). Such offers of employment shall be on such terms and subject to such conditions as
the Buyer determines in its sole discretion. All Offer Employees who accept employment with
Buyer and who subsequently commence employment with Buyer, pursuant to an offer described
either in this Section 3(a) or in Section 3(b) are referred to herein as “Transferring Employees”
and the date on which any Transferring Employee so commences employment shall be referred
to herein as such Transferring Employee’s “Transfer Date.” Seller shall reasonably cooperate
with Buyer in respect of Buyer’s efforts to hire and retain any Offer Employee who accepts an
offer of employment with Buyer.
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               (b)     With respect to any Offer Employee who is on leave as of the Closing
Date, Buyer shall make an offer of employment to such Offer Employee with Buyer, contingent
upon such Seller Employee’s return to active status within three (3) months following the
Closing Date or such longer period as may be required by applicable Law and Seller, if
applicable, shall terminate the employment of such Offer Employee on the date of their return to
active status.

               (c)    All Transferring Employees shall become employees of Buyer, effective
as of 11:59 p.m. Central Time on the applicable Transfer Date.

               (d)     Subject to applicable Legal Requirements, with respect to all accrued but
unused vacation or other paid time off for the Transferring Employees, Seller shall remain
responsible for payments to each Transferring Employee relating to such accrued but unused
vacation and other paid time off through the date that such Transferring Employee’s employment
with Seller terminates and Seller shall timely pay all such accrued and unused vacation or other
paid time off days to any Offer Employees and Buyer (or its Affiliate) shall have no Liability
with respect to any paid amounts under this section.

              (e)     Seller of its Affiliate will be solely responsible for any Liability related to
the WARN Act and any Seller Employees previous to, at and following Closing, other than with
respect to any Liability that arises solely as a result of Buyer terminating the employment of
Transferring Employees following the Closing.

                (f)      Buyer, on behalf of itself, its Affiliates and their respective
Representatives, hereby releases and agrees to indemnify, defend and hold harmless Seller
Group, Arena Offshore, LP and the other owners of interests in the Assets from and against any
and all Liabilities arising out of or relating to any material breach of this Exhibit G by Buyer or
its Affiliates.

                (g)    Seller shall take (or cause to be taken) all actions necessary or appropriate
ensure that each Transferring Employee who is a participant in any Benefit Plan that contains a
cash or deferred arrangement intended to qualify under Section 401(k) of the Code to be fully
vested in his or her accrued benefits under such Benefit Plan, effective as of the day immediately
prior to the Closing Date, subject to Closing, without regard to such Transferring Employee’s
period of service with Seller.

                 (h)    Nothing in the Agreement, express or implied, shall (i) be treated as an
amendment of any Benefit Plan or any employee benefit plan of Buyer; (ii) prevent Buyer or any
of its Affiliates from amending or terminating any compensation or benefit plan of Buyer or its
Affiliates on or after the Closing Date in accordance with their terms; (iii) prevent Buyer or any
of its Affiliates from modifying or terminating the employment or terms of employment of any
Transferring Employee; or (iv) confer upon any Person other than the Parties any rights or
remedies of any nature whatsoever, including any right to employment, any terms of
employment or continued employment for any period. No Person other than the Parties is a
third-party beneficiary or entitled to any other rights under this Exhibit G or under any other
provisions of the Agreement. Without limiting the foregoing, no provision of the Agreement
shall require Buyer to make available to any Person any specific or specific-level of health
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insurance or other insurance, severance, vacation, pension, compensation or other benefits;
provided, that it otherwise complies with its obligations pursuant to this Exhibit G.




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                                       EXHIBIT H

             Attached to and made a part of that certain Asset Purchase Agreement
        by and among Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
       and Sagamore Hill Holdings, LP, as Seller and San Juan Offshore, LLC, as Buyer

                              FORM OF MEMORANDUM

To be attached.
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                                   SCHEDULE 1.1(a)

     Attached to and made a part of that certain Asset Purchase Agreement by and among
              Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                        and Sagamore Hill Holdings, LP, as Seller
                           and San Juan Offshore, LLC, as Buyer


                         SELLER’S KNOWLEDGE PERSONS

Michael Vallejo
Keith Goodwin
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                                   SCHEDULE 1.1(b)


     Attached to and made a part of that certain Asset Purchase Agreement by and among
              Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                        and Sagamore Hill Holdings, LP, as Seller
                           and San Juan Offshore, LLC, as Buyer

                          BUYER’S KNOWLEDGE PERSONS


Michael Minarovic
Christopher Capsimalis
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                                  SCHEDULE 2.1(b)(xiii)

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer


                             OFFICES AND OFFICE LEASES

1. Office Lease between The Woodlands Development Company, L.P., Dated November 6,
2018, 2103 Research Forest Drive, The Woodlands, Texas 77380, re Rentable SF of 105,864,
Suites 200, 300, 400 (“Office Lease”);

2. First Amendment to Office Lease dated April 24, 2019;

3. Office Sublease (“Sublease”) between Arena Energy, LP and Arena Offshore, LP, dated
November 6, 2018, for Suite 200 of Office Lease;

4. First Amendment to Master Service Agreement between Arena Energy, LP and Rosefield
Pipeline Company, LLC re use/cost sharing of office space;

5. First Amendment to Master Service Agreement between Arena Energy, LP and White Fleet
Holdings, LLC re use/cost sharing of office space;

6. First Amendment to Third Amended and Restated Mutual Services Agreement between Arena
Energy, LP and Arena Offshore, LP re Sublease and use/cost sharing of office space.
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                                     SCHEDULE 2.1(b)(xvi)

     Attached to and made a part of that certain Asset Purchase Agreement by and among
              Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                        and Sagamore Hill Holdings, LP, as Seller
                           and San Juan Offshore, LLC, as Buyer

                             BANK AND ESCROW ACCOUNTS

BANK ACCOUNTS

       Company                           Bank                       Purpose             Account Number
Arena Energy, LP              Wells Fargo Bank, N.A.     Main Operating                   4945035632
Arena Energy, LP              Wells Fargo Bank, N.A.     AOP 2 Tracking Account           4121697734
Arena Energy, LP              Wells Fargo Bank, N.A.     AOP 3 Tracking Account           4125656538
Arena Energy, LP              Wells Fargo Bank, N.A.     Restricted Hedge Proceeds        4328980529
Arena Energy, LP              Hancock Whitney            Payroll                           46713025
Arena Exploration LLC         Wells Fargo Bank, N.A.     Operating                        4121244040
Sagamore Hill Holdings, LP    First Horizon Bank         Operating                         180245445


DECOMMISSIONING ESCROW ACCOUNTS
       Company                         Holder                 Account Number             Amount
Arena Energy, LP              Wells Fargo Bank, N.A.             39007200                   $103,894
Arena Energy, LP              US Bank                            222642000                  $100,835
Arena Energy, LP              Wells Fargo Bank, N.A.             85519700                   $108,087


SECURITY DEPOSITS
       Company                        Holder                          Purpose              Amount
Arena Energy, LP             Oil Insurance Ltd.        Cash collateral for OIL             $3,571,000
                                                       Insurance Withdrawal Liability
Arena Energy, LP             2103 Research Forest      Rent Deposit                          $191,094
                             Holding Co., LLC
Arena Energy, LP             Discovery Gas             Transportation Deposit                 $45,000
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                                      SCHEDULE 2.2(g)

        Attached to and made a part of that certain Asset Purchase Agreement by and among
                 Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                           and Sagamore Hill Holdings, LP, as Seller
                              and San Juan Offshore, LLC, as Buyer


                                  EXCLUDED CONTRACTS

None.
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                                      SCHEDULE 3.3

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                                 ALLOCATED VALUES


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                                                       Lease/Well   Allocated Value
           Field                      Block
                                                         Name       ($/Thousands)
EAST CAMERON 328           EC 328                     OCS 10638                   -136
EUGENE ISLAND 058          EI 58                      OCS 02895                   -495
EUGENE ISLAND 099          EI 99                      OCS 31369                   -550
EUGENE ISLAND 100          EI 100                     OCS 00796                 -2,032
EUGENE ISLAND 182          EI 182                     OCS 04452                  7,535
EUGENE ISLAND 208/215      EI 215 E/2                 OCS 00578                 -2,405
EUGENE ISLAND 227          EI 227                     OCS 36745                 -1,675
EUGENE ISLAND 231          EI 231                     OCS 00980                   -299
EUGENE ISLAND 238          EI 237                     OCS 00981                   -445
EUGENE ISLAND 238          EI 252                     OCS 00983                 -2,078
EUGENE ISLAND 238          EI 229                     OCS 05505                      0
EUGENE ISLAND 238          EI 253                     OCS 10741                   -626
EUGENE ISLAND 251/262      EI 251                     OCS 03331                    -21
EUGENE ISLAND 251/262      EI 261                     OCS 36208                     -8
EUGENE ISLAND 251/262      EI 262                     OCS 36209                    -13
EUGENE ISLAND 276          EI 276                     OCS 00989                17,655
EUGENE ISLAND 276          EI 275                     OCS 24910                  4,130
EUGENE ISLAND 314          EI 314 S/2                 OCS 02111                  4,282
EUGENE ISLAND 314          EI 332                     OCS 02613                      0
EUGENE ISLAND 314          EI 314 N/2                 OCS 33636                  2,883
EUGENE ISLAND 330 NON-OP EI 315 S/2 & EI 316          OCS 02112                   -786
EUGENE ISLAND 338 (RIKER)  EI 338                     OCS 02118                16,667
EUGENE ISLAND 338 (RIKER)  EI 339                     OCS 02318                13,646
EUGENE ISLAND 338 (RIKER)  EI 340                     OCS 36212                  1,893
EUGENE ISLAND 341          EI 341                     OCS 02914                  9,970
EUGENE ISLAND 346          EI 346                     OCS 14482                   -337
GALVESTON ISLAND 209       GA 192                     OCS 03229                    229
GALVESTON ISLAND 209       HI 193 & HI 179 & GA 180   OCS 03237                   -236
GALVESTON ISLAND 209       GA 209                     OCS 06093                  7,073
HIGH ISLAND A-545          HIA 547 "Shallow Oil"      OCS 02705                   -974
HIGH ISLAND A-547 DEEP     HIA 547 "Deep Gas"         OCS 02705                  1,460
MAIN PASS 120 AREA         MP 120                     OCS 03197                 -3,891
MAIN PASS 123              MP 123                     OCS 12088                 -2,009
MISSISSIPPI CANYON 268     MC 311                     OCS 02968                    257
MISSISSIPPI CANYON 800     MC 800                     OCS 18292                  1,652
SOUTH MARSH ISLAND 192     SM 192                     OCS 24878                 -2,080
SOUTH PASS 83              SP 83                      OCS 05052                 -2,436
SOUTH PELTO 25             PL 25                      OCS 14535                 -1,398
SOUTH TIMBALIER 036        ST 36                      OCS 02624                 -1,479
SOUTH TIMBALIER 036        ST 35                      OCS 03336                 -1,668
SOUTH TIMBALIER 037        ST 37                      OCS 02625                13,256
SOUTH TIMBALIER 037        ST 38                      OCS 09637                  2,151
SOUTH TIMBALIER 052        ST 51                      OCS 01240                 -1,239
SOUTH TIMBALIER 052        ST 52                      OCS 01241                 -2,525
SOUTH TIMBALIER 131 (DEEP) ST 130                     OCS 00456                   -143
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                                               Lease/Well   Allocated Value
           Field                      Block
                                                 Name       ($/Thousands)
SOUTH TIMBALIER 131 (DEEP)   ST 131           OCS 00457                   -764
SOUTH TIMBALIER 135 (DEEP)   ST 134           OCS 00461                 -1,048
SOUTH TIMBALIER 135 (DEEP)   ST 135           OCS 00462                   -361
SOUTH TIMBALIER 135 (DEEP)   ST 151           OCS 00463                 -2,344
SOUTH TIMBALIER 135 (DEEP)   ST 152           OCS 00464                   -311
SOUTH TIMBALIER 135 (DEEP)   ST 129           OCS 00498                   -368
SOUTH TIMBALIER 148 (DEEP)   ST 148           OCS 01960                   -693
SOUTH TIMBALIER 161          ST 161           OCS 01248                    210
SOUTH TIMBALIER 176 (DEEP)   ST 177           OCS 01260                    208
SOUTH TIMBALIER 176 (DEEP)   ST 189           OCS 01572                  1,102
SOUTH TIMBALIER 176 (DEEP)   ST 188           OCS 01899                     49
VERMILION 071 AREA           VR 71            OCS 21592                   -446
VERMILION 072                VR 72            OCS 27851                   -628
VERMILION 342                VR 341           OCS 33607                     69
VERMILION 342                VR 342           OCS 33608                    474
VERMILION 342                VR 325           OCS 36200                     99
WEST CAMERON 543/544         WC 543           OCS 12802                    -69
WEST CAMERON 543/544         WC 544           OCS 14342                 -1,447
WEST CAMERON 543/544         WC 522           OCS 34033                   -370
WEST DELTA 072               WD 72            OCS 01082                   -370
WEST DELTA 086               WD 86            OCS 04243                   -503
WEST DELTA 117               WD 117           OCS 35951                 -1,658
WEST DELTA 133               WD 133           OCS 01106                    412
Grand Total                                                            64,000
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                                        SCHEDULE 5.3

        Attached to and made a part of that certain Asset Purchase Agreement by and among
                 Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                           and Sagamore Hill Holdings, LP, as Seller
                              and San Juan Offshore, LLC, as Buyer


                                       NO CONFLICTS

None.
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                                      SCHEDULE 5.8

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                CONSENTS AND PREFERENTIAL PURCHASE RIGHTS


See attached.
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                                     Agreement                    Provision
Area    Block         Parties                          Date                                                     Terms                                             Comment                          Requirement
                                       Type                       Number


                                                                               Transfer of Interest shall be preceded by written notice to the Operator
                                      Offshore
                                                                               and the other Parties. Any Transfer of Interest shall be made to a party        Tana/AE current
EC       328      Maritech/AOL       Operating        1/1/2005      26.1                                                                                                                           Written Notice
                                                                              financially capable of assuming the corresponding obligations under this             parties
                                     Agreement
                                                                                                             Agreement.

                                     Production                                Producer shall not assign, convey or transfer any of its rights, privileges,
                    AOL/Tana-                                                                                                                                    AOL/Tana-
EC       328                          Handling        1/1/2012      21.1      duties and/or obligations, in whole or part without prior written consent o                                       Prior written consent
                  Peregrine/Entek                                                                                                                                 Peregrine
                                     Agreement                                                              the Processor.



                                                                               Any proposed Transfer of Interest shall be preceded by written notice to
                                      Offshore
                  AOL/Northstar                                                 the other Parties …and the proposed Transfer of Interest shall not be
EI     38/57/58                      Operating       10/18/2004     26.1                                                                                AOL/ANKOR Etal              Prior written notice and prior written consent
                      Etal                                                        effective until the other Parties hereto have provided their written
                                     Agreement
                                                                                                               consent…



                                                                               Transfer of Interest. A Party may sell, farmout, transfer or assign all or
                                                                                   any part of its interest in the Lease, provided that: (a) its made to
                                      Offshore                                 financially responsible party or parties; (b) Party provides copy of fully                                             Copy of
                                                                                                                                                                AE/ Fieldwood
 EI      174      Newfield/Vastar    Operating       4/14/1995      25.2           executed assignment/farmout agreement within 30 days after all                                                 FO/assignment
                                                                                                                                                                   current
                                     Agreement                                  signatures have been obtained; (c) Provision stating that sale, farmout,                                      within 30 days to parties
                                                                               assignment, etc. made subject to this OOA and will provide transferee's
                                                                                      written consent to be bound by the provisions of the OOA.


                                                                               This Agreement may not be assigned, either in whole or in part, without
                                                                              the express written consent of the non-assigning Party; provided however
                                                                                 this restriction on assignment does not apply to the assignment of the
                                                                                   Properties. The terms, covenants and conditions contained in this    AE/MMR current
 EI    215 E2     Texaco/MMR            PSA          12/1/1999      19.8                                                                                                                          Written consent
                                                                               Agreement are binding upon and inure to the benefit of Seller and Buyer      parties
                                                                                and their respective successors and assigns, and such terms, covenants
                                                                                   and conditions are covenants running with the land and with each
                                                                                           subsequent transfer or assignment of the Properties.


                                                                                  No party may assign or otherwise convey any of its rights, titles, or
                                                                              interests under this Agreement to any other third party without the written
                                                                              consent of the other party hereto, which consent shall not be unreasonabl
                                                                                 withheld. The assigning party shall provide written notice to the other Agreement in effect
                                     Lateral Line
 EI    215 E2     Transco/MMR                        11/8/2004     VIII.B        party with the name and address of the third party to whom it plans to but Arena no longer                     Prior written consent
                                     Interconnect
                                                                               assign all or a portion of its interest in this Agreement. Within thirty (30) utilizes it.
                                                                                days from receipt of such notice, the receiving party shall either provide
                                                                              its consent or a written explanation of its reasons for not consenting to th
                                                                                                                assignment.
                                     Interruptible
                                                                                                                                                              Agreement in effect
                                    Transportation                              This Agreement shall not be assigned by either party without the prior
EI     215 E2     Williams/MMR                        6/1/2001       10                                                                                       but Arena no longer               Prior written consent
                                         Rates                                                  written consent of the other party.
                                                                                                                                                                   utilizes it.
                                     #210573000



                                                                                 Either party may assign or otherwise convey any of its rights, title, or
                                       Lateral                                                                                                            Agreement in effect
                      WFS-                                                     interest under this Agreement to any third party, provided it has obtained
EI     215 E2                        Dehydration      6/1/2001       13                                                                                   but Arena no longer                   Prior written consent
                  Liquids/MMR                                                 the prior written consent of the other party hereto, which consent shall no
                                       Service                                                                                                                 utilizes it.
                                                                                                      be unreasonably withheld.
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                                                                                         No assignment of this Agreement by Plant Supplier shall affect or bind
                                                                                         Processor until Processor has been furnished at its address given above,
                                                                                                                                                                  Agreement in effect
                                                   Gas Processing                         with the original recorded instrument or a certified copy of a recorded
EI          215 E2            Enterprise/MMR                         1/1/2011    XI.6                                                                             but Arena no longer                     Written notice
                                                   & Fractionation                         copy thereof, under which the assignment takes place, if a recorded
                                                                                                                                                                       utilizes it.
                                                                                          instrument is required in connection with such assignment, or with a
                                                                                               written notice of the assignment, if no recording is required



                                                                                         No assignment of this Agreement by Plant Supplier shall affect or bind
                                                                                         Processor until Processor has been furnished at its address given above,
                                                                                                                                                                  Agreement in effect
                                                   Gas Processing                         with the original recorded instrument or a certified copy of a recorded
EI         215 W2             Enterprise/ Tarpon                     2/1/2009    XII.5                                                                            but Arena no longer                     Written notice
                                                   & Fractionation                         copy thereof, under which the assignment takes place, if a recorded
                                                                                                                                                                       utilizes it.
                                                                                          instrument is required in connection with such assignment, or with a
                                                                                               written notice of the assignment, if no recording is required

                                                                                           This Agreement is binding on and inures for the benefit of the rightful
                                                                                         successors and permitted assigns of the Parties, but the rights, duties and
EI          215 E2             Chevron/Arena            PSA          10/1/2014   24.5    obligations of Buyer under this Agreement may not be assigned, in whol                                       Prior written consent
                                                                                         or in part, without Seller's prior consent to the assignment, which consent
                                                                                                        will not be unreasonably delayed or withheld


                                                                                          Transfer of Interest shall be preceded by written notice to the Operator
                                                      Offshore
                                Unocal/Kerr-                                              and the other Parties. Any Transfer of Interest shall be made to a party
EI            276                                    Operating       5/22/2002   26.1                                                                                                                     Written notice
                                  McGee                                                  financially capable of assuming the corresponding obligations under this
                                                     Agreement
                                                                                                                        Agreement.




                                                                                           This Agreement is binding on and inures for the benefit of the rightful
                                                                                         successors and permitted assigns of the Parties, but the rights, duties and
      215, 341, 330 Field
EI                             Chevron/Arena            PSA          10/1/2014   24.5    obligations of Buyer under this Agreement may not be assigned, in whol                                       Prior written consent
             Units
                                                                                         or in part, without Seller's prior consent to the assignment, which consent
                                                                                                        will not be unreasonably delayed or withheld.




                                                                                         After Closing, Buyer shall provide ExxonMobil with prior written notice
EI   314, 332, EI 330 Field     Exxon/Arena             PSA          6/1/2011    27.06                                                                                                                 Prior written notice
                                                                                                                 of transfer of interest




EI   314, 332, EI 330 Field     Exxon/Arena             PSA          6/1/2011     14      Exxon for the life of the lease has the right to purchase the oil and gas                     Pref Rt Exxon has the right to purchase oil and gas




                                                                                          Transfer of Interest shall be preceded by written notice to the Operator
                                                      Offshore
                                 Newfield/                                                and the other Parties. Any Transfer of Interest shall be made to a party Arena/Ridgewood
EI            346                                    Operating       3/15/2007   26.1                                                                                                                     Written notice
                                 Ridgewood                                               financially capable of assuming the corresponding obligations under this   current parties
                                                     Agreement
                                                                                                                        Agreement.
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                                                                                 After Closing, Buyer shall provide ExxonMobil with prior written notice
                                                                                    at the address listed in Article 23 (ExxonMobil Upstream Business
                                                                                  Development Company, 22777 Springwoods Village Parkway, Spring,
                                                                                 TX 77389, Attention: Divestment Manager) of any assignment of rights
         GA 209, GA 192/ HI                                                      and obligations under this Agreement to a transferee of all or any portion
GA/HI/
         193, HI 179 Unit/WD   Exxon/Arena       PSA        1/1/2019    27.05   of the Interests; provided, however, no assignment or delegation by Buye                             Prior written notice
WD/MC
         72, WD 73/ MC 311                                                        of its rights and obligations under this Agreement shall serve to release
                                                                                Buyer from such rights or obligations in the absence of an express release
                                                                                by ExxonMobil. Buyer shall deliver to ExxonMobil copies of any and all
                                                                                   such assignments or delegation agreements within thirty (30) days of
                                                                                                                  execution.




                                                                                     …any conveyance to a third party must be approved by Parties               Chevron/Arena
  HI            A547           Pennzoil/Etal      OA        7/1/1974    XXVI                                                                                                      Approval by 51% interest
                                                                                                   respresenting 51% interest                                   current parties




                                                                                Transfer of Interest preceded by written notice to the Operator and other
                                                Offshore
                                 AOL and                                          Parties. Any transfer shall be made to a party financially capable of
  HI            A547                           Operating    1/1/2013    26.1                                                                                                         Prior written notice
                               AE and Walter                                       assuming the corresponding obligations and liabilities under this
                                               Agreement
                                                                                                              Agreement.




                                                                                Producer shall not have the right to assign its rights and obligation in this
                                               Production                          Agreement in whole or in part to any third party without the written
                                 AOL and
  HI            A547                            Handling    1/1/2015    20.1                            consent of the Processors.                                                  Prior written consent
                               AE and Walter
                                               Agreement                        Processor can assign its interest, however, needs to provide producer with
                                                                                                              written notice.



                                                                                A transfer of interest shall be preceded by written notice to the Operator
                                                                                and the other Parties. No transfer shall be made unless the prior written
                                                Offshore                            consent of the other parties is obtained which consent shall not be
 MP         120, 122, 236       Arena/PVI      Operating    3/27/2007   26.1    unreasonably withheld. Arena hereby consent to any Transfer of Interest         PVI in Default      Prior written consent
                                               Agreement                        from PVI to PV, LLC and Wells Fargo Energy. PVI hereby consents to
                                                                                   any Transfer of Interest from Arena to Arena Offshore, LLC and/or
                                                                                                          Arena Offshore I, LP.




                                                                                  Buyer further agrees to give Seller notice before Buyer transfers, sells,
                                               Asset Sale
 MP         120, 122, 236      Chevron/PVI                  3/1/2001    12.7     assigns, subleases or delegates any rights or interest acquired under this                          Prior written notice
                                               Agreement
                                                                                                               Agreement.




                                                                                  Transfer of Interest shall be preceded by written notice to the Operator
                                                Offshore
                               Newfield/Deep                                      and the other Parties. Any Transfer of Interest shall be made to a party W&T/AEX/ Kosmos/
 MC             800                            Operating    1/23/2007   24.1                                                                                                         Prior written notice
                                 Gulf, ATP                                       financially capable of assuming the corresponding obligations under this CL&F current parties
                                               Agreement
                                                                                                                Agreement.
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                                                                                                        Preferential Right 30 days after receipt of transfer notice;
                                                                                                    Preferential Right does not apply if: 1)party proposes to mortgage,
                                                                                                 pledge, hypothecate, or grant a security interest in all or a portion of its
                                                                                                  working interest or grants an overriding royalty, net profits interest or
                                                             Offshore
                                         Newfield/Deep                                          production payment, 2) disposes of interest by a merger, reorganization, W&T/AEX/ Kosmos/
  MC                 800                                    Operating     1/23/2007    24.2.2                                                                                                       Pref Right does not apply, but prior notice must still be provided
                                           Gulf, ATP                                            or consolidation or by transfer of substantially all of a Party's explorationCL&F current parties
                                                            Agreement
                                                                                                   and production properties in the GOM, or by transfer to an affiliate,
                                                                                                  provided that if Affiliate ceases to be an Affiliate within 1 year, rights
                                                                                                                                   shall
                                                                                                               immediately be re-assigned to original Party.




                                        Murphy, Callon,     Production
                                                                                                                                                                              Murphy/Callon/ENI
                                        ENI, Medusa and    Handling and                         Producer shall not have the right to assign its rights and obligation in this
                                                                                                                                                                                Medusa/W&T/
  MC                 800                 Newfield, Deep     Operating      1/2/2010    22.1       Agreement in whole or in part to any third party without the written                                                      Written consent
                                                                                                                                                                              Kosmos/AEX/CL&F
                                        Gulf, Arena Exp      Services                                     consent of the Property Owners and Spar Owners.
                                                                                                                                                                                current parties
                                          ATP, CL&F         Agreement

            GI 85, ST 130, ST 131,
           ST 128, ST 129, ST 134,
           ST 135, ST 151, ST 152,
           ST 148, ST 176, ST 177,
            ST 188, ST 189, ST 35,                                                                This Agreement is binding on and inures for the benefit of the rightful
           ST 36, ST 30, ST 37, ST                                                              successors and permitted assigns of the Parties, but the rights, duties and
             38, ST 30/37 Unit, ST                                                                                                                                          Chevron/AE/AOL
GI/ST/EI                                  Chevron/AE          ASPA         9/1/2016    24.5     obligations of Buyer under this Agreement may not be assigned, in whol                                                       Prior consent
           37/48 Unit, ST 51, ST 52,                                                                                                                                         current parties
                                                                                                or in part, without Seller's prior consent to the assignment, which consent
           EI 338, EI 339, EI 214, EI
            230, EI 231, EI 229, EI                                                                            will not be unreasonably delayed or withheld.
            237, EI 238, EI 252, EI
              253, EI 275, EI 276




                                                                                                 Transfer of Interest shall be preceded by written notice to the Operator
                                                             Offshore
                                                                                                 and the other Parties. Any Transfer of Interest shall be made to a party AE/Walter current                                  Written notice
  ST                35/36               Chevron/Walter      Operating     12/30/2004   25.1
                                                                                                financially capable of assuming the corresponding obligations under this      parties
                                                            Agreement
                                                                                                                               Agreement.




                                                                                                Preferential Right. 15 days after receipt of transfer notice, non-assigning
                                                                                                                               Party may

                                                             Offshore                           Preferential Right does not apply if party proposes to mortgage, pledge,
                                                                                                                                                                             AE/Walter current
  ST                35/36               Chevron/Walter      Operating     12/30/2004   25.2.2   hypothecate, or grant a security interest in all or a portion of its working                        Pref Right does not apply, but prior notice must still be provided
                                                                                                                                                                                 parties
                                                            Agreement                           interest or grants an overriding royalty, net profits interest or production
                                                                                                     payment. Disposes of interest by a merger, reorganization, or
                                                                                                 consolidation or by Transfer of substantially all of a Party's exploration
                                                                                                  and production properties in the GOM, or by transfer to an affiliate.




                                                                                                The interest of any party hereto may be assigned or transferred, in whole
                                                                                                 or in part, and the terms of this Agreement shall be covenants running
                                          CK Marine/
                                                                                                with interests in the Joint Lease. However, prior to any such assignment
                                        Bethlehem Steel/                                                                                                                          AE/AOL/
                                                                                                or transfer the party proposing to assign or transfer its interest, in whole
                                          Candel Oil/                                                                                                                        Fieldwood/Wichita
                                                            Operating                           or in part, in and to this Agreement shall notify the other party(is) hereto
  ST                 148                Chevron/Four M/                   4/23/1975     XX                                                                                    W&T Offshore/                                  Written notice
                                                            Agreement                               in writing of the proposed assignment or transfer and shall pay to
                                          Deco/St Joe                                                                                                                         W&T Energy VI
                                                                                                 Operator any and all sums then due and payable by it hereunder. Any
                                          Petroleum/                                                                                                                           current parties
                                                                                                    such assignment or transfer shall contain a provision making said
                                            Transco
                                                                                                   assignment or transfer subject to this agreement and assignee shall
                                                                                                           assume all obligations and liabilities of the assignor.
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                                                                       Producers shall not, except to such Producers' affiliates, or financing
                                                                      entities as part of a financing arrangement, assign, convey, transfer, or
                    AE ST 161/AOL
ST       161                            PHA       7/19/2017          hypothecate any of its rights, pricileges, duties or obligations, in whole or                         Written Consent
                        ST 151
                                                                     part, under this Agreement without fir notifying Processor in writing and
                                                                                           receiving Processor's approval.




                                                                        Except for assignments to affiliates of Farmee, internal partners of
                                                                        Farmee or financial instituions as part of a financing arrqangement,
ST       161         Apache/Arena       FOA       7/21/2003   VII                                                                                                          Written consent
                                                                     Farmee may not assign any rights under this Agreement without the prior
                                                                                            written consent of Farmor




                                                                      Transfer of Interest shall be preceded by written notice to the Operator
                                       Offshore
                                                                                                    and the other
VR       72           AOL/ AEX        Operating   2/1/2006    26.1                                                                                                          Written notice
                                                                        Parties. Any Transfer of Interest shall be made to a party financially
                                      Agreement
                                                                     capable of assuming the corresponding obligations under this Agreement.



                                                                     A party may not sell, transfer, farm out, assign or otherwise dispose of all
                                       Offshore
                                                                      or part of its interest in the Leases without prior written consent of the
VR   325/341/ 342   Peregrine/Entek   Operating   4/26/2010   26.3                                                                                AE/AOL/Peregrine         Written notice
                                                                     other Parties. Written notice of the transfer at least 15 days prior to the
                                      Agreement                                                                                                    current parties
                                                                                                    date of transfer.




                                                                      A party may sell, farmout, transfer or assign all or any part of its interest
                                                                     in the Lease provided that such sale, farmout, transfer or assignment shal
                                                                        be made only to a financially responsible Party or Parties. Such Party
                                                                                                                                                                               Copy of
                      Newfield/       Operating                              shall provide the other Parties a copy of the fully executed
WD       133                                      6/1/2004    25.2                                                                                    Renaissance/AE       FO/assignment
                      Triumph         Agreement                       assignment/farmout agreement within 30 days after all signatures on the
                                                                                                                                                                       within 30 days to parties
                                                                      assignment/farmout agreement have been obtained and that such transfer
                                                                      is made expressly subject to this agreement and furnish such transferee's
                                                                              written consent to be bound by all provisions of this OA.
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                                      SCHEDULE 5.9(a)

        Attached to and made a part of that certain Asset Purchase Agreement by and among
                 Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                           and Sagamore Hill Holdings, LP, as Seller
                              and San Juan Offshore, LLC, as Buyer


                           MATERIAL CONTRACTS BREACHES

None.
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                                    SCHEDULE 5.9(b)

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                                MATERIAL CONTRACTS


See attached.
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Area/ Block     Lease               Agreement                  Effective                 Parties
                                                                 Date


East Cameron    OCS-G      Offshore Operating Agreement         1/1/2005    Maritech Resources, Inc. and Arena
     328        10638                                                                 Offshore, LLC


East Cameron    OCS-G            Option Agreement              11/23/2004   Maritech Resources, Inc. and Arena
     328        10638                                                                 Offshore, LLC


East Cameron    OCS-G     Amendment to Option Agreement        10/12/2005   Maritech Resources, Inc. and Arena
     328        10638                                                                 Offshore, LLC


East Cameron    OCS-G         Participation Agreement          11/23/2004   Maritech Resources, Inc. and Arena
     328        10638                                                                 Offshore, LLC


East Cameron    OCS-G   Amendment to Participation Agreement   1/28/2005    Maritech Resources, Inc. and Arena
     328        10638                                                                 Offshore, LLC


East Cameron    OCS-G     Amendment to 1/1/2005 Offshore       9/16/2011    Tana Exploration Company LLC and
     328        10638         Operating Agreement                                  Arena Offshore, LLC


East Cameron    OCS-G      Production Handling Agreement        1/1/2012    Arena Offshore, LLC, Peregrine Oil
     328        10638                                                         & Gas II, LLC and Entek USA
                                                                                      General LLC

East Cameron    OCS-G    Amendment to Production Handling       5/1/2014    Arena Offshore, LP, Peregrine Oil &
     328        10638              Agreement                                 Gas II, LLC and Arena Energy, LP


East Cameron    OCS-G     Second Amendment to Production       9/11/2019    Arena Offshore, LP, Peregrine Oil &
     328        10638          Handling Agreement                            Gas II, LLC and Arena Energy, LP


East Cameron    OCS-G           Precedent Agreement            12/30/2016   Stingray Pipeline Company, L.L.C.
     328        10638


Eugene Island   OCS-G          Acquisition Agreement           1/16//2004   Arena Offshore, LLC and Northstar
     38         24883                                                             Gulfsands, LLC, Etal


Eugene Island   OCS-G     Prospect Area Offshore Operating     10/18/2004   Arena Offshore, LLC and Northstar
     38         24883                Agreement                                    Gulfsands, LLC, Etal




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Eugene Island   OCS-G        Acquisition Letter Agreement      5/5/2008      Chevron U.S.A. Inc., Union Oil
     38         24883                                                        Company o California and Arena
                                                                                     Energy, LLC

Eugene Island   OCS-G        Purchase and Sale Agreement       6/1/2018     GS E&R American Offshore, LLC
     38         24883                                                           and Arena Energy, LP


Eugene Island   OCS-G           Evaluation Agreement           5/8/2008         Northstar GOM, Gulfsands
     38         24883                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC

Eugene Island   OCS-G     Amendment to Evaluation Agreement    1/28/05          Northstar GOM, Gulfsands
     38         24883                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC

Eugene Island   OCS-G       Resignation as Processor under    10/22/2019    ANDKOR E&P Holdings, Entech
     38         24883      Terminating Production Handling                 Enterprises Inc., SCL Resources Inc.,
                                      Agreement                                  Sanare Energy Partners

Eugene Island   OCS-G      Prospect Area Offshore Operating   10/18/2004   Arena Offshore, LLC and Northstar
     57          02601                Agreement                                  Gulfsands, LLC, Etal
                Expired

Eugene Island   OCS-G           Evaluation Agreement           5/8/2008         Northstar GOM, Gulfsands
     57          02601                                                      Petroleum, Entech Enterprises and
                Expired                                                            Arena Energy, LLC

Eugene Island   OCS-G     Amendment to Evaluation Agreement    1/28/05          Northstar GOM, Gulfsands
     57          02601                                                      Petroleum, Entech Enterprises and
                Expired                                                            Arena Energy, LLC

Eugene Island   OCS-G        Purchase and Sale Agreement       6/1/2018     GS E&R American Offshore, LLC
     57          02601                                                          and Arena Energy, LP
                Expired

Eugene Island   OCS-G       Resignation as Processor under    10/22/2019    ANDKOR E&P Holdings, Entech
     57          02601     Terminating Production Handling                 Enterprises Inc., SCL Resources Inc.,
                Expired               Agreement                                  Sanare Energy Partners

Eugene Island   OCS-G      Prospect Area Offshore Operating   10/18/2004   Arena Offshore, LLC and Northstar
     58         02895                 Agreement                                  Gulfsands, LLC, Etal


Eugene Island   OCS-G           Evaluation Agreement           5/8/2008         Northstar GOM, Gulfsands
     58         02895                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC

Eugene Island   OCS-G     Amendment to Evaluation Agreement    1/28/05          Northstar GOM, Gulfsands
     58         02895                                                       Petroleum, Entech Enterprises and
                                                                                   Arena Energy, LLC


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Eugene Island   OCS-G        Purchase and Sale Agreement           6/1/2018     GS E&R American Offshore, LLC
     58         02895                                                               and Arena Energy, LP


Eugene Island   OCS-G       Resignation as Processor under        10/22/2019     ANKOR E&P Holdings, Entech
     58         02895      Terminating Production Handling                     Enterprises Inc., SCL Resources Inc.,
                                      Agreement                                      Sanare Energy Partners

Eugene Island   OCS-G   Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
     58         02895            Purchase Agreement


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
     99         31369                  amended                                           Energy, LLC


Eugene Island   OCS-G   Master License Agreement, as amended      6/10/2002    Fairfield Industries Incorporated and
     99         31369                                                                   Arena Energy, LLC


Eugene Island   OCS-G       Production Handling Agreement         12/1/2010      Arena Offshore, LLC and Arena
     99         31369                                                           Energy, LLC/Arena Offshore, LLC


Eugene Island    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    100         00796                  amended                                           Energy, LLC


Eugene Island    OCS         Offshore Operating Agreement         2/13/2004        Arena Offshore, LLC, SPN
    100         00796                                                          Resources, LLC and Triumph Energy,
                                                                                              LLC

Eugene Island    OCS         Purchase and Sale Agreement          2/13/2004       Apache Corporation and SPN
    100         00796                                                                     Resources


Eugene Island    OCS         Purchase and Sale Agreement          2/13/2004     SPN Resources, Triumph Energy,
    100         00796                                                            LLC and Arena Offshore, LLC


Eugene Island    OCS             Exchange Agreement               12/1/2007    SPN Resources, Arena Energy, LLC
    100         00796                                                              and Arena Offshore, LLC


Eugene Island    OCS        Production Handling Agreement         12/1/2010    Arena Energy, LLC, Arena Offshore,
    100         00796                                                              LLC and Arena Exploration


Eugene Island    OCS     Oil Gathering and Reserve Dedication     7/11/2019        Renaissance Offshore, LLC
    100         00796                 Agreement




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Eugene Island   OCS-G          Offshore Operating Agreement         4/14/1995    Newfield Exploration Company and
    174         03782                                                                  Vastar Resources, Inc.


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    174         03782                                                               LP and Arena Offshore, LP


Eugene Island   OCS-G        Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    174         03782                Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G     Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    174         03782                 Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G      Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    174         03782                 Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G      Joint Operating Agreement attached to     6/1/1993      Newfield Exploration Company
    181          04451            Participation Agreement
                Expired

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    182         04452                    amended                                           Energy, LLC


Eugene Island   OCS-G           Joint Operating Agreement            6/1/1993      Newfield Exploration Company
    182         04452


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    182         04452                                                               LP and Arena Offshore, LP


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012    Diverse Offshore, Arena Energy, LP
    182         04452                                                                  and Arena Offshore, LP


Eugene Island   OCS-G          Purchase and Sale Agreement           7/1/2012     CL&F Resources, Piquant, Arena
    182         04452                                                            Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G        Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    182         04452                Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G     Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    182         04452                 Agreement                                     LP and Arena Offshore, LP




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Eugene Island   OCS-G    Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    182         04452               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           3/1/2014    Fidelity Oil, Arena Energy, LP and
    182         04452                                                                  Arena Offshore, LP


Eugene Island   OCS-G         Gas Dehydration Agreement           12/1/2000    Enterprise Products Operating LLC
    182         04452


Eugene Island   OCS-G       Gas Processing Commitment and         12/27/2002     Lone Star NGL Sea Robin LLC
    182         04452            Dedication Agreement


Eugene Island   OCS-G              Oil Sales Contract              3/1/2020     BP Oil Supply (BP Products North
    182         04452                                                                      America)


Eugene Island   OCS-G        Operation and Maintenance of          7/1/1994    Sea Robin Pipeline Company, LLC
    182         04452          Measurement Facilities


Eugene Island   OCS-G              Tie-In Agreement               10/31/1983          Crimson Gulf, LLC
    182         04452


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018     Rosefield Pipeline Company, LLC
    182         04452                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019     Rosefield Pipeline Company, LLC
    182         04452


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019     Rosefield Pipeline Company, LLC
    182         04452


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    214         00977                  amended                                           Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813         10/6/1966     U.S.A. and Chevron Oil Company
    214         00977


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         5/21/1973     U.S.A. and Chevron Oil Company
    214         00977               0001-8813




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Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         11/29/1983    U.S.A. and Chevron Oil Company
    214         00977               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
    214         00977                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
    214         00977               Sale Agreement                              Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
    214         00977                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS     Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    215                                amended                                           Energy, LLC
                00578

Eugene Island   OCS          Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    215                                                                           LP and Arena Offshore, LP
                00578

Eugene Island   OCS        Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    215                            Agreement                                      LP and Arena Offshore, LP
                00578

Eugene Island   OCS     Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    215                             Agreement                                     LP and Arena Offshore, LP
                00578

Eugene Island   OCS      Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    215                             Agreement                                     LP and Arena Offshore, LP
                00578

Eugene Island   OCS       Asset Purchase and Sale Agreement       10/1/2014      Chevron U.S.A. Inc., Chevron
    215                                                                          Pipeline and Arena Energy, LP
                00578

Eugene Island   OCS      Oil Gathering and Reserve Dedication     8/30/2018     Rosefield Pipeline Company, LLC
    215                               Agreement
                00578

Eugene Island   OCS             Connection Agreement              3/18/2019     Rosefield Pipeline Company, LLC
    215
                00578

Eugene Island   OCS        Incentive And Discount Agreement       3/18/2019     Rosefield Pipeline Company, LLC
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Eugene Island    OCS          Gas Processing & Fractionation        1/1/2011     Enterprise Gas Processing, LLC
    215                                Agreement
                00578

Eugene Island    OCS             Lateral Line Interconnect,         5/3/2000     Transcontinental Gas Pipeline ||
    215                        Reimbursement and Operating                       Williams Field Services (WFS)
                00578
                                         Agreement

Eugene Island    OCS            Lateral Line Interconnect,          11/8/2004     Transcontinental Gas Pipeline
    215                      Reimbursement, Construction, and
                00578
                                  Operating Agreement

Eugene Island    OCS         Successor Natural Gas Processing       12/1/2012    Targa Midstream Services LLC
    215                                Agreement
                00578

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    215         26033                    amended                                         Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          1/1/2015    Tarpon Operating & Development
    215         26033                                                                and Arena Energy, LP


Eugene Island   OCS-G        Amendment to Purchase and Sale         1/1/2015    Tarpon Operating & Development
    215         26033                Agreement                                       and Arena Energy, LP


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    217         36743                    amended                                         Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    217          00978                                                          Energy, LP and Arena Offshore, LP
                Expired

Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    227          00809                                                          Energy, LP and Arena Offshore, LP
                Expired

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    227         36745                    amended                                         Energy, LLC


Eugene Island   OCS-G      Oil Gathering and Reserve Dedication     8/30/2018   Rosefield Pipeline Company, LLC
    227         36745                   Agreement


Eugene Island   OCS-G             Connection Agreement              3/18/2019   Rosefield Pipeline Company, LLC
    227         36745




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Eugene Island   OCS-G      Incentive And Discount Agreement        3/18/2019    Rosefield Pipeline Company, LLC
    227         36745


Eugene Island   OCS-G           Connection Agreement                8/1/2007          W&T Offshore Inc.
    227         36745


Eugene Island   OCS-G   Construction, Operation and Interconnect   12/15/1989   Kinetica Deepwater Express, LLC
    227         36745                  Agreement


Eugene Island   OCS-G      Production Scheduling Agreement         2/15/2002    Kinetica Deepwater Express, LLC
    227         36745


Eugene Island   OCS-G        Products Purchase Agreement            3/1/2009     Enterprise Gas Processing, LLC
    227         36745


Eugene Island   OCS-G   Master Offshore Operating Agreement, as    10/1/2003    Arena Offshore, LLC and Arena
    229         05505                  amended                                          Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement         9/1/2016     Chevron U.S.A. Inc., Union Oil
    229         05505                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G           Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    229         05505                                                           Company of California and Arena
                                                                                          Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as    10/1/2003    Arena Offshore, LLC and Arena
    230         00979                  amended                                          Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813          10/6/1966    U.S.A. and Chevron Oil Company
    230         00979


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-          5/21/1973    U.S.A. and Chevron Oil Company
    230         00979               0001-8813


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-          11/29/1983   U.S.A. and Chevron Oil Company
    230         00979               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement         9/1/2016     Chevron U.S.A. Inc., Union Oil
    230         00979                                                           Company of California and Arena
                                                                                          Energy, LP




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Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    230         00979               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    230         00979                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    231         00980                  amended                                         Energy, LLC


Eugene Island   OCS-G      Unit Agreement 14-08-0001-8813         10/6/1966    U.S.A. and Chevron Oil Company
    231         00980


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         5/21/1973    U.S.A. and Chevron Oil Company
    231         00980               0001-8813


Eugene Island   OCS-G     Amendment Unit Agreement 14-08-         11/29/1983   U.S.A. and Chevron Oil Company
    231         00980               0001-8813


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    231         00980                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    231         00980               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    231         00980                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    237         00981                  amended                                         Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    237         00981                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    237         00981               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    237         00981                                                          Company of California and Arena
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Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    238         00982                  amended                                          Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    238         00982                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    238         00982               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    238         00982                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    238         00982                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    238         00982


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    238         00982


Eugene Island   OCS-G      Agreement For Implementation Of         7/1/1993     Kinetica Energy Express, LLC
    238         00982        Electronic Custody Transfer


Eugene Island   OCS-G           Connection Agreement              9/17/1990     Kinetica Energy Express, LLC
    238         00982


Eugene Island   OCS-G          Gas Gathering Agreement             7/1/2019    Kinetica Midstream Energy, LLC
    238         00982


Eugene Island   OCS-G   Gas Processing Agreement - Venice Gas      4/1/2013    Venice Energy Services Company,
    238         00982              Processing Plant                                        L.L.C.


Eugene Island   OCS-G         Platform Space Agreement            12/19/1995   Kinetica Deepwater Express, LLC
    238         00982


Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013     Kinetica Energy Express, LLC
    238         00982                 Schedule IT




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Eugene Island   OCS-G     Liquids Transportation Agreement -       5/1/2004      Kinetica Energy Express, LLC
    238         00982      Cocodrie and Pecan Island Plants


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
    251         03331                  amended                                           Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    McMoRan Oil & Gas, Arena Energy,
    251         03331                                                             LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    Diverse Offshore, Arena Energy, LP
    251         03331                                                                and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012     CL&F Resources, Piquant, Arena
    251         03331                                                          Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G      Amendment to Purchase and Sale         10/30/2012   McMoRan Oil & Gas, Arena Energy,
    251         03331              Agreement                                      LP and Arena Offshore, LP


Eugene Island   OCS-G   Second Amendment to Purchase and Sale     11/9/2012    McMoRan Oil & Gas, Arena Energy,
    251         03331               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G    Third Amendment to Purchase and Sale     11/13/2012   McMoRan Oil & Gas, Arena Energy,
    251         03331               Agreement                                     LP and Arena Offshore, LP


Eugene Island   OCS-G        Purchase and Sale Agreement           7/1/2012    Milagro Production, Arena Energy,
    251         03331                                                             LP and Arena Offshore, LP


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018     Rosefield Pipeline Company, LLC
    251         03331                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019     Rosefield Pipeline Company, LLC
    251         03331


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019     Rosefield Pipeline Company, LLC
    251         03331


Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013      Kinetica Energy Express, LLC
    251         03331                 Schedule IT




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Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    252         00983                  amended                                         Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    252         00983                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    252         00983               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    252         00983                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    252         00983                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    252         00983


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    252         00983


Eugene Island   OCS-G     Liquids Transportation Agreement -       5/1/2004     Kinetica Energy Express, LLC
    252         00983      Cocodrie and Pecan Island Plants


Eugene Island   OCS-G              Tie-In Agreement               10/22/1997         Crimson Gulf, LLC
    252         00983


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    253         10741                  amended                                         Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
    253         10741                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    253         10741               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    253         10741                                                          Company of California and Arena
                                                                                         Energy, LP




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Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    253         35938                    amended                                          Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    254         36207                    amended                                          Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    261         36208                    amended                                          Energy, LLC


Eugene Island   OCS-G          Purchase and Sale Agreement          7/1/2012     McMoRan Oil & Gas LLC, Arena
    262          07736                                                          Energy, LP and Arena Offshore, LP
                Expired

Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    262         36209                    amended                                          Energy, LLC


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    275         24910                    amended                                          Energy, LLC


Eugene Island   OCS-G       Asset Purchase and Sale Agreement       9/1/2016      Chevron U.S.A. Inc., Union Oil
    275         24910                                                            Company of California and Arena
                                                                                           Energy, LP

Eugene Island   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    275         24910                 Sale Agreement                             Company of California and Arena
                                                                                           Energy, LP

Eugene Island   OCS-G            Data License Agreement             9/1/2016      Chevron U.S.A. Inc., Union Oil
    275         24910                                                            Company of California and Arena
                                                                                           Energy, LP

Eugene Island   OCS-G     Transportation Service Agreement - Rate   9/1/2013       Kinetica Energy Express, LLC
    275         24910                   Schedule IT


Eugene Island   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    276         00989                    amended                                          Energy, LLC


Eugene Island   OCS-G          Offshore Operating Agreement         5/22/2002   Union Oil Company of California and
    276         00989                                                           Kerr-McGee Oil & Gas Corporation


Eugene Island   OCS-G       Asset Purchase and Sale Agreement       9/1/2016      Chevron U.S.A. Inc., Union Oil
    276         00989                                                            Company of California and Arena
                                                                                           Energy, LP




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Eugene Island   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
    276         00989               Sale Agreement                             Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
    276         00989                                                          Company of California and Arena
                                                                                         Energy, LP

Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    276         00989                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    276         00989


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    276         00989


Eugene Island   OCS-G            Facilities Agreement             10/24/2005   Kinetica Deepwater Express, LLC
    276         00989


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    314         02111                  amended                                          Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement           6/1/2011    ExxonMobil, ExxonMobil Pipeline
    314         02111                                                               and Arena Energy, LP



Eugene Island   OCS-G      Unit Agreement 14-08-0001-16927         3/1/1977     Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company



Eugene Island   OCS-G      Unit Agreement 14-08-0001-16928         3/1/1977     Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company



Eugene Island   OCS-G      Unit Agreement 14-08-0001-16929         3/1/1977     Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16941        10/1/1976     Exxon Corporation, Texaco Inc.,
    314         02111                                                          Gulf Oil Corporation and Shell Oil
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Eugene Island   OCS-G      Unit Agreement 14-08-0001-16937        10/1/1976     Exxon Corporation, Texaco Inc.,
    314         02111                (Terminated)                              Gulf Oil Corporation and Shell Oil
                                                                                           Company

Eugene Island   OCS-G      Unit Interest Exchange Agreement       4/1/2014    Renaissance Offshore LLC, Arena
    314         02111                                                         Energy, LP and Arena Offshore, LP




Eugene Island   OCS-G     Asset Purchase and Sale Agreement       10/1/2014      Chevron U.S.A. Inc., Chevron
    314         02111                                                            Pipeline and Arena Energy, LP


Eugene Island   OCS-G    Amendment to Asset Purchase and Sale     10/1/2014      Chevron U.S.A. Inc., Chevron
    314         02111                Agreement                                   Pipeline and Arena Energy, LP




Eugene Island   OCS-G      Unit Interest Exchange Agreement       8/1/2015    Renaissance Offshore LLC, Arena
    314         02111                                                         Energy, LP and Arena Offshore, LP


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    314         33636                  amended                                          Energy, LLC


Eugene Island   OCS-G         Gas Processing Agreement            6/1/2011      Enterprise Gas Processing, LLC
    314         33636


Eugene Island   OCS-G     Interruptible Transportation Service    9/1/2006     Sea Robin Pipeline Company, LLC
    314         33636              Agreement - GAS


Eugene Island   OCS-G        Purchase and Sale Agreement          6/1/2011     ExxonMobil, ExxonMobil Pipeline
    315         02112                                                               and Arena Energy, LP


Eugene Island   OCS-G   Agreement for Ownership of Multi-Lease    1/1/1982              McMoRan Etal
    315         02112           Platform and Facility


Eugene Island   OCS-G            Operating Agreement              1/1/1982       Exxon Corporation and Sohio
    315         02112                                                                    Petroleum


Eugene Island   OCS-G    Amendment to Slot Sale and Purchase      3/1/1984    Sohio Petroleum, Exxon Corporation,
    315         02112               Agreement                                    Mesa Petroleum and Pennzoil
                                                                                           Company

Eugene Island   OCS-G      Slot Sale and Purchase Agreement       5/16/1984       Sohio Petroleum and Exxon
    315         02112                                                                    Corporation



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Eugene Island   OCS-G      Slot Sale and Purchase Agreement       3/28/2000     Exxon Corporation and Devon
    315         02112                                                                     Energy


Eugene Island   OCS-G         Gas Processing Agreement            6/1/2011     Enterprise Gas Processing, LLC
    315         02112


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    320         36211                  amended                                         Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    324         36118                  amended                                         Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    325         36119                  amended                                         Energy, LLC


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003    Arena Offshore, LLC and Arena
    332         02613                  amended                                         Energy, LLC


Eugene Island   OCS-G        Purchase and Sale Agreement          6/1/2011    ExxonMobil, ExxonMobil Pipeline
    332         02613                                                              and Arena Energy, LP


Eugene Island   OCS-G      Unit Agreement 14-08-0001-16927        3/1/1977     Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16928        3/1/1977     Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16929        3/1/1977     Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16937        10/1/1976    Exxon Corporation, Texaco Inc.,
    332         02613                (Terminated)                             Gulf Oil Corporation and Shell Oil
                                                                                          Company

Eugene Island   OCS-G      Unit Agreement 14-08-0001-16932        3/1/1977     Exxon Corporation and Shell Oil
    332         02613                                                                   Company


Eugene Island   OCS-G      Unit Agreement 14-08-0001-16933        3/1/1977     Exxon Corporation and Shell Oil
    332         02613                                                                   Company




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Eugene Island   OCS-G     Asset Purchase and Sale Agreement      10/1/2014     Chevron U.S.A. Inc., Chevron
    332         02613                                                          Pipeline and Arena Energy, LP


Eugene Island   OCS-G   Amendment to Asset Purchase and Sale     10/1/2014     Chevron U.S.A. Inc., Chevron
    332         02613               Agreement                                  Pipeline and Arena Energy, LP


Eugene Island   OCS-G            Farmout Agreement               12/15/2009    Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G     Amendment to Farmout Agreement         11/04/2010    Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G       Second Amendment to Farmout          3/28/2013     Chevron U.S.A. Inc. and Arena
    338         02118               Agreement                                          Energy, LP


Eugene Island   OCS-G   Third Amendment to Farmout Agreement     6/27/2013     Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G       Fourth Amendment to Farmout          9/24/2013     Chevron U.S.A. Inc. and Arena
    338         02118                Agreement                                         Energy, LP


Eugene Island   OCS-G   Fifth Amendment to Farmout Agreement     10/1/2014     Chevron U.S.A. Inc. and Arena
    338         02118                                                                  Energy, LP


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    338         02118                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016     Chevron U.S.A. Inc., Union Oil
    338         02118               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    338         02118                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G      Successor Natural Gas Processing      12/1/2012     Targa Midstream Services LLC
    338         02118                Agreement


Eugene Island   OCS-G     Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
    338         02118




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Eugene Island   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
    338         02118                 Agreement


Eugene Island   OCS-G            Farmout Agreement               12/15/2009    Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G     Amendment to Farmout Agreement         11/04/2010    Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G       Second Amendment to Farmout          3/28/2013     Chevron U.S.A. Inc. and Arena
    339         02318               Agreement                                          Energy, LP


Eugene Island   OCS-G   Third Amendment to Farmout Agreement     6/27/2013     Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G       Fourth Amendment to Farmout          9/24/2013     Chevron U.S.A. Inc. and Arena
    339         02318                Agreement                                         Energy, LP


Eugene Island   OCS-G   Fifth Amendment to Farmout Agreement     10/1/2014     Chevron U.S.A. Inc. and Arena
    339         02318                                                                  Energy, LP


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
    339         02318                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016     Chevron U.S.A. Inc., Union Oil
    339         02318               Sale Agreement                            Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
    339         02318                                                         Company of California and Arena
                                                                                        Energy, LP

Eugene Island   OCS-G      Successor Natural Gas Processing      12/1/2012     Targa Midstream Services LLC
    339         02318                Agreement


Eugene Island   OCS-G     Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
    339         02318


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
    339         02318                 Agreement




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Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    340         36212                  amended                                          Energy, LLC


Eugene Island   OCS-G     Asset Purchase and Sale Agreement       10/1/2014      Chevron U.S.A. Inc., Chevron
    341         02914                                                            Pipeline and Arena Energy, LP


Eugene Island   OCS-G    Amendment to Asset Purchase and Sale     10/1/2014      Chevron U.S.A. Inc., Chevron
    341         02914                Agreement                                   Pipeline and Arena Energy, LP


Eugene Island   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
    341         02914                  amended                                          Energy, LLC


Eugene Island   OCS-G              Farmout Proposal               11/24/1997   NCX Company and Chevron U.S.A.
    341         02914                                                               Production Company


Eugene Island   OCS-G           Participation Agreement           2/17/1998     NCX Company and King Ranch
    341         02914                                                                    Energy


Eugene Island   OCS-G       Amendment to Farmout Proposal         1/17/2002    NCX Company and Chevron U.S.A.
    341         02914                                                               Production Company


Eugene Island   OCS-G    Oil Gathering and Reserve Dedication     8/30/2018    Rosefield Pipeline Company, LLC
    341         02914                 Agreement


Eugene Island   OCS-G           Connection Agreement              3/18/2019    Rosefield Pipeline Company, LLC
    341         02914


Eugene Island   OCS-G      Incentive And Discount Agreement       3/18/2019    Rosefield Pipeline Company, LLC
    341         02914


Eugene Island   OCS-G      Successor Natural Gas Processing       12/1/2012      Targa Midstream Services LLC
    341         02914                Agreement


Eugene Island   OCS-G   Transportation Service Agreement - Rate    9/1/2013      Kinetica Energy Express, LLC
    341         02914                 Schedule IT


Eugene Island   OCS-G      Metering and Facilities Agreement      10/28/2013   Kinetica Deepwater Express, LLC
    341         02914




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Eugene Island    OCS-G            ITS Service Agreement              12/1/2012     Kinetica Deepwater Express, LLC
    341          02914


Eugene Island    OCS-G        Purchase and Sale Agreement             7/1/2012    McMoRan Oil & Gas, Arena Energy,
    346          14482                                                               LP and Arena Offshore, LP


Eugene Island    OCS-G       Amendment to Purchase and Sale          10/30/2012   McMoRan Oil & Gas, Arena Energy,
    346          14482               Agreement                                       LP and Arena Offshore, LP


Eugene Island    OCS-G   Second Amendment to Purchase and Sale       11/9/2012    McMoRan Oil & Gas, Arena Energy,
    346          14482               Agreement                                       LP and Arena Offshore, LP


Eugene Island    OCS-G    Third Amendment to Purchase and Sale       11/13/2012   McMoRan Oil & Gas, Arena Energy,
    346          14482               Agreement                                       LP and Arena Offshore, LP


Eugene Island    OCS-G        Offshore Operating Agreement           3/15/2007    Newfield Exploration and Ridgewood
    346          14482


Eugene Island    OCS-G           Participation Agreement             3/15/2007    Newfield Exploration and Ridgewood
    346          14482


Eugene Island    OCS-G            ITS Service Agreement              12/1/2012     Kinetica Deepwater Express, LLC
    346          14482


 Galveston       OCS-G        Purchase and Sale Agreement             1/1/2019     ExxonMobil and Arena Energy, LP
   192           03229


 Galveston       OCS-G   Master Offshore Operating Agreement, as     10/1/2003      Arena Offshore, LLC and Arena
   192           03229                  amended                                             Energy, LLC


 Galveston       OCS-G          Unit Operating Agreement              1/1/978        Exxon Corporation and Shell
   192           03229                                                                       Offshore


 Galveston       OCS-G     Agreement for Ownership of Multiple        1/1/1978       Exxon Corporation and Shell
   192           03229    Lease Platform, Facilities, Quarters and                           Offshore
                                       Compressor

 Galveston       OCS-G     PHA for Agreement for Ownership of        10/6/1989       Exxon Corporation and Shell
   192           03229      Multiple Lease Platform, Facilities,                             Offshore
                                Quarters and Compressor




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  Galveston       OCS-G         Unit Agreement #754388007             1/8/1988      Exxon Corporation and Shell
    192           03229                                                                     Offshore


  Galveston       OCS-G        Purchase and Sale Agreement            1/1/2019    ExxonMobil and Arena Energy, LP
    209           06093


  Galveston       OCS-G   Master Offshore Operating Agreement, as     10/1/2003    Arena Offshore, LLC and Arena
    209           06093                  amended                                           Energy, LLC


  Galveston       OCS-G       HIPS Throughput Capacity Lease          11/1/2007       McMoran Oil & Gas LLC
    209           06093                Agreement


  Galveston       OCS-G          Lateral Line Interconnect,           2/27/2003    Williams Field Services (WFS)
    209           06093        Reimbursement and Operating
                                         Agreement

  Galveston       OCS-G      Offshore Pipeline Interconnect and       4/15/1997    ExxonMobil Pipeline Company
    209           06093            Operating Agreement


 High Island      OCS-G        Purchase and Sale Agreement            1/1/2019    ExxonMobil and Arena Energy, LP
    193           03237


 High Island      OCS-G   Master Offshore Operating Agreement, as     10/1/2003    Arena Offshore, LLC and Arena
    193           03237                  amended                                           Energy, LLC


 High Island      OCS-G          Unit Operating Agreement              1/1/978      Exxon Corporation and Shell
    193           03237                                                                     Offshore


 High Island      OCS-G     Agreement for Ownership of Multiple       1/1/1978      Exxon Corporation and Shell
    193           03237    Lease Platform, Facilities, Quarters and                         Offshore
                                        Compressor

 High Island      OCS-G     PHA for Agreement for Ownership of        10/6/1989     Exxon Corporation and Shell
    193           03237      Multiple Lease Platform, Facilities,                           Offshore
                                 Quarters and Compressor

 High Island      OCS-G         Unit Agreement #754388007             1/8/1988      Exxon Corporation and Shell
    193           03237                                                                     Offshore


High Island A-    OCS-G        Purchase and Sale Agreement            9/1/2003     Noble Energy, Inc. and Triumph
     547          02705                                                                    Energy, LLC




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High Island A-   OCS-G      Amendment to Purchase and Sale         4/21/2004      Noble Energy, Inc. and Triumph
     547         02705              Agreement                                             Energy, LLC


High Island A-   OCS-G   Second Amendment to Purchase and Sale     4/28/2004      Noble Energy, Inc. and Triumph
     547         02705               Agreement                                            Energy, LLC


High Island A-   OCS-G   Third Amendment to Purchase and Sale      4/28/2004      Noble Energy, Inc. and Triumph
     547         02705              Agreement                                             Energy, LLC


High Island A-   OCS-G   Fourth Amendment to Purchase and Sale     4/28/2004      Noble Energy, Inc. and Triumph
     547         02705               Agreement                                            Energy, LLC


High Island A-   OCS-G    Fifth Amendment to Purchase and Sale     4/28/2004      Noble Energy, Inc. and Triumph
     547         02705                Agreement                                           Energy, LLC


High Island A-   OCS-G        Purchase and Sale Agreement          10/1/2012    Anadarko E&P Company and Arena
     547         02705                                                                    Energy, LLC


High Island A-   OCS-G        Purchase and Sale Agreement          10/1/2012     Tammany Oil and Gas, Tammany
     547         02705                                                           Ventures and Arena Energy, LLC


High Island A-   OCS-G          Participation Agreement             1/1/2013    Walter Oil & Gas and Arena Energy,
     547         02705                                                                         LP


High Island A-   OCS-G       Offshore Operating Agreement           1/1/2013    Walter Oil & Gas and Arena Energy,
     547         02705                                                                         LP


High Island A-   OCS-G   Amendment to Participation Agreement      12/1/2014    Walter Oil & Gas and Arena Energy,
     547         02705                                                                         LP


High Island A-   OCS-G       Production Handling Agreement          1/1/2015    Arena Offshore, LP and Walter Oil &
     547         02705                                                              Gas and Arena Energy, LP


High Island A-   OCS-G            Precedent Agreement              12/30/2016    Stingray Pipeline Company, L.L.C.
     547         02705


High Island A-   OCS-G   Transportation Service Agreement - Rate    9/1/2013       Kinetica Energy Express, LLC
     547         02705                 Schedule IT




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High Island A-   OCS-G   Gas Gathering and Processing Agreement    8/1/2019      Targa Midstream Services LLC
     547         02705


High Island A-   OCS-G           NGL Banks Agreement               6/1/2004    High Island Offshore System, L.L.C.
     547         02705                                                          || Southern Petroleum Laboratories
                                                                                               (SPL)

High Island A-   OCS-G     Interruptible Transportation Service    6/1/2004    High Island Offshore System, L.L.C.
     547         02705              Agreement - GAS


High Island A-   OCS-G      Reserve Commitment Agreement          10/1/2009    High Island Offshore System, L.L.C.
     547         02705


High Island A-   OCS-G             Oil Sales Contract              4/1/2012       Shell Trading (US) Company
     547         02705


Main Pass 120    OCS-G           Asset Sale Agreement              3/1/2001      Chevron U.S.A. Inc., Kewanee
                 03197                                                            Industries and PetroVentures


Main Pass 120    OCS-G     Acquisition and Joint Development       2/8/2007          Arena Energy, LLC and
                 03197                  Proposal                                         PetroVentures


Main Pass 120    OCS-G   Extension and Amendment to Acquisition   3/27/2007          Arena Energy, LLC and
                 03197       and Joint Development Proposal                              PetroVentures


Main Pass 120    OCS-G       Offshore Operating Agreement         3/27/2007          Arena Energy, LLC and
                 03197                                                                   PetroVentures


Main Pass 120    OCS-G     First Amendment to Acquisition and     5/17/2007          Arena Energy, LLC and
                 03197         Joint Development Proposal                                PetroVentures


Main Pass 120    OCS-G        Purchase and Sale Agreement         11/19/2014         Arena Energy, LLC and
                 03197                                                                   PetroVentures


Main Pass 120    OCS-G     Pipeline Construction and Operating    8/16/2017       Arena Energy, LP and Arena
                 03197                 Agreement                                         Offshore, LP


Main Pass 120    OCS-G       Pipeline Use and Compensation        8/16/2017       Arena Energy, LP and Arena
                 03197                 Agreement                                         Offshore, LP




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Main Pass 120   OCS-G       Production Handling Agreement            8/16/2017    Arena Energy, LP and Arena
                03197                                                                    Offshore, LP


Main Pass 121   OCS-G              Offer to Participate              6/13/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G        Offshore Operating Agreement            3/27/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G    Conditional Letter - Offer to Participate   6/14/2007       Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G         Purchase and Sale Agreement            11/19/2014      Arena Energy, LLC and
                26939                                                                    PetroVentures


Main Pass 121   OCS-G     Pipeline Construction and Operating        8/16/2017    Arena Energy, LP and Arena
                26939                 Agreement                                          Offshore, LP


Main Pass 121   OCS-G        Pipeline Use and Compensation           8/16/2017    Arena Energy, LP and Arena
                26939                  Agreement                                         Offshore, LP


Main Pass 121   OCS-G       Production Handling Agreement            8/16/2017    Arena Energy, LP and Arena
                26939                                                                    Offshore, LP


Main Pass 122   OCS-G             Asset Sale Agreement                3/1/2001    Chevron U.S.A. Inc., Kewanee
                13964                                                              Industries and PetroVentures


Main Pass 122   OCS-G      Acquisition and Joint Development          2/8/2007       Arena Energy, LLC and
                13964                   Proposal                                         PetroVentures


Main Pass 122   OCS-G   Extension and Amendment to Acquisition       3/27/2007       Arena Energy, LLC and
                13964       and Joint Development Proposal                               PetroVentures


Main Pass 122   OCS-G        Offshore Operating Agreement            3/27/2007       Arena Energy, LLC and
                13964                                                                    PetroVentures


Main Pass 122   OCS-G     First Amendment to Acquisition and         5/17/2007       Arena Energy, LLC and
                13964         Joint Development Proposal                                 PetroVentures




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Main Pass 122   OCS-G          Purchase and Sale Agreement             11/19/2014         Arena Energy, LLC and
                13964                                                                         PetroVentures


Main Pass 122   OCS-G       Pipeline Construction and Operating        8/16/2017        Arena Energy, LP and Arena
                13964                   Agreement                                              Offshore, LP


Main Pass 122   OCS-G         Pipeline Use and Compensation            8/16/2017        Arena Energy, LP and Arena
                13964                   Agreement                                              Offshore, LP


Main Pass 122   OCS-G         Production Handling Agreement            8/16/2017        Arena Energy, LP and Arena
                13964                                                                          Offshore, LP


Main Pass 123   OCS-G          Purchase and Sale Agreement              6/1/2014     Arena Energy, LP and Energy XXI
                12088


Main Pass 123   OCS-G         Production Handling Agreement            8/16/2017        Arena Energy, LP and Arena
                12088                                                                          Offshore, LP


Main Pass 123   OCS-G       Pipeline Construction and Operating        8/16/2017        Arena Energy, LP and Arena
                12088                   Agreement                                              Offshore, LP


Main Pass 123   OCS-G         Pipeline Use and Compensation            8/16/2017        Arena Energy, LP and Arena
                12088                   Agreement                                              Offshore, LP


Main Pass 123   OCS-G     Construction, Installation, Operation and     5/4/2004      High Point Gas Gathering, L.L.C.
                12088       Maintenance of Measurement and
                                     Pipeline Facilities

Main Pass 123   OCS-G     Construction, Installation, Operation, and   10/8/2004      High Point Gas Gathering, L.L.C.
                12088     Maintenance of Measurement Facilities -
                                          BB Meter

Main Pass 133   OCS-G         Production Handling and Pumper           12/1/2007     Petro Ventures, Inc., Arena Energy,
                01633                   Agreement                                    LLC and Mobil Oil Exploration &
                                                                                          Producing Southeast, Inc

Main Pass 206   OCS-G          Offshore Operating Agreement            3/27/2008    Petro Venture, Inc. and Arena Energy,
                 33128                                                                               LLC
                Expired

Main Pass 236   OCS-G              Asset Sale Agreement                 3/1/2001       Chevron U.S.A. Inc., Kewanee
                02955                                                                   Industries and PetroVentures




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Main Pass 236   OCS-G        Acquisition and Joint Development       2/8/2007        Arena Energy, LLC and
                02955                     Proposal                                       PetroVentures


Main Pass 236   OCS-G     Extension and Amendment to Acquisition    3/27/2007        Arena Energy, LLC and
                02955         and Joint Development Proposal                             PetroVentures


Main Pass 236   OCS-G          Offshore Operating Agreement         3/27/2007        Arena Energy, LLC and
                02955                                                                    PetroVentures


Main Pass 236   OCS-G       First Amendment to Acquisition and      5/17/2007        Arena Energy, LLC and
                02955           Joint Development Proposal                               PetroVentures


Main Pass 236   OCS-G          Purchase and Sale Agreement          11/19/2014       Arena Energy, LLC and
                02955                                                                    PetroVentures


Main Pass 122   OCS-G         Pipeline Use and Compensation         8/16/2017      Arena Energy, LP and Arena
                13964                   Agreement                                         Offshore, LP


Main Pass 236   OCS-G       Pipeline Construction and Operating     8/16/2017        Arena Energy, LLC and
                02955                   Agreement                                        PetroVentures


Main Pass 236   OCS-G         Pipeline Use and Compensation         8/16/2017      Arena Energy, LP and Arena
                02955                   Agreement                                         Offshore, LP


Main Pass 236   OCS-G         Production Handling Agreement         8/16/2017      Arena Energy, LP and Arena
                02955                                                                     Offshore, LP


 Mississippi    OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
 Canyon 147      27264                   amended                                          Energy, LLC
                Expired

 Mississippi    OCS-G          Purchase and Sale Agreement           1/1/2019    ExxonMobil and Arena Energy, LP
 Canyon 311     02968


 Mississippi    OCS-G           Joint Operating Agreement            9/1/1987      Exxon Corporation and Shell
 Canyon 311     02968                                                                    Offshore Inc.


 Mississippi    OCS-G            Agreement of Assignment            10/22/1992     Exxon Corporation and Shell
 Canyon 311     02968                                                                    Offshore Inc.




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 Mississippi    OCS-G             Letter Agreement              1/23/2003       Exxon Corporation and Shell
 Canyon 311     02968                                                                 Offshore Inc.


 Mississippi    OCS-G       Offshore Operating Agreement        1/23/2007     Newfield Exploration Company,
 Canyon 800     18292                                                       Deep Gulf Energy LP and ATP Oil &
                                                                                     Gas Corporation

 Mississippi    OCS-G     Amendment of Offshore Operating       1/24/2007     Newfield Exploration Company,
 Canyon 800     18292              Agreement                                Deep Gulf Energy LP and ATP Oil &
                                                                                     Gas Corporation

 Mississippi    OCS-G      Second Amendment of Offshore         2/18/2008     Newfield Exploration Company,
 Canyon 800     18292          Operating Agreement                           Deep Gulf Energy LP, ATP Oil &
                                                                             Gas Corporation, CL&F Resources
                                                                              LP and Arena Exploration, LLC

 Mississippi    OCS-G   Third Amendment of Offshore Operating   1/1/2010      Newfield Exploration Company,
 Canyon 800     18292               Agreement                                  Deep Gulf Energy LP, CL&F
                                                                            Resources LP and Arena Exploration,
                                                                                           LLC

 Mississippi    OCS-G      Production Handling Agreement        1/2/2010      Newfield Exploration Company,
 Canyon 800     18292                                                          Deep Gulf Energy LP, CL&F
                                                                            Resources LP and Arena Exploration,
                                                                                           LLC

 Mississippi    OCS-G          Participation Agreement          3/1/2007    Newfield Exploration Company and
 Canyon 800     18292                                                            Arena Exploration, LLC


Main Pass 122   OCS-G       Pipeline Use and Compensation       8/16/2017       Arena Energy, LP and Arena
                13964                 Agreement                                        Offshore, LP


 Mississippi    OCS-G   Amendment to Participation Agreement    6/20/2007   Newfield Exploration Company and
 Canyon 800     18292                                                            Arena Exploration, LLC


 Mississippi    OCS-G     Second Amendment to Participation     2/18/2008   Newfield Exploration Company and
 Canyon 800     18292               Agreement                                   Arena Exploration, LLC


 Mississippi    OCS-G             Oil Sales Contract            4/1/2012       Shell Trading (US) Company
 Canyon 800     18292


 Mississippi    OCS-G         Gas Gathering Agreement           2/2/2011          Third Coast Midstream
 Canyon 800     18292


South Marsh     OCS-G      Conditional Letter of Acceptance     4/25/2003   Anadarko Petroleum Corporation and
    192         24878                                                              Arena Energy, LLC



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South Marsh     OCS-G                Offer to Purchase              7/14/2003    Marathon Oil Company and Arena
    192         24878                                                                     Energy, LLC


South Marsh     OCS-G             Participation Agreement           6/1/2004    Stone Energy, Energy Partners, Ltd.
    192         24878                                                           Arena Offshore, LLC and Triumph
                                                                                         Energy, L.L.C.

South Marsh     OCS-G          Purchase and Sale Agreement          11/1/2014   Arena Energy, LP and Stone Energy
    192         24878


South Marsh     OCS-G     Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
    192         24878              Purchase Agreement


South Pass 74   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
                 26144                   amended                                          Energy, LLC
                Expired

South Pass 74   OCS-G          Purchase and Sale Agreement          9/1/2003      Noble Energy, Inc. and Triumph
                 26144                                                                   Energy, L.L.C.
                Expired

South Pass 82   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
                 05685                   amended                                          Energy, LLC
                Expired

South Pass 82   OCS-G          Purchase and Sale Agreement          9/1/2003      Noble Energy, Inc. and Triumph
                 05685                                                                   Energy, L.L.C.
                Expired

South Pass 82   OCS-G          Purchase and Sale Agreement          4/1/2005    Bundy Partners and Triumph Energy,
                 05685                                                                        L.L.C.
                Expired

South Pass 82   OCS-G                Offer to Purchase              4/25/2005     CLK Exploration Co., LLC and
                 05685                                                                 Triumph Energy
                Expired

South Pass 82   OCS-G                Offer to Purchase              4/29/2005    Piquant, Inc. and Triumph Energy
                 05685
                Expired

South Pass 82   OCS-G                Offer to Purchase              5/9/2005    Crescent Investment Co. and Triumph
                 05685                                                                         Energy
                Expired

South Pass 83   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
                 05052                   amended                                          Energy, LLC
                Expired




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South Pass 83    OCS-G         Purchase and Sale Agreement         9/1/2003      Noble Energy, Inc. and Triumph
                  05052                                                                 Energy, L.L.C.
                 Expired

South Pass 83    OCS-G         Purchase and Sale Agreement         4/1/2005    Bundy Partners and Triumph Energy,
                  05052                                                                      L.L.C.
                 Expired

South Pass 83    OCS-G               Offer to Purchase            4/25/2005      CLK Exploration Co., LLC and
                  05052                                                               Triumph Energy
                 Expired

South Pass 83    OCS-G               Offer to Purchase            4/29/2005     Piquant, Inc. and Triumph Energy
                  05052
                 Expired

South Pass 83    OCS-G               Offer to Purchase             5/9/2005    Crescent Investment Co. and Triumph
                  05052                                                                       Energy
                 Expired

South Pelto 25   OCS-G     Master License Agreement, as amended   6/10/2002    Fairfield Industries Incorporated and
                  14535                                                                 Arena Energy, LLC
                 Expired

South Pelto 25   OCS-G             Farmout Agreement              12/17/2002      Apache Corporation and Arena
                  14535                                                                  Energy, LLC
                 Expired

South Pelto 25   OCS-G        Platform Operations Agreement       12/21/2002       Triumph Energy and Apache
                  14535                                                                   Corporation
                 Expired

South Pelto 25   OCS-G             Farmout Agreement              2/13/2004       Apache Corporation and Arena
                  14535                                                                  Energy, LLC
                 Expired

South Pelto 25   OCS-G             Farmout Agreement              5/19/2003       Apache Corporation and Arena
                  14535                                                                  Energy, LLC
                 Expired

South Pelto 25   OCS-G        Platform Operations Agreement       12/21/2002       Triumph Energy and Apache
                  14535                                                                   Corporation
                 Expired

South Pelto 25   OCS-G        Offshore Operating Agreement        7/23/2003     Arena Energy, LLC and Bois d’Arc
                  14535                                                           Offshore Ltd. and Bois d’Arc
                 Expired                                                                 Resources Ltd.

South Pelto 25   OCS-G           Participation Agreement          7/23/2003     Arena Energy, LLC and Bois d’Arc
                  14535                                                           Offshore Ltd. and Bois d’Arc
                 Expired                                                                 Resources Ltd.




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South Pelto 25    OCS-G          Purchase and Sale Agreement           4/1/2011    Stone Energy Offshore, L.L.C. and
                   14535                                                                   Arena Energy, LP
                  Expired

South Pelto 25    OCS-G            Offer to Acquire Wellbore           1/3/2012      Arena Energy, LP and Apache
                   14535                                                                     Corporation
                  Expired

South Pelto 25    OCS-G          Purchase and Sale Agreement           8/1/2015     Arena Energy, LP and John Cook
                   14535
                  Expired

South Timbalier   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      35          03336                    amended                                          Energy, LLC


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                                                             Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                 Sale Agreement                              Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G            Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      35          03336                                                             Company of California and Arena
                                                                                              Energy, LP

South Timbalier   OCS-G          Offshore Operating Agreement         12/30/2004   Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G               Farmout Agreement               6/15/2004    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Farmout Agreement          3/28/2005    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Farmout Agreement           9/4/2007    Walter Oil and Gas Corporation and
      35          03336                                                                   Chevron U.S.A. Inc.


South Timbalier   OCS-G       Processing and Operations Services      12/30/2004   Walter Oil and Gas Corporation and
      35          03336                   Agreement                                       Chevron U.S.A. Inc.


South Timbalier   OCS-G         Amendment to Processing and           11/28/2005   Walter Oil and Gas Corporation and
      35          03336         Operations Services Agreement                             Chevron U.S.A. Inc.




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South Timbalier   OCS-G   Termination to Amendment to Processing   5/18/2006    Walter Oil and Gas Corporation and
      35          03336     and Operations Services Agreement                          Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          12/27/2007   Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          10/29/2008   Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          3/11/2014    Walter Oil and Gas Corporation and
      35          03336       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G          Platform Use Agreement             9/1/2016     Chevron Pipe Line Company and
      35          03336                                                                Arena Offshore, LP


South Timbalier   OCS-G            Election to Take Over           7/12/2017    Walter Oil and Gas Corporation and
      35          03336                                                                 Arena Energy, LP


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
      35          03336                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement     12/22/1997   Discovery Producer Services, LLC
      35          03336


South Timbalier   OCS-G    Condensate, Separation, Handling, and   12/22/1997   Discovery Producer Services, LLC
      35          03336          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement             6/26/1998        Chevron Pipeline Company
      35          03336


South Timbalier   OCS-G      Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      35          03336


South Timbalier   OCS-G         Facilities Interconnect And        5/31/2000    Sea Robin Pipeline Company, LLC
      35          03336         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement    11/1/2016    Discovery Producer Services, LLC
      35          03336        (w/Temporary Release Info)




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South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      35          03336                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      35          03336


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
      35          03336


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      35          03336


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      36          02624                  amended                                          Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      36          02624                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      36          02624               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      36          02624                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G        Offshore Operating Agreement         12/30/2004   Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G             Farmout Agreement               6/15/2004    Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G     Amendment to Farmout Agreement          3/28/2005    Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G     Amendment to Farmout Agreement           9/4/2007    Walter Oil and Gas Corporation and
      36          02624                                                                 Chevron U.S.A. Inc.


South Timbalier   OCS-G     Processing and Operations Services      12/30/2004   Walter Oil and Gas Corporation and
      36          02624                 Agreement                                       Chevron U.S.A. Inc.




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South Timbalier   OCS-G       Amendment to Processing and          11/28/2005   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G   Termination to Amendment to Processing   5/18/2006    Walter Oil and Gas Corporation and
      36          02624     and Operations Services Agreement                          Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          12/27/2007   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          10/29/2008   Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G       Amendment to Processing and          3/11/2014    Walter Oil and Gas Corporation and
      36          02624       Operations Services Agreement                            Chevron U.S.A. Inc.


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication    8/19/2019    Rosefield Pipeline Company, LLC
      36          02624                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement     12/22/1997   Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G    Condensate, Separation, Handling, and   12/22/1997   Discovery Producer Services, LLC
      36          02624          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement             6/26/1998        Chevron Pipeline Company
      36          02624


South Timbalier   OCS-G      Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G         Facilities Interconnect And        5/31/2000    Sea Robin Pipeline Company, LLC
      36          02624         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement    11/1/2016    Discovery Producer Services, LLC
      36          02624        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation       11/3/2010    Discovery Producer Services, LLC
      36          02624                Agreement




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South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      36          02624


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003     Discovery Producer Services, LLC
      36          02624


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997     Discovery Gas Transmission LLC
      36          02624


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      37          02625                  amended                                           Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016       Chevron U.S.A. Inc., Union Oil
      37          02625                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016       Chevron U.S.A. Inc., Union Oil
      37          02625               Sale Agreement                               Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016       Chevron U.S.A. Inc., Union Oil
      37          02625                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G      Offshore Operating Agreement, as        5/1/1974        Gulf Oil Corporation, Mobil Oil
      37          02625                 amended                                    Corporation, Texaco Inc., Tenneco
                                                                                  Oil Company, Tenneco Exploration
                                                                                 II, Ltd. and Tenneco Exploration, Ltd.

South Timbalier   OCS-G        Purchase and Sale Agreement          6/23/2006     BP Exploration & Production Inc.,
      37          02625                                                           Chevron U.S.A. Inc. and Union Oil
                                                                                       Company of California

South Timbalier   OCS-G   Memorandum of Termination (ST 30/37)       9/1/2016             Arena Energy, LP
      37          02625


South Timbalier   OCS-G   Memorandum of Termination (ST 37/48)       9/1/2016             Arena Energy, LP
      37          02625


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
      37          02625                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement      12/22/1997    Discovery Producer Services, LLC
      37          02625




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South Timbalier   OCS-G    Condensate, Separation, Handling, and    12/22/1997   Discovery Producer Services, LLC
      37          02625          Stabilization Agreement


South Timbalier   OCS-G           Connection Agreement              6/26/1998       Chevron Pipeline Company
      37          02625


South Timbalier   OCS-G       Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      37          02625


South Timbalier   OCS-G         Facilities Interconnect And         5/31/2000    Sea Robin Pipeline Company, LLC
      37          02625         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016    Discovery Producer Services, LLC
      37          02625        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      37          02625                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      37          02625


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
      37          02625


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      37          02625


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      38          09637                  amended                                          Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      38          09637                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      38          09637               Sale Agreement                             Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
      38          09637                                                          Company of California and Arena
                                                                                           Energy, LP




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South Timbalier   OCS-G     Offshore Operating Agreement, as       5/1/1974        Gulf Oil Corporation, Mobil Oil
      38          09637                amended                                   Corporation, Texaco Inc., Tenneco
                                                                                Oil Company, Tenneco Exploration
                                                                               II, Ltd. and Tenneco Exploration, Ltd.

South Timbalier   OCS-G       Purchase and Sale Agreement         6/23/2006     BP Exploration & Production Inc.,
      38          09637                                                         Chevron U.S.A. Inc. and Union Oil
                                                                                     Company of California

South Timbalier   OCS-G            Farmout Agreement               5/1/2004    Chevron U.S.A. Inc. and Bois d’Arc
      38          09637                                                                  Offshore Ltd.


South Timbalier   OCS-G   Oil Gathering and Reserve Dedication    8/19/2019     Rosefield Pipeline Company, LLC
      38          09637                Agreement


South Timbalier   OCS-G   Condensate Transportation Agreement     12/22/1997    Discovery Producer Services, LLC
      38          09637


South Timbalier   OCS-G   Condensate, Separation, Handling, and   12/22/1997    Discovery Producer Services, LLC
      38          09637         Stabilization Agreement


South Timbalier   OCS-G          Connection Agreement             6/26/1998         Chevron Pipeline Company
      38          09637


South Timbalier   OCS-G      Dehydration Services Agreement        1/1/2003     Discovery Producer Services, LLC
      38          09637


South Timbalier   OCS-G        Facilities Interconnect And        5/31/2000     Sea Robin Pipeline Company, LLC
      38          09637        Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement   11/1/2016     Discovery Producer Services, LLC
      38          09637        (w/Temporary Release Info)


South Timbalier   OCS-G      Gas Processing & Fractionation       11/3/2010     Discovery Producer Services, LLC
      38          09637               Agreement


South Timbalier   OCS-G     Incentive And Discount Agreement      8/19/2019     Rosefield Pipeline Company, LLC
      38          09637


South Timbalier   OCS-G   Interruptible Gas Gathering Agreement    5/1/2003     Discovery Producer Services, LLC
      38          09637




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South Timbalier   OCS-G            Platform Use Agreement              8/1/1997    Discovery Gas Transmission LLC
      38          09637


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      48           14518                                                           Company of California and Arena
                  Expired                                                                    Energy, LP

South Timbalier   OCS-G     Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      51          01240                    amended                                          Energy, LLC


South Timbalier   OCS-G       Asset Purchase and Sale Agreement        9/1/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G     Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                 Sale Agreement                             Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G            Data License Agreement              9/1/2016     Chevron U.S.A. Inc., Union Oil
      51          01240                                                            Company of California and Arena
                                                                                             Energy, LP

South Timbalier   OCS-G      Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      51          01240                   Agreement


South Timbalier   OCS-G      Condensate Transportation Agreement      12/22/1997   Discovery Producer Services, LLC
      51          01240


South Timbalier   OCS-G      Condensate, Separation, Handling, and    12/22/1997   Discovery Producer Services, LLC
      51          01240            Stabilization Agreement


South Timbalier   OCS-G             Connection Agreement              6/26/1998       Chevron Pipeline Company
      51          01240


South Timbalier   OCS-G         Dehydration Services Agreement         1/1/2003    Discovery Producer Services, LLC
      51          01240


South Timbalier   OCS-G           Facilities Interconnect And         5/31/2000    Sea Robin Pipeline Company, LLC
      51          01240           Reimbursement Agreement


South Timbalier   OCS-G     FT-2 Transportation Service Agreement     11/1/2016    Discovery Producer Services, LLC
      51          01240          (w/Temporary Release Info)




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South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010    Discovery Producer Services, LLC
      51          01240                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      51          01240


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003    Discovery Producer Services, LLC
      51          01240


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997     Discovery Gas Transmission LLC
      51          01240


South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      52          01241                  amended                                           Energy, LLC


South Timbalier   OCS-G   Master License Agreement, as amended      6/10/2002    Fairfield Industries Incorporated and
      52          01241                                                                   Arena Energy, LLC


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      52          01241                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      52          01241               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G          Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      52          01241                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier   OCS-G            Visitation Agreement              3/1/2019       Arena Offshore, LP, Board of
      52          01241                                                             Supervisors of Louisiana State
                                                                                    University and A&M College

South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
      52          01241                 Agreement


South Timbalier   OCS-G    Condensate Transportation Agreement      12/22/1997   Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G    Condensate, Separation, Handling, and    12/22/1997   Discovery Producer Services, LLC
      52          01241          Stabilization Agreement




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South Timbalier   OCS-G           Connection Agreement              6/26/1998         Chevron Pipeline Company
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South Timbalier   OCS-G       Dehydration Services Agreement         1/1/2003     Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G         Facilities Interconnect And         5/31/2000     Sea Robin Pipeline Company, LLC
      52          01241         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     11/1/2016     Discovery Producer Services, LLC
      52          01241        (w/Temporary Release Info)


South Timbalier   OCS-G       Gas Processing & Fractionation        11/3/2010     Discovery Producer Services, LLC
      52          01241                Agreement


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      52          01241


South Timbalier   OCS-G    Interruptible Gas Gathering Agreement     5/1/2003     Discovery Producer Services, LLC
      52          01241


South Timbalier   OCS-G          Platform Use Agreement              8/1/1997     Discovery Gas Transmission LLC
      52          01241


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      128         00498                                                           Research & Development Company


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      128         00498                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      128         00498                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      128         00498                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      128         00498                  amended                                           Energy, LLC




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South Timbalier    OCS     Participation Agreement, as amended      8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      128         00498                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      128         00498                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      128         00498               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      128         00498                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      128         00498            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      128         00498                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      128         00498


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      128         00498         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      128         00498


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      128         00498              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      128         00498




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South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      128         00498              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      128         00498


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      128         00498


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      128         00498


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      128         00498


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      128         00498


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      129         00465                                                           Research & Development Company


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      129         00465                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      129         00465                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      129         00465                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      129         00465                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      129         00465                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      129         00465                                                                     Energy, LP




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South Timbalier    OCS              License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      129         00465                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      129         00465                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      129         00465               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      129         00465                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      129         00465            Purchase Agreement



South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      129         00465                 Agreement



South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      129         00465


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      129         00465         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      129         00465


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      129         00465              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      129         00465


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016             Arena/VGS
      129         00465              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement          8/27/2013         Chevron U.S.A. Inc
      129         00465




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South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      129         00465


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      129         00465


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      129         00465


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      129         00465


South Timbalier    OCS              License Agreement               10/3/1951    Marine Instrument Company and Gulf
      130         00456                                                           Research & Development Company


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      130         00456                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      130         00456                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      130         00456                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      130         00456                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      130         00456               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      130         00456                                                           Company of California and Arena
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South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
      130         00456            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      130         00456                 Agreement


South Timbalier    OCS            Connection Agreement               3/1/2005              Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And         12/1/2012    Sea Robin Pipeline Company, LLC
      130         00456         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement      1/1/1998              Arena/VGS
      130         00456


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996    Venice Energy Services Company,
      130         00456              Processing Plant                                        L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019    Rosefield Pipeline Company, LLC
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South Timbalier    OCS      Interruptible Transportation Service    12/9/2016              Arena/VGS
      130         00456              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement          8/27/2013          Chevron U.S.A. Inc
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South Timbalier    OCS           Participation Agreement            8/27/2013          Chevron U.S.A. Inc
      130         00456


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
      130         00456


South Timbalier    OCS           Platform Use Agreement              6/1/2010              Arena/VGS
      130         00456


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997             Arena/VGS
      130         00456




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South Timbalier    OCS              License Agreement               10/3/1951   Marine Instrument Company and Gulf
      131         00457                                                          Research & Development Company


South Timbalier    OCS          Agreement of Compromise             8/13/1970     Marine Petroleum Corporation,
      131         00457                                                          Continental Oil Company and Gulf
                                                                                          Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      131         00457                  amended                                          Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013      Chevron U.S.A. Inc. and Arena
      131         00457                                                                    Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013      Chevron U.S.A. Inc. and Arena
      131         00457                                                                    Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013      Chevron U.S.A. Inc. and Arena
      131         00457                                                                    Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016      Chevron U.S.A. Inc., Union Oil
      131         00457                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      131         00457               Sale Agreement                             Company of California and Arena
                                                                                           Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016      Chevron U.S.A. Inc., Union Oil
      131         00457                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
      131         00457            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      131         00457                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005                Arena/VGS
      131         00457


South Timbalier    OCS          Facilities Interconnect And         12/1/2012    Sea Robin Pipeline Company, LLC
      131         00457         Reimbursement Agreement




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South Timbalier    OCS    FT-2 Transportation Service Agreement      1/1/1998                Arena/VGS
      131         00457


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996     Venice Energy Services Company,
      131         00457              Processing Plant                                         L.L.C.


South Timbalier    OCS       Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      131         00457


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      131         00457              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      131         00457


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      131         00457


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      131         00457


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      131         00457


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      131         00457


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      134         00461                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      134         00461                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      134         00461                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      134         00461                  amended                                           Energy, LLC




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South Timbalier    OCS     Participation Agreement, as amended      8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier   OCS99             License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      134         00461                                                                  Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      134         00461                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      134         00461               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP



South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      134         00461                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      134         00461            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      134         00461                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
      134         00461


South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      134         00461         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      134         00461


South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      134         00461              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      134         00461




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South Timbalier    OCS      Interruptible Transportation Service    12/9/2016                Arena/VGS
      134         00461              Agreement - GAS


South Timbalier    OCS         Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      134         00461


South Timbalier    OCS            Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      134         00461


South Timbalier    OCS        Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      134         00461


South Timbalier    OCS           Platform Use Agreement              6/1/2010                Arena/VGS
      134         00461


South Timbalier    OCS       Reserve Commitment Agreement           12/10/1997               Arena/VGS
      134         00461


South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      135         00462                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      135         00462                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      135         00462                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      135         00462                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      135         00462                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      135         00462                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      135         00462                                                                     Energy, LP




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South Timbalier    OCS      Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      135         00462                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      135         00462               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS           Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      135         00462                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      135         00462            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      135         00462                 Agreement


South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      135         00462         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
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South Timbalier    OCS    Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      135         00462              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      135         00462


South Timbalier    OCS      Interruptible Transportation Service    12/9/2016             Arena/VGS
      135         00462              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement          8/27/2013         Chevron U.S.A. Inc
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South Timbalier    OCS           Participation Agreement            8/27/2013         Chevron U.S.A. Inc
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South Timbalier    OCS       Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
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South Timbalier    OCS           Platform Use Agreement             6/1/2010              Arena/VGS
      135         00462


South Timbalier    OCS       Reserve Commitment Agreement          12/10/1997             Arena/VGS
      135         00462


South Timbalier   OCS-G      Farmout Agreement, as amended         10/31/1974   Chevron Oil Company and C & K
      148         01960                                                               Offshore Company


South Timbalier   OCS-G     Operating Agreement, as amended        4/23/1975    Chevron Oil Company and C & K
      148         01960                                                             Offshore Company, Etal


South Timbalier   OCS-G           Processing Agreement              8/1/1997       Chevron U.S.A. Production
      148         01960                                                         Company, The Louisiana Land and
                                                                                Exploration Company, Forcenergy
                                                                                 Inc., Lannie Mecom Moses and
                                                                                     WI&T Offshore, L.L.C.



South Timbalier   OCS-G    Participation Agreement, as amended     8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                                  Energy, LP


South Timbalier   OCS-G     Deep Resolve License Agreement         8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                                  Energy, LP


South Timbalier   OCS-G            License Agreement               8/27/2013     Chevron U.S.A. Inc. and Arena
      148         01960                                                                  Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      148         01960                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and   8/30/2016     Chevron U.S.A. Inc., Union Oil
      148         01960               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      148         01960                                                         Company of California and Arena
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South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
      148         01960            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      148         01960                 Agreement


South Timbalier   OCS-G           Connection Agreement               3/1/2005              Arena/VGS
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South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012    Sea Robin Pipeline Company, LLC
      148         01960         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement      1/1/1998              Arena/VGS
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South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996    Venice Energy Services Company,
      148         01960              Processing Plant                                        L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement        8/19/2019    Rosefield Pipeline Company, LLC
      148         01960


South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016              Arena/VGS
      148         01960              Agreement - GAS


South Timbalier   OCS-G       Offshore Operating Agreement          8/27/2013          Chevron U.S.A. Inc
      148         01960


South Timbalier   OCS-G          Participation Agreement            8/27/2013          Chevron U.S.A. Inc
      148         01960


South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
      148         01960


South Timbalier   OCS-G          Platform Use Agreement              6/1/2010              Arena/VGS
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South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997             Arena/VGS
      148         01960




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South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      151         00463                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      151         00463                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      151         00463                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation



South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      151         00463                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      151         00463                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      151         00463                                                           Company of California and Arena
                                                                                            Energy, LP



South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      151         00463               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP



South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      151         00463                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
      151         00463            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
      151         00463                 Agreement




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South Timbalier    OCS            Connection Agreement              3/1/2005              Arena/VGS
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South Timbalier    OCS          Facilities Interconnect And        12/1/2012    Sea Robin Pipeline Company, LLC
      151         00463         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      151         00463


South Timbalier    OCS    Gas Processing Agreement - Venice Gas    11/1/1996    Venice Energy Services Company,
      151         00463              Processing Plant                                       L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement       8/19/2019    Rosefield Pipeline Company, LLC
      151         00463


South Timbalier    OCS      Interruptible Transportation Service   12/9/2016              Arena/VGS
      151         00463              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement         8/27/2013          Chevron U.S.A. Inc
      151         00463


South Timbalier    OCS           Participation Agreement           8/27/2013          Chevron U.S.A. Inc
      151         00463


South Timbalier    OCS       Pipeline Connection Agreement         11/1/2013       Chevron Pipeline Company
      151         00463


South Timbalier    OCS           Platform Use Agreement             6/1/2010              Arena/VGS
      151         00463


South Timbalier    OCS       Reserve Commitment Agreement          12/10/1997             Arena/VGS
      151         00463


South Timbalier    OCS       Water Saturated Gas Agreement          6/1/2013    Arena Energy, LP and Sea Robin
      151         00463                                                             Pipeline Company, LLC


South Timbalier    OCS             Services Agreement               2/1/2013    Arena Energy, LP and Sea Robin
      151         00463                                                             Pipeline Company, LLC




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South Timbalier    OCS      Concurrent Agreement, as amended         7/1/1959    Humble Oil & Refining Company and
      152         00464                                                                 Gulf Oil Corporation


South Timbalier    OCS        Unit Agreement 14-08-001-6669         12/16/1959   Gulf Oil Corporation and Secretary of
      152         00464                                                                        Interior


South Timbalier    OCS          Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      152         00464                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier    OCS    Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      152         00464                  amended                                           Energy, LLC


South Timbalier    OCS      Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS       Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS              License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      152         00464                                                                     Energy, LP


South Timbalier    OCS      Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      152         00464                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Letter Agreement to Asset Purchase and    8/30/2016      Chevron U.S.A. Inc., Union Oil
      152         00464               Sale Agreement                              Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS           Data License Agreement              9/1/2016      Chevron U.S.A. Inc., Union Oil
      152         00464                                                           Company of California and Arena
                                                                                            Energy, LP

South Timbalier    OCS    Gas Processing, Fractionation & Product   12/1/2008      Enterprise Gas Processing, LLC
      152         00464            Purchase Agreement


South Timbalier    OCS     Oil Gathering and Reserve Dedication     8/19/2019     Rosefield Pipeline Company, LLC
      152         00464                 Agreement


South Timbalier    OCS            Connection Agreement               3/1/2005                Arena/VGS
      152         00464




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South Timbalier    OCS          Facilities Interconnect And        12/1/2012     Sea Robin Pipeline Company, LLC
      152         00464         Reimbursement Agreement


South Timbalier    OCS    FT-2 Transportation Service Agreement     1/1/1998                Arena/VGS
      152         00464


South Timbalier    OCS    Gas Processing Agreement - Venice Gas    11/1/1996     Venice Energy Services Company,
      152         00464              Processing Plant                                        L.L.C.


South Timbalier    OCS      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
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South Timbalier    OCS      Interruptible Transportation Service   12/9/2016                Arena/VGS
      152         00464              Agreement - GAS


South Timbalier    OCS        Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
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South Timbalier    OCS           Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      152         00464


South Timbalier    OCS       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      152         00464


South Timbalier    OCS           Platform Use Agreement             6/1/2010                Arena/VGS
      152         00464


South Timbalier    OCS       Reserve Commitment Agreement          12/10/1997               Arena/VGS
      152         00464


South Timbalier   OCS-G            Farmout Agreement               7/21/2003       Apache Corporation and Arena
      161         01248                                                                   Energy, LLC


South Timbalier   OCS-G              Offer to Purchase             12/15/2005   Apache Corporation and Arena
      161         01248                                                         Energy, LLC


South Timbalier   OCS-G      Deep Resolve License Agreement        8/27/2013       Chevron U.S.A. Inc. and Arena
      161         01248                                                                    Energy, LP




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South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      161         01248                  amended                                          Energy, LLC


South Timbalier   OCS-G             License Agreement               10/3/1951   Marine Instrument Company and Gulf
      177         01260                                                          Research & Development Company


South Timbalier   OCS-G         Agreement of Compromise             8/13/1970     Marine Petroleum Corporation,
      177         01260                                                          Continental Oil Company and Gulf
                                                                                          Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
      177         01260                  amended                                          Energy, LLC


South Timbalier   OCS-G     Participation Agreement, as amended     8/27/2013      Chevron U.S.A. Inc. and Arena
      177         01260                                                                    Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013      Chevron U.S.A. Inc. and Arena
      177         01260                                                                    Energy, LP


South Timbalier   OCS-G             License Agreement               8/27/2013      Chevron U.S.A. Inc. and Arena
      177         01260                                                                    Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016      Chevron U.S.A. Inc., Union Oil
      177         01260                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016     Chevron U.S.A. Inc., Union Oil
      177         01260               Sale Agreement                             Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016      Chevron U.S.A. Inc., Union Oil
      177         01260                                                          Company of California and Arena
                                                                                           Energy, LP

South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008     Enterprise Gas Processing, LLC
      177         01260            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019    Rosefield Pipeline Company, LLC
      177         01260                 Agreement


South Timbalier   OCS-G           Connection Agreement              3/1/2005                Arena/VGS
      177         01260




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South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012     Sea Robin Pipeline Company, LLC
      177         01260         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement      1/1/1998               Arena/VGS
      177         01260


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996     Venice Energy Services Company,
      177         01260              Processing Plant                                         L.L.C.


South Timbalier   OCS-G      Incentive And Discount Agreement       8/19/2019     Rosefield Pipeline Company, LLC
      177         01260


South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016               Arena/VGS
      177         01260              Agreement - GAS


South Timbalier   OCS-G        Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      177         01260


South Timbalier   OCS-G           Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      177         01260


South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      177         01260


South Timbalier   OCS-G          Platform Use Agreement              6/1/2010               Arena/VGS
      177         01260


South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997              Arena/VGS
      177         01260


South Timbalier   OCS-G             License Agreement               10/3/1951    Marine Instrument Company and Gulf
      188         01899                                                           Research & Development Company


South Timbalier   OCS-G         Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      188         01899                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      188         01899                  amended                                           Energy, LLC




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South Timbalier   OCS-G    Participation Agreement, as amended      8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G             License Agreement               8/27/2013    Chevron U.S.A. Inc. and Arena
      188         01899                                                                  Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement       9/1/2016     Chevron U.S.A. Inc., Union Oil
      188         01899                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      188         01899               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      188         01899                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      188         01899            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      188         01899                 Agreement


South Timbalier   OCS-G           Connection Agreement              3/1/2005              Arena/VGS
      188         01899


South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      188         01899         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      188         01899


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      188         01899              Processing Plant                                       L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      188         01899




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South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016                Arena/VGS
      188         01899              Agreement - GAS


South Timbalier   OCS-G        Offshore Operating Agreement         8/27/2013            Chevron U.S.A. Inc
      188         01899


South Timbalier   OCS-G           Participation Agreement           8/27/2013            Chevron U.S.A. Inc
      188         01899


South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      188         01899


South Timbalier   OCS-G          Platform Use Agreement              6/1/2010                Arena/VGS
      188         01899


South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997               Arena/VGS
      188         01899


South Timbalier   OCS-G             License Agreement               10/3/1951    Marine Instrument Company and Gulf
      189         01572                                                           Research & Development Company


South Timbalier   OCS-G         Agreement of Compromise             8/13/1970      Marine Petroleum Corporation,
      189         01572                                                           Continental Oil Company and Gulf
                                                                                           Oil Corporation

South Timbalier   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
      189         01572                  amended                                           Energy, LLC


South Timbalier   OCS-G     Participation Agreement, as amended     8/27/2013       Chevron U.S.A. Inc. and Arena
      189         01572                                                                     Energy, LP


South Timbalier   OCS-G      Deep Resolve License Agreement         8/27/2013       Chevron U.S.A. Inc. and Arena
      189         01572                                                                     Energy, LP


South Timbalier   OCS-G             License Agreement               8/27/2013       Chevron U.S.A. Inc. and Arena
      189         01572                                                                     Energy, LP


South Timbalier   OCS-G     Asset Purchase and Sale Agreement        9/1/2016      Chevron U.S.A. Inc., Union Oil
      189         01572                                                           Company of California and Arena
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South Timbalier   OCS-G   Letter Agreement to Asset Purchase and    8/30/2016    Chevron U.S.A. Inc., Union Oil
      189         01572               Sale Agreement                            Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G          Data License Agreement             9/1/2016     Chevron U.S.A. Inc., Union Oil
      189         01572                                                         Company of California and Arena
                                                                                          Energy, LP

South Timbalier   OCS-G   Gas Processing, Fractionation & Product   12/1/2008    Enterprise Gas Processing, LLC
      189         01572            Purchase Agreement


South Timbalier   OCS-G    Oil Gathering and Reserve Dedication     8/19/2019   Rosefield Pipeline Company, LLC
      189         01572                 Agreement


South Timbalier   OCS-G           Connection Agreement              7/1/2001              Arena/VGS
      189         01572


South Timbalier   OCS-G           Connection Agreement              3/1/2005              Arena/VGS
      189         01572


South Timbalier   OCS-G         Facilities Interconnect And         12/1/2012   Sea Robin Pipeline Company, LLC
      189         01572         Reimbursement Agreement


South Timbalier   OCS-G   FT-2 Transportation Service Agreement     1/1/1998              Arena/VGS
      189         01572


South Timbalier   OCS-G   Gas Processing Agreement - Venice Gas     11/1/1996   Venice Energy Services Company,
      189         01572              Processing Plant                                       L.L.C.


South Timbalier   OCS-G     Incentive And Discount Agreement        8/19/2019   Rosefield Pipeline Company, LLC
      189         01572


South Timbalier   OCS-G     Interruptible Transportation Service    12/9/2016             Arena/VGS
      189         01572              Agreement - GAS


South Timbalier   OCS-G       Offshore Operating Agreement          8/27/2013         Chevron U.S.A. Inc
      189         01572


South Timbalier   OCS-G          Participation Agreement            8/27/2013         Chevron U.S.A. Inc
      189         01572




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South Timbalier   OCS-G       Pipeline Connection Agreement         11/1/2013        Chevron Pipeline Company
      189         01572


South Timbalier   OCS-G          Platform Use Agreement              6/1/2010               Arena/VGS
      189         01572


South Timbalier   OCS-G      Reserve Commitment Agreement           12/10/1997              Arena/VGS
      189         01572


 Vermilion 52     OCS-G      Right-of-Use and Easement G3183         7/7/2010    BSEE, Arena Energy, LP and Arena
                  22606                                                                   Offshore, LP


 Vermilion 71     OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                  21592                  amended                                           Energy, LLC


 Vermilion 71     OCS-G              Letter Agreement               3/30/2005     Stone Energy and Arena Offshore,
                  21592                                                            LLC and Triumph Energy, LLC


 Vermilion 71     OCS-G         Gas Processing Agreement             6/1/2011      Enterprise Gas Processing, LLC
                  21592


 Vermilion 71     OCS-G     Liquid Hydrocarbon Transportation        9/1/2006    Sea Robin Pipeline Company, LLC
                  21592                Agreement


 Vermilion 72     OCS-G        Offshore Operating Agreement          2/1/2006      Arena Offshore, LLC and Arena
                  27851                                                                  Exploration, LLC


 Vermilion 72     OCS-G             Farmout Agreement                6/9/2006      Energy Partners Ltd. and Arena
                  27851                                                                    Energy, LLC


 Vermilion 72     OCS-G       Production Handling Agreement         12/31/2006   Arena Offshore, LLC, Arena Energy,
                  27851                                                           LLC, Arena Exploration, LLC and
                                                                                      Chadbourne Partners Ltd.

 Vermilion 72     OCS-G       Purchase and Sale Agreement, as        1/1/2008      Energy Partners Ltd. and Arena
                  27851                  corrected                                         Energy, LLC


 Vermilion 72     OCS-G         Gas Processing Agreement             6/1/2011      Enterprise Gas Processing, LLC
                  27851




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Vermilion 207   OCS-G            Commitment Letter           5/6/2003      Noble Energy and Arena Energy,
                 19761                                                                  LLC
                Expired

Vermilion 325   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                36200                amended                                      USA General LLC


Vermilion 325   OCS-G      Production Handling Agreement     1/1/2012    Arena Offshore, LP, Peregrine Oil &
                36200                                                    Gas II, LP and Entek USA General
                                                                                        LLC

Vermilion 325   OCS-G     Amendment to Production Handling   5/1/2014    Arena Offshore, LP, Peregrine Oil &
                36200               Agreement                             Gas II, LP and Arena Energy, LP


Vermilion 325   OCS-G     Second Amendment to Production     9/11/2019   Arena Offshore, LP, Peregrine Oil &
                36200          Handling Agreement                         Gas II, LP and Arena Energy, LP


Vermilion 341   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                33607                amended                                      USA General LLC


Vermilion 341   OCS-G       Purchase and Sale Agreement      1/1/2012    Entek USA General LLC and Arena
                33607                                                             Energy, LLC


Vermilion 341   OCS-G      Production Handling Agreement     1/1/2012    Arena Offshore, LP, Peregrine Oil &
                33607                                                    Gas II, LP and Entek USA General
                                                                                        LLC

Vermilion 341   OCS-G     Amendment to Production Handling   5/1/2014    Arena Offshore, LP, Peregrine Oil &
                33607               Agreement                             Gas II, LP and Arena Energy, LP


Vermilion 341   OCS-G     Second Amendment to Production     9/11/2019   Arena Offshore, LP, Peregrine Oil &
                33607          Handling Agreement                         Gas II, LP and Arena Energy, LP


Vermilion 342   OCS-G     Offshore Operating Agreement, as   4/26/2010   Peregrine Oil & Gas II, LP and Entek
                33608                amended                                      USA General LLC


Vermilion 342   OCS-G       Purchase and Sale Agreement      1/1/2012    Entek USA General LLC and Arena
                33608                                                             Energy, LLC


Vermilion 342   OCS-G      Production Handling Agreement     1/1/2012    Arena Offshore, LP, Peregrine Oil &
                33608                                                    Gas II, LP and Entek USA General
                                                                                        LLC




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Vermilion 342   OCS-G     Amendment to Production Handling        5/1/2014    Arena Offshore, LP, Peregrine Oil &
                33608               Agreement                                  Gas II, LP and Arena Energy, LP


Vermilion 342   OCS-G      Second Amendment to Production         9/11/2019   Arena Offshore, LP, Peregrine Oil &
                33608           Handling Agreement                             Gas II, LP and Arena Energy, LP


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     522        34033                  amended                                          Energy, LLC


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     543        12802                  amended                                          Energy, LLC


West Cameron    OCS-G      Facilities Agreement, as amended       11/1/2008   Stingray Pipeline Company, L.L.C.
     543        12802                                                         and Fairways Offshore Exploration
                                                                                              Inc.

West Cameron    OCS-G        Purchase and Sale Agreement          5/1/2013    Fairways Offshore Exploration Inc.
     543        12802                                                          and Arena Energy, LP and Arena
                                                                                        Offshore, LP

West Cameron    OCS-G               Sale Agreement                5/3/2013    Stingray Pipeline Company, L.L.C.
     543        12802                                                               and Arena Offshore, LP


West Cameron    OCS-G   Master Offshore Operating Agreement, as   10/1/2003     Arena Offshore, LLC and Arena
     544        14342                  amended                                          Energy, LLC


West Cameron    OCS-G      Facilities Agreement, as amended       11/1/2008   Stingray Pipeline Company, L.L.C.
     544        14342                                                         and Fairways Offshore Exploration
                                                                                              Inc.

West Cameron    OCS-G        Purchase and Sale Agreement          5/1/2013    Fairways Offshore Exploration Inc.
     544        14342                                                          and Arena Energy, LP and Arena
                                                                                        Offshore, LP

West Cameron    OCS-G               Sale Agreement                5/3/2013    Stingray Pipeline Company, L.L.C.
     544        14342                                                               and Arena Offshore, LP


West Cameron    OCS-G      Gathering and Reserve Dedication       8/19/2019    Rosefield Pipeline Company, LLC
     544        14342                 Agreement


West Cameron    OCS-G     Interruptible Transportation Service    8/1/2013    Stingray Pipeline Company, L.L.C.
     544        14342              Agreement - GAS




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West Cameron    OCS-G       Platform Space Agreement          6/1/1995    Stingray Pipeline Company, L.L.C.
     544        14342


West Cameron    OCS-G      Reserve Dedication Agreement       8/1/2013    Stingray Pipeline Company, L.L.C.
     544        14342


West Cameron    OCS-G          Operating Agreement           12/1/1979        Sun Oil, Aquitaine, Apache
     639         02027                                                       Corporation Clark and Huber
                Expired

West Cameron    OCS-G          Operating Agreement           12/1/1979       Sun Oil, Aquitaine, Apache
     648         04268                                                       Corporation Clark and Huber
                Expired

West Delta 72   OCS-G         Participation Agreement        9/18/2009       Exxon Mobil Corporation and
                01082                                                       Newfield Exploration Company


West Delta 72   OCS-G      Offshore Operating Agreement      12/1/2009       Exxon Mobil Corporation and
                01082                                                       Newfield Exploration Company


West Delta 72   OCS-G      Purchase and Sale Agreement        1/1/2019    ExxonMobil and Arena Energy, LP
                01082


West Delta 73   OCS-G         Participation Agreement        9/18/2009       Exxon Mobil Corporation and
                01083                                                       Newfield Exploration Company


West Delta 73   OCS-G      Offshore Operating Agreement      12/1/2009       Exxon Mobil Corporation and
                01083                                                       Newfield Exploration Company


West Delta 73   OCS-G      Purchase and Sale Agreement        1/1/2019    ExxonMobil and Arena Energy, LP
                01083


West Delta 86   OCS-G         Evaluation Agreement           10/15/2004      Arena Energy, LLC and SPN
                04243                                                              Resources, LLC


West Delta 86   OCS-G      Offshore Operating Agreement      11/1/2004       Arena Energy, LLC and SPN
                04243                                                              Resources, LLC


West Delta 86   OCS-G      Purchase and Sale Agreement       11/1/2004    Amerada Hess Corporation and SPN
                04243                                                             Resources, LLC




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West Delta 86    OCS-G       Amendment and Supplement to           11/5/2004       Arena Energy, LLC and SPN
                 04243          Evaluation Agreement                                     Resources, LLC


West Delta 86    OCS-G   Assignment Agreement and Amendment         5/5/2005       Arena Energy, LLC and SPN
                 04243      to Offshore Operating Agreement                              Resources, LLC


West Delta 86    OCS-G    Second/Third Amendment to Offshore       7/12/2007    Arena Energy, LLC, Arena Offshore,
                 04243           Operating Agreement                              LLC and SPN Resources, LLC


West Delta 86    OCS-G      Amendment to Offshore Operating         8/1/2010    Arena Energy, LLC, Arena Offshore,
                 04243              Agreement                                     LLC and SPN Resources, LLC


West Delta 117   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                 35951                  amended                                           Energy, LLC


West Delta 117   OCS-G         Negotiated Sale Agreement           6/14/2018      Chevron U.S.A. Inc. and Arena
                 35951                                                                    Energy, LP


West Delta 118   OCS-G   Master Offshore Operating Agreement, as   10/1/2003      Arena Offshore, LLC and Arena
                 36227                  amended                                           Energy, LLC


West Delta 133   OCS-G             Option Agreement                12/30/2003    Apache Corporation and Newfield
                 01106                                                                Exploration Company


West Delta 133   OCS-G            Operating Agreement               6/1/2004    Newfield Exploration Company and
                 01106                                                                Triumph Energy, LLC


West Delta 133   OCS-G           Participation Agreement            6/1/2004    Newfield Exploration Company and
                 01106                                                                Triumph Energy, LLC


West Delta 133   OCS-G     Liquid Hydrocarbons Transportation       1/1/2007    Newfield Exploration Company, Etal,
                 01106                Agreement                                       and Arena Energy, LLC


West Delta 133   OCS-G       Production Handling Agreement          1/1/2007      Newfield Exploration, Etal, and
                 01106                                                                 Arena Energy, LLC


West Delta 133   OCS-G        Purchase and Sale Agreement           7/1/2012       McMoRan Oil & Gas LLC and
                 01106                                                                Renaissance Offshore




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West Delta 133   OCS-G      Pipeline Ownership Agreement        10/1/2012   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G       Purchase and Sale Agreement        10/1/2012   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G       Contract Operator Agreement        3/16/2013   Renaissance Offshore, Arena Energy,
                 01106                                                          LP and Arena Offshore, LP


West Delta 133   OCS-G   1st Amendment to Production Handling   2/3/2014    Renaissance Offshore, Arena Energy,
                 01106               Agreement                                  LP and Arena Offshore, LP


West Delta 133   OCS-G           Gathering Agreement            8/1/2006        Renaissance Offshore, LLC
                 01106




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                                      SCHEDULE 5.9(c)

        Attached to and made a part of that certain Asset Purchase Agreement by and among
                 Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                           and Sagamore Hill Holdings, LP, as Seller
                              and San Juan Offshore, LLC, as Buyer


                             OTHER MATERIAL CONTRACTS

None.
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                                     SCHEDULE 5.10

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                      OUTSTANDING CAPITAL COMMITMENTS


See attached.
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Block      AFE Name                              AFE Code     Project     AFE            Projected      Booked $       % of Project   ≥ $1MM Project Balance
                                                              Start       Amount         Final $                       Final

ST 36      ST 36B, Platform repairs/upgrades                  8/1/2020                   1,000,000.00                                  1,000,000.00

           TA of WD 85 A-16 (with sustained
WD 85      casing pressure on the 16" annulus)                7/1/2021                   1,000,000.00                                  1,000,000.00

ST 52      ST Shallow Riser Repairs              19098STSRR   11/1/2019   1,849,725.00   2,267,313.00   1,169,529.97   0.5158          1,097,783.03

EI 57/58   TA of 3 wells at EI 57/58                          7/1/2021                   1,120,000.00                                  1,120,000.00

           EI 251 A / EI 252 I Pig Launcher/
EI 251     Receiver                                           6/1/2022                   1,150,000.00                                  1,150,000.00

           EI 238 H Solar Turbine 30,000 Hour
EI 238     Engine Exchange                                    8/1/2021                   1,200,000.00                                  1,200,000.00

WD         WD 72 Abandonment - Net Costs
72/73      Entered                                            9/1/2021                   1,217,000.00                                  1,217,000.00
           EI 238 E/ EAux - Meter Move to EI
EI 238     238 H                                 20023238MM   2/1/2020                   1,276,270.00   54,106.74      0.0423          1,222,163.26

EI 238     ZI of 2 wells at EI 238 H             EI252H17ZI   7/1/2020    145,200.00     1,260,000.00   4,641.20       0.0036          1,255,358.80

EI 237     EI 237 J Re-route Pipeline            20021237PL   3/1/2020                   1,290,989.00   35,487.18      0.0274          1,255,501.82

           ST Deep Boat Landing replacements
ST 135     and waterline repairs                              4/1/2021                   1,300,000.00                                  1,300,000.00

EI 227     EI 227C (Platform Removal) [$1.6MM]   20007EI227   1/1/2020                   1,355,133.00   29,907.00      0.022           1,325,226.00

PL 25      TA of 3 wells at PL 25                             6/1/2021                   1,380,000.00                                  1,380,000.00

ST 37      ST 37 A, Sump Upgrade                 20055SMP7A   1/1/2020                   1,400,000.00   12,772.95      0.0091          1,387,227.05

ST 148     ST 148 A-2, 3, 6, & 8 Well TA         20004ST148   9/1/2020    1,210,000.00   1,210,000.00                                  1,210,000.00

           EI 182A Permanent Flot Cell
EI 182     Replacement                           19212EI182   2/1/2020    1,394,770.00   1,560,000.00   113,680.70     0.0728          1,446,319.30

                                                                    SCHEDULE 5.10
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SM 192     SMI 192 A2/A3 Zone Iso                             5/1/2020                   1,500,000.00                           1,500,000.00
           EI 251 A - Meter addition on
EI 251     Separators at EI 251 A and EI 252 I   19155251MA   12/1/2019                  1,682,295.00   138,947.87     0.0825   1,543,347.13

EI 215     EI 215 Well Abandonment                            4/1/2021                   1,550,000.00                           1,550,000.00

EI 238     EI 238 E/A - Re- Route pipeline       20020238PL   3/1/2020                   1,659,500.00   32,820.27      0.0197   1,626,679.73
           EI 314 A P/L Abandonment OOS 6"
EI 314     Oil P/L - Clear and Flush             20025314PL   12/1/2019                  1,689,023.00   22,392.20      0.0132   1,666,630.80

GA 209     GA 209B Dehy Addition                 20046209BG   1/1/2020                   1,780,000.00   28,707.13      0.0161   1,751,292.87

EI 237     EI 237J Platform Removal              20008EI237   12/1/2019                  1,935,000.00   42,936.87      0.0221   1,892,063.13

EI 215     EI 215 Gas Pipeline to KDE                         4/1/2021                   2,123,000.00                           2,123,000.00
           EI 57/58 Cassion & Pipeline
EI 57/58   Abadonments (3)                                    6/1/2020                   2,423,000.00                           2,423,000.00

ST 37      ST 37 H-3                             2005637H03   3/1/2020    725,000.00     5,920,000.00   3,281,766.22   0.5543   2,638,233.78

WD 86      WD 86 B well abandonments                          7/1/2021                   3,000,000.00                           3,000,000.00

Misc       2020 Misc Facility Capital Repairs                 4/1/2020                   3,225,000.00                           3,225,000.00

EI 238     EI 238A - Re-route Pipeline           20022238RM   3/1/2020                   3,458,849.00   31,892.00      0.0092   3,426,957.00
           WC 648A Platform Removal
WC 648     (McMoRan)                                          5/1/2022                   3,500,000.00                           3,500,000.00

Misc       Misc Zone Changes                                  2/1/2020                   3,507,000.00                           3,507,000.00

ST 131     ST 131J Platform Removal              20010ST131   3/1/2020                   4,500,000.00                           4,500,000.00
           ST 130C Platform & Pipeline
ST 131     Abandonment                           ST130CABN    8/1/2017    5,295,601.00   5,373,715.00   573,714.76     0.1067   4,800,000.24
           WC 639A Platform Removal
WC 639     (McMoRan)                             90248P       5/1/2022    7,256,703.00   5,000,000.00                           5,000,000.00

EI 338     EI 338 K - Compression Upgrade        19214338CP   3/1/2020                   5,036,883.00   19,973.88      0.0039   5,016,909.12

EI 238     EI 238E/E-Aux Removals                20009238E    1/1/2020                   6,355,000.00   135,027.06     0.0212   6,219,972.94


                                                                   SCHEDULE 5.10
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            EC 328 Gas pipeline installation to
 EC 328     Stingray                              19126328PL   11/1/2019   6,955,678.00   7,225,000.00   333,115.21   0.0461   6,891,884.79
            EI 215 Redevelopment - Platform
 EI 215     Upgrades                                           1/1/2020                   8,850,000.00                         8,850,000.00

 EI 215     EI 215 B Platform Abandonment                      6/1/2021                   9,200,000.00                         9,200,000.00
            SP 83 Platform & Pipeline
 SP 83      Abandonment                                        6/1/2020                   9,860,000.00                         9,860,000.00




All properties except the following - 98% WI
EC 328 - 48% WI
EI 58 - 57.73% WI
EI 57 - 54.05% WI
PL 25 - 91.875%
ST 148 - 38% WI
WD 85 - 60% WI
WD 86 - 25.00% WI/60.00% WI
WD 72/73 - 50% WI* Numbers above are net to 50%
WD 639 - 42.38% WI
WD 648 - 30.83% WI




                                                                    SCHEDULE 5.10
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                                    SCHEDULE 5.12

     Attached to and made a part of that certain Asset Purchase Agreement by and among
              Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                        and Sagamore Hill Holdings, LP, as Seller
                           and San Juan Offshore, LLC, as Buyer


                                     CURE COSTS

To be determined.
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                                     SCHEDULE 5.13

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                                      IMBALANCES


See attached.
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Arena Gas Imbalances as of 6/30/20
                                                                        Volume (mmbtu)         Value
                                                                       Arena Owes (Owed) Arena Owes (Owed)                                                                    Status/Notes
Arena-Operated                       Other Parties
EC 328/VR 342                        Peregrine/Tana                                    0   $            -
EI 57/58                             Ankor                                         1135    $      (3,320.36) 2019 Gas Imbalance-Invoiced Ankor 7/15/20
HI A547                              Talos, Fieldwood, Walter                          0   $            -
ST 148                               Fieldwood, W&T, W&T VI, Wichita            (10,877)   $     (17,729.51) TIK- FIFO @ overdelivered party price, this is an estimate, W&T was overdelivered party @ 6/30/20
ST Deep PTR Imbalance                Targa                                       20,492    $      61,476.66 through 4/20- Arena owes Targa. Plant tells Tina when to make up, usually 2-3 mo lag
                                                                                 10,750    $      40,426.79

Non-Op
EI 315/316                           Fieldwood                                   71,231    $     201,443.17    TIK-Arena Owes Fieldwood-Accrued on Arena's books
MC 800                               Murphy                                     (17,251)   $     (34,779.00)   Murphy- Value includes ($20,677.23) Due Arena for 2019 imbalance set up as ACH payable in Murphy's AP system due today (7/20)
WD 133                               Renaissance                                   (180)   $      (3,339.50)   Valued monthly, settled annually with Renaissance
WD 86                                Fieldwood                                      (51)   $        (102.00)   TIK
HI 179                               Fieldwood                                   (9,186)   $     (18,372.00)   TIK-Fieldwood owes Arena through 5/20
                                                                                 44,563    $     144,850.67


TOTAL- Arena Owes other parties                                                  55,313    $     185,277.46
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                                     SCHEDULE 5.14

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                                       INSURANCE


See attached.
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                                                                                                                                  ARENA ENERGY, LP
                                                                                                                           Insurance Summary as of July 1, 2020

                                                                                                                                                                                                                                                   Marsh | Wortham
    Coverage              Policy Number           Policy Period                               Limits                                              Deductible                                  Premium                       Carrier                  Technician

 General Liability           GL305270n           11/20/19-11/20/20             $1,000,000 Each Event Limit                                $25,000 Per Occ.                                     $470,000                Liberty - UK and              Jim Anderson
                                                                               $2,000,000 Products/Comp. Ops. Total                                                                                               Underwriters at Lloyds, London     713/346-1283
                                                                                          Limit
                                                                               $2,000,000 General Total Limit
                                                                               $1,000,000 Premises Damage Limit
                                                                                  $50,000 Medical Expenses

           Description: Provides legal liability coverage for bodily injury or property damage of third parties.



 Hired Non-Owned         AS2641005131040            1/1/20-1/1/21              $1,000,000 Liability                                         $1,000 Hired Physical Damage                        $3,300             Liberty Mutual Insurance Co.       Mike Feighl
Automobile Liability                                                              $35,000 Hired Physical Damage                                                                                                                                      713/346-1069


           Description: Provides benefits to employees for injury arising out of, and in the course of, employment and will also respond to the legal liability of the employer to pay damages to the employee.


  Primary Excess             GL305260n           11/20/19-11/20/20             $5,000,000 Each Event Limit                                 Per Schedule of Underlying,                         $307,500                 Liberty - UK and             Jim Anderson
     Liability                                                                 $5,000,000 General Total Limit                                                                                                     Underwriters at Lloyds, London     713/346-1283
     ($5mm)                                                                    $5,000,000 Products/Comp.Ops. Total
                                                                                          Limit

           Description: Provides legal liability coverage for bodily injury and property damage of third parties for loss in excess of the limits provided by the primary policies.


  Excess Liability           GL305230n           11/20/19-11/20/20           $20,000,000 Per Occurence                                      Excess of Primary Excess                           $312,500                Liberty - UK and              Jim Anderson
 ($20mm x $5mm)                                                              $20,000,000 Aggragate Limit                                          policy above                                                    Underwriters at Lloyds, London     713/346-1283
                                                                             $20,000,000 Products/Comp.Ops. Total

           Description: Provides legal liability coverage for bodily injury and property damage of third parties for loss in excess of the limits provided by the Primary Umbrella policy.


  Excess Liability      GL305231n/JLWM4          11/20/19-11/20/20           $75,000,000 Per Occurence                                    Excess of above Excess Liability Policy              $353,684                    Markel and                Jim Anderson
($75mm x $25mm)                                                              $75,000,000 Aggragate Limit                                                                                                          Underwriters at Lloyds, London     713/346-1283
                                                                             $75,000,000 Products/Comp.Ops. Total

           Description: Provides legal liability coverage for bodily injury and property damage of third parties for loss in excess of the limits provided by the Primary Umbrella policy.
                                                `

 Charterer's Legal       B0621EJAE000119         11/20/19-11/20/20             $1,000,000 CSL per occ.                                    $10,000 Per Occ.                                      $25,625                 Lloyd's of London            Brandi Brown
    Liability                                                                                                                                                                                                                                        713/346-1248


           Description: Provides coverage for the legal and/or contractual liability of the Insured as a charterer of watercraft.


Non-Owned Aircraft          1.00023E+11          11/20/19-11/20/20           $10,000,000 Combined Single Limit,                             $1,000 Per Occ.                                     $6,590                    Starr Aviation             Eddie Moreno
     Liability                                                                           each occurrence                                                                                                                                             713/346-1378


           Description: Provides benefits to employees for injury arising out of, and in the course of, employment and will also respond to the legal liability of the employer to pay damages to the employee.




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                                                                                                                               ARENA ENERGY, LP
                                                                                                                        Insurance Summary as of July 1, 2020

                                                                                                                                                                                                                                                          Marsh | Wortham
     Coverage             Policy Number           Policy Period                              Limits                                                Deductible                                  Premium                                 Carrier              Technician

      Property/             61SBABT3216          11/20/19-11/20/20              Suite 500:                                                $1,000                                                  $9,324                      Hartford Insurance Co.        Matthew Blades
   Office Contents                                                                   BPP: $596,300                                                                                                                                                          713/346-1219
                                                                                     EDP: $500,000

                                                                                Suite 230:
                                                                                     BPP: $298,200
                                                                                     EDP: $250,000

                                                                                Suite 280:
                                                                                     BPP: $119,200
                                                                                     EDP: $50,000

            Description: Provides coverage for damage to office contents.


Workers' Compensation/ WC2-641-005131-050          1/1/20-1/1/21           Statutory Workers' Comp                                               Nil                                            $247,882                          Liberty Mutual             Mike Feighl
 Employer's Liability                                                MM/$1MM/$1MM Employer's Liab.                                                                                                                                                          713/346-1069
                                                                        $1MM/$1MM Maritime EL

            Description: Provides benefits to employees for injury arising out of, and in the course of, employment and will also respond to the legal liability of the employer to pay damages to the employee. Also provides legal
                         liability coverage for the employer to pay damages to employees based on maritime law.

                                                                                    Risk                 Wind                             Risk                     Wind
   Energy Package            GU310150o             6/15/20-5/1/21                          As Attached                                             As Attached                                 $7,974,889                        Certain Ins. Cos.          Jim Anderson
      Program                GU310151o             6/15/20-5/1/21                                                                                                                       Estimated Annual Premium              and Lloyd's of London         713/346-1283
                             GU310152o             6/15/20-5/1/21                                                                                                                       (See Attached Breakdown)
                             GU310153o             6/15/20-5/1/21
                             GU310154o             6/15/20-5/1/21
                             GU310155o             6/15/20-5/1/21
                             GU310156o            6/15/20-6/15/21
                             JLWM4625              6/15/20-5/1/21
                             JLWM4626              6/15/20-5/1/21
                             JLWM4627              6/15/20-5/1/21
                             JLWM4628              6/15/20-5/1/21

                        Builders Risk:                                Provides coverage for losses arising from physical damage to offshore platforms, pipelines, and subsea equipment while being fabricated, transported, and/or installed. Projects
                                                                      must be approved by underwriters prior to beginning of operation.


   Control of Well/         JCOW101166             6/15/20-5/1/21    5MM (100%) AOO, subject to                                    $1MM (100%) AOO                                              $709,873                       Markel International         Jim Anderson
       OEE                                                               $10MM NWS Agg. Limit                                                                                                                                                               713/346-1283
                                                                                (Covers select wells only)

            Description: Provides coverage for controlling and redrilling a "well out of control", and seepage and pollution cleanup arising from a "well out of control". Also, provides other coverages as per policy f



       Excess                 41N28013            6/15/20-6/15/21    0MM (100%) AOO, subject to                                             Excess of above policy                             $1,024,689                   Travelers Property Casuslty     Jim Anderson
   Control of Well/                                                      $10MM NWS Agg. Limit                                                                                                                                     Co. of America            713/346-1283
       OEE                                                                      (Covers select wells only)

            Description: Provides coverage for controlling and redrilling a "well out of control", and seepage and pollution cleanup arising from a "well out of control". Also, provides other coverages as per policy f



    Oil Pollution             GL305860o            3/7/20-3/7/21             $35,000,000                                                         Nil subject to $100,000                       $583,229.00                       Lloyds of London           Jim Anderson
    Act Liability                                                                                                                                    indemnity letter                         Revised annual                                                713/346-1283



   Vessel Pollution           V1467520            6/15/20-6/15/21                       Rigs: $18,796,800                                          As per policy                                 $26,180                        Starr Indemnity &             Jamie Lee
      Liability                                                                        Vessels: $5,000,000                                                                                                                        Liabiility Co             713/346-1405
    (White Fleet




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                                                                                                                                      ARENA ENERGY, LP
                                                                                                                               Insurance Summary as of July 1, 2020

                                                                                                                                                                                                                                            Marsh | Wortham
        Coverage               Policy Number           Policy Period                               Limits                                               Deductible                            Premium                    Carrier              Technician
      Drilling, LLC)


    Directors & Officers         DA5708201P             4/4/17-4/4/23              $5,000,000 Agg. Limit                                        $50,000 each claim                       $35,294 + Surplus Lines   Assoc. Ele. & Gas Ins.     Lori Wheeler
     (Venice Gathering            (Run Off)                                         $250,000 Investigative Expense                                                                                                  Services (AEGIS)          713/346-1346
       System, LLC)

                Description: Provides legal liability coverage for the negligent or wrongful acts of the Directors and Officers solely in their capacity as such.


    Directors & Officers        G46823072003           10/5/19-10/5/20             $3,000,000 Agg. Limit                                                   $25,000                              $11,694              Westchester Fire         Lori Wheeler
    (Rosefield Pipeline                                                            $1,000,000 Additional Side A                                                                                                    Insurance Co. (ACE)        713/346-1346
     Company, LLC)

                Description: Provides legal liability coverage for the negligent or wrongful acts of the Directors and Officers solely in their capacity as such.


         OIL Entry                 2013-302             1/1/20-1/1/21              $300,000,000 (FAI) any one occurrence                   $25,000,000 (100%) any one occurrence               $1,170,601                  OIL                Jim Anderson
                                                                                                                                                                                                                                              713/346-1283

This document is a summary only. All terms and conditions are as per the actual policies. In the event of a discrepency between this summary and a policy, the actual policy shall pre




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                                     SCHEDULE 5.15

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                       SURETY BONDS AND CREDIT SUPPORT


See attached.
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Arena Bonding Obligations
                                                                                                        P&A
                                                                       Original       Principal      Offsetting     Final
                    Lease                       OCS         RLB No.    Principal      Replaced        Escrow      Principal        Type        Obligee       Obligor                                               Comments                                                       Issuer             Status
                                                                                                                                                                       P&A Obligations for EI 314/332/315 / Increased from $18M to $33M under Aband. Funding Agreement
EI 314                                      2111          RLB0013842    33,000,000                                 33,000,000   Performance   ExxonMobil     Arena     on 12/31/14                                                                                                 RLI            6-1-21 renewal
EI 314                                      2111          RLB0015909     4,000,000                                  4,000,000   Performance   ExxonMobil     Arena     P&A Obligations for EI 314 field/Exchanged for $4 million cash reimbursed from Escrow                                     1-12-21 renewal

EI 341                                      2914          RLB0016014      5,950,000                                 5,950,000   Performance    Chevron       Arena     P&A Obligations for EI 341 Re DG Agreement, Ex.L to October 1, 2014 PSA Re EI 341, 215, 313                 RLI           4-14-21 renewal
                                                          Evergreen
EI 341                                      2914          866609          5,950,000                                 5,950,000   Performance    Chevron        Arena    P&A Obligations for EI 341 Re DG Agreement, Ex.L to October 1, 2014 PSA Re EI 341, 215, 313              Evergreen        4-14-21 renewal
HIA A547                                    2705          RLB0011993      1,786,000                                 1,786,000   Performance     Noble         Arena    Wells Fargo Escrow Account # 23242000                                                                       RLI            8-8-20 renewal
MI 668                                      04547         RLB0009632      2,925,000                                 2,925,000   Performance     Apache        Arena    In connection with acquisition of lease, wells and pipeline(s)-MI 668 and 669                               RLI           8-30-20 renewal
SM 192                                      24878         RLB0005598        665,000                                   665,000   Performance    Anadarko       Arena    Well P&A and Platform Removal Bond                                                                          RLI            6-2-21 renewal
SM 192                                      24878         RLB0005923        332,500                                   332,500   Performance    Marathon       Arena    Well P&A and Platform Removal Bond                                                                          RLI           8-18-20 renewal
                                                                                                                                                             Arena &
SM 192                                      24878         RLB0006711      1,425,000                                 1,425,000   Performance     Hess          AOL      Platform, Capital One Escrow Account # 75-9245-01-2 (transferred to Whitney Escrow Account)                 RLI           12-16-20 renewal
SP 83                                       05052         RLB0007130      2,041,000                                 2,041,000   Performance     Noble         Arena    Covers SP 82, Wells Fargo Escrow Account # 20080900                                                         RLI            4-20-21 renewal
SP 83                                       05052         RLB0008264      1,130,973                                 1,130,973   Performance    Piquant        Arena    In connection with 04/01/05 record title acquisition                                                        RLI            6-20-21 renewal
SP 83                                       05052         RLB0008265        471,246                                   471,246   Performance    Apache         Arena    In connection with 04/01/05 record title acquisition                                                        RLI            6-20-21 renewal
SP 83                                       05052         RLB0008266        452,378                                   452,378   Performance     Bundy         Arena    In connection with 04/01/05 record title acquisition                                                        RLI            6-20-21 renewal
SP 83                                       05052         RLB0008267        226,217                                   226,217   Performance    Crescent       Arena    In connection with 04/01/05 record title acquisition                                                        RLI            6-20-21 renewal
SP 83                                       05052         RLB0008285         45,222                                    45,222   Performance      CLK          Arena    In connection with 04/01/05 record title acquisition                                                        RLI            6-23-21 renewal
                                                                                                                                                                       In connection with acquisition of lease, wells and pipeline(s): Whitney Bank Trust Escrow Account #
ST 161                                      1248          RLB0009467     2,000,000                                  2,000,000   Performance    Apache        Arena     1110440-001                                                                                                 RLI            7-13-21 renewal
EI Properties                                             RLB0014828    19,900,000                                 19,900,000   Performance    McMoran       Arena     $19.9MM of P&A obligations from 4Q12 acquisition                                                            RLI           11-13-20 renewal
                                                          B007929
WC 544                                      14342         (Indemco)       5,000,000                                 5,000,000   Performance     Apache       Arena     P&A Bond re: WC 543/544 Fairways acquisition; P&A Bond w/Apache as Obligee                                Indemco         5-1-21 renewal
ROW AW                                      Areawide      RLB0013522        300,000                                   300,000      ROW           MMS         Arena     ROW Grant Bond to cover AE's pipeline right-of-way holdings in GOM.                                          RLI          11-4-20 renewal
                                            ST Shallow,
                                            ST Deep,
                                            Riker,
                                            Other EI                                                                                                                                                                                                                                         Replaced with Rider 1 see
Chevron ASPA                                Properties    RLB0016597                    74,300,000                              Performance    Chevron       Arena     Initial P&A for Chevron ASPA Properties; Munich has 87.483%; RLI has 12.517%                             RLI/Munich           below
                                            ST Shallow,
                                            ST Deep,
                                            Riker,
                                            Other EI      RLB0016597                                                                                                                                                                                                                         Replaced with Rider 2 see
Chevron ASPA                                Properties    Rider 1                       74,300,000                              Performance    Chevron       Arena     Initial P&A for Chevron ASPA Properties; Munich has 43.7%; RLI has 56.3%                                 RLI/Munich           below
                                            ST Shallow,
                                            ST Deep,
                                            Riker,
                                            Other EI      RLB0016597
Chevron ASPA                                Properties    Rider 2       74,300,000                                 74,300,000   Performance    Chevron       Arena     Initial P&A for Chevron ASPA Properties; Munich has 72%; RLI has 28%                                     RLI/Munich       9/26/20 renewal
                                                                                                                                               Chevron/
ST38/Chevron ASPA                                         RLB0016606       700,000                                    700,000   Performance   Taylor Rider   Arena     P&A for ST 38 - Taylor Energy Rider as Co-Obligee                                                           RLI           9/26/20 renewal
                                            ST Shallow,
                                            ST Deep,
                                            Riker,
                                            Other EI
Chevron ASPA                                Properties    RLB0017124    75,000,000                                 75,000,000   Performance    Chevron       Arena     Additional P&A for Chevron ASPA Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                   RLI/Munich       9/26/20 renewal
Chevron PA                                  ST Deep       RLB0017123    34,832,916                                 34,832,916   Performance    Chevron       Arena     P&A for Chevron PA Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                                RLI/Munich       9/26/20 renewal
Chevron FOA                                 Riker         RLB0017122    10,000,000                                 10,000,000   Performance    Chevron       Arena     P&A for Chevron FOA Riker Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                         RLI/Munich       9/26/20 renewal
WD 117                                      G35951        ROG0001422       103,800                                  8,650,000   Performance    Chevron       Arena     P&A for WD 117 G Platform                                                                                   RLI           10/30/20 renewal
                                                                                                                                                Exxon
                                                                                                                                              Mobil/Exxon
Exxon 2019 - Galveston, MC and WD           Various       SUR0056455    13,500,000                                 13,500,000   Performance    Pipeline      Arena     P&A Obligation for GA 209, GA 192, HI 193, HI 179 Unit, MC 311, WD 72, WD 73                             Argonaut          1/1/21 renewal
Arena and TOTALS                                                       296,037,252                            -   304,583,452                                          Total Arena Energy Bonds issued by RLI and Indemco

Area-Wide Third Party Guarantee Agreement   Various                     30,115,000                                 30,115,000    Guaranty        AOL         Arena     Indirect credit support of Arena supporting AOL's obligations with respect to the identified pipelines




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                                     SCHEDULE 6.8

     Attached to and made a part of that certain Asset Purchase Agreement by and among
              Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                        and Sagamore Hill Holdings, LP, as Seller
                           and San Juan Offshore, LLC, as Buyer


                                   RELATIONSHIPS

Michael Minarovic
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                                    SCHEDULE 7.7(b)

      Attached to and made a part of that certain Asset Purchase Agreement by and among
               Arena Energy, LP, Arena Exploration, LLC, Valiant Energy LLC
                         and Sagamore Hill Holdings, LP, as Seller
                            and San Juan Offshore, LLC, as Buyer

                     SPECIFIED SELLER CREDIT OBLIGATIONS


See attached.
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Specified Seller Credit
Obligations
                                                                                      P&A
                                                     Original       Principal      Offsetting     Final
            Lease             OCS         RLB No.    Principal      Replaced        Escrow      Principal        Type        Obligee     Obligor                                               Comments                                                       Issuer             Status
                                                                                                                                                   P&A Obligations for EI 314/332/315 / Increased from $18M to $33M under Aband. Funding
EI 314                    2111          RLB0013842    33,000,000                                 33,000,000   Performance   ExxonMobil   Arena     Agreement on 12/31/14                                                                                       RLI            6-1-21 renewal
EI 314                    2111          RLB0015909     4,000,000                                  4,000,000   Performance   ExxonMobil   Arena     P&A Obligations for EI 314 field/Exchanged for $4 million cash reimbursed from Escrow                                     1-12-21 renewal

EI 341                    2914          RLB0016014      5,950,000                                 5,950,000   Performance    Chevron     Arena     P&A Obligations for EI 341 Re DG Agreement, Ex.L to October 1, 2014 PSA Re EI 341, 215, 313                 RLI           4-14-21 renewal
                                        Evergreen
EI 341                    2914          866609          5,950,000                                 5,950,000   Performance   Chevron       Arena    P&A Obligations for EI 341 Re DG Agreement, Ex.L to October 1, 2014 PSA Re EI 341, 215, 313              Evergreen        4-14-21 renewal
HIA A547                  2705          RLB0011993      1,786,000                                 1,786,000   Performance    Noble        Arena    Wells Fargo Escrow Account # 23242000                                                                       RLI            8-8-20 renewal
MI 668                    04547         RLB0009632      2,925,000                                 2,925,000   Performance    Apache       Arena    In connection with acquisition of lease, wells and pipeline(s)-MI 668 and 669                               RLI           8-30-20 renewal
SM 192                    24878         RLB0005598        665,000                                   665,000   Performance   Anadarko      Arena    Well P&A and Platform Removal Bond                                                                          RLI            6-2-21 renewal
SM 192                    24878         RLB0005923        332,500                                   332,500   Performance   Marathon      Arena    Well P&A and Platform Removal Bond                                                                          RLI           8-18-20 renewal
                                                                                                                                         Arena &
SM 192                    24878         RLB0006711      1,425,000                                 1,425,000   Performance     Hess        AOL      Platform, Capital One Escrow Account # 75-9245-01-2 (transferred to Whitney Escrow Account)                 RLI           12-16-20 renewal
SP 83                     05052         RLB0007130      2,041,000                                 2,041,000   Performance     Noble       Arena    Covers SP 82, Wells Fargo Escrow Account # 20080900                                                         RLI           4-20-21 renewal
SP 83                     05052         RLB0008264      1,130,973                                 1,130,973   Performance    Piquant      Arena    In connection with 04/01/05 record title acquisition                                                        RLI           6-20-21 renewal
SP 83                     05052         RLB0008265        471,246                                   471,246   Performance    Apache       Arena    In connection with 04/01/05 record title acquisition                                                        RLI           6-20-21 renewal
SP 83                     05052         RLB0008266        452,378                                   452,378   Performance     Bundy       Arena    In connection with 04/01/05 record title acquisition                                                        RLI           6-20-21 renewal
SP 83                     05052         RLB0008267        226,217                                   226,217   Performance    Crescent     Arena    In connection with 04/01/05 record title acquisition                                                        RLI           6-20-21 renewal
SP 83                     05052         RLB0008285         45,222                                    45,222   Performance      CLK        Arena    In connection with 04/01/05 record title acquisition                                                        RLI           6-23-21 renewal
                                                                                                                                                   In connection with acquisition of lease, wells and pipeline(s): Whitney Bank Trust Escrow Account #
ST 161                    1248          RLB0009467     2,000,000                                  2,000,000   Performance   Apache       Arena     1110440-001                                                                                                 RLI           7-13-21 renewal
EI Properties                           RLB0014828    19,900,000                                 19,900,000   Performance   McMoran      Arena     $19.9MM of P&A obligations from 4Q12 acquisition                                                            RLI           11-13-20 renewal
                          ST Shallow,
                          ST Deep,
                          Riker,
                          Other EI                                                                                                                                                                                                                                       Replaced with Rider 1 see
Chevron ASPA              Properties    RLB0016597                    74,300,000                              Performance    Chevron     Arena     Initial P&A for Chevron ASPA Properties; Munich has 87.483%; RLI has 12.517%                             RLI/Munich            below
                          ST Shallow,
                          ST Deep,
                          Riker,
                          Other EI      RLB0016597                                                                                                                                                                                                                       Replaced with Rider 2 see
Chevron ASPA              Properties    Rider 1                       74,300,000                              Performance    Chevron     Arena     Initial P&A for Chevron ASPA Properties; Munich has 43.7%; RLI has 56.3%                                 RLI/Munich            below
                          ST Shallow,
                          ST Deep,
                          Riker,
                          Other EI      RLB0016597
Chevron ASPA              Properties    Rider 2       74,300,000                                 74,300,000   Performance   Chevron      Arena     Initial P&A for Chevron ASPA Properties; Munich has 72%; RLI has 28%                                     RLI/Munich       9/26/20 renewal
                                                                                                                           Chevron/
ST38/Chevron ASPA                       RLB0016606       700,000                                    700,000   Performance Taylor Rider   Arena     P&A for ST 38 - Taylor Energy Rider as Co-Obligee                                                           RLI           9/26/20 renewal
                          ST Shallow,
                          ST Deep,
                          Riker,
                          Other EI
Chevron ASPA              Properties    RLB0017124    75,000,000                                 75,000,000   Performance    Chevron     Arena     Additional P&A for Chevron ASPA Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                   RLI/Munich       9/26/20 renewal
Chevron PA                ST Deep       RLB0017123    34,832,916                                 34,832,916   Performance    Chevron     Arena     P&A for Chevron PA Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                                RLI/Munich       9/26/20 renewal
Chevron FOA               Riker         RLB0017122    10,000,000                                 10,000,000   Performance    Chevron     Arena     P&A for Chevron FOA Riker Properties; Munich has 72%; RLI has 28% (10/1/19 Agmt)                         RLI/Munich       9/26/20 renewal
WD 117                    G35951        ROG0001422       103,800                                  8,650,000   Performance    Chevron     Arena     P&A for WD 117 G Platform                                                                                    RLI          10/30/20 renewal
Arena and TOTALS                                     277,237,252                            -   285,783,452                                        Total Arena Energy Bonds issued by RLI and Indemco

Area-Wide Third Party
Guarantee Agreement       Various                     30,115,000                                 30,115,000    Guaranty        AOL       Arena     Indirect credit support of Arena supporting AOL's obligations with respect to the identified pipelines




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                              Exhibit B

                         Confirmation Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                           )
In re:                                                     ) Chapter 11
                                                           )
                                    1
ARENA ENERGY, LP, et al.,                                  ) Case No. 20-34215 (MI)
                                                           )
                                    Debtors.               ) (Jointly Administered)
                                                           )

      NOTICE OF (I) ENTRY OF ORDER (A) APPROVING THE DISCLOSURE
     STATEMENT, (B) CONFIRMING THE DEBTORS’ JOINT PREPACKAGED
     PLAN PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE, AND
(C) GRANTING RELATED RELIEF, AND (II) OCCURRENCE OF EFFECTIVE DATE

TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

       PLEASE TAKE NOTICE that on September 25, 2020, the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”), entered an order [Docket
No. [●]] (the “Confirmation Order”) approving the Disclosure Statement for the Debtors’ Joint
Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 13] and
confirming the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 12] (with all supplements and exhibits thereto, the “Plan”),2 attached as Exhibit A to
the Confirmation Order.

      PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
September [●], 2020.

        PLEASE TAKE FURTHER NOTICE that, unless otherwise ordered by the Bankruptcy
Court, all final requests for payment of Professional Fee Claims must be Filed with the Bankruptcy
Court no later than 30 days after the Effective Date.

        PLEASE TAKE FURTHER NOTICE that the Plan, the Plan Supplement,
the Confirmation Order, and copies of all documents Filed in the Chapter 11 Cases are available
free of charge by visiting http://www.kccllc.net/Arena or by calling the Debtors’ restructuring
hotline at (866) 506-4002 (domestic toll free) or (781) 575-2094 (international). You may also

1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
    number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
    Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
    location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
2
    Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Plan or the Confirmation
    Order, as applicable.
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obtain copies of any pleadings Filed in the Chapter 11 Cases for a fee via PACER at:
https://ecf.txsb.uscourts.gov.

       PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has approved certain
discharge, release, exculpation, injunction, and related provisions in Article IX of the Plan.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Confirmation Order, the
terms of the Plan and its provisions are effective and enforceable and deemed binding on
the Debtors, the Reorganized Acquired Debtors, the Plan Administrator, any and all Holders of
Claims or Interests and each such Holder’s respective successors and assigns (whether or not
the Claim or the Interest of such Holder is Impaired under the Plan, and whether or not such Holder
voted to accept the Plan), all Entities that are parties to or subject to the settlements, compromises,
releases, and injunctions described in the Plan, each Entity acquiring property under the Plan, and
any and all non-Debtor parties to Executory Contracts and Unexpired Leases.

       PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and
the Confirmation Order in their entirety.




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Houston, Texas
September [●], 2020

Respectfully Submitted,

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                            KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
Genevieve Graham (TX Bar No. 24085340)           Brian Schartz, P.C. (TX Bar No. 24099361)
Veronica A. Polnick (TX Bar No. 24079148)        609 Main Street
Victoria Argeroplos (TX Bar No. 24105799)        Houston, Texas 77002
1401 McKinney Street, Suite 1900                 Telephone:      (713) 836-3600
Houston, Texas 77010                             Facsimile:      (713) 836-3601
Telephone:      (713) 752-4200                   Email:          brian.schartz@kirkland.com
Facsimile:      (713) 752-4221
Email:          mcavenaugh@jw.com                -and-
                ggraham@jw.com
                vpolnick@jw.com                  Gregory F. Pesce (admitted pro hac vice)
                vargeroplos@jw.com               300 North LaSalle Street
                                                 Chicago, Illinois 60654
Proposed Co-Counsel to the Debtors               Telephone: (312) 862-2000
and Debtors in Possession                        Facsimile:    (312) 862-2200
                                                 Email:        gregory.pesce@kirkland.com

                                                 Proposed Co-Counsel to the Debtors and Debtors in
                                                 Possession




 IF YOU HAVE ANY QUESTIONS ABOUT THIS NOTICE, PLEASE
CONTACT KURTZMAN CARSON CONSULTANTS LLC BY CALLING
                     (866) 506-4002




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                                               Exhibit C

                            Schedule of Assumed Employee Agreements

            Party                                     Description of Agreement

John M. Austin            Purchase and Sale Agreement for Partnership Units of Class A Limited Partner
                          Interests in Arena Offshore III, LP, effective March 1, 2019

John M. Austin            Purchase and Sale Agreement for Partnership Units of Class A and Class C Limited
                          Partner Interests in Arena Offshore II, LP, effective March 1, 2019

Scott Bellaire            Arena Offshore III, LP Cash Liquidating Distribution Agreement, dated April 15, 2019

Constance Jean Heinzman   Arena Offshore III, LP Cash Liquidating Distribution Agreement, dated June 15, 2019
Goers Living Trust

TJS&B, LLC                Arena Offshore III, LP Cash Liquidating Distribution Agreement, dated April 15, 2019

Renee J. Kelly            Purchase and Sale Agreement for Partnership Units of Class A and Class C Limited
                          Partner Interests in Arena Offshore III, LP, effective April 1, 2019

Boeger Energy, LLC        Put Closing Agreement, effective June 30, 2020

Zachary P. Ferreira       Put Closing Agreement, effective June 30, 2020

Ed Menger                 Interim General Counsel Compensation Agreement, dated July 13, 2020

Johansson Energy, LLC     Satisfaction of Promissory Note and Put Closing Agreement, effective June 30, 2020
